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     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 1 of 587Desc
                                                                           PageID
                                                                              Main 117
                            Document      Page 1 of 35



                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


  IN RE:

  ISLAND INDUSTRIES, INC.                     Case No. 22-20380-jdl
                                              Chapter 11
                                              Subchapter V
                 Debtor.

  SIGMA CORP.
            Plaintiff,                        Adv. Pro. No. 22-00050-jdl
       v.

  ISLAND INDUSTRIES, INC. AND R. GLENN
  SANDERS,
            Defendants.

  ______________________________________________________________________________

   DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM UPON
                        WHICH RELIEF CAN BE GRANTED
  ______________________________________________________________________________



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CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 2 of 587Desc
                                                                           PageID
                                                                              Main 118
                            Document      Page 2 of 35




                                                        TABLE OF CONTENTS
  PARTIES ........................................................................................................................................ 1
  JURISDICTION AND VENUE ..................................................................................................... 1
  FACTS ............................................................................................................................................ 1
  LAW AND ARGUMENT .............................................................................................................. 7
    I.       STANDARD OF REVIEW................................................................................................. 7


    II.      SIGMA’S CLAIMS ARE ALL BARRED BY CLAIM PRECLUSION .......................... 10

    A.       SIGMA’S TRADE SECRET CLAIMS WERE COMPULSORY COUNTERCLAIMS WHICH IT WAS
             REQUIRED TO RAISE IN THE FCA LITIGATION. ................................................................. 11

    B.       BOTH THE FCA ACTION AND THE SIGMA COMPLAINT INVOLVE THE SAME PARTIES OR
             THEIR PRIVIES. .................................................................................................................. 16


    III.     SIGMA’S COMPLAINT FAILS TO STATE A CLAIM FOR MISAPROPRIATION OF
             TRADE SECRETS ........................................................................................................... 17

    A.       SIGMA FAILS TO ADEQUATELY ALLEGE THAT ITS SUPPLIER LIST WAS ACTUALLY A
             TRADE SECRET .................................................................................................................. 18

    B.       SIGMA FAILS TO ALLEGE WHAT REASONABLE MEASURES IT TOOK TO PROTECT ITS
             TRADE SECRETS ................................................................................................................. 20

    C.       SIGMA FAILS TO ALLEGE THAT DEFENDANTS INTENDED TO CAUSE INJURY .................... 23

    D.       SIGMA HAS NOT IDENTIFIED ANY REMEDIES TO WHICH IT IS ENTITLED .......................... 24


    IV. 18 U.S.C. § 1833 BARS ALL THREE COUNTS OF SIGMA’S COMPLAINT. ............. 29


    V.       DEFENDANTS ARE ENTITLED TO AN AWARD OF REASONABLE ATTORNEY’S
             FEES ................................................................................................................................. 31


  CONCLUSION ............................................................................................................................. 32
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 3 of 587Desc
                                                                           PageID
                                                                              Main 119
                            Document      Page 3 of 35



                                          INTRODUCTION

            Island Industries, Inc. (“Debtor” or “Island”) and R. Glenn Sanders (“Sanders”) (together

  “Defendants”), pursuant to Fed. R. Bank. P. 7012(b), file this motion to dismiss for failure to state

  a claim upon which relief can be granted. In support of this motion to dismiss, Defendants would

  show the Court as follows:

                                               PARTIES

       1.          The Debtor is a corporation organized and existing under the laws of the State of

  Tennessee. The Debtor’s headquarters and home office are in Memphis, Tennessee. [D.E. 1,

  Complaint ¶ 11.]

       2.          Sanders is the President, CEO, and principal owner of Debtor. Sanders resides in

  Memphis, TN. [Complaint ¶ 12.]

       3.          Sigma Corporation (“Sigma”) is a corporation organized and existing under the

  laws of the State of New Jersey. Sigma’s headquarters and home office are in Cream Ridge, NJ.

                                    JURISDICTION AND VENUE

       4.          This Court has jurisdiction over the relief requested in this action pursuant to 28

  U.S.C. § 157(a) and 28 U.S.C. § 1334.

       5.          Venue in this district and division is appropriate pursuant to 28 U.S.C. §§ 1391(b)

  and 1409(a).

                                                FACTS

       6.          On June 13, 2017, Island filed under seal a complaint styled United States of

  America ex. rel. Island Industries, Inc., v. Vandewater International Inc.; Neil Rubens, Anvil

  International, LLC; Sigma Corporation; Smith Cooper International; Allied Rubber & Gasket

  Company, and John Does Nos. 1-10., Case No. CV 17-04393-RGK, in the U.S. District Court for



                                                    1
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 4 of 587Desc
                                                                           PageID
                                                                              Main 120
                            Document      Page 4 of 35



  the Central District of California (the “FCA Action”). In the FCA Action, Island asserted claims

  arising under the False Claim Act, 31 U.S.C. § 3729, et seq., regarding the importation of welded

  outlets from China by the defendants. More specifically, Island alleged that each of the FCA

  defendants – including Sigma – was importing welded outlets from China (“Chinese Welded

  Outlets”) into the United States without paying the 182.9% anti-dumping duty imposed by the U.S.

  Department of Commerce. The FCA Action was unsealed on January 30, 2019, after the U.S.

  Department of Justice declined to intervene in the FCA complaint. [D.E. 1, Complaint ¶ 16.]

       7.          Island thereafter filed a First Amended Complaint on July 10, 2019 (the “FCA

  Complaint”). Sigma filed an Answer to the First Amended Complaint on September 17, 2019. [Id.

  at ¶ 17.] A copy of the FCA Complaint is attached hereto as Exhibit 1.

       8.          As to Sigma’s importation of Chinese Welded Outlets, the FCA Complaint

  specifically alleged as follows:

            16. In their marketing materials, Defendants (and their Chinese Manufacturers)
            virtually always describe their Chinese Welded Outlets accurately (e.g. each
            Defendant markets its products as “welded outlets”). By contrast in the public
            shipping records, Defendants never use the term “welded outlet”. On information
            and belief, Defendants avoid the term “welded outlet’ in their shipping records
            because they know that phrase would be likely to cause the U.S. government to
            impose anti-dumping duties.

                                                ...

                    55. SIGMA markets and sells at least three brands of Welded Outlets. Two
            of these threaded outlet brands, the "Uni-Let" and the "Safe-Let" brands, are
            sourced from China and marketed as import products. SIGMA also markets and
            sells grooved outlets. Historically, SIGMA imported some grooved outlets from
            China. More recently, SIGMA has been marketing grooved outlets that supposedly
            are manufactured in the United States. On information and belief, however,
            SIGMA's grooved outlets were actually manufactured in China. Attached hereto as
            Exhibit H are SIGMA's product specifications for its Chinese Welded Outlets.

                    56. In 2010, SIGMA hired Terry Clark ("Clark") as a Manager in its Fire
            Protection Division. Throughout his long career, Clark has advocated using
            Chinese Welded Outlets to develop product lines. In around 2005, for example,

                                                      2
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 5 of 587Desc
                                                                           PageID
                                                                              Main 121
                            Document      Page 5 of 35



        Clark approached Relator with an offer to import the "Uni-Let" product from China.
        After Relator declined this offer, Clark went to work for the fire protection division
        of Unique Industrial Products Company ("Unique") in Sugarland, Texas, which
        was eventually acquired by SIGMA.

                57. Around the time of Clark's hiring, SIGMA began importing its "Uni-
        Let" and "Safe-Let" products. Although these products are Chinese Welded Outlets,
        the shipping records suggest that SIGMA has not imported any Welded Outlets.
        Instead, the import record reflects that, in around 2010, SIGMA began importing
        "parts of pipe fitting" into Los Angeles, California. The volume of "parts of pipe
        fittings" imported by SIGMA is consistent with SIGMA's share of the Welded
        Outlets market.

                58. SIGMA also has imported and marketed grooved outlets. In early 2011,
        for example, SIGMA's then-purchasing agent advised Relator that SIGMA had
        encountered extensive quality problems with its Chinese grooved outlets. SIGMA
        asked Relator to determine whether it would be plausible to repair the grooved
        outlets, which were manufactured by Shanghai Vision. After Relator advised that
        the products were not repairable, SIGMA began buying more domestically
        produced grooved outlets from Relator. In late 2015, however, SIGMA advised
        Relator that it would no longer purchase product from Relator because SIGMA had
        discovered a new "low cost" source that offered Welded Outlets at prices that were
        significantly below Relator's costs.

                59. On information and belief, SIGMA's new "low cost" source was Ageis
        (sic). Notably, for many years, Clark served as a Vice President at Ageis (sic) and
        as a Manager at SIGMA. (In 2016, Clark retired from SIGMA, but he continued to
        be paid by SIGMA as a consultant for a period of time thereafter.)

                60. A former SIGMA employee, who was in a position to know, has advised
        Relator that SIGMA sourced many of its Welded Outlets from Beijing Bell and that
        it used Wor-Biz Trading to facilitate the shipments. That same former SIGMA
        employee has advised Relator that SIGMA was working with Ageis (sic) to develop
        an alternative low cost source for Welded Outlets. To Relator's knowledge, Ageis
        (sic) does not own meaningful domestic manufacturing facilities. Even if it did, it
        would not have been economically feasible for Ageis (sic) to have supplied SIGMA
        with domestically produced Welded Outlets given the prices that SIGMA charged
        for grooved outlets in the marketplace.

               61. Relator alleges, on information and belief, that Ageis (sic) supplied
        SIGMA with Chinese-made grooved outlets. Relator further alleges, on
        information and belief, that SIGMA evaded the antidumping duties applicable to
        such Chinese Welded Outlets. Based on Relator's examination of the import
        records, Relator believes that SIGMA (sometimes operating through its wholly-
        owned subsidiary Unique Industrial Product Company) has repeatedly and falsely
        described the grooved outlets as steel "couplings" so as to avoid the antidumping

                                                  3
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 6 of 587Desc
                                                                           PageID
                                                                              Main 122
                            Document      Page 6 of 35



            duties.

                   62. Moreover, in its scope ruling request, SIGMA confirmed what Relator
            had alleged all along: namely, that SIGMA imports Chinese Welded Outlets
            without paying the applicable antidumping duties. SIGMA thus has already
            admitted that it has long evaded the antidumping duty order applicable to Chinese
            Welded Outlets.

                     63. Based on the foregoing facts and Relator's investigation, upon
            information and belief SIGMA and/or its subsidiaries entered into agreements with
            other individuals and entities (such as Shanghai Vision, Ageis (sic), Beijing Bell,
            Wor-Biz Trading, and others known to SIGMA and its subsidiaries but unknown
            at this time to Relator) to violate the False Claims Act by falsely declaring that the
            Chinese Welded Outlets were not subject to antidumping duties.

       9.             Needless to say, an essential element of proof in the FCA Action was information

  regarding the source of the Chinese Welded Outlets that each FCA defendant was purchasing and

  importing into the United States. Indeed, the liability (or innocence) of each FCA defendant could

  not be established without proof regarding sources of supply of the Chinese Welded Outlets,

  triggering the imposition of the anti-dumping duty. See 31 U.S.C. § 3729(a)(1)(G) (and/or the

  prior version of such section, 31 U.S.C. § 3729(a)(7)).

       10.            On July 24, 2019, Sigma filed a motion to dismiss the FCA Complaint, asserting,

  inter alia, that the FCA Complaint was based on allegations that it was based on public shipping

  records. Such motion is attached hereto as Exhibit 2. [See Complaint ¶ 55.]

       11.            On November 18, 2019, the parties to the litigation entered into a Stipulated

  Protective Order (the “Protective Order”). [Complaint ¶ 62-64.] A copy of the Protective Order is

  attached hereto as Exhibit 3. Paragraph 2.5 of the Protective Order defines the term “Designating

  Party” as “a Party or Non-Party that designates information or items that it produces in disclosures

  or in responses to discovery as “CONFIDENTIAL.”(emphasis supplied).

       12.            Island thereafter produced various documents from its own records in response to

  discovery which it deemed non-confidential and consequently did not designate as “Confidential.”

                                                      4
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 7 of 587Desc
                                                                           PageID
                                                                              Main 123
                            Document      Page 7 of 35



  [Complaint ¶ 62-63.]

       13.       Sigma learned during discovery (to the extent it did not already know) that the

  former employee referred to in paragraphs 60 and following of the Amended FCA Complaint was

  Tom Paquette, who worked for Sigma from 2003 to 2015. [Id. at ¶ 19.]

       14.       On February 4, 2020, as part of the FCA Action, Island produced documents to

  Sigma containing communications between Mr. Paquette and Mr. Sanders in which Mr. Paquette

  stated the identities of Sigma’s Chinese suppliers of welded outlets. [Id. at ¶ 20.]

       15.       It is thus indisputable that Sigma was aware, both from the allegations of the FCA

  Complaint and through documents produced in discovery, that Island had talked to its former

  employee, Tom Paquette, and obtained information about Sigma’s suppliers in China from

  Paquette which it used in support of the FCA claim.

       16.       At no point did Sigma ever file a motion in the FCA Action for a protective order

  to have any documents produced by Island designated as “Confidential” or otherwise sealed. See

  FCA Docket attached as Exhibit 4. Paragraph 3 of the Protective Order states that “This Order

  does not govern the use of Protected Material at trial.” Exhibit 3.

       17.        In addition, Sigma’s import records, which listed its suppliers, were ultimately

  entered into evidence during the trial of the FCA Action, but Sigma never filed a motion asking

  that they be placed under seal. Sigma’s Import Records which were entered as trial exhibits in the

  FCA Action are attached hereto as Exhibit 5.

       18.       Mr. Sanders was deposed on February 12th and 13th, 2020, in the FCA Action.

  [Complaint ¶ 21.]

       19.       Mr. Paquette was deposed by Sigma’s counsel on February 28, 2020, in the FCA

  Action. [Complaint ¶ 22.]



                                                    5
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 8 of 587Desc
                                                                           PageID
                                                                              Main 124
                            Document      Page 8 of 35



       20.       A jury trial in the FCA Action took place in October 2021.

       21.       In his opening statement, counsel for Sigma admitted that Sigma no longer

  imported goods from the Chinese Suppliers and had not done so for more than a year: “Sigma

  imported these welded outlets from China just during the period 2010 to early 2018.” FCA Action

  Day 1 Tr. Transcript 91:8-9, Oct. 5, 2021 (attached hereto as Exhibit 6). Stated another way, by

  the time the complaint in the FCA Action was unsealed on January 30, 2019, Sigma was no

  longer even using the suppliers whose identities it now claims in this lawsuit were valuable trade

  secrets.

       22.       At trial, Sigma cross-examined Mr. Woehrel, Island’s national sales manager, and

  unsuccessfully sought to elicit testimony that Island had obtained confidential trade secrets of

  Sigma. While Mr. Woehrel acknowledged that Island obtained information related to Sigma’s

  suppliers, he denied that such information was a secret. Exhibit 6 at 142:23-144:24.

       23.       In his closing statement, Sigma’s attorney specifically argued to the jury that Island

  had engaged in “unethical behavior” by “contacting employees and former employees of

  competitors to get information to support this lawsuit.” FCA Action Day 3 Tr. Transcript 119:7-

  12, Oct. 7, 2021 (attached hereto as Exhibit 7).

       24.       On October 21, 2021, the jury found Sigma liable for knowingly making false

  statements to the U.S. Government and violating the False Claims Act. The Court awarded

  damages against Sigma in the amount of $24,256,638.09, plus civil monetary penalties of

  $1,824,145, plus attorneys’ fees. Exhibit 4 at # 454. [Complaint ¶ 57.] Final judgment was entered

  against Sigma on February 8, 2022. Sigma has appealed the judgment to the U.S. Court of Appeals

  for the Ninth Circuit, where it remains pending. [Complaint ¶ 24.]




                                                     6
CaseCase
     2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                           Filed 06/27/22
                                     33-1 Filed
                                           Entered
                                                11/11/22
                                                    06/27/22
                                                           Page
                                                             17:24:54
                                                                 9 of 587Desc
                                                                           PageID
                                                                              Main 125
                            Document      Page 9 of 35



                                       LAW AND ARGUMENT

          Sigma’s Complaint amounts to nothing more than retaliation against Defendants for

  bringing and successfully litigating the FCA Action against Sigma. Aggrieved that it was found

  liable for failing to pay the 182.9% anti-dumping import duty required on its import of Chinese

  Welded Outlets and for lying to the U.S. government about it, Sigma seeks to assert a trade secret

  action against Defendants premised on the notion that the identities of its Chinese suppliers were

  somehow “trade secrets” under applicable law, despite its own allegations in the FCA Action that

  its import records are public and its own admissions that it ceased using these suppliers in early

  2018, approximately a year prior to the unsealing of the FCA Complaint and over 4 years prior to

  the filing of this Adversary Proceeding. Defendants do not agree or concede that such information

  constitutes trade secrets.

          Irrespective of Sigma’s actual motive for filing this lawsuit years after the information in

  question was first disclosed in the FCA Action, Sigma’s Complaint must be dismissed on at least

  three grounds. First, Sigma’s Complaint is barred by the doctrine of claim preclusion (res

  judicata). Second, Sigma’s Complaint fails to state a claim for misappropriation of trade secrets

  under any applicable statute. Finally, Sigma’s Complaint is barred because Defendants are

  immune from such a lawsuit pursuant to 18 U.S.C. § 1833.

    I.    STANDARD OF REVIEW

          “The purpose of Rule 12(b)(6) is to allow a defendant to test whether, as a matter of law,

  the plaintiff is entitled to legal relief if all the facts and allegations in the complaint are taken as

  true.” Rippy ex rel. Rippy v. Hattaway, 270 F.3d 416, 419 (6th Cir. 2001) (citing Mayer v. Mylod,

  988 F.2d 635, 638 (6th Cir. 1993)). Under Rule 12(b)(6), the complaint is viewed in the light most

  favorable to the plaintiff, the allegations in the complaint are accepted as true, and all reasonable



                                                     7
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
                                           Entered
                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               10 of 587
                                                                       DescPageID
                                                                            Main 126
                          Document       Page 10 of 35



   inferences are drawn in favor of the plaintiff. Bassett v. Nat'l Collegiate Athletic Ass'n, 528 F.3d

   426, 430 (6th Cir. 2008). “However, while liberal, this standard of review does require more than

   the bare assertion of legal conclusions.” Columbia Nat. Res., Inc. v. Tatum, 58 F.3d 1101, 1109

   (6th Cir. 1995); Tackett v. M & G Polymers, USA, L.L.C., 561 F.3d 478, 488 (6th Cir. 2009). “To

   survive a motion to dismiss, [a plaintiff] must plead ‘enough factual matter’ that, when taken as

   true, ‘state[s] a claim to relief that is plausible on its face.’ Bell Atl. Corp. v. Twombly, 550 U.S.

   544, 556, 570 (2007). Plausibility requires showing more than the “sheer possibility” of relief but

   less than a “probab[le]” entitlement to relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Fabian

   v. Fulmer Helmets, Inc., 628 F.3d 278, 280 (6th Cir. 2010). “Where a complaint pleads facts that

   are ‘merely consistent with’ a defendant's liability, it ‘stops short of the line between possibility

   and plausibility of entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

   557).

           In considering a Rule 12(b) motion following Twombly and Iqbal, pleaded facts must be

   accepted by the reviewing court, but conclusions must be rejected unless they are plausibly

   supported by the pleaded facts. Mitchell through Mitchell v. Cmty. Mental Health of Cent.

   Michigan, 243 F. Supp. 3d 822, 832 (E.D. Mich. 2017). “[B]are assertions,” such as those that

   “amount to nothing more than a ‘formulaic recitation of the elements’” of a claim, can provide

   context to the factual allegations, but are insufficient to state a claim for relief and must be

   disregarded. Iqbal, 556 U.S. at 681 (quoting Twombly, 550 U.S. at 555).

           While consideration of a motion to dismiss under Rule 12(b)(6) is generally confined to

   the pleadings, see Jones v. City of Cincinnati, 521 F.3d 555, 562 (6th Cir. 2008), “documents

   attached to the pleadings become part of the pleadings and may be considered on a motion to

   dismiss.” Commercial Money Ctr., Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 335 (6th Cir.



                                                     8
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
                                           Entered
                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               11 of 587
                                                                       DescPageID
                                                                            Main 127
                          Document       Page 11 of 35



   2007) (citing Fed. R. Civ. P. 10(c)); see also Koubriti v. Convertino, 593 F.3d 459, 463 n.1 (6th

   Cir. 2010). Even if a document is not attached to a complaint or answer, “when a document is

   referred to in the pleadings and is integral to the claims, it may be considered without converting

   a motion to dismiss into one for summary judgment.” Commercial Money Ctr., 508 F.3d at 335–

   36; see also Garton v. Crouch, 2022 WL 275519 (M.D. Tenn. 2022) (citing Brent v. Wayne Cyt.

   Dep’t of Human Servs., 901 F.3d 656, 694 (6th Cir. 2018)) (“[I]t has long been the rule that a court

   may consider, not only the Complaint and exhibits attached to it, but also exhibits attached to a

   defendant's motion to dismiss, ‘so long as they are referred to in the Complaint and are central to

   the claims contained therein.’”). If the plaintiff does not directly refer to a document in the

   pleadings, but that document governs the plaintiff's rights and is necessarily incorporated by

   reference, then the motion need not be converted to one for summary judgment. Weiner v. Klais

   & Co., Inc., 108 F.3d 86, 89 (6th Cir. 1997).

          In addition, “a court may consider matters of public record in deciding a motion to dismiss

   without converting the motion to one for summary judgment.” Northville Downs v. Granholm, 622

   F.3d 579 (6th Cir. 2010) (citing Commercial Money Ctr., Inc., 508 F.3d 327, 335–36 (6th Cir.

   2007)). Transcripts of judicial proceedings are a matter of public record. See Tutstone v. Garner,

   2014 WL 991947, at *1 (N.D. Ohio 2014) (finding the transcript of a motion to suppress in criminal

   proceedings to be a “public record.”); Smith v. Maloon, 2010 WL 2761344, at *6 (S.D. Ohio 2010)

   (concluding that “state court proceedings, which are a matter of public record, meet Federal Rule

   of Evidence 201(b)’s criteria” for judicial notice.).      Courts may “take judicial notice of

   developments in related proceedings in other courts of record.” Chase Bank USA, N.A. v. City of

   Cleveland, 695 F.3d 548, 553 n.2 (6th Cir. 2021); Walburn v. Lockheed Martin Corp., 431 F.3d

   966, 972 n.5 (6th Cir. 2005); Delozier v. Jacobs Engineering Group, Inc., 2021 WL 1538787



                                                    9
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
                                           Entered
                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               12 of 587
                                                                       DescPageID
                                                                            Main 128
                          Document       Page 12 of 35



   (M.D. Tenn. 2021). Federal courts may also take judicial notice of “the content of court records,”

   including state court records. Fed. R. Evid. 201(b)(2); Colonial Penn Ins. Co. v. Coil, 887 F.2d

   1236, 1239 (4th Cir. 1989); White v. Mid-Atlantic Restaurant Corp., 2018 WL 5503913 (E.D. N.C.

   2018) (“All four franchise agreements were trial exhibits in a related state action brought by

   plaintiff Musselwhite, New Hanover Superior Court File No. 16-CVS-301, so the Court may take

   judicial notice of them.”)

    II.    SIGMA’S CLAIMS ARE ALL BARRED BY CLAIM PRECLUSION

           Each of the three counts contained in the Complaint are barred by the doctrine of claim

   preclusion, also known as res judicata. “Res judicata and collateral estoppel are analyzed under

   Rule 12(b)(6) as a failure to state a claim on which relief may be granted.” Yelverton v. Yelverton

   Farms, Ltd., 2015 WL 847393, at *8 (E.D.N.C. Feb. 26, 2015), aff'd, 623 F. App'x 72 (4th Cir.

   2015) (citing Davani v. Va. Dep't of Transp., 434 F.3d 712, 720 (4th Cir. 2006)); Rycoline Prod.,

   Inc. v. C & W Unlimited, 109 F.3d 883, 886 (3d Cir. 1997) (noting that res judicata can be

   considered on a 12(b)(6) motion if “apparent on the face of the complaint.”); Southall v. USF

   Holland, LLC, 2021 WL 396688 at *2 (M.D. Tenn. February 3, 2021). A court may properly “take

   judicial notice of facts from a prior judicial proceeding when the defense raises no disputed issue

   of fact.” Andrews v. Daw, 201 F.3d 521, 524 n. 1 (4th Cir. 2000).

           The doctrine of claim preclusion provides that “[a] final judgment on the merits of an action

   precludes the parties or their privies from relitigating issues that were or could have been raised in

   that action.” Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981) (citing to

   Commissioner v. Sunnen, 333 U.S. 591, 597 (1948); Cromwell v. County of Sac, 94 U.S. 351, 352–

   353 (1877)). Claim preclusion requires the presence of three elements: (1) a final judgment on the

   merits of the earlier action; (2) the claims asserted in both suits are sufficiently related and founded



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                                                          Page
                                                            17:24:54
                                                               13 of 587
                                                                       DescPageID
                                                                            Main 129
                          Document       Page 13 of 35



   upon the same transaction, arise out of the same nucleus of operative facts, and seek redress for

   essentially the same basic wrong; and (3) both actions involve the same parties or their privies.

   Coleman v. Martin, 363 F. Supp. 2d 894, 901 (E.D. Mich. 2005). Res judicata “is central to the

   purpose for which civil courts have been established, the conclusive resolution of disputes within

   their jurisdictions.” Montana v. U.S., 440 U.S. 147, 154 (1979).

          Because the final judgment in the FCA Action clearly satisfies the first element, see FCA

   Docket Entry 454 (attached hereto as Exhibit 4), this brief will focus on the second and third

   elements of claim preclusion.

          a.      Sigma’s Trade Secret Claims Were Compulsory Counterclaims Which It Was
                  Required To Raise In The FCA Litigation.

          The claims asserted in the Sigma Complaint are sufficiently related and arise out of the

   same nucleus of operative facts as those at issue in the FCA Action, and they are thus barred by

   the doctrine of claim preclusion. “Under the doctrine of claim preclusion, a final judgment

   forecloses ‘successive litigation of the very same claim, whether or not re-litigation of the claim

   raises the same issues as the earlier suit.’” Taylor v. Sturgell, 553 U.S. 880, 892 (2008)

   (quoting New Hampshire v. Maine, 532 U.S. 742, 748 (2001)). “Federal res judicata bars not only

   all matters that were litigated in the first proceeding, but also all issues that could have been

   litigated.” Id. (citing Kale v. Combined Insurance Co. of America, 924 F.2d 1161, 1164 (1st Cir.

   1991); Interstate Pipe Maintenance, Inc. v. FMC Corp., 775 F.2d 1495, 1497 (11th Cir.

   1985); Johnson v. United States, 576 F.2d 606, 611 (5th Cir. 1978)) (emphasis added).

          The rules defining what issues “could have been litigated” in an earlier matter are well-

   established:

          In determining whether the causes of action are the same, a court must compare the
          substance of the actions, not their form. It is now said, in general, that if a case
          arises out of the same nucleus of operative fact, or is based upon the same factual

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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               14 of 587
                                                                       DescPageID
                                                                            Main 130
                          Document       Page 14 of 35



          predicate, as a former action, that the two cases are really the same ‘claim’ or ‘cause
          of action’ for purposes of res judicata.

   In re Piper Aircraft Corp., 244 F.3d 1289, 1297 (11th Cir. 2001) (quoting Ragsdale v. Rubbermaid,

   Inc., 193 F.3d 1235, 1239 (11th Cir.1999) (internal citation and quotation marks omitted)).

          Fed. R. Civ. P. 13(a)(1) embodies the principles of claim preclusion by requiring parties to

   assert compulsory counterclaims. Transamerica Occidental Life Ins. Co. v. Aviation Office of

   Amer., Inc., 292 F.3d 384, 390 (3rd Cir.2002) (“Courts have recognized the close connection

   between Rule 13(a) and the doctrine of claim preclusion.”). 1 Rule 13(a)(1) states:

          A pleading must state as a counterclaim any claim that – at the time of its service –
          the pleader has against an opposing party if the claim: (A) arises out of the
          transaction or occurrence that is the subject matter of the opposing party's claim;
          and (B) does not require adding another party over whom the court cannot acquire
          jurisdiction.

   The parameters of a compulsory counterclaim are well-established in the Sixth Circuit:

           A counterclaim will be considered compulsory if a logical relationship exists
           between the two claims, if the issues of fact and law raised by the claim and
           counterclaim are largely the same, or if substantially the same evidence would
           support or refute both the claim and the counterclaim.

   Burch ex rel. U.S. v. Piqua Eng'g, Inc., 145 F.R.D. 452, 457 (S.D. Ohio 1992) (citing to Ashbrook

   v. Block, 917 F.2d 918, 923, 924 (6th Cir.1990); Maddox v. Kentucky Finance Co., 736 F.2d 380,

   382 (6th Cir. 1984)). Thus, a “logical relationship” exists where separate trials on each of the

   claims would “involve a substantial duplication of effort and time by the parties and the courts.”



   1
     See also Publicis Communication v. True North Communications Inc., 132 F.3d 363, 365 (7th
   Cir. 1997) (“The definition of a compulsory counterclaim mirrors the condition that triggers a
   defense of claim preclusion (res judicata) if a claim was left out of a prior suit.”); Southern
   Construction Co. v. Pickard, 371 U.S. 57, 60 (1962) (stating that the purpose of Rule 13(a) is “to
   prevent multiplicity of actions and to achieve resolution in a single lawsuit of all disputes arising
   out of common matters”); Aldens v. Packel, 524 F.2d 38, 51 (3d Cir. 1975) (describing “the
   fundamental policy underlying Rule 13” as “the expeditious resolution of all controversies
   growing out of the same transaction or occurrence or between the same parties in a single suit”).

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         22-00050 Doc 19 Document
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               15 of 587
                                                                       DescPageID
                                                                            Main 131
                          Document       Page 15 of 35



   Transamerica Occidental Life Ins. Co. v. Aviation Office of Amer., Inc., 292 F.3d 384, 390 (3rd

   Cir. 2002) (citation omitted). “Such a duplication is likely to occur when claims involve the same

   factual issues, the same factual and legal issues, or are offshoots of the same basic controversy

   between the parties.” Id. Failure to raise a compulsory counterclaim bars its assertion in a

   subsequent action. Taylor v. Sturgell, 553 U.S. 880, 892 (2008); Burch ex rel. U.S. v. Piqua Eng'g,

   Inc., 145 F.R.D. 452, 457 (S.D. Ohio 1992); Charles Alan Wright, The Law of Federal Courts § 79

   at 527 (4th ed.1983); Restatement (Second) of Judgments § 22 (1982).

           Rule 13 requires a party to not only bring compulsory counterclaims against an opposing

   party named in the matter, but also against any unnamed party who is in privity with a named

   party. Transamerica Occidental Life Ins. Co. v. Aviation Office of Amer., Inc., 292 F.3d 384, 393

   (3rd Cir. 2002). In Transamerica, the court dismissed an action brought by a plaintiff because said

   plaintiff had already been sued by defendant’s privies in another forum and a logical relationship

   existed between the claims in the two lawsuits. Id. The Third Circuit noted specifically that

   “‘opposing party’ in Rule 13(a) should include parties in privity with the formally named opposing

   parties.” Id.

           Even a cursory review of Sigma’s Complaint shows that a logical relationship exists

   between the claims made therein and the FCA action as both “arise out of the same nucleus of

   operative facts.” See Taylor v. Sturgell, 553 U.S. 880, 892 (2008). As previously noted, the FCA

   Complaint alleged on its face that Sigma was importing Chinese Welded Outlets without paying

   the antidumping duties, named Sigma’s suppliers or brokers, and disclosed that Island had obtained

   such information from a former employee of Sigma. See FCA Complaint at ¶ ¶ 55-63.

           Here, Sigma’s entire Complaint is premised on essentially the same proof, including the

   following allegations: (1) that the identity of Sigma’s Chinese suppliers from whom it imported



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    2:22-cv-02436-JPM-cgc
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               16 of 587
                                                                       DescPageID
                                                                            Main 132
                          Document       Page 16 of 35



   Chinese Welded Outlet without paying a 182.9% duty were somehow “trade secrets,” (2) that such

   “trade secrets” were misappropriated by Island to bring its successful FCA Action, and (3) that

   these same “trade secrets” were disclosed in the FCA Action. 2 Sigma alleges that “the court in the

   FCA Action relied on allegations that were based on confidential supplier information that Mr.

   Paquette provided;” that Island’s employee “testified about the information that Mr. Sanders

   obtained from Mr. Paquette” and that Island used Sigma’s trade secrets and confidential business

   information in the FCA Action against Sigma. [D.E. 1 at ¶ 55-57.]

           The claims in the Sigma Complaint are thus inextricably linked to the FCA Action. They

   require substantially the same evidence as the FCA Action, which Sigma clearly understood based

   on its attorney’s cross-examination of Mr. Woehrel (Island’s National Sales Manager) at trial:

           Q. As part of your investigation with Mr. Sanders, into whether you had trade
           remedies available to Island, you undertook to determine whether Sigma and the
           other importers -- who their SUPPLIERS were in China?

           A. Yeah. We knew they were in China, because the product is marked "Made in
           China." But, yeah, we wanted to find out who those suppliers were if we could.

           Q. Different duties apply to different suppliers, right?

           A. They do.

           Q. And for you to know whether a particular duty was being imposed, you needed
           to know who that foreign supplier was?

           A. Yes. If we could determine that.

           Q. One of the ways that you undertook to determine that was by contacting former
           employees or current employees of the importers, correct?

           A. Yes.

           Q. And one of the former employees whom you and Mr. Sanders contacted was
           Tom Paquette, correct?

   2
    Sigma’s Complaint contains two paragraphs which mention unfair competitive advantage; however, these paragraphs
   are conclusory and are not supported by any specific allegations of fact as required by Twombly and Iqbal. As
   explained below, the Court must disregard these two paragraphs.

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CaseCase
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         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               17 of 587
                                                                       DescPageID
                                                                            Main 133
                          Document       Page 17 of 35




          A. I never contacted or talked to Mr. Piquet [sic]. But Mr. Sanders I believe did.

          Q. You know he did because he told you, correct?

          A. Correct.

          Q. So as part of this investigation, Mr. Sanders was contacting a former employee
          of Sigma to get nonpublic information, right?

          A. I'm not sure that it would necessarily be nonpublic across the industry. Some
          people freely share who they buy their products from on the website. So that type
          of information and who your vendors are, that information is shared freely. In fact,
          if you're a salesperson, that's one of the things you need to do is find out who your
          customers are buying from and what they are paying. And they will tell you.

          Q. Well, if you knew the information about Sigma, you wouldn't -- Mr. Sanders
          wouldn't have needed to contact Tom Piquet [sic], right?

          A. We knew -- Mr. Sanders was aware of the major Chinese manufacturers for a
          long time. Beijing Bell was one of them. That wasn't all of them. There was – Ji
          Ahn Nee (phonetic) was another. I think when Mr. Piquet [sic] said that Beijing
          Bell was a source of supplier from Sigma, that didn't surprise him. He already knew
          that. That was confirmation. And it was helpful to our investigation to confirm that.

          Q. So is it your testimony that you contacted a former employee of Sigma to get
          confirmation of information that you knew or suspected?

          A. Mr. Sanders contacted a former employee or – to get information that he
          willingly and freely gave to Mr. Sanders.

   Exhibit 6 at 142:23-144:24.

          Then, in his closing statements, Sigma’s attorney told the jury:

          And Mr. Woehrel acknowledged that as part of their pretrial investigation in this
          case, Island was contacting employees and former employees of competitors to get
          information to support this lawsuit. I ask you to consider whether that is ethical
          behavior on the part of Island.

   Exhibit 7 at 119:7-12.

          Thus, as the transcript makes clear, the evidence necessary to prove the claims brought in

   the FCA Action (i.e., the identity of Sigma’s foreign suppliers) is essentially the same proof that



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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               18 of 587
                                                                       DescPageID
                                                                            Main 134
                          Document       Page 18 of 35



   would be necessary to establish the allegations in the Sigma Complaint (i.e., that the identities of

   Sigma’s Chinese suppliers was somehow secret and “wrongfully” disclosed). Both the FCA

   Action and Sigma Trade Secret Complaint turns on the identities of Sigma’s Chinese suppliers and

   Defendants’ ability to establish same. Sigma admits as much in paragraphs 54 and 55 of its

   Complaint: “Island would not have been able to bring a claim against Sigma in the FCA Action

   without the information that Mr. Paquette provided to Island” and “In denying Sigma’s motion to

   dismiss the Amended Complaint, the court in the FCA Action relied on allegations that were based

   on confidential supplier information that Mr. Paquette provided to Defendants.”

          Because the FCA Action and the Sigma Complaint are based on the same nucleus of

   operative facts, Sigma’s claims were compulsory counterclaims under Fed. R. Civ. P. 13(a)(1).

   Because Sigma did not bring those claims in the FCA Action, it is precluded from doing so now,

   years later, in this forum. See In re Piper Aircraft Corp., 244 F.3d 1289, 1297 (11th Cir. 2001).

   The second element of claim preclusion has been established.

          b.      Both the FCA Action And The Sigma Complaint Involve The Same Parties Or
                  Their Privies.

          The third element of claim preclusion is satisfied as well. Both Island and Sigma were

   parties in the FCA Action and are parties here. Moreover, Sanders was in privity with Island in the

   FCA Action. Privity for res judicata purposes “means a successor in interest to the party, one who

   controlled the earlier action, or one whose interests were adequately represented.” Sanders

   Confectionery Products, Inc. v. Heller Financial, Inc., 973 F.2d 474, 481 (6th Cir. 1992). A

   chairman of the board or president who controlled the actions of a prior corporate plaintiff are in

   privity with their corporations for purposes of res judicata. Id. Because Sanders, Island’s president

   and majority owner, ran the company and controlled Island’s decision making in the FCA Action,

   he was clearly in privity with Island in the FCA Action. Confectionery Products at 481; Drier v.

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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               19 of 587
                                                                       DescPageID
                                                                            Main 135
                          Document       Page 19 of 35



   Tarpon Oil Co., 522 F.2d. 199, 200 (5th Cir. 1975) (company president was in privity for collateral

   estoppel purpose).

          Because Sigma failed to raise this compulsory counterclaim in the FCA Action, it is now

   barred from raising it, years later, in the instant retaliatory action against Defendants. See, e.g.,

   Taylor v. Sturgell, 553 U.S. 880, 892 (2008); Burch ex rel. U.S. v. Piqua Eng'g, Inc., 145 F.R.D.

   452, 457 (S.D. Ohio 1992); Charles Alan Wright, The Law of Federal Courts § 79 at 527 (4th

   ed.1983); Restatement (Second) of Judgments § 22 (1982). Therefore, Defendants respectfully

   ask this Court to dismiss the Sigma Complaint with prejudice.

   III.   SIGMA’S COMPLAINT FAILS TO STATE A CLAIM FOR MISAPROPRIATION
          OF TRADE SECRETS

           Sigma’s Complaint must also be dismissed because it fails to allege sufficient facts to state

   a plausible claim for misappropriation of trade secrets as required by Twombly and Iqbal.

   Twombly, 550 U.S. at 557; Iqbal, 556 U.S. at 678.

          The Sigma Complaint contains three counts: (I) violation of 18 U.S.C. § 1836(b) – Defend

   Trade Secrets Act (“DTSA”); (II) violation of the New Jersey Trade Secrets Act, N.J. Stat. § 56:15-

   1, et seq. (“NJTSA”); and (III) violation of the Tennessee Uniform Trade Secrets Act, Tenn. Code

   Ann. § 47-25-1701, et seq. (“TUTSA”). All three counts arise from exactly the same factual

   allegations—namely, the purported misappropriation of Sigma’s trade secrets (the identities of its

   Chinese suppliers) by Island and Sanders. “Because the statutory schemes of the NJTSA and

   DTSA are ‘substantially similar as a whole,’ courts often combine the analyses of the two

   schemes.” Oakwood Labs. LLC v. Thanoo, 999 F.3d 892, 905 n.11 (3d Cir. 2021). Likewise, the

   elements of a DTSA claim are “largely the same” as the elements of a TUTSA claim. Enchant

   Christmas Light Maze & Mkt. Ltd. v. Glowco, LLC, No., 2019 WL 5964531, at *5 (M.D. Tenn.

   Nov. 13, 2019); BNA Assocs., LLC v. Goldman Sachs Specialty Lending Grp., L.P., No., 2022

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         22-00050 Doc 19 Document
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                                    33-1 Filed
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               20 of 587
                                                                       DescPageID
                                                                            Main 136
                          Document       Page 20 of 35



   WL 1449707, at *4 (M.D. Tenn. May 9, 2022). Sigma’s Complaint fails to adequately plead the

   elements necessary to establish a violation of any of these statutes, and each count should therefore

   be dismissed.

          a.       Sigma Fails To Adequately Allege That Its Supplier List Was Actually a Trade
                   Secret

          “Generally speaking, a trade secret is information that derives economic value from not

   being generally known or readily ascertainable. . . .” ATS Grp., LLC v. Legacy Tank & Indus.

   Servs. LLC, 407 F. Supp. 3d 1186, 1196 (W.D. Okla. 2019) (citing 18 U.S.C. § 1839). Failure to

   adequately allege that the “trade secret” has independent economic value is grounds for dismissing

   a DTSA claim pursuant to a 12(b)(6) motion. See id. at 1200. Obsolete or stale information does

   not have independent economic value. See WebMD Health Corp. v. Dale, No. 11-5827, 2012 WL

   3263582, at *8 (E.D. Pa. Aug. 10, 2012) (preliminary injunction would not extend to information

   that was “updated on at least a yearly basis, if not more frequently,” such that it

   “becomes obsolete or is otherwise discarded, replaced or merely dated”); HUB Grp., Inc. v.

   Clancy, No. Civ.A. 05-2046, 2006 WL 208684, at *5 (E.D. Pa. Jan. 25, 2006) (denying preliminary

   injunction and dissolving temporary restraining order where “[t]he evidence indicate[d] that the

   pricing data taken by [the employee] [was] already obsolete due to fluctuating fuel prices and other

   general rate changes”); see also Fox Sports Net N., LLLC v. Minn. Twins P’ship, 319 F.3d 329 (8th

   Cir. 2003) (“obsolete information cannot form the basis for a trade secret claim because the

   information has no economic value”); Katch, LLC v. Sweetser, 143 F.Supp.3d 854 (Minn. 2015)

   (“[I]nformation that has or will quickly become obsolete does not have the independent economic

   value to be considered a trade secret.”). Therefore, obsolete or stale information cannot satisfy the

   definition of “trade secret” under any of the trade secret acts at issue.




                                                     18
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               21 of 587
                                                                       DescPageID
                                                                            Main 137
                          Document       Page 21 of 35



          Nowhere in its Complaint does Sigma allege that it was still utilizing the Chinese suppliers

   at the time the FCA Action was unsealed in 2019. The reason for this is obvious – its own counsel

   admitted in the FCA Action that Sigma had imported the Chinese Welded Outlets “just during the

   period 2010 to early 2018.” Exhibit 6 at 91:8-9. Therefore, by the time the FCA Action was

   unsealed in 2019 and discovery began, Sigma’s allegedly-confidential list of Chinese suppliers

   was already stale or obsolete because Sigma was no longer even using those suppliers. Thus, the

   supplier list lacked any independent economic value by the time the FCA complaint was unsealed.

          Additionally, Sigma fails to adequately allege how its now former Chinese suppliers were

   not either generally known or readily ascertainable. While Sigma alleges in paragraph 39 that the

   “suppliers are not commonly known,” the record in the FCA Action contradicts this allegation.

   Sigma filed a motion to dismiss in the FCA Action in which Sigma stated that Island’s claims were

   based on publicly available government shipping records. See Exhibit 2. At trial, the uncontested

   testimony of Mr. Woehrel established that Defendants subscribed to a publicly-available third-

   party service called Import Genius and obtained Sigma’s import records, which identify Sigma’s

   suppliers in China. Exhibit 6 at 130:12-131:12. Sigma’s import records were admitted as trial

   exhibits in the FCA Action and are attached hereto as Exhibit 5.

          Mr. Woehrel also testified, again uncontested, that Defendants simply “did internet

   searches. And looked up all the Chinese Manufacturers.” Exhibit 6 at 131:6-7. It has been noted

   that where the identity of a party’s “suppliers is publicly available through customs reports and

   industry resources [such as] Import Genius,” the identity of the suppliers cannot be considered a

   “trade secret.” PrimeSource Bldg. Prod., Inc. v. Huttig Bldg. Prod., Inc, 2017 WL 7795125, at *13

   (N.D. Ill. Dec. 9, 2017). Given that the FCA Action, which is relied upon by Sigma in its

   Complaint, contradicts its allegations that its suppliers are not known, such allegations should be



                                                   19
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               22 of 587
                                                                       DescPageID
                                                                            Main 138
                          Document       Page 22 of 35



   disregarded. See Kreipke v. Wayne State Univ., 807 F.3d 768, 782 (6th Cir. 2015) (noting that

   when a document contradicts allegations in a complaint, the document trumps the complaint);

   Williams v. CitiMortgage, Inc., 498 Fed. Appx. 532, 536 (6th Cir. 2012) (same). Again, Sigma

   has failed to adequately allege that it gained any economic value from keeping its suppliers secret

   (because the suppliers were never actually a secret). Therefore, Sigma has failed to allege a

   required element of a trade secret claim, and its complaint should be dismissed.

          b.      Sigma Fails To Allege What Reasonable Measures It Took To Protect Its
                  Trade Secrets

          To qualify as a “trade secret” under the DTSA, its owner must show that it took “reasonable

   measure[s] to keep such information secret.” 18 U.S.C. § 1839. Similarly, the definitional

   provisions of both the NJTSA and TUTSA provide that, to qualify as a trade secret, the information

   must be “the subject of efforts that are reasonable under the circumstances to maintain its secrecy.”

   N.J.S.A. 56:15-2; T.C.A. § 47-25-1702(4)(B).

          A trade secret plaintiff’s failure to adequately allege that it took reasonable measures to

   protect its purported trade secrets may be decided on a motion to dismiss. A recent decision by

   the U.S. District Court for the Southern District of New York on a motion to dismiss plaintiff’s

   DTSA claim is particularly instructive:

                 [T]o adequately allege a trade secret, Plaintiff must show that (i) it took
          reasonable measures to keep it secret; and (ii) the product derives independent
          economic value. Plaintiff's claim fails at the first prong.

                  The [Proposed Amended Complaint (“PAC”)] merely alleges that engineers
          working on the Grow Light were informed by Defendant to not discuss the project
          with anyone inside or outside the company. (PAC ¶ 42.) “There is not a single
          definition for what constitutes ‘reasonable measures,’ though [courts have] looked
          to physical security measures at facilities and confidentiality agreements relating to
          sensitive information.” Charles Ramsey Co., Inc. v. Fabtech-NY LLC, No. 1:18-
          CV-0546 (LEK/CFH), 2020 WL 352614, at *15 (N.D.N.Y. Jan. 21, 2020)
          (citing United States v. Shanshan Du, 570 F. App'x 490, 500 (6th Cir. 2014)). Here,



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    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               23 of 587
                                                                       DescPageID
                                                                            Main 139
                          Document       Page 23 of 35



          the PAC is silent as to any security measures or confidentiality agreements Plaintiff
          required Defendant and other employees to adhere to.

                    Further, while informing employees that certain information is a trade secret
          can be a reasonable measure, this is generally not sufficient without more, and
          Plaintiff has cited no case law to the contrary. See id. (“While advising employees
          that certain information is a trade secret can be an example of a reasonable measure
          . . . the Court has found no case in which this measure alone was sufficient to state
          a [Defend Trade Secrets Act] claim.”). While Plaintiff alleges employees were
          instructed not to discuss the Grow Light, without more, the PAC has failed to allege
          or show Plaintiff took reasonable measures to keep the product secret.

   Altman Stage Lighting, Inc., v. Julie Smith, 2022 WL 374590, at *5 (S.D.N.Y. Feb. 8, 2022).

          Similarly, the United States District Court for the Middle District of Tennessee has recently

   dismissed a complaint for failure to state a claim under both TUTSA and DSTA because the

   plaintiff had failed to adequately allege that it had taken reasonable measures to protect its alleged

   trade secret, the purchase price of particular real estate. BNA Assocs., LLC v. Goldman Sachs

   Specialty Lending Grp., L.P., 2022 WL 1449707, at *4 (M.D. Tenn. May 9, 2022) (“Here, BNA

   did not make reasonable efforts to maintain the secrecy of the Proposed Price.”) In BNA, the court

   noted that Plaintiff’s allegations that it “required prospective investors to keep that information

   secret and only disclosed the price to its employees on a need-to-know basis” was not sufficient to

   state a claim under DTSA and TUTSA, particularly when the Complaint indicated that Plaintiff

   made the information available to other parties. Id.

          Here, Sigma’s Complaint contains nothing beyond a few, very conclusory paragraphs

   regarding the measures it purportedly took to maintain the secrecy of its Chinese suppliers:

                   “Sigma takes reasonable measures to keep its trade secrets and confidential

                    business information secret.” [D.E. 1, Complaint ¶ 29.]

                   “Sigma took reasonable steps to protect these secrets.” [Id. at ¶¶ 81 & 94.]




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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               24 of 587
                                                                       DescPageID
                                                                            Main 140
                          Document       Page 24 of 35



                    “Mr. Paquette owed an implicit and explicit fiduciary duty to Sigma to maintain

                    the confidentiality of the trade secrets and confidential business information he

                    learned during the course of his employment with Sigma. . . .” [Id. at ¶ 36.]

                   “Mr. Paquette had a duty to maintain the secrecy of these trade secrets. . . .” [Id.

                    at ¶¶ 82 & 95.]

          Nowhere does Sigma identify even a single step it took to protect its purported trade secrets.

   Nowhere does Sigma allege how its former employee, Mr. Paquette, owed any “fiduciary duty”

   that would be applicable here, much less explain how such duty would extend beyond the

   termination of his employment. Moreover, even if Sigma had pled that it had an actual non-

   disclosure or confidentiality agreement with Mr. Paquette (which, notably, it does not), that fact

   alone would not be enough to adequately plead that Sigma took reasonable measures to protect its

   purported trade secrets. See Altman Stage Lighting, Inc., v. Julie Smith, 2022 WL 374590, at *5

   (S.D.N.Y. Feb. 8, 2022).

          Finally, not only does Sigma’s Complaint fail to adequately allege any “reasonable

   measures” it took to protect its alleged “trade secrets,” it acknowledges that it refrained from taking

   such measures during the FCA Action when it had the opportunity to do so. Specifically, Sigma

   alleges that it was somehow damaged because Island revealed its trade secrets – the identities of

   its former Chinese suppliers – in the FCA Action. But Sigma’s allegations that Island violated the

   Protective Order in the FCA Action in doing so is contrary to the plain language of that order.

   [Complaint ¶ 62-66.] See Exhibit 3.

          The purpose of the Protective Order was to allow a party producing documents to designate

   them as confidential. The Protective Order defines a “Designating Party” as “a Party or Non-Party

   that designates information or items that it produces in disclosures or in responses to discovery as


                                                     22
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               25 of 587
                                                                       DescPageID
                                                                            Main 141
                          Document       Page 25 of 35



   ‘Confidential.’” See Exhibit 3. Nothing in the Protective Order allows a party receiving documents

   from another party to require the producing party to designate those particular documents as

   “Confidential.” While Sigma alleges that it requested that Island mark certain documents as

   “Confidential” and that Island refused to do so, the express language of the Protective Order

   contains no such requirement. And more importantly, Sigma never filed a motion with the court

   in the FCA Action to have such documents marked as “Confidential.” Filing a motion would have

   been the appropriate response to such a discovery dispute. See Fed. R. Civ. P. 26(c)(1); Exhibit 4.

   Instead, Sigma chose to do nothing about this “disclosure” of its purported trade secrets until now,

   two years later.

           It is clear that under Twombly and Iqbal, Sigma’s bare, conclusory allegations regarding

   the measures it took to protect its purported trade secrets must be disregarded by the court because

   they are not plausibly supported by the facts as pled. See Mitchell through Mitchell v. Cmty. Mental

   Health of Cent. Michigan, 243 F. Supp. 3d 822, 832 (E.D. Mich. 2017). Because Sigma’s

   Complaint fails to adequately allege the reasonable measures it took to protect its supplier list and

   because it disclosed its foreign suppliers in public import records, it fails to state a claim under the

   DTSA, NJTSA, and TUTSA. The Complaint should therefore be dismissed.

           c.      Sigma Fails To Allege That Defendants Intended to Cause Injury

           To prevail on a claim of misappropriation of trade secrets under the DTSA, a plaintiff must

   show (i) that it held a protectable trade secret, (ii) that defendants misappropriated that secret and

   (iii) that it suffered damages as a result. MWG Enterprises, LLC v. ETS Wound Care, LLC, 2022

   WL 503727 (E.D. Mo. February 18, 2022). In addition, liability under the DTSA attaches only

   when a trade secret – one that satisfies the statutory definition – is misappropriated by a party




                                                     23
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
                                           Entered
                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               26 of 587
                                                                       DescPageID
                                                                            Main 142
                          Document       Page 26 of 35



   “intending or knowing that the offense will[,] injure any owner of that trade secret.” 18 U.S.C.

   § 1832

            Sigma alleges that the identity of its suppliers from whom it purchased Chinese Welded

   Outlets without paying a 182.9% anti-dumping duty is a trade secret, and that Island and Sanders

   somehow misappropriated this information. However, Sigma does not allege that Defendants ever

   purchased a single product from these Chinese suppliers or in any way prevented such suppliers

   from continuing to sell Chinese Welded Outlets to Sigma. Similarly, Sigma does not allege that

   any of Sigma’s other competitors began purchasing Chinese Welded Outlets from Sigma’s

   Chinese suppliers as a result of any “disclosure” of this information in the FCA Action.

            Instead, Sigma alleges only that Island and Sanders used their knowledge of the identities

   of Sigma’s Chinese suppliers to bring the FCA Action “so that Island could gain a competitive

   advantage,” [D.E. 1 at ¶ 6], and that Defendants “acquired Sigma’s trade secrets to injure Sigma.”

   [D.E. 1 at ¶ 84.] There are no other allegations that Defendants sought information about the

   identities of Sigma’s suppliers in China for any reason whatsoever other than to prove the elements

   of its cause of action under the False Claims Act which, as noted above, was ultimately successful.

   Given that a judgment was entered against Sigma in the FCA Action, Defendants’ filing of the

   FCA Action was clearly justified.

            Thus, Sigma has failed to adequately plead that Island or Sanders intended to cause injury

   or knew that Sigma would be injured, and the Complaint should also be dismissed for that reason.

            d.     Sigma Has Not Identified Any Remedies To Which It Is Entitled

            To state a claim under DTSA, a complaint must allege (1) that plaintiff owned a trade

   secret, (2) that defendant misappropriated the trade secret, and (3) that plaintiff was damaged by

   defendant’s actions. Navigation Holding, LLC v. Molavi, 445 F.Supp.3d 69, *78 (N.D. Cal. 2020)



                                                    24
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               27 of 587
                                                                       DescPageID
                                                                            Main 143
                          Document       Page 27 of 35



   (citing Alta Devices, Inc. 343 F.Supp.3d 868, 880-81 (N.D. Cal. 2018). In paragraphs 69-75 of

   the Sigma Complaint, Sigma alleges that it was “damaged” in three ways: (1) it was damaged

   because it was found liable by the jury in the FCA Action for failing to pay required duties; (2) it

   was damaged because Island and Sanders disclosed the identities of its suppliers in the FCA

   Action; and (3) it was damaged because Island and Sanders somehow received a competitive

   advantage when information about its suppliers was so disclosed. None of these conclusory

   allegations regarding its alleged damages is sufficient to state a claim under applicable law.

            The DTSA, the NJTSA and the TUTSA allow for the same remedies: injunctive relief to

   protect the trade secret going forward3 and monetary damages for actual loss plus any unjust

   enrichment caused by the misappropriation that is not addressed in the calculation of damages for

   actual loss or a reasonable royalty. See 18 U.S.C.A. § 1836 (West); N.J.S.A. 56:15-4; T.C.A. § 47-

   25-1704.

            Sigma’s assertion that “[e]very dollar awarded to Island in the FCA Action constitutes

   unjust enrichment as a result of misappropriated trade secrets,” [Complaint at ¶ 72], defies reason.

   Unjust enrichment is measured by the profits obtained by the defendant from using the trade secret.

   LinkCo, Inc. v. Fujitsu Ltd., 232 F.Supp.2d 182, 185 (S.D.N.Y. 2002); Electro-Miniatures Corp.

   v. Wendon Co., 771 F.2d 23, 27 (2d Cir. 1985). Sigma fails to allege how Island profited by using

   its alleged trade secrets, other than in prevailing in the FCA Action.

            The FCA reflects Congress judgment that awarding whistleblowers helps to protect the

   government’s fiscal interest. The FCA also contains provisions regarding when and how Courts

   should limit or entirely deny an award based on the whistleblower’s misconduct (e.g., if the


   3
     Defendants are aware that Sigma’s complaint also seeks injunctive relief “compelling Defendants to return or destroy
   Sigma’s trade secrets that are in Defendants’ possession” and “barring Defendants from using or disclosing Sigma’s
   trade secrets in the future,” Sigma pleads no facts which state a plausible claim that it would be irreparably damaged
   if the names of suppliers which it ceased using four years ago were used or disclosed by Island.

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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               28 of 587
                                                                       DescPageID
                                                                            Main 144
                          Document       Page 28 of 35



   whistleblower is charged criminally). Allowing adjudicated fraudsters to recoup from

   whistleblowers would frustrate Congress’s purpose in providing for financial awards in the first

   place. Sigma’s contention that the judgment amounts to “unjust enrichment” is essentially an

   invitation to have this Court re-decide the FCA Action.

          Moreover, as noted above, Sigma asked the jury in the FCA Action to consider Defendants’

   own “behavior” in “contacting employees and former employees of competitors to get information

   to support this lawsuit;” however, the jury still found Sigma liable on Island’s claims. Exhibit 7 at

   119:7-12. Thus, a jury has already decided that Sigma was liable under the FCA despite Sigma’s

   allegation of wrongdoing by Defendants, and this Court is not the appropriate forum for reviewing

   the propriety of the jury’s decision in the FCA Action. Indeed, from a policy perspective, the idea

   that a party can lose a case in one court and then sue the prevailing party in another court, alleging

   that the prevailing party was “unjustly enriched” by the amount of the judgment would completely

   undermine the entire legal system.

          Second, Sigma’s assertion that it is entitled to damages based on Defendants’ disclosure of

   its “trade secrets” in the FCA Action is, quite frankly, absurd. If Sigma believed the documents

   identifying its Chinese suppliers discussed in paragraphs 61-68 of its Complaint were entitled to

   protection, the correct course of action would have been to file a motion in the FCA Action

   requesting that that court enter an order protecting the documents from disclosure. If Sigma

   believed that Defendants violated a protective order in the FCA Action, then the correct course of

   action would have been to file a motion for contempt in that case. But Sigma never filed anything

   in the FCA Action – as this Court can see by reviewing the docket in the FCA Action which is

   attached hereto as Exhibit 4. See Northville Downs v. Granholm, 622 F.3d 579 (6th Cir. 2010) (“a




                                                    26
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
                                           Entered
                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               29 of 587
                                                                       DescPageID
                                                                            Main 145
                          Document       Page 29 of 35



   court may consider matters of public record in deciding a motion to dismiss without converting

   the motion to one for summary judgment.”).

          Third, many of the documents identifying its Chinese suppliers which Sigma now

   complains about were ultimately entered as evidence and are thus a matter of public record. See

   id. Once again, Sigma took no action to protect those documents from disclosure. See Exhibit 4.

   Yet, Sigma seeks to have this Court determine that the discovery and admitted evidence presented

   in the FCA Action before a U.S. District Court in California should have been treated

   confidentially, even though Sigma sat on its hands and took no action to prevent such disclosure.

   Nowhere in the Sigma Complaint are there any allegations that explain why Defendants were

   responsible for Sigma’s inaction in protecting its own “trade secrets.”

          Fourth, Sigma’s 109-paragraph Complaint contains only two paragraphs (¶¶ 74 & 75) that

   suggest that Defendants damaged Sigma in a manner unrelated to the FCA Action.               Both

   paragraphs are made “upon information and belief” and contain nothing more than conclusory

   statements that somehow Defendants have obtained a “competitive advantage.” Sigma has not

   made a single specific allegation as to how Defendants have used Sigma’s purported “trade secrets”

   about the identifies of its Chinese suppliers, other than in connection with its successful

   prosecution of the FCA Action, much less how Defendants gained any “competitive advantage”

   thereby. Similarly, Sigma makes no factual allegations that the alleged disclosure of the names of

   its former suppliers in discovery in the FCA Action were used by any of its FCA co-defendants to

   Sigma’s detriment. In fact, Sigma does not allege that Defendants or the FCA co-defendants have

   made use of Sigma’s suppliers or interfered with Sigma’s relationship with those suppliers in any

   way. Under Twombly and Iqbal, conclusions may not be accepted as true unless they are plausibly

   supported by the pleaded facts. Sigma has pled no facts to support its conclusion that Defendants



                                                   27
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               30 of 587
                                                                       DescPageID
                                                                            Main 146
                          Document       Page 30 of 35



   have used its “trade secrets” for competitive advantage. Therefore, those allegations in paragraphs

   74 and 75 must be disregarded by the Court in determining this motion. See Mitchell through

   Mitchell v. Cmty. Mental Health of Cent. Michigan, 243 F. Supp. 3d 822, 832 (E.D. Mich. 2017).

           Finally, Sigma’s allegations that Island was found liable for misappropriation of trade

   secrets in a wholly-separate lawsuit filed by Anvil, another competitor in the industry, does nothing

   to rescue Sigma’s facially-deficient Complaint. To begin with, Defendants have appealed that

   judgment to the U.S. Court of Appeals for the Sixth Circuit, which appeal is still pending. Second,

   Anvil was dismissed from the FCA Action before trial so that, unlike Sigma, Anvil’s claims could

   not have been considered by a jury in the FCA Action and are not barred by the doctrine of claim

   preclusion like Sigma’s are. Finally, the fact that Defendants were found liable to Anvil in a

   separate lawsuit is not enough to satisfy the standard established by Twombly and Iqbal. There

   were no findings in the Anvil matter that Defendants were liable to Sigma for anything. Simply

   stated, Sigma’s allegations that Defendants were found liable for trade secret misappropriation in

   a separate lawsuit that did not involve Sigma or information about Sigma’s Chinese suppliers is

   irrelevant and inadmissible here.4

           Because Sigma has failed to satisfy the requirements of Rule 12(b)(6), its Complaint should

   be dismissed. Sigma has failed to allege any damages allowed by the trade secrets acts. Sigma’s

   attempt to tack on a claim that Defendants have used its “trade secrets” to gain a competitive

   advantage is totally devoid of any factual content, and the reasoning is clear from the other 107

   paragraphs of the Complaint: this is nothing more than an attempt to retaliate against Defendants

   for successfully litigating the FCA Action.               Sigma’s Complaint should be dismissed with

   prejudice.


   4
     Sigma attempted the same tactic in the FCA Action but as the Court noted there: “What another jury did has nothing
   to do with what this jury has to decide, Counsel.” Exhibit 6 at 152:23-24.

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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               31 of 587
                                                                       DescPageID
                                                                            Main 147
                          Document       Page 31 of 35



   IV.       18 U.S.C. § 1833 BARS ALL THREE COUNTS OF SIGMA’S COMPLAINT.

             Finally, separate and apart from the grounds described above, Sigma’s Complaint should

   also be dismissed because Defendants are immune from liability in this case pursuant to 18 U.S.C.

   § 1833.

             Specifically, 18 U.S.C. § 1833(b) provides as follows:

             (b) Immunity from liability for confidential disclosure of a trade secret to the
             government or in a court filing.—

                     (1) Immunity.--An individual shall not be held criminally or civilly liable
                         under any Federal or State trade secret law for the disclosure of a trade
                         secret that—

                              (A) is made—

                                       (i)      in confidence to a Federal, State, or local government
                                                official, either directly or indirectly, or to an attorney;
                                                and

                                       (ii)     solely for the purpose of reporting or investigating a
                                                suspected violation of law; or

                              (B) is made in a complaint or other document filed in a lawsuit or
                                  other proceeding, if such filing is made under seal.

             Section 1833 codifies “the strong public policy in favor of protecting whistleblowers who

   report fraud against the government.”5 Such an exemption is necessary given that the FCA

   requires that a relator turn over all material evidence and information to the government when

   bringing a qui tam action. See 31 U.S.C. § 3730(b)(2). By providing immunity, Congress was

   attempting to safeguard whistleblowers from the very type of retaliation that Sigma is attempting

   here. Section 1833 reflects Congress’s decision that the benefit provided by whistleblowers such


   5
     See United States v. Cancer Treatment Ctrs. of Am., 350 F.Supp.2d 765, 773 (N.D. Ill. 2004) (holding that a relator
   was exempt from liability for breach of a confidentiality agreement for the disclosure to the government of documents
   that showed employer had engaged in fraudulent healthcare billing practices); U.S. ex rel. Ruhe v. Masimo Corp., 929
   F. Supp. 2d 1033, 1039 (C.D. Cal. 2012) (holding that plaintiffs could not be held liable for violating non-disclosure
   agreements when such disclosure occurs in order to expose a fraud against the government.)

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CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               32 of 587
                                                                       DescPageID
                                                                            Main 148
                          Document       Page 32 of 35



   as Defendants outweighs any harm that might have been caused by such a whistleblower’s

   violation of any trade secrets act, federal or state. Allowing companies that are found liable in

   FCA actions for defrauding the federal government – as Sigma was shown to have done – to turn

   around and sue the whistleblower would obviously have a chilling effect on enforcement.

   Congress intended to avoid this result by granting immunity to whistleblowers who successfully

   pursue FCA claims within the parameters of § 1833. As a result, courts have held that defendants

   found liable for FCA violations may not seek indemnification or contribution for their own

   wrongful acts. See, e.g., Cell Therapeutics, Inc. v. Lash Group, Inc., 586 F.3d 1204, 1209 (9th

   Cir. 2009); United States ex rel. Madden v. General Dynamics Corp., 4 F.3d 827, 830-31 (9th Cir.

   1993); Mortgages, Inc. v. United States Dist. Ct. for the Dist. Of Nev. (Las Vegas), 934 F.2d 209,

   213 (9th Cir. 1991); United States ex rel. Rigsby v. State Farm Fire and Casualty Co., 2015 WL

   13649420, *5 (S.D. Miss. 2015).

           As addressed more fully above, Sigma alleges that Defendants misappropriated its trade

   secrets by disclosing the identity of its Chinese suppliers in the course of the FCA action. Indeed,

   Sigma’s entire Complaint is predicated on the contention that it was damaged by the alleged

   disclosure of its “trade secrets” through Island’s filing and prosecution of the FCA Action in which

   Sigma was ultimately held liable for damages in excess of $26 million. 6

           The FCA Action was a qui tam action filed by Island under seal on behalf of the U.S.

   Government. [See Complaint ¶ 16.] Exhibit 4. As in all such cases, after filing, the U.S.


   6
    Sigma’s Complaint contains sections titled “Defendants Obtained Information in an Effort to Develop a Claim
   Against Sigma in the FCA Action” and “Defendants Were Unjustly Enriched By Their Misappropriation of Sigma’s
   Trade Secrets in the FCA Action.” [Id. at ¶¶ 43-49 and ¶¶ 54-60 (emphasis added).] Paragraph 6 states that
   Defendants used the “trade secrets” to develop and maintain the FCA Action against Sigma. [Id.] Paragraph 72
   specifically states that “Every dollar awarded to Island in the FCA Action constitutes unjust enrichment as a result
   of misappropriated trade secrets.” [Id. (emphasis added).] The only other damages complained of with any specificity
   by Sigma are disclosure of “trade secrets” within documents that were filed as part of the FCA Action. Thus, it could
   not be clearer that all of Sigma’s claims arise from the FCA Action.


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    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                               11/11/22
                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               33 of 587
                                                                       DescPageID
                                                                            Main 149
                          Document       Page 33 of 35



   government investigated the matter and determined whether to formally intervene as a plaintiff. If

   the government declines to intervene, the plaintiff may proceed on behalf of the government as a

   relator, which is exactly what happened here. Sigma does not allege that Defendants’ purported

   acquisition, disclosure or use of these alleged trade secrets occurred other than specifically in

   connection with the disclosures made in the course of the FCA Action. Both subsections (A) and

   (B) of § 1833 are applicable here.

          Accordingly, to the extent Sigma’s Complaint seeks damages from Defendants for

   disclosing information in confidence – whether trade secret or not – to the U.S. government in

   connection with the FCA Action, Defendants are immune to suit under any federal or state trade

   secret law under subsection A. Likewise, because the FCA Action itself was indisputably filed

   under seal, subsection (B) is also satisfied. The fact that the complaint was later unsealed is

   irrelevant given that subsection (B) only requires that the complaint be filed under seal.

          In summary, because Defendants are expressly immune from suit under any Federal or

   State trade secret law under 18 U.S.C. § 1833, Sigma’s Complaint fails to state a claim upon which

   relief can be granted and should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) made applicable

   to this proceeding by Fed. R. Bank. P. 7012.

    V.    DEFENDANTS ARE ENTITLED TO AN AWARD OF REASONABLE
          ATTORNEY’S FEES

          Under DTSA, a prevailing party is entitled to an award of reasonable attorney’s fees if the

   “claim of misappropriation is made in bad faith.” 18 U.S.C.A. § 1836. As Defendants have

   outlined above, Sigma’s claims are barred by well-established principles of claim preclusion and

   statute. Additionally, Sigma fails to allege any facts to support a claim under any of the three trade

   secret acts cited in the Sigma Complaint. After reviewing the Sigma Complaint in light of the

   FCA Action, it should be clear that Sigma is attempting to relitigate a case in which it was found

                                                    31
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                                   06/27/22
                                                          Page
                                                            17:24:54
                                                               34 of 587
                                                                       DescPageID
                                                                            Main 150
                          Document       Page 34 of 35



   liable to the U.S. Government in excess of $26 million because it had knowingly submitted false

   importation documents to avoid paying a duty on its imported goods.

          The Sigma Complaint is an attempt to derail Island’s bankruptcy and force Defendants to

   pay for Sigma’s unlawful behavior. In short, the Sigma Complaint is simply a deliberate strategic

   attempt to minimize the FCA Judgment which Defendants successfully obtained against Sigma.

   Given that there is clearly no viable claim in the Sigma Complaint, it should be clear that it was

   brought in bad faith.

          Defendants would ask that the Court award them their reasonable attorneys’ fees (to be

   decided at a separate hearing), or, in the alternative, grant Defendants leave to file a motion seeking

   such fees.

                                             CONCLUSION

          WHEREFORE, Defendants pray that the Court dismiss Sigma’s Complaint with prejudice

   for the reasons provided above, and award Defendants their reasonable attorneys’ fees, and grant

   Defendants such relief as is consistent with this motion.

                                                  GLANKLER BROWN, PLLC


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                                                     32
CaseCase
    2:22-cv-02436-JPM-cgc
         22-00050 Doc 19 Document
                          Filed 06/27/22
                                    33-1 Filed
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                                               11/11/22
                                                   06/27/22
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                                                               35 of 587
                                                                       DescPageID
                                                                            Main 151
                          Document       Page 35 of 35



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                                          CERTIFICATE OF SERVICE

          I, Ricky L. Hutchens, hereby certify that a true and correct copy of the foregoing objection
   was sent via first class mail, postage prepaid, to parties listed on the court’s matrix on the 27th day
   of June 2022:

            Matrix
                                          /s/ Ricky L. Hutchens___________________
                                          Ricky L. Hutchens

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        22-00050 Doc 19-1 Document
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                                                    06/27/22
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                                                                36 of 587
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                                                                             Exhibit152
                           FCA Complaint Page 1 of 27




                                EXHIBIT 1
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     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                                  Page
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                                                                       37 of 587
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                                                                                  PageID
                                                                                    Exhibit153
    Case 2:17 -cv- 04393 -RGK   FCA
                              -KS     Complaint
                                   Document   97 Page
                                                 Filed  2 of 27
                                                       07/10/19  Page 1 of 26 Page ID #:536



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                ISLAND INDUSTRIES, INC.
       13

       14
                                        UNITED STATES DISTRICT COURT
       15
                                      CENTRAL DISTRICT OF CALIFORNIA
       16

       17
                UNITED STATES OF AMERICA ex                   Case No. 2:17 -cv -04393 (RGK -KS)
       18       rel. ISLAND INDUSTRIES, INC.,
       19                          Plaintiff,
                                                             FIRST AMENDED COMPLAINT
      20
                           vs.                               FOR VIOLATIONS OF THE
      21                                                     FALSE CLAIMS ACT
                VANDEWATER INTERNATIONAL
      22        INC.; NEIL REUBENS; ANVIL
      23        INTERNATIONAL, LLC.; SIGMA
                CORPORATION; SMITH COOPER
      24        INTERNATIONAL; ALLIED RUBBER
      25        & GASKET COMPANY, and JOHN                                          EXHIBIT
                DOES Nos. 1 -10.,
      26
                                                                                 sa4414/to
                                   Defendants.
      27                                                                        2

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                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
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                                                     11/11/22
                                                         06/27/22
                                                                Page
                                                                  17:24:54
                                                                      38 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit154
   Case :17 -cv- 04393- RGK -KSFCA
                                 Document   97 Filed
                                     Complaint  Page   3 of 27 Page 2 of 26 Page ID #:537
                                                     07/10/19



           1                The United States of America ex rel. Island Industries, Inc. ( "Relator"),
          2       complaining of VANDEWATER INTERNATIONAL, INC. ( "VANDEWATER");
          3      NEIL REUBENS ( "REUBENS "); ANVIL INTERNATIONAL, LLC ( "ANVIL ");
          4       SIGMA CORPORATION ( "SIGMA "); SMITH COOPER INTERNATIONAL
          5       ( "SMITH         COOPER"); ALLIED RUBBER & GASKET CO., INC. ( "ARGCO ");
          6      and JOHN DOES NOS. 1 -10 (collectively "Defendants "), alleges and says as
          7      follows:
          8                                             INTRODUCTION
          9                 1.       Relator is an American manufacturer of fire protection and steel piping
      10         system supplies. Among other things, it manufactures carbon steel butt -weld pipe
      11         fittings for use in fire protection systems. Specifically, Relator manufactures
      12         grooved welded outlets. Others in the market manufacture grooved and female
      13         threaded outlets. Because all of these products are designed to be welded to another
      14         piece of pipe, they are all commonly referred to as "Welded Outlets." Relator
      15         estimates that the domestic market for Welded Outlets is roughly $25 million
      16         annually.
      17                   2.        Several Chinese companies, including, but not limited to, Beijing Bell
      18         Plumbing Manufacturing Ltd. ( "Beijing Bell "), Jinan Meide Casting Co., Ltd.
      19         ( "Jinan       Meide"), and Shanghai Vision Mechanical Joint Co., Ltd. ( "Shanghai
      20         Vision ") (collectively, the "Chinese Manufacturers "), also manufacture Welded
     21          Outlets ( "Chinese Welded Outlets "). Other Chinese companies, including the
     22          China-East Resources Import and Export Company, which is owned and controlled
     23         by the Chinese government, assist the Chinese Manufacturers to export their
     24         Chinese Welded Outlets to the United States.
     25                    3.       For more than 25 years, Chinese carbon steel butt -weld pipe fittings,
     26         including Chinese Welded Outlets, have been subject to substantial antidumping
     27         duties. In particular, as the Department of Commerce recently reiterated, Chinese
     28         Welded Outlets are subject to antidumping duties of 182.9 percent. Obviously, this
               731991839
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                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                       11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                       39 of 587
                                                                               DescPageID
                                                                                     Exhibit155
                         RGK -KSFCA   Complaint
                                  Document   97  Page
                                                Filed   4 of 27
                                                      07/10/19  Page 3 of 26  Page ID #:538
   Case 2:17 -cv- 04393-



        1   substantial antidumping duty creates a powerful incentive for persons and
        2   companies to seek to evade its application when importing Chinese Welded Outlets.
        3              For more than a decade, Defendants, working in concert with the
                        4.

        4   Chinese Manufacturers, the China -East Resources Import and Export Company,
        5   and JOHN DOES NOS. 1 -10, have knowingly and intentionally evaded and
        6   avoided the substantial antidumping duties on Chinese Welded Outlets. Defendants
        7   have used various and shifting means to evade the antidumping duties, including:
        8   (a) by falsely describing the Chinese Welded Outlets as steel products that are not
        9   subject to antidumping duties; (b) by falsely claiming that the Chinese Welded
       10   Outlets originated in countries (e.g., Vietnam or South Korea) that are not subject to
       11   antidumping duty orders; and (c) by co- mingling the Chinese Welded Outlets with
       12   larger shipments of similar products that are not subject to antidumping duties. In
       13   all such cases, however, Defendants and their agents have made knowingly false
       14   statements to United States Customs and Border Protection ( "CBP "), to wit, that
       15   shipments containing Chinese Welded Outlets were not subject to antidumping
       16   duties when, in truth and fact, they were.
       17                On information and belief, during the past five years alone, Defendants
                        5.

       18   imported or facilitated the importation of at least $50 million of Chinese Welded
       19   Outlets without paying the applicable 182.9 percent antidumping duty; indeed,
       20   Defendants imported these products without paying any antidumping duties.
       21   Accordingly, in just the past five years, Defendants' false statements and unlawful
       22   actions have deprived the United States of more than $90 million in antidumping
       23   duties. Moreover, the damage to the United States dating back to 2004 likely
       24    exceeds $200 million.
       25                              PARTIES, JURISDICTION, AND VENUE
       26               6.       Relator is a corporation organized and existing under the laws of the
       27    State of Tennessee. Relator's headquarters and home office is in Memphis,
       28    Tennessee. Relator, through its officers, directors, agents, and employees, is the
            731991839                                       -2-
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 DocumentFiled 06/27/22
                                            33-1 Filed
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                                                       11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      40 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit156
     Case 2:17 -cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 4 of 26 Page ID #:539
                                 FCA Complaint Page 5 of 27


           1       original source of the allegations delineated herein, which it bases upon its own
           2       knowledge, investigation, and observation.
           3                7.   VANDEWATER is a corporation organized and existing under the
           4       laws of the State of Florida. VANDEWATER's headquarters and home office is in
           5       Plantation, Florida. VANDEWATER transacts substantial business throughout the
           6       United States and imported the goods at issue here through this and other judicial
           7       districts. REUBENS is the President and Chief Executive Officer of
           8       VANDEWATER and a resident of Florida.
           9                8. ANVIL is a limited liability company organized and existing under the
      10          laws of the State of Delaware. ANVIL's headquarters and home office is in Exeter,
      11          New Hampshire. ANVIL transacts substantial business throughout the United
      12          States and imported the goods at issue here through this and other judicial districts.'
      13                    9.SIGMA is a corporation organized and existing under the laws of the
      14          State of New Jersey. SIGMA's headquarters and home office is in Cream Ridge,
      15         New Jersey. SIGMA transacts substantial business throughout the United States
      16         and imported the goods at issue here through this and other judicial districts.
      17                   10.SMITH COOPER is a corporation organized and existing under the
      18         laws of the State of California. SMITH COOPER's headquarters and home office
      19         is in Commerce, California. SMITH COOPER transacts substantial business
     20          throughout the United States and imported the goods at issue here through this and
     21          other judicial districts.
     22                    11. ARGCO is a corporation organized and existing under the laws of the
     23          State of California. ARGCO's headquarters and home office is in Carlsbad,
     24         California. ARGCO transacts substantial business throughout the United States and
     25         imported the goods at issue here through this and other judicial districts.
     26                    12.   Upon information and belief, JOHN DOES #1-10 are entities and
     27

     28         ' In April 2019, ANVIL and SMITH
                                                 COOPER announced that they intended to merge. In May, ANVIL and SMITH
                COOPER announced that they had successfully completed the merger.
               731991839                                          3
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 DocumentFiled 06/27/22
                                            33-1 Filed
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                                                       11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      41 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit157
                                 FCA   Complaint  Page
     Case 2:17 -cv- 04393- RGK -KS Document 97 Filed    6 of 27
                                                                     07/10/19   Page 5 of 26 Page ID #:540



               1     individuals whose names and addresses are unknown. JOHN DOES #1-10 include,
               2     but are not limited to, the customs brokers, freight forwarders, and logistics
               3     companies that facilitate the Defendants' efforts to evade and avoid the
            4        antidumping duties on Chinese Welded Outlets.
            5                 13. This Court has original federal question jurisdiction over the claims
            6        asserted herein pursuant to 28 U.S.C. § 1331 and 31 U.S.C. § 3730(b).
            7                 14.  Venue is proper here pursuant to 28 U.S.C. § 1391(b)(2) and 31 U.S.C.
           8         §   3732(a) because a substantial part of the events giving rise to the claim and many
           9        of the false claims occurred in this judicial district. Specifically, it appears from
          10        Import Genius records that Defendants imported the bulk of the Chinese Welded
          11        Outlets at issue here through the Ports of Long Beach and Los Angeles, California.
       12                                        FACTUAL ALLEGATIONS
       13                                                The Products
       14                    15.Welded Outlets are typically used in fire protection systems.
       15           Accordingly, they are always tested, listed, and approved by Underwriters
       16          Laboratory ( "UL ") and FM Global ( "FM "). Welded Outlets are or have been
      17           marketed in the United States under a variety of names, including "Sprink- let,"
      18           "Weld- Out -Let," "Weld -O- Let," "Welding Outlet," "Pipe Outlet," "Safe- Let,"
      19           "Uni- Let," "COOPLET," "UL -FM O- Let," "T- Let," "SPF- OLET," "Groove -O-
      20           Let," "Grooved Outlet," "Grooved Shaped Nipples," and others.
      21                  16.  In their marketing materials, Defendants (and the Chinese
      22           Manufacturers) virtually always describe their Chinese Welded Outlets accurately
      23           (e.g., each Defendant markets its products as "welded outlets "). By contrast, in the
     24            public shipping records, Defendants virtually never use the term "welded outlet."
     25            On information and belief, Defendants avoid the term "welded outlet" in their
     26            shipping records because they know that phrase would be likely to cause the U.S.
     27            government to impose antidumping duties.
     28

               731991839
                                                             - 4 -
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS
                                                                                        ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                   Entered
                                                       11/11/22
                                                           06/27/22Page
                                                                      17:24:54
                                                                          42 of 587
                                                                                  DescPageID
                                                                                        Exhibit158
                                FCA   Complaint    Page
                                                Filed    7 of
                                                      07/10/1927 Page  6 of 26  Page ID #:541
   Case 2:17 -cv- 04393- RGK -KS Document 97



       1                             The Antidumping Duty Orders
       2          17.   In December 1986, the U.S. International Trade Commission
       3    ( "Commission ") determined that a U.S. industry was materially
                                                                            injured or

       4    threatened with material injury by reason of carbon steel butt-weld pipe fittings
       5    from Taiwan that the Department of Commerce ( "Commerce ") had determined
                                                                                          same
       6    were priced at less than fair value. In June 1992, the Commission made the
       7    determination with respect to Chinese carbon steel butt-weld pipe fittings.
       8          18.    Relying on these findings, Commerce imposed antidumping duties on
                                                                                           (Dec.
       9    Taiwanese butt-weld pipe fittings in December 1986, see 51 Fed. Reg. 45152
      10    17, 1986), and on Chinese butt-weld pipe fittings in July 1992, see 57
                                                                                    Fed. Reg.

      11    29702, 29703 (July 6, 1992). Commerce imposed antidumping duties of 182.9
       12   percent on most Chinese suppliers, including all of the known suppliers of Chinese
       13   Welded Outlets. See id.
       14               19.   The scope of the antidumping duty orders against Taiwan and China is
       15    substantively identical. Both orders cover:
       16
                               carbon steel butt-weld pipe fittings, having an inside
                               diameter of less than 14 inches imported in either
       17
                               finished or unfinished form. These formed or forged pipe
                              fittings are used to join sections in piping systems where
       18
                               conditions require permanent, welded connections, as
                               distinguished from fittings based on other fastenin
       19
                               methods (e.g., threaded, grooved, or bolted fittings
       20
             57 Fed. Reg. 29702, 29703 (July 6, 1992) (China) (emphasis added); 51 Fed. Reg.
       21

       22
             45152 (Dec. 17, 1986) (Taiwan) (stating that the order applies to "carbon steel butt-

       23
             weld type fittings, other than couplings, under 14 inches in diameter, whether

       24
             finished or unfinished ").

       25               20.Commerce has repeatedly renewed these antidumping duties. In 2016,
       26    Commerce elected to maintain the existing antidumping duty orders on carbon steel
                                                                                          57562
       27    butt -weld pipe fittings from China, Taiwan, and elsewhere. See 81 Fed. Reg.
       28    (Aug. 23, 2016) (announcing decision). Accordingly, at all times relevant to this
            731991839                                     - 5 -
                                                                                     ACT
                          FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 DocumentFiled 06/27/22
                                            33-1 Filed
                                                  Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                       43 of 587
                                                                               Desc
                                                                                  PageID
                                                                                    Exhibit159
                                 FCADocument
     Case 2:17 -cv- 04393- RGK -KS     Complaint  Page   8 of 27
                                               97 Filed 07/10/19 Page 7 of 26 Page ID #:542



            1        Complaint, the 182.9% antidumping duty on most Chinese butt-weld pipe fittings,
            2        including Chinese Welded Outlets, has been in effect.
            3                21.      The antidumping duty is assessed at the time of import. Every entry of
           4         goods into the United States requires the importer, shipper, or customs broker to
            5        complete an "Entry Summary," known as CBP Form 7501, that asks for (among
           6         other things) an "Entry Type." Imported goods subject to an antidumping or
           7         countervailing duty must be identified as such in the "Entry Type" field.
           8                22.       Assessment of the antidumping duty largely relies on self-reporting.
           9         Because Customs only inspects a very small percentage of all foreign imports that
       10            come through U.S. ports, there is ample opportunity to evade the antidumping duty
       11            by falsely completing the CBP Form 7501.
       12
                                     A 1992 Scope Ruling Confirms That Welded Outlets Are
       13                             Within The Scope Of The Antidumping Duty Orders
       14                   23.      In October 1991, following a meeting with Customs, Lloyd Perkins
       15            ( "Perkins ")   wrote Commerce to request a formal ruling that Welded Outlets   -
       16            specifically, Welded Outlets that were being marketed under the "Sprink -let" brand
       17            name-were beyond the scope of the antidumping duty order against Taiwan. A
       18            copy of that request is attached hereto as Exhibit A.
       19                   24.      Commerce rejected Perkins's request. Instead, Commerce ruled that
      20         Welded Outlets were within the scope of the order because of their physical
      21         characteristics (specifically, because they were used in piping systems where
      22         conditions require permanent, welded connections).2
      23                    25.      The Chinese Welded Outlets at issue here are physically identical to
      24         the "Sprink -Let" brand Welded Outlets. Compare Exhibit A (Sprink -Let) with
      25
                 2See Memorandum from Roland MacDonald to Joseph Spetrini, Final Scope Ruling
      26
                 on Request by Sprink, Inc. to Exclude Sprink-let Carbon Steel Butt Weld Pipe
      27         Fittings from the Antidumping Duty Order on Carbon Steel Butt-Weld Pipe Fittings
                 from Taiwan at 2 (Mar. 18, 1992) ( "Scope Ruling ") (attached as Exhibit B); see
      28
                 also 57 Fed. Reg. 19602, 19603 (May 7, 1992) (providing notice of the ruling).
                731991839                                        6
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      44 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit160
   Case 2:17-cv- 04393- RGK -KS FCA   Complaint
                                  Document       Page
                                            97 Filed   9 of 27 Page 8 of 26 Page ID #:543
                                                     07/10/19



       1    Exhibits C (Beijing Bell), D (Jinan Meide), E (Shanghai Vision), F (Vandewater),
       2     G (Anvil), H (Sigma) I (Smith Cooper) & J (ARGCO). They are used for an
       3     identical purpose (i.e., in piping systems where conditions require permanent,
       4    welded connections).
       5               26.     Notwithstanding this Scope Ruling, Chinese Welded Outlets have
       6    come to dominate the market. As described herein, Chinese Welded Outlets have
       7     achieved their dominant market position only because Defendants and others have
       8    avoided and evaded the applicable antidumping duties.
       9                                        Relator's Investigation
      10               27.     To prepare its initial Complaint, Relator analyzed the historic
      11    antidumping duty orders and scope rulings; undertook a painstaking review of
      12    public and private import data; collected information and documents from the
      13    Defendants' current and former agents, employees, and consultants; secured the
      14    assistance of a confidential source; met with a variety of market players; and
      15    assessed the significance and veracity of the information it collected based on its
      16    historic experience in the Welded Outlet market.
      17               28.     Relator's efforts revealed that the Defendants and their conspirators
      18    have been knowingly and intentionally evading the antidumping duties applicable
      19    to Chinese Welded Outlets since at least 2004. Tellingly, Relator's investigation
      20    also revealed that Defendants price their Chinese Welded Outlets within pennies of
      21    one another. Defendants' price levels are far too low to permit payment of the
      22    antidumping duties. It would not be economically feasible for Defendants to price
      23    their products at the levels at which they do unless they are all avoiding and
      24    evading the antidumping duties.
      25
                             The 2018 Scope Rulings Reaffirm That Welded Outlets Are
      26                        Within The Scope Of The Antidumping Duty Orders
      27               29.     In 2017 and 2018, on information and belief, the Defendants became
      28    aware of the United States' investigation into evasion of the antidumping duties
           731991839                                        7
                        FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      45 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit161
                                FCA  Complaint  Page   10 of 27
    Case 2:17 -cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 9 of 26 Page ID #:544



            1        applicable to Welded Outlets. On information and belief, in 2018,
           2         VANDEWATER, SIGMA, and SMITH COOPER sought to defeat the United
           3         States' investigation by seeking formal scope ruling requests from Commerce. In
           4         their respective scope ruling requests, VANDEWATER, SIGMA, and SMITH
           5         COOPER admitted both that they imported fully -finished Chinese Welded Outlets
           6         and that they did not pay any antidumping duties when doing so.
           7                30.   ISLAND opposed these scope ruling requests. ANVIL, which
           8         historically imported unfinished Chinese Welded Outlets, also opposed these scope
        9            ruling requests. After due consideration, Commerce ruled that Chinese Welded
       10            Outlets are within the scope of the Chinese antidumping duty order. Specifically,
       11            Commerce found that the Welded Outlets imported from China by
       12            VANDEWATER, SIGMA, and SMITH COOPER were all subject to the
       13            antidumping duty order.3
       14                              Specific Allegations Regarding Vandewater
       15                   31.   VANDEWATER is an importer and distributor of Chinese Welded
       16            Outlets. Although VANDEWATER historically purchased some American
       17            Welded Outlets from Relator, it began exclusively importing and distributing
       18            Chinese Welded Outlets in 2013. Attached hereto as Exhibit F are
      19         VANDEWATER product specifications for its Chinese Welded Outlets.
      20                    32.   VANDEWATER pioneered the importation of Chinese Welded
      21         Outlets. REUBENS began exploring the potential to import Chinese Welded
      22         Outlets in 2003. To determine the business plan's feasibility, REUBENS relied
      23         heavily on a business associate ( "CS 1 ") who more recently agreed to provide
      24
                 3See Memorandum from James Doyle to James Maeder, Final Scope Ruling on
      25         Smith-Cooper International Inc.'s Cooplet Weld Outlets (Dec. 20, 2018) (attached
                 as Exhibit K); Memorandum from Christian Llinas to James Maeder, Final Scope
      26
                 Ruling on SIGMA Corporation's Fire -Protection Weld Outlets (Dec. 11, 2018)
      27         (attached as Exhibit L); Memorandum from Annathea Cook to James Maeder, Final
                 Scope Ruling on Vandewater International Inc.'s Steel Branch Outlets (Sept. 10,
      28
                 2018) (attached as Exhibit M).
                731991839
                                                            - 8 -
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      46 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit162
                                  Document
   Case 2 17 -cv- 04393- RGK -KSFCA         97 Filed
                                     Complaint  Page   11 of 27Page 10 of 26 Page ID #:545
                                                     07/10/19



           1     information to Relator on a confidential basis. CS1, in turn, recruited Perkins to
        2        assist in assessing REUBENS' business plan.
        3                  33.   In 2004, as part of this effort, REUBENS, CS1, and Perkins developed
        4        documents reflecting VANDEWATER's anticipated costs, pricing, and profits for
                 Chinese Welded Outlets. REUBENS, CS1, and Perkins concluded that it would be
                                                                                                      -
        5

        6        profitable for VANDEWATER to import and distribute Chinese Welded Outlets
        7        but only if it paid no antidumping duties.
        8                  34.   REUBENS, CS1, and Perkins knew that Chinese Welded Outlets were
       9         subject to antidumping duties. After all, Perkins personally requested the "Sprink-
      10         let" scope ruling and knew that Welded Outlets were subject to antidumping duties.
      11         Nevertheless, REUBENS, CS1, and Perkins agreed to work together to import
      12         Chinese Welded Outlets, to market them, and to share the profits from their sale.
      13                   35.   Over the years, Relator's President has personally observed
      14        REUBENS, CS1, and Perkins promoting VANDEWATER's Chinese Welded
      15         Outlets at trade shows.
      16                   36.   VANDEWATER began importing Chinese Welded Outlets under the
      17        "CERIECO" brand name in 2004. Since that time, VANDEWATER has engaged
      18        in various intentionally deceptive practices to avoid paying antidumping duties.
      19        Those practices, which have evolved over time, include, but are not limited to, the
      20        following:
      21                   a)    In February, April, and December of 2007, VANDEWATER imported
      22                         from China at least five shipments of "U-L FM Approved Steel Pipe -
      23                         O- Lets." Although these were Chinese Welded Outlets, the product
      24                         description includes a Harmonized Tariff Schedule ( "HTS ") code that
      25                         applied only to "Parts and Accessories for Motor Vehicles."
      26                         VANDEWATER has never supplied the automotive market.
      27                   b)    Between 2007 and 2012, VANDEWATER imported from China more
      28                         than 40 shipments of products it described as "UL FM Approved Steel
               731991839                                   - 9 -
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      47 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit163
                                FCA  Complaint  Page   12 of 27
    Case 2 17 -cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 11 of 26 Page ID #:546



            1                      Pipe -O- Lets." Although these products were Chinese Welded Outlets
            2                      that were subject to the antidumping duty order, VANDEWATER paid
            3                     no such antidumping duties.
            4                c)   In 2013, VANDEWATER began importing products it described as
            5                     "Grooved Outlets." Although these products were Chinese Welded
            6                     Outlets produced by Beijing Bell, VANDEWATER never paid the
            7                     antidumping duties. Based on Import Genius import records, it
           8                      appears that VANDEWATER sometimes evaded these duties in part
           9                      by falsely claiming that they were made in South Korea   -a country
       10                         whose Welded Outlets are not subject to antidumping duties.
       11                   d)    On information and belief, VANDEWATER began falsely describing
       12                         Chinese Welded Outlets as "BLK Steel Coupling Blanks" in 2011.
       13                         Coupling blanks are beyond the scope of the antidumping duty order
       14                         on Chinese Welded Outlets. Although importation records reflect that
       15                         VANDEWATER imported more than 145,000 pounds of coupling
       16                         blanks between 2011 and 2015, VANDEWATER did not advertise
       17                         coupling blanks during this era.
       18                   e)    On information and belief, VANDEWATER imported more than five
       19                         million pounds of Chinese Welded Outlets that it falsely described as
      20                          "adaptors" between 2013 and 2016. (Adaptors are not subject to
      21                          antidumping duties.)
      22                    37.   All told, between 2013 and 2017, VANDEWATER imported more
      23         than 180 shipments of Chinese Welded Outlets that collectively weighed more than
      24         eight million pounds. Relator estimates that the import value of these products well
      25         exceeded $10 million. All of these Chinese Welded Outlets were subject to
      26         antidumping duties. On the relevant importation documentation, however,
      27         VANDEWATER falsely described the products and falsely represented to the U.S.
      28         government that the products were not subject to antidumping duties.
                731991839                                     1
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                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                    17:24:54
                                                                       48 of 587
                                                                               Desc
                                                                                  PageID
                                                                                    Exhibit164
  Case 2 17 -cv- 04393- RGK -KS FCA  Complaint
                                 Document       Page
                                           97 Filed    13 of 27Page 12 of 26 Page ID #:547
                                                    07/10/19



       1               38.   REUBENS' behavior raises multiple red flags. Around 2004,
       2    REUBENS began making frequent trips to China. During these visits, he met with
       3    representatives of the state-owned China -East Resources Import and Export
       4    Company. On information and belief, the China-East Resources Import and Export
       5    Company authorized VANDEWATER to use the "CERIECO" brand name.
       6    ( "CERIECO" is an acronym for the China -East Resources Import and Export

       7    Company.) Accordingly, in 2004, VANDEWATER filed a U.S. Trademark
       8    Application to use the "CERIECO" brand name, which was registered in 2005.
       9    VANDEWATER has used that trademarked name ever since.
      10               39.   REUBENS's relationship with the China -East Resources Import and
      11    Export Company appears suspicious. The International Consortium of
      12    Investigative Journalists' Offshore Leaks Database reflects that REUBENS and
      13    Xing Guo, a Chinese national, own a Hong Kong Company known as Fonlingtel,
      14    Ltd. Moreover, Guo appears to have profited from the relationship: in 2013, she
      15    purchased an expensive villa in Florida and, in July 2015, she incorporated a for -
      16    profit corporation named "CERIECO INC." in the State of Florida.
      17                REUBENS' statements to Relator also raise red flags. For example, in
                       40.
      18    February 2013, REUBENS telephoned Relator to advise that he would no longer
      19    purchase any Welded Outlets from Relator because VANDEWATER had its own
      20    factory in China. REUBENS then suggested that Relator could purchase Chinese
      21    Welded Outlets from VANDEWATER, finished or unfinished, with no "Made in
      22    China" markings. REUBENS suggested that Relator could stamp the product
      23    "Made in the USA" and sell it in the United States as domestic Welded Outlets.
      24    REUBENS stated that no one would ever find out about this arrangement because
      25    the Customs inspectors at the receiving ports were too busy to check the incoming
      26    shipments. Relator rejected this proposal.
      27               41.   Around this same time, Perkins passed away, and REUBENS advised
      28    CS 1 that he would no longer share profits from importing Chinese Welded Outlets.
           731991839                                  - 11 -
                        FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
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                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                        49 of 587
                                                                                DescPageID
                                                                                      Exhibit165
   Case 2 17 -cv- 04393- RGK -KSFCA  Complaint
                                  Document   97  Page
                                                Filed   14 of
                                                      07/10/1927 Page 13 of 26  Page ID # :548



           1     CS 1 then provided Relator with documents reflecting VANDEWATER's initial
           2     pricing and profit assumptions. (Copies are attached as Exhibit N.) As noted
           3     above, those pricing documents confirmed that VANDEWATER never intended to
        4       pay any antidumping duties when importing Chinese Welded Outlets.
           5               42.   After receiving these materials, Relator analyzed VANDEWATER's
        6       pricing. After taking inflation in the steel markets into account, Relator confirmed
        7       that VANDEWATER's pricing for "CERIECO" Welded Outlets in 2013 was
        8       consistent with its initial pricing assumptions from 2003. In other words,
        9       VANDEWATER could not have profited from importing and selling Chinese
       10       Welded Outlets at the prices it quoted unless VANDEWATER was evading and
       11       avoiding the antidumping duties.
       12                  43.   In 2016, as part of its investigation, Relator emailed Beijing Bell
       13       directly to request a quote on Chinese Welded Outlets. REUBENS responded by
       14       email several days later. He advised Relator that Beijing Bell had asked him to
       15       respond because VANDEWATER held "the UL FM approval on the product" and
       16       that it had an "exclusive relationship" with Beijing Bell. REUBENS further stated
       17       that VANDEWATER would be willing to sell Relator Chinese Welded Outlets
       18       bearing "the CERIECO' brand on them" and that they would be "shipped in
                                 `



       19       CERIECO cartons." REUBENS provided price quotes for Welded Outlets that
      20        supposedly reflected the "duty, brokerage and handling."
      21                   44.   As it had in 2013, Relator again analyzed VANDEWATER's price
      22        quote in 2016. After considering inflation in the steel markets, Relator determined
      23        that VANDEWATER's pricing in 2016 was consistent with the pricing
      24        assumptions from 2003. Relator further determined that it would not have been
      25        economically feasible for VANDEWATER to sell Chinese Welded Outlets at the
      26        prices it had quoted unless it was evading and avoiding the antidumping duties.
      27                   45.   In its May 2018 scope ruling request, VANDEWATER confirmed
      28        what Relator alleged in the initial complaint: namely, that VANDEWATER
               731991839                                    -   12-
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
                                          33-1 Filed
                                                Entered
                                                     11/11/22
                                                         06/27/22
                                                                Page
                                                                  17:24:54
                                                                     50 of 587
                                                                             Desc
                                                                                PageID
                                                                                  Exhibit166
                                 Document
   Case 2 17 -cv-04393- RGK -KSFCA         97 Filed
                                    Complaint  Page   15 of 27Page 14 of 26 Page ID #:549
                                                    07/10/19



           1     imports Chinese Welded Outlets without paying the applicable antidumping duties.
       2         VANDEWATER has thus already admitted that it has long avoided paying the
       3         antidumping duty order applicable to Chinese Welded Outlets.
       4                   46.   Based on the foregoing facts and Relator's investigation, upon
       5         information and belief VANDEWATER and REUBENS entered into agreements
       6         between themselves and with other individuals and entities (such as Beijing Bell,
       7         China -East Resources Import and Export Company, and others known to
       8         VANDEWATER and REUBENS but unknown at this time to Relator) to violate
       9         the False Claims Act by falsely declaring that the Chinese Welded Outlets were not
      10         subject to antidumping duties.
      11                                   Specific Allegations Regarding Anvil
      12                   47.   ANVIL has historically marketed several lines of Welded Outlets: its
      13         "Merit" brand was sourced in the United States while its SPF brand was
      14         "internationally sourced." On information and belief, the bulk of these
      15         internationally- sourced products are manufactured, in whole or part, in China.
      16        Attached hereto as Exhibit G are ANVIL'S product specifications for its domestic
      17        and Chinese Welded Outlets.
      18                   48.   Since 2012, Anvil has imported more than $5 million of Chinese
      19        Welded Outlets every year. Before that date, Anvil imported a lesser, but still
      20        substantial, amount of Chinese Welded Outlets. On information and belief, most of
      21        the Chinese Welded Outlets that Anvil purchased were manufactured by Beijing
      22        Bell or Jinan Meide.
      23                   49.   Despite its substantial purchases of Chinese Welded Outlets, the
      24        import record suggests that ANVIL did not import any Chinese Welded Outlets.
      25        The records instead reflect that one of ANVIL's subsidiaries has been importing
     26         significant volumes of "merchant coupling blanks," "pipe fittings," "pipe nipples,"
     27         and other products that are beyond the scope of the antidumping duty order on
     28         Chinese Welded Outlets. On information and belief, ANVIL avoids the
               731991839
                                                           - 13 -
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                        51 of 587
                                                                                DescPageID
                                                                                      Exhibit167
                                FCA  Complaint
   Case 2.17 -cv- 04393- RGK -KS Document    97  Page
                                                Filed   16 of
                                                      07/10/1927 Page 15 of 26  Page ID #:550



        1    antidumping duties on its Chinese Welded Outlets by, among other things, falsely
        2    describing its import products.
        3               50.   Relator's investigation uncovered several reasons to believe that
        4    ANVIL's import documentation was false and fraudulent. First, as noted, ANVIL's
        5    website describes its SPF- branded Welded Outlets as "internationally sourced."
        6    Second, ANVIL's SPF- branded Welded Outlets do not feature country-of- origin
        7    markings. Third, unlike the othc defendants, ANVIL has the technical ability to
        8    thread or otherwise machine an nfinished product, which would make it easy for
                                                 1




        9    ANVIL to import unfinished Chi iese Welded Outlets (which are nevertheless
       10    subject to antidumping duties) without accurately stating as much. Fourth, the
       11    publicly -available import records do not reflect any instance where ANVIL has
       12    described its imported products as Welded Outlets (finished or unfmished). Fifth,
       13    ANVIL's own statements confirm that it imports Welded Outlets from China.
       14        51.   For example, in September 2018, ANVIL announced that it would
       15    increase its prices for certain products, including its "SPF Fire Protection O- Lets,"
       16    as a result of the United States' decision to impose "a 10% tariff on a number of
       17    goods imported from China; including the ones Anvil imports from China." (Copy
       18    attached as Exhibit O.) ANVIL further noted that, because the tariff was
       19    "immediate" and because it included "all product not already landed at a port of
       20    entry," ANVIL would not be able to provide its customers with 30 -days' notice.
       21    Similarly, in October 2018, ANVIL announced that, in anticipation of a further
       22    15% increase in tariffs on goods from China, it would be imposing a 15% price
       23    increase on the same product lines, including its SPF Fire Protection O -Lets. (Copy
       24    attached as Exhibit P.)
       25               52.   An ANVIL representative also orally advised an ISLAND
       26    representative, as recently as January 2019, that its "internationally -sourced"
       27    Welded Outlet is made in China, imported to the United States, and then threaded at
       28    one of ANVIL'S facilities in the United States. On information and belief, when
            731991839                                    -14-
                         FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                       52 of 587
                                                                               Desc
                                                                                  PageID
                                                                                    Exhibit168
   Case 2 17 -cv- 04393- RGK -KSFCA
                                  Document  97 Filed
                                     Complaint  Page07/10/19
                                                       17 of 27 Page 16 of 26 Page ID # :551


           1       ANVIL's Chinese Welded Outlets are imported, the contour and bevel are already
           2       formed or forged into the product.
           3                53.    Finally, Relator has confirmed that ANVIL's pricing for Chinese
           4      Welded Outlets has been virtually identical to VANDEWATER's. Accordingly, it
           5      would be economically infeasible for ANVIL to sell Chinese Welded Outlets at the
          6       prices it charges unless it was evading and avoiding the antidumping duties.
          7                 54.    Based on the foregoing facts and Relator's investigation, upon
          8       information and belief ANVIL entered into agreements with other individuals and
          9       entities (such as Beijing Bell, Jinan Meide, and others known to ANVIL but
      10          unknown at this time to Relator) to violate the False Claims Act by falsely
      11          declaring that the Chinese Welded Outlets were not subject to antidumping duties.
      12                                 Specific Allegations Regarding Sigma
      13                    55.    SIGMA markets and sells at least three brands of Welded Outlets.
      14         Two of these threaded outlet brands, the "Uni -Let" and the "Safe-Let" brands, are
      15         sourced from China and marketed as import products. SIGMA also markets and
      16         sells grooved outlets. Historically, SIGMA imported some grooved outlets from
      17         China. More recently, SIGMA has been marketing grooved outlets that supposedly
      18         are manufactured in the United States. On information and belief, however,
      19         SIGMA's grooved outlets were actually manufactured in China. Attached hereto as
      20         Exhibit H are SIGMA's product specifications for its Chinese Welded Outlets.
     21                    56.    In 2010, SIGMA hired Terry Clark ( "Clark ") as a Manager in its Fire
     22          Protection Division. Throughout his long career, Clark has advocated using
     23          Chinese Welded Outlets to develop product lines. In around 2005, for example,
     24          Clark approached Relator with an offer to import the "Uni -Let" product from
     25         China. After Relator declined this offer, Clark went to work for the fire protection
     26         division of Unique Industrial Products Company ( "Unique ") in Sugarland, Texas,
     27         which was eventually acquired by SIGMA.
     28                    57.    Around the time of Clark's hiring, SIGMA began importing its "Uni-
               731991839
                                                            - 15 -
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
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                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      53 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit169
                                FCA  Complaint  Page   18 of 27
    Case 2 17- cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 17 of 26 Page ID #:552



            1      Let" and "Safe -Let" products. Although these products are Chinese Welded
            2      Outlets, the shipping records suggest that SIGMA has not imported any Welded
            3      Outlets. Instead, the import record reflects that, in around 2010, SIGMA began
            4      importing "parts of pipe fitting" into Los Angeles, California. The volume of
            5      "parts of pipe fittings" imported by SIGMA is consistent with SIGMA's share of
            6      the Welded Outlets market.
            7               58.   SIGMA also has imported and marketed grooved outlets. In early
            8     2011, for example, SIGMA's then -purchasing agent advised Relator that SIGMA
           9      had encountered extensive quality problems with its Chinese grooved outlets.
       10         SIGMA asked Relator to determine whether it would be plausible to repair the
       11         grooved outlets, which were manufactured by Shanghai Vision. After Relator
       12         advised that the products were not repairable, SIGMA began buying more
       13         domestically produced grooved outlets from Relator. In late 2015, however,
       14         SIGMA advised Relator that it would no longer purchase product from Relator
       15         because SIGMA had discovered a new "low cost" source that offered Welded
       16         Outlets at prices that were significantly below Relator's costs.
       17                   59.   On information and belief, SIGMA's new "low cost" source was
       18         Ageis. Notably, for many years, Clark served as a Vice President at Ageis and as a
       19         Manager at SIGMA. (In 2016, Clark retired from SIGMA, but he continued to be
      20         paid by SIGMA as a consultant for a period of time thereafter.)
      21                    60.   A former SIGMA employee, who was in a position to know, has
      22         advised Relator that SIGMA sourced many of its Welded Outlets from Beijing Bell
      23         and that it used Wor -Biz Trading to facilitate the shipments. That same former
      24         SIGMA employee has advised Relator that SIGMA was working with Ageis to
      25         develop an alternative low cost source for Welded Outlets. To Relator's
      26         knowledge, Ageis does not own meaningful domestic manufacturing facilities.
      27         Even if it did, it would not have been economically feasible for Ageis to have
      28         supplied SIGMA with domestically produced Welded Outlets given the prices that
                731991839
                                                          -16-
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                  Entered
                                                      11/11/22
                                                          06/27/22
                                                                 Page
                                                                   17:24:54
                                                                      54 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit170
   Case 2 17 -cv- 04393- RGK -KSFCA  Complaint
                                 Document        Page
                                            97 Filed   19 of 27Page 18 of 26 Page ID #:553
                                                     07/10/19



        1     SIGMA charged for grooved outlets in the marketplace.
       2                61.   Relator alleges, on information and belief, that Ageis supplied SIGMA
       3      with Chinese -made grooved outlets. Relator further alleges, on information and
       4      belief, that SIGMA evaded the antidumping duties applicable to such Chinese
       5      Welded Outlets. Based on Relator's examination of the import records, Relator
       6      believes that SIGMA (sometimes operating through its wholly-owned subsidiary
       7      Unique Industrial Product Company) has repeatedly and falsely described the
       8      grooved outlets as steel "couplings" so as to avoid the antidumping duties.
       9                62.   Moreover, in its scope ruling request, SIGMA confirmed what Relator
      10      had alleged all along: namely, that SIGMA imports Chinese Welded Outlets
      11     without paying the applicable antidumping duties. SIGMA thus has already
      12      admitted that it has long evaded the antidumping duty order applicable to Chinese
      13     Welded Outlets.
      14                63.   Based on the foregoing facts and Relator's investigation, upon
      15      information and belief SIGMA and/or its subsidiaries entered into agreements with
      16     other individuals and entities (such as Shanghai Vision, Ageis, Beijing Bell, Wor-
      17     Biz Trading, and others known to SIGMA and its subsidiaries but unknown at this
      18     time to Relator) to violate the False Claims Act by falsely declaring that the
      19     Chinese Welded Outlets were not subject to antidumping duties.
      20                           Specific Allegations Regarding Smith Cooper
      21                64.   SMITH COOPER is an importer and marketer of Chinese Welded
      22     Outlets. Since 2003 or 2004, SMITH COOPER has sold Chinese Welded Outlets
      23     in the United States under the "Cooplet" brand name. Attached hereto as Exhibit I
      24     are SMITH COOPER's product specifications for its Chinese Welded Outlets.
      25                65.   SMITH COOPER began importing Chinese Welded Outlets more than
      26     10 years ago. On      information and belief, SMITH COOPER purchases its Chinese
      27     Welded Outlets from Jinan Meide. As part of larger shipments of products (which
      28     often are characterized as steel pipe nipples), SMITH COOPER regularly imports
            731991839                                   - 17 -
                         FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
                                          33-1 Filed
                                                Entered
                                                     11/11/22
                                                         06/27/22
                                                                Page
                                                                  17:24:54
                                                                     55 of 587
                                                                             Desc
                                                                                PageID
                                                                                  Exhibit171
                               FCA  Complaint  Page   20 of 27
    Case 217 -cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 19 of 26 Page ID #:554



            1       Chinese Welded Outlets under its "Cooplets" brand name. (Steel pipe nipples are
            2       not subject to antidumping duties.) On information and belief, SMITH COOPER
            3       does not pay antidumping duties on the Chinese Cooplets that are imported along
            4       with these other products.
            5                66.In or around late 2017 and early 2018, SMITH COOPER imported, or
            6      caused its agents to import, several shipments of Chinese Welded Outlets that it
            7      described as "Butt Weld Outlets." On information and belief, SMITH COOPER
           8       began describing Cooplets as "Butt Weld Outlets" because SMITH COOPER was
           9       concerned that Cooplets could be subject to antidumping duties as the result of a
       10          then -ongoing trade case involving forged fittings. On information and belief,
       11         SMITH COOPER stopped describing its products as "Butt Weld Outlets" a few
       12         months later in light of the scope requests to Commerce in which VANDEWATER,
       13         SMITH COOPER, and SIGMA argued that Welded Outlets were not butt-weld
       14         pipe fittings.
       15                   67.Through its investigation, Relator discovered that SMITH COOPER's
       16         pricing for Chinese Welded Outlets was virtually identical to VANDEWATER's.
      17          Relator further determined that it would be economically infeasible for SMITH
      18          COOPER to sell Chinese Welded Outlets at these prices unless it was evading and
      19          avoiding the antidumping duties.
      20                    68.    Moreover, in its scope ruling request, SMITH COOPER confirmed
      21         what Relator had alleged all along: namely, that SMITH COOPER imports
      22         Chinese Welded Outlets without paying the applicable antidumping duties. SMITH
      23         COOPER thus has already admitted that it has long avoided the antidumping duty
      24         order applicable to Chinese Welded Outlets.
      25                      Based on the foregoing facts and Relator's investigation, on
                            69.
     26          information and belief SMITH COOPER entered into agreements with other
     27          individuals and entities (such as Jinan Meide and others known to SMITH
     28          COOPER but unknown at this time to Relator) to violate the False Claims Act by
                731991839
                                                           - 18 -
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
                                          33-1 Filed
                                                  Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                       56 of 587
                                                                               DescPageID
                                                                                     Exhibit172
                               FCA  Complaint     Page
                                               Filed    21 of
                                                     07/10/19 27
                                                               Page 20 of 26  Page ID #:555
  Case 2 17 -cv- 04393- RGK -KS Document 97



       1    falsely declaring that the Chinese Welded Outlets were not subject to antidumping
       2    duties.
       3                             Specific Allegations Regarding ARGCO
       4                  ARGCO is an importer and marketer of Chinese Welded Outlets.
                        70.
       5     Based on markings on ARGCO product samples that Relator obtained as part of its
       6     investigation, Relator determined that ARGCO is supplied by Shanghai Vision.
       7    Attached hereto as Exhibit J are ARGCO's product specifications for its Chinese
       8     Welded Outlets.
       9                71.   In April 2017, ARGCO's    supplier-Shanghai Vision-e- mailed a
      10     solicitation to Relator regarding Chinese Welded Outlets. As part of its
      11     investigation, Relator responded to the solicitation by requesting detailed
      12     information about the costs of importing the Chinese Welded Outlets. Shanghai
       13    Vision's International Sales Representative responded by providing a detailed cost
       14    break -down. That break-down does not include any provision for paying
       15    antidumping duties. A copy of that e -mail exchange is attached as Exhibit Q.
       16               72.   As a further part of its investigation, Relator met with Shanghai
       17    Vision's International Sales Representative on May 1, 2017. During that meeting,
       18    Vision's International Sales Representative informed Relator that Vision sells
       19    Chinese Welded Outlets to ARGCO. As the meeting progressed, Relator asked
      20     detailed questions about the potential costs of importing the Chinese Welded
      21     Outlets. Shanghai Vision's sales representative became defensive. He advised
      22     Relator to allow Shanghai Vision to handle the arrangements for importing the
      23     Chinese Welded Outlets.
      24                 Through its investigation, Relator determined that ARGCO's pricing
                        73.
      25     for Chinese Welded Outlets was consistent with (indeed, slightly lower than)
      26     VANDEWATER's pricing. Relator additionally determined that ARGCO's pricing
      27     was consistent with the prices quoted by Shanghai Vision (i.e., it did not allow for
      28     the payment of antidumping duties). Relator further determined that it would be
            731991839                                    - 19 -
                          FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                     17:24:54
                                                                        57 of 587
                                                                                Desc
                                                                                   PageID
                                                                                      Exhibit173
   Case 2 17 -cv- 04393- RGK -KSFCA  Complaint
                                  Document  97   Page
                                                Filed   22 of
                                                      07/10/1927 Page 21 of 26 Page  ID #:556



        1    economically infeasible for ARGCO to sell Chinese Welded Outlets at these prices
        2    unless it were evading and avoiding the antidumping duties.
        3               74.    Based on the foregoing facts and Relator's investigation, upon
        4    information and belief ARGCO entered into agreements with other individuals and
        5    entities (such as Shanghai Vision and others known to ARGCO but unknown at this
        6    time to Relator) to violate the False Claims Act by falsely declaring that the
        7    Chinese Welded Outlets were not subject to antidumping duties.
        8                        The False Records And Statements -All Defendants
        9               75.     To import the Chinese Welded Outlets, Defendants (or a broker acting
       10    on their behalf) completed a CBP Form 7501. On that form, Defendants (or a
       11    broker acting on their behalf) were obligated to disclose in the "Entry Type" field
       12    (Block 2) whether the goods at issue were subject to an antidumping or
       13    countervailing duty.
       14                Defendants knew that the Chinese Welded Outlets were subject to an
                        76.
       15    antidumping duty order. Nonetheless, Defendants falsely represented (or caused a
       16    broker acting on their behalf falsely to represent) that the goods qualified for Entry
       17    Type 01, meaning they were not subject to an antidumping duty. At the very least,
       18    Defendants were deliberately indifferent to, or acted with reckless disregard of, the
       19    truth of those representations. By falsely marking the entry type, Defendants made
       20    or caused to be made a false record or statement material to their obligation to pay
       21    money to the United States.
       22                                    FIRST CAUSE OF ACTION
       23                                 Violation of the False Claims Act
       24                     31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. § 3729(a)(7))

       25               77.     The preceding paragraphs are re- alleged and incorporated by reference
       26    as if fully set forth herein.
       27                 Relator, as the original source of information regarding Defendants'
                        78.
       28    violations of the False Claims Act, has direct and independent knowledge of the
            731991839                                     -20-
                          FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
                                          33-1 Filed
                                                Entered
                                                     11/11/22
                                                         06/27/22
                                                                Page
                                                                  17:24:54
                                                                      58 of 587
                                                                              Desc
                                                                                 PageID
                                                                                   Exhibit174
   Case 2 17 -cv- 04393- RGK-KSFCA
                                 Document   97 Filed
                                    Complaint  Page07/10/19
                                                      23 of 27 Page 22 of 26 Page ID #:557


            1       information on which the allegations contained herein are based.
           2                 79.    Upon the arrival of the Chinese Welded Outlets in the United States,
           3        Defendants, knowing that the goods were subject to antidumping duties, claimed, or
           4        instructed their brokers to claim, that the Chinese Welded Outlets were not subject
           5        to antidumping duties.
           6                 80.    At all times material to this Complaint, Defendants had actual
           7       knowledge of the falsity, acted in deliberate ignorance of the truth or falsity, or
           8       acted in reckless disregard of the truth or falsity of their records and statements
          9        regarding whether the Chinese Welded Outlets were subject to antidumping duties.
       10                81. By falsely claiming that the Chinese Welded Outlets were not subject
       11          to antidumping duties, Defendants avoided paying an antidumping duty of 182.9
      12           percent.
      13                    82.    Defendants were obligated to pay the antidumping duties on their
      14          entries of Chinese Welded Outlets as a matter of law.
      15                    83.Defendants' aforementioned false statements had the predictable and
      16          intended effect of inducing CBP to assess Defendants no antidumping duties on
      17          their entries of Chinese Welded Outlets into the United States.
      18                 84. By falsely declaring that the Chinese Welded Outlets were not subject
      19          to antidumping duties, Defendants made or caused to be made a false record or
      20          statement material to their obligation to pay money to the United States. Further,
     21           Defendants knowingly concealed and knowingly and improperly avoided or
     22           decreased an obligation to pay or transmit money or property to the United States.
     23                     85.    Defendants' false records or statements, concealment, and avoidance
     24          violate 31 U.S.C.     §   3729. Through their violations of 31 U.S.C.   §   3729,
     25          Defendants gained entry and release of their Chinese Welded Outlets into the
     26          United States without paying millions of dollars due to the United States.
     27          Defendants have knowingly or recklessly damaged the United States in an amount
     28          to be determined at trial, but believed to exceed $175 million.
                731991839
                                                              - 21 -
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                     17:24:54
                                                                        59 of 587
                                                                                Desc
                                                                                   PageID
                                                                                      Exhibit175
   Case 2 17 -cv- 04393- RGK -KSFCA  Complaint
                                  Document  97   Page
                                                Filed   24 of
                                                      07/10/1927 Page 23 of 26 Page  ID #:558



        1                                   SECOND CAUSE OF ACTION
        2                             Conspiracy to Violate the False Claims Act -
                               31 U.S.C. § 3729(a)(1)(C) (formerly 31 U.S.C. § 3729(a)(3))
        3


        4               86.      The preceding paragraphs are re- alleged and incorporated by reference
        5    as if fully set forth herein.
        6               87.      Defendants, along with the Chinese Manufacturers and others, acted in
        7    concert to violate the False Claims Act by knowingly making, using, or causing to
        8    be made or used a false record or statement material to their obligation to pay
        9    money to the United States by falsely declaring that the Chinese Welded Outlets
       10    were not subject to antidumping duties. Defendants also acted in concert to violate
       11    the False Claims Act by knowingly concealing or knowingly and improperly
       12    avoiding or decreasing their obligation to pay or transmit money or property to the
       13    United States.
       14                 Defendants committed the overt acts described above in furtherance of
                        88.
       15    the conspiracy, including but not limited to, by avoiding their obligation to pay
       16    antidumping duties.
       17               89.      Defendants' conspiracy violates     31 U.S.C. §   3729(a)(1)(C), by which
       18    Defendants gained entry and release of their Chinese Welded Outlets into the
       19    United States without paying sums due to the United States. Defendants have
       20    knowingly or recklessly damaged the United States in an amount to be determined
       21    at trial, but believed to exceed $175 million.
       22                                        PRAYER FOR RELIEF
       23               WHEREFORE, Plaintiff United States ex rel. Island Industries, Inc., prays
       24    for the following:
       25               1.       An award of treble damages, civil penalties, expenses, fees, and costs
       26    against Defendants, jointly and severally, in accordance with 31 U.S.C. § 3729 et
       27    seq. for Defendants' violations of 31 U.S.C. § 3729(a)(1)(G) (and /or the preceding
       28    version of such statutory section, 31 U.S.C.        §   3729(a)(7));
            731991839                                       - 22 -
                             FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                 Filed 06/27/22
                                           33-1 Filed
                                                 Entered
                                                      11/11/22
                                                         06/27/22
                                                                Page
                                                                  17:24:54
                                                                     60 of 587
                                                                             Desc
                                                                                PageID
                                                                                  Exhibit176
   Case 2. 17- cv- 04393- RGK -KS Document 97 Filed 07/10/19 Page 24 of 26 Page ID #:559
                                FCA Complaint Page 25 of 27


           1               2.   An award of treble damages, civil penalties, expenses, fees, and costs
           2       against Defendants, jointly and severally, in accordance with 31 U.S.C.        §   3729 et
           3       seq. for Defendants' conspiracy and violation of 31 U.S.C.       §   3729(a)(1)(C) (and /or
           4       the preceding version of such statutory section, 31 U.S.C.   §   3729(a)(3));
           5               3.   An award of a trial by jury on all issues so triable; and
           6               4.   An award of such other and further relief, legal or equitable, that the
          7       Court deems just and proper.
          8             MOREOVER, Relator Island Industries, Inc., on its own behalf, demands
          9       and prays that an award be made in its favor as follows: for 25 percent (25 %) of
       10         the proceeds collected by the United States if it intervenes in and conducts this
      11          action, or for 30 percent (30 %) of the proceeds if the United States does not
      12          intervene; for an amount for reasonable expenses necessarily incurred by the
      13         Relator in prosecution of this action; for all reasonable attorneys' fees and costs
      14         incurred by the Relator; and such other and further relief to which the Relator may
      15         show itself justly entitled.
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               731991839
                                                          - 23 -
                           FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 DocumentFiled 06/27/22
                                            33-1 Filed
                                                  Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                       61 of 587
                                                                               Desc
                                                                                  PageID
                                                                                    Exhibit177
                                FCA   Complaint  Page
     Case 2 17 -cv- 04393- RGK -KS Document 97 Filed    26 of 27
                                                               07/10/19 Page 25 of 26    Page ID #:560


                1
                                                      JURY DEMAND
               2            Pursuant to FRCP 38, Plaintiff-Relator demands a trial by jury on all issues
               3     so triable.
               4

               5

                    Dated: July 10, 2019                    MAYER BROWN LLP
            6

            7

            8
                                                                 /s /Matthew H. Marmolejo
           9
                                                                 Matthew H. Marmolejo
                                                           Attorneys for Relator
          10
                                                           ISLAND INDUSTRIES, INC.

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                731991839
                                                           -24-
                            FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE
                                                                                CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-1 Document
                                Filed 06/27/22
                                          33-1 Filed
                                                  Entered
                                                       11/11/22
                                                           06/27/22
                                                                  Page
                                                                    17:24:54
                                                                       62 of 587
                                                                               DescPageID
                                                                                     Exhibit178
                               FCA  Complaint     Page
                                               Filed    27 of
                                                     07/10/19 27
                                                               Page 26 of 26  Page ID #:561
  Case 2 17 -cv- 04393- RGK -KS Document 97



        1
                                             CERTIFICATE OF SERVICE
       2                Pursuant to 31   U.S.C. § 3730(c)(3) and the request of the United States to

       3    receive pleadings filed in this action, the foregoing First Amended Complaint was
       4    served on counsel for the Government via the Court's ECF system.
        5

        6   Dated: July 10, 2019
                                                                  By:   /s /Matthew H. Marmolejo
        7                                                               Matthew H. Marmolejo

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                          FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE FALSE CLAIMS ACT
Case
  Case
     2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
                              Filed 06/27/22
                                        33-1 Filed
                                               Entered
                                                   11/11/22
                                                       06/27/22
                                                              Page
                                                                17:24:54
                                                                   63 of 587
                                                                           Desc
                                                                              PageID
                                                                                Exhibit179
                Sigmas motion to dismiss the FCA Complaint Page 1 of 27




                                 EXHIBIT 2
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  164ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit180
                                                                                     ID #:791
                Sigmas motion to dismiss the FCA Complaint Page 2 of 27

   1     Carmen Lo (SBN 280441)
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   3     Los Angeles, CA 90071-2433
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   4     Facsimile: (213) 452-2329
   5     Lucius B. Lau (pro hac vice)
         Email: alau@whitecase.com
   6     James P. Gagen (pro hac vice)
         Email: jgagen@whitecase.com
   7     WHITE & CASE LLP
         701 13th Street, N.W.
   8     Washington, DC 20005-3807
         Telephone: (202) 626-3600
   9     Facsimile: (202) 639-9355
  10     Attorneys for Defendant,
         SIGMA CORPORATION
  11
  12                            UNITED STATES DISTRICT COURT
  13                          CENTRAL DISTRICT OF CALIFORNIA
  14
  15     UNITED STATES OF AMERICA ex                         Case No. 2:17-cv-04393-RGK-
         rel. ISLAND INDUSTRIES, INC.,                       KS
  16
                         Plaintiffs,                         DEFENDANT SIGMA
  17                                                         CORPORATION’S NOTICE
               v.                                            OF MOTION TO DISMISS
  18                                                         THE FIRST AMENDED
         VANDEWATER INTERNATIONAL                            COMPLAINT AND
  19     INC., et al.,                                       MEMORANDUM IN
                                                             SUPPORT
  20                     Defendant.
                                                             Date: August 26, 2019
  21                                                         Time: 9:00 a.m.
                                                             Courtroom: 850
  22                                                         Judge: Hon. R. Gary Klausner
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                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  265ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit181
                                                                                     ID #:792
                Sigmas motion to dismiss the FCA Complaint Page 3 of 27

  1             TO THE CLERK AND ALL INTERESTED PARTIES:
  2             PLEASE TAKE NOTICE that on August 26, 2019, or as soon thereafter as
  3      counsel may be heard in Courtroom 850 of the United States District Court, Central
  4      District of California, located at 255 East Temple Street, Los Angeles, CA 90012,
  5      Defendant Sigma Corporation will respectfully request that the Court dismiss this
  6      case pursuant to (1) 31 U.S.C. § 3730(e)(4)(A) for violation of the public disclosure
  7      bar; and (2) Rule 12(b)(6) of the Federal Rules of Civil Procedure for failure to
  8      state a claim upon which relief can be granted.
  9             Pursuant to Local Rule 7-3, Sigma certifies that this motion is made
 10      following the conference with counsel for Plaintiff-Relator Island Industries, Inc.
 11      that took place on July 16, 2019.
 12             This motion is based on this notice of motion, the memorandum of points and
 13      authorities attached hereto, the pleadings and records on file with this Court, and on
 14      such oral and documentary evidence as may be presented at the hearing of this
 15      motion.
 16
 17
         Dated: July 24, 2019                            WHITE & CASE LLP
 18
 19
                                                         By: /s/ Lucius B. Lau
 20                                                      Lucius B. Lau
                                                         James P. Gagen
 21                                                      Carmen Lo
 22                                                      Attorneys for Defendant
                                                         SIGMA CORPORATION
 23
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  366ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit182
                                                                                     ID #:793
                Sigmas motion to dismiss the FCA Complaint Page 4 of 27

  1                                            TABLE OF CONTENTS
  2                                                                                                                   Page(s)
  3      MEMORANDUM OF POINTS AND AUTHORITIES............................................ 1
  4             INTRODUCTION ............................................................................................ 1
  5             BACKGROUND AND STATEMENT OF FACTS ....................................... 2
  6             LEGAL STANDARD ...................................................................................... 5
  7             A.       The Public Disclosure Bar ..................................................................... 5
  8             B.       Rule 12(b)(6): Failure To State A Claim .............................................. 6
  9             ARGUMENT ................................................................................................... 7
 10             A.       The Public Disclosure Bar Requires Dismissal Of Island’s
                         Action As To Sigma............................................................................... 7
 11
                B.       Rule 12(b)(6) Requires Dismissal Of Island’s First Cause Of
 12                      Action As To Sigma Because Island Does Not Sufficiently
                         Allege A Violation Of The False Claims Act ...................................... 11
 13
                                  Island Fails To Sufficiently Allege That Sigma Made A
 14                               False Statement .......................................................................... 12
 15                               Island Fails To Sufficiently Allege That Sigma Acted
                                  With Scienter ............................................................................. 14
 16
                C.       Rule 12(b)(6) Requires Dismissal Of Island’s Second Cause Of
 17                      Action As To Sigma Because Island Does Not Sufficiently
                         Allege A Conspiracy To Violate The False Claims Act...................... 16
 18
                CONCLUSION .............................................................................................. 20
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                - ii -
                                               DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                                    (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  467ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit183
                                                                                     ID #:794
                Sigmas motion to dismiss the FCA Complaint Page 5 of 27

  1                                              TABLE OF AUTHORITIES

  2                                                                                                                           Page(s)
  3                                                               CASES

  4      Ashcroft v. Iqbal, 556 U.S. 662 (2009)........................................................... 6, 15, 16
  5      Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)..................................... 6, 17, 18, 20
  6
         Cafasso v. Gen. Dynamics C4 Sys., 637 F.3d 1047 (9th Cir. 2011) .................... 6, 14
  7
         Calisesi ex rel. United States v. Hot Chalk, Inc., No. 2:13-cv-001150-
  8        PHX-NVW, 2015 U.S. Dist. LEXIS 57509 (D. Ariz. May 1, 2015) .................. 16
  9
         Lesnik v. Se, No. 5:16-cv-01120-LHK, 2018 U.S. Dist. LEXIS 170373
 10         (N.D. Cal. Oct. 1, 2018) ...................................................................................... 17
 11      Malhotra v. Steinberg, 770 F.3d 853 (9th Cir. 2014) ................................................. 5
 12
         Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097 (9th Cir.
 13        2008) ...................................................................................................................... 6
 14      Metalmark Nw., LLC v. Stewart, No. 3:04-cv-00682-KI, 2006 U.S.
 15        Dist. LEXIS 55518 (D. Or. Aug. 8, 2006) .......................................................... 18
 16      Prather v. AT&T, Inc., 847 F.3d 1097 (9th Cir. 2017)............................................... 5
 17      Sams v. Yahoo! Inc., 713 F.3d 1175 (9th Cir. 2013) .................................................. 5
 18
         Schindler Elevator Corp. v. United States ex rel. Kirk, 563 U.S. 401
 19         (2011)..................................................................................................................... 8
 20      Tianjin Mach. Imp. & Exp. Corp. v. United States, 394 F. Supp. 2d
 21         1369 (Ct. Int’l Trade 2005) ................................................................................. 16
 22      United States ex rel. Aflatooni v. Kitsap Physicians Servs., 163 F.3d
 23        516 (9th Cir. 1998) .......................................................................................... 7, 14

 24      United States ex rel. Customs Fraud Investigations, LLC v. Victaulic
           Co., No. 5:13-cv-02983, 2014 U.S. Dist. LEXIS 123182 (E.D. Pa.
 25        Sep. 4, 2014) .......................................................................................................... 9
 26
         United States ex rel. Doe v. Staples, Inc., 773 F.3d 83 (D.C. Cir. 2014) ......... 8, 9, 10
 27
 28
                                                                     - iii -
                                                   DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                                            (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  568ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit184
                                                                                     ID #:795
                Sigmas motion to dismiss the FCA Complaint Page 6 of 27

  1      United States ex rel. Farmer v. City of Hous., 523 F.3d 333 (5th Cir.
           2008) .................................................................................................................... 17
  2
         United States ex rel. Fisher v. IASIS Healthcare LLC, No. 2:15-cv-
  3        00872-PHX-JJT, 2016 U.S. Dist. LEXIS 155517 (D. Ariz. Nov. 8,
  4        2016) .............................................................................................................. 17, 19
  5      United States ex rel. Lee v. Corinthian Colls., 655 F.3d 984 (9th Cir.
  6        2011) .................................................................................................................... 11

  7      United States ex rel. Marion v. Heald Coll., LLC, No. 5:12-cv-02067-
           PSG, 2015 U.S. Dist. LEXIS 97767 (N.D. Cal. July 24, 2015) .......................... 18
  8
  9      United States ex rel. Mateski v. Raytheon Co., 816 F.3d 565 (9th Cir.
           2016) ...................................................................................................................... 7
 10
         United States ex rel. Mistick PBT v. Housing Authority of Pittsburgh,
 11        186 F.3d 376 (3d Cir. 1999) .................................................................................. 8
 12
         United States ex rel. Silingo v. Wellpoint, Inc., 904 F.3d 667 (9th Cir.
 13        2018) .................................................................................................................... 16
 14
         United States v. Kinetic Concepts, Inc., No. 2:08-cv-01885-BRO, 2017
 15        U.S. Dist. LEXIS 221777 (C.D. Cal. Mar. 6, 2017) ..................................... 11, 14
 16      United States v. United Healthcare Ins. Co., 848 F.3d 1161 (9th Cir.
 17        2015) .................................................................................................................... 14

 18
 19                                        STATUTES AND REGULATIONS
 20
         False Claims Act, 31 U.S.C. § 3729, et seq....................................................... passim
 21
         Freedom of Information Act, 5 U.S.C § 552 ......................................................... 8, 9
 22
         19 C.F.R. § 4.7a (2011) .............................................................................................. 8
 23
 24      19 C.F.R. § 103.31 (2010) ...................................................................................... 8, 9

 25      19 C.F.R. § 141.90 (2009) ........................................................................................ 12
 26      19 C.F.R. § 351.225 (1997) .......................................................................... 10, 11, 16
 27
 28
                                                                     - iv -
                                                   DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                                            (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  669ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit185
                                                                                     ID #:796
                Sigmas motion to dismiss the FCA Complaint Page 7 of 27

  1                                                OTHER AUTHORITIES

  2      57 Fed. Reg. 29702 ................................................................................................... 12
  3      Fed. R. Civ. P. 8 ........................................................................................................ 17
  4      Fed. R. Civ. P. 9(b) ................................................................................... 6, 14, 17, 18
  5
         Fed. R. Civ. P. 12(b)(6) .............................................................................. 1, 6, 11, 16
  6
         U.S. Customs and Border Protection, What Every Member of the Trade
  7      Community Should Know About: Tariff Classification (May 2004) ........................ 12
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
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 21
 22
 23
 24
 25
 26
 27
 28
                                                                    -v-
                                                  DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                                          (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
                                               Entered
                                         103 Filed  11/11/22
                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
                                                              Page  770ofof26587
                                                                               Desc
                                                                                  PageID
                                                                               Page Exhibit186
                                                                                     ID #:797
                Sigmas motion to dismiss the FCA Complaint Page 8 of 27

   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2            INTRODUCTION
   3            Plaintiff-Relator, Island Industries, Inc. (“Island”), commenced this action
   4     pursuant to the False Claims Act, 31 U.S.C. § 3729, et seq., seeking treble damages,
   5     civil penalties, expenses, fees, and costs — jointly and severally — against several
   6     defendants, all of whom allegedly imported “welded outlets” from the People’s
   7     Republic of China (“PRC”) but failed to pay antidumping duties imposed by the
   8     U.S. Department of Commerce (“Commerce”). As to defendant Sigma Corporation
   9     (“Sigma”), the amended complaint should be dismissed for two separate reasons.
  10            First, Island’s amended complaint violates the public disclosure bar of 31
  11     U.S.C. § 3730(e)(4)(A). The public disclosure bar of the False Claims Act
  12     encourages suits by whistle-blowers with genuinely valuable information while
  13     discouraging litigation by plaintiffs with no significant information of their own.
  14     Island alleges that Sigma evaded the imposition of antidumping duties by falsely
  15     describing its merchandise on import documentation. But Island has reached this
  16     conclusion by relying upon public information. The fact that Island allegedly
  17     conducted its own investigation with the assistance of a confidential source does
  18     not change the fact that Island’s key allegation of wrongdoing is based upon public
  19     information. The public disclosure bar was designed to stop plaintiffs like Island
  20     that have no significant information of their own to offer.
  21            Second, Island’s amended complaint should be dismissed as to Sigma
  22     pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, because Island
  23     fails to sufficiently allege either that Sigma violated the False Claims Act or that
  24     Sigma entered into a conspiracy to violate the False Claims Act. Once Island’s
  25     complaint is reduced to its factual allegations about Sigma, ignoring conclusory
  26     statements, there are insufficient allegations for the Court to reasonably infer that
  27     Sigma could be liable for violations of the False Claims Act.
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
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  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
                             Document   33-1  Filed
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                                                        06/27/22
                                                    07/24/19   Page
                                                                 17:24:54
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                                                                               Desc
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                                                                                     ID #:798
                Sigmas motion to dismiss the FCA Complaint Page 9 of 27

   1            BACKGROUND AND STATEMENT OF FACTS
   2            Island’s complaint was originally filed, under seal, on June 13, 2017. ECF
   3     No. 1. In January 2019, the Court unsealed the action and directed Island to serve
   4     the complaint on the defendants. ECF No. 34.
   5            During the 19 months that this action was under seal, the United States
   6     requested five separate extensions of the seal as well as the United States’ election
   7     period. The Court granted the first four requests, but denied the fifth-and-final
   8     request. ECF No. 27.
   9            On December 3, 2018, the United States filed a notice with the Court stating
  10     that it was declining intervention with respect to defendant Anvil International,
  11     LLC, but was “not intervening at this time” with respect to the other defendants
  12     because it did not have sufficient information to make an informed decision
  13     whether to proceed with respect to those defendants. ECF No. 28.
  14            On June 19, 2019, Sigma filed a motion to dismiss Island’s original
  15     complaint. ECF No. 81. On July 10, 2019, Island filed its First Amended
  16     Complaint, with few substantive changes as to Sigma. ECF No. 97.
  17            Island’s amended complaint purports to set forth two causes of action. The
  18     first cause of action alleges a violation of the False Claims Act. Am. Compl. ¶¶ 77-
  19     85. The second cause of action alleges a conspiracy to violate the False Claims
  20     Act. Am. Compl. ¶¶ 86-89.
  21            As relevant to Sigma’s motion to dismiss, Island alleges the following.
  22            Island alleges that it is an American manufacturer of fire protection and steel
  23     piping system supplies. Am. Compl. ¶ 1. Island manufactures grooved welded
  24     outlets. Am. Compl. ¶ 1. “Others in the market manufacture grooved and female
  25     threaded outlets.” Am. Compl. ¶ 1. “Because all of these products are designed to
  26     be welded to another piece of pipe, they are all commonly referred to as ‘Welded
  27     Outlets.’” Am. Compl. ¶ 1.
  28            Since 1992, there has been an antidumping duty order on butt-weld pipe
                                                      -2-
                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
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  Case
Case 2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-2 Document
      2:17-cv-04393-RGK-KS    Filed 06/27/22
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                                                                 17:24:54
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                                                                               Page Exhibit188
                                                                                     ID #:799
               Sigmas motion to dismiss the FCA Complaint Page 10 of 27

   1     fittings from China. Am. Compl. ¶ 18. Island alleges that this antidumping duty
   2     order covers “Chinese Welded Outlets.” Am. Compl. ¶ 3. Island further alleges
   3     that defendants “have used various and shifting means to evade the antidumping
   4     duties, including: (a) by falsely describing the Chinese Welded Outlets as steel
   5     products that are not subject to antidumping duties; (b) by falsely claiming that the
   6     Chinese Welded Outlets originated in countries (e.g., Vietnam or South Korea) that
   7     are not subject to antidumping duty orders; and (c) by co-mingling the Chinese
   8     Welded Outlets with larger shipments of similar products that are not subject to
   9     antidumping duties.” Am. Compl. ¶ 4.
  10            In paragraph 16 of its amended complaint, Island alleges that:
  11                  In their marketing materials, Defendants (and the
  12                  Chinese Manufacturers) virtually always describe their
  13                  Chinese Welded Outlets accurately (e.g., each Defendant
  14                  markets its products as “welded outlets”). By contrast, in
  15                  the public shipping records, Defendants virtually never
  16                  use the term “welded outlet.” On information and belief,
  17                  Defendants avoid the term “welded outlet” in their
  18                  shipping records because they know that phrase would be
  19                  likely to cause the U.S. government to impose
  20                  antidumping duties.
  21     Am. Compl. ¶ 16 (italics in original; bold italics added).
  22            One part of Island’s amended complaint is devoted to specific allegations
  23     concerning Sigma. Am. Compl. ¶ 55-63. In this section, Island alleges that Sigma
  24     markets and sells at least three brands of “Welded Outlets”: two of these brands
  25     (Uni-Let and Safe-Let) are described by Island as “threaded outlet brands” and the
  26     third is described by Island as “grooved outlets.” Am. Compl. ¶ 55.
  27            With respect to Uni-Let and Safe-Let, Island alleges that “[a]lthough these
  28     products are Chinese Welded Outlets, the shipping records suggest that Sigma has
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
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  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                                  10      587
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                                                                                       189
                                                                                  ID #:800
               Sigmas motion to dismiss the FCA Complaint Page 11 of 27

   1     not imported any Welded Outlets.” Am. Compl. ¶ 57. “Instead, the import record
   2     reflects that, in around 2010, SIGMA began importing ‘parts of pipe fitting’ into
   3     Los Angeles, California.” Am. Compl. ¶ 57. “The volume of ‘parts of pipe
   4     fittings’ imported by SIGMA is consistent with SIGMA’s share of the Welded
   5     Outlets market.” Am. Compl. ¶ 57.
   6           With respect to grooved outlets, Island alleges that a company called “Ageis
   7     [sic] supplied SIGMA with Chinese-made grooved outlets.” Am. Compl. ¶ 61.
   8     Island alleges that “SIGMA evaded the antidumping duties applicable to such
   9     Chinese Welded Outlets” and that Sigma “repeatedly and falsely described the
  10     grooved outlets as steel ‘couplings’ so as to avoid the antidumping duties.” Am.
  11     Compl. ¶ 61.
  12           Concerning all defendants, Island alleges that “Defendants knew that the
  13     Chinese Welded Outlets were subject to an antidumping duty order.” Am. Compl.
  14     ¶ 76. “Nonetheless, Defendants falsely represented (or caused a broker acting on
  15     their behalf falsely to represent) that the goods qualified for Entry Type 01,
  16     meaning they were not subject to an antidumping duty.” Am. Compl. ¶ 76. “By
  17     falsely marking the entry type, Defendants made or caused to be made a false
  18     record or statement material to their obligation to pay money to the United States.”
  19     Am. Compl. ¶ 76.
  20           In its first cause of action, Island alleges a violation of the False Claims Act.
  21     Am. Compl. ¶¶ 77-85. In pertinent part, Island alleges that “[u]pon the arrival of
  22     the Chinese Welded Outlets in the United States, Defendants, knowing that the
  23     goods were subject to antidumping duties, claimed, or instructed their brokers to
  24     claim, that the Chinese Welded Outlets were not subject to antidumping duties.”
  25     Am. Compl. ¶ 79.
  26           In its second cause of action, Island alleges a conspiracy to violate the False
  27     Claims Act. Am. Compl. ¶¶ 86-89. In pertinent part, Island alleges that
  28     “[d]efendants, along with the Chinese Manufacturers and others, acted in concert to
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                                               PageID
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                                                                                       190
                                                                                  ID #:801
               Sigmas motion to dismiss the FCA Complaint Page 12 of 27

   1     violate the False Claims Act by knowingly making, using, or causing to be made or
   2     used a false record or statement material to their obligation to pay money to the
   3     United States by falsely declaring that the Chinese Welded Outlets were not subject
   4     to antidumping duties.” Am. Compl. ¶ 87. “Defendants also acted in concert to
   5     violate the False Claims Act by knowingly concealing or knowingly and
   6     improperly avoiding or decreasing their obligation to pay or transmit money or
   7     property to the United States.” Am. Compl. ¶ 87.
   8           LEGAL STANDARD
   9           A.     The Public Disclosure Bar
  10           In relevant part, the False Claims Act provides that “[t]he court shall dismiss
  11     an action or claim under this section, unless opposed by the Government, if
  12     substantially the same allegations or transactions as alleged in the action or claim
  13     were publically disclosed – . . . (ii) in a congressional, Government
  14     Accountability Office, or other Federal report, hearing, audit, or investigation.”
  15     31 U.S.C. § 3730(e)(4)(A) (emphasis added). This provision is known as the
  16     “public disclosure bar.” “The public disclosure bar is triggered if three things are
  17     true: (1) the disclosure at issue occurred through one of the channels specified in
  18     the statute; (2) the disclosure was ‘public’; and (3) the relator’s action is ‘based
  19     upon’ the allegations or transactions publically disclosed.” Malhotra v. Steinberg,
  20     770 F.3d 853, 858 (9th Cir. 2014).
  21           The public disclosure bar is an affirmative defense. See Prather v. AT&T,
  22     Inc., 847 F.3d 1097, 1103 (9th Cir. 2017) (“After the 2010 Amendments, a court
  23     could assert jurisdiction over the relator’s complaint and entertain public disclosure
  24     as a defense.”). “[T]he assertion of an affirmative defense may be considered
  25     properly on a motion to dismiss where the ‘allegations in the complaint suffice to
  26     establish’ the defense.” Sams v. Yahoo! Inc., 713 F.3d 1175, 1179 (9th Cir. 2013)
  27     (citations omitted).
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
                                        33-1 Filed
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                                                             Page  75ofof26
                                                                  12      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       191
                                                                                  ID #:802
               Sigmas motion to dismiss the FCA Complaint Page 13 of 27

   1           B.     Rule 12(b)(6): Failure To State A Claim
   2           Rule 12(b)(6) of the Federal Rules of Civil Procedure permits a motion to
   3     dismiss an action due to a complaint’s “failure to state a claim upon which relief
   4     can be granted.”
   5           To survive dismissal under Rule 12(b)(6), “a complaint must contain
   6     sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
   7     on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.
   8     v. Twombly, 550 U.S. 544, 570 (2007)). In particular, “[a] claim has facial
   9     plausibility when the plaintiff pleads factual content that allows the court to draw
  10     the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
  11     This test “asks for more than a sheer possibility that a defendant has acted
  12     unlawfully” and treats “plead[ed] facts that are ‘merely consistent with’ a
  13     defendant’s liability” as “stop[ping] short of the line between possibility and
  14     plausibility of ‘entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).
  15     Under this standard, the Court need not credit “mere conclusory statements” or
  16     “[t]hreadbare recitals of the elements of a cause of action.” Id.
  17           Additionally, “[b]ecause the FCA is an anti-fraud statute and requires fraud
  18     allegations, complaints alleging a FCA violation must fulfill the requirements of
  19     Rule 9(b).” Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1103 (9th
  20     Cir. 2008) (citation omitted). According to the Ninth Circuit “[t]o satisfy Rule 9(b),
  21     a pleading must identify ‘the who, what, when, where, and how of the misconduct
  22     charged,’ as well as ‘what is false or misleading about [the purportedly fraudulent]
  23     statement, and why it is false.’” Cafasso v. Gen. Dynamics C4 Sys., 637 F.3d 1047,
  24     1055 (9th Cir. 2011) (alteration in original) (citation omitted).
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                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                             Page  76ofof26
                                                                  13      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       192
                                                                                  ID #:803
               Sigmas motion to dismiss the FCA Complaint Page 14 of 27

   1           ARGUMENT
   2           A.     The Public Disclosure Bar Requires Dismissal Of Island’s Action
                      As To Sigma
   3
   4           According to Island, Sigma has evaded the imposition of antidumping duties
   5     by falsely describing its merchandise on import documentation as “parts of pipe
   6     fittings” (for its Uni-Let and Safe-Let brands) and as “couplings” (for its grooved
   7     outlets). Am. Compl. ¶¶ 57, 61. In each case, Island has reached this conclusion by
   8     its own examination of: (1) shipping records that are made available to the public,
   9     and (2) a recent Scope Ruling from Commerce. See Am. Compl. ¶ 16 (“[I]n the
  10     public shipping records, Defendants virtually never use the term ‘welded outlet.’”)
  11     (italics in original; bold italics added); Am. Compl. ¶¶ 29-30, 62. Because Island’s
  12     allegations are based upon “allegations or transactions” that were “publicly
  13     disclosed” in a “Federal report” (31 U.S.C. § 3730(e)(4)(A)), Island’s action must
  14     be dismissed pursuant to the public disclosure bar of the False Claims Act.
  15           The purpose of the False Claims Act “is to encourage individuals with true
  16     ‘knowledge’ of alleged wrongdoing to come forward and provide such information
  17     to the Government . . . .” United States ex rel. Aflatooni v. Kitsap Physicians
  18     Servs., 163 F.3d 516, 526 (9th Cir. 1998). The public disclosure bar of the False
  19     Claims Act seeks to preclude claims based on mere examinations of public records;
  20     instead, the bar “is intended to encourage suits by whistle-blowers with genuinely
  21     valuable information, while discouraging litigation by plaintiffs who have no
  22     significant information of their own to contribute.” United States ex rel. Mateski v.
  23     Raytheon Co., 816 F.3d 565, 570 (9th Cir. 2016). Island’s claim runs counter to
  24     these principles.
  25           First, the shipping records presumably relied upon by Island are made
  26     available to the public by U.S. Customs and Border Protection (“Customs”), part of
  27     the United States Department of Homeland Security. Customs has promulgated
  28     regulations mandating that certain information be submitted when merchandise is
                                                     -7-
                                     DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                       (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                        33-1 Filed
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  77ofof26
                                                                  14      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       193
                                                                                  ID #:804
               Sigmas motion to dismiss the FCA Complaint Page 15 of 27

   1     imported into the United States. For example, merchandise that is imported into the
   2     United States must be listed on a manifest that includes several types of
   3     information, including a “Cargo Declaration.” 19 C.F.R. § 4.7a (2011). “The
   4     Cargo Declaration . . . must list all the inward foreign cargo on board the vessel
   5     regardless of the U.S. port of discharge.” 19 C.F.R. § 4.7a(c)(1). The Cargo
   6     Declaration must contain certain information, including information contained in
   7     the bills of lading associated with the shipment in question, as well as “a precise
   8     description . . . of the cargo”. 19 C.F.R. § 4.7a(c)(4), (c)(4)(vii).
   9           Members of the press (including newspapers, commercial magazines, trade
  10     journals, and similar publications) are permitted to examine vessel manifests. 19
  11     C.F.R. § 103.31(a) (2010). “All the information appearing on the cargo declaration
  12     . . . of the inward vessel manifest may be copied and published.” 19 C.F.R.
  13     § 103.31(a)(3). This information is made available to members of the public on
  14     CD-ROMS, provided that a written request is made for this material. 19 C.F.R.
  15     § 103.31(e). There are certain commercial entities, like PIERS, that obtain
  16     Customs data through this regulatory mechanism and then sell that data to others.
  17     See generally United States ex rel. Doe v. Staples, Inc., 773 F.3d 83, 85 (D.C. Cir.
  18     2014).
  19           The Supreme Court has held that a “written agency response to a FOIA
  20     [Freedom of Information Act] request falls within the ordinary meaning of ‘report’”
  21     under the public disclosure bar. Schindler Elevator Corp. v. United States ex rel.
  22     Kirk, 563 U.S. 401, 410 (2011). In addition, “[a]ny records the agency produces
  23     along with its written FOIA response are part of that response, ‘just as if they had
  24     been reproduced as an appendix to a printed report.’” Id. at 411 (quoting United
  25     States ex rel. Mistick PBT v. Housing Authority of Pittsburgh, 186 F.3d 376, 384
  26     n.5 (3d Cir. 1999)). Thus, “[i]f an allegation or transaction is disclosed in a record
  27     attached to a FOIA response, it is disclosed ‘in’ that FOIA response and, therefore,
  28     disclosed ‘in’ a report for purposes of the public disclosure bar.” Id.
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  78ofof26
                                                                  15      587
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                                                                               PageID
                                                                             PageExhibit
                                                                                       194
                                                                                  ID #:805
               Sigmas motion to dismiss the FCA Complaint Page 16 of 27

   1           The Customs regulation that allows members of the press to obtain cargo
   2     declarations (including the description of merchandise imported into the United
   3     States) (19 C.F.R. § 103.31(a)) is the functional equivalent of a FOIA request. Just
   4     like a FOIA request, a written request must be made to Customs. 19 C.F.R.
   5     § 103.31(e)(2). That agency then responds to the request by providing the
   6     requested data on a CD-ROM. 19 C.F.R. § 103.31(e). Data that is “collected and
   7     made available for purchase to both the press and the public by CBP itself” is
   8     considered “publicly disclosed in either the ‘news media’ or ‘administrative
   9     reports’ or ‘federal reports’ within the meaning of 31 U.S.C. § 3730(e)(4)(A).”
  10     United States ex rel. Customs Fraud Investigations, LLC v. Victaulic Co., No. 5:13-
  11     cv-02983, 2014 U.S. Dist. LEXIS 123182, at *31-32 (E.D. Pa. Sep. 4, 2014)
  12     (finding that the data relied upon by plaintiff-relator had been publicly disclosed
  13     under the public disclosure bar because “CBP collects and disseminates to the
  14     public all the information that [plaintiff-relator] relied upon in formulating its
  15     ‘Import Analysis.’”).
  16           Island never specifies the exact source of the “public shipping records” it
  17     utilized for purposes of its analysis. Nonetheless, Island itself acknowledges that
  18     the records are public and the law seemingly provides only one route to obtain that
  19     information (i.e., the procedure specified in the regulations promulgated by
  20     Customs).
  21           The D.C. Circuit’s decision in Doe, 773 F.3d 83, illustrates how and why the
  22     public disclosure bar should apply to this case. The relator in Doe alleged fraud on
  23     the United States through false statements made to Customs to avoid the imposition
  24     of antidumping duties. Id. at 84. The relator learned of these alleged
  25     misrepresentations “by examining manifest data that all shippers must submit to
  26     Customs.” Id. at 85. Specifically, the relator obtained the manifest data from a
  27     company called PIERS, which compiled the Customs data in an online database.
  28     Id. On appeal, the relator conceded that the Customs information he obtained
                                                      -9-
                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
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                                        103   Filed
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  79ofof26
                                                                  16      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       195
                                                                                  ID #:806
               Sigmas motion to dismiss the FCA Complaint Page 17 of 27

   1     through PIERS was publically disclosed. Id. at 86-87. Nonetheless, the relator
   2     argued that the public disclosure bar did not apply because he confirmed the false
   3     statements through his “own investigation,” aided by the help of informants. Id. at
   4     85. The D.C. Circuit disagreed: “In short, Relator’s suit is ‘based upon’ publicly
   5     disclosed ‘allegations or transactions,’ thus triggering the public disclosure bar.”
   6     Id. at 88 (citing 31 U.S.C. § 3730(e)(4)(A)).
   7           Island is like the relator in Doe in all material respects. Island alleges that
   8     Sigma evaded antidumping duties “by falsely describing the Chinese Welded
   9     Outlets as steel products that are not subject to antidumping duties.” Am. Compl. ¶
  10     4. (The others means of evasion described by Island — false declaration of
  11     country-of-origin and co-mingling with products not covered by the antidumping
  12     duty order (Am. Compl. ¶ 4) — apply to other defendants, not Sigma. Am. Compl.
  13     ¶¶ 51-63). Island believes that Sigma has falsely described its merchandise based
  14     upon Island’s examination of “shipping records” (Am. Compl. ¶ 57) and “import
  15     records” (Am. Compl. ¶ 61), but Island itself has conceded that these records are
  16     “public” in nature (Am. Compl. ¶ 16), a concession made by the relator in Doe.
  17     Like the relator in Doe, Island conducted an investigation. See Am. Compl. at 7
  18     (“Relator’s Investigation”). Like the relator in Doe, Island utilized the assistance of
  19     an informant. See Am. Compl. ¶ 27 (describing the “assistance of a confidential
  20     source”). These other steps undertaken by Island, however, do not change the
  21     fundamental fact that Island’s key allegation of fraud (i.e., that Sigma falsely
  22     described its imports from China) is based upon public information. Accordingly,
  23     the public disclosure bar requires dismissal of Island’s action with respect to Sigma.
  24           Second, Island relies on a recent scope ruling, which is also public.
  25     Commerce regulations provide that when there is a question as to whether imported
  26     merchandise is subject to an antidumping duty order, interested parties may file a
  27     “Scope Ruling Request” with that agency. 19 C.F.R. § 351.225 (1997). Commerce
  28     will then issue a scope ruling that “clarify[ies] the scope of an order . . . with
                                                     - 10 -
                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                                17:24:54
                                                             Page  80ofof26
                                                                  17      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       196
                                                                                  ID #:807
               Sigmas motion to dismiss the FCA Complaint Page 18 of 27

   1     respect to particular products.” 19 C.F.R. § 351.225(a).
   2           According to Island, Commerce found that the “Welded Outlets” imported
   3     by Sigma were subject to the antidumping duty order. Am. Comp. ¶ 30. In so
   4     doing, Island relies on Commerce’s “Final Scope Ruling” in the inquiry requested
   5     by Sigma (which is currently being challenged before the Court of International
   6     Trade). See Am. Compl. ¶ 30 n.3, Ex. L; see also Defs.’ Mot. to Stay 4-6, ECF No.
   7     100-1. The documents relied on by Island are thus subject to the public disclosure
   8     bar, as they were “publically disclosed” in a “Federal report.” 31 U.S.C.
   9     § 3730(e)(4)(A)(ii).
  10
  11           B.     Rule 12(b)(6) Requires Dismissal Of Island’s First Cause Of
                      Action As To Sigma Because Island Does Not Sufficiently Allege A
  12                  Violation Of The False Claims Act
  13           By its first cause of action, Island alleges a violation of the False Claims Act.
  14     Specifically, Island alleges a violation of 31 U.S.C. § 3729(a)(1)(G), which
  15     establishes liability for any person who “knowingly makes, uses, or causes to be
  16     made or used, a false record or statement material to an obligation to pay or
  17     transmit money or property to the Government, or knowingly conceals or
  18     knowingly and improperly avoids or decreases an obligation to pay or transmit
  19     money or property to the Government . . . .” Stated differently, the “essential
  20     elements of [a False Claims Act] claim,” including claims under 31 U.S.C.
  21     § 3729(a)(1)(G), are: “(1) a false statement or fraudulent course of conduct,
  22     (2) made with requisite scienter, (3) that was material, causing (4) the government
  23     to pay out money or forfeit moneys due.” United States v. Kinetic Concepts, Inc.,
  24     No. 2:08-cv-01885-BRO-AGRx, 2017 U.S. Dist. LEXIS 221777, at *12-13 (C.D.
  25     Cal. Mar. 6, 2017) (quoting United States ex rel. Lee v. Corinthian Colls., 655 F.3d
  26     984, 992 (9th Cir. 2011)). Island’s amended complaint does not contain sufficient
  27     allegations to establish that Sigma violated the False Claims Act.
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                                     DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                       (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  81ofof26
                                                                  18      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       197
                                                                                  ID #:808
               Sigmas motion to dismiss the FCA Complaint Page 19 of 27

   1
                             Island Fails To Sufficiently Allege That Sigma Made A False
   2                         Statement
   3           Island’s allegations that Sigma made false statements to the United States are
   4     not plausible on their face.
   5           First, Island asserts that Sigma evaded the imposition of antidumping duties
   6     by “falsely describing the Chinese Welded Outlets as steel products that are not
   7     subject to antidumping duties” (Am. Compl. ¶ 4), but Island never explains why the
   8     descriptions of the merchandise provided to Customs are inaccurate in any way
   9     (specifically, the use of “parts of pipe fitting” to describe Uni-Let and Safe-Let and
  10     the use of “couplings” to describe grooved outlets).
  11           Indeed, the antidumping duty order that Island alleges is relevant to Sigma’s
  12     products (Am. Compl. ¶ 18) states that “[c]arbon steel butt-weld pipe fittings are
  13     currently classified under subheading 7307.93.30 of the Harmonized Tariff
  14     Schedule (HTS).” Certain Carbon Steel Butt-Weld Pipe Fittings From the People's
  15     Republic of China, 57 Fed. Reg. 29702, 29703 (July 6, 1992) (emphasis added).
  16     The HTS is a “product classification system” adopted at the international level that
  17     contains “approximately 5,000 article descriptions which appear as headings and
  18     subheadings.” U.S Customs and Border Protection, What Every Member of the
  19     Trade Community Should Know About: Tariff Classification, at 10 (May 2004),
  20     https://www.cbp.gov/sites/default/files/documents/icp017r2_3.pdf. The HTS is
  21     presented in a chart form, which contains 4-digit numbers known as “headings,”
  22     followed by 6-digit and 8-digit “subheadings” to further classify the product. Id. at
  23     33. In the United States, the tariff rate for a given product is found at the 8-digit
  24     level of the HTS product classification. Id. at 34. When importing products into
  25     the United States, importers are required to identify the product by the appropriate
  26     HTS subheading, in a process referred to as “[c]lassification.” 19 C.F.R.
  27     § 141.90(b) (2009).
  28           The 4-digit heading listed in the antidumping duty order identified by Island,
                                                       - 12 -
                                        DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                          (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
                                        33-1 Filed
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  82ofof26
                                                                  19      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       198
                                                                                  ID #:809
               Sigmas motion to dismiss the FCA Complaint Page 20 of 27

   1     “7307,” is described in the HTS as “[t]ube or pipe fittings (for example, couplings,
   2     elbows, sleeves), of iron or steel.” Harmonized Tariff Schedule Excerpt, Lau Decl.,
   3     Ex. A at p. 5, ECF No. 103-2. This 4-digit heading contains twenty different 8-
   4     digit subheadings that an importer can use to classify its merchandise, including
   5     7307.93.30, the 8-digit subheading identified in the antidumping duty order for
   6     butt-weld pipe fittings. Id. at 73-19–73-22.
   7           Here, Island alleges that Sigma described its merchandise as “parts of pipe
   8     fittings” and “couplings” (Am. Compl. ¶¶ 57, 61), which would be consistent with
   9     importing merchandise into the United States under either the same 8-digit
  10     subheading identified in the antidumping duty order or one of the nineteen other 8-
  11     digit subheadings that are classified under the “7307” heading. Thus, even if Island
  12     is correct and Sigma’s products should have been classified under the HTS
  13     subheading 7307.93.30 (which Sigma disputes), Island’s allegation that Sigma
  14     “falsely described” its imported merchandise (Am. Compl. ¶ 62; see also id. ¶¶ 16,
  15     57) is incorrect.
  16           Second, Island fails to identify false statements made by Sigma with respect
  17     to the alleged “Chinese-made grooved outlets” sourced from Aegis. Am. Compl.
  18     ¶ 61. In particular, Island alleges that “Ageis [sic] supplied SIGMA with Chinese-
  19     made grooved outlets,” but alleges “on information and belief, that SIGMA evaded
  20     the antidumping duties applicable to such Chinese Welded Outlets.” Am. Compl. ¶
  21     61. However, Island also attached alleged “product specifications for [Sigma’s]
  22     Chinese Welded Outlets” to the amended complaint at Exhibit H. Am. Compl.
  23     ¶ 55. Exhibit H contains a product specification sheet for the “Branchlet Welding
  24     Outlet” from Aegis. Am. Compl. Ex. H at 10-11. This material indicates that
  25     Aegis, with its address in Pennsylvania, markets these outlets as “Made in the
  26     USA,” with “USA” engraved on the product. Am. Compl. Ex. H at 10.
  27           To the extent that Island alleges that Aegis imported Chinese-made grooved
  28     outlets into the United States and subsequently marketed and sold them to Sigma as
                                                    - 13 -
                                     DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                       (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
                                        33-1 Filed
                                        103   Filed
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  83ofof26
                                                                  20      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       199
                                                                                  ID #:810
               Sigmas motion to dismiss the FCA Complaint Page 21 of 27

   1     products that were U.S.-made, which appears to be Island’s theory based on the
   2     amended complaint, Island fails to allege a “false statement” attributable to Sigma.
   3     See Kinetic Concepts, Inc., 2017 U.S. Dist. LEXIS 221777, at *12 (establishing that
   4     “a false statement or fraudulent course of conduct” is a necessary element to a False
   5     Claims Act claim).
   6           Third, Island’s allegations that Sigma made false statements to the United
   7     States also have not been stated “with particularity,” as is required by Rule 9(b).
   8     One aspect of Rule 9(b) is that the plaintiff must specify “the who, what, when,
   9     where, and how of the misconduct charged.” Cafasso, 637 F.3d at 1055. In its
  10     amended complaint, Island never specifies “when” Sigma purportedly engaged in
  11     fraudulent conduct. Island’s amended complaint is also deficient in terms of
  12     “where” Sigma purportedly engaged in fraudulent conduct. The most that Island
  13     states is that Sigma “imported the goods at issue here through this and other judicial
  14     districts.” Am. Compl. ¶ 9. That blanket statement, however, hardly satisfies the
  15     heightened pleading standard demanded by Rule 9(b). The purpose of the False
  16     Claims Act is not served “by allowing a relator to maintain a qui tam suit based on
  17     pure speculation or conjecture.” Aflatooni, 163 F.3d at 526. Yet, as to Sigma, that
  18     is all that Island has: speculation and conjecture.
  19
                              Island Fails To Sufficiently Allege That Sigma Acted With
  20                          Scienter
  21           Island’s amended complaint fails to allege scienter with particularity. “The
  22     False Claims Act’s scienter requirement is ‘rigorous.’” United States v. United
  23     Healthcare Ins. Co., 848 F.3d 1161, 1176 (9th Cir. 2015) (citation omitted).
  24           First, Island’s amended complaint contains one section devoted to specific
  25     allegations concerning Sigma. Am. Compl. at 15-17. That section does not even
  26     attempt to allege that Sigma (1) had “actual knowledge” of its purportedly false
  27     statements; (2) acted “in deliberate ignorance of the truth or falsity of” its
  28     statements; or (3) acted “in reckless disregard of the truth or falsity of” its
                                                      - 14 -
                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  84ofof26
                                                                  21      587
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                                                                               PageID
                                                                             PageExhibit
                                                                                       200
                                                                                  ID #:811
               Sigmas motion to dismiss the FCA Complaint Page 22 of 27

   1     statements. 31 U.S.C. § 3729(b)(1)(A).
   2           Island’s allegation that Sigma “avoid[ed] the term ‘welded outlet’ in [its]
   3     shipping records because [it] know[s] that phrase would be likely to cause the U.S.
   4     government to impose antidumping duties,” and instead imported merchandise as
   5     “parts of pipe fitting” or “couplings” (Am. Compl. ¶¶ 16, 57, 61) fails because, as
   6     explained above, the HTS considers butt-weld fittings to be a type of “pipe fitting”
   7     or “coupling” (the descriptions allegedly used by Sigma). Moreover, in the HTS,
   8     there is no 6- or 8-digit subheading for “welded outlets” that falls under the “7307”
   9     heading. See Harmonized Tariff Schedule Excerpt, Lau Decl., Ex. A at p. 5-8, ECF
  10     No. 103-2. In short, Island’s allegation lacks “facial plausibility,” because Island
  11     failed to “plead[] factual content that allows the court to draw the reasonable
  12     inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.
  13     at 678.
  14           Second, Island makes general statements concerning the state-of-mind of all
  15     of the defendants. In paragraph 76 of the amended complaint, Island alleges that
  16     “Defendants knew that the Chinese Welded Outlets were subject to an antidumping
  17     duty order” or “[a]t the very least, Defendants were deliberately indifferent to, or
  18     acted with reckless disregard of, the truth of those representations.” In paragraph
  19     79 of the amended complaint, Island alleges that, “[u]pon arrival of the Chinese
  20     Welded Outlets in the United States, Defendants, knowing that the goods were
  21     subject to antidumping duties, claimed, or instructed their brokers to claim, that the
  22     Chinese Welded Outlets were not subject to antidumping duties.” Then, in
  23     paragraph 80 of the amended complaint, Island further alleges that, “[a]t all times
  24     material to this Complaint, Defendants had actual knowledge of the falsity, acted in
  25     deliberate ignorance of the truth or falsity, or acted in reckless disregard of the truth
  26     or falsity of their records and statements regarding whether the Chinese Welded
  27     Outlets were subject to antidumping duties.” These boilerplate statements,
  28     however, are utterly lacking in specificity. No plaintiff may rely upon “mere
                                                      - 15 -
                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  85ofof26
                                                                  22      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       201
                                                                                  ID #:812
               Sigmas motion to dismiss the FCA Complaint Page 23 of 27

   1     conclusory statements” or “[t]hreadbare recitals of the elements of a cause of
   2     action.” Iqbal, 556 U.S. at 678.
   3           Third, Island’s suggestion that Commerce’s 1992 Scope Ruling regarding the
   4     antidumping duty order for “Carbon Steel Butt-Weld Pipe Fittings from Taiwan”
   5     somehow serves as precedent for interpreting the antidumping duty order alleged to
   6     be applicable to Sigma (Am. Compl. ¶¶ 23-26) is inaccurate as a matter of law. See
   7     Tianjin Mach. Imp. & Exp. Corp. v. United States, 394 F. Supp. 2d 1369, 1377-78
   8     (Ct. Int’l Trade 2005) (“A prior scope ruling on a particular product, even if falling
   9     within the ambit of the ‘prior scope determinations’ identified in § 351.225(k)(1) as
  10     sources to be consulted by Commerce, is not designated by that regulation as
  11     controlling or precedential in a scope ruling on a different product.”). Thus, to the
  12     extent that Island intends to frame this decision as an indicator of Sigma’s
  13     “knowledge” of the scope of the antidumping duty order for Chinese product, such
  14     an allegation is improper.
  15
  16           C.     Rule 12(b)(6) Requires Dismissal Of Island’s Second Cause Of
                      Action As To Sigma Because Island Does Not Sufficiently Allege A
  17                  Conspiracy To Violate The False Claims Act
  18           By its second cause of action, Island alleges a conspiracy to violate the False
  19     Claims Act. In this cause of action, Island alleges a violation of 31 U.S.C.
  20     § 3729(a)(1))(C), which establishes liability for any person who “conspires to
  21     commit a violation of subparagraph (A), (B), (D), (E), (F), or (G).” As with its first
  22     cause of action, Island’s amended complaint does not contain sufficient allegations
  23     to establish that Sigma conspired to violate the False Claims Act.
  24           With respect to 31 U.S.C. § 3729(a)(1)(C), the general principles of civil
  25     conspiracy apply. See United States ex rel. Silingo v. Wellpoint, Inc., 904 F.3d 667,
  26     678 (9th Cir. 2018) (citing the 10th edition of Black’s Law Dictionary to explain the
  27     types of conspiracies in a False Claims Act case); Calisesi ex rel. United States v.
  28     Hot Chalk, Inc., No. 2:13-cv-01150-PHX-NVW, 2015 U.S. Dist. LEXIS 57509, at
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                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
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                                        103   Filed
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                                                       06/27/22
                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  86ofof26
                                                                  23      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       202
                                                                                  ID #:813
               Sigmas motion to dismiss the FCA Complaint Page 24 of 27

   1     *34 (D. Ariz. May 1, 2015) (“General civil conspiracy principles apply to
   2     conspiracy claims under the False Claims Act.”). Thus, in order to properly state a
   3     claim for conspiracy under the False Claims Act, a plaintiff must allege that: (1) the
   4     defendant entered into an agreement to violate the False Claims Act; and (2) the
   5     defendant committed an act in furtherance of that conspiracy. See United States ex
   6     rel. Farmer v. City of Hous., 523 F.3d 333, 343 (5th Cir. 2008) (“To prove a
   7     conspiracy, [plaintiff-relator] ultimately must be able to show (1) the existence of
   8     an unlawful agreement between defendants to get a false or fraudulent claim
   9     allowed or paid by [the government agency] and (2) at least one act performed in
  10     furtherance of that agreement.”).
  11           Under the plausibility requirements of Rule 8 of the Federal Rules of Civil
  12     Procedure, “an allegation of parallel conduct and a bare assertion of conspiracy will
  13     not suffice,” because “parallel conduct does not suggest conspiracy, and a
  14     conclusory allegation of agreement at some unidentified point does not supply facts
  15     adequate to show illegality.” Twombly, 550 U.S. at 556-57 (addressing a
  16     conspiracy claim under the Sherman Act). As such, mere allegations of parallel
  17     conduct “stop[] short of the line between possibility and plausibility of entitlement
  18     to relief.” Id. (internal quotations and citation omitted).
  19           Moreover, the heightened pleading requirements of Rule 9(b) of the Federal
  20     Rules of Civil Procedure also apply to allegations that a defendant conspired to
  21     violate the False Claims Act. Thus, the plaintiff in such a case “must allege the
  22     existence of an agreement between the defendants to violate the FCA.” Lesnik v.
  23     Se, No. 5:16-cv-01120-LHK, 2018 U.S. Dist. LEXIS 170373, at *23 (N.D. Cal.
  24     Oct. 1, 2018) (internal quotations and citations omitted). This allegation of an
  25     agreement must be pled with particularity. See United States ex rel. Fisher v. IASIS
  26     Healthcare LLC, No. 2:15-cv-00872-PHX-JJT, 2016 U.S. Dist. LEXIS 155517, at
  27     *52 (D. Ariz. Nov. 8, 2016) (dismissing a False Claims Act conspiracy claim where
  28     “[r]elators not only fail to plead who at each Defendant agreed with whom to
                                                     - 17 -
                                      DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                        (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
                                        33-1 Filed
                                        103   Filed
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                                                    11/11/22
                                                       06/27/22
                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  87ofof26
                                                                  24      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       203
                                                                                  ID #:814
               Sigmas motion to dismiss the FCA Complaint Page 25 of 27

   1     violate the FCA, or how, but what acts were done by each Defendant in furtherance
   2     of such agreement(s)”); United States ex rel. Marion v. Heald Coll., LLC, No. 5:12-
   3     cv-02067-PSG, 2015 U.S. Dist. LEXIS 97767, at *14 (N.D. Cal. July 24, 2015)
   4     (dismissing a False Claims Act conspiracy claim under Rule 9(b) because the
   5     complaint contained “no factual allegations about the time, place or specific
   6     language used by the defendants to form then [sic] agreement”). Island does not
   7     satisfy these requirements.
   8           First, Island does not actually allege that Sigma entered into an agreement to
   9     violate the False Claims Act with any other Defendant. Instead, Island broadly
  10     alleges that: (1) “Defendants, along with the Chinese Manufacturers and others,
  11     acted in concert to violate the False Claims Act by knowingly making, using, or
  12     causing to be made or used a false record or statement material to their obligation to
  13     pay money to the United States by falsely declaring that the Chinese Welded
  14     Outlets were not subject to antidumping duties”; and (2) “Defendants also acted in
  15     concert to violate the False Claims Act by knowingly concealing or knowingly and
  16     improperly avoiding or decreasing their obligation to pay or transmit money or
  17     property to the United States.” Am. Compl. ¶ 87. Island fails to back these
  18     conclusory statements with even a single allegation of fact suggesting an agreement
  19     between Sigma and any of the other defendants. This failure is fatal to its theory
  20     that Sigma entered into a conspiracy with any of the other defendants. See
  21     Twombly, 550 U.S. at 556 (establishing that “an allegation of parallel conduct and a
  22     bare assertion of conspiracy will not suffice” to state a claim of conspiracy). At
  23     best, Island alleges that certain defendants separately violated the False Claims Act.
  24     As such, Island’s claim that Sigma is “jointly and severally” liable for the damages
  25     allegedly caused by other defendants (Am. Compl. at 22-23) must also fail. See
  26     Metalmark Nw., LLC v. Stewart, No. 3:04-cv-00682-KI, 2006 U.S. Dist. LEXIS
  27     55518, at *3 (D. Or. Aug. 8, 2006) (denying request to enter joint and several
  28     liability against two defendants after the jury failed to find that they were co-
                                                      - 18 -
                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
Case
  Case
Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-2 Document
     2:17-cv-04393-RGK-KS   Document
                              Filed 06/27/22
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                                                   07/24/19   Page
                                                                17:24:54
                                                             Page  88ofof26
                                                                  25      587
                                                                            Desc
                                                                               PageID
                                                                             PageExhibit
                                                                                       204
                                                                                  ID #:815
               Sigmas motion to dismiss the FCA Complaint Page 26 of 27

   1     conspirators with the third defendant).
   2           Second, Island’s bare allegation that “SIGMA and/or its subsidiaries entered
   3     into agreements with other individuals and entities (such as Shanghai Vision, Ageis
   4     [sic], Beijing Bell, Wor-Biz Trading, and others known to SIGMA and its
   5     subsidiaries but unknown at this time to Relator) to violate the False Claims Act by
   6     falsely declaring that the Chinese Welded Outlets were not subject to antidumping
   7     duties” (Am. Compl. ¶ 63) is insufficient to satisfy the requisite pleading standard.
   8     See Fisher, 2016 U.S. Dist. LEXIS 155517, at *52.
   9           Island’s sparse factual allegations concerning the entities that it alleges
  10     Sigma conspired with fail to remedy this pleading deficiency. As to Shanghai
  11     Vision, Island alleges only that “[i]n early 2011, . . . SIGMA asked Relator to
  12     determine whether it would be plausible to repair [its Chinese grooved outlets],
  13     which were manufactured by Shanghai Vision.” Am. Compl. ¶ 58. As to Beijing
  14     Bell and Wor-Biz Trading, Island alleges only that, at an unknown time, “SIGMA
  15     sourced many of its Welded Outlets from Beijing Bell and that it used Wor-Biz
  16     Trading to facilitate the shipments.” Am. Compl. ¶ 60. It is entirely unclear how,
  17     if at all, Island contends that these facts relate to the alleged conspiracy, but it is
  18     clear that these allegations fall well short of adequately alleging a conspiracy
  19     between Sigma and Shanghai Vision, Sigma and Beijing Bell, or Sigma and Wor-
  20     Biz Trading.
  21           Island’s factual allegations as to Sigma and Aegis are equally insufficient,
  22     alleging only that: (1) “[i]n late 2015 . . . SIGMA advised Relator that it would no
  23     longer purchase product from Relator because SIGMA had discovered a new ‘low
  24     cost’ source that offered Welded Outlets at prices that were significantly below
  25     Relator’s costs” and this source was Aegis (Am. Compl. ¶¶ 58-59); (2) that “for
  26     many years” Terry Clark “served as a Vice President at Ageis [sic] and as a
  27     Manager at SIGMA” (Am. Compl. ¶ 59); (3) “SIGMA was working with Ageis
  28     [sic] to develop an alternative low cost source for Welded Outlets” (Am. Compl. ¶
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                                       DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                                                                                         (Case No. 2:17-cv-04393-RGK-KS)
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               Sigmas motion to dismiss the FCA Complaint Page 27 of 27

   1     60); and (4) “Ageis [sic] supplied SIGMA with Chinese-made grooved outlets”
   2     (Am. Compl. ¶ 61). Island separately alleges that “[t]o Relator’s knowledge, Ageis
   3     [sic] does not own meaningful domestic manufacturing facilities” and that “it would
   4     not have been economically feasible for Ageis [sic] to have supplied SIGMA with
   5     domestically produced Welded Outlets given the prices that SIGMA charged for
   6     grooved outlets.” Am. Compl. ¶ 60. Island does not allege that Sigma was aware
   7     of, much less played any role relating to, these two allegations. At bottom, Island’s
   8     allegations merely indicate that Sigma stopped buying product from Plaintiff-
   9     Relator after finding a new source with a lower price. Island thus fails to meet the
  10     “threshold requirement” of pleading “allegations plausibly suggesting (not merely
  11     consistent with) agreement” (Twombly, 550 U.S. at 557), much less the heightened
  12     requirements of Rule 9 of the Federal Rules of Civil Procedure.
  13           Accordingly, the Court should dismiss Island’s second cause of action.
  14           CONCLUSION
  15           For these reasons, the Court should dismiss Island’s action as it pertains to
  16     Sigma.
  17
        Dated: July 24, 2019                            WHITE & CASE LLP
  18
                                                        By: /s/ Lucius B. Lau
  19                                                    Lucius B. Lau (pro hac vice)
                                                        James P. Gagen (pro hac vice)
  20                                                    701 13th Street NW
                                                        Washington, DC 20005
  21                                                    alau@whitecase.com
                                                        jgagen@whitecase.com
  22
                                                        Carmen Lo (SBN 280441)
  23                                                    555 South Flower Street, Suite 2700
                                                        Los Angeles, CA 90071-2433
  24                                                    Telephone: (213) 620-7700
                                                        Facsimile: (213) 452-2329
  25                                                    carmen.lo@whitecase.com
  26                                                    Attorneys for Defendant
                                                        SIGMA CORPORATION
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                                     DEFENDANT SIGMA CORPORATION’S MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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                  Stipulated Protective Order in the FCA Page 1 of 19




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Case 2:22-cv-02436-JPM-cgc
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                  Stipulated Protective Order in the FCA Page 2 of 19



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      9                      UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
     10                           WESTERN DIVISION
     11
     12 UNITED STATES OF AMERICA ex                  Case No. 2:17-CV-04393-RGK-KS
        rel. ISLAND INDUSTRIES, INC.,
     13                                              [PROPOSED] STIPULATED
     14            Plaintiff-Relator,                PROTECTIVE ORDER

     15         v.
                                                     Trial Date: June 23, 2020
     16 VANDEWATER INTERNATIONAL                     Judge:      Hon. R. Gary Klausner
        INC.; NEIL REUBENS; ANVIL
     17 INTERNATIONAL, LLC; SIGMA
        CORPORATION; SMITH COOPER
     18 INTERNATIONAL; ALLIED
     19 RUBBER & GASKET COMPANY;
        and JOHN DOES Nos. 1–10,
     20
                   Defendants.
     21
     22         1.    A. PURPOSES AND LIMITATIONS
     23               Discovery in this action is likely to involve production of confidential,
     24 proprietary, and/or private information for which special protection from public
     25 disclosure and from use for any purpose other than prosecuting this litigation may
     26 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
     27 enter the following Stipulated Protective Order. The parties acknowledge that this
     28 Order does not confer blanket protections on all disclosures or responses to
          [STIPULATED PROTECTIVE ORDER                             Case No. 2:17-CV-04393-RGK-KS
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                                                                                 ID #:1356
                  Stipulated Protective Order in the FCA Page 3 of 19




      1 discovery and that the protection it affords from public disclosure and use extends
      2 only to the limited information or items that are entitled to confidential treatment
      3 under the applicable legal principles. The parties further acknowledge, as set forth
      4 in Section 12.3, below, that this Stipulated Protective Order does not entitle them
      5 to file confidential information under seal; Civil Local Rule 79-5 sets forth the
      6 procedures that must be followed and the standards that will be applied when a
      7 party seeks permission from the court to file material under seal.
      8         B.    GOOD CAUSE STATEMENT
      9         1.1   This action is likely to involve purchasing, shipping, and import
     10 records; pricing lists; trade secrets; customer and other valuable research;
     11 production practices; and development, commercial, financial and/or technical
     12 information for which special protection from public disclosure and from use for
     13 any purpose other than prosecution of this action is warranted. Such confidential
     14 materials and information consist of, among other things, confidential business or
     15 financial information, information regarding purchase and sale prices of material
     16 inputs and products by suppliers, manufacturers, importers, distributors, or
     17 retailers; information regarding the manufacture, purchase, or sale of inputs and
     18 products; or other confidential commercial information (including information
     19 implicating privacy rights of third parties), information generally unavailable to
     20 the public, or which may be privileged or otherwise protected from disclosure
     21 under state or federal statutes, rules, court rules, case decisions, or common law.
     22 Accordingly, to expedite the flow of information, to facilitate the prompt resolution
     23 of disputes over confidentiality of discovery materials, to adequately protect
     24 information the parties are entitled to keep confidential, to ensure that the parties
     25 are permitted reasonable necessary uses of such material in preparation for and in
     26 the conduct of trial, to address their handling at the end of the litigation, and serve
     27 the ends of justice, a protective order for such information is justified in this
     28   STIPULATED PROTECTIVE ORDER                              Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-3 Document
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                  Stipulated Protective Order in the FCA Page 4 of 19




      1 matter. It is the intent of the parties that information will not be designated as
      2 confidential for tactical reasons and that nothing be so designated without a good
      3 faith belief that it has been maintained in a confidential, non-public manner, and
      4 there is good cause why it should not be part of the public record of this case.
      5         2.    DEFINITIONS
      6         2.1   Action: The United States of America ex rel. v. Island Industries, Inc.,
      7 v. Vandewater International Inc., Neil Reubens, Anvil International LLC, Sigma
      8 Corporation, Smith Cooper International, Allied Rubber & Gasket Company, and
      9 John Does Nos. 1-10, Case No. 2:17-cv-04393 (RGK-KS).
     10         2.2   Challenging Party: A Party or Non-Party that challenges the
     11 designation of information or items under this Order.
     12         2.3   “CONFIDENTIAL” Information or Items: information (regardless of
     13 how it is generated, stored or maintained) or tangible things that qualify for
     14 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
     15 the Good Cause Statement. Entry packages and import documents, other than data
     16 included in publicly-released ship manifest data or in summary statistical reports,
     17 are presumptively confidential, consistent with U.S. Customs and Border
     18 Protection’s treatment of CBP information. See 19 C.F.R. Part 103.
     19         2.4   Counsel: Outside Counsel of Record and In-House Counsel (as well
     20 as their respective support staff).
     21         2.5   Designating Party: A Party or Non-Party that designates information
     22 or items that it produces in disclosures or in responses to discovery as
     23 “CONFIDENTIAL.”
     24         2.6   Disclosure or Discovery Material: All items or information, regardless
     25 of the medium or manner in which it is generated, stored, or maintained (including,
     26 among other things, testimony, transcripts, and tangible things), that are produced
     27 or generated in disclosures or responses to discovery in this matter.
     28   STIPULATED PROTECTIVE ORDER                              Case No. 2:17-CV-04393-RGK-KS
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                                                                                 ID #:1358
                  Stipulated Protective Order in the FCA Page 5 of 19




      1         2.7   Expert: A person with specialized knowledge or experience in a
      2 matter pertinent to the litigation who has been retained by a Party or its counsel to
      3 serve as an expert witness or as a consultant in this Action.
      4         2.8   In-House Counsel: Attorneys who are employees of a party to this
      5 Action with responsibility for managing this Action. In-House Counsel does not
      6 include Outside Counsel of Record or any other outside counsel.
      7         2.9   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”:
      8 sensitive “CONFIDENTIAL” Information or Items, the disclosure of which to
      9 another Party or Non-Party would create a substantial risk of serious harm that
     10 could not be avoided by less restrictive means.
     11         2.10 Non-Party: Any natural person, partnership, corporation, association,
     12 or other legal entity not named as a Party to this action.
     13         2.11 Outside Counsel of Record: Attorneys who are not employees of a
     14 party to this Action but are retained to represent or advise a party to this Action
     15 and have appeared in this Action on behalf of that party or are affiliated with a law
     16 firm that has appeared on behalf of that party and includes support staff.
     17         2.12 Party: Any party to this Action, including all officers, directors,
     18 employees, consultants, retained experts, and Outside Counsel of Record (and their
     19 support staffs).
     20         2.13 Producing Party: A Party or Non-Party that produces Disclosure or
     21 Discovery Material in this Action.
     22         2.14 Professional Vendors: Persons or entities that provide litigation
     23 support services (e.g., photocopying, videotaping, translating, preparing exhibits or
     24 demonstrations, and organizing, storing, or retrieving data in any form or medium)
     25 and their employees and subcontractors.
     26         2.15 Protected Material: Any Disclosure or Discovery Material that is
     27 designated as “CONFIDENTIAL” or “HIGH CONFIDENTIAL – ATTORNEY’S
     28   STIPULATED PROTECTIVE ORDER                                Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
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                  Stipulated Protective Order in the FCA Page 6 of 19




      1 EYES ONLY”
      2         2.16 Receiving Party: A Party that receives Disclosure or Discovery
      3 Material from a Producing Party.
      4         3.    SCOPE
      5         The protections conferred by this Stipulated Protective Order cover not only
      6 Protected Material (as defined above), but also (1) any information copied or
      7 extracted from Protected Material; (2) all copies, excerpts, summaries, or
      8 compilations of Protected Material; and (3) any testimony, conversations, or
      9 presentations by Parties or their Counsel that might reveal Protected Material. Any
     10 use of Protected Material at trial shall be governed by the orders of the trial judge.
     11 This Order does not govern the use of Protected Material at trial.
     12         4.    DURATION
     13         Even after final disposition of this litigation, the confidentiality obligations
     14 imposed by this Order shall remain in effect until a Designating Party agrees
     15 otherwise in writing or a court order otherwise directs. Final disposition shall be
     16 deemed to be the later of (1) dismissal of all claims and defenses in this Action,
     17 with or without prejudice; and (2) final judgment herein after the completion and
     18 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
     19 including the time limits for filing any motions or applications for extension of
     20 time pursuant to applicable law.
     21         5.    DESIGNATING PROTECTED MATERIAL
     22         5.1   Exercise of Restraint and Care in Designating Material for Protection.
     23                Each Party or Non-Party that designates information or items for
     24 protection under this Order must take care to limit any such designation to specific
     25 material that qualifies under the appropriate standards. The Designating Party must
     26 designate for protection only those parts of material, documents, items, or oral or
     27 written communications that qualify so that other portions of the material,
     28   STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-3 Document
     2:17-cv-04393-RGK-KS    Document
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                  Stipulated Protective Order in the FCA Page 7 of 19




      1 documents, items, or communications for which protection is not warranted are not
      2 swept unjustifiably within the ambit of this Order. Mass, indiscriminate, or
      3 routinized designations are prohibited. Designations that are shown to be clearly
      4 unjustified or that have been made for an improper purpose (e.g., to unnecessarily
      5 encumber the case development process or to impose unnecessary expenses and
      6 burdens on other parties) may expose the Designating Party to sanctions.
      7         If it comes to a Designating Party’s attention that information or items that it
      8 designated for protection do not qualify for protection, that Designating Party must
      9 promptly notify all other Parties that it is withdrawing the inapplicable designation.
     10         5.2   Manner and Timing of Designations. Except as otherwise provided in
     11 this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
     12 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
     13 under this Order must be clearly so designated before the material is disclosed or
     14 produced.
     15         Designation in conformity with this Order requires:
     16         (a)   For information in documentary form (e.g., paper or electronic
     17 documents, but excluding transcripts of depositions or other pretrial or trial
     18 proceedings), that the Producing Party affix at a minimum, the legend
     19 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
     20 ONLY”, to each page that contains protected material. If only a portion or portions
     21 of the material on a page qualifies for protection, the Producing Party also must
     22 clearly identify the protected portion(s) (e.g., by placing brackets around the
     23 material qualifying for protection or by making appropriate markings in the
     24 margins).
     25         A Party or Non-Party that makes original documents available for inspection
     26 need not designate them for protection until after the inspecting Party has indicated
     27 which documents it would like copied and produced. During the inspection and
     28   STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-3 Document
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                  Stipulated Protective Order in the FCA Page 8 of 19




      1 before the designation, all of the material made available for inspection shall be
      2 deemed “CONFIDENTIAL.” After the inspecting Party has identified the
      3 documents it wants copied and produced, the Producing Party must determine
      4 which documents, or portions thereof, qualify for protection under this Order.
      5 Then, before producing the specified documents, the Producing Party must affix
      6 the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
      7 ONLY” designations to each page that contains Protected Material. If only a
      8 portion or portions of the material on a page qualifies for protection, the Producing
      9 Party also must clearly identify the protected portion(s) (e.g., by making
     10 appropriate markings in the margins).
     11         (b)   Deposition transcripts and portions thereof taken in this Action may
     12 be designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
     13 ATTORNEYS’ EYES ONLY” during the deposition or after, in which case the
     14 portion of the transcript containing Designated Material shall be identified in the
     15 transcript by the Court Reporter as “CONFIDENTIAL” or “HIGHLY
     16 CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” The designated testimony
     17 shall be bound in a separate volume and marked by the reporter accordingly.
     18 Where testimony is designated during the deposition, the Designating Party shall
     19 have the right to exclude, at those portions of the deposition, all persons not
     20 authorized by the terms of this Stipulated Protective Order to receive such
     21 Designated Material.
     22         Within fifteen (15) days after a deposition transcript is certified by the court
     23 reporter, any party may designate pages of the transcript and/or its exhibits as
     24 Designated Material. During such fifteen (15) day period, the transcript in its
     25 entirety shall be treated as “CONFIDENTIAL” (except for those portions
     26 identified earlier as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
     27 which shall be treated accordingly from the date of designation). If any party so
     28   STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-3 Document
     2:17-cv-04393-RGK-KS    Document
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                  Stipulated Protective Order in the FCA Page 9 of 19




      1 designates such material, the parties shall provide written notice of such
      2 designation to all parties within the fifteen (15) day period. Designated Material
      3 within the deposition transcript or the exhibits thereto may be identified in writing
      4 by page and line, or by underlining and marking such portions “CONFIDENTIAL”
      5 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and providing such
      6 marked-up portions to all Counsel.
      7         (c)   For information produced in some form other than documentary and
      8 for any other tangible items, that the Producing Party affix in a prominent place on
      9 the exterior of the container or containers in which the information is stored the
     10 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
     11 ONLY” designations. If only a portion or portions of the information warrants
     12 protection, the Producing Party, to the extent practicable, shall identify the
     13 protected portion(s).
     14         5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
     15 failure to designate qualified information or items does not, standing alone, waive
     16 the Designating Party’s right to secure protection under this Order for such
     17 material. Upon timely correction of a designation, the Receiving Party must make
     18 reasonable efforts to assure that the material is treated in accordance with the
     19 provisions of this Order.
     20         6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
     21         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
     22 designation of confidentiality at any time that is consistent with the Court’s
     23 Scheduling Order.
     24         6.2   Meet and Confer. The Challenging Party shall initiate the dispute
     25 resolution process under Local Rule 37.1. The burden of persuasion in any such
     26 challenge proceeding shall be on the Designating Party. Frivolous challenges, and
     27 those made for an improper purpose (e.g., to harass or impose unnecessary
     28   STIPULATED PROTECTIVE ORDER                             Case No. 2:17-CV-04393-RGK-KS
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Case 2:22-cv-02436-JPM-cgc
        22-00050 Doc 19-3 Document
     2:17-cv-04393-RGK-KS     Document
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                  Stipulated Protective Order in the FCA Page 10 of 19




      1 expenses and burdens on other parties) may expose the Challenging Party to
      2 sanctions. Unless the Designating Party has waived or withdrawn the
      3 confidentiality designation, all parties shall continue to afford the material in
      4 question the level of protection to which it is entitled under the Producing Party’s
      5 designation until the Court rules on the challenge.
      6         7.    ACCESS TO AND USE OF PROTECTED MATERIAL
      7         7.1   Basic Principles. A Receiving Party may use Protected Material that is
      8 disclosed or produced by another Party or by a Non-Party in connection with this
      9 Action only for prosecuting, defending, or attempting to settle this Action. Such
     10 Protected Material may be disclosed only to the categories of persons and under
     11 the conditions described in this Order. When the Action has been terminated, a
     12 Receiving Party must comply with the provisions of Section 13 below (FINAL
     13 DISPOSITION).
     14         Protected Material must be stored and maintained by a Receiving Party at a
     15 location and in a secure manner that ensures that access is limited to the persons
     16 authorized under this Order.
     17         7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
     18 otherwise ordered by the court or permitted in writing by the Designating Party, a
     19 Receiving     Party    may     disclose   any   information    or   item     designated
     20 “CONFIDENTIAL” only to:
     21         (a)   the Receiving Party’s Outside Counsel of Record in this Action, as
     22 well as employees of said Outside Counsel of Record to whom it is reasonably
     23 necessary to disclose the information for this Action;
     24         (b)   officers, directors, and employees (including In-House Counsel) of the
     25 Receiving Party to whom disclosure is reasonably necessary for this Action,
     26 provided that any such officer, director, or employee has signed the
     27 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
     28   STIPULATED PROTECTIVE ORDER                              Case No. 2:17-CV-04393-RGK-KS
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Case   2:22-cv-02436-JPM-cgc
         22-00050 Doc 19-3 Document
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                   Stipulated Protective Order
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                                               in the FCA Page 11 of 19




      1          (c)   Counsel to the parties in this Action, including any Outside Counsel
      2 of Record and In-House Counsel, and their respective associates, clerks, legal
      3 assistants, stenographic, videographic and support personnel, and other employees
      4 of such outside litigation attorneys, and organizations retained by such attorneys to
      5 provide litigation support services in this Action and the employees of said
      6 organizations. Counsel herein explicitly include any In-House Counsel, whether or
      7 not they are attorneys of record in this Action;
      8          (d)   Experts (as defined in this Order) of the Receiving Party to whom
      9 disclosure is reasonably necessary for this Action and who have signed the
     10 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
     11          (e)   The court and its personnel;
     12          (f)   Court reporters and their staff;
     13          (g)   Professional jury or trial consultants, mock jurors, and Professional
     14 Vendors to whom disclosure is reasonably necessary for this Action and who have
     15 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
     16          (h)   The author or recipient of a document containing the information or a
     17 custodian or other person who otherwise possessed or knew the information;
     18          (i)   During their depositions, witnesses, and attorneys for witnesses, in the
     19 Action to whom disclosure is reasonably necessary provided: (1) the deposing
     20 party requests that the witness sign the form attached as Exhibit A hereto; and (2)
     21 they will not be permitted to keep any confidential information unless they sign
     22 Exhibit A, unless otherwise agreed by the Designating Party or ordered by the
     23 court. Pages of transcribed deposition testimony or exhibits to depositions that
     24 reveal Protected Material may be separately bound by the court reporter and may
     25 not be disclosed to anyone except as permitted under this Stipulated Protective
     26 Order; and
     27          (j)   any mediator or settlement officer, and their supporting personnel,
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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                   Stipulated Protective Order
                                             217
                                               in the FCA Page 12 of 19




      1 mutually agreed upon by any of the parties engaged in settlement discussions.
      2          7.3   Disclosure of “HIGHLY CONFIDENTIAL- ATTORNEYS’ EYES
      3 ONLY” Information or Items.
      4          Materials designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
      5 EYES ONLY” may be disclosed only to the following Designees:
      6          (a)   Any person who appears on the face of the Designated Material
      7 marked “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” as an
      8 author, addressee, or recipient thereof;
      9          (b)   Outside Counsel of Record for the parties in this Action, and their
     10 respective associates, clerks, legal assistants, stenographic, videographic and
     11 support personnel, and other employees of such outside litigation attorneys, and
     12 organizations retained by such attorneys to provide litigation support services in
     13 this Action and the employees of said organizations;
     14          (c)   Experts for the parties to this Action, as defined herein; and
     15          (d)   The Court, its clerks, Court officials, employees, any special master,
     16 referee, expert, technical advisor or third-party consultant appointed by the Court,
     17 to the jury in this Action, and any interpreters interpreting on behalf of any party or
     18 deponent;
     19          (e)   Court reporters retained to transcribe depositions and/or retained to
     20 record proceedings before the Court; and
     21          (f)   Any mediator or settlement officer, and their supporting personnel,
     22 mutually agreed upon by those parties engaged in settlement discussions provided
     23 that he or she sign a certification that he or she has read this Stipulated Protective
     24 Order, will abide by its provisions, and will submit to the jurisdiction of this Court
     25 regarding the enforcement of this Stipulated Protective Order’s provisions.
     26          8.    PROTECTED        MATERIAL         SUBPOENAED           OR     ORDERED
     27 PRODUCED IN OTHER LITIGATION
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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      1          If a Party is served with a subpoena or a court order issued in other litigation
      2 that compels disclosure of any information or items designated in this Action as
      3 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
      4 ONLY” that Party must:
      5          (a)   Promptly notify in writing the Designating Party. Such notification
      6 shall include a copy of the subpoena or court order;
      7          (b)   Promptly notify in writing the party who caused the subpoena or order
      8 to issue in the other litigation that some or all of the material covered by the
      9 subpoena or order is subject to this Protective Order. Such notification shall
     10 include a copy of this Stipulated Protective Order; and
     11          (c)   Cooperate with respect to all reasonable procedures sought to be
     12 pursued by the Designating Party whose Protected Material may be affected. If the
     13 Designating Party timely seeks a protective order, the Party served with the
     14 subpoena or court order shall not produce any information designated in this action
     15 as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
     16 ONLY” before a determination by the court from which the subpoena or order
     17 issued, unless the Party has obtained the Designating Party’s permission. The
     18 Designating Party shall bear the burden and expense of seeking protection in that
     19 court of its confidential material and nothing in these provisions should be
     20 construed as authorizing or encouraging a Receiving Party in this Action to
     21 disobey a lawful directive from another court.
     22          9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
     23 PRODUCED IN THIS LITIGATION
     24          (a)   The terms of this Order are applicable to information produced by a
     25 Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
     26 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. Such information produced
     27 by Non-Parties in connection with this litigation is protected by the remedies and
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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Case   2:22-cv-02436-JPM-cgc
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                                             219
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      1 relief provided by this Order. Nothing in these provisions should be construed as
      2 prohibiting a Non-Party from seeking additional protections.
      3          (b)   In the event that a Party is required, by a valid discovery request, to
      4 produce a Non-Party’s confidential information in its possession, and the Party is
      5 subject to an agreement with the Non-Party not to produce the Non-Party’s
      6 confidential information, then the Party shall:
      7          (1)   Promptly notify in writing the Requesting Party and the Non-Party
      8 that some or all of the information requested is subject to a confidentiality
      9 agreement with a Non-Party;
     10          (2)   Promptly provide the Non-Party with a copy of the Stipulated
     11 Protective Order in this Action, the relevant discovery request(s), and a reasonably
     12 specific description of the information requested; and
     13          (3)   make the information requested available for inspection by the Non-
     14 Party, if requested.
     15          (c)   If the Non-Party fails to seek a protective order from this court within
     16 14 days of receiving the notice and accompanying information, the Receiving
     17 Party may produce the Non-Party’s confidential information responsive to the
     18 discovery request. If the Non-Party timely seeks a protective order, the Receiving
     19 Party shall not produce any information in its possession or control that is subject
     20 to the confidentiality agreement with the Non-Party before a determination by the
     21 court. Absent a court order to the contrary, the Non-Party shall bear the burden and
     22 expense of seeking protection in this court of its Protected Material.
     23          10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
     24          If a Receiving Party learns that, by inadvertence or otherwise, it has
     25 disclosed Protected Material to any person or in any circumstance not authorized
     26 under this Stipulated Protective Order, the Receiving Party must immediately:
     27          (a)   notify in writing the Designating Party of the unauthorized
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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Case   2:22-cv-02436-JPM-cgc
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                   Stipulated Protective Order
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      1 disclosures;
      2          (b)   use its best efforts to retrieve all unauthorized copies of the Protected
      3 Material;
      4          (c)   inform the person or persons to whom unauthorized disclosures were
      5 made of all the terms of this Order; and
      6          (d)   request such person or persons to execute the “Acknowledgment and
      7 Agreement to Be Bound” that is attached hereto as Exhibit A.
      8          11.   INADVERTENT           PRODUCTION           OF      PRIVILEGED           OR
      9 OTHERWISE PROTECTED MATERIAL
     10          When a Producing Party gives notice to Receiving Parties that certain
     11 inadvertently produced material is subject to a claim of privilege or other
     12 protection, the obligations of the Receiving Parties are those set forth in Federal
     13 Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
     14 whatever procedure may be established in an e-discovery order that provides for
     15 production without prior privilege review. Pursuant to Federal Rule of Evidence
     16 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
     17 of a communication or information covered by the attorney-client privilege or
     18 work product protection, the parties may incorporate their agreement in the
     19 stipulated protective order submitted to the court.
     20          12.   MISCELLANEOUS
     21          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
     22 person to seek its modification by the Court in the future.
     23          12.2 Right to Assert Other Objections. By stipulating to the entry of this
     24 Protective Order no Party waives any right it otherwise would have to object to
     25 disclosing or producing any information or item on any ground not addressed in
     26 this Stipulated Protective Order. Similarly, no Party waives any right to object on
     27 any ground to use in evidence of any of the material covered by this Protective
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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                   Stipulated Protective Order
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      1 Order.
      2          12.3 Filing Protected Material. A Party that seeks to file under seal any
      3 Protected Material must comply with Civil Local Rule 79-5. Protected Material
      4 may only be filed under seal pursuant to a court order authorizing the sealing of the
      5 specific Protected Material at issue. If a Party’s request to file Protected Material
      6 under seal is denied by the court, then the Receiving Party may file the information
      7 in the public record unless otherwise instructed by the court.
      8          13.   FINAL DISPOSITION
      9          After the final disposition of this Action, as defined in Section 4, within 60
     10 days of a written request by the Designating Party, each Receiving Party must
     11 return all Protected Material to the Producing Party or destroy such material. As
     12 used in this subdivision, “all Protected Material” includes all copies, abstracts,
     13 compilations, summaries, and any other format reproducing or capturing any of the
     14 Protected Material. Whether the Protected Material is returned or destroyed, the
     15 Receiving Party must submit a written certification to the Producing Party (and, if
     16 not the same person or entity, to the Designating Party) by the 60 day deadline that
     17 (1) identifies (by category, where appropriate) all the Protected Material that was
     18 returned or destroyed and (2) affirms that the Receiving Party has not retained any
     19 copies, abstracts, compilations, summaries or any other format reproducing or
     20 capturing any of the Protected Material. Notwithstanding this provision, Counsel
     21 are entitled to retain an archival copy of all pleadings, motion papers, trial,
     22 deposition, and hearing transcripts, legal memoranda, correspondence, deposition
     23 and trial exhibits, expert reports, attorney work product, and consultant and expert
     24 work product, even if such materials contain Protected Material. Any such archival
     25 copies that contain or constitute Protected Material remain subject to this
     26 Protective Order as set forth in Section 4.
     27          14.   VIOLATIONS OF THE ORDER
     28    STIPULATED PROTECTIVE ORDER                               Case No. 2:17-CV-04393-RGK-KS
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                   Stipulated Protective Order
                                             222
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      1          Any violation of this Order may be punished by any and all appropriate
      2 measures including, without limitation, contempt proceedings and/or monetary
      3 sanctions.
      4
      5          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
      6
      7 DATED: November 18, 2019
      8
      9                                           ___________________________________
                                                          KAREN L. STEVENSON
     10                                           UNITED STATES MAGISTRATE JUDGE
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      1                                        EXHIBIT A
      2
      3             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
      4
      5                I,     __________________________________________[print                   or
      6 type full name], of _______________________________________ [print or type
      7 full address], declare under penalty of perjury that I have read in its entirety and
      8 understand the Stipulated Protective Order that was issued by the United States
      9 District Court for the Central District of California on _______________[date] in
     10 the case of The United States of America ex rel. v. Island Industries, Inc., v.
     11 Vandewater International Inc., Neil Reubens, Anvil International LLC, Sigma
     12 Corporation, Smith Cooper International, Allied Rubber & Gasket Company, and
     13 John Does Nos. 1-10, Case No. 2:17-cv-04393 (RGK-KS). I agree to comply with
     14 and to be bound by all the terms of this Stipulated Protective Order and I
     15 understand and acknowledge that failure to so comply could expose me to
     16 sanctions and punishment in the nature of contempt. I solemnly promise that I will
     17 not disclose in any manner any information or item that is subject to this Stipulated
     18 Protective Order to any person or entity except in strict compliance with the
     19 provisions of this Order.
     20
     21                I further agree to submit to the jurisdiction of the United States
     22 District Court for the Central District of California for the purpose of enforcing the
     23 terms of this Stipulated Protective Order, even if such enforcement proceedings
     24 occur       after    termination      of    this    action.      I     hereby      appoint
     25 ___________________________________________________[print or type full
     26 name] of _______________________________________________[print or type
     27 full address and telephone number] as my California agent for service of process in
     28    STIPULATED PROTECTIVE ORDER                                Case No. 2:17-CV-04393-RGK-KS
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                   Stipulated Protective Order
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      1 connection with this action or any proceedings related to enforcement of this
      2 Stipulated Protective Order.
      3
      4
      5          Date:
      6          City and State where sworn and signed:
      7          Printed name:
      8          Signature:
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                         UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                  CIVIL DOCKET FOR CASE #: 2:17-cv-04393-RGK-KS


United States of America et al v. Vandewater International Inc. et al   Date Filed: 06/13/2017
Assigned to: Judge R. Gary Klausner                                     Date Terminated: 05/18/2022
Referred to: Magistrate Judge Karen L. Stevenson                        Jury Demand: Plaintiff
Case in other court: 9th CCA, 22-55063                                  Nature of Suit: 375 Other Statutes: False
Cause: 31:3729 False Claims Act                                         Claims Act
                                                                        Jurisdiction: Federal Question
Plaintiff
United States of America                              represented by Jennifer Lynn Chorpening
ex rel Island Industries, Inc.                                       US Department of Justice
                                                                     175 N. Street NE Suite 10.212
                                                                     Washington, DC 20002
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                                                                        Zoila Hinson
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                                                                        Matthew Henry Marmolejo
                                                                        Mayer Brown LLP
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                                                                        Fax: 213-576-8185
                                                                        Email: mmarmolejo@mayerbrown.com
                                                                        ATTORNEY TO BE NOTICED

Plaintiff
Island Industries, Inc.                               represented by Matthew Henry Marmolejo
Relator                                                              (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                        Alexus B Payton
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                                                        Email: alexus.payton@whitecase.com
                                                        TERMINATED: 10/28/2020

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                                                        Fax: 213-625-0248
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                                                        ATTORNEY TO BE NOTICED


V.
Defendant
Vandewater International Inc.             represented by Ryan Matthew Salzman
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                                                         Fax: 310-229-1285
                                                         Email: ryan.salzman@faegredrinker.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Brian E. Klein
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                                                        Los Angeles, CA 90071
                                                        424-652-7800
                                                        Fax: 424-652-7850
                                                        Email: bklein@waymakerlaw.com
                                                        ATTORNEY TO BE NOTICED
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                                                        Joie Christine Hand
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                                                        202-230-5108
                                                        Email: joie.hand@faegredrinker.com
                                                        ATTORNEY TO BE NOTICED

                                                        Joseph A Rillotta
                                                        Miller and Chevalier Chartered
                                                        900 16th Street NW
                                                        Washington, DC 20006
                                                        202-626-5951
                                                        Fax: 202-626-5801
                                                        Email: jrillotta@milchev.com
                                                        TERMINATED: 10/21/2021
                                                        PRO HAC VICE

                                                        Thomas J Kelly , Jr
                                                        Faegre Drinker Biddle and Reath LLP
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                                                        Washington, DC 20005
                                                        202-230-5360
                                                        Fax: 202-842-8465
                                                        Email: thomas.kelly@faegredrinker.com
                                                        ATTORNEY TO BE NOTICED
Defendant
Neil Reubens                              represented by Ryan Matthew Salzman
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Brian E. Klein
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Joie Christine Hand
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Joseph A Rillotta
                                                        (See above for address)
                                                        TERMINATED: 10/21/2021
                                                        PRO HAC VICE

                                                        Thomas J Kelly , Jr
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
Defendant
Anvil International, LLC                  represented by Blythe G Kochsiek
TERMINATED: 03/18/2021                                   King and Spalding LLP
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                                                      53 West 5th Street Suite 1600
                                                        Los Angeles, CA 90071
                                                        213-443-4350
                                                        Fax: 213-443-4310
                                                        Email: bkochsiek@kslaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Christopher C Burris
                                                        King and Spalding LLP
                                                        1180 Peachtree Street NE
                                                        Atlanta, GA 30309
                                                        404-572-4708
                                                        Fax: 404-572-5100
                                                        Email: cburris@kslaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Daniel L Schneiderman
                                                        King and Spalding LLP
                                                        1700 Pennsylvania Avenue NW
                                                        Washington, DC 20006
                                                        202-661-7847
                                                        Fax: 202-626-3737
                                                        Email: dschneiderman@kslaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        J Michael Taylor
                                                        King and Spalding LLP
                                                        1700 Pennsylvania Avenue NW
                                                        Washington, DC 20006
                                                        202-626-2385
                                                        Fax: 202-626-3737
                                                        Email: jmtaylor@kslaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Stephen P Cummings
                                                        King and Spalding LLP
                                                        1180 Peachtree Street Suite 1600
                                                        Atlanta, GA 30309
                                                        404-572-4600
                                                        Fax: 404-572-5140
                                                        Email: scummings@kslaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Defendant
Sigma Corporation                          represented by Brian E. Klein
TERMINATED: 02/08/2022                                    (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                        Christopher M. Curran
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                                                  53    and Case LLP
                                                  601 Thirteenth Street NW
                                                  Washington, DC 20005-3807
                                                  202-626-3643
                                                  Fax: 202-639-9355
                                                  Email: ccurran@whitecase.com
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Cristina Brayton-Lewis
                                                  White and Case LLP
                                                  701 - 13th Street N.W.
                                                  Washington, DC 20005
                                                  202-729-2407
                                                  Fax: 202-639-9355
                                                  Email: cbraytonlewis@whitecase.com
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  James P Gagen
                                                  White and Case LLP
                                                  701 13th Street NW
                                                  Washington, DC 20005
                                                  202-626-3600
                                                  Fax: 202-639-9355
                                                  Email: jgagen@whitecase.com
                                                  TERMINATED: 08/30/2021
                                                  PRO HAC VICE

                                                  Lucius B Lau
                                                  White and Case LLP
                                                  701 - 13th Street NW
                                                  Washington, DC 20005-3807
                                                  202-626-3600
                                                  Fax: 202-639-9355
                                                  Email: alau@whitecase.com
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Maria Celeste Lattanzi
                                                  White and Case LLP
                                                  555 South Flower Street Suite 2700
                                                  Los Angeles, CA 90071-2433
                                                  213-620-7754
                                                  Fax: 213-452-2329
                                                  Email: mia.lattanzi@whitecase.com
                                                  ATTORNEY TO BE NOTICED

                                                  Mark E. Gustafson
                                                  White and Case LLP
                                                  555 South Flower Street Suite 2700
                                                  Los Angeles, CA 90071-2433
                                                  213-620-7700
                                                  Fax: 213-452-2329
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                                FCA Docket231Page 7 of Email:
                                                       53     mgustafson@whitecase.com
                                                       ATTORNEY TO BE NOTICED

                                                       Ryan Matthew Salzman
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Sadie Gardner Pulliam
                                                       White and Case LLP
                                                       701 13th Street NW
                                                       Washington, DC 20005
                                                       202-626-3658
                                                       Fax: 202-639-9355
                                                       Email: sadie.pulliam@whitecase.com
                                                       TERMINATED: 05/13/2021

                                                       Shannon Katherine Lane
                                                       White and Case LLP
                                                       701 13th Street NW
                                                       Washington, DC 20005-3807
                                                       202-729-2464
                                                       Fax: 202-639-9355
                                                       Email: shannon.lane@whitecase.com
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Carmen K Lo
                                                       White and Case LLP
                                                       555 South Flower Street Suite 2700
                                                       Los Angeles, CA 90071-2433
                                                       213-620-7700
                                                       Fax: 213-452-2329
                                                       Email: clo@whitecase.com
                                                       ATTORNEY TO BE NOTICED
Defendant
Smith Cooper International                 represented by Brian E. Klein
TERMINATED: 04/05/2021                                    (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Marc J Tobak
                                                       Davis Polk and Wardwell LLP
                                                       450 Lexington Avenue
                                                       New York, NY 10017
                                                       212-450-4000
                                                       Fax: 212-701-5800
                                                       Email: marc.tobak@davispolk.com
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Micah G Block
                                                       Davis Polk and Wardwell LLP
                                                       1600 El Camino Real
    Case
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                                                      53     Park, CA 94025
                                                       650-752-2000
                                                       Fax: 650-752-2111
                                                       Email: micah.block@davispolk.com
                                                       ATTORNEY TO BE NOTICED

                                                       Neil H MacBride
                                                       Davis Polk and Wardwell LLP
                                                       450 Lexington Avenue
                                                       New York, NY 10017
                                                       212-450-4000
                                                       Fax: 212-701-5800
                                                       Email: neil.macbride@davispolk.com
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                                                       ATTORNEY TO BE NOTICED

                                                       Paul S Mishkin
                                                       Davis Polk and Wardwell LLP
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                                                       New York, NY 10017
                                                       212-450-4000
                                                       Fax: 212-701-5800
                                                       Email: paul.mishkin@davispolk.com
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Ryan Matthew Salzman
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Teresa Lenore Huggins
                                                       Baker Marquart LLP
                                                       777 South Figueroa Street Suite 2850
                                                       Los Angeles, CA 90017
                                                       424-652-7800
                                                       Fax: 424-652-7850
                                                       Email: thuggins@waymakerlaw.com
                                                       ATTORNEY TO BE NOTICED

Defendant
Allied Rubber and Gasket Company          represented by Aaron M May
TERMINATED: 08/05/2020                                   Halpern May Ybarra Gelberg LLP
                                                         550 South Hope Street Suite 2330
                                                         Los Angeles, CA 90071
                                                         213-402-1900
                                                         Fax: 213-402-1901
                                                         Email: Aaron.May@halpernmay.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Heather Lynn Mayer
                                                       Halpern May Ybarra Gelberg LLP
                                                       550 South Hope Street, Suite 2330
                                                       Los Angeles, CA 90071
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                                                       53
                                                                  Fax: 213-402-1901
                                                                  Email: heather.mayer@halpernmay.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  Ryan Matthew Salzman
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED
Defendant
John Does 1-10


Date Filed       #   Docket Text
06/13/2017       1 COMPLAINT against Defendants Allied Rubber and Gasket Company, Anvil
                   International, LLC, John Does 1-10, Neil Reubens, Sigma Corporation, Smith Cooper
                   International, Vandewater International Inc. Case assigned to Judge R. Gary Klausner for
                   all further proceedings. Discovery referred to Magistrate Judge Karen L Stevenson.
                   (Filing fee $ 400: PAID) Jury Demanded., filed by plaintiff Island Industries, Inc. No
                   Summons issued on 6/13/2017 (Attachments: # 1 Part 1 Complaint, # 2 CV-71) (ghap)
                   Modified on 6/14/2017 (ghap). (Entered: 06/14/2017)
06/13/2017       2 CERTIFICATION AND NOTICE of Interested Parties filed by Plaintiff Island Industries,
                   Inc. (ghap) (Entered: 06/14/2017)
06/13/2017       3 CERTIFICATE OF SERVICE filed by plaintiff Island Industries, Inc., re Complaint -
                   (Discovery), 1 served on 6/13/2017. (ghap) (Entered: 06/14/2017)
06/14/2017       4 NOTICE OF ASSIGNMENT to District Judge R. Gary Klausner and Magistrate Judge
                   Karen L. Stevenson. (ghap) (Entered: 06/14/2017)
06/14/2017       5 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (ghap)
                   (Entered: 06/14/2017)
06/14/2017       6 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident Attorney Kelly B
                   Kramer. A document recently filed in this case lists you as an out-of-state attorney of
                   record. However, the Court has not been able to locate any record that you are admitted
                   to the Bar of this Court, and you have not filed an application to appear Pro Hac Vice in
                   this case. Accordingly, within 5 business days of the date of this notice, you must either
                   (1) have your local counsel file an application to appear Pro Hac Vice (Form G-64) and
                   pay the applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel of record
                   from the docket in this case, and you will not be added back to the docket until your Pro
                   Hac Vice status has been resolved. (ghap) (Entered: 06/14/2017)
06/20/2017       7 Notice Update: Judge Stevenson will conduct all Court appearances in Courtroom 580,
                   5th floor located at the Roybal Federal Building, 255 E. Temple Street, Los Angeles,
                   California 90012. Please update your records to reflect this change. THERE IS NO PDF
                   DOCUMENT ASSOCIATED WITH THIS ENTRY. (rrp) TEXT ONLY ENTRY
                   (Entered: 06/20/2017)
06/20/2017       8 APPLICATION of Non-Resident Attorney To Appear in Specific Case Pro Hac Vice (Pro
                   Hac Vice Fee - Paid) filed by Plaintiff Island Industries, Inc.. (bp) (Additional
                   attachment(s) added on 6/21/2017: # 1 Proposed Order) (bp). (Entered: 06/21/2017)
06/20/2017       9 CERTIFICATE OF SERVICE filed by Plaintiff Island Industries, Inc. (bp) (Entered:
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                                            Page  10 of 53

06/20/2017   10 CERTIFICATE OF SERVICE filed by Plaintiff Island Industries, Inc. (bp) (Entered:
                06/21/2017)
06/20/2017   11 AMENDED CERTIFICATE OF SERVICE filed by Plaintiff Island Industries, Inc.,
                served on 6/14/17. (bp) (Entered: 06/21/2017)
06/21/2017   12 ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A
                SPECIFIC CASE PRO HAC VICE by Judge R. Gary Klausner. (bp) (Entered:
                06/22/2017)
08/03/2017   13 STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED STATES'
                ELECTION PERIOD filed by Plaintiff United States of America.(Attorney Jennifer
                Chorpening added to party United States of America(pty:pla))(bp) (Entered: 08/09/2017)
08/03/2017   14 MEMORANDUM of Points and Authorities in Support filed by Plaintiff United States of
                America. Re: Stipulation for Order 13 (bp) (Entered: 08/09/2017)
08/08/2017   15 ORDER EXTENDING SEAL AND UNITED STATES' ELECTION PERIOD by Judge
                R. Gary Klausner, re Stipulation for Order 13 (bp) (Entered: 08/09/2017)
02/05/2018   16 STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED STATES'
                ELECTION PERIOD filed by Plaintiff United States of America.(Attorney Zoila E
                Hinson added to party United States of America(pty:pla))(bp) (Entered: 02/07/2018)
02/05/2018   17 MEMORANDUM of Points and Authorities in Support filed by Plaintiff United States of
                America. Re: Stipulation for Order 16 (bp) (Entered: 02/07/2018)
02/07/2018   18 ORDER EXTENDING SEAL AND UNITED STATES' ELECTION PERIOD by Judge
                R. Gary Klausner, (bp) (Entered: 02/07/2018)
05/04/2018   19 **SEALED**STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED
                STATED ELECTION PERIOD filed by United States of America.(bp) (Entered:
                05/10/2018)
05/04/2018   20 **SEALED**MEMORANDUM of Points and Authorities in Support filed by Plaintiff
                United States of America. Re: Stipulation for Order 19 (bp) (Entered: 05/10/2018)
05/09/2018   21 **SEALED**ORDER EXTENDING SEAL AND UNITED STATES ELECTION
                PERIOD by Judge R. Gary Klausner, re Stipulation for Order 19 (bp) (Entered:
                05/10/2018)
08/06/2018   22 STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED STATES'
                ELECTION PERIOD filed by Plaintiff United States of America.(bp) (Entered:
                08/17/2018)
08/06/2018   23 MEMORANDUM of Points and Authorities in Support filed by Plaintiff United States of
                America. Re: Stipulation for Order 22 (bp) (Entered: 08/17/2018)
08/09/2018   24 ORDER EXTENDING SEAL AND UNITED STATES' ELECTION PERIOD by Judge
                R. Gary Klausner, re Stipulation for Order 22 (bp) (Entered: 08/17/2018)
11/09/2018   25 SEALED - STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED
                STATES' ELECTION PERIOD filed by Plaintiff United States of America. Lodged
                Lodged Proposed Order. (bp) (Entered: 11/19/2018)
11/09/2018   26 SEALED - MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                STIPULATION REQUESTING EXTENSION OF SEAL AND UNITED STATES'
                ELECTION PERIOD; DECLARATION OF ZOILA E. HINSON IN SUPPORT
                THEREOF. Filed by Plaintiff United States of America. (bp) (Entered: 11/19/2018)
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11/16/2018      27 SEALED - ORDER EXTENDING SEAL AND UNITED STATES ELECTION PERIOD
                    by Judge R. Gary Klausner, (bp) (Entered: 11/19/2018)
12/03/2018    28 NOTICE OF THE UNITED STATES THAT IT IS NOT INTERVENING AT THIS
                 TIME AND ELECTION TO DECLINE INTERVENTION IN-PART AND
                 APPLICATION TO UNSEAL (bp). Modified on 1/30/2019 (bp). (Entered: 12/18/2018)
12/04/2018    29 SEALED DECLARATION OF KELLY B. KRAMER IN SUPPORT OF REQUEST TO
                 MAINTAIN ACTION UNDER SEAL FOR 30 DAYS (bp). (Entered: 12/18/2018)
12/04/2018    30 SEALED OPPOSITION TO APPLICATION TO UNSEAL COMPLAINT AND
                 UNOPPOSED REQUEST TO MAINTAIN ACTION UNDER SEAL FOR 30 DAYS.
                 (bp) (Entered: 12/18/2018)
12/04/2018    31 SEALED CERTIFICATE OF SERVICE. (bp) (Entered: 12/18/2018)
12/14/2018    32 SEALED ORDER by Judge R. Gary Klausner. (bp) (Entered: 12/18/2018)
12/28/2018    33 SEALED NOTICE OF NON-OPPOSITION TO APPLICATION TO UNSEAL
                 COMPLAINT filed by Plaintiff Island Industries, Inc.. (bp) (Entered: 01/04/2019)
01/30/2019    34 ORDER UNSEALING CASE by Judge R. Gary Klausner. It is therefore ORDERED
                 that:The seal is lifted from this action in all respects, except as specified in Paragraph 3
                 below. The complaint is unsealed and will be served upon the defendants by the relator.
                 This Order and the Notice of the United States that it is Not Intervening at this Time and
                 Election to Decline Intervention In-Part and Application to Unseal are both unsealed, and
                 the relator will serve both upon Defendants only after service of the complaintAll other
                 contents of the Court's file in this action, filed and lodged to date, shall remain
                 permanently under seal and not be made public or served upon the defendants. (bp)
                 (Entered: 01/30/2019)
04/25/2019    35 Request for Clerk to Issue Summons on Complaint - (Discovery),, 1 filed by Plaintiff-
                 Relator Island Industries, Inc.. (Attachments: # 1 Summons Request (Neil Reubens), # 2
                 Summons Request (Anvil), # 3 Summons Request (Sigma), # 4 Summons Request
                 (Smith), # 5 Summons Request (Allied))(Marmolejo, Matthew) (Entered: 04/25/2019)
04/26/2019    36 21 DAY Summons Issued re Complaint 1 as to Defendant Vandewater International Inc.
                 (lom) (Entered: 04/26/2019)
04/26/2019    37 21 DAY Summons Issued re Complaint 1 as to Defendant Neil Reubens. (lom) (Entered:
                 04/26/2019)
04/26/2019    38 21 DAY Summons Issued re Complaint 1 as to Defendant Anvil International, LLC.
                 (lom) (Entered: 04/26/2019)
04/26/2019    39 21 DAY Summons Issued re Complaint 1 as to Defendant Sigma Corporation. (lom)
                 (Entered: 04/26/2019)
04/26/2019    40 21 DAY Summons Issued re Complaint 1 as to Defendant Smith Cooper International.
                 (lom) (Entered: 04/26/2019)
04/26/2019    41 21 DAY Summons Issued re Complaint 1 as to Defendant Allied Rubber and Gasket
                 Company. (lom) (Entered: 04/26/2019)
05/01/2019    42 PROOF OF SERVICE Executed by Plaintiff Island Industries, Inc., upon Defendant
                 Sigma Corporation served on 4/29/2019, answer due 5/20/2019. Service of the Summons
                 and Complaint were executed upon Jeffrey Marcus, Chief Financial Officer in
                 compliance with Federal Rules of Civil Procedure by substituted service on a domestic
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                  corporation, unincorporated association, or public entity and by also mailing a
                  copy.Original Summons NOT returned. (Marmolejo, Matthew) (Entered: 05/01/2019)
05/02/2019     43 PROOF OF SERVICE Executed by Plaintiff Island Industries, Inc., upon Defendant
                  Allied Rubber and Gasket Company served on 4/29/2019, answer due 5/20/2019. Service
                  of the Summons and Complaint were executed upon Siy Belfi, Director in compliance
                  with Federal Rules of Civil Procedure by substituted service on a domestic corporation,
                  unincorporated association, or public entity and by also mailing a copy.Original
                  Summons NOT returned. (Marmolejo, Matthew) (Entered: 05/02/2019)
05/02/2019     44 WAIVER OF SERVICE Returned Executed filed by Plaintiff-Relator Island Industries,
                  Inc.. upon Vandewater International Inc. waiver sent by Plaintiff on 4/29/2019, answer
                  due 6/28/2019. Waiver of Service signed by Joseph A. Rillotta. (Marmolejo, Matthew)
                  (Entered: 05/02/2019)
05/02/2019     45 WAIVER OF SERVICE Returned Executed filed by Plaintiff-Relator Island Industries,
                  Inc.. upon Neil Reubens waiver sent by Plaintiff on 4/29/2019, answer due 6/28/2019.
                  Waiver of Service signed by Joseph A. Rillotta. (Marmolejo, Matthew) (Entered:
                  05/02/2019)
05/03/2019     46 PROOF OF SERVICE Executed by Plaintiff Island Industries, Inc., upon Defendant
                  Anvil International, LLC served on 4/29/2019, answer due 5/20/2019. Service of the
                  Summons and Complaint were executed upon CT Corporation System, Registered Agent,
                  By Serving Gabriela Sanchez, Authorized Agent in compliance with Federal Rules of
                  Civil Procedure by personal service.Original Summons NOT returned. (Marmolejo,
                  Matthew) (Entered: 05/03/2019)
05/03/2019     47 PROOF OF SERVICE Executed by Plaintiff Island Industries, Inc., upon Defendant
                  Smith Cooper International served on 4/29/2019, answer due 5/20/2019. Service of the
                  Summons and Complaint were executed upon National Registered Agents, Inc.,
                  Registered Agent, by Serving Daisy Montenegro, Authorized Agent in compliance with
                  Federal Rules of Civil Procedure by service on a domestic corporation, unincorporated
                  association, or public entity.Original Summons NOT returned. (Marmolejo, Matthew)
                  (Entered: 05/03/2019)
05/15/2019     48 STIPULATION Extending Time to Answer the complaint as to Sigma Corporation
                  answer now due 6/19/2019, re Complaint - (Discovery),, 1 , Service of Summons and
                  Complaint Returned Executed (21 days), 42 filed by Defendant Sigma Corporation.
                  (Attorney Carmen K Lo added to party Sigma Corporation(pty:dft))(Lo, Carmen)
                  (Entered: 05/15/2019)
05/16/2019     49 APPLICATION of Non-Resident Attorney J. Michael Taylor to Appear Pro Hac Vice on
                  behalf of Defendant Anvil International, LLC (Pro Hac Vice Fee - $400 Fee Paid, Receipt
                  No. 0973-23751078) filed by Defendant Anvil International, LLC. (Attachments: # 1
                  Supplement Certificates of Good Standing, # 2 Proposed Order) (Attorney Blythe G
                  Kochsiek added to party Anvil International, LLC(pty:dft)) (Kochsiek, Blythe) (Entered:
                  05/16/2019)
05/16/2019     50 STIPULATION Extending Time to Answer the complaint as to Anvil International, LLC
                  answer now due 6/19/2019, re Complaint - (Discovery),, 1 filed by Defendant Anvil
                  International, LLC.(Kochsiek, Blythe) (Entered: 05/16/2019)
05/17/2019     51 Notice of Appearance or Withdrawal of Counsel: for attorney Brian E Klein counsel for
                  Defendant Smith Cooper International. Adding Brian E, Klein as counsel of record for
                  Smith Cooper International, Inc. for the reason indicated in the G-123 Notice. Filed by
                  Defendant Smith Cooper International, Inc.. (Attorney Brian E Klein added to party
                  Smith Cooper International(pty:dft))(Klein, Brian) (Entered: 05/17/2019)
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                52 Notice of Appearance or Withdrawal of Counsel: for attorney Teresa Lenore Huggins
                    counsel for Defendant Smith Cooper International. Adding Teresa L. Huggins as counsel
                    of record for Smith Cooper International, Inc. for the reason indicated in the G-123
                    Notice. Filed by Defendant Smith Cooper International, Inc.. (Attorney Teresa Lenore
                    Huggins added to party Smith Cooper International(pty:dft))(Huggins, Teresa) (Entered:
                    05/17/2019)
05/17/2019      53 STIPULATION Extending Time to Answer the complaint as to Smith Cooper
                   International answer now due 6/19/2019, re Complaint - (Discovery),, 1 filed by
                   Defendant Smith Cooper International.(Klein, Brian) (Entered: 05/17/2019)
05/23/2019      54 APPLICATION of Non-Resident Attorney Neil H. MacBride to Appear Pro Hac Vice on
                   behalf of Defendant Smith Cooper International (PHV fee of $400 paid.) filed by
                   Defendant Smith Cooper International. (Attachments: # 1 Proposed Order) (Klein, Brian)
                   (Entered: 05/23/2019)
05/23/2019      55 APPLICATION of Non-Resident Attorney Paul S. Mishkin to Appear Pro Hac Vice on
                   behalf of Defendant Smith Cooper International (PHV fee of $400 paid.) filed by
                   Defendant Smith Cooper International. (Attachments: # 1 Proposed Order) (Klein, Brian)
                   (Entered: 05/23/2019)
05/23/2019      56 APPLICATION of Non-Resident Attorney Marc J. Tobak to Appear Pro Hac Vice on
                   behalf of Defendant Smith Cooper International (PHV fee of $400 paid.) filed by
                   Defendant Smith Cooper International. (Attachments: # 1 Proposed Order) (Klein, Brian)
                   (Entered: 05/23/2019)
05/23/2019           PHV FEE PAID for Non-Resident Attorney Neil H. MacBride Application to Appear Pro
                     Hac Vice. Receipt No. 0973-23795389 for $400 pro hac vice fee. (Klein, Brian) (Entered:
                     05/23/2019)
05/23/2019           PHV FEE PAID for Non-Resident Attorney Paul S. Mishkin Application to Appear Pro
                     Hac Vice. Receipt No. 0973-23795518 for $400 pro hac vice fee. (Klein, Brian) (Entered:
                     05/23/2019)
05/23/2019           PHV FEE PAID for Non-Resident Attorney Marc J. Tobak Application to Appear Pro
                     Hac Vice. Receipt No. 0973-23795574 for $400 pro hac vice fee. (Klein, Brian) (Entered:
                     05/23/2019)
05/23/2019      57 CORPORATE DISCLOSURE STATEMENT Defendant Smith Cooper International,
                   Inc.'s Rule 7.1 Corporate Disclosure Statement filed by Defendant Smith Cooper
                   International identifying BP SCI, LLC as Corporate Parent. (Klein, Brian) (Entered:
                   05/23/2019)
05/23/2019      58 NOTICE of Interested Parties filed by Defendant Smith Cooper International, identifying
                   BP SCI, LLC; Tailwind Capital; Tailwind Smith Cooper Investor, LP; Tailwind
                   Management LP; North American Capacity Insurance, Co.; Interstate Fire and Casualty
                   Co.; Aspen Specialty Insurance Co.; BCBP Management II, L.P.. (Klein, Brian) (Entered:
                   05/23/2019)
05/23/2019      59 ORDER by Judge R. Gary Klausner: granting 49 Non-Resident Attorney J Michael
                   Taylor APPLICATION to Appear Pro Hac Vice on behalf of Defendant Anvil
                   International, LLC, designating Blythe Kochsiek as local counsel. (jp) (Entered:
                   05/24/2019)
05/24/2019      60 APPLICATION of Non-Resident Attorney Daniel L. Schneiderman to Appear Pro Hac
                   Vice on behalf of Defendant Anvil International, LLC (Pro Hac Vice Fee - $400 Fee
                   Paid, Receipt No. 0973-23800850) filed by Defendant Anvil International, LLC.
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
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                                                             06/27/22Page
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                                                                            122 ofDesc
                                                                                    587 Exhibit
                                                                                          PageID
                                   FCA  Docket  238
                                                  Page   14 of 53
                  (Attachments: # 1 Supplement, # 2 Proposed Order) (Kochsiek, Blythe) (Entered:
                  05/24/2019)
05/24/2019     61 CORPORATE DISCLOSURE STATEMENT AND NOTICE of Interested Parties filed by
                  Defendant Anvil International, LLC, (Kochsiek, Blythe) (Entered: 05/24/2019)
05/28/2019     62 APPLICATION of Non-Resident Attorney Lucius B. Lau to Appear Pro Hac Vice on
                  behalf of Defendant Sigma Corporation (Pro Hac Vice Fee - $400 Fee Paid, Receipt No.
                  0973-23811162) filed by Defendant Sigma Corporation. (Attachments: # 1 Proposed
                  Order) (Lo, Carmen) (Entered: 05/28/2019)
05/28/2019     63 APPLICATION of Non-Resident Attorney James P. Gagen to Appear Pro Hac Vice on
                  behalf of Defendant Sigma Corporation (Pro Hac Vice Fee - $400 Fee Paid, Receipt No.
                  0973-23811975) filed by Defendant Sigma Corporation. (Attachments: # 1 Proposed
                  Order) (Lo, Carmen) (Entered: 05/28/2019)
05/28/2019     64 APPLICATION of Non-Resident Attorney Christopher C. Burris to Appear Pro Hac Vice
                  on behalf of Defendant Anvil International, LLC (Pro Hac Vice Fee - $400 Fee Paid,
                  Receipt No. 0973-23812523) filed by Defendant Anvil International, LLC. (Attachments:
                  # 1 Supplement, # 2 Proposed Order) (Kochsiek, Blythe) (Entered: 05/28/2019)
05/30/2019     65 Pursuant to Local Rule 5-4.4.2, counsel for defendant Smith Cooper International, Inc.
                  shall immediately submit the proposed order in connection with Docket Entries 54-56 (to
                  the Judge's generic email address) in Word or Word Perfect format. TEXT ONLY
                  ENTRY THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw)
                  TEXT ONLY ENTRY (Entered: 05/30/2019)
05/31/2019     66 ORDER by Judge R. Gary Klausner: granting 56 Non-Resident Attorney Marc J Tobak
                  APPLICATION to Appear Pro Hac Vice on behalf of Defendant Smith Cooper
                  International, designating Brian E Klein as local counsel. (jp) (Entered: 06/03/2019)
05/31/2019     67 ORDER by Judge R. Gary Klausner: granting 55 Non-Resident Attorney Paul S Mishkin
                  APPLICATION to Appear Pro Hac Vice on behalf of Defendant Smith Cooper
                  International, designating Brian E Klein as local counsel. (jp) (Entered: 06/03/2019)
05/31/2019     69 ORDER by Judge R. Gary Klausner: granting 54 Non-Resident Attorney Neil H
                  MacBride APPLICATION to Appear Pro Hac Vice on behalf of Smith Cooper
                  International, designating Brian E Klein as local counsel. (lom) (Entered: 06/04/2019)
06/03/2019     68 CORPORATE DISCLOSURE STATEMENT and Notice of Interested Parties filed by
                  Defendant Sigma Corporation identifying Sigma Companies International Corp. as
                  Corporate Parent. (Lo, Carmen) (Entered: 06/03/2019)
06/11/2019     70 ORDER by Judge R. Gary Klausner: granting 60 Non-Resident Attorney Daniel L
                  Schneiderman APPLICATION to Appear Pro Hac Vice on behalf of Defendant Anvil
                  International, LLC, designating Blythe Kochsiek as local counsel. (jp) (Entered:
                  06/11/2019)
06/11/2019     71 ORDER by Judge R. Gary Klausner: granting 62 Non-Resident Attorney Lucius B Lau
                  APPLICATION to Appear Pro Hac Vice on behalf of Defendant Sigma Corporation,
                  designating Carmen Lo as local counsel. (jp) (Entered: 06/11/2019)
06/11/2019     72 ORDER by Judge R. Gary Klausner: granting 63 Non-Resident Attorney James P Gagen
                  APPLICATION to Appear Pro Hac Vice on behalf of Defendant Sigma Corporation,
                  designating Carmen Lo as local counsel. (jp) (Entered: 06/11/2019)
06/11/2019     73 ORDER by Judge R. Gary Klausner: granting 64 Non-Resident Attorney Christopher C
                  Burris APPLICATION to Appear Pro Hac Vice on behalf of Defendant Anvil
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed  Document
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                                   FCA   Docket  239
                                                   Page    15 of 53
                  International, LLC, designating Blythe Kochsiek as local counsel. (jp) (Entered:
                  06/11/2019)
06/11/2019     74 APPLICATION of Non-Resident Attorney Joie C. Hand to Appear Pro Hac Vice on
                  behalf of Defendants Neil Reubens, Vandewater International Inc. (Pro Hac Vice Fee -
                  $400.00 Previously Paid on 6/11/2019, Receipt No. 2613489R) filed by Defendants Neil
                  Reubens, Vandewater International Inc.. (Attachments: # 1 Proposed Order) (Attorney
                  Ryan Matthew Salzman added to party Neil Reubens(pty:dft), Attorney Ryan Matthew
                  Salzman added to party Vandewater International Inc.(pty:dft)) (Salzman, Ryan)
                  (Entered: 06/11/2019)
06/11/2019     75 APPLICATION of Non-Resident Attorney Thomas J. Kelly to Appear Pro Hac Vice on
                  behalf of Defendants Neil Reubens, Vandewater International Inc. (Pro Hac Vice Fee -
                  $400.00 Previously Paid on 6/11/2019, Receipt No. 26134BR4) filed by Defendants Neil
                  Reubens, Vandewater International Inc.. (Attachments: # 1 Proposed Order) (Salzman,
                  Ryan) (Entered: 06/11/2019)
06/11/2019     76 APPLICATION of Non-Resident Attorney Joseph A. Rillotta to Appear Pro Hac Vice on
                  behalf of Defendants Neil Reubens, Vandewater International Inc. (Pro Hac Vice Fee -
                  $400.00 Previously Paid on 6/11/2019, Receipt No. 26134C5L) filed by Defendants Neil
                  Reubens, Vandewater International Inc.. (Attachments: # 1 Proposed Order) (Salzman,
                  Ryan) (Entered: 06/11/2019)
06/13/2019     77 STIPULATION Extending Time to Answer the complaint as to Vandewater International
                  Inc. answer now due 7/29/2019, re Complaint - (Discovery),, 1 filed by Plaintiff-Relator
                  Island Industries, Inc..(Marmolejo, Matthew) (Entered: 06/13/2019)
06/14/2019     78 STIPULATION Extending Time to Answer the complaint as to Sigma Corporation
                  answer now due 7/19/2019, re Complaint - (Discovery),, 1 filed by Plaintiff-Relator
                  Island Industries, Inc.. (Attachments: # 1 Proposed Order)(Marmolejo, Matthew)
                  (Entered: 06/14/2019)
06/14/2019     79 STIPULATION Extending Time to Answer the complaint as to Smith Cooper
                  International answer now due 7/19/2019, re Complaint - (Discovery),, 1 filed by Plaintiff-
                  Relator Island Industries, Inc.. (Attachments: # 1 Proposed Order)(Marmolejo, Matthew)
                  (Entered: 06/14/2019)
06/14/2019     80 STIPULATION for Extension of Time to File Answer to August 15, 2019 re Complaint -
                  (Discovery),, 1 filed by Plaintiff-Relator Island Industries, Inc.. (Attachments: # 1
                  Proposed Order)(Marmolejo, Matthew) (Entered: 06/14/2019)
06/19/2019     81 First NOTICE OF MOTION AND MOTION to Dismiss Case as to Sigma Corporation
                  filed by Defendant Sigma Corporation. Motion set for hearing on 7/29/2019 at 09:00 AM
                  before Judge R. Gary Klausner. (Attachments: # 1 Proposed Order Dismissing Sigma
                  Corporation) (Lau, Lucius) (Entered: 06/19/2019)
06/19/2019     82 JOINDER in First NOTICE OF MOTION AND MOTION to Dismiss Case as to Sigma
                  Corporation 81 (Defendant Smith Cooper International, Inc.'s Notice of Joinder in
                  Motion to Dismiss Complaint) filed by Defendant Smith Cooper International. (Tobak,
                  Marc) (Entered: 06/19/2019)
06/19/2019     83 Defendant Smith Cooper International, Inc.'s Notice of Motion to Dismiss the Complaint
                  re First NOTICE OF MOTION AND MOTION to Dismiss Case as to Sigma
                  Corporation 81 filed by Defendant Smith Cooper International. (Attachments: # 1
                  Proposed Order)(Tobak, Marc) (Entered: 06/19/2019)
06/19/2019     84 NOTICE OF ERRATA filed by Defendant Smith Cooper International. correcting Motion
                  Related Document, 83 (Tobak, Marc) (Entered: 06/19/2019)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed Document
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06/19/2019                          FCA   Docket  240
                                                    Page    16 of 53
                85 Corrected NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant
                    Smith Cooper International. Motion set for hearing on 7/29/2019 at 09:00 AM before
                    Judge R. Gary Klausner. (Attachments: # 1 Proposed Order) (Tobak, Marc) (Entered:
                    06/19/2019)
06/21/2019      86 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner, re Stipulation to
                   Extend Time to Answer (More than 30 days) 80 . (jp) (Entered: 06/21/2019)
06/21/2019      87 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner, re Stipulation
                   Extending Time to Answer (30 days or less) 78 . (jp) (Entered: 06/21/2019)
06/21/2019      88 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner, re Stipulation
                   Extending Time to Answer (30 days or less) 79 (jp) (Entered: 06/21/2019)
06/25/2019      89 NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant Anvil
                   International, LLC. Motion set for hearing on 7/29/2019 at 09:00 AM before Judge R.
                   Gary Klausner. (Attachments: # 1 Proposed Order) (Kochsiek, Blythe) (Entered:
                   06/25/2019)
06/26/2019      90 CORPORATE DISCLOSURE STATEMENT filed by Defendant Vandewater
                   International Inc. (Salzman, Ryan) (Entered: 06/26/2019)
06/26/2019      91 NOTICE of Interested Parties filed by Defendants Neil Reubens, Vandewater
                   International Inc., identifying The Hartford Insurance; All State Insurance. (Salzman,
                   Ryan) (Entered: 06/26/2019)
06/26/2019      92 Notice of Appearance or Withdrawal of Counsel: for attorney Christopher Mitchell
                   Hendy counsel for Plaintiff Island Industries, Inc.. Adding C. Mitchell Hendy as counsel
                   of record for Island Industries, Inc. for the reason indicated in the G-123 Notice. Filed by
                   Plaintiff Island Industries, Inc.. (Attorney Christopher Mitchell Hendy added to party
                   Island Industries, Inc.(pty:pla))(Hendy, Christopher) (Entered: 06/26/2019)
07/02/2019      93 Joint STIPULATION to Reschedule Briefing Schedule and Hearing Date filed by
                   Defendant Sigma Corporation. (Attachments: # 1 Proposed Order)(Lau, Lucius)
                   (Entered: 07/02/2019)
07/03/2019      94 NOTICE of Intent to File Amended Complaint filed by Plaintiff-Relator Island
                   Industries, Inc.. (Marmolejo, Matthew) (Entered: 07/03/2019)
07/08/2019      95 ORDER SETTING SCHEDULING CONFERENCE by Judge R. Gary Klausner. A
                   Scheduling Conference has been placed on calendar for September 16, 2019 at 9:00 a.m.
                   The Conference will be held pursuant to F.R.Civ. P. 16(b). Trial counsel must be present
                   and there are no telephonic appearances. Counsel are ordered to file a joint statement
                   providing a brief factual summary of the case, including the claims being asserted. The
                   parties are reminded of their obligations to disclose information and confer on a
                   discovery plan not later than 21 days prior to the scheduling conference, and to file a joint
                   statement with the Court not later than 14 days after they confer, as required by F.R.
                   Civ.P. 26 and the Local Rules of this Court. Failure to comply may lead to the imposition
                   of sanctions. Plaintiff's counsel is directed to give notice of the scheduling conference to
                   each party that makes an initial appearance in the action after this date. Rule 26 Meeting
                   Report due by 9/9/2019. (sw) (Entered: 07/08/2019)
07/10/2019      96 ORDER by Judge R. Gary Klausner DENIED Joint Stipulation Regarding Brief Schedule
                   and Hearing Date 93 . (jp) (Entered: 07/10/2019)
07/10/2019      97 FIRST AMENDED COMPLAINT against Defendants Allied Rubber and Gasket
                   Company, Anvil International, LLC, Neil Reubens, Sigma Corporation, Smith Cooper
                   International, Vandewater International Inc. amending Complaint - (Discovery),, 1 , filed
                   by Plaintiff-Relator Island Industries, Inc. (Attachments: # 1 Exhibit A - 1991 Ruling
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed   Document
                                           06/27/22
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                                                              06/27/22Page
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                                    FCA    Docket 241
                                                    Page  17 of 53
                  Request, # 2 Exhibit B - 1992 Scope Ruling, # 3 Exhibit C - Beijing Bell Welded Outlets,
                  # 4 Exhibit D - Jinan Meide Welded Outlets, # 5 Exhibit E - Shanghai Vision Welded
                  Outlets, # 6 Exhibit F - Vandewater Welded Outlets, # 7 Exhibit G - Anvil Welded
                  Outlets, # 8 Exhibit H - Sigma Welded Outlets, # 9 Exhibit I - Smith Cooper Welded
                  Outlets, # 10 Exhibit J - ARGCO Welded Outlets, # 11 Exhibit K - Smith Cooper Scope
                  Ruling, # 12 Exhibit L - Sigma Scope Ruling, # 13 Exhibit M - Vandewater Scope
                  Ruling, # 14 Exhibit N - Vandewater Pricing Documents, # 15 Exhibit O - Sept. 2018
                  Anvil Price Increase Announcement, # 16 Exhibit P - Oct. 2018 Anvil Price Increase
                  Announcement, # 17 Exhibit Q - E-mail Exchange with Shanghai Vision)(Marmolejo,
                  Matthew) (Entered: 07/10/2019)
07/10/2019     98 PROOF OF SERVICE filed by Plaintiff-Relator Island Industries, Inc., re Amended
                  Complaint/Petition,,,, 97 served on 7/10/2019. (Marmolejo, Matthew) (Entered:
                  07/10/2019)
07/11/2019     99 According to court records, on July 10, 2019, plaintiff(s) filed a First Amended
                  Complaint. Therefore, the motions to dismiss, filed at docket entries 81, 85 and 89 are
                  denied as moot. Text Only Entry THERE IS NO PDF DOCUMENT ASSOCIATED
                  WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 07/11/2019)
07/15/2019    100 NOTICE OF MOTION AND MOTION to Stay Case pending concurrent lawsuits in the
                  U.S. Court of International Trade filed by Defendant Sigma Corporation. Motion set for
                  hearing on 8/12/2019 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  Memorandum in support of Motion to Stay, # 2 Proposed Order) (Gagen, James)
                  (Entered: 07/15/2019)
07/22/2019    101 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Stay Case
                  pending concurrent lawsuits in the U.S. Court of International Trade 100 filed by Plaintiff
                  Island Industries, Inc.. (Attachments: # 1 Exhibit 1 - Letter, # 2 Proposed Order)
                  (Marmolejo, Matthew) (Entered: 07/22/2019)
07/24/2019    102 [DOCUMENT STRICKEN PER ORDER DATED 7/25/2019, SEE DOCKET ENTRY
                  NO. 106 ] NOTICE OF MOTION AND MOTION to Dismiss Plaintiff-Relator's First
                  Amended Complaint filed by Defendant Anvil International, LLC. Motion set for hearing
                  on 8/26/2019 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Proposed
                  Order) (Kochsiek, Blythe) Modified on 7/25/2019 (jp). (Entered: 07/24/2019)
07/24/2019    103 Second NOTICE OF MOTION AND MOTION to Dismiss Case as to Sigma
                  Corporation filed by Defendant Sigma Corporation. Motion set for hearing on 8/26/2019
                  at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Declaration of Lucius B.
                  Lau, # 2 Exhibit Exhibit A - Harmonized Tariff Schedule Excerpt, # 3 Proposed Order
                  Granting Sigma Corporation's Motion to Dismiss) (Lau, Lucius) (Entered: 07/24/2019)
07/24/2019    104 [DOCUMENT STRICKEN PER ORDER DATED 7/25/2019, SEE DOCKET ENTRY
                  NO. 106 ]. NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendants
                  Neil Reubens, Vandewater International Inc.. Motion set for hearing on 8/26/2019 at
                  09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Memorandum of Points and
                  Authorities, # 2 Exhibit 1 - Butt-Weld Order, # 3 Exhibit 2 - Taiwan Butt-Weld Order, # 4
                  Exhibit 3 - CIT's Letter, # 5 Proposed Order) (Salzman, Ryan). Modified on 7/25/2019
                  (jp). (Entered: 07/24/2019)
07/24/2019    105 NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendant Smith
                  Cooper International. Motion set for hearing on 8/26/2019 at 09:00 AM before Judge R.
                  Gary Klausner. (Attachments: # 1 Request for Judicial Notice, # 2 Exhibit 1 to Request
                  for Judicial Notice, # 3 Exhibit 2 to Request for Judicial Notice, # 4 Exhibit 3 to Request
                  for Judicial Notice, # 5 Proposed Order) (Klein, Brian) (Entered: 07/24/2019)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed  Document
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                                                                06/27/22Page
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                                                                              126 ofDesc
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07/25/2019                            FCA  Docket  242
                                                     Page  18 of 53
               106 ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENTS by Judge R. Gary
                    Klausner: the following document(s) be STRICKEN for failure to comply with the Local
                    Rules, General Order and/or the Courts Case Management Order: NOTICE OF MOTION
                    AND MOTION to Dismiss Plaintiff-Relator's First Amended Complaint 102 , NOTICE
                    OF MOTION AND MOTION to Dismiss Case 104 , for the following reasons:
                    Memorandum of Points and Authorities contain single-spaced text. LR 11-3.6. (jp)
                    (Entered: 07/25/2019)
07/25/2019     107 NOTICE OF MOTION AND MOTION to Dismiss Plaintiff-Relator's First Amended
                   Complaint filed by Defendant Anvil International, LLC. Motion set for hearing on
                   8/26/2019 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Proposed
                   Order) (Kochsiek, Blythe) (Entered: 07/25/2019)
07/25/2019     108 NOTICE OF MOTION AND MOTION to Dismiss Case filed by Defendants Neil
                   Reubens, Vandewater International Inc.. Motion set for hearing on 8/26/2019 at 09:00
                   AM before Judge R. Gary Klausner. (Attachments: # 1 Memorandum of Points and
                   Authorities, # 2 Exhibit 1 - Butt-Weld Order, # 3 Exhibit 2 - Taiwan Butt-Weld Order, # 4
                   Exhibit 3 - CIT's Letter, # 5 Proposed Order) (Salzman, Ryan) (Entered: 07/25/2019)
07/26/2019     109 PROOF OF SERVICE filed by Defendant Sigma Corporation, re Second NOTICE OF
                   MOTION AND MOTION to Dismiss Case as to Sigma Corporation 103 on Allied
                   Rubber & Gasket Company served on 07/24/2019. (Lau, Lucius) (Entered: 07/26/2019)
07/29/2019     110 REPLY in support of NOTICE OF MOTION AND MOTION to Stay Case pending
                   concurrent lawsuits in the U.S. Court of International Trade 100 filed by Defendant
                   Sigma Corporation. (Attachments: # 1 Exhibit A (CIT Scheduling Order), # 2 Exhibit B
                   (Letter from J. Gordon))(Gagen, James) (Entered: 07/29/2019)
07/29/2019     111 PROOF OF SERVICE filed by Defendant Sigma Corporation, re Reply (Motion related),
                   110 on Allied Rubber & Gasket Company served on July 29, 2019. (Gagen, James)
                   (Entered: 07/29/2019)
07/31/2019     112 ORDER by Judge R. Gary Klausner: granting 74 Non-Resident Attorney Joie C Hand
                   APPLICATION to Appear Pro Hac Vice on behalf of Defendants Neil Reubens,
                   Vandewater International Inc., designating Ryan M Salzman as local counsel. (jp)
                   (Entered: 07/31/2019)
07/31/2019     113 ORDER by Judge R. Gary Klausner: granting 75 Non-Resident Attorney Thomas J Kelly
                   APPLICATION to Appear Pro Hac Vice on behalf of Defendants Neil Reubens,
                   Vandewater International Inc., designating Ryan M Salzman as local counsel. (jp)
                   (Entered: 07/31/2019)
07/31/2019     114 ORDER by Judge R. Gary Klausner: granting 76 Non-Resident Attorney Joseph A
                   Rillotta APPLICATION to Appear Pro Hac Vice on behalf of Defendants Neil Reubens,
                   Vandewater International Inc., designating Ryan M Salzman as local counsel. (jp)
                   (Entered: 07/31/2019)
08/02/2019     115 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                   The Scheduling Conference, calendared for hearing on September 16, 2019 at 9:00 a.m.,
                   HAS BEEN CONTINUED to October 7, 2019 at 9:00 a.m. The joint report shall be filed
                   by September 30, 2019.THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                   ENTRY. (sw) TEXT ONLY ENTRY (Entered: 08/02/2019)
08/02/2019     116 REQUEST for Leave to file Consolidated Brief in Opposition to Motions to Dismiss filed
                   by Plaintiff-Relator Island Industries, Inc.. (Attachments: # 1 Proposed Order)
                   (Marmolejo, Matthew) (Entered: 08/02/2019)
08/05/2019     117 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
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                                                                06/27/22Page 17:24:54
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                                   FCA  Docket   243 Page   19 of 53
                  Case 108 , Second NOTICE OF MOTION AND MOTION to Dismiss Case as to Sigma
                  Corporation 103 , NOTICE OF MOTION AND MOTION to Dismiss Case 105 ,
                  NOTICE OF MOTION AND MOTION to Dismiss Plaintiff-Relator's First Amended
                  Complaint 107 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Declaration of
                  Glenn Sanders, # 2 Proposed Order)(Marmolejo, Matthew) (Entered: 08/05/2019)
08/06/2019     118 PROOF OF SERVICE filed by Plaintiff-Relator Island Industries, Inc., re
                   MEMORANDUM in Opposition to Motion, 117 served on August 6, 2019. (Marmolejo,
                   Matthew) (Entered: 08/06/2019)
08/06/2019     119 ORDER GRANTING LEAVE TO FILE ONE CONSOLIDATED BRIEF IN
                   OPPOSITION TO MOTIONS TO DISMISS 116 by Judge R. Gary Klausner, hereby
                   GRANTS the Request. Island Industries, Inc. may file one consolidated brief, not to
                   exceed 30 pages, in opposition to the pending Motions to Dismiss filed by Sigma
                   Corporation (Dkt. No. 103 ), Smith-Cooper International (Dkt. No. 105 ), Anvil
                   International, LLC (Dkt. No. 107 ) and Vandewater International Inc. and Neil Reubens
                   (Dkt. No. 108 ). Defendants may file separate reply briefing in accordance with Rule 6 of
                   the Courts Standing Order Regarding Newly Assigned Cases. (jp) (Entered: 08/07/2019)
08/07/2019    120 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                  Defendant Sigma Corporation's Motion to Stay Case 100 , calendared for hearing on
                  August 12, 2019, has been taken under submission and off the motion calendar. No
                  appearances by counsel are necessary. The Court will issue a ruling after full
                  consideration of properly submitted pleadings. THERE IS NO PDF DOCUMENT
                  ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 08/07/2019)
08/12/2019    121 REPLY NOTICE OF MOTION AND MOTION to Dismiss Plaintiff-Relator's First
                  Amended Complaint 107 filed by Defendant Anvil International, LLC. (Kochsiek,
                  Blythe) (Entered: 08/12/2019)
08/12/2019    122 REPLY in support of Second NOTICE OF MOTION AND MOTION to Dismiss Case as
                  to Sigma Corporation 103 filed by Defendant Sigma Corporation. (Lau, Lucius)
                  (Entered: 08/12/2019)
08/12/2019    123 PROOF OF SERVICE filed by Defendant Sigma Corporation, re Reply (Motion related)
                  122 on Allied Rubber & Gasket Company served on August 12, 2019. (Lau, Lucius)
                  (Entered: 08/12/2019)
08/12/2019    124 REPLY in support of NOTICE OF MOTION AND MOTION to Dismiss Plaintiff-
                  Relator's First Amended Complaint 107 filed by Defendants Neil Reubens, Vandewater
                  International Inc.. (Salzman, Ryan) (Entered: 08/12/2019)
08/12/2019    125 REPLY Support of Motion NOTICE OF MOTION AND MOTION to Dismiss Case 105
                  DEFENDANT SMITH-COOPER INTERNATIONAL, INC.'S REPLY IN SUPPORT OF
                  ITS MOTION TO DISMISS filed by Defendant Smith Cooper International. (Klein,
                  Brian) (Entered: 08/12/2019)
08/20/2019    126 MINUTES (IN CHAMBERS) Order Re: Defendants' Motion to Stay (DE 100) by Judge
                  R. Gary Klausner: The Court DENIES without prejudice Defendants' Motion to Stay 100
                  . (SEE CIVIL MINUTES FOR FURTHER SPECIFICS). (jp) (Entered: 08/20/2019)
08/21/2019    127 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                  Defendant Sigma Corporation's Second Motion to Dismiss 103 ; Defendant Smith
                  Cooper International's Motion to Dismiss 105 ; Defendant Anvil International LLC's
                  Motion to Dismiss 107 ; and Defendants Neil Reubens and Vandewater International's
                  Motion to Dismiss 108 , calendared for hearing on August 26, 2019, have been taken
                  under submission and off the motion calendar. No appearances by counsel are necessary.
                  The Court will issue a ruling after full consideration of properly submitted pleadings.
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                               FCA  Docket  244
                                              Page   20 of 53
                  THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT
                  ONLY ENTRY (Entered: 08/21/2019)
09/03/2019   128 MINUTES (IN CHAMBERS) Order Re: Defendant Sigma's Motion to Dismiss (DE 103
                 ); Defendant SCI's Motion to Dismiss (DE 105 ); Defendant Anvil's Motion to Dismiss
                 (DE 107 ); Defendants Reubens and Vandewater's Motion to Dismiss (DE 108 ) by Judge
                 R. Gary Klausner: The Court GRANTS in part and DENIES in part Defendants' Motions
                 to Dismiss. The Court DENIES Defendants' Motions to Dismiss the first cause of action.
                 The Court GRANTS with leave to amend Defendants' Motions to Dismiss the second
                 cause of action. Any amended complaint must be filed within ten (10) calendar days of
                 this Order. (SEE CIVIL MINUTES FOR FURTHER SPECIFICS). (jp) (Entered:
                 09/03/2019)
09/17/2019   129 ANSWER to Amended Complaint/Petition,,,, 97 filed by Defendant Sigma Corporation.
                 (Lau, Lucius) (Entered: 09/17/2019)
09/17/2019   130 PROOF OF SERVICE filed by Defendant Sigma Corporation, re Answer to Complaint
                 (Discovery) 129 on Allied Rubber & Gasket Company served on September 17, 2019.
                 (Lau, Lucius) (Entered: 09/17/2019)
09/17/2019   131 ANSWER to Amended Complaint/Petition,,,, 97 filed by Defendants Neil Reubens,
                 Vandewater International Inc..(Salzman, Ryan) (Entered: 09/17/2019)
09/17/2019   132 ANSWER to Amended Complaint/Petition,,,, 97 filed by Defendant Anvil International,
                 LLC.(Kochsiek, Blythe) (Entered: 09/17/2019)
09/17/2019   133 ANSWER to Amended Complaint/Petition,,,, 97 with JURY DEMAND Defendant
                 Smith-Cooper International, Inc.'s Answer to First Amended Complaint filed by
                 Defendant Smith Cooper International.(Klein, Brian) (Entered: 09/17/2019)
09/30/2019   134 JOINT REPORT Rule 26(f) Discovery Plan ; estimated length of trial 4 weeks, filed by
                 Plaintiff Island Industries, Inc... (Attachments: # 1 Proposed Order of Scheduling Order)
                 (Marmolejo, Matthew) (Entered: 09/30/2019)
10/04/2019   135 NOTICE of Subpoena filed by Plaintiff-Relator Island Industries, Inc.. (Marmolejo,
                 Matthew) (Entered: 10/04/2019)
10/07/2019   138 MINUTES OF SCHEDULING CONFERENCE before Judge R. Gary Klausner: The
                 Scheduling Conference is held. The Court orders the following dates: Jury Trial (Est. 20
                 days): 06/23/2020 at 9:00 AM. Pretrial Conference: 6/8/2020 at 9:00 AM. Motion Cut-
                 Off Date: 4/8/2020. Discovery Cut-Off Date: 3/25/2020.Last day to motion the Court to
                 amend the complaint or add parties is 11/30/2019. The Court orders the parties to
                 participate in settlement option 3. Court Reporter: Anne Kielwasser. (jp) (Entered:
                 10/09/2019)
10/09/2019   136 ORDER RE JURY TRIAL by Judge R. Gary Klausner. Pretrial Conference set for
                 6/8/2020 at 9:00 am; Jury Trial set for 6/23/2020 at 9:00 am. See Order for details. (sw)
                 (Entered: 10/09/2019)
10/09/2019   137 ORDER/REFERRAL to ADR Procedure No. 3 by Judge R. Gary Klausner. Case ordered
                 to a private mediator based upon a stipulation of the parties or by the court order. ADR
                 Proceeding to be held no later than April 24, 2020. (sw) (Entered: 10/09/2019)
10/15/2019   139 NOTICE of Subpoena filed by Plaintiff-Relator Island Industries, Inc.. (Marmolejo,
                 Matthew) (Entered: 10/15/2019)
10/23/2019   140 Notice of Appearance or Withdrawal of Counsel: for attorney Alexus B Payton counsel
                 for Plaintiff Island Industries, Inc.. Filed by Plaintiff-Relator Island Industries, Inc..
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
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                                                  Page   21 of 53
                  (Attorney Alexus B Payton added to party Island Industries, Inc.(pty:pla))(Payton,
                  Alexus) (Entered: 10/23/2019)
11/15/2019    141 STIPULATION for Protective Order Anvil International, LLC. (Attachments: # 1
                  Proposed Order)(Kochsiek, Blythe) (Entered: 11/15/2019)
11/18/2019    142 STIPULATED PROTECTIVE ORDER by Magistrate Judge Karen L. Stevenson re
                  Stipulation for Protective Order 141 . [See Order for details.] (et) (Entered: 11/18/2019)
12/11/2019    143 APPLICATION of Non-Resident Attorney Stephen P. Cummings to Appear Pro Hac Vice
                  on behalf of Defendant Anvil International, LLC (Pro Hac Vice Fee - $400 Fee Paid,
                  Receipt No. 0973-24932156) filed by Defendant Anvil International, LLC. (Attachments:
                  # 1 Supplement Certificate of Good Standing, # 2 Proposed Order) (Kochsiek, Blythe)
                  (Entered: 12/11/2019)
12/13/2019    144 ORDER GRANTING APPLICATION of Non-Resident Attorney Stephen P. Cummings
                  to Appear Pro Hac Vice on behalf of Defendant Anvil International, LLC and designating
                  Blythe Kochsiek as local counsel 143 by Judge R. Gary Klausner (lc) (Entered:
                  12/13/2019)
12/30/2019    145 STIPULATION for Discovery as to DISCOVERY MATTER Stipulated Order re:
                  Discovery of Electronically Stored Information filed by Defendant Sigma Corporation.
                  (Attachments: # 1 Proposed Order)(Lau, Lucius) (Entered: 12/30/2019)
01/02/2020    146 STIPULATED ORDER RE: DISCOVERY OF ELECTRONICALLY STORED
                  INFORMATION [As Amended by the Court] by Magistrate Judge Karen L. Stevenson re
                  Stipulation for Discovery 145 . (see document for details) (hr) (Entered: 01/02/2020)
01/10/2020    147 APPLICATION of Non-Resident Attorney Shannon K. Lane to Appear Pro Hac Vice on
                  behalf of Defendant Sigma Corporation (Pro Hac Vice Fee - $400 Fee Paid, Receipt No.
                  0973-25100652) filed by defendant Sigma Corporation. (Attachments: # 1 Proposed
                  Order) (Lo, Carmen) (Entered: 01/10/2020)
01/21/2020    148 ORDER by Judge R. Gary Klausner: granting 147 Non-Resident Attorney Shannon K
                  Lane APPLICATION to Appear Pro Hac Vice on behalf of Defendant Sigma
                  Corporation, designating Carmen Lo as local counsel. (jp) (Entered: 01/21/2020)
02/04/2020    149 NOTICE of Change of Firm Name and Email Addresses filed by Defendants Neil
                  Reubens, Vandewater International Inc.. (Salzman, Ryan) (Entered: 02/04/2020)
02/05/2020    150 NOTICE of Appearance filed by attorney Sadie Gardner Pulliam on behalf of Defendant
                  Sigma Corporation (Attorney Sadie Gardner Pulliam added to party Sigma
                  Corporation(pty:dft))(Pulliam, Sadie) (Entered: 02/05/2020)
02/07/2020    151 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice
                  of Appearance 150 . The following error(s) was/were found: Incorrect event selected.
                  Correct event to be used is: Notice of Appearance or Withdrawal of Counsel G123. In
                  response to this notice, the Court may: (1) order an amended or correct document to be
                  filed; (2) order the document stricken; or (3) take other action as the Court deems
                  appropriate. You need not take any action in response to this notice unless and until the
                  Court directs you to do so. (ak) (Entered: 02/07/2020)
02/21/2020    152 STIPULATION for Discovery as to Expert Reports filed by Defendant Sigma
                  Corporation. (Attachments: # 1 Proposed Order)(Lau, Lucius) (Entered: 02/21/2020)
03/03/2020    153 APPLICATION of Non-Resident Attorney Reginald R. Goeke to Appear Pro Hac Vice
                  on behalf of Plaintiff Island Industries, Inc. (Pro Hac Vice Fee - $400 Fee Paid, Receipt
                  No. ACACDC-25597294) filed by plaintiff Island Industries, Inc.. (Attachments: # 1
                  Proposed Order) (Marmolejo, Matthew) (Entered: 03/03/2020)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed   Document
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03/04/2020     154 NOTICE of Deficiency in Electronically Filed Pro Hac Vice Application RE:
                    APPLICATION of Non-Resident Attorney Reginald R. Goeke to Appear Pro Hac Vice
                    on behalf of Plaintiff Island Industries, Inc. (Pro Hac Vice Fee - $400 Fee Paid, Receipt
                    No. ACACDC-25597294) 153 . The following error(s) was/were found: Local Rule 83-
                    2.1.3.3(d) Certificate of Good Standing not attached for every state court listed to which
                    the applicant has been admitted. Other error(s) with document(s): NY missing. (Thrasher,
                    Lupe) (Entered: 03/04/2020)
03/04/2020      155 Text Only Entry: Pursuant to Local Rule 5-4.4.2, counsel for defendant Sigma shall
                    immediately submit the proposed order in connection with Docket Entry 152 (to the
                    Judge's generic email address) in Word or Word Perfect format. THERE IS NO PDF
                    DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
                    (Entered: 03/04/2020)
03/04/2020      157 STIPULATED ORDER RE: EXPERT REPORT DEADLINE 152 by Judge R. Gary
                    Klausner that the date for expert disclosures pursuant to Rule 26(a)(2)(D)(i) of the
                    Federal Rules of Civil Procedure will be 3/2/2020. It is further stipulated that Plaintiff-
                    Relator can file a supplement its report, which will be limited to incorporating
                    information gathered from the Sigma Corporation depositions held on the week of
                    3/2/2020, no later than 3/12/2020. (jp) (Entered: 03/09/2020)
03/06/2020      156 APPLICATION of Non-Resident Attorney Reginald R. Goeke to Appear Pro Hac Vice
                    on behalf of Plaintiff Island Industries, Inc. (Pro Hac Vice Fee - $400 Fee Paid, Receipt
                    No. ACACDC-25641379) filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
                    Proposed Order) (Marmolejo, Matthew) (Entered: 03/06/2020)
03/06/2020      158 ORDER by Judge R. Gary Klausner: GRANTING 156 Non-Resident Attorney Reginald
                    R Goeke APPLICATION to Appear Pro Hac Vice on behalf of Plaintiff Island Industries,
                    Inc., designating Matthew H Marmolejo as local counsel. (jp) (Entered: 03/09/2020)
03/10/2020      159 APPLICATION to file document Memorandum under seal filed by Defendant Anvil
                    International, LLC. (Attachments: # 1 Proposed Order, # 2 Redacted Document Redacted
                    Memorandum, # 3 Redacted Document Redacted Ex. E, # 4 Redacted Document
                    Redacted Counterclaims)(Kochsiek, Blythe) (Entered: 03/10/2020)
03/10/2020      160 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document
                    Memorandum under seal 159 filed by Defendant Anvil International, LLC. (Attachments:
                    # 1 Unredacted Document Memorandum, # 2 Unredacted Document Ex. D, # 3
                    Unredacted Document Ex. E, # 4 Unredacted Document Ex. F, # 5 Unredacted Document
                    Ex. G, # 6 Unredacted Document Ex. H, # 7 Unredacted Document Ex. I, # 8 Unredacted
                    Document Ex. J, # 9 Unredacted Document Ex. K, # 10 Unredacted Document Ex. L, #
                    11 Unredacted Document Ex. M, # 12 Unredacted Document Counterclaims)(Kochsiek,
                    Blythe) (Entered: 03/10/2020)
03/17/2020      161 Text Only Entry: Pursuant to Local Rule 5-4.4.2, counsel for defendant Anvil
                    International, LLC shall immediately submit the proposed order in connection with
                    Docket Entry 159 (to the Judge's generic email address) in Word or Word Perfect format.
                    THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT
                    ONLY ENTRY (Entered: 03/17/2020)
03/17/2020      162 ORDER GRANTING Defendant Anvil's Application for Leave to File Under Seal 159
                    by Judge R. Gary Klausner. (jp) (Entered: 03/18/2020)
03/18/2020      163 NOTICE OF MOTION AND MOTION to Amend Answer to Complaint 132 filed by
                    Defendant Anvil International, LLC. Motion set for hearing on 4/27/2020 at 09:00 AM
                    before Judge R. Gary Klausner. (Attachments: # 1 Proposed Order, # 2 Memorandum
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
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                                   FCA    Docket 247
                                                   Page   23 of 53
                  Redacted, # 3 Exhibit Amended Answer Redacted, # 4 Exhibit A, # 5 Exhibit B, # 6
                  Exhibit C, # 7 Exhibit E Redacted) (Kochsiek, Blythe) (Entered: 03/18/2020)
03/18/2020    164 SEALED DOCUMENT Memorandum In Support re NOTICE OF MOTION AND
                  MOTION to Amend Answer to Complaint 132 163 , Order on Motion for Leave to File
                  Document Under Seal 162 filed by Defendant Anvil International, LLC. (Attachments: #
                  1 Exhibit Amended Answer, # 2 Exhibit D, # 3 Exhibit E, # 4 Exhibit F, # 5 Exhibit G, #
                  6 Exhibit H, # 7 Exhibit I, # 8 Exhibit J, # 9 Exhibit K, # 10 Exhibit L, # 11 Exhibit M)
                  (Kochsiek, Blythe) (Entered: 03/18/2020)
03/18/2020    165 Joint STIPULATION to Dismiss Defendant Anvil International, LLC filed by Plaintiffs
                  Island Industries, Inc., United States of America.(Attorney Matthew Henry Marmolejo
                  added to party United States of America(pty:pla))(Marmolejo, Matthew) (Entered:
                  03/18/2020)
03/21/2020    166 MINUTES (IN CHAMBERS) Order re: Anvil's Motion to Amend Answer to Complaint
                  (DE 163] by Judge R. Gary Klausner: The Court DENIES as moot Anvils Motion for
                  Leave to Amend 163 . (SEE CIVIL MINUTES FOR FURTHER SPECIFICS). (jp)
                  (Entered: 03/23/2020)
04/08/2020    167 NOTICE OF MOTION AND MOTION for Summary Judgment as to Sigma Corporation
                  filed by Defendant Sigma Corporation. Motion set for hearing on 5/18/2020 at 09:00 AM
                  before Judge R. Gary Klausner. (Attachments: # 1 Statement of Uncontroverted Facts and
                  Conclusions of Law, # 2 Declaration of Siddharth Bhattacharji, # 3 Exhibit A - Entry
                  Packet, # 4 Exhibit B - Entry Packet, # 5 Exhibit C - Focused Assessment, # 6
                  Declaration of Walter Sperko, # 7 Exhibit Att. 1 - Sperko Expert Report, # 8 Declaration
                  of Shannon Lane, # 9 Exhibit D - Bhattacharji Deposition, # 10 Exhibit E - Velazquez
                  Deposition, # 11 Exhibit F - Rona Deposition, # 12 Exhibit G - Clark Deposition, # 13
                  Exhibit H - Thompson Deposition, # 14 Exhibit I - Liquidation Entry 9348, # 15 Exhibit J
                  - Liquidation Entry 9719, # 16 Request for Judicial Notice, # 17 Exhibit K - Reasonable
                  Care Publication, # 18 Exhibit L - Focused Assessment Publication, # 19 Exhibit M -
                  Harmonized Tariff Schedule Ch. 73, # 20 Exhibit N - Scope Ruling, # 21 Exhibit O -
                  Commerce Instructions, # 22 Exhibit P - Form 7501 Instructions, # 23 Exhibit Q -
                  Sigma's Ct. Int'l Trade Complaint, # 24 Proposed Order Proposed Judgment, # 25
                  Proposed Order) (Lau, Lucius) (Entered: 04/08/2020)
04/08/2020    168 Renewed NOTICE OF MOTION AND MOTION to Stay Case filed by Defendants Neil
                  Reubens, Smith Cooper International, Vandewater International Inc.. Motion set for
                  hearing on 5/18/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  Declaration, # 2 Exhibit, # 3 Proposed Order) (Attorney Ryan Matthew Salzman added to
                  party Smith Cooper International(pty:dft)) (Salzman, Ryan) (Entered: 04/08/2020)
04/08/2020    169 NOTICE OF MOTION AND MOTION for Summary Judgment as to Vandewater
                  International, Inc. and Neil Ruebens filed by Defendant Vandewater International Inc..
                  Motion set for hearing on 5/18/2020 at 09:00 AM before Judge R. Gary Klausner.
                  (Attachments: # 1 Memorandum Statement of Undisputed Facts and Conclusions of Law,
                  # 2 Declaration Salzman Declaration, # 3 Exhibit Salzman Decl. Ex. 1, # 4 Exhibit
                  Salzman Decl. Ex. 2, # 5 Exhibit Salzman Decl. Ex. 3, # 6 Exhibit Salzman Decl. Ex. 4, #
                  7 Exhibit Salzman Decl. Ex. 5, # 8 Exhibit Salzman Decl. Ex. 6, # 9 Exhibit Salzman
                  Decl. Ex. 7, # 10 Exhibit Salzman Decl. Ex. 8, # 11 Exhibit Salzman Decl. Ex. 9, # 12
                  Exhibit Salzman Decl. Ex. 10, # 13 Exhibit Salzman Decl. Ex. 11, # 14 Exhibit Salzman
                  Decl. Ex. 12, # 15 Exhibit Salzman Decl. Ex. 13, # 16 Declaration N. Ruebens
                  Declaration, # 17 Exhibit Ruebens Ex. 1, # 18 Declaration Sperko Declaration, # 19
                  Exhibit Sperko Decl. Ex. 1, # 20 Praecipe on Confidentiality, # 21 Proposed Order
                  Proposed Order) (Salzman, Ryan) (Entered: 04/08/2020)
04/09/2020    170 [DOCUMENT STRICKEN PER ORDER DATED ON 4/9/2020, SEE DOCKET ENTRY
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed   Document
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                                                   Page    24 of 53
                  NO. 173 ] - APPLICATION to file document under seal filed by Defendant Smith
                  Cooper International. (Attachments: # 1 Proposed Order Granting to File Under Seal, # 2
                  Redacted Document Memorandum ISO Defendant Smith-Cooper International, Inc.'s
                  Motion for Summary Judgment, # 3 Redacted Document Exhibit B to Tobak Declaration
                  (Exhibit 1 to Mishkin Declaration), # 4 Redacted Document Exhibit C to Tobak
                  Declaration (Exhibit 19 to Mishkin Declaration))(Klein, Brian) Modified on 4/9/2020
                  (jp). (Entered: 04/09/2020)
04/09/2020    171 [DOCUMENT STRICKEN PER ORDER DATED ON 4/9/2020, SEE DOCKET ENTRY
                  NO. 173 ] - SEALED DECLARATION IN SUPPORT OF APPLICATION to file
                  document under seal 170 filed by Defendant Smith Cooper International. (Attachments: #
                  1 Exhibit A to Tobak Declaration, # 2 Exhibit B to Tobak Declaration (Unredacted
                  Exhibit 1 to Mishkin Declaration), # 3 Exhibit C to Tobak Declaration (Unredacted
                  Exhibit 19 to Mishkin Declaration), # 4 Exhibit D to Tobak Declaration, # 5 Exhibit E to
                  Tobak Declaration, # 6 Memorandum Unredacted Version of the Memorandum ISO
                  Defendant Smith-Cooper International, Inc.'s Motion for Summary Judgment)(Klein,
                  Brian). Modified on 4/9/2020 (jp). (Entered: 04/09/2020)
04/09/2020    172 [DOCUMENT STRICKEN PER ORDER DATED 4/9/2020, SEE DOCKET ENTRY
                  NO. 174 ] - NOTICE OF MOTION AND MOTION for Summary Judgment as to Smith-
                  Cooper International, Inc. filed by Defendant Smith Cooper International. Motion set for
                  hearing on 5/18/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  Redacted Document Memorandum of Points and Authorities in Support of Motion for
                  Summary Judgment, # 2 Supplement Separate Statement of Undisputed Facts in Support
                  of Motion for Summary Judgment, # 3 Exhibit Exhibit #2 to Motion for Summary
                  Judgment, # 4 Exhibit Exhibit #3 to Motion for Summary Judgment, # 5 Exhibit Exhibit
                  #4 to Motion for Summary Judgment, # 6 Exhibit Exhibit #5 to Motion for Summary
                  Judgment, # 7 Exhibit Exhibit #6 to Motion for Summary Judgment, # 8 Exhibit Exhibit
                  #7 to Motion for Summary Judgment, # 9 Exhibit Exhibit #8 to Motion for Summary
                  Judgment, # 10 Exhibit Exhibit #9 to Motion for Summary Judgment, # 11 Exhibit
                  Exhibit #10 to Motion for Summary Judgment, # 12 Exhibit Exhibit #11 to Motion for
                  Summary Judgment, # 13 Exhibit Exhibit #12 to Motion for Summary Judgment, # 14
                  Exhibit Exhibit #13 to Motion for Summary Judgment, # 15 Exhibit Exhibit #14 to
                  Motion for Summary Judgment, # 16 Exhibit Exhibit #15 to Motion for Summary
                  Judgment, # 17 Exhibit Exhibit #16 to Motion for Summary Judgment, # 18 Exhibit
                  Exhibit #17 to Motion for Summary Judgment, # 19 Exhibit Exhibit #18 to Motion for
                  Summary Judgment, # 20 Exhibit Exhibit #20 to Motion for Summary Judgment, # 21
                  Exhibit Exhibit #21 to Motion for Summary Judgment, # 22 Exhibit Exhibit #22 to
                  Motion for Summary Judgment, # 23 Exhibit Exhibit #23 to Motion for Summary
                  Judgment, # 24 Exhibit Exhibit #24 to Motion for Summary Judgment, # 25 Exhibit
                  Exhibit #25 to Motion for Summary Judgment, # 26 Exhibit Exhibit #26 to Motion for
                  Summary Judgment, # 27 Exhibit Exhibit #27 to Motion for Summary Judgment, # 28
                  Exhibit Exhibit #28 to Motion for Summary Judgment, # 29 Exhibit Exhibit #29 to
                  Motion for Summary Judgment, # 30 Exhibit Exhibit #30 to Motion for Summary
                  Judgment, # 31 Exhibit Exhibit #31 to Motion for Summary Judgment, # 32 Proposed
                  Order Proposed Order Granting Smith-Cooper International, Inc.'s Motion for Summary
                  Judgment) (Huggins, Teresa). Modified on 4/9/2020 (jp). (Entered: 04/09/2020)
04/09/2020    173 ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S) by Judge R. Gary
                  Klausner: the following document(s) be STRICKEN for failure to comply with the Local
                  Rules, General Order and/or the Courts Case Management Order: APPLICATION for
                  Leave to File Under Seal 170 , Sealed Declaration in Support 171 , for the following
                  reasons: Signatures are missing. [DE 170] - Pages 6 and 7; DE 170-1; [DE 171] - Page 4;
                  DE 171-6. (jp) (Entered: 04/09/2020)
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04/09/2020                            FCA  Docket  249Page   25 of 53
               174 ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S) by Judge R. Gary
                    Klausner: the following document(s) be STRICKEN for failure to comply with the Local
                    Rules, General Order and/or the Courts Case Management Order: NOTICE OF MOTION
                    AND MOTION for Summary Judgment as to Smith-Cooper International, Inc 172 , for
                    the following reasons: Signatures are missing. [DE 172] - DE 172-1; DE 172-2. (jp)
                    (Entered: 04/09/2020)
04/09/2020     175 APPLICATION for Leave to file to File Under Seal filed by Defendant Smith Cooper
                   International. (Attachments: # 1 Redacted Document Redacted Memorandum in Support
                   of SCI's Motion for Summary Judgment, # 2 [Proposed] Order Granting SCI's
                   Application for Leave to File Under Seal) (Huggins, Teresa) (Entered: 04/09/2020)
04/09/2020     176 SEALED DOCUMENT (Revised) Unredacted Memorandum of Points and Authorities in
                   Support of Motion for Summary Judgment re Striking Electronically Filed Documents
                   (G-106), 173 filed by Defendant Smith Cooper International.(Huggins, Teresa) (Entered:
                   04/09/2020)
04/09/2020     177 NOTICE NOTICE OF ERRATA RE SCIS: 1 APPLICATION TO FILE UNDER SEAL;
                   2 [PROPOSED] ORDER ISO APPLICATION TO FILE UNDER SEAL; 3
                   DECLARATION OF MARC TOBAK; 4 MEMORANDUM OF POINTS AND
                   AUTHORITIES ISO MOTION FOR SUMMARY JUDGMENT (REDACTED); 5
                   MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR SUMMARY
                   JUDGMENT (UNREDACTED); 6 SEPARATE STATEMENT OF UNDISPUTED
                   FACTS; 7 NOTICE OF MOTION FOR SUMMARY JUDGMENT; 8 DECLARATION
                   OF PAUL MISHKIN filed by Defendant Smith Cooper International. (Attachments: # 1
                   Exhibit Ex. 1 to Notice of Errata (Dkt. 170) Updated Application to File Under Seal, # 2
                   Exhibit Ex. 2 to Notice of Errata (Dkt. 171) Updated Tobak Declaration in Support of
                   Application to File Under Seal, # 3 Exhibit Ex. 3 to Notice of Errata (Dkt. 171-6)
                   Updated Unredacted Memorandum in Support of Motion for Summary Judgment, # 4
                   Exhibit Ex. 4 to Notice of Errata (Dkt. 172) Updated Notice of Motion for Summary
                   Judgement, # 5 Exhibit Ex. 5 to Notice of Errata (Dkt. 172-1) Updated Redacted
                   Memorandum in Support of Motion for Summary Judgment, # 6 Exhibit Ex. 6 to Notice
                   of Errata (Dkt. 172-2) Updated Separate Statement of Unconverted Facts & Conclusions
                   of Law in Support of Motion for Summary Judgment, # 7 Exhibit Ex. 7 to Notice of
                   Errata - Proof of Service by Federal Express on Allied Rubber & Gasket Company Only,
                   # 8 Exhibit Ex. 8 to Notice of Errata - Declaration of Paul Mishkin in Support of Motion
                   for Summary Judgment, # 9 Exhibit Ex. 1 to Declaration of Paul Mishkin, # 10 Exhibit
                   Ex. 2 to Declaration of Paul Mishkin, # 11 Exhibit Ex. 3 to Declaration of Paul Mishkin,
                   # 12 Exhibit Ex. 4 to Declaration of Paul Mishkin, # 13 Exhibit Ex. 5 to Declaration of
                   Paul Mishkin, # 14 Exhibit Ex. 6 to Declaration of Paul Mishkin, # 15 Exhibit Ex. 7 to
                   Declaration of Paul Mishkin, # 16 Exhibit Ex. 8 to Declaration of Paul Mishkin, # 17
                   Exhibit Ex. 9 to Declaration of Paul Mishkin, # 18 Exhibit Ex. 10 to Declaration of Paul
                   Mishkin, # 19 Exhibit Ex. 11 to Declaration of Paul Mishkin, # 20 Exhibit Ex. 12 to
                   Declaration of Paul Mishkin, # 21 Exhibit Ex. 13 to Declaration of Paul Mishkin, # 22
                   Exhibit Ex. 14 to Declaration of Paul Mishkin, # 23 Exhibit Ex. 15 to Declaration of Paul
                   Mishkin, # 24 Exhibit Ex. 16 to Declaration of Paul Mishkin, # 25 Exhibit Ex. 17 to
                   Declaration of Paul Mishkin, # 26 Exhibit Ex. 18 to Declaration of Paul Mishkin, # 27
                   Exhibit Ex. 19 to Declaration of Paul Mishkin, # 28 Exhibit Ex. 20 to Declaration of Paul
                   Mishkin, # 29 Exhibit Ex. 21 to Declaration of Paul Mishkin, # 30 Exhibit Ex. 22 to
                   Declaration of Paul Mishkin, # 31 Exhibit Ex. 23 to Declaration of Paul Mishkin, # 32
                   Exhibit Ex. 24 to Declaration of Paul Mishkin, # 33 Exhibit Ex. 25 to Declaration of Paul
                   Mishkin, # 34 Exhibit Ex. 26 to Declaration of Paul Mishkin, # 35 Exhibit Ex. 27 to
                   Declaration of Paul Mishkin, # 36 Exhibit Ex. 28 to Declaration of Paul Mishkin, # 37
                   Exhibit Ex. 29 to Declaration of Paul Mishkin, # 38 Exhibit Ex. 30 to Declaration of Paul
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     Case2:22-cv-02436-JPM-cgc
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                                  FCA    Docket  250
                                                   Page   26 of 53
                  Mishkin, # 39 Exhibit Ex. 31 to Declaration of Paul Mishkin)(Huggins, Teresa) (Entered:
                  04/09/2020)
04/27/2020    178 MEMORANDUM in Opposition to Renewed NOTICE OF MOTION AND MOTION to
                  Stay Case 168 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Proposed Order,
                  # 2 Proof of Service)(Marmolejo, Matthew) (Entered: 04/27/2020)
04/27/2020    179 APPLICATION to file document under seal filed by Plaintiff Island Industries, Inc..
                  (Attachments: # 1 Redacted Document Opposition to SCI MSJ, # 2 Redacted Document
                  Separate Statement (SCI), # 3 Redacted Document Opposition to Sigma MSJ, # 4
                  Redacted Document Separate Statement (Sigma), # 5 Redacted Document Opposition to
                  Vandewater MSJ, # 6 Redacted Document Separate Statement (Vandewater), # 7
                  Redacted Document Exhibit 18 to Marmolejo Decl., # 8 Redacted Document Exhibit 23
                  to Marmolejo Decl., # 9 Redacted Document Exhibit 24 to Marmolejo Decl., # 10
                  Redacted Document Exhibit 38 to Marmolejo Decl., # 11 Redacted Document Exhibit 39
                  to Marmolejo Decl., # 12 Redacted Document Exhibit 53 to Marmolejo Decl., # 13
                  Proposed Order)(Hendy, Christopher) (Entered: 04/27/2020)
04/27/2020    180 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document under
                  seal 179 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Unredacted Document
                  Opposition to SCI MSJ, # 2 Unredacted Document Separate Statement (SCI), # 3
                  Unredacted Document Opposition to Sigma MSJ, # 4 Unredacted Document Separate
                  Statement (Sigma), # 5 Unredacted Document Opposition to Vandewater MSJ, # 6
                  Unredacted Document Separate Statement (Vandewater), # 7 Unredacted Document Ex
                  18 to Marmolejo Decl., # 8 Unredacted Document Ex 23 to Marmolejo Decl., # 9
                  Unredacted Document Ex 24 to Marmolejo Decl., # 10 Unredacted Document Ex 27 to
                  Marmolejo Decl., # 11 Unredacted Document Ex 28 to Marmolejo Decl., # 12
                  Unredacted Document Ex 29 to Marmolejo Decl., # 13 Unredacted Document Ex 30 to
                  Marmolejo Decl., # 14 Unredacted Document Ex 31 to Marmolejo Decl., # 15
                  Unredacted Document Ex 32 to Marmolejo Decl., # 16 Unredacted Document Ex 33 to
                  Marmolejo Decl., # 17 Unredacted Document Ex 34 to Marmolejo Decl., # 18
                  Unredacted Document Ex. 35 to Marmolejo Decl., # 19 Unredacted Document Ex 37 to
                  Marmolejo Decl., # 20 Unredacted Document Ex 38 to Marmolejo Decl., # 21
                  Unredacted Document Ex 39 to Marmolejo Decl., # 22 Unredacted Document Ex 51 to
                  Marmolejo Decl., # 23 Unredacted Document Ex 53 to Marmolejo Decl., # 24
                  Unredacted Document Ex 58 to Marmolejo Decl., # 25 Unredacted Document Ex 59 to
                  Marmolejo Decl., # 26 Unredacted Document Ex 60 to Marmolejo Decl., # 27
                  Unredacted Document Ex. 61 to Marmolejo Decl., # 28 Unredacted Document Ex. 62 to
                  Marmolejo Decl., # 29 Unredacted Document Ex. 63 to Marmolejo Decl., # 30
                  Unredacted Document Ex. 64 to Marmolejo Decl.)(Hendy, Christopher) (Entered:
                  04/27/2020)
04/27/2020    181 OPPOSITION to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Smith-Cooper International, Inc. 172 filed by Plaintiff Island Industries, Inc..
                  (Attachments: # 1 Separate Statement)(Marmolejo, Matthew) (Entered: 04/27/2020)
04/27/2020    182 OPPOSITION to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Sigma Corporation 167 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
                  Separate Statement)(Marmolejo, Matthew) (Entered: 04/27/2020)
04/27/2020    183 OPPOSITION to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Vandewater International, Inc. and Neil Ruebens 169 filed by Plaintiff Island Industries,
                  Inc.. (Attachments: # 1 Separate Statement)(Marmolejo, Matthew) (Entered: 04/27/2020)
04/28/2020    184 REQUEST FOR JUDICIAL NOTICE in support of opposition to Defendants' Motions
                  for Summary Judgment filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
    Case
     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed  Document
                                           06/27/22
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                                    FCA   Docket  251 Page   27 of 53
                  Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Proposed Order)(Marmolejo, Matthew) (Entered:
                  04/28/2020)
04/28/2020    185 DECLARATION of Matthew H. Marmolejo in support of Island's Oppositions to
                  Defendants' Motions for Summary Judgment NOTICE OF MOTION AND MOTION for
                  Summary Judgment as to Smith-Cooper International, Inc. 172 , NOTICE OF MOTION
                  AND MOTION for Summary Judgment as to Vandewater International, Inc. and Neil
                  Ruebens 169 , NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Sigma Corporation 167 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
                  Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                  Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit,
                  # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21
                  Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit, # 27 Exhibit,
                  # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32 Exhibit, # 33 Exhibit, # 34
                  Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit, # 38 Exhibit, # 39 Exhibit, # 40 Exhibit,
                  # 41 Exhibit, # 42 Exhibit, # 43 Exhibit, # 44 Exhibit, # 45 Exhibit, # 46 Exhibit, # 47
                  Exhibit, # 48 Exhibit, # 49 Exhibit, # 50 Exhibit, # 51 Exhibit, # 52 Exhibit, # 53 Exhibit,
                  # 54 Exhibit, # 55 Exhibit, # 56 Exhibit, # 57 Exhibit, # 58 Exhibit, # 59 Exhibit, # 60
                  Exhibit, # 61 Exhibit, # 62 Exhibit, # 63 Exhibit, # 64 Exhibit, # 65 Exhibit)(Marmolejo,
                  Matthew) (Entered: 04/28/2020)
04/29/2020    186 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document under
                  seal 170 filed by Plaintiff Island Industries, Inc..(Marmolejo, Matthew) (Entered:
                  04/29/2020)
05/01/2020    187 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document under
                  seal 179 filed by Defendant Sigma Corporation.(Lau, Lucius) (Entered: 05/01/2020)
05/03/2020    188 JOINT REPORT of ADR PROCEEDINGS filed by Plaintiff Island Industries, Inc..
                  (Marmolejo, Matthew) (Entered: 05/03/2020)
05/04/2020    189 REPLY in Support of Renewed NOTICE OF MOTION AND MOTION to Stay Case 168
                  filed by Defendants Neil Reubens, Vandewater International Inc.. (Salzman, Ryan)
                  (Entered: 05/04/2020)
05/04/2020    190 APPLICATION to file document Reply to Statement of Disputed Facts under seal filed
                  by Defendant Sigma Corporation. (Attachments: # 1 Redacted Document Redacted Reply
                  to Statement of Disputed Facts, # 2 Proposed Order)(Lau, Lucius) (Entered: 05/04/2020)
05/04/2020    191 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document Reply to
                  Statement of Disputed Facts under seal 190 filed by Defendant Sigma Corporation.
                  (Attachments: # 1 Unredacted Document Unredacted Reply to Statement of Disputed
                  Facts)(Lau, Lucius) (Entered: 05/04/2020)
05/04/2020    192 REPLY In Support Of NOTICE OF MOTION AND MOTION for Summary Judgment
                  as to Sigma Corporation 167 filed by Defendant Sigma Corporation. (Attachments: # 1
                  Redacted Document Reply to Statement of Facts, # 2 Memorandum Objections to
                  Evidence)(Lau, Lucius) (Entered: 05/04/2020)
05/04/2020    193 REPLY in Support of NOTICE OF MOTION AND MOTION for Summary Judgment as
                  to Vandewater International, Inc. and Neil Ruebens 169 filed by Defendants Neil
                  Reubens, Vandewater International Inc.. (Attachments: # 1 Declaration, # 2 Exhibit to
                  Salzman Decl., # 3 Exhibit to Salzman Decl., # 4 Exhibit to Salzman Decl., # 5 Exhibit to
                  Salzman Decl., # 6 Exhibit to Salzman Decl., # 7 Exhibit to Salzman Decl., # 8 Exhibit to
                  Salzman Decl., # 9 Exhibit to Salzman Decl., # 10 Exhibit to Salzman Decl., # 11
                  Unredacted Document Praecipe De-Designating Confidentiality for Vandewater Reply, #
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
                                        06/27/22
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                                                                                        PageID
                                   FCA  Docket 252
                                                 Page  28 of 53
                  12 Redacted Document Vandewater Responses to Statement of Facts)(Salzman, Ryan)
                  (Entered: 05/04/2020)
05/04/2020   194 REPLY Reply In Support NOTICE OF MOTION AND MOTION for Summary
                 Judgment as to Vandewater International, Inc. and Neil Ruebens 169 Reply Memorandum
                 of Points and Authorities in Further Support of Defendant Smith-Cooper International,
                 Inc.'s Motion for Summary Judgment filed by Defendant Smith Cooper International.
                 (Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   195 REPLY Reply NOTICE OF MOTION AND MOTION for Summary Judgment as to
                 Vandewater International, Inc. and Neil Ruebens 169 Reply Statement of Uncontroverted
                 Facts and Conclusions of Law in Support of Motion for Summary Judgment (PUBLIC
                 REDACTED VERSION) filed by Defendant Smith Cooper International. (Huggins,
                 Teresa) (Entered: 05/04/2020)
05/04/2020   196 DECLARATION of Paul Mishkin In Support Of NOTICE OF MOTION AND MOTION
                 for Summary Judgment as to Vandewater International, Inc. and Neil Ruebens 169 Reply
                 Declaration of Paul Mishkin in Support of Smith-Cooper International, Inc.'s Motion for
                 Summary Judgment filed by Defendant Smith Cooper International. (Huggins, Teresa)
                 (Entered: 05/04/2020)
05/04/2020   197 APPLICATION to File Under Seal Defendant Smith-Cooper International, Inc.'s
                 Application for Leave to File Under Seal Pursuant to Protective Order filed by
                 Defendant Smith Cooper International. (Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   198 DECLARATION of Marc Tobak in Support of APPLICATION to File Under Seal
                 Defendant Smith-Cooper International, Inc.'s Application for Leave to File Under Seal
                 Pursuant to Protective Order 197 (PUBLIC REDACTED VERSION) filed by Defendant
                 Smith Cooper International. (Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   199 APPLICATION to file document Declaration of Marc Tobak in Support of Smith-Cooper
                 International, Inc.'s Application to File Under Seal Pursuant to the Protective Order
                 (UNREDACTED VERSION) under seal filed by Defendant Smith Cooper International.
                 (Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   200 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document Reply to
                 Statement of Disputed Facts under seal 190 filed by Defendant Smith Cooper
                 International.(Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   201 DECLARATION of Paul Mishkin in support of NOTICE OF MOTION AND MOTION
                 for Summary Judgment as to Vandewater International, Inc. and Neil Ruebens 169 Reply
                 Declaration of Paul Mishkin in Support of Smith-Cooper International's Motion for
                 Summary Judgment filed by Defendant Smith Cooper International. (Attachments: # 1
                 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3)(Huggins, Teresa)
                 (Entered: 05/04/2020)
05/04/2020   202 DECLARATION of Marc Tobak in support of APPLICATION to File Under Seal
                 Defendant Smith-Cooper International, Inc.'s Application for Leave to File Under Seal
                 Pursuant to Protective Order 197 (PUBLIC REDACTED VERSION) filed by Defendant
                 Smith Cooper International. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B)
                 (Huggins, Teresa) (Entered: 05/04/2020)
05/04/2020   203 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document
                 Declaration of Marc Tobak in Support of Smith-Cooper International, Inc.'s Application
                 to File Under Seal Pursuant to the Protective Order (UNREDACTED VERSION) under
                 seal 199 filed by Defendant Smith Cooper International. (Attachments: # 1 Exhibit
                 Exhibit A, # 2 Exhibit Exhibit B)(Huggins, Teresa) (Entered: 05/04/2020)
     Case
       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed Document
                                           06/27/22
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05/04/2020                           FCA  Docket   253
                                                     Page    29 of 53
               204 REPLY in support of NOTICE OF MOTION AND MOTION for Summary Judgment as
                    to Smith-Cooper International, Inc. 172 Reply Memorandum of Points and Authorities in
                    Further Support of Defendant Smith-Cooper International, Inc.'s Motion for Summary
                    Judgment filed by Defendant Smith Cooper International. (Huggins, Teresa) (Entered:
                    05/04/2020)
05/04/2020     205 REPLY in support of NOTICE OF MOTION AND MOTION for Summary Judgment as
                   to Smith-Cooper International, Inc. 172 Defendant Smith-Cooper International, Inc.'s
                   Reply Statement of Uncontroverted facts and Conclusions of Law in Support of Motion
                   for Summary Judgment filed by Defendant Smith Cooper International. (Huggins, Teresa)
                   (Entered: 05/04/2020)
05/04/2020     206 DECLARATION of Paul Mishkin in support of NOTICE OF MOTION AND MOTION
                   for Summary Judgment as to Smith-Cooper International, Inc. 172 Reply Declaration of
                   Paul Mishkin in Support of Smith-Cooper International, Inc.'s Motion for Summary
                   Judgment filed by Defendant Smith Cooper International. (Attachments: # 1 Exhibit
                   Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3)(Huggins, Teresa) (Entered:
                   05/04/2020)
05/05/2020     207 CERTIFICATE OF SERVICE filed by Defendant Smith Cooper International, re
                   Declaration (Motion related), 202 , Declaration (Motion related), 206 , Reply (Motion
                   related), 205 , Reply (Motion related), 204 , APPLICATION to File Under Seal
                   Defendant Smith-Cooper International, Inc.'s Application for Leave to File Under Seal
                   Pursuant to Protective Order 197 served on 5/4/2020. (Huggins, Teresa) (Entered:
                   05/05/2020)
05/05/2020     208 PROOF OF SERVICE filed by Defendant Smith Cooper International, re Declaration
                   (Motion related), 202 , Declaration (Motion related), 206 , Reply (Motion related), 205 ,
                   Reply (Motion related), 204 , APPLICATION to File Under Seal Defendant Smith-
                   Cooper International, Inc.'s Application for Leave to File Under Seal Pursuant to
                   Protective Order 197 served on 5/04/2020. (Huggins, Teresa) (Entered: 05/05/2020)
05/05/2020     209 NOTICE filed by Defendant Smith Cooper International. Notice of Withdrawal of
                   Incorrectly Linked Documents (Docket Nos. 194, 195, 196, 198, 199, 200 and 201) Filed
                   on May 4, 2020 (Huggins, Teresa) (Entered: 05/05/2020)
05/06/2020     210 EX PARTE APPLICATION for Leave to file Response to Sigma's Evidentiary Objections
                   filed by Plaintiff-Relator Island Industries, Inc.. (Attachments: # 1 Memorandum in
                   response to Sigma's Objections, # 2 Declaration of C. Mitchell Hendy, # 3 Exhibit 1, # 4
                   Exhibit 2, # 5 Proposed Order) (Hendy, Christopher) (Entered: 05/06/2020)
05/07/2020     211 ORDER GRANTING Plaintiff Relator Island industries, Inc., Ex Parte Application for
                   Leave to File a Response to Sigma Corporation's Evidentiary Objection (ECF #192-2)
                   210 by Judge R. Gary Klausner, the Court GRANTS the Application and ORDERS that
                   Islands Response and supporting papers (ECF # 210-1, 210-2, 210-3, and 210-4) are
                   deemed properly filed and considered. (jp) (Entered: 05/07/2020)
05/08/2020     212 NOTICE OF MOTION AND First MOTION IN LIMINE (#1) to Exclude Evidence
                   Relating to Sigma Corporation's Total Net Worth and Total Importations filed by
                   Defendant Sigma Corporation. Motion set for hearing on 6/23/2020 at 09:00 AM before
                   Judge R. Gary Klausner. (Attachments: # 1 Proposed Order)(Lau, Lucius) (Entered:
                   05/08/2020)
05/08/2020     213 NOTICE OF MOTION AND Second MOTION IN LIMINE (#2) to Exclude Evidence of
                   Sigma Corporation's Subsequent Remedial Measures filed by Defendant Sigma
                   Corporation. Motion set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary
    Case
     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
                                          06/27/22
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                                   FCA   Docket  254
                                                   Page   30 of 53
                  Klausner. (Attachments: # 1 Declaration of Shannon Lane, # 2 Exhibit A: Deposition of
                  Siddharth Bhattacharji, # 3 Proposed Order)(Lau, Lucius) (Entered: 05/08/2020)
05/08/2020    214 NOTICE OF MOTION AND Third MOTION IN LIMINE (#3) to Exclude Evidence on
                  "Double Invoicing" filed by Defendant Sigma Corporation. Motion set for hearing on
                  6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Declaration of
                  Shannon Lane, # 2 Exhibit A: Expert Report of Kelli Thompson, # 3 Exhibit B:
                  Deposition of Patricia Velazquez, # 4 Exhibit C: Entry Packet, # 5 Proposed Order)(Lau,
                  Lucius) (Entered: 05/08/2020)
05/08/2020    215 NOTICE OF MOTION AND MOTION IN LIMINE (#4) to Exclude Evidence on
                  Professional Broker Employment filed by Defendant Sigma Corporation. Motion set for
                  hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  Declaration of Shannon Lane, # 2 Exhibit A: CBP Informed Compliance Publication, # 3
                  Proposed Order)(Lau, Lucius) (Entered: 05/08/2020)
05/08/2020    216 NOTICE OF MOTION AND MOTION IN LIMINE (#5) to Exclude Evidence and
                  Argument on the Sprink-let Scope Ruling filed by Defendant Sigma Corporation. Motion
                  set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments:
                  # 1 Declaration of Shannon Lane, # 2 Exhibit A: Sprink-let Scope Ruling, # 3 Exhibit B:
                  Sigma Scope Ruling, # 4 Proposed Order)(Lau, Lucius) (Entered: 05/08/2020)
05/08/2020    217 REQUEST for Order for Request for Order to Permanently Seal Docket No. 199 filed by
                  Defendant Smith Cooper International. (Huggins, Teresa) (Entered: 05/08/2020)
05/08/2020    218 [DOCUMENT STRICKEN PER ORDER DATED ON 5/11/2020, SEE DOCKET
                  ENTRY NO. 235 ] REQUEST for Order for [Proposed] Order to Permanently Seal
                  Docket No. 199 filed by Defendant Smith Cooper International. (Huggins, Teresa)
                  Modified on 5/11/2020 (et). (Entered: 05/08/2020)
05/08/2020    219 NOTICE OF LODGING filed NOTICE OF LODGING OF PROPOSED ORDER
                  GRANTING SMITH-COOPER INTERNATIONAL, INC.S APPLICATION TO FILE
                  UNDER SEAL PURSUANT TO PROTECTIVE ORDER re APPLICATION to File Under
                  Seal Defendant Smith-Cooper International, Inc.'s Application for Leave to File Under
                  Seal Pursuant to Protective Order 197 (Huggins, Teresa) (Entered: 05/08/2020)
05/08/2020    220 NOTICE OF MOTION AND Joint MOTION IN LIMINE (#1) to Exclude The Opinion
                  of Plaintiff-Relator's Expert Kelli Thompson filed by Defendants Neil Reubens, Sigma
                  Corporation, Smith Cooper International, Vandewater International Inc.. Motion set for
                  hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  Proposed Order)(Salzman, Ryan) (Entered: 05/08/2020)
05/08/2020    221 NOTICE OF MOTION AND Joint MOTION IN LIMINE (#2) to Exclude Testimony
                  Regarding the Mod Act filed by Defendants Neil Reubens, Smith Cooper International,
                  Vandewater International Inc.. Motion set for hearing on 6/23/2020 at 09:00 AM before
                  Judge R. Gary Klausner. (Attachments: # 1 Proposed Order)(Salzman, Ryan) (Entered:
                  05/08/2020)
05/08/2020    222 DECLARATION of Marc Tobak re APPLICATION to file document under seal 179
                  Marc Tobak's Declaration in Support of Application to File Under Seal Pursuant to
                  Protective Order filed by Defendant Smith Cooper International. (Huggins, Teresa)
                  (Entered: 05/08/2020)
05/08/2020    223 NOTICE OF MOTION AND MOTION IN LIMINE (#3) to Exclude Speculation
                  Regarding Lloyd Perkins filed by Defendants Neil Reubens, Vandewater International
                  Inc.. Motion set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner.
                  (Attachments: # 1 Proposed Order)(Salzman, Ryan) (Entered: 05/08/2020)
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       Case2:22-cv-02436-JPM-cgc
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05/08/2020                           FCA   Docket  255
                                                     Page   31 of 53
               224 NOTICE OF MOTION AND MOTION IN LIMINE (#4) to Exclude The Term
                    "Confidential Source" filed by Defendants Neil Reubens, Vandewater International Inc..
                    Motion set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner.
                    (Attachments: # 1 Proposed Order)(Salzman, Ryan) (Entered: 05/08/2020)
05/08/2020     225 NOTICE OF MOTION AND MOTION IN LIMINE (#5) to Exclude Immaterial Matters,
                   Inflammatory Character Evidence, and Previous Acts filed by Defendants Neil Reubens,
                   Vandewater International Inc.. Motion set for hearing on 6/23/2020 at 09:00 AM before
                   Judge R. Gary Klausner. (Attachments: # 1 Proposed Order)(Salzman, Ryan) (Entered:
                   05/08/2020)
05/08/2020     226 DECLARATION of Ryan M. Salzman In Support of Motions in Limine Nos. 1 - 5; Joint
                   MOTION IN LIMINE (#2) to Exclude Testimony Regarding the Mod Act 221 ,
                   MOTION IN LIMINE (#3) to Exclude Speculation Regarding Lloyd Perkins 223 ,
                   MOTION IN LIMINE (#4) to Exclude The Term "Confidential Source" 224 , MOTION
                   IN LIMINE (#5) to Exclude Immaterial Matters, Inflammatory Character Evidence, and
                   Previous Acts 225 , Joint MOTION IN LIMINE (#1) to Exclude The Opinion of
                   Plaintiff-Relator's Expert Kelli Thompson 220 filed by Defendants Neil Reubens,
                   Vandewater International Inc.. (Attachments: # 1 Exhibit 1 - G. Sanders Testimony, # 2
                   Exhibit 2 - H. Zawada Testimony, # 3 Exhibit 3 - J. Ruebens Testimony, # 4 Exhibit 4 -
                   K. Thompson Testimony, # 5 Exhibit 5 - Thompson Report PUBLIC REDACTED
                   VERSION, # 6 Exhibit 6 - N. Ruebens Testimony, # 7 Exhibit 7 - S. Ruebens Testimony)
                   (Salzman, Ryan) (Entered: 05/08/2020)
05/08/2020     227 NOTICE OF MOTION AND MOTION IN LIMINE (#1) to Exclude Report and
                   Testimony of Walter Sperko filed by Plaintiff-Relator Island Industries, Inc.. Motion set
                   for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                   Declaration of C. Mitchell Hendy, # 2 Exhibit 1 to Hendy Declaration, # 3 Exhibit 2 to
                   Hendy Declaration, # 4 Proposed Order)(Marmolejo, Matthew) (Entered: 05/08/2020)
05/08/2020     228 NOTICE OF MOTION AND MOTION IN LIMINE (#2) to Exclude Argument
                   Regarding Objective Reasonableness filed by Plaintiff-Relator Island Industries, Inc..
                   Motion set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner.
                   (Attachments: # 1 Proposed Order)(Marmolejo, Matthew) (Entered: 05/08/2020)
05/08/2020     229 NOTICE OF MOTION AND MOTION IN LIMINE (#3) to Exclude Evidence that the
                   Government has not Intervened filed by Plaintiff-Relator Island Industries, Inc.. Motion
                   set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments:
                   # 1 Proposed Order)(Marmolejo, Matthew) (Entered: 05/08/2020)
05/08/2020     230 NOTICE OF MOTION AND MOTION IN LIMINE (#4) to Preclude References to
                   Recoveries Under the False Claims Act filed by Plaintiff-Relator Island Industries, Inc..
                   Motion set for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner.
                   (Attachments: # 1 Proposed Order)(Marmolejo, Matthew) (Entered: 05/08/2020)
05/08/2020     231 NOTICE OF MOTION AND MOTION IN LIMINE (#5) to Exclude Evidence of
                   Inability to Satisfy Judgment filed by Plaintiff-Relator Island Industries, Inc.. Motion set
                   for hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                   Proposed Order)(Marmolejo, Matthew) (Entered: 05/08/2020)
05/08/2020     232 NOTICE OF MOTION AND MOTION IN LIMINE 1 to Exclude Financial Condition &
                   Related Information filed by Defendant Smith Cooper International. Motion set for
                   hearing on 6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                   Declaration Declaration of Marc Tobak in Support of Motion in Limine #1 to Exclude
                   Evidence of Financial Condition and Related Information, # 2 Proposed Order)(Huggins,
                   Teresa) (Entered: 05/08/2020)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed Document
                                           06/27/22
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05/08/2020                           FCA  Docket  256Page  32 of 53
               233 NOTICE OF MOTION AND MOTION IN LIMINE (2) to Exclude Certain Import
                    Values filed by Defendant Smith Cooper International. Motion set for hearing on
                    6/23/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Declaration
                    Declaration of Marc Tobak, # 2 Proposed Order)(Huggins, Teresa) (Entered: 05/08/2020)
05/08/2020     234 JOINDER in MOTION IN LIMINE (#5) to Exclude Evidence and Argument on the
                   Sprink-let Scope Ruling 216 filed by Defendant Smith Cooper International. (Huggins,
                   Teresa) (Entered: 05/08/2020)
05/11/2020     235 ORDER by Judge R. Gary Klausner: the following document(s) be STRICKEN for
                   failure to comply with the Local Rules, General Order and/or the Courts Case
                   Management Order: REQUEST for Order for [Proposed] Order to Permanently Seal
                   Docket No. 199 218 , for the following reasons: Proposed Order is to be attached to a
                   Notice of Lodging. See LR 5-4.4.1. (et) (Entered: 05/11/2020)
05/11/2020     236 NOTICE OF LODGING filed [PROPOSED] ORDER GRANTING DEFENDANT
                   SMITH-COOPER INTERNATIONAL INC.S REQUEST TO PERMANENTLY SEAL
                   DOCKET NO. 199 re REQUEST for Order for Request for Order to Permanently Seal
                   Docket No. 199 217 (Attachments: # 1 Proposed Order Granting Defendant Smith-
                   Cooper International Inc.'s Request to Permanently Seal Docket No. 199, # 2 Certificate
                   of Service)(Klein, Brian) (Entered: 05/11/2020)
05/11/2020     237 ORDER GRANTING Defendant Smith-Cooper International inc.'s Request to
                   Permanently Seal Docket No. 199 217 by Judge R. Gary Klausner that Docket No. 199
                   will be filed permanently under seal. (jp) (Entered: 05/11/2020)
05/12/2020     238 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                   The following motions have been taken under submission and off the motion calendar:
                   (1) Defendants' Vandewater International, Inc., Neil Ruebens, and Smith-Cooper
                   International, Inc.'s Renewed Motion to Stay 168 ; (2) Defendant Sigma Corporation's
                   Motion for Summary Judgment 167 ; (3) Defendants' Vandewater International, Inc. and
                   Neil Ruebens' Motion for Summary Judgment 169 ; and (4) Defendant Smith-Cooper
                   International, Inc.'s Motion for Summary Judgment [177-4]. No appearances by counsel
                   are necessary. The Court will issue a ruling after full consideration of properly submitted
                   pleadings. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw)
                   TEXT ONLY ENTRY (Entered: 05/12/2020)
05/12/2020     239 SUPPLEMENT to Renewed NOTICE OF MOTION AND MOTION to Stay Case 168
                   filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Declaration of Matthew
                   McConkey, # 2 Exhibit 1)(Marmolejo, Matthew) (Entered: 05/12/2020)
05/15/2020     240 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                   The Jury Trial is HEREBY CONTINUED TO 8/18/2020 at 9:00 am; and the Pretrial
                   Conference is HEREBY CONTINUED TO 8/3/2020 at 9:00 am. THERE IS NO PDF
                   DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
                   (Entered: 05/15/2020)
05/15/2020     241 MINUTES (IN CHAMBERS) Order Re: Defendant Smith Cooper International's
                   Application to Seal [DE 17] by Judge R. Gary Klausner: In sum, it appears that there are
                   several defects with SCI's Application to Seal. Nevertheless, in the interests of justice, the
                   Court will give SCI the opportunity to refile its Application to Seal one final time. SCI
                   must refile its Application to Seal in accordance with this Court's Local Rules no later
                   than May 19, 2020. If the Application is filed under LR 79-5.2.2(b), Island must file the
                   requisite declaration within 4 days, required the Local Rules. Otherwise, the Application
                   will be denied. (See minutes for further details) (yl) (Entered: 05/15/2020)
05/15/2020     242 MINUTES (IN CHAMBERS) Order RE: Plaintiff Island's Application to Seal 179 by
    Case
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                                                     Page   33  of 53
                  Judge R. Gary Klausner: Defendant's Vandewater International Inc., and Neil Reubens
                  have not filed a declaration in support of Island's Application to Seal. In the interests of
                  judstice, the Court shall give Vandewater until May 19, 2020 to file such a declaration. IT
                  IS SO ORDERED. (See minutes for further details) (yl) (Entered: 05/15/2020)
05/15/2020    243 MINUTES (IN CHAMBERS) Order Re Defendant Smith Cooper's International's
                  Application to Seal 197 by Judge R. Gary Klausner: Upon review, the Court GRATS
                  SCI's Application. IT IS SO ORDERED. (See minutes for further details) (yl) (Entered:
                  05/18/2020)
05/18/2020    244 (IN CHAMBERS) Order Re: Defendant Sigma's Application to Seal [DE 190 ] by Judge
                  R. Gary Klausner: Upon review, the Court GRANTS Sigma's Application. (jp) (Entered:
                  05/18/2020)
05/18/2020    245 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document under
                  seal 179 filed by Defendants Neil Reubens, Vandewater International Inc.. (Attachments:
                  # 1 Exhibit 1 - (Marmolejo Exh 59), # 2 Exhibit 2 - (Marmolejo Decl 62), # 3 Exhibit 3 -
                  (Marmolejo Decl 64))(Salzman, Ryan) (Entered: 05/18/2020)
05/18/2020    246 DECLARATION of Matthew Marmolejo SUPPLEMENTAL DECLARATION IN
                  SUPPORT OF OPPOSITION TO DEFENDANTS' Renewed NOTICE OF MOTION
                  AND MOTION to Stay Case 168 filed by Plaintiff Island Industries, Inc.. (Attachments:
                  # 1 Exhibit)(Marmolejo, Matthew) (Entered: 05/18/2020)
05/18/2020    247 SUPPLEMENT to Renewed NOTICE OF MOTION AND MOTION to Stay Case 168
                  filed by Defendants Neil Reubens, Smith Cooper International, Vandewater International
                  Inc.. (Attachments: # 1 Declaration of R. Salzman ISO Supplement, # 2 Exhibit 1 to Decl
                  of R. Salzman)(Salzman, Ryan) (Entered: 05/18/2020)
05/19/2020    248 SEALED DOCUMENT Reply to Statement of Facts re Reply (Motion related), 192 ,
                  Order on Motion for Leave to File Document Under Seal 244 filed by Defendant Sigma
                  Corporation.(Lau, Lucius) (Entered: 05/19/2020)
05/19/2020    249 APPLICATION to file document under seal filed by Defendant Smith Cooper
                  International. (Attachments: # 1 Declaration Declaration of Marc Tobak, # 2 Exhibit
                  Exhibit A, # 3 Exhibit Exhibit B (Redacted), # 4 Exhibit Exhibit C (Redacted), # 5
                  Exhibit Exhibit D, # 6 Exhibit Exhibit E, # 7 Exhibit Exhibit F (Redacted), # 8 Proposed
                  Order Granting Application to File Under Seal Pursuant to Protective Order)(Huggins,
                  Teresa) (Entered: 05/19/2020)
05/19/2020    250 SEALED DECLARATION IN SUPPORT OF APPLICATION to file document under
                  seal 249 filed by Defendant Smith Cooper International. (Attachments: # 1 Exhibit A, # 2
                  Exhibit B (Unredacted), # 3 Exhibit C (Unredacted), # 4 Exhibit D, # 5 Exhibit E, # 6
                  Exhibit F (Unredacted))(Huggins, Teresa) (Entered: 05/19/2020)
05/21/2020    251 (IN CHAMBERS) Order Re: Plaintiff Island's Application to Seal [DE 179 ] by Judge R.
                  Gary Klausner: The Court DENIES Island's Application to Seal. (SEE CIVIL MINUTES
                  FOR FURTHER SPECIFICS). (jp) (Entered: 05/21/2020)
05/21/2020    252 (IN CHAMBERS) Order Re: Defendant Smith Cooper International's Application to Seal
                  [DE 175] by Judge R. Gary Klausner: The Court GRANTS SCI's Application 175 . The
                  following may be filed with proposed redaction: (1) Deposition Transcript of Glen
                  Sanders, as set forth at ECF No. 249-3. (2) Deposition Transcript of Mark Woehrel, as set
                  forth as ECF No. 249-4. (3) SCI's Memorandum of Points and Authorities in support of
                  Motion for Summary Judgment, as set forth as ECF No. 249-7. (jp) (Entered:
                  05/21/2020)
05/25/2020    253 REQUEST for Leave to file to Refile May 8, 2020 Designating Party's Declaration in
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     Case2:22-cv-02436-JPM-cgc
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                  Support of Application to File Under Seal Pursuant to Protective Order an Associated
                  Documents filed by Defendant Smith Cooper International. (Attachments: # 1 Exhibit A,
                  # 2 Exhibit B, # 3 Exhibit C, # 4 Proposed Order, # 5 Certificate of Service) (Huggins,
                  Teresa) (Entered: 05/25/2020)
05/29/2020    254 STATEMENT of Interest NOTICE OF MOTION AND MOTION for Summary
                  Judgment as to Vandewater International, Inc. and Neil Ruebens 169 , NOTICE OF
                  MOTION AND MOTION for Summary Judgment as to Smith-Cooper International, Inc.
                  172 , NOTICE OF MOTION AND MOTION for Summary Judgment as to Sigma
                  Corporation 167 filed by Plaintiff United States of America. (Hinson, Zoila) (Entered:
                  05/29/2020)
06/05/2020    255 NOTICE of Supplemental Authority Regarding Defendants' Renewed Motion to Stay
                  (ECF #168) filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Exhibit A, # 2
                  Exhibit B, # 3 Exhibit C)(Marmolejo, Matthew) (Entered: 06/05/2020)
06/05/2020    256 (IN CHAMBERS) Order Re: Supplemental Briefing by Judge R. Gary Klausner:
                  Defendants shall file a consolidated supplemental brief not to exceed 5 pages no later
                  than 6/10/2020. Island shall file a response not to exceed 5 pages no later than 6/12/2020.
                  (See Civil Minutes for Further Specifics). (jp) (Entered: 06/05/2020)
06/09/2020    257 EX PARTE APPLICATION for Order for Granting Defendants Leave to File a Response
                  to the United States' Statement of Interest filed by Defendants Neil Reubens, Sigma
                  Corporation, Smith Cooper International, Vandewater International Inc.. (Attachments: #
                  1 Defendants' Joint Response to the United States' Statement of Interest, # 2 Declaration
                  of Marc Tobak in Support of Defendants' Joint Ex Parte Application for an Order
                  Granting Defendants Leave to File a Response to the United States' Statement of Interest,
                  # 3 Proposed Order re Defendants' Joint Ex Parte Application for an Order Granting
                  Defendants Leave to File a Response to the United States' Statement of Interest, # 4
                  Certificate of Service) (Attorney Brian E Klein added to party Neil Reubens(pty:dft),
                  Attorney Brian E Klein added to party Sigma Corporation(pty:dft), Attorney Brian E
                  Klein added to party Vandewater International Inc.(pty:dft)) (Klein, Brian) (Entered:
                  06/09/2020)
06/10/2020    258 SUPPLEMENT to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Vandewater International, Inc. and Neil Ruebens 169 , NOTICE OF MOTION AND
                  MOTION for Summary Judgment as to Smith-Cooper International, Inc. 172 , NOTICE
                  OF MOTION AND MOTION for Summary Judgment as to Sigma Corporation 167
                  Defendants' Consolidated Supplemental Brief filed by Defendant Sigma Corporation.
                  (Lau, Lucius) (Entered: 06/10/2020)
06/12/2020    259 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner: Re: Request for
                  Leave to file to Refile May 8, 2020 Designating Party's Declaration in Support of
                  Application to File Under Seal Pursuant to Protective Order an Associated Documents
                  253 . The request is DENIED. (et) (Entered: 06/12/2020)
06/12/2020    260 ORDER RE DEFENDANTS JOINT EX PARTE APPLICATION FOR AN ORDER
                  GRANTING DEFENDANTS LEAVE TO FILE A RESPONSE TO THE UNITED
                  STATES STATEMENT OF INTEREST 257 by Judge R. Gary Klausner: The Court
                  GRANTS the application and ORDERS that Defendants Response filed therewith is
                  deemed properly filed and considered. (lc) (Entered: 06/12/2020)
06/12/2020    261 SUPPLEMENT to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Vandewater International, Inc. and Neil Ruebens 169 , NOTICE OF MOTION AND
                  MOTION for Summary Judgment as to Smith-Cooper International, Inc. 172 , NOTICE
                  OF MOTION AND MOTION for Summary Judgment as to Sigma Corporation 167
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     Case2:22-cv-02436-JPM-cgc
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                                                   Page   35  of 53
                  Island's Supplemental Brief in Opposition filed by Plaintiff Island Industries, Inc..
                  (Marmolejo, Matthew) (Entered: 06/12/2020)
06/18/2020    262 OPPOSITION to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Smith-Cooper International, Inc. 172 filed by Plaintiff Island Industries, Inc..
                  (Attachments: # 1 Statement of Genuine Disputes of Material Fact)(Marmolejo,
                  Matthew) (Entered: 06/18/2020)
06/18/2020    263 OPPOSITION to NOTICE OF MOTION AND MOTION for Summary Judgment as to
                  Vandewater International, Inc. and Neil Ruebens 169 (REDACTED) filed by Plaintiff
                  Island Industries, Inc.. (Attachments: # 1 Statement of Genuine Disputes of Material
                  Fact)(Marmolejo, Matthew) (Entered: 06/18/2020)
06/18/2020    264 DECLARATION of Matthew H. Marmolejo re Response in Opposition to Motion 181 ,
                  Response in Opposition to Motion 182 , Response in Opposition to Motion, 183 filed by
                  Plaintiff Island Industries, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                  # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                  Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                  Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                  Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                  Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                  Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35
                  Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40
                  Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45
                  Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50
                  Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55
                  Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60
                  Exhibit 60, # 61 Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65
                  Exhibit 65)(Marmolejo, Matthew) (Entered: 06/18/2020)
06/18/2020    265 SEALED OPPOSITION RE NOTICE OF MOTION AND MOTION for Summary
                  Judgment as to Vandewater International, Inc. and Neil Ruebens 169 , Order on Motion
                  for Leave to File Document Under Seal 251 filed by Plaintiff Island Industries, Inc..
                  (Attachments: # 1 Statement of Genuine Disputes of Material Fact)(Marmolejo,
                  Matthew) (Entered: 06/18/2020)
06/18/2020    266 SEALED OPPOSITION RE NOTICE OF MOTION AND MOTION for Summary
                  Judgment as to Sigma Corporation 167 , Minutes of In Chambers Order/Directive - no
                  proceeding held, 242 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
                  Statement of Genuine Disputes of Material Fact)(Marmolejo, Matthew) (Entered:
                  06/18/2020)
06/18/2020    267 SEALED DOCUMENT Exhibit 51 re Declaration,,,,, 264 , Minutes of In Chambers
                  Order/Directive - no proceeding held, 242 filed by Plaintiff Island Industries, Inc..
                  (Marmolejo, Matthew) (Entered: 06/18/2020)
06/18/2020    268 SEALED DOCUMENT Exhibit 58 re Declaration,,,,, 264 , Order on Motion for Leave to
                  File Document Under Seal 251 filed by Plaintiff Island Industries, Inc..(Marmolejo,
                  Matthew) (Entered: 06/18/2020)
06/23/2020    269 (IN CHAMBERS) Order Re: Defendants' Motion to Stay [DE 168 ] by Judge R. Gary
                  Klausner the Court DENIES Defendants' Motion to Stay. (SEE CIVIL MINUTES FOR
                  FURTHER SPECIFICS). (et) (Entered: 06/23/2020)
06/23/2020    270 (IN CHAMBERS) Order Re: Defendant Sigma's Motion for Summary Judgment [DE
                  167 ]; Defendants Ruebens and Vandewater's Motion for Summary Judgment [DE 169 ];
                  Defendant SCI's Motion for Summary Judgment [DE [177-5]] by Judge R. Gary
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                                                Page    36 of 53
                  Klausner the Court GRANTS in part and DENIES in part Defendants' Motions. (SEE
                  CIVIL MINUTES FOR FURTHER SPECIFICS). (et) (Entered: 06/23/2020)
07/02/2020   271 NOTICE OF MOTION AND MOTION IN LIMINE (#6) to Exclude Evidence Contrary
                 to the Court's Summary Judgment Order as to Falsity filed by Plaintiff-Relator Island
                 Industries, Inc.. Motion set for hearing on 8/18/2020 at 09:00 AM before Judge R. Gary
                 Klausner. (Attachments: # 1 Proposed Order)(Marmolejo, Matthew) (Entered:
                 07/02/2020)
07/06/2020   272 NOTICE OF MOTION AND MOTION to Dismiss for Lack of Jurisdiction for lack of
                 ripeness over questions integral to Realtor's Claim or, in the alternative, NOTICE OF
                 MOTION AND MOTION to Stay Case for lack of ripeness over questions integral to
                 Realtor's Claim filed by Defendants Neil Reubens, Vandewater International Inc.. Motion
                 set for hearing on 8/3/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: #
                 1 Declaration of R. Salzman ISO Motion to Dismiss or Stay, # 2 Proposed Order)
                 (Salzman, Ryan) (Entered: 07/06/2020)
07/06/2020   273 NOTICE of Joinder by Smith-Cooper International, Inc. to Vandewater Defendants'
                 Motion to Dismiss or Stay for Lack of Ripeness filed by Defendant Smith Cooper
                 International. (Huggins, Teresa) (Entered: 07/06/2020)
07/07/2020   274 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                 The Court deems Defendants Neil Reubens and Vandewater International, Inc.'s Motion
                 to Dismiss for Lack of Jurisdiction for lack of ripeness over questions integral to
                 Realtor's Claim or, in the alternative, NOTICE OF MOTION AND MOTION to Stay
                 Case for lack of ripeness over questions integral to Realtor's Claim 272 as an ex parte.
                 Plaintiff shall file any opposition not later than 4:00 pm on Friday, July 10, 2020. THERE
                 IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY
                 ENTRY (Entered: 07/07/2020)
07/09/2020   275 ANSWER to Amended Complaint/Petition,,,, 97 with JURY DEMAND filed by
                 Defendant Allied Rubber and Gasket Company.(Attorney Heather Lynn Mayer added to
                 party Allied Rubber and Gasket Company(pty:dft))(Mayer, Heather) (Entered:
                 07/09/2020)
07/10/2020   276 CERTIFICATE of Interested Parties filed by Defendant Allied Rubber and Gasket
                 Company, identifying Allied Rubber & Gasket Company. (Attorney Aaron M May added
                 to party Allied Rubber and Gasket Company(pty:dft))(May, Aaron) (Entered:
                 07/10/2020)
07/10/2020   277 OPPOSITION to NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                 Jurisdiction for lack of ripeness over questions integral to Realtor's Claim or, in the
                 alternative NOTICE OF MOTION AND MOTION to Stay Case for lack of ripeness over
                 questions integral to Realtor's Claim 272 filed by Plaintiff Island Industries, Inc..
                 (Marmolejo, Matthew) (Entered: 07/10/2020)
07/13/2020   278 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Defendant Sigma
                 Corporation. (Lau, Lucius) (Entered: 07/13/2020)
07/13/2020   279 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Plaintiff Island
                 Industries, Inc.. (Attachments: # 1 Proof of Service)(Marmolejo, Matthew) (Entered:
                 07/13/2020)
07/13/2020   280 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Defendants Neil
                 Reubens, Vandewater International Inc.. (Salzman, Ryan) (Entered: 07/13/2020)
07/13/2020   281 Defendant Smith-Cooper International, Inc.'s Memorandum of Contentions of Fact and
                 Law filed by Defendant Smith Cooper International (Klein, Brian) (Entered: 07/13/2020)
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07/13/2020                            FCA  Docket   261
                                                      Page    37  of 53
               282 Joint Exhibit List (Joint Trial Exhibit List) filed by Plaintiff Island Industries, Inc...
                    (Marmolejo, Matthew) (Entered: 07/13/2020)
07/13/2020      283 Witness List filed by Plaintiff Island Industries, Inc... (Marmolejo, Matthew) (Entered:
                    07/13/2020)
07/13/2020      284 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Defendant Allied
                    Rubber and Gasket Company. (May, Aaron) (Entered: 07/13/2020)
07/13/2020      285 JOINDER in Joint MOTION IN LIMINE (#2) to Exclude Testimony Regarding the Mod
                    Act 221 , Joint MOTION IN LIMINE (#1) to Exclude The Opinion of Plaintiff-Relator's
                    Expert Kelli Thompson 220 , MOTION IN LIMINE (#5) to Exclude Evidence and
                    Argument on the Sprink-let Scope Ruling 216 filed by Defendant Allied Rubber and
                    Gasket Company. (May, Aaron) (Entered: 07/13/2020)
07/17/2020      286 EX PARTE APPLICATION for Leave to file Response to Opposition to Jurisdictional
                    Motion filed by Defendants Neil Reubens, Vandewater International Inc.. (Attachments:
                    # 1 Unredacted Document, # 2 Declaration of R. Salzman, # 3 Proposed Order)
                    (Salzman, Ryan) (Entered: 07/17/2020)
07/17/2020      287 NOTICE of Settlement as to Defendant Allied Rubber and Gasket Company filed by
                    Plaintiff-Relator Island Industries, Inc.. (Marmolejo, Matthew) (Entered: 07/17/2020)
07/20/2020      288 NOTICE OF MOTION AND MOTION to Sever Sigma Corporation filed by Defendant
                    Sigma Corporation. Motion set for hearing on 8/17/2020 at 09:00 AM before Judge R.
                    Gary Klausner. (Attachments: # 1 Proposed Order) (Lau, Lucius) (Entered: 07/20/2020)
07/20/2020      289 ORDER GRANTING Vandewater and Neil Ruebens' Ex Part Application for an Order
                    Granting Leave to File a Response to Plaintiff's Opposition to Defendants' Motion to
                    Dismiss or Stay (Dkt. No. 277) 286 by Judge R. Gary Klausner, the Court hereby
                    GRANTS Defendants' Application and ORDERS that Defendants' Response (Dkt. No.
                    286-1] is to be electronically filed by counsel no later than 7/22/2020. (jp) (Entered:
                    07/20/2020)
07/20/2020      290 RESPONSE filed by Defendant Sigma Corporationto Notice of Settlement 287 (Lau,
                    Lucius) (Entered: 07/20/2020)
07/20/2020      291 RESPONSE TO PLAINTIFF'S OPPOSITION TO MOTION TO DISMISS OR STAY
                    [DKT. 277] re NOTICE OF MOTION AND MOTION to Dismiss for Lack of
                    Jurisdiction for lack of ripeness over questions integral to Realtor's Claim or, in the
                    alternative NOTICE OF MOTION AND MOTION to Stay Case for lack of ripeness over
                    questions integral to Realtor's Claim 272 filed by Defendants Neil Reubens, Vandewater
                    International Inc.. (Salzman, Ryan) (Entered: 07/20/2020)
07/21/2020      292 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                    The Court has reviewed the Notice of Settlement filed on July 17, 2020 287 . The parties
                    are hereby notified that they are not relieved of any deadlines (including the filing of
                    responsive documents, scheduled mediation, etc.) or Court appearances until a dismissal
                    of the action is filed. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                    ENTRY. (sw) TEXT ONLY ENTRY (Entered: 07/21/2020)
07/21/2020      293 (IN CHAMBERS) Scheduling Order by Judge R. Gary Klausner: The Court alters the
                    briefing schedule as follows: Sigma's Motion is calendared for 8/3/2020. Island shall file
                    an Opposition no later than 7/24/2020. On this same date, the remaining Defendants must
                    file either (1) a Joint Opposition, or (2) a Statement of Non-Opposition to Sigma's
                    Motion. Sigma shall file a Reply no later than 7/28/2020. (jp) (Entered: 07/21/2020)
07/21/2020      294 (IN CHAMBERS) Order Re: Motion to Dismiss or Stay for Lack of Ripeness [DE 272 ]
                    by Judge R. Gary Klausner: The Court DENIES Defendants' Ex Parte Application. (SEE
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                               FCA Docket 262
                                            Page  38 of 53
                  CIVIL MINUTES FOR FURTHER SPECIFICS). (jp) (Entered: 07/21/2020)
07/23/2020   295 NOTICE OF LODGING Proposed Pretrial Conference Order Plaintiff Island Industries,
                 Inc.. (Attachments: # 1 [Proposed] Final Pretrial Conference Order)(Marmolejo,
                 Matthew) (Entered: 07/23/2020)
07/24/2020   296 Joint APPLICATION to file document under seal filed by Plaintiff Island Industries, Inc..
                 (Attachments: # 1 Proposed Order Granting Joint Application for Leave to File Under
                 Seal, # 2 Redacted Document Declaration of Aaron M. May, # 3 Redacted Document
                 Exhibit A)(Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020   297 SEALED DECLARATION IN SUPPORT OF Joint APPLICATION to file document
                 under seal 296 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Exhibit A)
                 (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020   298 Joint NOTICE OF MOTION AND MOTION to Dismiss Defendant Allied Rubber and
                 Gasket Company filed by Plaintiff Island Industries, Inc.. Motion set for hearing on
                 8/24/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Proposed
                 Order Dismissing Defendant Allied Rubber And Gasket Company From Action)
                 (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020   299 OPPOSITION to MOTION IN LIMINE (#5) to Exclude Evidence and Argument on the
                 Sprink-let Scope Ruling 216 filed by Plaintiff Island Industries, Inc.. (Marmolejo,
                 Matthew) (Entered: 07/24/2020)
07/24/2020   300 OPPOSITION to NOTICE OF MOTION AND MOTION to Sever Sigma Corporation
                 288 Fed. R. CIV. P. 21 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew)
                 (Entered: 07/24/2020)
07/24/2020   301 OPPOSITION to Joint MOTION IN LIMINE (#2) to Exclude Testimony Regarding the
                 Mod Act 221 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                 07/24/2020)
07/24/2020   302 OPPOSITION to MOTION IN LIMINE (2) to Exclude Certain Import Values 233 filed
                 by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020   303 OPPOSITION to MOTION IN LIMINE (#3) to Exclude Speculation Regarding Lloyd
                 Perkins 223 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                 07/24/2020)
07/24/2020   304 OPPOSITION to MOTION IN LIMINE (#4) to Exclude The Term "Confidential Source"
                 224 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                 07/24/2020)
07/24/2020   305 OPPOSITION to MOTION IN LIMINE 1 to Exclude Financial Condition & Related
                 Information 232 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                 07/24/2020)
07/24/2020   306 OPPOSITION to MOTION IN LIMINE (#4) to Exclude Evidence on Professional
                 Broker Employment 215 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew)
                 (Entered: 07/24/2020)
07/24/2020   307 OPPOSITION to Third MOTION IN LIMINE (#3) to Exclude Evidence on "Double
                 Invoicing" 214 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                 07/24/2020)
07/24/2020   308 OPPOSITION to Joint MOTION IN LIMINE (#1) to Exclude The Opinion of Plaintiff-
                 Relator's Expert Kelli Thompson 220 filed by Plaintiff Island Industries, Inc..
                 (Marmolejo, Matthew) (Entered: 07/24/2020)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed Document
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07/24/2020                           FCA  Docket   263
                                                     Page   39 of 53
               309 OPPOSITION to MOTION IN LIMINE (#6) to Exclude Evidence Contrary to the
                    Court's Summary Judgment Order as to Falsity 271 filed by Defendant Sigma
                    Corporation. (Lau, Lucius) (Entered: 07/24/2020)
07/24/2020     310 EX PARTE APPLICATION to Continue Trial from August 18, 2020 filed by Defendant
                   Smith Cooper International. (Attachments: # 1 Declaration of Neil MacBride, # 2
                   [PROPOSED] Order re Defendants' ExParte Application) (Klein, Brian) (Entered:
                   07/24/2020)
07/24/2020     311 MEMORANDUM in Opposition to MOTION IN LIMINE (#2) to Exclude Argument
                   Regarding Objective Reasonableness 228 Defendants' Joint Memorandum in Opposition
                   to Plaintiff's Motion in Limine No. 2 to Exclude Argument Regarding Objective
                   Reasonableness filed by Defendant Smith Cooper International. (Klein, Brian) (Entered:
                   07/24/2020)
07/24/2020     312 NOTICE OF NON-OPPOSITION to NOTICE OF MOTION AND MOTION to Sever
                   Sigma Corporation 288 Defendant Smith-Cooper International, Inc's Statement of Non-
                   Opposition to Defendant Sigma Corporation's Motion to Sever Trial filed by Defendant
                   Smith Cooper International. (Klein, Brian) (Entered: 07/24/2020)
07/24/2020     313 OPPOSITION to Second MOTION IN LIMINE (#2) to Exclude Evidence of Sigma
                   Corporation's Subsequent Remedial Measures 213 filed by Plaintiff Island Industries,
                   Inc.. (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020     314 DECLARATION of Matthew H. Marmolejo re Response in Opposition to Motion 313
                   (Declaration of Matthew H. Marmolejo in Support of Island's Opposition to Sigma's
                   Motion in Limine No 2 [ECF #213]) filed by Plaintiff Island Industries, Inc..
                   (Attachments: # 1 Exhibit A)(Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020     315 OPPOSITION to First MOTION IN LIMINE (#1) to Exclude Evidence Relating to
                   Sigma Corporation's Total Net Worth and Total Importations 212 filed by Plaintiff Island
                   Industries, Inc.. (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020     316 OPPOSITION to MOTION IN LIMINE (#5) to Exclude Immaterial Matters,
                   Inflammatory Character Evidence, and Previous Acts 225 filed by Plaintiff Island
                   Industries, Inc.. (Marmolejo, Matthew) (Entered: 07/24/2020)
07/24/2020     317 DECLARATION of Matthew H. Marmolejo re Response in Opposition to Motion 316
                   (Declaration of Matthew H. Marmolejo in Support of Island's Opposition to Vandewater
                   and Neil Ruebens' Motion in Limine No. 5 [ECF#225]) filed by Plaintiff Island
                   Industries, Inc.. (Attachments: # 1 Exhibit A)(Marmolejo, Matthew) (Entered:
                   07/24/2020)
07/24/2020     318 OPPOSITION to MOTION IN LIMINE (#1) to Exclude Report and Testimony of Walter
                   Sperko 227 filed by Defendants Allied Rubber and Gasket Company, Neil Reubens,
                   Sigma Corporation, Smith Cooper International, Vandewater International Inc.. (Attorney
                   Ryan Matthew Salzman added to party Allied Rubber and Gasket Company(pty:dft),
                   Attorney Ryan Matthew Salzman added to party Sigma Corporation(pty:dft))(Salzman,
                   Ryan) (Entered: 07/24/2020)
07/24/2020     319 OPPOSITION to MOTION IN LIMINE (#3) to Exclude Evidence that the Government
                   has not Intervened 229 filed by Defendants Allied Rubber and Gasket Company, Neil
                   Reubens, Sigma Corporation, Smith Cooper International, Vandewater International Inc..
                   (Salzman, Ryan) (Entered: 07/24/2020)
07/24/2020     320 OPPOSITION to MOTION IN LIMINE (#4) to Preclude References to Recoveries
                   Under the False Claims Act 230 filed by Defendants Allied Rubber and Gasket Company,
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     Case2:22-cv-02436-JPM-cgc
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                                                   Page   40 of 53
                  Neil Reubens, Sigma Corporation, Smith Cooper International, Vandewater International
                  Inc.. (Salzman, Ryan) (Entered: 07/24/2020)
07/24/2020    321 OPPOSITION to MOTION IN LIMINE (#5) to Exclude Evidence of Inability to Satisfy
                  Judgment 231 filed by Defendants Neil Reubens, Vandewater International Inc..
                  (Salzman, Ryan) (Entered: 07/24/2020)
07/24/2020    322 DECLARATION of Ryan M. Salzman in Opposition to MOTION IN LIMINE (#3) to
                  Exclude Evidence that the Government has not Intervened 229 , MOTION IN LIMINE
                  (#1) to Exclude Report and Testimony of Walter Sperko 227 , MOTION IN LIMINE (#4)
                  to Preclude References to Recoveries Under the False Claims Act 230 filed by
                  Defendants Allied Rubber and Gasket Company, Neil Reubens, Sigma Corporation,
                  Smith Cooper International, Vandewater International Inc.. (Attachments: # 1 Exhibit No.
                  1 - Sperko Transcript, # 2 Exhibit No. 2 - Proposed Jury Instructions, # 3 Exhibit No. 3 -
                  Thompson Transcript, # 4 Exhibit No. 4 - CBP Survey Audit Program)(Salzman, Ryan)
                  (Entered: 07/24/2020)
07/24/2020    323 NOTICE OF NON-OPPOSITION to NOTICE OF MOTION AND MOTION to Sever
                  Sigma Corporation 288 filed by Defendants Neil Reubens, Vandewater International Inc..
                  (Salzman, Ryan) (Entered: 07/24/2020)
07/24/2020    324 NOTICE OF NON-OPPOSITION to NOTICE OF MOTION AND MOTION to Sever
                  Sigma Corporation 288 filed by Defendant Allied Rubber and Gasket Company. (May,
                  Aaron) (Entered: 07/24/2020)
07/27/2020    325 STATEMENT of Response to EX PARTE APPLICATION to Continue Trial from August
                  18, 2020 310 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                  07/27/2020)
07/27/2020    326 Proposed Voir Dire Questions filed by Defendant Sigma Corporation.. (Lau, Lucius)
                  (Entered: 07/27/2020)
07/27/2020    327 Proposed Voir Dire Questions filed by Plaintiff-Relator Island Industries, Inc...
                  (Marmolejo, Matthew) (Entered: 07/27/2020)
07/28/2020    328 REPLY in Support of NOTICE OF MOTION AND MOTION to Sever Sigma
                  Corporation 288 filed by Defendant Sigma Corporation. (Lau, Lucius) (Entered:
                  07/28/2020)
07/28/2020    329 (IN CHAMBERS) Order Re: Joint Motion to Dismiss Defendant Allied Rubber and
                  Gasket Company [DE 298 ] by Judge R. Gary Klausner: The Court DENIES the Motion
                  without prejudice. Should the parties re-file their Motion, they must lodge a copy of the
                  United States' written consent with the Court. (See Civil Minutes for further specifics).
                  (jp) (Entered: 07/28/2020)
07/28/2020    330 NOTICE of Appearance filed by attorney Micah G Block on behalf of Defendant Smith
                  Cooper International (Attorney Micah G Block added to party Smith Cooper
                  International(pty:dft))(Block, Micah) (Entered: 07/28/2020)
07/28/2020    331 EX PARTE APPLICATION for Order for to Conduct the August 3, 2020 Pretrial
                  Conference Telephonically or by Videoconference, or, in the Alternative, to Allow
                  Defense Counsel to Appear Remotely filed by Defendants Neil Reubens, Sigma
                  Corporation, Smith Cooper International, Vandewater International Inc.. (Attachments: #
                  1 Declaration of Neil MacBride in Support of Defendants' Ex Parte Application, # 2
                  Proposed Order Granting Defendants' Ex Parte Application) (Klein, Brian) (Entered:
                  07/28/2020)
07/29/2020    332 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                  Because of the unavailability of jurors during this pandemic, the Court will only be able
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                                                      Page   41 of 53
                  to conduct bench trials at this time. Consequently, the Pretrial Conference is continued to
                  January 25, 2021 at 9:00 a.m., and the Jury Trial is continued to February 9, 2021 at 9:00
                  a.m. If the parties wish to proceed with a bench trial on the current trial date of August
                  18, 2020, a stipulation to waive jury should be filed no later than August 6, 2020. THERE
                  IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY
                  ENTRY (Entered: 07/29/2020)
07/29/2020    333 RESPONSE IN SUPPORT Motion to Dismiss Defendant ARGCO filed by Plaintiff
                  United States of America. (Hinson, Zoila) (Entered: 07/29/2020)
07/29/2020    334 Renewed NOTICE OF MOTION AND MOTION to Dismiss Defendant Allied Rubber
                  and Gasket Company filed by Plaintiff-Relator Island Industries, Inc.. Motion set for
                  hearing on 8/31/2020 at 09:00 AM before Judge R. Gary Klausner. (Attachments: # 1
                  United States' Consent, # 2 Proposed Order) (Marmolejo, Matthew) (Entered:
                  07/29/2020)
07/30/2020    335 ORDER GRANTING Joint Application for Leave to File Under Seal 296 by Judge R.
                  Gary Klausner. See Order for further specifics. (jp) (Entered: 07/30/2020)
07/30/2020    336 SEALED DOCUMENT Confidential Settlement Agreement re Renewed NOTICE OF
                  MOTION AND MOTION to Dismiss Defendant Allied Rubber and Gasket Company
                  334 , Order on Motion for Leave to File Document Under Seal 335 filed by Plaintiff
                  Island Industries, Inc..(Marmolejo, Matthew) (Entered: 07/30/2020)
08/03/2020    337 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                  Defendant Sigma Corporation's Motion to Sever 288 , has been taken under submission
                  by the Court. The Court will issue a determination after review and consideration of all
                  properly submitted pleadings. THERE IS NO PDF DOCUMENT ASSOCIATED WITH
                  THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 08/03/2020)
08/05/2020    338 ORDER Dismissing Defendant Allied Rubber and Gasket Company from Action 334 by
                  Judge R. Gary Klausner. (See Order for Further Specifics). (jp) (Entered: 08/05/2020)
08/05/2020    339 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner re EX PARTE
                  APPLICATION for Trial Continuance or, in the Alternative, a Telephonic Status
                  conference With All Parties and the Court 310 . DENIED AS MOOT. (jp) (Entered:
                  08/05/2020)
08/05/2020    340 DENIED BY ORDER OF THE COURT by Judge R. Gary Klausner re Joint Ex Parte
                  Application to Conduct the August 3, 2020 Pretrial Conference Telephonically or by
                  Videoconference, or, in the Alternative, to Allow Defense Counsel to Appear Remotely
                  331 . DENIED AS MOOT. (jp) (Entered: 08/05/2020)
08/17/2020    341 SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary Klausner.
                  The Joint Motion to Dismiss Defendant Allied Rubber and Gasket Company 298 ,
                  calendared for hearing on August 24, 2020 has been taken under submission and off the
                  motion calendar. No appearances by counsel are necessary. The Court will issue a ruling
                  after full consideration of properly submitted pleadings. THERE IS NO PDF
                  DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
                  (Entered: 08/17/2020)
08/17/2020    342 Text Only Entry: The Text Only Scheduling Notice 341 was issued in error. Allied
                  Rubber and Gasket Company has been dismissed from this action. THERE IS NO PDF
                  DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
                  (Entered: 08/17/2020)
09/01/2020    343 (IN CHAMBERS) Order Re: Motion to Sever Sigma [DE 288 ] by Judge R. Gary
                  Klausner: The Court DENIES Sigma's Motion without prejudice. The Court will be in a
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                                                     Page   42 of 53
                  better position to determine the merits of Sigma's Motion closer to the trial date. (SEE
                  CIVIL MINUTES FOR FURTHER SPECIFICS). (jp) (Entered: 09/02/2020)
10/28/2020    344 Notice of Appearance or Withdrawal of Counsel: for attorney Alexus B Payton counsel
                  for Plaintiff Island Industries, Inc.. Alexus B. Payton is no longer counsel of record for
                  the aforementioned party in this case for the reason indicated in the G-123 Notice. Filed
                  by Plaintiff-Relator Island Industries, Inc.. (Payton, Alexus) (Entered: 10/28/2020)
11/09/2020    345 NOTICE OF MOTION AND MOTION for Reconsideration re Order on Motion to
                  Dismiss/Lack of Jurisdiction, Order on Motion to Stay Case 294 , Order on Motion for
                  Summary Judgment,,, 270 filed by Defendants Neil Reubens, Vandewater International
                  Inc.. Motion set for hearing on 12/7/2020 at 09:00 AM before Judge R. Gary Klausner.
                  (Attachments: # 1 Memorandum, # 2 Declaration, # 3 Proposed Order) (Salzman, Ryan)
                  (Entered: 11/09/2020)
11/16/2020    346 OPPOSITION to NOTICE OF MOTION AND MOTION for Reconsideration re Order
                  on Motion to Dismiss/Lack of Jurisdiction, Order on Motion to Stay Case 294 , Order on
                  Motion for Summary Judgment,,, 270 345 filed by Plaintiff Island Industries, Inc..
                  (Attachments: # 1 Request for Judicial Notice, # 2 Exhibit A to Request for Judicial
                  Notice)(Hendy, Christopher) (Entered: 11/16/2020)
11/20/2020    347 JOINDER in NOTICE OF MOTION AND MOTION for Reconsideration re Order on
                  Motion to Dismiss/Lack of Jurisdiction, Order on Motion to Stay Case 294 , Order on
                  Motion for Summary Judgment,,, 270 345 filed by Defendant Sigma Corporation. (Lau,
                  Lucius) (Entered: 11/20/2020)
11/23/2020    348 REPLY in Support of NOTICE OF MOTION AND MOTION for Reconsideration re
                  Order on Motion to Dismiss/Lack of Jurisdiction, Order on Motion to Stay Case 294 ,
                  Order on Motion for Summary Judgment,,, 270 345 filed by Defendants Neil Reubens,
                  Vandewater International Inc.. (Salzman, Ryan) (Entered: 11/23/2020)
12/04/2020    349 SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Judge
                  R. Gary Klausner: The Motion for Reconsideration by Vandewater Defendants 345 ,
                  calendared for hearing on December 7, 2020, has been taken under submission and off
                  the motion calendar. No appearances by counsel are necessary. The Court will issue a
                  ruling after full consideration of properly submitted pleadings. THERE IS NO PDF
                  DOCUMENT ASSOCIATED WITH THIS ENTRY. (jre) TEXT ONLY ENTRY
                  (Entered: 12/04/2020)
12/04/2020    350 NOTICE OF MOTION AND MOTION to Sever Sigma Corporation filed by Defendant
                  Sigma Corporation. Motion set for hearing on 1/4/2021 at 09:00 AM before Judge R.
                  Gary Klausner. (Attachments: # 1 Proposed Order) (Lau, Lucius) (Entered: 12/04/2020)
12/14/2020    351 OPPOSITION to NOTICE OF MOTION AND MOTION to Sever Sigma Corporation
                  350 filed by Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered:
                  12/14/2020)
12/14/2020    352 (IN CHAMBERS) Order Re: Defendants Ruebens and Vandewater's Motion for
                  Reconsideration [DE 345 ] by Judge R. Gary Klausner: The Court DENIES Defendants
                  Vandewater's and Reuben's Motion. (SEE CIVIL MINUTES FOR FURTHER
                  SPECIFICS). (jp) (Entered: 12/15/2020)
12/18/2020    353 Joint REQUEST to Stay Case pending DOC's issuance of a final scope ruling by March
                  1, 2021 filed by Plaintiff-Relator Island Industries, Inc.. (Attachments: # 1 Proposed
                  Order) (Marmolejo, Matthew) (Entered: 12/18/2020)
12/21/2020    354 REPLY In Support Of NOTICE OF MOTION AND MOTION to Sever Sigma
                  Corporation 350 filed by Defendant Sigma Corporation. (Lau, Lucius) (Entered:
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                  12/21/2020)  FCA Docket 267
                                            Page  43 of 53

12/30/2020   355 (IN CHAMBERS) SCHEDULING NOTICE TO ALL PARTIES AND ORDER by Judge
                 R. Gary Klausner. The Motion to Sever Sigma Corporation 350 , calendared for hearing
                 on January 4, 2021 has been taken under submission and off the motion calendar. No
                 appearances by counsel are necessary. The Court will issue a ruling after full
                 consideration of properly submitted pleadings. THERE IS NO PDF DOCUMENT
                 ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 12/30/2020)
01/04/2021   356 Joint Trial Exhibit List filed by Plaintiff Island Industries, Inc., United States of America..
                 (Marmolejo, Matthew) (Entered: 01/04/2021)
01/04/2021   357 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Defendant Sigma
                 Corporation. (Lau, Lucius) (Entered: 01/04/2021)
01/05/2021   358 ORDER by Judge R. Gary Klausner. This Court, having considered the Parties' joint
                 request to stay this case until March 1, 2021 (Dkt. 353 ) hereby ORDERS as follows:
                 Trial is continued to May 18, 2021 at 9:00 a.m. The Pretrial Conference is continued to
                 May 3, 2021 at 9:00 a.m. 2. The parties are ordered to file the Department of Commerce's
                 final scope ruling with this Court within five business days of its issuance. If Commerce
                 does not issue its scope ruling by March 1, 2021, the parties are directed to submit a
                 status report by March 5, 2021. (lom) (Entered: 01/06/2021)
01/19/2021   359 (IN CHAMBERS) Order Re: Motion to Sever Signma [DE 350 ] by Judge R. Gary
                 Klausner: The Court GRANTS Sigma's Motion. (See Civil Minutes for further specifics).
                 (jp) (Entered: 01/19/2021)
01/25/2021   360 NOTICE of Change of Attorney Business or Contact Information: for attorney Brian E
                 Klein counsel for Defendant Smith Cooper International. Changing firm name to
                 Waymaker LLP. Changing e-mail to bklein@waymakerlaw.com. Filed by Defendant
                 Smith Cooper International. (Klein, Brian) (Entered: 01/25/2021)
02/24/2021   361 (IN CHAMBERS) NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary
                 Klausner. Due to the unavailability of jurors during this pandemic, the Pretrial
                 Conference is continued to August 2, 2021 at 9:00 a.m., and the Jury Trial is continued to
                 August 17, 2021 at 9:00 a.m. Because of the need to continue the trial and the uncertainty
                 of when the Court will resume jury trials, the Court strongly recommends that the parties
                 participate in a further, meaningful mediation.THERE IS NO PDF DOCUMENT
                 ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 02/24/2021)
03/04/2021   362 JOINT REPORT of Parties re Department of Commerce Proceedings filed by Plaintiff
                 Island Industries, Inc.. (Attachments: # 1 Exhibit A)(Marmolejo, Matthew) (Entered:
                 03/04/2021)
03/05/2021   363 (IN CHAMBERS) Order Re: Joint Status Report by Judge R. Gary Klausner: In light of
                 the joint status report filed on 3/5/2021, (ECF No. 362 ), the Court orders the parties to
                 file the Department of Commerce's final scope ruling within five business days of its
                 issuance. If Commerce does not issue its ruling by 4/15/2021, the parties are directed to
                 submit a status report by 4/20/2021. (jp) (Entered: 03/05/2021)
03/29/2021   364 Joint APPLICATION to file document Confidential Settlement Agreement under seal
                 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Proposed Order)(Marmolejo,
                 Matthew) (Entered: 03/29/2021)
03/29/2021   365 SEALED DECLARATION IN SUPPORT OF Joint APPLICATION to file document
                 Confidential Settlement Agreement under seal 364 filed by Plaintiff Island Industries,
                 Inc.. (Attachments: # 1 Sealed Settlement Agreement)(Marmolejo, Matthew) (Entered:
                 03/29/2021)
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03/29/2021                            FCA  Docket  268 Page  44  of 53
               366 Joint NOTICE OF MOTION AND MOTION to Dismiss Defendant Smith Cooper
                    International By Confidential Settlement filed by Plaintiff-Relator Island Industries, Inc..
                    Motion set for hearing on 4/26/2021 at 09:00 AM before Judge R. Gary Klausner.
                    (Attachments: # 1 Proposed Order) (Marmolejo, Matthew) (Entered: 03/29/2021)
03/31/2021      367 RESPONSE IN SUPPORT of Joint NOTICE OF MOTION AND MOTION to Dismiss
                    Defendant Smith Cooper International By Confidential Settlement 366 Consent to
                    Dismissal of Smith Cooper International filed by Plaintiff United States of America.
                    (Chorpening, Jennifer) (Entered: 03/31/2021)
04/01/2021      368 ORDER by Judge R. Gary Klausner GRANTING Joint Application for Leave to File
                    Under Seal 364 . (See Order for further specifics). (jp) (Entered: 04/01/2021)
04/02/2021      369 AMENDED PROPOSED ORDER re Joint NOTICE OF MOTION AND MOTION to
                    Dismiss Defendant Smith Cooper International By Confidential Settlement 366 filed by
                    Plaintiff Island Industries, Inc.. (Marmolejo, Matthew) (Entered: 04/02/2021)
04/05/2021      370 ORDER DISMISSING DEFENDANT SMITH COOPER INTERNATIONAL, INC 366
                    by Judge R. Gary Klausner, the Court hereby ORDERS as follows:(1) As to Relator
                    Island Industries, Inc., the claims against Smith Cooper International, Inc., are dismissed
                    in their entirety with prejudice. (See Order for further specifics). (jp) (Entered:
                    04/06/2021)
04/16/2021      371 SECOND JOINT REPORT of Parties re Department of Commerce Proceedings filed by
                    Plaintiff Island Industries, Inc.. (Attachments: # 1 Exhibit)(Marmolejo, Matthew)
                    (Entered: 04/16/2021)
04/21/2021      372 NOTICE of Commerce's Draft Results of Redetermination filed by Plaintiff-Relator
                    Island Industries, Inc.. (Attachments: # 1 Commerce's Draft Results of Redetermination)
                    (Marmolejo, Matthew) (Entered: 04/21/2021)
04/29/2021      373 Vandewater Defendants' Suggestion of Bankruptcy (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Salzman, Ryan) (Entered: 04/29/2021)
04/30/2021      374 ORDER STAYING CASE AS TO DEFENDANTS VANDEWATER INTERNATONAL,
                    INC. AND NEIL REUBENS ONLY. All dates and/or deadlines as to all other parties
                    remain 373 by Judge R. Gary Klausner (lc) Modified on 4/30/2021 (lc). (Entered:
                    04/30/2021)
05/14/2021      375 Notice of Appearance or Withdrawal of Counsel: for attorney Lucius B Lau counsel for
                    Defendant Sigma Corporation. Sadie G. Pulliam is no longer counsel of record for the
                    aforementioned party in this case for the reason indicated in the G-123 Notice. Filed by
                    Defendant Sigma Corporation. (Lau, Lucius) (Entered: 05/14/2021)
06/12/2021      376 THIRD JOINT REPORT of Parties re Department of Commerce Proceedings filed by
                    Plaintiff Island Industries, Inc.. (Attachments: # 1 Letter)(Marmolejo, Matthew) (Entered:
                    06/12/2021)
07/02/2021      377 NOTICE OF MOTION AND Seventh MOTION IN LIMINE (#7) to Exclude Evidence
                    of Sigma Corp.'s Alleged Routine Practice (Fed. R. Evid. 406) filed by Plaintiff-Relator
                    Island Industries, Inc.. Motion set for hearing on 8/17/2021 at 09:00 AM before Judge R.
                    Gary Klausner. (Attachments: # 1 Declaration, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                    C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Proposed Order)(Marmolejo, Matthew)
                    (Entered: 07/02/2021)
07/08/2021      378 FOURTH JOINT REPORT of Department of Commerce Proceedings filed by Plaintiff
                    Island Industries, Inc.. (Attachments: # 1 Letter)(Marmolejo, Matthew) (Entered:
                    07/08/2021)
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       Case2:22-cv-02436-JPM-cgc
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07/12/2021                           FCA  Docket   269
                                                     Page   45 of 53
               379 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Defendant Sigma
                    Corporation. (Lau, Lucius) (Entered: 07/12/2021)
07/12/2021    380 Witness List filed by Relator Island Industries, Inc... (Marmolejo, Matthew) (Entered:
                  07/12/2021)
07/12/2021    381 PLAINTIFF-RELATOR ISLAND INDUSTRIES, INC.S MEMORANDUM OF
                  CONTENTIONS OF FACT AND LAW BRIEF filed by Relator Island Industries, Inc..
                  (Marmolejo, Matthew) (Entered: 07/12/2021)
07/12/2021    382 Joint Trial Exhibit List filed by Relator Island Industries, Inc... (Marmolejo, Matthew)
                  (Entered: 07/12/2021)
07/16/2021    383 Notice of Appearance or Withdrawal of Counsel: for attorney Mark E Gustafson counsel
                  for Defendant Sigma Corporation. Adding Mark E. Gustafson as counsel of record for
                  Sigma Corporation for the reason indicated in the G-123 Notice. Filed by Defendant
                  Sigma Corporation. (Attorney Mark E Gustafson added to party Sigma
                  Corporation(pty:dft))(Gustafson, Mark) (Entered: 07/16/2021)
07/20/2021    384 APPLICATION of Non-Resident Attorney Christopher M. Curran to Appear Pro Hac
                  Vice on behalf of Defendant Sigma Corporation (Pro Hac Vice Fee - $500 Fee Paid,
                  Receipt No. ACACDC-31662366) filed by Defendant Sigma Corporation. (Attachments:
                  # 1 Proposed Order) (Gustafson, Mark) (Entered: 07/20/2021)
07/22/2021    385 NOTICE OF LODGING Proposed Pretrial Conference Order Plaintiff Island Industries,
                  Inc.. (Attachments: # 1 Pretrial Conference Order)(Marmolejo, Matthew) (Entered:
                  07/22/2021)
07/23/2021    386 OPPOSITION to Seventh MOTION IN LIMINE (#7) to Exclude Evidence of Sigma
                  Corp.'s Alleged Routine Practice (Fed. R. Evid. 406) 377 filed by Defendant Sigma
                  Corporation. (Attachments: # 1 Declaration of Shannon Lane, # 2 Exhibit A -
                  Bhattacharji Deposition, # 3 Exhibit B - Rona Deposition, # 4 Exhibit C - Velazquez
                  Deposition)(Lau, Lucius) (Entered: 07/23/2021)
07/26/2021    387 ORDER by Judge R. Gary Klausner granting 384 Non-Resident Attorney Christopher M
                  Curran APPLICATION to Appear Pro Hac Vice on behalf of Defendant Sigma
                  Corporation, designating Mark E Gustafson as local counsel. (jp) (Entered: 07/26/2021)
07/26/2021    388 Proposed Voir Dire Questions filed by Defendant Sigma Corporation.. (Lau, Lucius)
                  (Entered: 07/26/2021)
07/27/2021    389 (IN CHAMBERS) NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary
                  Klausner. The Pretrial Conference remains on calendar for August 2, 2021, however, the
                  time of the hearing is CONTINUED TO 10:00 a.m.THERE IS NO PDF DOCUMENT
                  ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 07/27/2021)
07/27/2021    390 (IN CHAMBERS) NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary
                  Klausner. On July 8, 2021, the parties filed a joint status report notifying the Court that
                  the Department of Commerce would "complete the scope inquiry and file the remand
                  results with the Court of International Trade" by July 14, 2021. (ECF No. 378). As it has
                  now been almost two weeks since that purported deadline, the Court orders the parties to
                  file another joint status report regarding the current status of the scope inquiry within two
                  days of this Order's issuance. THERE IS NO PDF DOCUMENT ASSOCIATED WITH
                  THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 07/27/2021)
07/27/2021    391 FIFTH JOINT REPORT REPORT of Parties re Department of Commerce Proceedings
                  filed by Plaintiff Island Industries, Inc.. (Attachments: # 1 Exhibit 1)(Marmolejo,
                  Matthew) (Entered: 07/27/2021)
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07/28/2021                           FCA   Docket  270Page    46 of 53
               392 EX PARTE APPLICATION for Summary Judgment Based on the July 23, 2021 Dep't of
                    Commerce Ruling filed by Defendant Sigma Corporation. (Attachments: # 1 Statement of
                    Uncontested Facts, # 2 Declaration of Lucius B. Lau, # 3 Request for Judicial Notice, # 4
                    Exhibit A, # 5 Exhibit B, # 6 Exhibit C, # 7 Proposed Order) (Lau, Lucius) (Entered:
                    07/28/2021)
07/28/2021     393 Narrative Statement of Expert Witness Qualifications and Expected Testimony Pursuant
                   to the Court's Order for Jury Trial [Dkt. 136] WITNESS TESTIMONY SUMMARIES
                   filed by Defendant Sigma Corporation. (Lau, Lucius) (Entered: 07/28/2021)
07/28/2021     394 Island's Expert Narrative per Court Order for Jury Trial (Dkt. 136) WITNESS
                   TESTIMONY SUMMARIES filed by Plaintiff-Relator Island Industries, Inc..
                   (Marmolejo, Matthew) (Entered: 07/28/2021)
07/29/2021     395 OPPOSITION to EX PARTE APPLICATION for Summary Judgment Based on the July
                   23, 2021 Dep't of Commerce Ruling 392 filed by Plaintiff Island Industries, Inc..
                   (Attachments: # 1 Response to Sigma's Second SSUF)(Marmolejo, Matthew) (Entered:
                   07/29/2021)
08/01/2021     396 PROPOSED JURY INSTRUCTIONS (Joint Annotated set) filed by Defendant Sigma
                   Corporation.. (Lau, Lucius) (Entered: 08/01/2021)
08/01/2021     397 PROPOSED JURY INSTRUCTIONS (Disputed Annotated set) filed by Defendant
                   Sigma Corporation.. (Lau, Lucius) (Entered: 08/01/2021)
08/01/2021     398 PROPOSED JURY INSTRUCTIONS (Disputed Annotated set) filed by Plaintiff-Relator
                   Island Industries, Inc... (Marmolejo, Matthew) (Entered: 08/01/2021)
08/02/2021     399 MINUTES OF PRETRIAL CONFERENCE before Judge R. Gary Klausner: The Court
                   gives tentative rulings on motions in limine. Counsel shall submit a joint statement of the
                   case, not to exceed one paragraph, to be read to the jury. Each day of trial, counsel shall
                   provide the court with a list of witnesses to be called, in order that they will be called.
                   Court and counsel confer re voir dire, jury impanelment and court hours. The parties are
                   ordered to attend a further settlement conference before 8/17/2021. The Court informs the
                   parties that it intends to impose time limits of 4 to 5 hours per side. Court Reporter:
                   Sherri Kleeger. (jp) (Entered: 08/04/2021)
08/06/2021     400 NOTICE filed by Defendant Sigma Corporation. Lodging Designated Deposition
                   Transcripts Pursuant to L.R. 32-1 (Attachments: # 1 Index of Deposition Designations, #
                   2 Exhibit A - Clark Deposition, # 3 Exhibit B - Minamyer Deposition, # 4 Exhibit C -
                   Paquette Deposition)(Lau, Lucius) (Entered: 08/06/2021)
08/10/2021     401 TRIAL BRIEF filed by Defendant Sigma Corporation.. (Lau, Lucius) (Entered:
                   08/10/2021)
08/10/2021     402 STATEMENT of the Case filed by Plaintiff Island Industries, Inc. (Joint) (Marmolejo,
                   Matthew) (Entered: 08/10/2021)
08/10/2021     403 PROPOSED SPECIAL JURY VERDICT filed by Defendant Sigma Corporation. (Lau,
                   Lucius) (Entered: 08/10/2021)
08/10/2021     404 TRIAL BRIEF filed by Plaintiff-Relator Island Industries, Inc... (Attachments: # 1
                   Exhibit A, # 2 Exhibit B)(Marmolejo, Matthew) (Entered: 08/10/2021)
08/11/2021     405 Notice of Appearance or Withdrawal of Counsel: for attorney Maria Celeste Lattanzi
                   counsel for Defendant Sigma Corporation. Adding Maria C. Lattanzi as counsel of record
                   for Sigma Corporation for the reason indicated in the G-123 Notice. Filed by Defendant
                   Sigma Corporation. (Attorney Maria Celeste Lattanzi added to party Sigma
                   Corporation(pty:dft))(Lattanzi, Maria) (Entered: 08/11/2021)
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       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed  Document
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                                      FCA Docket 271Page 47 of 53
08/13/2021     406 (IN CHAMBERS) NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary
                    Klausner. Due to an ongoing criminal jury trial and the Court's calendar, the jury trial in
                    this action is HEREBY CONTINUED TO 9/28/2021 at 9:00 am. THERE IS NO PDF
                    DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
                    (Entered: 08/13/2021)
08/13/2021      407 NOTICE of Lodging of Deposition Transcripts filed by Plaintiff Island Industries, Inc..
                    (Marmolejo, Matthew) (Entered: 08/13/2021)
08/30/2021      408 Notice of Appearance or Withdrawal of Counsel: for attorney Lucius B Lau counsel for
                    Defendant Sigma Corporation. James P. Gagen is no longer counsel of record for the
                    aforementioned party in this case for the reason indicated in the G-123 Notice. Filed by
                    Defendant Sigma Corporation. (Lau, Lucius) (Entered: 08/30/2021)
09/08/2021      409 (IN CHAMBERS) Order Re: Ex Parte Application for Summary Judgment [DE 392 ] by
                    Judge R. Gary Klausner: The Court DENIES Sigma's Ex Parte Application. (See Civil
                    Minutes for further specifics). (jp) (Entered: 09/08/2021)
09/20/2021      410 APPLICATION of Non-Resident Attorney Christina Brayton-Lewis to Appear Pro Hac
                    Vice on behalf of Defendant Sigma Corporation (Pro Hac Vice Fee - $500 Fee Paid,
                    Receipt No. CCACDC-32011024) filed by Defendant Sigma Corporation. (Attachments:
                    # 1 Proposed Order) (Gustafson, Mark) (Entered: 09/20/2021)
09/23/2021      411 TRANSCRIPT ORDER as to Defendant Sigma Corporation for Court Reporter. Court
                    will contact Shannon Lane at shannon.lane@whitecase.com with further instructions
                    regarding this order. Transcript preparation will not begin until payment has been
                    satisfied with the court reporter. (Lau, Lucius) (Entered: 09/23/2021)
09/23/2021      412 ORDER by Judge R. Gary Klausner granting 410 Non-Resident Attorney Cristina
                    Brayton-Lewis APPLICATION to Appear Pro Hac Vice on behalf of Defendant Sigma
                    Corporation, designating Mark E Gustafson as local counsel. (jp) (Entered: 09/24/2021)
09/24/2021      413 TRANSCRIPT ORDER as to Relator Island Industries, Inc. for Court Reporter. Court
                    will contact Jenny Lee at jlee8@mayerbrown.com with further instructions regarding this
                    order. Transcript preparation will not begin until payment has been satisfied with the
                    court reporter. (Hendy, Christopher) (Entered: 09/24/2021)
09/28/2021      414 AMENDED JOINT Exhibit List filed by plaintiff-relator Island Industries, Inc... (Hendy,
                    Christopher) (Entered: 09/28/2021)
09/28/2021      415 (IN CHAMBERS) NOTICE TO ALL PARTIES AND ORDER by Judge R. Gary
                    Klausner. Due to a criminal jury trial, the jury trial in this matter is HEREBY
                    CONTINUED to 10/5/2021 at 9:00 am. THERE IS NO PDF DOCUMENT
                    ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY (Entered: 09/28/2021)
09/30/2021      416 NOTICE of Objections and Counter-Designations filed by Plaintiff-Relator Island
                    Industries, Inc.. re Sigma's Index of Deposition Designations (ECF #400) (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Hendy, Christopher) (Entered: 09/30/2021)
10/05/2021      417 MINUTES OF Jury Trial - 1st Day Held and Continued before Judge R. Gary Klausner:
                    Jury impaneled and sworn. Opening statements made. Witnesses called, sworn and
                    testified. Exhibits identified and admitted. Case continued to 10/6/2021 at 8:30 AM., for
                    further trial/further jury deliberation. Court Reporter: Sherri Kleeger. (jp) (Entered:
                    10/05/2021)
10/06/2021      418 NOTICE OF MOTION AND MOTION for Judgment as a Matter of Law filed by
                    Defendant Sigma Corporation. Motion set for hearing on 10/7/2021 at 08:30 AM before
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     Case2:22-cv-02436-JPM-cgc
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                                  FCA  Docket   272
                                                  Page   48 of 53
                  Judge R. Gary Klausner. (Attachments: # 1 Proposed Order) (Lau, Lucius) (Entered:
                  10/06/2021)
10/06/2021    419 MINUTES OF Jury Trial - 2nd Day Held and Continued before Judge R. Gary Klausner:
                  Witnesses called, sworn and testified. Exhibits identified and admitted. Case continued to
                  10/7/2021 at 08:30 AM. Defense Rule 50 (a) Motion for Judgment as a Matter of Law is
                  reserved. Court Reporter: Miriam Baird. (jp) (Entered: 10/06/2021)
10/07/2021    420 MINUTES OF Jury Trial - 3rd Day held and completed before Judge R. Gary Klausner.
                  Witnesses called, sworn and testified. Exhibits identified and admitted. Plaintiff(s) and
                  Defendant(s) rest. Closing arguments made by plaintiff(s) and defendant(s). Court
                  instructs jury. Bailiff(s) sworn. Jury retires to deliberate. Jury Verdict in favor of
                  plaintiff(s). Filed Witness & Exhibit Lists. Filed jury notes. Filed jury instructions. Clerk
                  reviewed admitted exhibits with counsel to be submitted to the Jury/Court for
                  deliberation/findings. Counsel stipulate to the return of exhibits upon the conclusion of
                  trial. Exhibit Release Form prepared and filed. Rule 50 motions to be filed by 10 am on
                  October 12, 2021; oppositions to be filed by 4 pm on October 14, 2021. Plaintiff shall
                  lodge a proposed judgment by October 12, 2021. Court Reporter: Miriam Baird. (lom)
                  (Entered: 10/07/2021)
10/07/2021    421 REDACTED JURY VERDICT FORM filed. (et) (Entered: 10/08/2021)
10/07/2021    422 REDACTED Jury Notes # 1 filed. (et) (Entered: 10/08/2021)
10/07/2021    423 JURY INSTRUCTIONS (Given) by Judge R. Gary Klausner. (et) (Entered: 10/08/2021)
10/07/2021    424 RECEIPT FOR RELEASE OF EXHIBITS to Counsel Upon Verdict/Judgment at Trial;
                  Pursuant to stip of counsel and/or by Order of the Court, all exhibits listed on Joint
                  exhibits list are returned to counsel for respective party(ies). (et) (Entered: 10/08/2021)
10/07/2021    425 LIST OF EXHIBITS AND WITNESSES at trial. (et) (Entered: 10/08/2021)
10/07/2021    426 SEALED UNREDACTED Jury Note 1 filed; re: Redacted Jury Note #1 422 . (lom)
                  (Entered: 10/08/2021)
10/07/2021    427 SEALED UNREDACTED JURY VERDICT FORM filed re: Redacted Jury Verdict
                  Form 421 (lom) (Entered: 10/08/2021)
10/08/2021    428 TRANSCRIPT ORDER as to Defendant Sigma Corporation for Court Reporter. Court
                  will contact Maria Lattanzi at mia.lattanzi@whitecase.com with further instructions
                  regarding this order. Transcript preparation will not begin until payment has been
                  satisfied with the court reporter. (Lattanzi, Maria) (Entered: 10/08/2021)
10/08/2021    429 TRANSCRIPT ORDER as to Defendant Sigma Corporation for Court Reporter. Court
                  will contact Maria Lattanzi at mia.lattanzi@whitecase.com with further instructions
                  regarding this order. Transcript preparation will not begin until payment has been
                  satisfied with the court reporter. (Lattanzi, Maria) (Entered: 10/08/2021)
10/12/2021    430 NOTICE OF MOTION AND MOTION for Judgment as a Matter of Law on the basis of:
                  Federal Rules of Civil Procedure 50(b) and 59 filed by Defendant Sigma Corporation.
                  Motion set for hearing on 11/8/2021 at 09:00 AM before Judge R. Gary Klausner.
                  (Attachments: # 1 Proposed Order) (Lau, Lucius) (Entered: 10/12/2021)
10/12/2021    431 NOTICE OF LODGING filed Proposed Judgment re Jury Trial - Completed,,, 420
                  (Attachments: # 1 Proposed Judgment, # 2 Hendy Declaration, # 3 Exhibit A (Trial
                  Exhibit 65A), # 4 Exhibit B (Trial Exhibit 42), # 5 Exhibit C (Trial Transcript Excerpt))
                  (Hendy, Christopher) (Entered: 10/12/2021)
10/13/2021    432 (IN CHAMBERS) ORDER CONTINUING DEFENDANT SIGMA CORPORATION'S
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed  Document
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                                    FCA  Docket 273
                                                  Page   49 of 53
                  MOTION FOR JUDGMENT AS A MATTER OF LAW AND ALTERNATIVE
                  MOTION FOR A NEW TRIAL by Judge R. Gary Klausner: The Court on its own
                  motion, continues Defendant Sigma Corporation's Motion for Judgment as a Matter of
                  Law and Alternative Motion for a New Trial 430 from November 8, 2021 to November
                  15, 2021 at 9:00 a.m. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                  ENTRY. (vv) (Entered: 10/13/2021)
10/14/2021    433 OBJECTIONS to Notice of Lodging, 431 Proposed Judgment filed by Defendant Sigma
                  Corporation. (Lau, Lucius) (Entered: 10/14/2021)
10/14/2021    434 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION for
                  Judgment as a Matter of Law 418 , NOTICE OF MOTION AND MOTION for Judgment
                  as a Matter of Law on the basis of: Federal Rules of Civil Procedure 50(b) and 59 430
                  filed by Plaintiff Island Industries, Inc.. (Hendy, Christopher) (Entered: 10/14/2021)
10/21/2021    435 Notice of Appearance or Withdrawal of Counsel: for attorney Joseph A Rillotta counsel
                  for Defendants Neil Reubens, Vandewater International Inc.. Joseph A. Rillotta is no
                  longer counsel of record for the aforementioned party in this case for the reason indicated
                  in the G-123 Notice. Filed by defendants Vandewater International Inc. and Neil
                  Ruebens. (Rillotta, Joseph) (Entered: 10/21/2021)
10/26/2021    436 [DOCUMENT STRICKEN PER ORDER DATED ON 10/27/2021, SEE DOCKET
                  ENTRY N. 439 ] - REPLY In Support of NOTICE OF MOTION AND MOTION for
                  Judgment as a Matter of Law on the basis of: Federal Rules of Civil Procedure 50(b) and
                  59 430 filed by Defendant Sigma Corporation. (Lau, Lucius). Modified on 10/27/2021
                  (jp). (Entered: 10/26/2021)
10/26/2021    437 NOTICE of Unauthorized Reply filed by Relator Island Industries, Inc.. (Hendy,
                  Christopher) (Entered: 10/26/2021)
10/27/2021    438 RESPONSE filed by Defendant Sigma Corporationto Notice (Other) 437 (Lau, Lucius)
                  (Entered: 10/27/2021)
10/27/2021    439 ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S) by Judge R. Gary
                  Klausner: the following document(s) be STRICKEN for failure to comply with the Local
                  Rules, General Order and/or the Courts Case Management Order: Reply 436 , for the
                  following reasons: Filed without leave of Court. (jp) (Entered: 10/27/2021)
11/10/2021    440 SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Judge
                  R. Gary Klausner: Defendant Sigma Corporation's Renewed Motion for Judgment as a
                  Matter of Law and Alternative Motion for a New Trial Under Rules 50(b) and 59 of the
                  Federal Rules of Civil Procedure 430 ,calendared for hearing on 11/15/2021, has been
                  taken under submission and off the motion calendar. No appearances by counsel are
                  necessary. The Court will issue a ruling after full consideration of properly submitted
                  pleadings. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (jre)
                  TEXT ONLY ENTRY (Entered: 11/10/2021)
12/10/2021    441 MINUTES (IN CHAMBERS) Order re: Defendant Sigma Corporation's Renewed
                  Motion for Judgment as a Matter of Law & Alternative Motion for a New Trial [DE 430]
                  by Judge R. Gary Klausner. For the foregoing reasons, the Court DENIES Sigma's
                  Motion. IT IS SO ORDERED. (lom) (Entered: 12/10/2021)
01/07/2022          FILING FEE PAID for Notice of Appeal to Ninth Circuit Court of Appeals. Receipt No.
                    ACACDC-32585813 for $505 filing fee. (Lau, Lucius) (Entered: 01/07/2022)
01/07/2022    442 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Defendant Sigma
                  Corporation. Appeal of Order on Motion for Judgment as a Matter of Law, 441 . (Appeal
                  Fee - $505 Previously Paid on 01/07/2022, Receipt No. ACACDC-32585813.)
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     Case2:22-cv-02436-JPM-cgc
           22-00050 Doc 19-4 Filed Document
                                        06/27/22
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                                                              06/27/22Page
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                                                                              158 ofDesc
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                                                                                            PageID
                                   FCA  Docket  274Page   50 of 53
                  (Attachments: # 1 Order re: Motion for Judgment as a Matter of Law, # 2 Representation
                  Statement)(Lau, Lucius) (Entered: 01/07/2022)
01/10/2022    443 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and
                  briefing schedule. Appeal Docket No. 22-55063 assigned to Notice of Appeal to 9th
                  Circuit Court of Appeals 442 as to Defendant Sigma Corporation. (jp) (Entered:
                  01/11/2022)
01/28/2022    444 TRANSCRIPT for proceedings held on 8/02/2021. Court Reporter/Electronic Court
                  Recorder: SHERI S. KLEEGER, phone number 213-894-6604. Transcript may be viewed
                  at the court public terminal or purchased through the Court Reporter/Electronic Court
                  Recorder before the deadline for Release of Transcript Restriction. After that date it may
                  be obtained through PACER. Notice of Intent to Redact due within 7 days of this date.
                  Redaction Request due 2/18/2022. Redacted Transcript Deadline set for 2/28/2022.
                  Release of Transcript Restriction set for 4/28/2022. (Kleeger, Sheri) (Entered:
                  01/28/2022)
01/28/2022    445 NOTICE OF FILING TRANSCRIPT filed for proceedings 8/02/2021 re Transcript 444
                  THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Kleeger,
                  Sheri) TEXT ONLY ENTRY (Entered: 01/28/2022)
01/28/2022    446 TRANSCRIPT for proceedings held on 10/05/2021. Court Reporter/Electronic Court
                  Recorder: SHERI S. KLEEGER, phone number 213-894-6604. Transcript may be viewed
                  at the court public terminal or purchased through the Court Reporter/Electronic Court
                  Recorder before the deadline for Release of Transcript Restriction. After that date it may
                  be obtained through PACER. Notice of Intent to Redact due within 7 days of this date.
                  Redaction Request due 2/18/2022. Redacted Transcript Deadline set for 2/28/2022.
                  Release of Transcript Restriction set for 4/28/2022. (Kleeger, Sheri) (Entered:
                  01/28/2022)
01/28/2022    447 NOTICE OF FILING TRANSCRIPT filed for proceedings 10/05/2021 re Transcript 446
                  THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (Kleeger,
                  Sheri) TEXT ONLY ENTRY (Entered: 01/28/2022)
02/01/2022    448 TRANSCRIPT for proceedings held on 10/6/21 Day 2. Court Reporter/Electronic Court
                  Recorder: Miriam V. Baird, phone number MVB11893@AOL.COM. Transcript may be
                  viewed at the court public terminal or purchased through the Court Reporter/Electronic
                  Court Recorder before the deadline for Release of Transcript Restriction. After that date
                  it may be obtained through PACER. Notice of Intent to Redact due within 7 days of this
                  date. Redaction Request due 2/22/2022. Redacted Transcript Deadline set for 3/4/2022.
                  Release of Transcript Restriction set for 5/2/2022. (Baird, Miriam) (Entered: 02/01/2022)
02/01/2022    449 TRANSCRIPT for proceedings held on 10/7/21 Day 3. Court Reporter/Electronic Court
                  Recorder: Miriam V. Baird, phone number MVB11893@AOL.COM. Transcript may be
                  viewed at the court public terminal or purchased through the Court Reporter/Electronic
                  Court Recorder before the deadline for Release of Transcript Restriction. After that date
                  it may be obtained through PACER. Notice of Intent to Redact due within 7 days of this
                  date. Redaction Request due 2/22/2022. Redacted Transcript Deadline set for 3/4/2022.
                  Release of Transcript Restriction set for 5/2/2022. (Baird, Miriam) (Entered: 02/01/2022)
02/01/2022    450 NOTICE OF FILING TRANSCRIPT filed for proceedings 10/6/21 Day2 & 10/7/21 Day
                  3 re Transcript 449 , 448 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                  ENTRY. (Baird, Miriam) TEXT ONLY ENTRY (Entered: 02/01/2022)
02/02/2022    451 Amended REQUEST for Entry of Judgment pursuant to Rule 54(b) filed by Plaintiff-
                  Relator Island Industries, Inc.. (Attachments: # 1 Proposed Judgment) (Hendy,
                  Christopher) (Entered: 02/02/2022)
     Case
       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed  Document
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                                                                            159 ofDesc
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02/03/2022                           FCA   Docket 275
                                                    Page   51 of 53
               452 DESIGNATION of Record on Appeal by Defendant Sigma Corporation re 442 (Lau,
                    Lucius) (Entered: 02/03/2022)
02/08/2022    453 ORDER by Judge R. Gary Klausner DENIED Request for Entry of Judgment pursuant to
                  Rule 54(b) 451 AS MOOT. (jp) (Entered: 02/08/2022)
02/08/2022    454 FINAL JUDGMENT FOLLOWING JURY VERDICT IN FAVOR OF PLAINTIFF
                  UNITED STATES OF AMERICA AGAINST DEFENDANT SIGMA CORPORATION
                  by Judge R. Gary Klausner that: (1) Judgment is hereby entered in favor of the United
                  States. (2) Defendant Sigma Corporation is liable to the United States for treble damages
                  under the False Claims Act in the amount of $24,256,638.09. 31 USC 3729(a)(l ). (3)
                  Defendant Sigma Corporation is further liable to the United States for civil monetary
                  penalties in the amount of $1,824,145.00. (4) Post-judgment interest shall accrue
                  pursuant to 28 USC 1961.The Court determines there is no just reason for delay and
                  enters this final judgment with respect to Sigma Corporation pursuant to FRCP 54(b).
                  Related to: Notice of Lodging 431 . (jp) (Entered: 02/08/2022)
03/04/2022    455 NOTICE OF MOTION AND MOTION for Bond Approval and Stay of Execution of
                  Judgment filed by Defendant Sigma Corporation. Motion set for hearing on 4/11/2022 at
                  09:00 AM before Judge R. Gary Klausner. (Attachments: # 1 Declaration of Lucius Lau,
                  # 2 Executed Bond, # 3 Proposed Order) (Lau, Lucius) (Entered: 03/04/2022)
03/04/2022    456 FIRST AMENDED NOTICE OF APPEAL to 9th CIRCUIT filed by Defendant Sigma
                  Corporation. Amending Notice of Appeal to 9th Circuit Court of Appeals, 442 Filed On:
                  January 7, 2022; Entered On: January 7, 2022; (Attachments: # 1 Amended
                  Representation Statement, # 2 Final Judgment Following Jury Verdict)(Lau, Lucius)
                  (Entered: 03/04/2022)
03/04/2022    457 SCHEDULING NOTICE TO ALL PARTIES AND (IN CHAMBERS) ORDER by Judge
                  R. Gary Klausner : The hearing on the MOTION for Bond Approval and Stay of
                  Execution of Judgment 455 is hereby ADVANCED AND RESET to 4/4/2022 at 09:00
                  AM. IT IS SO ORDERED. THERE IS NO PDF DOCUMENT ASSOCIATED WITH
                  THIS ENTRY. (jre) TEXT ONLY ENTRY (Entered: 03/04/2022)
03/08/2022    458 NOTICE OF MOTION AND MOTION for Attorney Fees and Reasonable Expenses
                  filed by Relator Island Industries, Inc.. Motion set for hearing on 4/4/2022 at 09:00 AM
                  before Judge R. Gary Klausner. (Attachments: # 1 Declaration of Kelly B. Kramer, # 2
                  Exhibit A (Sigma Letter), # 3 Exhibit B (Attorney Bios), # 4 Exhibit C (CD Cal
                  Spreadsheet), # 5 Exhibit D (Scope Matter Spreadsheet), # 6 Exhibit E (Historic Rates), #
                  7 Exhibit F (Thompson Invoices), # 8 Declaration of Robert K. Sall, # 9 Exhibit A
                  (Resume), # 10 Exhibit B (List of Documents), # 11 Exhibit C (Summary Chart CD Cal),
                  # 12 Exhibit D (Summary Chart SRM), # 13 Exhibit E (White and Case Fee App), # 14
                  Exhibit F (2021 Real Rate Report), # 15 Exhibit G (2020 Real Rate Report), # 16 Exhibit
                  H (Legal Billing Report), # 17 Exhibit I (Legal Billing Report), # 18 Exhibit J (Legal
                  Billing Report), # 19 Exhibit K (Legal Billing Report), # 20 Proposed Order)
                  (Marmolejo, Matthew) (Entered: 03/08/2022)
03/09/2022    459 SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Judge
                  R. Gary Klausner re: NOTICE OF MOTION AND MOTION for Attorney Fees and
                  Reasonable Expenses 458 . The hearing on the motion is reset for 4/11/2022 at 09:00 AM
                  before Judge R. Gary Klausner. IT IS SO ORDERED.THERE IS NO PDF DOCUMENT
                  ASSOCIATED WITH THIS ENTRY. (jre) TEXT ONLY ENTRY (Entered: 03/09/2022)
03/14/2022    460 NOTICE OF NON-OPPOSITION to NOTICE OF MOTION AND MOTION for Bond
                  Approval and Stay of Execution of Judgment 455 filed by Plaintiff Island Industries, Inc..
                  (Hendy, Christopher) (Entered: 03/14/2022)
     Case
       Case2:22-cv-02436-JPM-cgc
             22-00050 Doc 19-4 Filed  Document
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03/21/2022                            FCA   Docket 276
                                                     Page   52 of 53
               461 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION for Attorney
                    Fees and Reasonable Expenses 458 filed by Defendant Sigma Corporation.
                    (Attachments: # 1 Declaration of Shannon Lane, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                    C, # 5 Exhibit D, # 6 Proposed Order)(Lau, Lucius) (Entered: 03/21/2022)
03/28/2022     462 REPLY in support of NOTICE OF MOTION AND MOTION for Attorney Fees and
                   Reasonable Expenses 458 filed by Plaintiff Island Industries, Inc.. (Attachments: # 1
                   Supplemental Reply Declaration of Kelly B. Kramer, # 2 Exhibit 1 (Revised chart of
                   attorneys' fees), # 3 Exhibit 2 (Emails between counsel), # 4 Declaration of Kelli
                   Thompson, # 5 Amended Proposed Order)(Marmolejo, Matthew) (Entered: 03/28/2022)
03/30/2022     463 SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Judge
                   R. Gary Klausner: Defendant Sigma Corporation's Motion for Bond Approval and Stay
                   of Execution of Judgment 455 , calendared for hearing on 4/4/2022, has been taken under
                   submission and off the motion calendar. No appearances by counsel are necessary. The
                   Court will issue a ruling after full consideration of properly submitted pleadings. THERE
                   IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (jre) TEXT ONLY
                   ENTRY (Entered: 03/30/2022)
04/06/2022     464 SCHEDULING NOTICE TO ALL PARTIES AND ORDER (IN CHAMBERS) by Judge
                   R. Gary Klausner: Plaintiff's Motion for Attorney Fees and Reasonable Expenses 458 ,
                   calendared for hearing on 4/11/2022, has been taken under submission and off the motion
                   calendar. No appearances by counsel are necessary. The Court will issue a ruling after full
                   consideration of properly submitted pleadings.THERE IS NO PDF DOCUMENT
                   ASSOCIATED WITH THIS ENTRY. (jre) TEXT ONLY ENTRY (Entered: 04/06/2022)
05/05/2022     465 ORDER GRANTING SIGMA CORPORATION'S MOTION TO APPROVE
                   SUPERSEDEAS BOND AND STAY EXECUTION OF JUDGMENT 455 by Judge R.
                   Gary Klausner The Court approves the supersedeas bond in the amount of $30 million,
                   with surety United States Fire Insurance Company, and stays execution of the judgment
                   pending Sigma's appeal to the United States Court of Appeals for the Ninth Circuit,
                   pursuant to Rule 62(b) of the FRCP. Sigma shall lodge the bond with the Court by
                   5/12/2022. ***NOTE: CHANGE MADE BY THE COURT***. (jp) (Entered:
                   05/05/2022)
05/13/2022     466 MINUTES (IN CHAMBERS) Order re: Plaintiff's Motion for an Award of Attorneys
                   Fees, Costs, and Expenses [DE 458 ] by Judge R. Gary Klausner: The Court GRANTS in
                   part Island's Motion, awarding to Island $2,535,660.57 in attorneys fees and costs, and
                   $230,506.90 in expenses. (See Civil Minutes for further specifics). (jp) (Entered:
                   05/16/2022)
05/18/2022     467 MINUTE IN CHAMBERS by Judge R. Gary Klausner: Case should have been closed on
                   entry dated 5/13/2022. **See Order at docket entry 466 ***. (Made JS-6. Case
                   Terminated.) (jp) (Entered: 05/18/2022)



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                 Pages:    FCA Docket 277
                                        Page  53 of 53
Case
 Case2:22-cv-02436-JPM-cgc
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                                                     06/27/22Page
                                                              17:24:54
                                                                  162 ofDesc
                                                                        587 Exhibit
                                                                             PageID
                      Select FCA Trial Exhibits
                                        278      Page 1 of 16




                              EXHIBIT 5
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                                                     06/27/22Page
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                      Select FCA Trial Exhibits
                                        279      Page 2 of 16




                            TRIAL EXHIBIT 1009, PAGE 1
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                                                                             PageID
                      Select FCA Trial Exhibits
                                        280      Page 3 of 16




                            TRIAL EXHIBIT 1009, PAGE 2
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        281      Page 4 of 16




                            TRIAL EXHIBIT 1009, PAGE 3
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        282      Page 5 of 16




                            TRIAL EXHIBIT 1009, PAGE 4
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        283      Page 6 of 16




                            TRIAL EXHIBIT 1009, PAGE 5
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        284      Page 7 of 16




                            TRIAL EXHIBIT 1009, PAGE 6
Case
 Case2:22-cv-02436-JPM-cgc
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                      Select FCA Trial Exhibits
                                        285      Page 8 of 16




                            TRIAL EXHIBIT 1009, PAGE 7
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                                                                             PageID
                      Select FCA Trial Exhibits
                                        286      Page 9 of 16




                            TRIAL EXHIBIT 1009, PAGE 8
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        287       Page 10 of 16




                            TRIAL EXHIBIT 1010, PAGE 1
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        288       Page 11 of 16




                            TRIAL EXHIBIT 1010, PAGE 2
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-5 Filed
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                      Select FCA Trial Exhibits
                                        289       Page 12 of 16




                            TRIAL EXHIBIT 1010, PAGE 3
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 Case2:22-cv-02436-JPM-cgc
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                      Select FCA Trial Exhibits
                                        290       Page 13 of 16




                            TRIAL EXHIBIT 1010, PAGE 4
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 Case2:22-cv-02436-JPM-cgc
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                      Select FCA Trial Exhibits
                                        291       Page 14 of 16




                            TRIAL EXHIBIT 1010, PAGE 5
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 Case2:22-cv-02436-JPM-cgc
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                      Select FCA Trial Exhibits
                                        292       Page 15 of 16




                            TRIAL EXHIBIT 1010, PAGE 6
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 Case2:22-cv-02436-JPM-cgc
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                      Select FCA Trial Exhibits
                                        293       Page 16 of 16




                            TRIAL EXHIBIT 1010, PAGE 7
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 Case2:22-cv-02436-JPM-cgc
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                    Transcript of Day 1 of FCA
                                           294 Trial Page 1 of 244




                               EXHIBIT 6
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 Case2:22-cv-02436-JPM-cgc
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                    Transcript of Day 1 of FCA
                                           295 Trial Page 2 of 244                      1


      1                           UNITED STATES OF AMERICA
                               UNITED STATES DISTRICT COURT
      2                       CENTRAL DISTRICT OF CALIFORNIA
                                      WESTERN DIVISION
      3
                                         - - -
      4                      HONORABLE R. GARY KLAUSNER,
                        UNITED STATES DISTRICT JUDGE PRESIDING
      5                                  - - -

      6
          UNITED STATES OF AMERICA ex   )
      7   rel. ISLAND INDUSTRIES,       )                CERTIFIED COPY
          INC.,                         )
      8                                 )
                                        )                CV 17-04393-RGK-KS
      9                PLAINTIFFS,      )
                                        )
     10   VS.                           )
                                        )
     11   VANDEWATER INTERNATIONAL      )
          INC.; NEIL RUEBENS; SIGMA     )
     12   CORPORATION; SMITH COOPER     )
          INTERNATIONAL; ALLIED         )
     13   RUBBER & GASKET COMPANY,      )
          and JOHN DOES Nos. 1-10,      )
     14                                 )
                                        )
     15                DEFENDANTS.      )
          ______________________________)
     16

     17

     18                               TRIAL - DAY 1
                          REPORTER'S TRANSCRIPT OF PROCEEDINGS
     19                         TUESDAY, OCTOBER 5, 2021
                                 LOS ANGELES, CALIFORNIA
     20

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     23                        SHERI S. KLEEGER, CSR 10340
                             FEDERAL OFFICIAL COURT REPORTER
     24                     312 NORTH SPRING STREET, ROOM 402
                              LOS ANGELES, CALIFORNIA 90012
     25                             PH: (213)894-6604
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                    Transcript of Day 1 of FCA
                                           296 Trial Page 3 of 244                      2


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           APPEARANCES OF COUNSEL:
      5
           ON BEHALF OF PLAINTIFF:
      6
                     MAYER BROWN LLP
      7              BY: KELLY B. KRAMER, ESQUIRE
                          C. MITCHELL HENDY, ESQUIRE
      8                   350 SOUTH GRAND AVENUE
                          25TH FLOOR
      9                   LOS ANGELES, CA 90071-1503

     10
           ON BEHALF OF DEFENDANT:
     11           WHITE and CASE
                  BY: CHRISTOPHER M. CURRAN, ESQUIRE
     12                LUCIUS LAU, ESQUIRE
                       SHANNON LANE, ATTORNEY AT LAW
     13                701 THIRTEENTH STREET, NW
                       WASHINGTON, DC 20005-3807
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                                                                               PageID
                    Transcript of Day 1 of FCA
                                           297 Trial Page 4 of 244                       3


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      4   RONA, Mitchell                156

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      8                                 66                   110

      9                                 1013                 119

     10                                 1012                 121

     11                                 5                    124

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     13                                 58                   164

     14                                 8                    167

     15                                 52                   175

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 Case2:22-cv-02436-JPM-cgc
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                                                                    182 ofDesc
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                    Transcript of Day 1 of FCA
                                           298 Trial Page 5 of 244                       4


      1               LOS ANGELES, CALIFORNIA; OCTOBER 5, 2021

      2                                    A.M SESSION

      3

      4                     THE CLERK:      Calling item two, Case number

      5    civil 17-04393 RGK United States of America versus

      6    Vandewater International, Inc., et al.

      7                     Counsel, please state your appearances.

      8                     MR. KRAMER:       Good morning, Your Honor.

      9    Kelly Kramer and Mitchell Hendy on behalf of Island

     10    Industries.

     11                     THE COURT:      Thank you, Counsel.

     12                     MR. CURRAN:       Good morning, Your Honor.

     13    Christopher Curran of White & Case for Sigma.

     14                     Joined at counsel table by Mr. Lucius Lau,

     15    Ms. Shannon Lane.         We also have a courtroom

     16    representative here, Patricia Velasquez.

     17                     THE COURT:      In this particular matter,

     18    Counsel, both sides ready for trial?

     19                     MR. KRAMER:       Correct.

     20                     MR. CURRAN:       Yes, Your Honor.

     21                     THE COURT:      We may get off the ground.             I'm

     22    going to order them in for 10:00 o'clock today so we get

     23    started with the voir dire at 10:00 o'clock today.

     24                     I've gone over in pretrial the motions in

     25    limine.      They stand the same as the tentatives were.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
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                                                       06/27/22Page
                                                                17:24:54
                                                                    183 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 1 of FCA
                                           299 Trial Page 6 of 244                      5


      1    I think I mentioned to you before, four hours per side,

      2    is what I said?

      3                     MR. KRAMER:       You said it would be between

      4    four and five hours.

      5                     THE COURT:      Okay.     I'm going to give you

      6    four and a half then.

      7                     MR. KRAMER:       Perfect.

      8                     THE COURT:      We'll split the baby in half.

      9    Four and a half hours per side.

     10                     Remember what I told you at the pretrial

     11    that once the time is up, you are out of questions.

     12                     So if one side finishes early and the other

     13    side is asking questions, you're not going to be able to

     14    cross-examine.        So once the time is up, it's up.

     15                     In this particular matter, I don't know

     16    if -- I do want to mention a few things, one is that

     17    when you're addressing the jury -- and I may have

     18    mentioned this in pretrial, always at the podium, behind

     19    the glass, and right next to the microphone so that she

     20    can hear what's going on.

     21                     The other things I went over at pretrial

     22    with you.      So if you're ready to go, I will order the

     23    panel in now.

     24                     MR. CURRAN:       I don't think you indicated how

     25    long openings and closings.
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
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                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    184 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 1 of FCA
                                           300 Trial Page 7 of 244                      6


      1                     THE COURT:      Oh, I'm sorry.         20 minutes on

      2    opening -- excuse me.           20 minutes on opening statements.

      3    Excuse me.       Argument at the end is something different.

      4    We will find out how the jury -- normally it's 30 to

      5    35 minutes.       You could do it 20 minutes.

      6                     We just had a case, very similar, both of

      7    you probably know, it's a criminal case, almost dealing

      8    with the same issue, except it was much more complicated

      9    because we had other counts there, we had fraud counts

     10    and all kind of counts, with four defendant corporations

     11    involved.

     12                     But -- so I -- you know, I'm fairly familiar

     13    with what we're going to be talking about.                   I think 20

     14    minutes is appropriate.

     15                     MR. KRAMER:       One quick logistical question.

     16    When we're at the podium, are we allowed to remove our

     17    mask?

     18                     THE COURT:      If you're behind the plexiglass,

     19    you're allowed to remove the mask, yes.                  Or if you're 6

     20    distance.      But basically if you're behind the

     21    plexiglass.       Okay?

     22                     MR. KRAMER:       Understood.

     23                     THE COURT:      And witnesses will be testifying

     24    behind the plexiglass without a mask.

     25                     MR. KRAMER:       Without a mask.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    185 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 1 of FCA
                                           301 Trial Page 8 of 244                      7


      1                     THE COURT:      Okay.     We will give you a chance

      2    to get started.         And we'll bring the jury down.

      3    Hopefully we can start right at 10:00 o'clock.

      4                     (Prospective Jurors in courtroom.)

      5                     THE CLERK:      Call case number civil 17, 4393

      6    RGK, United States of America versus Vandewater

      7    International.

      8                     Counsel, please state your appearances.

      9                     MR. KRAMER:       Good morning.        It's Kelly

     10    Kramer and Mitch Hendy for Island Industries.

     11                     MR. CURRAN:       Good morning, again, Your

     12    Honor.     Christopher Curran of White & Case for Sigma.

     13    Joined at counsel table by Mr. Lucius Lau, and Ms.

     14    Shannon Lane.        Also with us, a courtroom representative,

     15    Ms. Patricia Velasquez.

     16                     THE COURT:      Thank you, Counsel.           Ladies and

     17    gentlemen, we are going to be calling the names of 14

     18    jurors.      When we do that, we want the first juror to

     19    come all the way up, and go all the way down to the end

     20    of the back row.         And then the rest of the jurors go up

     21    this row going all the way down to the end, filling it

     22    up.

     23                     And as soon as they do that, I'll talk to

     24    you a little bit further.             Do you want to go ahead?

     25                     THE CLERK:      Seat No. 1.        Soraya,
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    186 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 1 of FCA
                                           302 Trial Page 9 of 244                       8


      1    S-o-r-a-y-a, Romero, R-o-m-e-r-o.

      2                     Number 2.      I'll spell the -- first name is

      3    Monchil, M-o-n-c-h-i-l.            Last name, Vaneh, V-a-n-e-h.

      4                     Alejandro Gomez, G-o-m-e-z.

      5                     If you could come through this side.                 Thank

      6    you.

      7                     Juror No. 4.       First name is spelled

      8    N-i-n-g-s-i-h.        Last name Wijaya, W-i-j-a-y-a.

      9                     Jurors, once again, just so we don't trip

     10    over anyone, enter through the doors on this side.

     11                     Number 5.      Lisa Beachy, B-e-a-c-h-y.

     12                     David Muldoon, M-u-l-d-o-o-n.

     13                     Orel, O-r-e-l.        Last name's Golan,

     14    G-o-l-a-n.

     15                     Kathleen, last name's spelled T-i-n-a-p-a-y.

     16                     Then No. 9 for the first seat in the front

     17    row, Dena Zillmer, Z-i-l-l-m-e-r.

     18                     Fermin Diaz, Junior.          D-i-a-z.

     19                     Christine Dyer, D-y-e-r.

     20                     Joshua Resendez, R-e-s-e-n-d-e-z.

     21                     Esmeralda de Santiago.           D-e S-a-n-t-i-a-g-o.

     22                     And Steven Scott, S-c-o-t-t.

     23                     THE COURT:      Okay.     Ladies and gentlemen, we

     24    have 14 people in the box.             We have those jurors that

     25    are still out there in the audience.                 I am going to be
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    187 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          303 Trial Page 10 of 244                           9


      1    asking questions of the 14 up here in the box.

      2                     I will ask those of you that are out in the

      3    audience, pay just as close attention as you would if

      4    you were in the box up here to all the questions we ask.

      5                     One of the reasons is because if you're

      6    called to take the place of one of these jurors, I will

      7    ask you whether or not there's anything you should bring

      8    to our attention.         If you haven't been listening, then I

      9    will have to go through all the questions again with

     10    each that juror comes up.

     11                     So remember you're part of the jury.                 If you

     12    can't hear something or see something, raise your hand,

     13    let us know.        But pay just as much attention if you're

     14    one of the jurors up here.

     15                     Okay.    Ladies and gentlemen, the case before

     16    the Court today is the United States of America versus

     17    Sigma.     The allegation is that the -- well, let me see

     18    if I can get it here, be more specific on it.                    That

     19    Sigma imported products into the United States or is

     20    subject to antidumping duty, falsely described the

     21    products and falsely stated that they were not subject

     22    to antidumping duties.

     23                     Sigma maintains that it complied with all

     24    the rules and denies any allegation to the contrary.                         So

     25    that's basically what it's about.                We'll get much more
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    188 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          304 Trial Page 11 of 244                      10


      1    into detail when we get into trial.                 But I wanted to let

      2    you know a little bit about what this is about.

      3                     And at this time I'm going to ask the

      4    attorneys to introduce to you who will be participating

      5    in the case and any possible witnesses they may call

      6    during the case.

      7                     The reason we are doing this, and the reason

      8    we gave you an outline of the trial is to see if you

      9    know anything about this case or anybody involved in

     10    this case.       So listen carefully.

     11                     Counsel.

     12                     MR. KRAMER:       Thank you, Your Honor.

     13                     Ladies and gentlemen, my name is Kelly

     14    Kramer.      I'm joined at counsel table by Mitch Hendy.

     15                     In terms of possible witnesses, Island

     16    expects that it will call Mark Woehrel, who's from

     17    Tennessee.       Mitch Rona, who's from New Jersey.

     18    Siddharth Bhattacharji, who I believe is in New Jersey.

     19    And I hope I didn't butcher his name.                 Kelly Thompson,

     20    who's from Florida.          I think that's the full extent of

     21    the Island witnesses.

     22                     THE COURT:      Thank you, Counsel.

     23                     Counsel.

     24                     MR. CURRAN:       Thank you, Your Honor.

     25                     I'm Christopher Curran.            Joined at counsel
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    189 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          305 Trial Page 12 of 244                      11


      1    table with Lucius Lau who's a native of the area.                      And

      2    Shannon Lane.

      3                     Some of witnesses we intend to rely on have

      4    already been named by Mr. Kramer:                Siddharth

      5    Bhattacharji and Mitchell Rona, both from New Jersey.

      6    And Patricia Velasquez, also from New Jersey.

      7                     Thank you, Your Honor.

      8                     THE COURT:      Thank you, Counsel.

      9                     Ladies and gentlemen, I am anticipating, God

     10    willing and the creek don't rise, that we'll finish this

     11    case by the end of this week.              So it's going to be a

     12    short case is what I'm telling you.

     13                     Now, the -- what the case is about and the

     14    witnesses and the parties have been introduced to you.

     15    So let me ask you this question:               Does anybody know

     16    anybody involved in this case or anything about this

     17    case at all?

     18                     Okay.

     19                     Let me ask this question:            How many of you

     20    have sat on jury trials through deliberation before?

     21                     One person -- two people.            Okay.     That's

     22    kind of what I thought.

     23                     There's two ways to ask questions.                I can

     24    ask every single question of every single juror, and

     25    forget about this week, we could probably finish by
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    190 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          306 Trial Page 13 of 244                      12


      1    Thanksgiving maybe.          Or I can ask general questions.

      2    And that way it will go much faster.                 The only problem

      3    is if I ask general questions, I need a response from

      4    all 14 of you.        You can either stand up, raise your

      5    hand, say yes, say no.           As long as each person responds,

      6    then I don't have to go through each person and ask you

      7    individually.        So let me try that question again.

      8                     Does anybody know anything about this case

      9    or anything involved in this case?

     10                     THE PROSPECTIVE JUROR:           No.

     11                     THE COURT:      Perfect.      Since we do have new

     12    jurors, let me explain to you a little bit about what

     13    your function's going to be here.                The duties of a jury

     14    is basically twofold.           Your first duty is, you must

     15    determine what the facts of the case are.                   Well, you've

     16    already told me you don't know anything about this case,

     17    how you determine the facts.

     18                     The law is quite simple.            You must determine

     19    the facts of the case from and only from the evidence

     20    that's received here in the Court.

     21                     Now you may say, okay, well, what's

     22    evidence?      Evidence is the testimony of witnesses here

     23    under oath, physical exhibits that are introduced to you

     24    during the course of the trial, and anything the two

     25    attorneys -- that both sides agree on or stipulate to.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    191 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          307 Trial Page 14 of 244                       13


      1                     From those three things, only from those

      2    three things, you determine what the facts of the case

      3    are.

      4                     Let me give you an example.             How many of

      5    you -- indicate how many of you have done a jigsaw

      6    puzzle once in your life?

      7                     Everybody?

      8                     What do you do when you have a jigsaw

      9    puzzle?      You take the box, you put the pieces out there

     10    on the table and you put the box top up there and you

     11    start putting the pieces together.

     12                     I know this sounds subtle, but nobody's

     13    asking you what's on the box top.                We're asking:        What's

     14    depicted when you put the pieces together.

     15                     It may have been mislabeled.              You may have a

     16    boat on the box top and a dog when you put it together.

     17    We're asking you, what is presented once you put the

     18    pieces together?

     19                     The analogy is in this case, nobody's going

     20    to ask you what happened at a certain time on a certain

     21    date in a certain place.            We are going to ask you:            What

     22    does the evidence show happened at the certain time and

     23    place and certain date.

     24                     So you got to put the pieces together.                 You

     25    can't add pieces from the outside that aren't part of
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    192 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          308 Trial Page 15 of 244                       14


      1    the evidence.        Just like you can't on a jigsaw puzzle.

      2    You can't throw some pieces out.               You have to take those

      3    pieces of evidence together.              Take a look at them.          And

      4    then tell us what the facts are.               Whether, by the way,

      5    you agree with the facts or not.

      6                     I've tried hundreds of cases where I've not

      7    agreed and have not liked what the verdict is on it, but

      8    I'm not asking that.           It's a very humbling experience.

      9    Nobody cares really what we think.                What we care about

     10    is if you can be fair and impartial and just tell us

     11    what the evidence says whether you like it or not.

     12                     Now, that's the first duty that you have.

     13                     Second duty you have is that once you get

     14    all that evidence together, you are to apply the law

     15    that I give to you at the end of the case to those facts

     16    and reach a verdict.

     17                     It's important that you realize, again, it's

     18    not what you think the law should be.                 If you disagree

     19    with the law, go up to Sacramento and change it, and go

     20    back to Washington, D.C. and change it.

     21                     But it's not what you think the law should

     22    be.    If it were, we would have 14 people here -- I'd

     23    have 14 different interpretations of what the law should

     24    be.    Because everybody thinks differently.

     25                     We can't try a case that way.              For
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    193 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          309 Trial Page 16 of 244                          15


      1    consistency you have to apply one set of laws to it, and

      2    that's the law that I give to you at the end of the case

      3    whether you disagree with the law or not.

      4                     So tell us what the evidence is, whether you

      5    like it or not, what the facts are.                 Apply the law to

      6    it.    And tell us what the verdict is.               And let the cards

      7    fall where they may.           That's basically what you have to

      8    do as jurors.        Almost like being a computer.              Everybody

      9    understand that duty that you have?

     10                     THE PROSPECTIVE JURORS:            Yes.

     11                     THE COURT:      I know it's a little subtle, but

     12    everybody understands my explanation is what we are

     13    looking for.

     14                     THE PROSPECTIVE JURORS:            Yes.

     15                     THE COURT:      I told I was going to ask

     16    questions of you as a whole, and I am.                  But before I do

     17    that, I'm going to ask specific questions of each juror,

     18    basically four questions.             They're not really tough.              I

     19    think most of you will know the answers.                   One is:        What

     20    is your name?        Number 2 is:       Where do you live?           We

     21    don't want a street address, just a city that you live

     22    in.    Number 3 is, if you're employed, what is your

     23    employment.

     24                     Keep in mind that if you're retired, please

     25    don't say retired, because all that does is make me
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    194 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          310 Trial Page 17 of 244                      16


      1    jealous.      Tell me what your employment was before you

      2    were retired.

      3                     And No. 4, is there anyone that lives in the

      4    home that works outside the home?                And if so, what is

      5    their occupation.

      6                     Then I may ask one or two follow-up

      7    questions.       Don't take any of them personally, because

      8    the follow-up questions are normally used by me to kind

      9    of instruct the jury as to where we're going, et cetera.

     10                     But basically that's it on the individual

     11    questions.       And then I'll get back to the general

     12    questions.

     13                     By the way, I apologize but I will refer to

     14    the jurors by number rather than name.                  Quite simply

     15    because during the process you may be moving around in

     16    the jury box and everything else.                So I always go by

     17    numbers.      So we're Juror No. 1 down to Juror No. 8.

     18    Juror No. 9 through 14.

     19                     So let me start with Juror No. 1.               What is

     20    your occupation?

     21                     THE PROSPECTIVE JUROR:           My name is Soraya

     22    Romero.      I work for Social Security.

     23                     THE COURT:      By the way, you don't have to

     24    stand.     We're more informal than that.

     25                     What location do you live in?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    195 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          311 Trial Page 18 of 244                      17


      1                     THE PROSPECTIVE JUROR:           I live in Sylmar.

      2                     THE COURT:      Is there anyone -- you gave us

      3    your occupation.         But I was too busy asking you if you

      4    wanted to sit down.

      5                     What was your occupation again?

      6                     THE PROSPECTIVE JUROR:           I work for Social

      7    Security Administration.

      8                     THE COURT:      Okay.     And is there anyone in

      9    the home that works outside the home?

     10                     THE PROSPECTIVE JUROR:           No.    (Inaudible.)

     11                     THE COURT:      You know nothing about the case

     12    yet other than what we told you.

     13                     Is there anything you can think of at this

     14    time why you would have any problem being a good juror

     15    in a case like this?

     16                     THE PROSPECTIVE JUROR:           No problem.

     17                     THE COURT:      You can be fair to both sides?

     18                     THE PROSPECTIVE JUROR:           Correct.

     19                     THE COURT:      Okay.     Next juror.

     20                     THE PROSPECTIVE JUROR:           Hello.

     21                     THE COURT:      Hello.      Name.

     22                     THE JUROR:      Momchil Zanev.

     23                     THE COURT:      And what city do you live in?

     24                     THE PROSPECTIVE JUROR:           Woodland Hills.

     25                     THE COURT:      And what is your occupation?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    196 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          312 Trial Page 19 of 244                      18


      1                     THE PROSPECTIVE JUROR:           I'm a self-employed

      2    violin teacher.

      3                     THE COURT:      I'm sorry.       Self-employed...

      4                     THE PROSPECTIVE JUROR:           Violin teacher.

      5                     THE COURT:      Is there anyone that works

      6    outside the home that lives with you?

      7                     THE PROSPECTIVE JUROR:           Yes.

      8                     THE COURT:      What is their employment?

      9                     THE PROSPECTIVE JUROR:           Teacher.       And my

     10    partner, she is a teacher.

     11                     THE COURT:      Okay.     Teacher at what level;

     12    like college, high school?

     13                     THE PROSPECTIVE JUROR:           Middle school.

     14                     THE COURT:      Middle school.          Okay.    I'm

     15    assuming if it's middle school, they don't get into the

     16    subject of law or anything like that?

     17                     THE PROSPECTIVE JUROR:           No.

     18                     THE COURT:      Can you think of any reason why

     19    you would not be a good juror?

     20                     THE PROSPECTIVE JUROR:           I don't think so.

     21                     THE COURT:      You understand when I was

     22    talking about, you've got to limit yourself just to the

     23    evidence and tell us what it says whether we like it or

     24    not.    You can do that?

     25                     THE PROSPECTIVE JUROR:           Yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    197 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          313 Trial Page 20 of 244                      19


      1                     THE COURT:      Next juror.

      2                     THE PROSPECTIVE JUROR:           Hello.

      3                     THE COURT:      Can we have your name, please.

      4                     THE PROSPECTIVE JUROR:           Alejandro Gomez.

      5                     THE COURT:      And the city you live in?

      6                     THE PROSPECTIVE JUROR:           Norwalk, California.

      7                     THE COURT:      And your occupation?

      8                     THE PROSPECTIVE JUROR:           Machine operator.

      9                     THE COURT:      And anyone in the home that

     10    works outside the home?

     11                     THE PROSPECTIVE JUROR:           No.

     12                     THE COURT:      You've heard the questions I

     13    just asked.       Is there any reason why you think you

     14    cannot be a good juror in a case like this?

     15                     THE PROSPECTIVE JUROR:           No.

     16                     THE COURT:      You can just tell us what the

     17    evidence says, whether you like it or not, you can be

     18    objective and tell us what the evidence says?

     19                     THE PROSPECTIVE JUROR:           I think so.

     20                     THE COURT:      By the way that's a good answer,

     21    I think so.       Let me tell you why.           That's all anybody

     22    can say is I think so.

     23                     If something comes up during the trial where

     24    you cannot fulfill that obligation, you would tell us;

     25    is that correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    198 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          314 Trial Page 21 of 244                      20


      1                     THE PROSPECTIVE JUROR:           Yes.

      2                     THE COURT:      Okay.     Juror No. 5.

      3                     No, Number 4.        Almost skipped over you.

      4    Your name, please.

      5                     THE PROSPECTIVE JUROR:           Ningsih Wijaya.

      6                     THE COURT:      And your occupation?

      7                     THE PROSPECTIVE JUROR:           Purchasing manager.

      8                     THE COURT:      Project manager?

      9                     THE PROSPECTIVE JUROR:           No.    Purchasing.

     10                     THE COURT:      Is there -- excuse me.            What

     11    city do you live in?

     12                     THE PROSPECTIVE JUROR:           Monterey Park.

     13                     THE COURT:      Anybody that works outside the

     14    home that lives with you?

     15                     THE PROSPECTIVE JUROR:           No.

     16                     THE COURT:      Anything you can think of why

     17    you wouldn't be a good juror?

     18                     THE PROSPECTIVE JUROR:           I think this case is

     19    kind of like -- I have past experience or knowledge

     20    about this case about the importation so that's what --

     21                     THE COURT:      About this specific case or

     22    about importation in general?

     23                     THE PROSPECTIVE JUROR:           Importation

     24    procedures.

     25                     THE COURT:      In general?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    199 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          315 Trial Page 22 of 244                      21


      1                     THE PROSPECTIVE JUROR:           Yes.

      2                     THE COURT:      And I'm going to get back to

      3    those questions.

      4                     That's one of the general questions I will

      5    be talking to you about.            I will get back to you on

      6    that.

      7                     THE PROSPECTIVE JUROR:           Okay.

      8                     THE COURT:      Anything else you want to call

      9    to our attention?

     10                     THE PROSPECTIVE JUROR:           No.

     11                     THE COURT:      Juror No. 5.

     12                     THE PROSPECTIVE JUROR:           My name is Lisa

     13    Beachy.

     14                     THE COURT:      Okay.

     15                     THE PROSPECTIVE JUROR:           I live in Santa

     16    Clarita.

     17                     THE COURT:      Okay.

     18                     THE PROSPECTIVE JUROR:           And I am a

     19    self-employed psychic medium.              My husband works as USC

     20    as a wireless engineer.

     21                     THE COURT:      That's a long drive.

     22                     THE PROSPECTIVE JUROR:           Well, he is at home

     23    now.

     24                     THE COURT:      You've heard everything we've

     25    talked about.        Can you do the same thing and just tell
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    200 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          316 Trial Page 23 of 244                       22


      1    us what the evidence says, whether you like it or not,

      2    just tell us what the facts of the case are?

      3                     THE PROSPECTIVE JUROR:           I think so.

      4                     THE COURT:      You're limited to the evidence

      5    that's presented.         We can't try cases on what might have

      6    happened to somebody else or you might have some outside

      7    experience, because you can't be cross-examined or

      8    anything.

      9                     THE PROSPECTIVE JUROR:           Yes, I think so.

     10                     THE COURT:      Thank you very much.

     11                     Next juror.

     12                     THE PROSPECTIVE JUROR:           Hello, Judge.        My

     13    name is David Muldoon.           I live in Long Beach.           I'm a

     14    supervisory Customs and Border Protection officer.

     15                     THE COURT:      Okay.     Anyone in the home that

     16    works outside the home?

     17                     THE PROSPECTIVE JUROR:           No. My wife is

     18    currently unemployed.

     19                     THE COURT:      Was she employed.

     20                     THE PROSPECTIVE JUROR:           Phlebotomist.        Drew

     21    blood.

     22                     THE COURT:      Okay.     We'll get back to you

     23    with general questions because you may be somewhat

     24    connected or have some experience in this area.

     25                     But absent that, is there any reason why you
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    201 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          317 Trial Page 24 of 244                       23


      1    cannot be fair to both sides?

      2                     THE PROSPECTIVE JUROR:           No, Judge.

      3                     THE COURT:      I love to ask this question:                If

      4    you hear the plaintiff saying somebody did something,

      5    could you be satisfied that 12 people like you are --

      6    excuse me.       Eight people in this case.             We're going to

      7    have an eight-person jury.             Eight people like you would

      8    give you a fair trial.           Not necessarily you would win,

      9    but would give you a fair trial.

     10                     THE PROSPECTIVE JUROR:           Yes judge.

     11                     THE COURT:      If you were the defendant and

     12    you say, No, no, I'm not -- I didn't do anything wrong

     13    at all.      Would you be satisfied that 12 people, again,

     14    would give you a fair trial?

     15                     THE PROSPECTIVE JUROR:           Yes, Judge.

     16                     THE COURT:      So you'd be fair to both sides?

     17                     Next juror, please.

     18                     THE PROSPECTIVE JUROR:           Morning, Judge.

     19                     THE COURT:      Good morning.

     20                     THE PROSPECTIVE JUROR:           My name Orel Golan.

     21    I'm living Tarzana.          I'm a security guard at a Jewish

     22    school.

     23                     THE COURT:      Anyone that works outside the

     24    home?

     25                     THE PROSPECTIVE JUROR:           No.    I'm the only
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    202 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          318 Trial Page 25 of 244                      24


      1    one.    I'm taking care of my father and my son.

      2                     THE COURT:      Thank you very much, sir.

      3                     Anything that you can think of as to why you

      4    would not be a good juror?

      5                     THE PROSPECTIVE JUROR:           Hopefully my English

      6    is going to be okay.

      7                     THE COURT:      You have been clear as far as

      8    language goes coming in.            But if anything happens where

      9    you can't hear or understand something that was said,

     10    will you raise your hand so that we can clear that up?

     11                     THE PROSPECTIVE JUROR:           Yes.     Because most

     12    of the things that you're saying I'm not really

     13    understanding.

     14                     THE COURT:      If you can't understand them,

     15    let me know.        Okay?

     16                     THE PROSPECTIVE JUROR:           Yes.

     17                     THE COURT:      Okay.     Next juror.

     18                     THE PROSPECTIVE JUROR:           Hi.     My name is

     19    Kathleen Tinapay.           I live in West Covina.          And I'm

     20    currently unemployed.

     21                     THE COURT:      Were you working before?

     22                     THE PROSPECTIVE JUROR:           Yes.     I used to be a

     23    supervisor at LAX.           But due to the pandemic, yeah.

     24                     THE COURT:      I'm with you.          Anyone in the

     25    home that works outside the home?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    203 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          319 Trial Page 26 of 244                       25


      1                     THE PROSPECTIVE JUROR:           Yes.     My sister is a

      2    registered nurse in ICU.

      3                     THE COURT:      Anything about this case that

      4    makes you feel you could not be a good juror?

      5                     THE PROSPECTIVE JUROR:           Not at the moment, I

      6    don't think so.

      7                     THE COURT:      You think you could be fair to

      8    both sides?

      9                     THE PROSPECTIVE JUROR:           I believe so.        Yes.

     10                     THE COURT:      Now, let me ask you.           Can you

     11    figure out a way to get that microphone down to Juror

     12    No. 9.     Just pass it down.

     13                     Okay.    Juror No. 9.        Your name, please.

     14                     THE PROSPECTIVE JUROR:           Good morning, Judge.

     15    My name is Dena Zillmer.            I live in Pomona, California.

     16    I am a bookkeeper.          And no one outside the home works.

     17    My husband's retired.           He was a janitorial service

     18    person.

     19                     THE COURT:      Okay.     You've been on jury

     20    before, haven't you?

     21                     THE PROSPECTIVE JUROR:           I have.

     22                     THE COURT:      Because you had all four

     23    questions just nailed.           Didn't give me a chance to ask

     24    you anything.

     25                     But I will ask you the same question I asked
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    204 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          320 Trial Page 27 of 244                      26


      1    everybody else.          Knowing what you don't know about this

      2    case, any reason why you will not be a good juror in a

      3    case like this?

      4                     THE PROSPECTIVE JUROR:           I don't believe so.

      5                     THE COURT:      Pass to the next juror, please.

      6                     THE PROSPECTIVE JUROR:           Hello.     My name is

      7    Fermin Diaz.        I live in Norwalk, California.              And I'm a

      8    machinist.

      9                     THE COURT:      Anyone in the home that works

     10    outside the home?

     11                     THE PROSPECTIVE JUROR:           No.

     12                     THE COURT:      We've asked these other jurors

     13    the same question.          Can you limit yourself and just hear

     14    this case and tell us what the evidence says without

     15    bringing extra stuff into it?

     16                     THE PROSPECTIVE JUROR:           Yes.

     17                     THE COURT:      You can give both sides a fair

     18    trial?

     19                     THE PROSPECTIVE JUROR:           Yes.

     20                     THE COURT:      Thank you very much sir.

     21                     Next.

     22                     THE PROSPECTIVE JUROR:           My name is

     23    Christine Dyer.          I'm a registered nurse.           I currently

     24    work for a university as a nurse instructor.                    I live in

     25    Agora Hills, California.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    205 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          321 Trial Page 28 of 244                      27


      1                     THE COURT:      What university?

      2                     THE PROSPECTIVE JUROR:           I work for West

      3    Coast University as a nurse instructor.

      4                     THE COURT:      Okay.     And is there anybody in

      5    the home that works outside the home?

      6                     THE PROSPECTIVE JUROR:           Yes.     My husband

      7    works for State Farm Insurance.               But he's currently

      8    working from home.

      9                     THE COURT:      That's what I meant.

     10                     Anything that you can think of that you

     11    would not be able to fulfill the duties that we

     12    mentioned?

     13                     THE PROSPECTIVE JUROR:           No.

     14                     THE COURT:      You think you'd be a good juror

     15    for both sides?

     16                     THE PROSPECTIVE JUROR:           I think so.

     17                     THE COURT:      Next juror.

     18                     THE PROSPECTIVE JUROR:           Good morning.        My

     19    name is Joshua Resendez.            I work in the brush

     20    manufacturing.        And I live in east Los Angeles.

     21                     THE COURT:      Anyone in the home that works

     22    outside the home?

     23                     THE PROSPECTIVE JUROR:           No.

     24                     THE COURT:      How about you, can you fulfill

     25    that two-fold duty, be fair and impartial and just tell
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    206 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          322 Trial Page 29 of 244                      28


      1    us what the evidence says, whether you like it or not

      2    and apply the law and give us an objective verdict?

      3                     THE PROSPECTIVE JUROR:           Yes.

      4                     THE COURT:      Thank you very much.

      5                     THE PROSPECTIVE JUROR:           Esmeralda De

      6    Santiago.      I live in El Monte, California.               And I work

      7    in the environmental services.               And my step-dad works in

      8    construction.

      9                     THE COURT:      Okay.     Anything about this case

     10    that bothers you that you feel you cannot be fair?

     11                     THE PROSPECTIVE JUROR:           No, I don't think

     12    so.

     13                     THE COURT:      You think you can be fair to

     14    both sides?

     15                     THE PROSPECTIVE JUROR:           Yes.

     16                     THE COURT:      Next juror.

     17                     THE PROSPECTIVE JUROR:           Steven Scott from

     18    Los Angeles.

     19                     THE COURT:      Okay.

     20                     THE PROSPECTIVE JUROR:           Independent audio

     21    producer.      My wife is a clinical psychologist.                 She

     22    works out of the house.

     23                     THE COURT:      Okay.     Last, but not least.

     24                     THE PROSPECTIVE JUROR:           I think I can be

     25    fair.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    207 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          323 Trial Page 30 of 244                      29


      1                     THE COURT:      You see -- and you understand

      2    the twofold duty that we have.               And, again, I'm talking

      3    to everybody.        But you understand the twofold duty we

      4    have and how important it is that we try it just on

      5    that, without other people's experiences and views

      6    coming into it?

      7                     THE PROSPECTIVE JUROR:           Yes.

      8                     THE COURT:      You can do that?

      9                     THE PROSPECTIVE JUROR:           Yes, sir.

     10                     THE COURT:      Let me ask some questions as a

     11    whole.     And if we talk to individual jurors, we'll be

     12    passing the mic around to you.

     13                     Because the reporter has to take down

     14    everything that's being said by us or by you.

     15                     We mentioned earlier anyone that has

     16    experience with customs or duties being paid, any

     17    knowledge or work history or experience with that?

     18                     We had a couple people.            Can you raise your

     19    hand, the two of you.

     20                     Juror No. 4, first of all.              What is your

     21    experience with that?

     22                     THE PROSPECTIVE JUROR:           Well, I do the --

     23                     THE COURT:      Wait.

     24                     THE PROSPECTIVE JUROR:           Well, I'm doing the

     25    purchasing for my company as an import company.                     So I'm
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    208 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          324 Trial Page 31 of 244                      30


      1    responsible of ordering and then make sure that the

      2    importation, the paperwork, logistics and everything

      3    is -- is the law --

      4                     THE COURT:      Okay.     And it shows me that you

      5    do have experience in that.              It is kind of like when I

      6    was trying cases like driving under the influence or

      7    something like that, people were driving, you know, they

      8    were doing the same thing that we're talking about, but

      9    they still could be fair about saying whether or not the

     10    law was followed and whether -- what the facts were from

     11    the evidence.

     12                     I understand the experience that you have.

     13    Can you see any reason why you cannot just tell us what

     14    the evidence says happened here and not bring in outside

     15    things we can't cross-examine?

     16                     THE PROSPECTIVE JUROR:           Well, the thing is

     17    I'm not too sure if I can see it as a fact but not like

     18    subconsciously mix it with my knowledge or past

     19    experience before.

     20                     THE COURT:      You do understand -- this is to

     21    all the jurors.         You understand how important it is that

     22    we're not trying the case based on outside experiences

     23    that don't come up in front of the Court.

     24                     How important it is for us just to ask you

     25    the question:        What does the evidence show?              And just
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    209 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          325 Trial Page 32 of 244                      31


      1    tell us what the facts are, what the evidence shows.

      2                     You understand how important that is?

      3                     THE PROSPECTIVE JUROR:           Yes.

      4                     THE COURT:      I know that might be difficult

      5    for you, but do you think you can do that?

      6                     THE PROSPECTIVE JUROR:           I think so.

      7                     THE COURT:      And if you can't, will you raise

      8    your hand and let us know?

      9                     THE PROSPECTIVE JUROR:           Yes.

     10                     THE COURT:      Okay.     Next juror.

     11                     THE PROSPECTIVE JUROR:           Hello, Judge.

     12                     THE COURT:      You know I'm going to ask the

     13    same questions of you.           Why don't you describe your

     14    experience with importations.

     15                     THE PROSPECTIVE JUROR:           I'm a Customs and

     16    Border Protection officer since 1996.                 So I have quite a

     17    bit of experience dealing with importations and exports.

     18                     THE COURT:      Okay.

     19                     THE PROSPECTIVE JUROR:           Please don't tell my

     20    boss, but I don't know anything about antidumping

     21    duties.      I work predominantly in antiterrorism and

     22    narcotics smuggling.

     23                     THE COURT:      So your experience is not really

     24    in the area of paying duties and antidumping duties?

     25                     THE PROSPECTIVE JUROR:           I'm shamefully
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    210 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          326 Trial Page 33 of 244                      32


      1    ignorant of most trade issues at my job.

      2                     THE COURT:      Well, everybody promise they

      3    won't tell his boss.

      4                     THE PROSPECTIVE JUROR:           Thank you.

      5                     THE COURT:      Are you telling me you will be

      6    able to tell us what the evidence says and then apply

      7    the law to it?        And you have no steak in the game?

      8                     THE PROSPECTIVE JUROR:           That is correct,

      9    Judge.

     10                     THE COURT:      Thank you, sir.

     11                     Anybody -- now, we talked about importation

     12    and duties, et cetera.

     13                     Has anybody in the business of where you are

     14    importing things from outside the United States?

     15                     Is anybody involved in any case or any

     16    action where you're being charged with or somebody is

     17    saying you owe the federal government money or you

     18    don't?

     19                     THE PROSPECTIVE JURORS:            No.

     20                     THE COURT:      Even in the area of taxes,

     21    anybody have any problems that way?

     22                     THE PROSPECTIVE JURORS:            No.

     23                     THE COURT:      Anybody have any experience

     24    with -- and I think we already talked about this,

     25    involved with cases dealing with trade or imports other
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    211 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          327 Trial Page 34 of 244                       33


      1    than just duty?

      2                     THE PROSPECTIVE JUROR:           No.

      3                     THE COURT:      Okay.     So it is important, and

      4    we want to make sure and talk about the fact that it's

      5    important that you don't bring in outside information

      6    into this case and you try it just on the evidence.

      7                     And so it really goes towards if you have

      8    any friends or relatives in any of those occupations

      9    that I mentioned that may have talked to you about their

     10    work.     Anybody here?

     11                     I know you do, sir.          Let me ask you:         Would

     12    that affect you one way or the other in this case?

     13                     THE PROSPECTIVE JUROR:           No, judge.

     14                     THE COURT:      So it's important that we don't

     15    bring and try a case, as I said before, by evidence

     16    that's not in Court here.             It's only fair to the parties

     17    on it.

     18                     How many of you have sued or been sued in

     19    the last ten years?

     20                     Any friends or relatives where you were

     21    involved in their lawsuit where they've been sued in the

     22    last ten years?

     23                     THE PROSPECTIVE JUROR:           I have.

     24                     THE COURT:      Number 1.       We'll get the mic

     25    down to you.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    212 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          328 Trial Page 35 of 244                        34


      1                     THE PROSPECTIVE JUROR:           I have the process

      2    of suing someone.

      3                     THE COURT:      Okay.     And does that happen to

      4    be a relationship between you and this other person;

      5    like a contract or something?

      6                     THE PROSPECTIVE JUROR:           Kind of.      It was a

      7    contract for machinery.

      8                     THE COURT:      Okay.     I don't want to get too

      9    much in the facts of this case so we don't confuse it

     10    with this the case.

     11                     But I guess my question is, is there

     12    anything about that case that would make you side one

     13    way or the other in a case like this?

     14                     THE PROSPECTIVE JUROR:           No.

     15                     THE COURT:      Let me also indicate to you

     16    that -- and Counsel, correct me if I misstate this.                          The

     17    plaintiff here is an individual corporation that is

     18    suing on behalf of the government.                It's called a qui

     19    tam matter.       That's why you will hear the name United

     20    States versus.        It's because they're suing on behalf of

     21    the government.

     22                     Does that bother anybody?

     23                     THE PROSPECTIVE JURORS:            No.

     24                     THE COURT:      And there -- there may be other

     25    names with the defendants that you may or may not
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    213 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          329 Trial Page 36 of 244                      35


      1    recognize that are not in front of the Court today.

      2                     It's just Sigma; is that correct?

      3                     MR. CURRAN:       That's correct, Your Honor.

      4                     THE COURT:      So you can't get into why

      5    somebody else is not here or anything else.                    It's just

      6    two people that -- or two parties that are bringing this

      7    action to you to decide between these two parties.

      8    Okay?

      9                     Can you tell me again, there's two of you

     10    that have been on jury duty before.                 Can you raise your

     11    hands again?

     12                     Okay.    Juror No. 9, first of all, how many

     13    cases?

     14                     THE PROSPECTIVE JUROR:           Three.

     15                     THE COURT:      Were they criminal or civil?

     16                     THE PROSPECTIVE JUROR:           Criminal.

     17                     THE COURT:      In a criminal case, the burden

     18    of proof is -- you have to prove -- the government has

     19    to prove that the defendant is guilty beyond a

     20    reasonable doubt.         Pretty high standard.

     21                     THE PROSPECTIVE JUROR:           Yes.

     22                     THE COURT:      This is a civil case.           And the

     23    burden of proof will be preponderance of the evidence.

     24    You know, one side proves their case by 51 percent.

     25    They take all the marbles and go home.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    214 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          330 Trial Page 37 of 244                      36


      1                     THE PROSPECTIVE JUROR:           Okay.

      2                     THE COURT:      So it's a different standard.

      3    You won't have any problem following the Court's

      4    instruction at the end of the case about preponderance

      5    of the evidence rather than a reasonable and doubt

      6    standard.

      7                     THE PROSPECTIVE JUROR:           I don't believe so.

      8                     THE COURT:      Were they able to reach a

      9    verdict in those three cases?

     10                     THE PROSPECTIVE JUROR:           Yes.

     11                     THE COURT:      There is nothing about those

     12    cases that you bring into this case?

     13                     THE PROSPECTIVE JUROR:           No.

     14                     THE COURT:      Okay.     Let's see if we can get

     15    it back to Juror No. 4.            Okay.

     16                     Can we have how many juries you been on.

     17                     THE PROSPECTIVE JUROR:           One.

     18                     THE COURT:      Was it criminal or civil?

     19                     THE PROSPECTIVE JUROR:           Criminal.

     20                     THE COURT:      Same questions to you.

     21    Different burden of proof.             That won't confuse you at

     22    all, will it?

     23                     THE PROSPECTIVE JUROR:           No.

     24                     THE COURT:      You understand this one is a

     25    civil case, preponderance of the evidence?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    215 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          331 Trial Page 38 of 244                      37


      1                     THE PROSPECTIVE JUROR:           Yes.

      2                     THE COURT:      Were they able to reach a

      3    verdict in your case?

      4                     THE PROSPECTIVE JUROR:           Yeah.

      5                     THE COURT:      Is there anything about that

      6    case you think you would bring into a case like this?

      7                     THE PROSPECTIVE JUROR:           No.

      8                     THE COURT:      Ladies and gentlemen, I'm going

      9    to be talking with the attorneys over here at the side

     10    bench pretty soon.          I do want to make sure -- I want to

     11    ask it one more time:           The duty is to tell us what the

     12    facts are whether we like them or not, just tell us what

     13    the evidence is, the facts are, apply the law to it at

     14    the end of the case and give us an objective verdict as

     15    to whether or not the case has been proven or not.

     16                     In light of that, as to all 14 of you, if

     17    you are sitting on the defendant's side, would you be

     18    satisfied not that you're going to win but that eight

     19    people like you would give you a fair trial?

     20                     THE PROSPECTIVE JURORS:            Yes.

     21                     THE COURT:      If you're the plaintiff, would

     22    you be satisfied that eight people like you would give

     23    you a fair trial?

     24                     THE PROSPECTIVE JURORS:            Yes.

     25                     THE COURT:      So you're telling me you're
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    216 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          332 Trial Page 39 of 244                      38


      1    perfect jurors.

      2                     Okay.    I'm going to be over here talking

      3    with the attorneys.          Should be no more than two

      4    attorneys coming on over.             We're going to be having a

      5    bench conference over here, which means we're going to

      6    be talking on the side here.

      7                     Two things I want you to remember about

      8    that.     One is, when we're over here talking, we're going

      9    to be whispering.         Is anybody going to feel offended

     10    about being left out?           We don't particularly want you to

     11    hear what's going on.           And you would be bored to death

     12    if you heard what we're talking about anyway.

     13                     Can I have everybody's promise not to try to

     14    read lips or eavesdrop or anything like that?

     15                     THE PROSPECTIVE JURORS:            Yes.

     16                     THE COURT:      Second thing is, you probably

     17    will be happy to know, during the trial I don't have

     18    bench conferences.          This is the only time we'll have a

     19    bench conference.

     20                     During the trial we will not interrupt the

     21    jury for bench conferences.             I should tell you one more

     22    thing before we get there.

     23                     We run this Court very much on -- it's

     24    almost like a clock.           We start every morning -- starting

     25    tomorrow, not today, but starting tomorrow, every day we
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    217 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          333 Trial Page 40 of 244                      39


      1    start at 8:30 in the morning and we go until

      2    4:00 o'clock in the afternoon.               I will even be more

      3    specific than that.          We'll start at 8:30 in the morning

      4    and go to 11:30, which is a three-hour block.                    And I'll

      5    give you a 15-minute intermission there.                   From 11:30

      6    until 1:00 you'll be on lunch break.                 1:00 o'clock until

      7    4:00 o'clock we'll be in session, which means three

      8    hours, with a 15-minute break there.                 We'll be

      9    religiously adhering to that.

     10                     At 4:00 o'clock if the attorneys are halfway

     11    through a question, or they say, my witness is going

     12    back to New York, it will only take me one minute to

     13    finish this, I will say, Too bad.                I promised the jury

     14    at 4:00 o'clock you're free to do whatever you have to

     15    do, pick up children, whatever it is, you can be

     16    guaranteed at 4:00 o'clock we quit.

     17                     The down side of that is at 8:30 in the

     18    morning, we start right at 8:30.               We don't start at

     19    8:31.     We don't start at 8:29.

     20                     That's true all the way through.               So you can

     21    program this case as far as time goes.                  You will know

     22    exactly where you are as far your commitment goes on it.

     23    You may say, Well, why at 8:30?               Some courts start at

     24    9:00.     They go from 9:00 until 4:30.              I've been told by

     25    jurors they would much prefer to get out at 4:00 rather
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    218 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          334 Trial Page 41 of 244                      40


      1    than 4:30 because of traffic.                 That's why we go from

      2    8:30 until 4:00 o'clock.            You can set your watch on

      3    that.     That's exactly how the trial will be proceeding.

      4    Okay.

      5                     Any questions on that?

      6                     Okay.    Then, Counsel, may I see you at side

      7    bench?

      8                     (SIDEBAR.)

      9                     First of all, can you hear us?

     10                     THE REPORTER:         Yes.

     11                     As you state whatever your position is give

     12    your name before so she can hear who's talking okay.

     13                     Any challenges for cause before we get

     14    started?

     15                     MS. LANE:      Yes.     This is Shannon Lane for

     16    defendant Sigma.         We would like to challenge Juror No. 6

     17    for cause.

     18                     THE COURT:      Number 6.        Okay.

     19                     MS. LANE:      He worked for Customs and Border

     20    Protection for 25 years.            We are concerned he may be

     21    bias in a case where the accusation is fraud against his

     22    employer.

     23                     Do you want to be heard?

     24                     MR. KRAMER:       Yes, Your Honor.         This is Kelly

     25    Kramer.      And it's Juror No. 6 is pretty clear he could
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    219 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          335 Trial Page 42 of 244                      41


      1    be fair to both sides.           He said no experience whatsoever

      2    with antidumping duties.            And he had no steak in the

      3    game, as I think you put it.

      4                     THE COURT:      Do you have any challenges for

      5    cause?

      6                     MR. KRAMER:       We do have one which is Juror

      7    No. 4.     Juror No. 4 indicated she --

      8                     THE COURT:      Keep your voice down.

      9                     MR. KRAMER:       Juror No. 4 indicated that she

     10    might have subconscious problems setting aside her own

     11    experience with import law and compliance.                   She is a

     12    purchasing manager and importing products.                   She

     13    ultimately thought she could be fair.                 But I think there

     14    was a significant amount of reluctance from both body

     15    language and first statement.

     16                     THE COURT:      Do you have any input on that?

     17                     MS. LANE:      Juror No. 4 hasn't indicated any

     18    experience in the fraud area at all.                 Just in imports

     19    purchasing.       And she said at the end that she thought

     20    she could be fair.

     21                     THE COURT:      Both those challenges for cause

     22    will be denied.

     23                     You can still use them on peremptory

     24    challenges.       They will be denied at this time.

     25                     Now peremptory challenge, let me go toward
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    220 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          336 Trial Page 43 of 244                      42


      1    the first eight.         Wait until -- exercise 9 through 14.

      2                     First peremptory challenge is with the

      3    plaintiff.

      4                     MR. KRAMER:       Your Honor, we would excuse

      5    Juror No. 4.

      6                     THE COURT:      Okay.     And so No. 9 goes into

      7    that position.

      8                     So now the peremptory challenge is with the

      9    defense.

     10                     MS. LANE:      This is Shannon Lane.           We would

     11    excuse Juror No. 6.

     12                     THE COURT:      Okay.     Okay.     So 6 and 10 goes

     13    into that position.          And we are back with the plaintiff.

     14    Each one gets four challenges because we are going to

     15    pick eight.

     16                     Also, remember, if you pass you don't lose

     17    it unless the other side passes.

     18                     MR. KRAMER:       Your Honor, we would ask to

     19    excuse Juror No. 8.

     20                     THE COURT:      8?

     21                     MR. KRAMER:       Yes, please.

     22                     THE COURT:      I thought you guys were going to

     23    go for 7.

     24                     MR. KRAMER:       The language issues and --

     25                     THE COURT:      8 will be excused.          And we will
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    221 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          337 Trial Page 44 of 244                      43


      1    put No. 11 in 8's position.

      2                     And the peremptory challenge is back with

      3    the defendants.

      4                     MS. LANE:      The defendant would like to

      5    excuse the new Juror No. 6, former Juror No. 10.

      6                     THE COURT:      Sure.      Sure.

      7                     MR. KRAMER:       Sorry.     Juror No. 10?

      8                     MS. LANE:      Yes.

      9                     THE COURT:      Juror No. 12 will go into Juror

     10    6 position.

     11                     So we are back with the plaintiff.

     12                     MR. KRAMER:       Yeah, Your Honor.         I think we

     13    are going to ask Juror No. 7.

     14                     THE COURT:      13 will go in that position.

     15                     And the peremptory challenge is with the

     16    defense.

     17                     MS. LANE:      We would like to excuse Juror No.

     18    3.

     19                     THE COURT:      Juror No. 3.

     20                     14 will go into 3's position.

     21                     Each side has one peremptory challenge left.

     22                     With the plaintiff.

     23                     MR. KRAMER:       14 is now in 3.

     24                     THE COURT:      Well, we'll bring in seven --

     25                     MR. KRAMER:       Thank you, Your Honor.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    222 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          338 Trial Page 45 of 244                      44


      1                      THE COURT:     It's always a -- we don't know

      2    who's out there.

      3                      MR. KRAMER:      We don't.       Your Honor, we are

      4    going to pass.

      5                      THE COURT:     You don't lose it unless they

      6    pass.

      7                      MS. LANE:     Okay.     Defense would like to

      8    excuse Juror No. 5.

      9                      THE COURT:     Juror No. 5.

     10                      And when we come back, you will have one

     11    left.     Okay.     Okay.

     12                      THE CLERK:     How many are we going to call?

     13                      THE COURT:     I think there is only six left.

     14                      (SIDEBAR CONCLUDED.)

     15                      THE COURT:     I'm going to ask the following

     16    jurors to please stand up when I call your number.

     17                      Juror No. 4, Juror No. 3.           Juror No. 5,

     18    Juror No. 6.        Do we have -- we didn't call 2, right?

     19                      THE CLERK:     No.

     20                      THE COURT:     Okay.     Good.     Juror No. 7.

     21    That's you.        Juror No. 8.        Juror No. 10.

     22                      At this time, I'm going to excuse you to go

     23    back to the jury room.           Remember the admonishment --

     24    well, forget the admonishment.               You're going to be free

     25    at this time to go back to the jury room.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    223 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          339 Trial Page 46 of 244                      45


      1                     If you want to come back in and sit in the

      2    trial, see what's going on, that's fine.                   You probably

      3    won't.     If you can get out early, you'll get out early.

      4                     But it's been a pleasure having you with us.

      5                     You're excused to go back there at this

      6    time.

      7                     THE CLERK:      The jury room --

      8                     THE COURT:      Hold on.

      9                     THE CLERK:      The jurors can go home since

     10    they're excused before noon.              They should contact their

     11    employer in case they have to go to work.

     12                     THE COURT:      Jurors, you don't have to go

     13    back to the jury room.           You can go home.

     14                     Juror No. 14, if you could go back to seat

     15    No. 3.

     16                     Juror No. 9, take seat No. 4, please.

     17                     Juror No. 12, if you could take seat No. 6.

     18                     We'll leave 5 empty.

     19                     Juror No. 13, if you could take seat No. 7.

     20                     And Juror No. 11, if you could take seat No.

     21    8.    Back here.      8's the last seat here.

     22                     Okay.    We're going to call the name of

     23    additional jurors.          And if you'd come up, if you could

     24    first take seat No. 5, the first person called, fill in

     25    the front row 9, through the rest of the front row.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    224 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          340 Trial Page 47 of 244                      46


      1                     THE CLERK:      Irene Wong, W-o-n-g.           Middle of

      2    the back row.

      3                     For seat No. 9 in the front row, Maximiliano

      4    Montes, M-o-n-t-e-s.

      5                     Lexie Johnson, J-o-h-n-s-o-n.

      6                     Richard Herr, H-e-r-r.

      7                     Isaiah.     Last name spelled Espiritu,

      8    E-s-p-i-r-i-t-u.

      9                     And Gloria Herrera, H-e-r-r-e-r-a.

     10                     THE COURT:      Okay.     I'm going to be directing

     11    my question just to the six new jurors that have sat

     12    down here.

     13                     Have the six of you been listening carefully

     14    to the questions I asked?             I've got to get a response.

     15                     THE PROSPECTIVE JURORS:            Yes.

     16                     THE COURT:      Okay.     I don't want to waste

     17    time going individually.

     18                     Is there any one of you who thinks there's

     19    anything you should call to our attention as far as your

     20    ability to hear this case?

     21                     THE PROSPECTIVE JURORS:            No.

     22                     THE COURT:      Let me start with Juror No. 5.

     23    Can we have your name, please.

     24                     THE PROSPECTIVE JUROR:           Irene Wong.

     25                     THE COURT:      And the city you live in?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    225 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          341 Trial Page 48 of 244                      47


      1                     THE PROSPECTIVE JUROR:           Diamond Bar.

      2                     THE COURT:      And your occupation.

      3                     THE PROSPECTIVE JUROR:           Accounting

      4    department.

      5                     THE COURT:      And anyone in the home that

      6    works outside the home?

      7                     THE PROSPECTIVE JUROR:           My husband is a

      8    financial analyst.

      9                     THE COURT:      You've heard all the questions

     10    we've asked.        I don't want to get redundant on it.

     11                     But is there anything that you've heard that

     12    would make you think you could not be a good juror in a

     13    case like this?

     14                     THE PROSPECTIVE JUROR:           Honestly, because

     15    I'm doing -- the company that I work for, they are doing

     16    imports.      So most of the stuff we do, we just follow all

     17    the custom border like the ruling and everything so not

     18    sure whether there is a --

     19                     THE COURT:      So do you get into -- yourself,

     20    in your work, do you get into what is part of the duties

     21    or what's not?

     22                     THE PROSPECTIVE JUROR:           No.    We just called

     23    and they tell us what to pay and then we just pay.

     24                     THE COURT:      You don't get into saying what's

     25    coming in or what's not or whether or not it's subject
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    226 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          342 Trial Page 49 of 244                      48


      1    to duties or not?

      2                     THE PROSPECTIVE JUROR:           No.

      3                     THE COURT:      So that's really the area that

      4    we are addressing.          Not the area you were talking about.

      5                     Can you see of any reason why you could not

      6    be fair to both sides in a case like this?

      7                     THE PROSPECTIVE JUROR:           We always follow the

      8    custom and we don't dispute, so I don't know.

      9                     THE COURT:      One's saying they didn't follow

     10    the customs procedures, the other one's saying, I did.

     11    It's a dispute whether they did or didn't.                   That is

     12    going to depend on whatever the evidence is that comes

     13    into Court.       It's like -- you know, I can remember when

     14    I was -- I hate telling war stories, but I can remember

     15    when I was trying drunk driving cases.                  I'd have people

     16    say, Well, I can't be fair because I don't like drunk

     17    drivers.      I'd say, Well, duh.          I mean, that is -- it's

     18    not whether or not you like drunk drivers or not, it's

     19    whether or not you can be fair in saying whether the

     20    evidence says there was a violation or not.                    That's what

     21    we are talking about.

     22                     So in this case -- I guess that's my

     23    question:      Can you be fair in telling us, does the

     24    evidence say there's a violation or not?

     25                     THE PROSPECTIVE JUROR:           I don't know.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    227 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          343 Trial Page 50 of 244                      49


      1                     THE COURT:      Okay.     Well, you do understand

      2    how important that is?           I mean, one side's saying yes;

      3    one side's saying no.           They got to bring it to you, they

      4    got to present the evidence, and you tell us whether the

      5    evidence says yes or no.            That's what we are talking

      6    about.

      7                     THE PROSPECTIVE JUROR:           Okay.     Yes.

      8                     THE COURT:      Let me go to Juror No. 9.

      9                     Can we have your name, please.

     10                     THE PROSPECTIVE JUROR:           It's Maximiliano

     11    Montes.

     12                     THE COURT:      What area do you live in?

     13                     THE PROSPECTIVE JUROR:           I live in Gardena.

     14                     THE COURT:      And what's your occupation?

     15                     THE PROSPECTIVE JUROR:           Well, recently

     16    retired.      But I was a utility worker.               I worked as a ETR

     17    for SoCalGas.

     18                     THE COURT:      Is there anyone in the home that

     19    works outside the home?

     20                     THE PROSPECTIVE JUROR:           No.     My wife is

     21    retired now.

     22                     THE COURT:      How about you, anything we

     23    talked about that you should call to our attention why

     24    you would not be a good juror?

     25                     THE PROSPECTIVE JUROR:           No.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    228 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          344 Trial Page 51 of 244                      50


      1                     THE COURT:      Fair to both sides?

      2                     THE PROSPECTIVE JUROR:           Yes.

      3                     THE COURT:      Number 10.

      4                     THE PROSPECTIVE JUROR:           Lexie Johnson.        I

      5    live in Woodland Hills.            I work for Cedar Sinai as a

      6    coder specialist.

      7                     THE COURT:      Anyone in the home work outside

      8    the home?

      9                     THE PROSPECTIVE JUROR:           No.

     10                     THE COURT:      Same question to you.           I hate to

     11    get boring on this.          Can you be fair and just tell us

     12    what the evidence says whether you like it or not?

     13                     THE PROSPECTIVE JUROR:           Yes.

     14                     THE COURT:      Which means you can be fair to

     15    both sides?

     16                     THE PROSPECTIVE JUROR:           Yes.

     17                     THE COURT:      Next juror.

     18                     THE PROSPECTIVE JUROR:           My name is Richard

     19    Herr.     Pasadena, California.           I was a certified public

     20    accountant.       I'm currently retired.

     21                     THE COURT:      Okay.     Anybody in --

     22                     THE PROSPECTIVE JUROR:           No.

     23                     THE COURT:      Just taking account here, you're

     24    right to the point.

     25                     THE PROSPECTIVE JUROR:           You can move on.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    229 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          345 Trial Page 52 of 244                      51


      1                     THE COURT:      Anything you can think of as to

      2    why you'd not be fair to both sides?

      3                     THE PROSPECTIVE JUROR:           No.    I just want to

      4    make it clear that in my audit days, I have done audits

      5    of import, exports.          Looking at title transfers, you

      6    know, currency and, you know, chasing who owns what at

      7    what time.       So I have had -- obviously it's been a

      8    number of years I'm retired.              But I have had some

      9    experience in that particular area.

     10                     THE COURT:      And two things.         Number one is

     11    that -- can you still be fair telling us what the facts

     12    are in this case?         We don't care about --

     13                     THE PROSPECTIVE JUROR:           Yeah, I understand.

     14    I just wanted to make sure I --

     15                     THE COURT:      I understand that.

     16                     THE PROSPECTIVE JUROR:           I will try my best.

     17                     THE COURT:      If you couldn't, you would raise

     18    your hand and let us know?

     19                     THE PROSPECTIVE JUROR:           Yes, okay.

     20                     THE COURT:      There was another question I was

     21    going to ask you.

     22                     Oh, the other one is self-obvious.                You

     23    understand how important it is we try this case on just

     24    the evidence here.          We don't want a jury going back in

     25    there and saying, Hey, it was never mentioned in the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    230 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          346 Trial Page 53 of 244                      52


      1    trial, but let me tell you what really happens in the

      2    real world.       You would avoid that?

      3                     THE PROSPECTIVE JUROR:           Yeah.

      4                     THE COURT:      Okay.

      5                     THE PROSPECTIVE JUROR:           Try to.

      6                     THE COURT:      Next juror.

      7                     THE PROSPECTIVE JUROR:           My name is Isaiah

      8    Espiritu.      I'm a registered nurse.            I live in

      9    Long Beach.       My wife is a caregiver.

     10                     THE COURT:      How about you, what is it about

     11    you that might cause you not to be a good juror?

     12                     THE PROSPECTIVE JUROR:           I don't believe

     13    there's anything that would cause me not to be a good

     14    juror.

     15                     THE COURT:      I should have asked it the other

     16    way around:       Could you be a good juror for both sides?

     17                     THE PROSPECTIVE JUROR:           I believe I can.

     18                     THE COURT:      Thank you very much.

     19                     Next juror.

     20                     THE PROSPECTIVE JUROR:           Gloria Herrera.

     21                     THE COURT:      And the city do you live in?

     22                     THE.

     23                     THE PROSPECTIVE JUROR:           South Los Angeles.

     24                     THE COURT:      Los Angeles?

     25                     THE PROSPECTIVE JUROR:           Yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    231 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          347 Trial Page 54 of 244                      53


      1                     THE COURT:      What is your employment?

      2                     THE PROSPECTIVE JUROR:           I'm unemployed right

      3    now.

      4                     THE COURT:      I'm sorry.

      5                     THE PROSPECTIVE JUROR:           I'm unemployed right

      6    now.

      7                     THE COURT:      Have you been employed before?

      8                     THE PROSPECTIVE JUROR:           No.

      9                     THE COURT:      And is there anyone in the home

     10    that works outside the home?

     11                     THE PROSPECTIVE JUROR:           Yes.     My sister.

     12                     THE COURT:      What type of work does she do?

     13                     THE PROSPECTIVE JUROR:           Works with children.

     14                     THE COURT:      Is there anything you can think

     15    of as to why -- something you might bring into this

     16    trial?

     17                     THE PROSPECTIVE JUROR:           (No response.)

     18                     THE COURT:      In other words, do you have any

     19    experience in any of these areas, importation or

     20    anything like that?

     21                     THE PROSPECTIVE JUROR:           No.

     22                     THE COURT:      And can you think of -- can you

     23    tell us any reason why you would not be a good juror?

     24                     THE PROSPECTIVE JUROR:           No.

     25                     THE COURT:      Sorry.      Didn't hear.       Again, do
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    232 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          348 Trial Page 55 of 244                      54


      1    you understand the question?

      2                     THE PROSPECTIVE JUROR:           Yeah.

      3                     THE COURT:      Is there any reason why you

      4    would not be a good juror that you can think of?

      5                     THE PROSPECTIVE JUROR:           No.

      6                     THE COURT:      No?     Is that -- you're shaking

      7    your head no.        I can't hear you.

      8                     Do you want me to ask the question again?

      9    Did you understand the question that I asked?

     10                     THE PROSPECTIVE JUROR:           Yes.

     11                     THE COURT:      What did I ask?

     12                     THE PROSPECTIVE JUROR:           (No response.)

     13                     THE COURT:      Okay.     Let's go on.

     14                     General questions.          I've already asked --

     15    you already know where I'm going.                Has anybody had any

     16    experience in the area of importations, duties that

     17    hadn't been paid, along those lines?

     18                     THE PROSPECTIVE JUROR:           No.

     19                     THE COURT:      I know as an accountant you have

     20    had some experience on that.              But that was an accounting

     21    viewpoint; is that correct?

     22                     THE PROSPECTIVE JUROR:           To produce an audit.

     23                     THE COURT:      Is there anybody in -- I've

     24    asked these general questions.               So anybody has any close

     25    friend or relatives or anybody that's in the area that
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    233 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          349 Trial Page 56 of 244                      55


      1    we were talking about as far as importation goes, of the

      2    six of you?

      3                     THE PROSPECTIVE JURORS:            No.

      4                     THE COURT:      Anybody that has a lawsuit going

      5    or is involved with a lawsuit or the government feels

      6    that you owe them money and you haven't paid them yet?

      7                     THE PROSPECTIVE JUROR:           No.

      8                     THE COURT:      Anybody had active civil case in

      9    the last ten years where you were sued or been sued?

     10                     THE PROSPECTIVE JUROR:           No.

     11                     THE COURT:      How many of the six of you have

     12    sat on juries before?

     13                     Juror Number 9.        Let's get the microphone

     14    down here.       Let's go to Number 9 first.              We have to do

     15    it in order.

     16                     How many have you been on?

     17                     THE PROSPECTIVE JUROR:           I've lost count.

     18    About five.       Four -- five over the last 30 years.

     19                     THE COURT:      We have a professional juror

     20    here.

     21                     Was it all criminal or civil or what?

     22                     THE JUROR:      Five criminal, one civil.

     23                     THE COURT:      You understand the difference

     24    between the burden of proof?              You have no problem with

     25    that?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    234 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          350 Trial Page 57 of 244                      56


      1                     THE PROSPECTIVE JUROR:           Yes, I do.

      2                     THE COURT:      Nothing about those cases you

      3    bring into this case?

      4                     THE PROSPECTIVE JUROR:           No.

      5                     THE COURT:      Next juror that's had jury duty.

      6                     THE PROSPECTIVE JUROR:           Just one.      They

      7    settled before we got started.

      8                     THE COURT:      Do you know if it was criminal,

      9    civil?

     10                     THE PROSPECTIVE JUROR:           Civil.

     11                     THE COURT:      Okay.     But you weren't asked to

     12    decide the case?

     13                     THE PROSPECTIVE JUROR:           No.    They --

     14                     THE COURT:      Nothing about that case that

     15    relates to this case?

     16                     THE PROSPECTIVE JUROR:           No.

     17                     THE COURT:      Next juror.

     18                     THE PROSPECTIVE JUROR:           I've been at Clara

     19    Shortridge about three times; Stanley Moss, a couple;

     20    Glendale, once; Pasadena, once; and El Monte, once.

     21                     THE COURT:      You got competition.

     22                     The ones obviously at Clara Shortridge were

     23    criminal cases.         The other ones were civil, I'm

     24    assuming.

     25                     You have no problem making the distinction
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    235 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          351 Trial Page 58 of 244                      57


      1    between criminal and civil cases -- the burden of proof?

      2    You understand --

      3                     THE PROSPECTIVE JUROR:           Yes.

      4                     THE COURT:      You understand that?

      5                     Okay.

      6                     And nothing about those cases you've been on

      7    were similar to this case?

      8                     THE PROSPECTIVE JUROR:           Yes.

      9                     THE COURT:      Anybody else have jury duty?

     10                     THE PROSPECTIVE JUROR:           Hello, Your Honor.

     11    I've been on one criminal case.

     12                     THE COURT:      And you realize this one is

     13    civil, different burden of proof?

     14                     THE PROSPECTIVE JUROR:           Correct.

     15                     THE COURT:      Anything about that case that

     16    relates to this case?

     17                     THE PROSPECTIVE JUROR:           No.

     18                     THE COURT:      And you feel you could be fair

     19    and impartial in this case?

     20                     THE PROSPECTIVE JUROR:           That's correct.

     21                     THE COURT:      As to all of you, the six new

     22    jurors, do you feel you could be fair and impartial to

     23    both sides; give the defendant a fair trial and the

     24    plaintiff a fair trial?

     25                     THE PROSPECTIVE JURORS:            Yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    236 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          352 Trial Page 59 of 244                           58


      1                     THE COURT:      Okay.     Counsel, let me see you

      2    over at the side bench.

      3                     Yes.

      4                     THE PROSPECTIVE JUROR:           Is this on?

      5                     THE COURT:      Just keep your voice up.

      6                     THE PROSPECTIVE JUROR:           There it is.        I was

      7    involved in a Lemon law case --

      8                     THE COURT:      Okay.

      9                     THE PROSPECTIVE JUROR:           -- about five years

     10    ago.

     11                     THE COURT:      That's what I want to know.                 It

     12    doesn't seem like that would have anything to do with a

     13    case like this.

     14                     THE PROSPECTIVE JUROR:           No, sir.      I just

     15    wanted to say that.

     16                     THE COURT:      And any experiences you had in

     17    that case you would leave out in this case?

     18                     THE PROSPECTIVE JUROR:           Yes, sir.

     19                     THE COURT:      Sounds to me not similar at all.

     20                     THE PROSPECTIVE JUROR:           No.

     21                     THE COURT:      Thank you.

     22                     (SIDEBAR.)

     23                     THE COURT:      Okay.     Challenges for cause.

     24                     MR. KRAMER:       Yes.    This is Kelly Kramer.

     25    Challenge Juror No. 5 for cause.               She indicated that she
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    237 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          353 Trial Page 60 of 244                      59


      1    was experienced in importation.               She did not know if she

      2    could be fair.        And that ultimately acknowledged it was

      3    possible, but I think there is substantial hesitation.

      4                     THE COURT:      She hindered quite a bit.

      5                     MS. LANE:      I think she's has a better

      6    understanding about rules about bias and everything to

      7    her sounded much more confident.

      8                     THE COURT:      Anybody else for cause?

      9                     MS. LANE:      We would challenge Juror No. 14,

     10    the last one.

     11                     THE COURT:      13?

     12                     Any comment on that?

     13                     MR. KRAMER:       I don't have anything to say.

     14                     THE COURT:      Okay.     I am convinced that both

     15    of those are a problem.            So they both will be excused.

     16                     The Juror No. 9 will go into 5.

     17                     And we have one peremptory challenge left,

     18    and that's with the government -- not government.

     19    Sorry.

     20                     MR. KRAMER:       Pseudo government.

     21                     Your Honor, we would ask to strike Juror No.

     22    9.

     23                     THE COURT:      Okay.

     24                     MR. KRAMER:       I think we are out.          That's it.

     25    We have --
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    238 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          354 Trial Page 61 of 244                      60


      1                     THE COURT:      We have a jury.         Let me tell you

      2    what we'll do on this.           I don't know if you're

      3    comfortable or not to go into opening statement before

      4    lunch.     We'll break in about 45 minutes.

      5                     Maybe we take a short break now, give

      6    preinstructions, and have the lunch hour to think about

      7    your opening statement.            Okay?

      8                     MR. KRAMER:       Okay.     Sounds good.

      9                     (SIDEBAR CONCLUDED.)

     10                     THE COURT:      Okay.     The following jurors can

     11    stand up, please.

     12                     Juror No. 5, Juror No. 9, and Juror No. 13.

     13    Let me see what we have here.              Okay.     You're excused at

     14    this time.       Thank you very much for being with us.

     15                     Juror No. 10, I will have you see if you can

     16    get back to seat No. 5 back there.                 The best way is to

     17    come all the way out.           Otherwise, somebody is going to

     18    fall and we're going to have a lawsuit on our hands.

     19                     Okay.    I'm going to have the eight jurors in

     20    the back rows please stand up.               And if you could be

     21    sworn in at this time as the jury.

     22                     THE CLERK:      Okay.     Please raise your right

     23    hand.

     24                     Ladies and gentlemen of the jury, do you

     25    solemnly swear that you will well and truly try the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    239 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          355 Trial Page 62 of 244                      61


      1    cause now before the Court and a true verdict therein

      2    render, according to the evidence and the instructions

      3    of this Court so help you God?

      4                     THE JUROR:      I do.

      5                     THE COURT:      Thank you.

      6                     The eight of you feel comfortable -- you can

      7    have seats.

      8                     The eight of you feel comfortable trying

      9    this case?       Is that correct?         Anybody not?

     10                     Juror No. 11 and Juror No. 12, I'm going to

     11    excuse you to go -- well not to go back to the jury

     12    room.     Excuse you to get lunch or whatever you want to

     13    do.     You're excused at this time.             Thank you very much.

     14                     Okay.    Ladies and gentlemen, you're now the

     15    jury in this case.

     16                     I'm going to be instructing you.               It's

     17    called preinstructions.            It's instructions I'm going to

     18    give to you so you can understand what's happening as

     19    the evidence comes in and what your conduct should be.

     20                     And then we'll get into the opening

     21    statements, et cetera.

     22                     But I'm not going to do that now because

     23    we've been here for a while.              So I give you a ten-minute

     24    break -- 15-minute break.

     25                     When you come back in, I'll preinstruct you
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    240 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          356 Trial Page 63 of 244                      62


      1    on -- and then we will cut you loose for lunch.                     And

      2    then we'll come back in about 1:00 o'clock.

      3                     Remember the admonishment -- well, I didn't

      4    give you the admonishment yet.               I will be instructing

      5    you every time you break that you not discuss this case

      6    among yourselves or with anybody else or form or express

      7    any opinions about the matter until it's submitted to

      8    you and retire to the jury room.

      9                     You may say, what do you mean, don't form or

     10    express any opinions about the matter?                  I'm the juror in

     11    this case.       It's kind of technical, but we have to

     12    understand what a jury is all about.

     13                     The jury is where eight people will listen

     14    to the evidence, do not form an opinion.                   You go back to

     15    the jury room, you listen to all the input of the other

     16    jurors before you form an opinion.                That's when you form

     17    your opinion, after you've heard everybody else in the

     18    jury speak.

     19                     Otherwise, you may form an opinion at this

     20    time, and because you formed it, you're not going to

     21    change that opinion no matter what, not even if they

     22    convince you you're wrong or not.                So that's why we ask

     23    you not to form or express any opinions about the matter

     24    until it's submitted to you and you retire to the jury

     25    room for your deliberation.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    241 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          357 Trial Page 64 of 244                       63


      1                     Second thing is, during the course of the

      2    trial, all parties are ordered that they're not to have

      3    any contact with the members of the jury at all.                      And

      4    vice versa also, you're not to have any contact with

      5    them.     If somebody comes up and says "Good morning" to

      6    you, you're going to have to ignore them.                   I know it's

      7    impolite, but you're going to have to ignore them.

      8    Because if one side sees somebody else talking to a

      9    juror, they don't know what you're talking about.                      It's

     10    just not a good position to put people in.

     11                     During the course of the jury, you're not to

     12    talk to anybody about this case or let anybody talk to

     13    you about the case.

     14                     If somebody approaches you and wants to talk

     15    to you about it, let the Court know right away.

     16                     Okay.    If no questions, we're going to

     17    excuse you for about 15 minutes.               Then we'll come back

     18    in go to the preinstructions.

     19                     (BREAK TAKEN.)

     20                     THE CLERK:      You may be seated.

     21                     THE COURT:      Okay.     I'm going to go through

     22    the preinstructions.           It won't take very long at all.

     23    Then we're excused for lunch.              And we'll come back and

     24    go into opening statements.

     25                     Members of the Jury, you are now the jury in
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    242 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          358 Trial Page 65 of 244                      64


      1    this case.       It is my duty to instruct you on the law

      2    that applies.        It is your duty to find, as we said

      3    before, the facts from all evidence in this case.

      4                     To those facts you will apply the law as I

      5    give it to you.         You must follow the law as I give it to

      6    you, whether you agree with it or not.

      7                     You must not be influenced by any personal

      8    likes or dislikes, opinions, prejudices or sympathy.

      9    This means that you must decide this case solely on the

     10    evidence before you.           You will recall that you just took

     11    an oath to do so.

     12                     At the end of the trial, I will give you

     13    final instructions.          It is those final instructions that

     14    with govern your deliberations.

     15                     Please do not read into these instructions

     16    or anything that I may say or do that I have an opinion

     17    regarding the evidence or what your verdict should be.

     18                     A party has a burden of proving any claim or

     19    affirmative defense by a preponderance of the evidence.

     20    It means that you must be persuaded by the evidence that

     21    the claim or the affirmative defense is more probably

     22    true than not true.          You should base your decision on

     23    all the evidence regardless of which party presents it.

     24                     The evidence you are to consider in deciding

     25    the facts consists of, as I said before, the sworn
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    243 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          359 Trial Page 66 of 244                      65


      1    testimony of witnesses; exhibits that are admitted and

      2    received into evidence; and any fact to which both sides

      3    have agreed.

      4                     In reaching your verdict you may consider

      5    only the testimony and exhibits received into evidence.

      6    Certain things are not evidence and may not be

      7    considered -- and you may not consider them in deciding

      8    what the facts are.          And I'll list some of them for you:

      9    Arguments or statements of the attorneys are not

     10    evidence.      The lawyers are not witnesses.               What they may

     11    say in their opening statements or closing arguments or

     12    at other times is intended to help you interpret the

     13    evidence, but it is not evidence.

     14                     If the facts as you remember them differ

     15    from the way attorneys have stated them, it is your

     16    memory that controls.

     17                     Questions or objections by the lawyers are

     18    not evidence.        Attornies have a duty to their client to

     19    object when they believe that a question is improper

     20    under the rules of evidence.

     21                     You must not be influenced by the objection

     22    or the Court's ruling on the objection.

     23                     Testimony that's excluded or stricken or

     24    that you have been instructed to disregard is not

     25    evidence and must not be considered by you.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    244 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          360 Trial Page 67 of 244                        66


      1                     In addition, sometimes evidence may be

      2    received for a limited purpose.               When I instruct you to

      3    consider certain evidence only for a limited purpose,

      4    you must do so and may not consider that evidence for

      5    any other purpose.

      6                     Anything you may see or hear when Court is

      7    not in session is not evidence.

      8                     You are to decide this case solely on the

      9    evidence received in this trial.

     10                     Evidence may be either direct or

     11    circumstantial.         Direct evidence is direct proof of a

     12    fact, such as the testimony by a witness about what that

     13    witness personally saw or heard or did.

     14                     Circumstantial evidence is proof of one or

     15    more facts from which you can find another fact.

     16                     You should consider both kinds of evidence.

     17    The law makes to distinction between the weight to be

     18    given to either direct or circumstantial evidence.                        It

     19    is for you to decide how much weight is to be given to

     20    any evidence.

     21                     There are rules of evidence that control

     22    what can be received into evidence.                 When a lawyer asks

     23    a question or offers an exhibit into evidence, and the

     24    lawyer on the other side thinks it is not permitted by

     25    the rules of evidence, that lawyer may object.                     If I
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    245 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          361 Trial Page 68 of 244                      67


      1    overrule the objection, the question may be answered or

      2    the exhibit received.           If I sustain the objection, the

      3    question cannot be answered, and the exhibit cannot be

      4    received.

      5                     Whenever I sustain an objection to a

      6    question, you must ignore that question and must not

      7    guess as to what the answer might have been.

      8                     Sometimes I may order that evidence be

      9    stricken from the record or that you disregard that

     10    evidence.      That means in deciding this case, you must

     11    not consider anything that I ordered you to strike or

     12    disregard.

     13                     In deciding the facts of this case, you may

     14    have to decide which testimony to believe and which

     15    testimony not to believe.             You may believe everything

     16    that a witness says or part of it or none of it.                      In

     17    considering the testimony of a witness, you may take

     18    into account the opportunity and the ability of the

     19    witness to see or hear or know the things testified to,

     20    the witness' memory, the witness' manner while

     21    testifying, the witness' interest in the outcome of the

     22    case, if any.        The witness' bias or prejudice, if any.

     23                     Whether other evidence contradicts that

     24    witness' testimony, the reasonableness of the witness'

     25    testimony in light of all the other evidence or any
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    246 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          362 Trial Page 69 of 244                      68


      1    other fact that bears on believability.                  The weight of

      2    the evidence as to any fact does not necessarily depend

      3    on the number of witnesses who have testified.

      4                     What is important is how believable the

      5    witnesses were, and how much weight you think the

      6    testimony deserves.

      7                     Let me say a few words about the conduct.                   I

      8    mentioned this a little bit earlier today.                   First, you

      9    must keep an open mind through the trial.                   Do not decide

     10    what the verdict should be until you and your fellow

     11    jurors have completed your deliberations at the end of

     12    the case.

     13                     Second, you must decide this case only on

     14    the evidence received in this case and on the

     15    instructions of the law that applies.                 You must not be

     16    exposed to any other information about the case or the

     17    issues it involves during the course of your jury duty.

     18                     Thus, until the end of the case, I will

     19    instruct you:        Do not communicate with anyone in any

     20    manner or in any way.           Do not let anybody communicate

     21    with you in any way about the merits of this case or

     22    anything to do with it.

     23                     This includes discussing the case in person

     24    and in writing, by phone, by electronic means, via

     25    email, text messaging or Internet chatrooms or blogs,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    247 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          363 Trial Page 70 of 244                      69


      1    websites or other social media.

      2                     It applies to communicating with your fellow

      3    jurors until I have given you the case for your

      4    deliberation.        And it implies to communicating with

      5    everyone else, including you family members or your

      6    employer and the people involved in this trial.

      7                     Although you may notify your family and

      8    employer that you have been seated on a case and how

      9    long that will take, but it is -- if anybody asks you or

     10    approaches you in any way about your jury service or

     11    anything to do with this case, you must respond that you

     12    have been ordered not to discuss this matter and report

     13    it to the Court immediately.

     14                     Because you will receive all the evidence

     15    and legal instructions, you properly may consider to

     16    return a verdict.         Do not do any research, such as

     17    consulting dictionaries, searching the Internet or using

     18    other reference material.             And do not make any

     19    investigations or in any other way try to learn about

     20    the facts of the case, other than here in Court.

     21                     The law requires these restrictions to

     22    ensure the parties have a fair trial based on the same

     23    evidence.      And each party has the opportunity to

     24    address.

     25                     A jury who violates these restrictions
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    248 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          364 Trial Page 71 of 244                        70


      1    jeopardizes the fairness of the proceedings and a

      2    mistrial can result which would require the entire

      3    process to start over again.

      4                     If any juror is exposed to any outside

      5    information, please let the Court know immediately.

      6                     I urge you to pay close attention to the

      7    testimony as it is given during your deliberations.                          You

      8    will not have a transcript of the testimony.                    If you

      9    wish to take notes, you may do that.                 If you do take

     10    notes, keep them to yourselves, and do not be overly

     11    influenced by your notes.             Don't let them distract you

     12    from hearing what's going on as far as evidence is

     13    concerned.       Notes are only a way to help you remember

     14    things.      It is your memory that controls, not notes.                      So

     15    your notes or the notes of others should not be given

     16    undue -- should not be given a lot influence insofar as

     17    it's your memory that controls.               But if you take notes,

     18    you can leave them here in the courtroom, and nobody

     19    will see those notes.           We will keep them confidential.

     20                     Now, the trial proceeds in the following way

     21    as soon as we get back from lunch.                First, each side may

     22    make an opening statement.             And I've talked to the

     23    attorneys and it will be up to 20 minutes on opening

     24    statements.

     25                     Any opening statement is not evidence.                  It
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    249 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          365 Trial Page 72 of 244                      71


      1    is simply an outline to help you decide what the parties

      2    expect the evidence will show.               A party is not required

      3    to make an opening statement.

      4                     The plaintiff after opening statement will

      5    then present evidence.           And counsel for the defendant

      6    may cross-examine.          Then the defendant may present

      7    evidence and counsel for the plaintiff may

      8    cross-examine.

      9                     After the evidence has been presented, I

     10    will instruct you on the law that applies to this case,

     11    after the attorneys make their closing arguments.                      After

     12    that, you will go back to the jury room to deliberate

     13    and to arrive at your verdict.

     14                     Any questions we have before I excuse you

     15    for lunch?       If not, we'll see you back in at

     16    1:00 o'clock.

     17                     And remember the admonishment not to discuss

     18    the case among yourself or with anybody else or form or

     19    express any opinions about the matter until it is

     20    submitted to you and you retire to the jury.

     21                     If you leave quietly, I've got to talk to

     22    the attorneys a little bit.

     23                     (OUTSIDE THE PRESENCE OF THE JURY.)

     24                     THE COURT:      Okay.     The record will reflect

     25    that all the jurors have left the courtroom.                    You may
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    250 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          366 Trial Page 73 of 244                      72


      1    have seats.

      2                     Counsel, somebody wanted to talk to the

      3    Court?

      4                     MR. HENDY:      Yes, Your Honor.          Mitchell Hendy

      5    on behalf of Island.           There are two matters that we have

      6    not been able to reach agreement with opposing counsel.

      7    We would like to raise that before opening statements.

      8                     First, at the final pretrial conference,

      9    there was some discussion about exclusion of witnesses.

     10    And there's been a disagreement between the parties as

     11    to whether Island's expert witness, Kelli Thompson,

     12    should be excluded from the trial.                And we would request

     13    that --

     14                     THE COURT:      Counsel, the ruling of the Court

     15    on these matters is always the same.                 If there's a

     16    motion to exclude witnesses, it will be granted.

     17                     MR. CURRAN:       Your Honor, on behalf of the

     18    defense, we move under Federal Rule of Evidence.

     19                     THE COURT:      That will be granted.           Your

     20    witnesses will remain outside.

     21                     I know some courts will allow experts in to

     22    hear other testimony.           We don't do that here.

     23                     MR. HENDY:      Briefly.      Under Rule 615, I

     24    believe an expert could be an essential witness.

     25                     THE COURT:      Could be.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    251 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          367 Trial Page 74 of 244                      73


      1                     Next question that you have.

      2                     MR. HENDY:      The second issue is there's been

      3    a dispute between the parties as to Island's summary

      4    exhibit, which is a summary of all the form 7501s and

      5    entry packets that Sigma enforce contain.

      6                     We prepare a summary exhibit using Sigma's

      7    own documents.        And Sigma has objected that the exhibit

      8    is inaccurate without elaborating.                We tried multiple

      9    times to meet and confer over that to no avail.                     We have

     10    gotten no elaboration.

     11                     We have an associate who's prepared to take

     12    the stand and testify as to how that exhibit was

     13    created.      We just feel like that might not be the best

     14    use of the Court's or jury's time.

     15                     THE COURT:      Probably wouldn't be.           If you

     16    guys can agree on something, that's fine.                   If you can't

     17    agree on it, then you'll have to prove it up.

     18                     But I would -- again, I would suggest to you

     19    the more you can agree on things like that, particularly

     20    something like that, the better it is.

     21                     MR. CURRAN:       We do not agree.         We would like

     22    the witness' to lay the foundation.

     23                     But I have said to Mr. Kramer he may use

     24    that document in his opening with the good faith belief

     25    that it will be admitted later in the case.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    252 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          368 Trial Page 75 of 244                      74


      1                     THE COURT:      Okay.     Okay.     Thank you very

      2    much, Counsel.

      3                     Have a pleasant lunch.            We'll see you back

      4    in at 1:00 o'clock.

      5                     (LUNCH BREAK.)

      6                     THE COURT:      Okay.     The record will reflect

      7    that all the jurors are in their respective seats in the

      8    jury box.

      9                     Ladies and gentlemen, we're now at the

     10    opening statement.          As I told you before, opening

     11    statement is not evidence.             It's just where they think

     12    the evidence is going to take you.

     13                     Both sides will have the opportunity to make

     14    an opening statement to you.

     15                     Counsel, you ready to go?

     16                     MR. KRAMER:       Yes, Your Honor.

     17                     THE COURT:      Okay.     Go ahead.

     18                     MR. KRAMER:       We need to turn the computer

     19    on.

     20                     THE COURT:      Okay.

     21                     MR. KRAMER:       Your Honor, may I remove my

     22    mask?

     23                     THE COURT:      As long as you are behind the

     24    plexiglass.

     25                     MR. KRAMER:       I will stay behind the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    253 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          369 Trial Page 76 of 244                           75


      1    Plexiglass.

      2                     May I proceed?

      3                     THE COURT:      Yes.     Please.

      4                     MR. KRAMER:       This case is about antidumping

      5    duties.      There's a special kind of tax or tariff that

      6    the United States Government imposes when it finds that

      7    foreign producers are selling goods in the United States

      8    at less than fair value.            The purpose of an antidumping

      9    duty is to combat unfair foreign trade practices.                      The

     10    idea is to level the competitive playing field.

     11                     But antidumping duties only work if

     12    importers respect them and pay them when they're due.

     13                     The defendant in this case, the Sigma

     14    Corporation, imported millions of dollars of steel pipe

     15    fittings from China.

     16                     Each and every time that they imported these

     17    products, they told Customs and Border Protection that

     18    they were reporting steel couplings, and that no

     19    antidumping duty applied.

     20                     The evidence will show that both of those

     21    statements were false.

     22                     Sigma wasn't importing steel couplings.                     It

     23    was importing a different product called a welded

     24    outlet.      And antidumping duties apply to each and every

     25    one of those shipments.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    254 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          370 Trial Page 77 of 244                      76


      1                     And in this trial, you will learn that

      2    between 2010 and 2018, Sigma's false statements cost the

      3    government, our government, more than $8 million in

      4    antidumping duties that were due but never paid.

      5                     And you will learn that Sigma's false

      6    statement hurt domestic manufacturers who were forced to

      7    compete with unlawfully dumped Chinese steel products

      8    for nearly a decade.

      9                     Ladies and gentlemen, my name is Kelly

     10    Kramer.      And with my colleague, Mitchell Hendy, it is

     11    our honor to represent one of those domestic

     12    manufactures, a company called Island Industries.

     13                     Now, in this trial, you are going to learn

     14    that a federal law called the False Claims Act

     15    authorizes companies like Island to bring suit in

     16    Federal Court against companies like Sigma upon

     17    discovering that companies like Sigma haven't been

     18    paying the antidumping duties.

     19                     A company who brings a case like that is

     20    called a relater.         And that's what Island is here.

     21                     Congress encourages relaters to come forward

     22    with cases like this because they help to protect the

     23    Treasury.

     24                     And one of the ways that Congress does that

     25    is by authorizing the relater to receive a portion of
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    255 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          371 Trial Page 78 of 244                      77


      1    the Government's recovery in cases like the one that

      2    you'll be deciding in this trial.

      3                     What that means is that Island has a stake

      4    in the outcome of this case.              And I wanted you to know

      5    that from the get-go.

      6                     Now, the purpose -- the purpose of an

      7    opening statement like this is to give you a preview of

      8    the evidence.

      9                     The judge used a jigsaw analogy already.

     10    But it is kind of like showing you a picture of a

     11    completed jigsaw puzzle before you are asked to put the

     12    pieces together.         So let me tell you what I think the

     13    evidence is going to show.

     14                     As I mentioned, my client is Island

     15    Industries.       Island is a small business based in

     16    Memphis, Tennessee.          It manufactures pipe fittings here

     17    in the United States.           Its most important product you

     18    will learn is called a welded outlet.                 There's a picture

     19    of it there on the screen.

     20                     You'll learn that a welded outlet is a --

     21    sort of a special kind of pipe fitting.                  It has this

     22    curvy very edge which is beveled.                And it's designed to

     23    be permanently welded to the side of a pipe.

     24                     You will find these welded outlets in fire

     25    protection systems, sprinkler systems, all the round the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    256 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          372 Trial Page 79 of 244                      78


      1    country.      There's probably welded outlets in this

      2    courthouse.

      3                     The defendant in this case is the Sigma

      4    Corporation.        Like Island, it distributes pipe fittings

      5    and it sells welded outlets.              That's where the

      6    similarities end.

      7                     In this trial you will learn that Sigma,

      8    while it's not so much a domestic producer, it imports

      9    most of its products.           And you will learn it does not

     10    make welded outlets at all.

     11                     It purchases them from suppliers, third

     12    parties.      Some of them are located in China.

     13                     And when Sigma purchases these products, it

     14    brings them into the country as the importer of record.

     15                     That is an important term, and it's one you

     16    might not be familiar with.             So let me provide some

     17    context.

     18                     In this trial you will learn that an

     19    importer of record is the person or entity that is

     20    legally responsible for bringing products into the

     21    United States and for paying the applicable duties or

     22    antidumping duties.

     23                     You'll learn that our system, our Customs

     24    laws, impose affirmative legal obligations on importers

     25    of record.       You'll hear that it operates in many
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    257 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          373 Trial Page 80 of 244                      79


      1    respects like an honor system.               Customs and Border

      2    Protection relies on importers of record to be candid

      3    and forthright.

      4                     There are two obligations on importers of

      5    record that are especially important in this case.

      6    First, importers of record must accurately and

      7    completely describe the products that they're bringing

      8    into the country.         It's common sense.          You have to tell

      9    Customs what it is you're importing.

     10                     And second, importers of record are

     11    obligated to determine and disclose if antidumping

     12    duties apply to their products.

     13                     I told you at the beginning this case is

     14    about antidumping duties.             And you may have never run

     15    into them before.         So let me tell you a little bit more

     16    about it.

     17                     As I mentioned, the antidumping duty is a

     18    special kind of tariff that the United States Government

     19    imposes, if after conducting a full investigation, the

     20    United States Government concludes that foreign

     21    producers are selling goods in the United States at less

     22    than fair value.

     23                     Now, you might be wondering, why would a

     24    foreign producer do that?             Why sell at less than fair

     25    value.     In this trial you will learn that some countries
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    258 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          374 Trial Page 81 of 244                      80


      1    as a matter of trade policy, as a matter of national

      2    economic security, they encourage producers -- they

      3    encourage their producers to undercut American

      4    manufacturers in the hopes of driving them out of the

      5    marketplace.

      6                     You will hear that dumping is a particular

      7    problem as it relates to countries like China that don't

      8    have market-based economies.

      9                     And you will learn that there are more

     10    antidumping duty orders placed against products from

     11    China than there are against products from any other

     12    country.      And it is not even close.

     13                     That brings me to the antidumping duty order

     14    that's most relevant to this case:                Chinese welded

     15    outlets, like the kind that Sigma imports, have been

     16    subject to antidumping duties since 1992.

     17                     That's when the Department of Commerce

     18    imposed the antidumping duty order on certain carbon

     19    steel buttweld pipe fittings from the People's Republic

     20    of China.      And that's a mouthful.

     21                     So in this case we will refer to that order

     22    as the China order or just as the antidumping duty

     23    order.

     24                     You will learn that the China order imposes

     25    substantial antidumping duties.               The rate is
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    259 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          375 Trial Page 82 of 244                      81


      1    182.9 percent.

      2                     What that means is that for every dollar of

      3    product an importer of record brings into this country

      4    that is subject to the order, it must pay the government

      5    $1.82.9.

      6                     Now, as I said, that is sizable.               You will

      7    hear that the Department of Commerce imposed that rate,

      8    and has reimposed that rate every five years through

      9    something called a Sunset Review.                Because it concluded

     10    that anything less would be inadequate to protect the

     11    American manufacturers given the nature and extent of

     12    China's unfair trade practices as it relates to these

     13    products.

     14                     And that gets me to the problem in this

     15    case.     Even though Sigma has imported millions of

     16    dollars of welded outlets that are subject to this

     17    antidumping duty order, the China order, well, the

     18    evidence is going to show that Sigma has never once paid

     19    it.

     20                     The evidence will show that Sigma has not

     21    paid a single cent.          And that's not all.           And here's

     22    where it gets a little more interesting.                   The evidence

     23    is also going to show that each and every time Sigma

     24    imported these products, it made false statements to

     25    Customs and Border Protection.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    260 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          376 Trial Page 83 of 244                      82


      1                      In fact, it made two kinds of false

      2    statements.        First, when Sigma imported these products,

      3    it told Customs and Border Protection that it was

      4    importing steel couplings.             The evidence is going to

      5    show that statement -- it was a lie.                 Sigma was not

      6    importing steel couplings; it was importing a different

      7    product called a welded outlet.

      8                      And you will hear in this trial these

      9    products are completely distinct.                They are like apples

     10    and oranges.        But it's not just that Sigma misdescribed

     11    its products, you'll hear that each and every time that

     12    Sigma imported these products, it told Customs and

     13    Border Protection that no antidumping duty applied.

     14                      The evidence in this case will show -- in

     15    fact, Judge Klausner will instruct you that that

     16    statement was false.           Antidumping duties applied to each

     17    and every one of these products.

     18                      And so for purposes of this case, that's a

     19    given.     That's where your deliberations start.

     20                      These false statements, they're distinct,

     21    they're different, but they fit together, hand and

     22    glove.     Why?     Because it's not just, it's not just that

     23    Sigma said that there's no antidumping duty on our

     24    products, it's that Sigma described a product, a steel

     25    coupling, that if that description had been truthful, no
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    261 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          377 Trial Page 84 of 244                      83


      1    antidumping duty would have applied.

      2                     So from the perspective of Customs and

      3    Border Protection, receives a representation from an

      4    importer saying we're importing steel couplings.                      No

      5    antidumping duties apply.             There would be no reason to

      6    believe that they did.           And you will hear that none were

      7    ever imposed.

      8                     As I mentioned, over that period, 2010 to

      9    2018, those false statements caused the government to

     10    lose out on more than $8 million in antidumping duties.

     11                     And that gets me to the real issue in this

     12    case which is this:          Did Sigma make either or both of

     13    those false statements knowingly, in reckless disregard

     14    of the truth, or in deliberate ignorance of the truth?

     15                     And I know that those sound like lawyer

     16    words and they probably are.              But Judge Klausner will

     17    define them for you at the end of this case.

     18                     But by way of preview, the evidence is going

     19    to show that Sigma actually knew that it was not

     20    importing steel couplings.

     21                     You will learn that welded outlets, again,

     22    they have these curvy edges, they have these bevels,

     23    they're permanently welded into piping products, piping

     24    systems.      Steel couplings are flat; they're not beveled.

     25    They're never welded.           As I said, we're talking apples
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    262 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          378 Trial Page 85 of 244                      84


      1    and oranges.

      2                     You'll hear that no one in the industry

      3    calls welded outlets steel couplings.

      4                     In fact, you'll learn that even Sigma --

      5    well, when it comes to marketing these products,

      6    advertising these products, selling them, listing them

      7    in their product catalogs, Sigma doesn't call these

      8    products steel couplings.             It calls them welded outlets.

      9    The true description.

     10                     In fact, the evidence in this case is going

     11    to show that the only time that Sigma called these

     12    products steel couplings was in the import paperwork

     13    they submitted to Customs and Border Protection.

     14                     The evidence is separately going to show

     15    that Sigma made false statements in reckless disregard

     16    of the truth.

     17                     And consider here Sigma's statement that no

     18    antidumping duty applied to its products.                   And remember,

     19    that importers of record have an affirmative obligation

     20    to determine if that is true.

     21                     The evidence in this case is going to show

     22    that Customs has been very clear with importers about

     23    what they need to do to determine if antidumping duties

     24    apply to their products.

     25                     What Customs has said is, there are really
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    263 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          379 Trial Page 86 of 244                      85


      1    two ways.      First way, you can read the order.                You can

      2    see if the text applies.

      3                     Well, you'll learn in this case that Sigma

      4    never read the China order.             In fact, Sigma claims that

      5    it didn't even know that order existed until December of

      6    2017.

      7                     Now, the second way you can determine if an

      8    antidumping duty order applies is to rely on a qualified

      9    Customs expert.         But Customs has been really clear there

     10    too.    You need to do three things.              You need to disclose

     11    like a full, complete disclosure to the Customs expert

     12    about the product.          You need to follow the expert's

     13    advice.      You need to keep a written record of that

     14    advice.

     15                     And you'll hear that Sigma -- Sigma may say

     16    somebody would have called a broker, but you won't see a

     17    single piece of paper.           Not one email.         Not one file.

     18    No, not one piece of paper to suggest that that is true.

     19                     It will be up to you to decide if an

     20    importer of record makes a statement, a false statement

     21    in reckless disregard of the truth, but it never really

     22    bothered to check if the antidumping duties applied to

     23    its products.

     24                     Finally, the evidence will show that Sigma

     25    made false statements to ignorance of the truth.                      Why?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    264 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          380 Trial Page 87 of 244                      86


      1    Well, the evidence will show that Sigma in essence has

      2    put its head in the sand and it failed to make simple

      3    inquiries that immediately would have alerted it to the

      4    fact that these products were subject to antidumping

      5    duties.

      6                     You will hear testimony from Mark Woehrel.

      7    Mr. Woehrel is Island sales manager.                 He'll tell you

      8    that in 2016 when Island was at its wits end trying to

      9    find ways to compete with these illegally dumped

     10    products, he looked into whether maybe it could take of

     11    an antidumping duty order.

     12                     He'll tell you he had no experience with

     13    Customs laws.        He didn't know the first thing about an

     14    antidumping duty order.            He didn't have any fancy

     15    Customs databases.          But he had Google.          And he will tell

     16    you that in about three simple searches he uncovered

     17    documents that caused him to believe that Chinese welded

     18    outlets were already subject to the China order.

     19                     There's more.        Within 24 hours of starting

     20    that effort, he held in his hand a formal written ruling

     21    issued by the Department of Commerce, back in 1992,

     22    finding that another welded outlet, this one's called

     23    the Sprink-let.         But it's identical to Sigma's products.

     24    That that welded outlet was a carbon steel buttweld pipe

     25    fitting under the terms of a companion order, called the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    265 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          381 Trial Page 88 of 244                      87


      1    Taiwan order, that you'll hear that commerce has said is

      2    essentially the same as the China order.

      3                     So any importer of record who did the simple

      4    Google searches would have known from the beginning that

      5    these products were subject to antidumping duties.

      6                     Now, Sigma may suggest that this is really

      7    complicated concepts.           And no importer of record ever

      8    could have known that this was subject to an antidumping

      9    duty order.

     10                     So I would ask you to do this:              Keep your

     11    eye on the ball.         Listen to the evidence as it comes in.

     12    Notice the evidence that you would expect to see, like

     13    the written advice from an importer of record, that you

     14    never see.

     15                     I know that these concepts, these

     16    international trade concepts, they may be new to some of

     17    you.    And they might seem consuming at first blush.

     18                     But I submit to you that this is actually a

     19    pretty straightforward case.              It is about an importer of

     20    record that brought in millions of dollars of products

     21    that were subject to the antidumping duty order, well,

     22    without ever paying that order.               Without ever paying

     23    that duty.

     24                     It is about an importer of record who

     25    falsely told Customs and Border Protection that no
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    266 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          382 Trial Page 89 of 244                      88


      1    antidumping duty applied to its products despite having

      2    never really checked.

      3                     And it's about an importer of record who out

      4    outright lied to Customs and Border Protection when it

      5    claimed to be importing steel couplings.

      6                     At the end of this case, in a day or two, we

      7    will have another chance to talk, closing arguments.

      8    And we will talk about the evidence.

      9                     And at the end, I will ask you to do three

     10    things:      I will ask you to find that Sigma violated the

     11    False Claims Act.         I'm going to ask you to find that

     12    Sigma made materially false statements to Customs and

     13    Border Protection on more than 200 occasions.                    And I'm

     14    going to ask you to find that Sigma's false statements

     15    caused our government to lose out on more than

     16    $8 million in antidumping duties that were due but were

     17    never paid.

     18                     Ladies and gentlemen, this is an important

     19    federal case.        And your work is essential to its

     20    resolution.

     21                     So before I sit down, I just wanted to take

     22    a moment to express my thanks and my client's thanks for

     23    your time, your attention, and for your service.

     24                     Thank you very much.

     25                     THE COURT:      Thank you, Counsel.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    267 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          383 Trial Page 90 of 244                      89


      1                     Defense opening statement.

      2                     MR. CURRAN:       Judge Klausner, ladies and

      3    gentlemen of the jury, I'm Christopher Curran for Sigma.

      4                     In the course of this short trial, I will

      5    prove to you that Sigma did not make any knowing or

      6    reckless false statements to U.S. Customs.

      7                     I will prove to you that Sigma took its

      8    responsibilities very seriously with respect to import

      9    compliance.       And at all times it was transparent and

     10    honest with U.S. Customs.

     11                     I will prove to you that Sigma had a

     12    dedicated team of employees committed to compliance with

     13    the import laws, and they abided by those requirements.

     14                     And I will also prove to you that US Customs

     15    knew exactly what Sigma was doing at all times and

     16    reviewed it, audited it, and approved of it.

     17                     How am I going to prove these things to you?

     18    Especially in light of the serious allegations you just

     19    heard Mr. Kramer articulate.

     20                     I will do it through the means that Judge

     21    Klausner has already identified:               Witness testimony and

     22    documents.

     23                     The documents I am going to show you in the

     24    course of this trial are contemporaneous documents from

     25    the files of Sigma and from the files and the databases
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    268 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          384 Trial Page 91 of 244                           90


      1    of the U.S. Government.

      2                     I'm confident that when I show you the

      3    underlying documents and you hear witnesses explain

      4    them, that you will conclude that Sigma took its

      5    responsibilities seriously, acted reasonably at all

      6    times and abided by its obligation as an importer of

      7    record.

      8                     Now, you will learn some things about Sigma

      9    at the outset; like Sigma is a U.S. company.                    It sells

     10    products made in various places around the world,

     11    including the United States.              Sigma makes many products

     12    in the United States.

     13                     It is in many respects like the relater,

     14    Island.      Island also sells U.S.           made products and

     15    foreign made products.           It's all a matter of degree.

     16    Both companies do what their U.S. customers demand.                          If

     17    the U.S. customers want foreign-made product, these

     18    distributors will provide that.               If the U.S. customers

     19    want U.S. made products, they'll provide that.                     This

     20    isn't a battle about foreign versus U.S. or anything

     21    like that.

     22                     Sigma makes a lot of piping products.

     23    You'll hear about that from various of our witnesses.

     24    They make manhole covers.             They make fire hydrants.

     25    They make underwater pipes that carry water through
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    269 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          385 Trial Page 92 of 244                      91


      1    communities.

      2                     One small line of business that they have

      3    are these welded outlets.             And you will hear about the

      4    welded outlets during the course of this trial.                     And we

      5    have some witnesses who will show them to you and

      6    describe them to you; i.e., similar to what Mr. Kramer

      7    did.

      8                     Sigma imported these welded outlets from

      9    China just during the period 2010 to early 2018.                      It's

     10    roughly an eight-year period.              At the same time it was

     11    selling U.S. made welded outlets as well, including to

     12    Island.      You'll hear about that.           You'll hear about the

     13    interesting relationship between these companies.

     14    They're competitors, but they also supply and purchase

     15    from one another.

     16                     So this isn't a story about good or evil or

     17    anything like that.          This is ultimately a story about a

     18    competitor trying to make money from one of its

     19    competitors.

     20                     So with respect to Sigma's conduct -- and my

     21    main goal in this trial is to defend what Sigma did.

     22    Let's start with what U.S. Customs said.                   Not what a

     23    competitor or relater says about Sigma's practices.

     24                     Fortunately in retrospect for Sigma, in 2013

     25    U.S. Customs did a complete audit of Sigma's businesses
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    270 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          386 Trial Page 93 of 244                      92


      1    and its import practices.

      2                     And I would like to ask Mr. Ball to bring up

      3    the exhibit that reflects that.               That is Exhibit 1006.

      4                     I think maybe the screen needs to be

      5    available.

      6                     THE CLERK:      It's available.

      7                     MR. CURRAN:       While Mr. Ball brings that

      8    document up.

      9                     THE COURT:      Is the other computer plugged

     10    into it; is that the problem?

     11                     MR. KRAMER:       No.    The other computer is

     12    here.

     13                     THE COURT:      Okay.     Go ahead, Counsel.

     14                     MR. CURRAN:       In 2013, officials from U.S.

     15    Customs Bureau came to the offices of Sigma and examined

     16    Sigma's import records for five months on the premises,

     17    and ultimately issued a report.               And that report

     18    approved of Sigma's practices.

     19                     This -- pardon me.          My apologies, Your

     20    Honor.

     21                     THE COURT:      No problem.        Okay.

     22                     MR. CURRAN:       This is Exhibit 1006.           As you

     23    members of the jury can see, this is a document from the

     24    U.S. Customs and Border Protection agency.                   It is from

     25    July 2013.       So it's right in the middle of this 2010 to
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    271 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          387 Trial Page 94 of 244                      93


      1    2018 period I'll be discussing.

      2                     This is a letter to an official at Sigma.

      3    You can see in the contents of the letter, in the second

      4    paragraph, the ultimate conclusion here, "We determine

      5    that Sigma's import activities represent an acceptable

      6    risk to CBP, Customs, in the review areas of transaction

      7    value, classification and generalized systems of

      8    preferences."

      9                     Later it says, "We appreciate the assistance

     10    of you and your staff whose cooperation expedited the

     11    process."

     12                     Now, this is a multipage document and it

     13    attaches a more detailed report.               That report -- and I

     14    will go to page 4 of this exhibit -- describes Sigma in

     15    the opening paragraphs and its business, including its

     16    fire protection business, and its piping products,

     17    including threaded fittings.              So it looked at these

     18    specific products among Sigma's broader portfolio

     19    products.      And you can see under "Objectives, scope and

     20    methodology" on this page, Customs wrote, "The objective

     21    of our audit was to determine whether the Sigma import

     22    activities represent an acceptable risk to CBP through

     23    an assessment of the auditees internal control over

     24    compliance with applicable CBP laws and regulations."

     25                     On the following page, this report mentions
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    272 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          388 Trial Page 95 of 244                      94


      1    that it "reviewed specifically" -- in the second bullet

      2    point -- "analyzed tariff numbers for merchandise

      3    potentially subject to antidumping duty."                   ADD.

      4                     And then two bullet points later, the report

      5    says that "The Customs officials analyzed the sample

      6    items above and assessed each item's compliance with

      7    applicable laws and regulations, including" -- and then

      8    the fourth empty bullet there refers to "antidumping and

      9    countervailing duties."

     10                     At the bottom of this page, Customs wrote in

     11    this report, "We conducted this performance audit in

     12    accordance with generally accepted government auditing

     13    standards."

     14                     And then finally on the next page, "Summary

     15    of Audit Results.         After a five-month on-site

     16    inspection, through our assessment of Sigma's internal

     17    control over compliance without applicable CBP laws and

     18    regulations, we determined that Sigma's import

     19    activities represent an acceptable risk to CBP in the

     20    review areas of transaction value, classification and

     21    generalized systems of preferences.                 Our audit did not

     22    disclose any significant risk in Sigma's internal

     23    controls related to its import activities."

     24                     We will have witnesses explain this document

     25    in more detail and the process that led to it.                     But
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    273 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          389 Trial Page 96 of 244                      95


      1    basically you will hear that Customs gave Sigma a clean

      2    bill of health.

      3                     There were only two grades on an audit like

      4    this:     Pass or fail.        And Sigma passed.         Why did it

      5    pass?     It passed because Customs understood that the

      6    practices that Sigma was employing on the Customs

      7    compliance area, were sound and in line with the

      8    regulations.

      9                     And let me talk about that and address some

     10    of Mr. Kramer's comments at the same time.

     11                     I would like ask Mr. Ball to bring up

     12    Exhibit 1009.

     13                     This is an example of the form that the

     14    plaintiff here, Island, says contains the false

     15    statements by Sigma on a regular you basis from 2010 to

     16    2018.

     17                     This is a multipage exhibit.              It's called a

     18    duty pack you'll hear.           And this front page is a summary

     19    of a particular import.            So every shipment that Sigma or

     20    any other importer makes into the United States is

     21    accompanied by this page and its backed up

     22    documentation.

     23                     And there are highly technical instructions

     24    on how to fill this out.            It's reminiscent you'll hear

     25    of filling out a 1040 at the end of the year for your
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    274 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          390 Trial Page 97 of 244                      96


      1    taxes.

      2                     And I will show you some of the detailed

      3    instructions.        So for example, Box 9, where it says

      4    "Mode of transport" you don't just write, Ocean going

      5    vessel.      You have to use some code that Customs has

      6    developed in their instructions.               Code 10 means vessel

      7    import.

      8                     Country of origin, in Box 10.              You don't

      9    type out the name of the country.                You use the Customs

     10    code, CN.

     11                     Box 20, U.S. Port of Unloading.               You don't

     12    write Houston, Texas.           You write 2704.         This is a

     13    technical Customs document.             And Sigma, along with its

     14    professional licensed broker, filled out this form.

     15                     Mr. Ball, if you can show at the bottom the

     16    signature from CH Powell Company.                And you will hear

     17    that CH Powell is one of the biggest, most reputable

     18    importers in the country.             They work hand in hand with

     19    Sigma filling out forms like this.

     20                     Let's focus on the specific items that the

     21    plaintiff here says were false or fraudulent or were

     22    lies.

     23                     So I want to focus your attention on what's

     24    called column 28, Description of Merchandise.                    There

     25    Sigma and its licensed broker wrote "steel couplings."
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    275 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          391 Trial Page 98 of 244                        97


      1    You see that.        They also provide an invoice number.                    You

      2    see the number beginning AW -- AHWB with some subsequent

      3    numbers.      There are some -- there's also a description

      4    there, "pipe fit, other known nipples ST."                   And below

      5    that there's another code number, 7307995045.

      6                     So you heard Mr. Kramer describe the

      7    allegations in this case that the steel coupling part

      8    was a lie.       That's not a lie.         That -- those are the

      9    words that are required by Customs.                 And here is how

     10    we'll prove that to you.            There are instructions that I

     11    refer to that Customs provides.               And this is

     12    Exhibit 1047.

     13                     So this is the empty form and a multi-page

     14    instruction sheet, 22 pages in length.                  And one of the

     15    instructions relates to column 28.

     16                     So I would like to ask Mr. Ball to go to

     17    page 13, and column 28 in the upper top there,

     18    "Description of Merchandise.              A description of the

     19    articles in sufficient detail to permit the

     20    classification there of under the proper statistical

     21    recording number in the Harmonized Tariff Schedule

     22    should be reported at the top of column 28.

     23                     "The standard definitions from the Customs

     24    HTS database are acceptable for this requirement."

     25                     Okay.    So what does the CBP, the Customs
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    276 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 1 of FCA
                                          392 Trial Page 99 of 244                        98


      1    Harmonized Tariff Schedule database say is the right

      2    description for these products?               Well, for that, you can

      3    look at the Harmonized Tariff Schedule which is

      4    Exhibit 1068.

      5                     This is part of a lengthy government

      6    database identifying how every product should be

      7    classified when it comes to the United States for duty

      8    purposes.

      9                     Mr. Ball, if you go to page 5 of this.

     10                     This page is the instruction sheet for

     11    figuring out where welded outlets should fall.                     You will

     12    hear testimony that Sigma, in consultation with its

     13    broker, concluded that the item fell under the category

     14    and the subheading 7307, 995045.

     15                     So, Mr. Ball, if you can show all that,

     16    maybe on one page, we can see that this description

     17    begins with "tube or pipe fittings, for example,

     18    couplings, elbow sleeves of iron or steel."                    Aha.     So

     19    the description includes the word couplings.

     20                     Then you will hear that the other

     21    elements -- the subheadings that apply here are:                       Other.

     22    Other.     Other.     And of iron or non alloy steel.                 Other.

     23                     And that is the description that Sigma and

     24    its brokers concluded was the right one for these welded

     25    outlet products.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    277 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          393Trial Page 100 of 244                      99


      1                     And you know what?          They were right.

      2    Because if you look at Exhibit 1007, Customs had already

      3    concluded in the year 2003, in a formal written ruling

      4    that welded outlets -- and this is in the third

      5    paragraph of this document.             That welded outlets fall

      6    under this description.

      7                     And here's what Customs said in this ruling.

      8    "The applicable subheading for the forged steel

      9    threaded weld outlet fitting" -- that's the UniLet

     10    product that Sigma sold at the time -- "will be

     11    7307995045.       That's where I took you.            "Harmonized

     12    Tariff Schedule of the United States.                 Which provides

     13    for tube or pipe fittings, for example, couplings,

     14    elbows, sleeves of iron or steel.                Other.     Other.

     15    Other.     Of iron or nonalloy steel.             Other.     The general

     16    rate of duty will be 4.3 percent ad valorem."

     17                     So what we have here is we have a Customs

     18    ruling in 2003 describing the correct description to be

     19    put on the document for welded outlets.                   And it says,

     20    "Steel couplings."          So that's what Sigma did.            They

     21    followed the instructions and they put "steel couplings"

     22    on these entry forms.

     23                     So if we can go back, Mr. Ball, to the

     24    sample 75 -- 1009.          That's why in column 28, Sigma put

     25    steel coupling there.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    278 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          394Trial Page 101 of 244                      100


      1                     And you know what else?            The notion that

      2    that's a lie is -- you will hear is utterly

      3    unsustainable because, not only is that following

      4    instructions, but the invoice that's referred to in that

      5    same block -- see, again, those numbers, AHWB, well,

      6    that invoice is attached.

      7                     So, Mr. Ball, if you can go to page 5 of

      8    this exhibit, this is the attached commercial invoice.

      9    And we can see that all the products with the letter A

     10    next to it are described there.               UniLet.      UniLet.

     11    Welded outlet fitting.

     12                     So the notion that Sigma was trying to hide

     13    something or lie about what it was importing is

     14    unsustainable, because the records and the testimony

     15    will show that Sigma was following instructions and was

     16    completely transparent about what they were doing.

     17                     The other alleged misstatement has to do

     18    with block two of this same document.                 There the

     19    plaintiff Island says that instead of the specific code

     20    used here, that Sigma did in consultation with its

     21    broker, it -- it should have been a different code

     22    reflecting that antidumping duties are due.

     23                     Well, you will hear testimony establishing

     24    exactly why Sigma believed that no antidumping duties

     25    were due on this product.             There was an antidumping duty
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    279 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          395Trial Page 102 of 244                      101


      1    order on buttweld pipe fittings, but not on welded

      2    outlets.

      3                     And if you go back to the Harmonized Tariff

      4    Schedule -- so this is 1068 -- you will see -- and if

      5    you could show the whole page 5, Mr. Ball, you will see

      6    on that page that when Sigma and its broker and when

      7    U.S. Customs in the ruling I showed you, which is called

      8    a pipe -- the Star Pipe Ruling, by the way, those --

      9    when it's instructing that welded outlets fall under

     10    subcategory 7307995045, look, it was skipping over the

     11    buttweld fittings which is up top where it's 730793.

     12                     So in other words, when Customs was telling

     13    the marketplace in 2003 that this -- these welded

     14    outlets belong in the subpart down here at 45, it was

     15    skipping over the buttweld fittings.                 Even Customs

     16    recognized that these products were welded outlets in

     17    that category and not buttweld fittings.

     18                     And you will hear multiple witnesses in this

     19    case explain exactly why Customs would reach that type

     20    of decision.        Buttweld fittings are very different from

     21    welded outlets.

     22                     Mr. Kramer did explain accurately what

     23    welded outlets are.

     24                     THE COURT:      Counsel, you have about two more

     25    minutes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    280 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          396Trial Page 103 of 244                      102


      1                     MR. CURRAN:       Thank you, Your Honor.

      2                     Welded outlets are a product like this that

      3    as Mr. Kramer explained fit over a pipe.                   They go on the

      4    side of a pipe.         Outlet means the water, instead of

      5    flowing continuously, has an outlet.                 This can lead to a

      6    sprinkler for fire -- for fire prevention and that kind

      7    of thing.

      8                     Buttweld pipe fittings are completely

      9    different.       Buttweld pipe fittings are a product that

     10    continue the flow of water.

     11                     You are going to hear witnesses from Sigma

     12    and an expert witness that we're bringing in who's

     13    knowledgeable about all types of piping to explain that

     14    a buttweld, which fits face to face, continues the flow

     15    of the water is fundamentally different from an outlet.

     16                     That's why Sigma and its broker, in

     17    accordance with the Star Pipe Ruling by Customs,

     18    concluded that no antidumping duties were due there.

     19                     You will hear that more recently the

     20    Department of Commerce has taken the position that

     21    welded outlets are subject to antidumping duties.

     22                     That decision, which ultimately was reached

     23    earlier this year, comes years after Sigma stopped

     24    importing these welded outlets.

     25                     So the notion that Sigma could have had a
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    281 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          397Trial Page 104 of 244                      103


      1    crystal ball to realize -- to conclude that it was going

      2    to in the future be subject to antidumping duties is

      3    unsustainable.

      4                     So ladies and gentlemen, I will conclude

      5    where I began.        In the course of this trial, this short

      6    trial, we will prove to you that Sigma did the right

      7    thing at all times.          We will prove to you that the

      8    allegations that it lied or acted recklessly or acted

      9    with knowing disregard for its obligations are

     10    unfounded.       Quite the contrary, you will be impressed

     11    with the professionalism and dedication of Sigma's

     12    import compliance folks, including Ms. Patricia

     13    Velasquez who's at counsel table here, who you'll hear

     14    from when we get the first opportunity to do so.

     15                     Thank you, Your Honor.

     16                     THE COURT:      Thank you, Counsel.

     17                     Okay.    Ladies and gentlemen, you've heard

     18    the opening statement.           Again, it's not evidence.             It's

     19    where they think the evidence is going to take them.

     20                     Now, we're going to get into the meat of the

     21    case and that is the evidence itself.

     22                     Counsel, do you wish to call your first

     23    witness?

     24                     THE CLERK:      Name of witness, please.

     25                     MR. KRAMER:       Your Honor, Island calls
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    282 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          398Trial Page 105 of 244                      104


      1    Mr. Mark Woehrel.

      2                      THE CLERK:     Good afternoon.         Right here to

      3    be sworn, please.

      4                      Do you solemnly swear that the testimony you

      5    are about to give in the cause now pending before this

      6    Court shall be the truth, the whole truth and nothing

      7    but the truth, so help you God?

      8                      THE WITNESS:      So help me God, yes.

      9                      THE CLERK:     Thank you.       You may be seated.

     10                      You will need to remove your face covering.

     11                      Thank you.

     12                      May I please ask that you state your full

     13    name for the record and spell your last name.

     14                      THE WITNESS:      Sure.     Mark Woehrel.        Spelled

     15    W-o-e-h-r-e-l.

     16                      THE COURT:     Thank you.

     17                      Counsel, you may inquire.

     18                      MR. KRAMER:      Thank you, Your Honor.

     19                      DIRECT EXAMINATION

     20    BY MR. KRAMER:

     21        Q.    Good afternoon, sir.

     22        A.    Good afternoon.

     23        Q.    Would you please tell the jury a little bit about

     24    your education.

     25        A.    Sure.     I have an undergraduate business degree
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    283 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          399Trial Page 106 of 244                      105


      1    from Penn State University.             Graduated 1990.         And I have

      2    an M.B.A. from Oakland University.                And I graduated in

      3    1999.

      4        Q.    What did you do -- what did you do for employment

      5    after you graduated from Penn State?                 1999.

      6        A.    I went to work for two steel companies, first of

      7    which was a flat well steel company product used to make

      8    pipe weld.       I worked for them for ten years.               I went to

      9    work at a steel pipe company 16 years after that.

     10        Q.    After 26 years in the industry, did there come a

     11    time when you ended up getting employed by Island

     12    Industries?

     13        A.    Yes.

     14        Q.    When was that?

     15        A.    After my employment ended with the pipe company,

     16    in 2015, I was asked to move to -- my position was being

     17    eliminated.       Asked to move.        For personal reasons I

     18    chose to stay behind.

     19                     I had known Island Industries.              They were a

     20    customer for a long time.             I contacted them to see if

     21    they had any opportunities.

     22        Q.    As you sit here today, how long have you been

     23    involved in the steel industry?

     24        A.    31 years.

     25        Q.    Are you still with Island?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    284 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          400Trial Page 107 of 244                      106


      1        A.    Yes, I am.

      2        Q.    What is your title?

      3        A.    National sales manager.

      4        Q.    Tell me Island's --

      5        A.    Manufacturing weld outlets, pipe fittings.                   Also

      6    we buy and sell pipe.           And we do various fabrication

      7    services mainly all involved in the piping industry.

      8        Q.    Is it fair to say that Island is a small

      9    business?

     10        A.    Yes.

     11        Q.    When you joined Island did you know it

     12    manufactured pipe fittings?

     13        A.    Yes.

     14        Q.    Have you ever sold pipe fittings?

     15        A.    No.

     16        Q.    Did you know much about them?

     17        A.    No.

     18        Q.    Did you take responsibility for selling Island's

     19    pipe fittings?

     20        A.    Not at first.        I was hired mainly because of my

     21    background with steel pipe.             I was going to buy and sell

     22    that with the understanding for me to eventually get

     23    involved with Island products and services.

     24        Q.    What pipe fitting in particular is most important

     25    to Island's business?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    285 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          401Trial Page 108 of 244                      107


      1        A.    The welded outlet.

      2        Q.    So let me stop you there for a moment.

      3                      Your Honor, may I approach the witness to

      4    hand some exhibits?

      5                      THE COURT:     Yes.     Through the clerk, please.

      6    Does it have a number?

      7                      MR. KRAMER:      For the record, I handed the

      8    witness through the clerk Island Exhibit 64A.

      9                      THE COURT:     Okay.

     10    BY MR. KRAMER:

     11        Q.    Have you had a chance to look at that, sir?

     12        A.    Yes.

     13        Q.    What is it?

     14        A.    This is a welded outlet.

     15        Q.    Would you take a minute and explain what it is

     16    and how it works, to the jury.

     17        A.    Sure.     First and foremost this is considered a

     18    weld fitting, which simply means it's going to be

     19    permanently welded into a piping system.                   And this

     20    particular weld out is for firearm protection or

     21    sprinkler piping systems.

     22                      And its design and purpose is to create a

     23    branch connection in a piping system, say between -- if

     24    you can imagine, like a limb on a tree and a branch, it

     25    connects that branch and that connection.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    286 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          402Trial Page 109 of 244                      108


      1                     And I would draw your attention to the

      2    distinctive end here.           If I can turn it.          I don't know

      3    if you can see it.          I guess I describe it as I wavy end.

      4    It's contoured or shaped on that end.                 You can see that.

      5                     And what that does, if you'll imagine -- say

      6    my arm is a piece of pipe.             You can see that it's

      7    designed that shaped end to fit on top and connect to

      8    the top of the pipe.

      9                     So, again, like a branch on a tree, you

     10    would cut a hole in the piece of pipe, the shape then

     11    would fit properly over the top of that pipe.                    And it

     12    would be permanently welded to the base all around the

     13    pipe and the fitting.           So it's permanently connected.

     14    It's welded.

     15                     What's critical about this -- critical

     16    feature about this, not only that wavy end, there's a

     17    sloped edge -- all around this there's a sloped edge.                        I

     18    don't know if you can see that from there.

     19                     But that is called a bevel.             More

     20    specifically it's called a weld bevel.

     21                     And what that allows is when the welder

     22    places the fitting on the pipe, it creates a small gap

     23    between the two pieces of metal.

     24                     And that gap or channel, if you will, is

     25    filled with the welders weld material to permanently
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    287 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          403Trial Page 110 of 244                      109


      1    attach it.       That's a distinctive feature.

      2                     And that weld bevel is what makes this

      3    product a buttweld fitting.             But more importantly

      4    distinguishes it from other types of fittings.                     If that

      5    makes sense.

      6        Q.    Well, you mentioned that these products are used

      7    primarily in fire suppression systems, right?

      8        A.    Yes.

      9        Q.    Are they regulated or listed by Underwriters

     10    Laboratories?

     11        A.    Yes.

     12        Q.    What is it that Underwriters Laboratory does as

     13    it relates to welded outlets?

     14        A.    They inspect the product on regular basis.                   They

     15    also inspect the manufacturing facilities and to assure

     16    that the product is being made in a safe manner and that

     17    it is -- it will protect human life and property.

     18        Q.    Does Underwriters Laboratory have a standard of

     19    identity for these products?

     20        A.    Yes.    Yes.    They require --

     21                     MR. CURRAN:       Objection.       Foundation, Your

     22    Honor.

     23                     THE COURT:      Sustained.

     24    BY MR. KRAMER:

     25        Q.    Are you familiar with Underwriters Laboratories
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    288 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          404Trial Page 111 of 244                      110


      1    standards of identities?

      2        A.    Yes.

      3        Q.    Is Underwriters Laboratories have a standard of

      4    identity with respect to these products?

      5        A.    Yes.

      6        Q.    What is that standard of identity?

      7        A.    Welded outlet, welding outlet or weld outlet

      8    fitting.

      9        Q.    Am I correct that you cannot use the Underwriters

     10    Laboratories mark, the UL mark, to advertise these

     11    products unless you call it one of those things?

     12        A.    Yes.

     13        Q.    Let's take a look at Island Exhibit 66 --

     14                     Which I believe there's no objection, but I

     15    would like to be careful as to -- before I publish.

     16                     THE COURT:      Okay.     No objection, it may be

     17    received and published.

     18                     (Exhibit 66 is received.)

     19                     MR. KRAMER:       Thank you, Your Honor.

     20    BY MR. KRAMER:

     21        Q.    Are you familiar with that exhibit, Mr. Woehrel?

     22        A.    Yes.

     23        Q.    What is it?

     24        A.    It is a product brochure from Sigma.

     25        Q.    Let's direct your attention to the fifth page of
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    289 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          405Trial Page 112 of 244                      111


      1    that exhibit.

      2                     Do you see that okay?

      3        A.    I can see the title, yeah.             But everything else

      4    is little blurry.

      5        Q.    It is a little blurry.           Okay.

      6                     Do you know how to turn the light on?

      7                     Can you see that a little bit better, sir?

      8        A.    I can, yes.

      9        Q.    Now, if you look at this, does Sigma use the

     10    Underwriters Laboratories mark to advertise this

     11    product --

     12        A.    Yes.    Yes, they do.

     13        Q.    -- here?

     14        A.    Yes.

     15        Q.    What does Sigma call this product?

     16        A.    Well, the title says "Welded outlet."                 And the

     17    description below it says "Welding outlets."

     18        Q.    Is this a Chinese welded outlet?

     19        A.    Yes.

     20        Q.    Are you familiar with the product known as a

     21    steel coupling?

     22        A.    Yes.

     23        Q.    How are you familiar with that product?

     24        A.    Well, going back to the days when I sold pipe,

     25    going back 21 years or so, a lot of pipe that I sell, to
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    290 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          406Trial Page 113 of 244                      112


      1    this day I sell, is called threaded and couple pipe.                         So

      2    it will have a coupling screwed on the end of that pipe.

      3    So I'm familiar from that stance.

      4                     MR. KRAMER:       Your Honor, may I approach the

      5    witness with another exhibit?

      6                     THE COURT:      Yes.

      7                     THE CLERK:      Are you done with the first one?

      8                     MR. KRAMER:       You can keep it, actually.

      9                     For the record, I've just handed up an

     10    exhibit marked as 64J.

     11                     THE COURT:      Okay.

     12    BY MR. KRAMER:

     13        Q.    Have you had a chance to look at that?

     14        A.    Yes.

     15        Q.    What is that product?

     16        A.    It is a merchant coupling.

     17        Q.    Sometimes call a steel coupling?

     18        A.    Yes.

     19        Q.    Are welded outlets and steel couplings, are they

     20    the same product?

     21        A.    No.

     22                     MR. CURRAN:       Objection.       Lack of foundation.

     23    This is not an expert witness.

     24                     THE COURT:      He is not testifying to

     25    expertise right now.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    291 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          407Trial Page 114 of 244                      113


      1                     Are you saying they appear to be different?

      2                     THE WITNESS:       Yes.

      3    BY MR. KRAMER:

      4        Q.    Could you describe for the jury how these

      5    products are different.

      6                     THE COURT:      How they appear to be different

      7    to you?

      8                     THE WITNESS:       Sure.     Sure.

      9                     As I said earlier, this is a weld fitting

     10    primarily.       This is not a weld fitting.             That's the

     11    first difference.

     12                     And the distinctive features, as I mentioned

     13    earlier, is this sloped edge or weld bevel.                    Okay.

     14                     A coupling does not have a weld bevel.                 And

     15    it's not a welded fitting.             So it's not going to be

     16    welded.      This is going to be permanently attached via

     17    the bevel.       This is going to be screwed on at both ends.

     18    Which means it can be unscrewed.               So it's not a

     19    permanent connection.           That's how they're different.

     20    BY MR. KRAMER:

     21        Q.    Has the United States Government identified any

     22    particular product features that distinguish buttweld

     23    pipe fittings from other kinds of fittings?

     24        A.    Yes.

     25                     MR. CURRAN:       Objection.       Lacks foundation.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    292 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          408Trial Page 115 of 244                      114


      1                     THE COURT:      Sustained.

      2    BY MR. KRAMER:

      3        Q.    Are you familiar with any U.S. Government

      4    decisions defining what distinguishes a buttweld pipe

      5    fitting from other pipe fittings?

      6        A.    A weld bevel.

      7        Q.    So your understanding is that the defining

      8    product characteristic, the thing that distinguishes the

      9    buttweld pipe fitting from another kind of fitting is

     10    the presence of a weld bevel?

     11        A.    Yes.

     12        Q.    Does a welded outlet have a weld bevel?

     13        A.    Yes.

     14        Q.    Does a steel coupling have a weld bevel?

     15        A.    No.

     16        Q.    In your 31 years in the steel industry have you

     17    ever heard anyone refer to a welded outlet as a steel

     18    coupling?

     19        A.    No.

     20        Q.    I would like to change topics.              I would like to

     21    take you back to 2016.           Is that time period clear in

     22    your head?

     23        A.    Yes.

     24        Q.    At that time, what, if anything, did you

     25    understand about Island's ability to compete in the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    293 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          409Trial Page 116 of 244                      115


      1    market for welded outlets?

      2        A.    The only thing I was aware of --

      3                     MR. CURRAN:       Objection.       Lacks foundation,

      4    Your Honor.

      5                     THE COURT:      I don't know yet.

      6                     You can answer subject to a motion to

      7    strike.

      8                     THE WITNESS:       I was aware that Island was

      9    having difficulty competing with the imports of Chinese

     10    weld fittings.

     11                     THE COURT:      Objection will be sustained.

     12                     Go ahead, Counsel.

     13    BY MR. KRAMER:

     14        Q.    In 2016 in your capacity as the sales manager at

     15    Island, did you personally experience trying to sell

     16    welded outlets in the marketplace?

     17        A.    Yes.

     18        Q.    What was your experience in terms of trying to

     19    compete with Chinese welded outlets?

     20        A.    That every time we tried to meet the market

     21    price, we were consistently and subsequently undercut

     22    and couldn't receive an order because of that.

     23        Q.    And just to be clear, Island's products that it

     24    was selling, these were domestically made welded

     25    outlets; is that correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    294 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          410Trial Page 117 of 244                      116


      1        A.    Yes.

      2        Q.    Did you have a plan to fix this market problem?

      3        A.    No, I didn't have a plan at the time.                 The only

      4    thing I could -- I knew to suggest was based on my

      5    previous experience at the other pipe companies, pipe

      6    and steel companies that I worked for, the executives

      7    would often be looking for relief with the Commerce

      8    Department in Washington.             And they would be involved in

      9    trade cases.        So I wouldn't be involved.             But they would

     10    fill us in at sales meetings as to what they were doing

     11    there and why and how that would affect our jobs as

     12    sales people.

     13        Q.    Given that historic experience, did you suggest

     14    that Island do anything as it relates to the Commerce

     15    Department?

     16        A.    Yes.    The only thing I could suggest was a name

     17    of an attorney in Washington that perhaps Mr. Sanders

     18    could call.

     19        Q.    Just to pause you.          Who's Mr. Sanders?

     20        A.    He's the president of Island Industries.

     21        Q.    Did Mr. Sanders call that lawyer?

     22        A.    Yes, he did.

     23        Q.    Did Mr. Sanders retain that lawyer?

     24        A.    No, he did not.

     25        Q.    Why not?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    295 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          411Trial Page 118 of 244                      117


      1        A.    He said it was too expensive.

      2        Q.    Did there come a time when you considered whether

      3    Island might be able to take advantage of an existing

      4    trade case?

      5        A.    Eventually, yes.         It was several months later.

      6    Mr. Sanders asked me to look into that to see if there

      7    was anything I could find that possibly we would be able

      8    to -- to see if it was already covered or perhaps

      9    covered in a certain way with current cases that were

     10    existing.

     11        Q.    Did you have any specialized experience with

     12    trade law or antidumping duty orders?

     13        A.    No, none.

     14        Q.    How did you go about researching whether there

     15    was a potential order to take advantage of?

     16        A.    I Googled it.

     17        Q.    You Googled it?

     18        A.    Yeah.     Google search engine.

     19        Q.    Okay.     What did you find when you Googled?

     20        A.    One of the first things I remember finding was a

     21    list of ITC, the International Trade Commission's trade

     22    cases of all products in all countries around the world.

     23    And what was nice about that list is that it was

     24    formatted in Excel spread sheet so that I could easily

     25    sort and immediately sort out just the trade cases that
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    296 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          412Trial Page 119 of 244                      118


      1    involved China.

      2                     But also I could sort out based on the

      3    product description.           For instance, I chose fittings,

      4    and I was able to filter that list down to only four

      5    trade cases based on the China and the fittings filters.

      6        Q.    Was it surprising to you that there were only

      7    four pipe fitting cases?

      8        A.    It was very surprising.            My experience was that

      9    there was a lot of steel trade cases against China, and

     10    certainly in the products -- pipe and steel products

     11    that I had been exposed to before there was a lot more

     12    than just a handful.

     13        Q.    Of the four pipe fitting cases that you saw, how

     14    many of them related to iron?

     15        A.    Three of them related to iron.              And only one

     16    related to carbon steel.

     17        Q.    Welded outlets ever made of iron?

     18        A.    No.

     19        Q.    What did you do after you looked at this list of

     20    four pipe fitting cases?

     21        A.    Well, I was immediately able to draw my attention

     22    to the one relevant case with carbon steel.                    And I knew

     23    these were made of carbon steel.               And it mentioned

     24    carbon steel buttweld fittings.               And I was familiar with

     25    the term buttweld from my previous experience.                     And that
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    297 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          413Trial Page 120 of 244                      119


      1    I felt that these were buttweld fittings.

      2                     But obviously I wanted to see how the

      3    Commerce Department -- how they defined it within the

      4    law.     So I examined.        I pursued an additional

      5    investigation of searches for carbon steel buttweld pipe

      6    fittings from China.

      7        Q.    What did you find when you searched for carbon

      8    steel buttweld pipe fittings?

      9        A.    I found a document that was called A Sunset

     10    Review.      And I was familiar with that term from my

     11    experiences.        Is that every five years the Commerce

     12    Department will review a trade law to see if it still

     13    needs to be continued.           And this particular one was not

     14    just for China, it was for Taiwan, Brazil, Thailand and

     15    Japan, I believe.

     16                     So they were all together in one document,

     17    all the countries, under a similar, I guess, language.

     18    They were all being reviewed at the same time.                     So I

     19    wanted to determine in that context what exactly fit

     20    within the scope of the law, if you will.

     21        Q.    Let me pause you there for one moment.

     22                     Your Honor, we would like to publish and

     23    admit Exhibit 1013.          I understand there is no objection.

     24                     THE COURT:      It will be received.

     25                     (Exhibit 1013 is received.)
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    298 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          414Trial Page 121 of 244                      120


      1                      MR. KRAMER:      May we publish it to the jury?

      2                      THE COURT:     Yes.

      3    BY MR. KRAMER:

      4        Q.    Do you recognize this Exhibit 1013?

      5        A.    Yes.     It is an e-mail to Mr. Sanders, yes.

      6        Q.    That's from May of 2016, correct?

      7        A.    Yes.

      8        Q.    And attached to that, is this the Sunset Review

      9    that you were referring to earlier?

     10        A.    Yes.

     11        Q.    Let me see if I can direct your attention to page

     12    31 of that exhibit.

     13                      Can you see that, sir?

     14        A.    Yes.

     15        Q.    If I zoom in, is it legible to you?

     16        A.    It is.

     17        Q.    So starting with the section at the top, it talks

     18    about Commerce's scope.            Do you see that?

     19        A.    Yes.

     20        Q.    Is there anything about this language that caught

     21    your attention?

     22        A.    Sure.     First, I mean, it's -- the title is the

     23    subject product.         And the scope is that it is, you know,

     24    essentially made of carbon steel under 14 inches in

     25    diameter.        Has a bevel and it's permanently connected.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    299 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          415Trial Page 122 of 244                      121


      1    Require permanent welded connections.

      2        Q.    In the paragraph below that, is there any

      3    indication there about what product characteristics

      4    distinguished buttweld pipe fittings from other kinds of

      5    products?

      6        A.    Yeah.     It said the beveled edges of buttweld pipe

      7    fittings distinguished them from other types of pipe

      8    fittings.

      9        Q.    Let me take this down.

     10                      Your Honor, I would like to publish and

     11    admit Exhibit 1012.

     12                      MR. CURRAN:      There is no objection.

     13                      THE COURT:     It may be received and

     14    published.

     15                      (Exhibit 1012 is received.)

     16                      MR. KRAMER:      May I publish to the jury?

     17                      THE COURT:     Yes.

     18                      MR. KRAMER:      Thank you.

     19    BY MR. KRAMER:

     20        Q.    Mr. Woehrel, do you recognize this email?

     21        A.    Yes.

     22        Q.    What is it?

     23        A.    It is another e-mail that I sent to Mr. Sanders.

     24    After reviewing the previous document we just reviewed,

     25    The Sunset Review, I was pointing out, as strongly as I
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
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                                                                17:24:54
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                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          416Trial Page 123 of 244                       122


      1    possibly could, that I felt my premise was that these --

      2    that the welded outlet was a buttweld fitting according

      3    to the Commerce Department's ruling.

      4                     And as you can see there in bold and

      5    underlined, I was making the point that the beveled

      6    edges of buttweld pipe fittings distinguished them from

      7    other types of pipe fittings.

      8        Q.    Let's go back to Exhibit 1013, which is part of

      9    The Sunset Review.          And let me ask you:          Was there

     10    anything else -- was there anything else about this

     11    exhibit that caught your eye?

     12        A.    Yes.    So I was learning what a scope was.                  And I

     13    had saw something here called a scope ruling.                    And

     14    proceeded to read that.            In the first paragraph I read,

     15    and it said that there was a scope ruling against a

     16    product there called a Sprink-let, there in quotes.                          And

     17    that struck me.

     18        Q.    Why did that strike you?

     19        A.    Well, at the time Mr. Sanders was describing to

     20    me how these products are often referred in the

     21    marketplace often by brand names.

     22                     So for instance, these welded outlets might

     23    be called a coup-let or a UniLet, as we just saw, or a

     24    safe-let.

     25                     And the "let" standing for "outlet."                  And
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    301 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          417Trial Page 124 of 244                      123


      1    the first words, you know, having something in it.                       When

      2    I saw sprink, I knew that obviously these products were

      3    for the fire protection or sprinkler market.                    So I put

      4    sprink and let together.            It made sense to me that this

      5    a sprinkler outlet.

      6        Q.    If you look back at the first page of this

      7    exhibit, in this first paragraph, what was it that you

      8    were trying to explain to Mr. Sanders?

      9        A.    Well, some of the terminology I used here shows

     10    that I didn't understand exactly how the process worked.

     11    But what I was saying is that I used the word piggyback

     12    on this case and I felt that this -- this decision had

     13    already been made for this specific product under the

     14    Taiwan order.        And that since all these products --

     15    countries were reviewed together with similar scoping

     16    language, that it's sort of a precedent, if you will, or

     17    by transdent property that it applies to the China order

     18    as well.      That was my premise.

     19        Q.    Now at the time that you wrote this -- this

     20    email, had you actually seen a copy of the Sprink-let

     21    ruling?

     22        A.    No, I had not.

     23        Q.    Did you take any steps to get a copy of the

     24    Sprink-let ruling?

     25        A.    I continued searching on the internet.                 And I
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
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                                                       06/27/22Page
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                                                                    302 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          418Trial Page 125 of 244                      124


      1    found a document that had the name of a contact of an

      2    analyst from the Commerce Department relating to these

      3    cases.     And his name was Mathew Renke.               And I contacted

      4    him by phone and by email.

      5        Q.    Did he provide you a copy of the Sprink-let

      6    ruling?

      7        A.    Yes, he did.

      8        Q.    I will show you Island Exhibit 5.

      9                     I understand there is no objection, Your

     10    Honor.

     11                     THE COURT:      It will be received.

     12                     (Exhibit 5 is received.)

     13                     MR. KRAMER:       May I publish?

     14                     THE COURT:      Yes.

     15    BY MR. KRAMER:

     16        Q.    Do you recognize Island Exhibit 5, sir?

     17        A.    Yes.

     18        Q.    What is it?

     19        A.    This is the Sprink-let ruling that Mr. Renke sent

     20    to me.

     21        Q.    What did you do when you received this ruling,

     22    sir?

     23        A.    Well, I read it.         And I sent a copy on to

     24    Mr. Sanders.        But it seemed to confirm my premises that

     25    these were in fact buttweld fittings due to the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
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                                                                    303 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          419Trial Page 126 of 244                      125


      1    description in the scoping language.

      2        Q.    Let me ask you to take a look at page 3.                  Can you

      3    read that?

      4        A.    Yes.

      5        Q.    Focusing on the paragraph in the middle of that

      6    page --

      7        A.    Yeah.

      8        Q.    -- it says it's part of Sprinks' request.

      9                      What about the information in Sprinks

     10    request was relevant to you?              What did you notice about

     11    this decision?

     12        A.    Well, it says -- again, it repeats in the Sprinks

     13    brochure, indicates that the buttweld fittings are

     14    beveled.      And that they say in quotes, "The beveled

     15    edges of buttweld pipe fittings distinguish them from

     16    other type of fittings."

     17        Q.    At the bottom of this paragraph, does it indicate

     18    that the Sprink-let is permanently welded to a piping

     19    system?

     20        A.    Yes.     Like other products subject to this order,

     21    it's permanently joined by welding.

     22        Q.    Finally in the paragraph below that, does the

     23    Commerce Department say anything about whether this

     24    product is a steel coupling?

     25        A.    Yeah.     In that last paragraph there, it says, "It
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    304 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          420Trial Page 127 of 244                      126


      1    does not indicate the product is a coupling."                    Does not.

      2                     And it goes on to say, "Rather, it is a

      3    buttweld pipe fitting."

      4        Q.    How much time went by between the moment that you

      5    started your search and your receipt of the Sprink-let

      6    scope ruling?

      7        A.    I would say about 24 hours.

      8        Q.    Do you think an importer of record would be able

      9    to find it faster?

     10        A.    I would think so, yes.           I had no training.          I

     11    didn't have any databases or places to look or manuals

     12    of any sort.        I just had Google searches.

     13                     So I would think they would be able to do it

     14    faster, more efficiently.

     15        Q.    Did you subsequently have -- did you subsequently

     16    make an effort to receive a copy of the Sprink-let

     17    ruling request from the Department of Commerce?

     18        A.    Yes.    Sometime later.

     19        Q.    Did you receive that?

     20        A.    Yes.

     21                     MR. KRAMER:       Your Honor, I would like to

     22    publish and admit this.            I understand there may be an

     23    objection.

     24                     THE COURT:      No objection?

     25                     MR. CURRAN:       I'm not sure what exhibit it
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    305 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          421Trial Page 128 of 244                      127


      1    is.

      2                      THE COURT:     Why don't you show it to him.

      3                      MR. KRAMER:      I'm sorry.       This is Island

      4    Exhibit 4.

      5                      MR. CURRAN:      We believe it's inadmissible

      6    hearsay, Your Honor.

      7                      MR. KRAMER:      Your Honor, I think it's 803,

      8    16, a document predating 1998 is exempt from the hearsay

      9    rule.

     10                      THE COURT:     What date?

     11                      MR. KRAMER:      1998.     It's the Ancient Records

     12    Exemption.        This document's from 1991.

     13                      THE COURT:     Counsel, you want to be heard?

     14                      MR. CURRAN:      No.     I will withdraw the

     15    objection.

     16                      THE COURT:     Okay.      It will be received.

     17                      (Exhibit 4 is received.)

     18                      MR. KRAMER:      May I publish?

     19                      THE COURT:     Yes.

     20    BY MR. KRAMER:

     21          Q.   Mr. Woehrel, is this the original request letter

     22    that the Sprink, Inc. made in order to get this scope

     23    ruling?

     24          A.   Yes.

     25          Q.   In the second paragraph, you see where it
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    306 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          422Trial Page 129 of 244                      128


      1    indicates that the product has a general appearance of a

      2    pipe coupling, correct?

      3        A.    Yes, I do.

      4        Q.    Now, a pipe coupling, is that the 64J product,

      5    the exhibit that you were -- the black steel coupling,

      6    is that what a pipe coupling is?

      7        A.    Yes.    That's a pipe coupling, right.

      8        Q.    Thank you.      And did you subsequently have cause

      9    to actually ever see a Sprink-let itself?

     10        A.    Yes.

     11                     MR. KRAMER:       Your Honor, may I approach with

     12    another exhibit?

     13                     THE COURT:      Yes.

     14                     MR. KRAMER:       For the record, this is

     15    Exhibit 64H.

     16                     THE COURT:      Thank you.

     17    BY MR. KRAMER:

     18        Q.    Have you had a chance to look at that, sir?

     19        A.    Yes, I have.

     20        Q.    Do you know what that is?

     21        A.    This is a Sprink-let.           It's stamped on the side.

     22    Yes.

     23        Q.    Is there any material difference of any kind

     24    between be Sigma's Chinese welded outlets and the

     25    Sprink-let?
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
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                                                       06/27/22Page
                                                                17:24:54
                                                                    307 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          423Trial Page 130 of 244                      129


      1        A.    There is no material --

      2                      MR. CURRAN:      Objection, Your Honor.           Vague

      3    as to which Sigma outlet's being referred to.

      4                      THE COURT:     Clarify, Counsel.

      5                      MR. KRAMER:      I'm sorry, Your Honor.           I

      6    didn't hear that.

      7                      THE COURT:     Do you want to clarify that?

      8                      MR. KRAMER:      Sure.

      9    BY MR. KRAMER:

     10        Q.    Sure.     Is there any material difference between

     11    the Sprink-let and the UniLet?

     12        A.    To the extent that they have a bevel and are

     13    permanently welded, they're physically identical.

     14                      You know, this product is a little smaller

     15    in diameter, but that's not relevant.

     16                      These products are sold from half inch up

     17    through several inches in diameter.

     18                      Is there any difference between the

     19    Sprink-let and the safe-let?

     20        A.    No.

     21        Q.    Going back to your efforts in 2016, once you

     22    concluded that Chinese welded outlets were subject to

     23    antidumping duties, did you make any effort to determine

     24    if importers like Sigma were paying that antidumping

     25    duty?
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
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                                                       06/27/22Page
                                                                17:24:54
                                                                    308 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          424Trial Page 131 of 244                      130


      1        A.    Yes.    What occurred to us right away was the size

      2    of the import duty, which was 182.9 percent, which is

      3    very substantial.         We didn't see any way right out of

      4    the box that anybody could pay 182.9 percent duty and

      5    sell it at the cost that we -- or prices in the market

      6    that we were aware of.           And Mr. Sanders had a good

      7    understanding of what these products were purchased

      8    from -- from China from.            There was just mathematically

      9    impossible to be able to pay that duty.

     10                     So that was the premise going into our

     11    research.

     12        Q.    Did you make an effort to gain access to import

     13    data?

     14        A.    Yes.    We subscribed to a service called Import

     15    Genius.

     16        Q.    What did you discover from reviewing the Import

     17    Genius records?

     18        A.    Well, reviewing multiple, multiple years of the

     19    time frame going back more than a decade -- and we knew

     20    these products were here by the millions over that time

     21    period.      But in the import record, nobody was calling

     22    them a welded outlet or anything similar.                   Not once.

     23                     So that immediately gave us a red flag that

     24    perhaps that's why the duties weren't being paid.                      They

     25    perhaps were not being called what they were supposed to
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    309 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          425Trial Page 132 of 244                      131


      1    be called, and that's why the duty wasn't being charged.

      2    That was the premise.

      3        Q.    Did you do any research to determine what the

      4    Chinese manufacturers called these products when they

      5    sold them in the marketplace?

      6        A.    Yes.    We did.      We did Internet searches.            And

      7    looked up all the Chinese manufacturers.                   They, too, on

      8    there website called it a welded outlet.                   So they called

      9    it a welded outlet.          All the people we compete with in

     10    the United States called it a welded outlet.                    It's

     11    called a welded outlet everywhere except the import

     12    record, as far as we could see from that information.

     13        Q.    Specifically as to Sigma, did the Import Genius

     14    records show that Sigma was importing welded outlets?

     15        A.    It did not show that they were importing welded

     16    outlets, no.

     17        Q.    Did the Import Genius records show that Sigma was

     18    importing steel couplings?

     19        A.    Yes, it did.

     20        Q.    Was that suspicious to you?

     21        A.    Yes.

     22        Q.    Mr. Woehrel, let me ask you a couple more

     23    questions.

     24                     Did Sigma's Chinese welded outlets --

     25    competing with those Chinese welded outlets, did that
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    310 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          426Trial Page 133 of 244                      132


      1    give Sigma a price advantage in the market, vis-à-vis

      2    Island?

      3        A.    Absolutely.

      4        Q.    Did Island struggle to compete with Sigma's

      5    Chinese welded outlets?

      6        A.    Absolutely.

      7        Q.    Competing with these unlawfully dumped Chinese

      8    welded outlets, did that damage Island's business?

      9        A.    Absolutely.

     10                     MR. KRAMER:       Then I will pass the witness.

     11                     THE COURT:      Okay.

     12                     Counsel.

     13                                CROSS-EXAMINATION

     14    BY MR. CURRAN:

     15        Q.    Good afternoon, Mr. Woehrel.              I'm Christopher

     16    Curran representing Sigma.

     17        A.    Good afternoon.

     18        Q.    So let me first make sure I understand your

     19    background correctly.

     20                     You graduated from Penn State.              And then you

     21    got an M.B.A. at Oakland University; is that right?

     22        A.    That is right.

     23        Q.    You went to work in the steel industry for a

     24    couple companies.         But those companies did not sell

     25    welded outlets; is that right?
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    311 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          427Trial Page 134 of 244                      133


      1        A.    That's correct.

      2        Q.    So your first exposure to welded outlets was

      3    after you joined Island, correct?

      4        A.    Well, I had started selling Island pipe when I

      5    joined the pipe company.            So there's a period, you know,

      6    10 or 15 years that I was familiar with Island

      7    Industries.       And I toured the plant.            So I was

      8    familiar with -- I'd seen the product they made, but I'd

      9    never sold it.

     10        Q.    So you never sold it.           You didn't consider

     11    yourself an expert in welded outlets at that time?

     12        A.    No.

     13        Q.    You are not a welder; you're not an expert in

     14    welding, correct?

     15        A.    Correct.

     16        Q.    But you testified here today that Sigma in its

     17    marketing materials characterized the UniLet product as

     18    a welded outlet, right?

     19        A.    Correct.

     20        Q.    And that other sellers of welded outlets

     21    characterize their products similarly, correct?

     22        A.    Correct.

     23        Q.    That was based on your personal observations and

     24    the exhibit that Mr. Kramer showed you?

     25        A.    Yes.
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
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                                                       06/27/22Page
                                                                17:24:54
                                                                    312 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          428Trial Page 135 of 244                      134


      1        Q.    So those manufacturers characterize their product

      2    as welded outlets, not as buttweld fittings, correct?

      3        A.    Correct.      They call them what UL requires them to

      4    call them, a welded outlet.

      5        Q.    Right.     Okay.     And UL -- thank you -- which sets

      6    the standards in this industry, they referred to it as

      7    welded outlet, correct?

      8        A.    Correct.

      9        Q.    Not as a buttweld fitting?

     10        A.    That's not one of the identity standards, right.

     11        Q.    I have a series of questions about your

     12    investigation.        So you joined Island in 2015, right?

     13        A.    Yeah.     As I started with working with Glenn in

     14    late 2015.

     15        Q.    2015?

     16        A.    Yes.

     17        Q.    Shortly after joining, maybe in 2016, you began

     18    an investigation as to whether Island could make a trade

     19    remedy case against competitors, right?

     20        A.    Yes.     I suppose.      Sure.     We discovered many

     21    options.      But yes, that's what we were looking to do.

     22        Q.    So at the point you were beginning your

     23    investigation, you still were not an expert in welded

     24    outlets or welding, correct?

     25        A.    Correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    313 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          429Trial Page 136 of 244                      135


      1        Q.    And you -- in the course of your investigation,

      2    you found this Sprink-let ruling that you described

      3    today, correct?

      4        A.    Yes.

      5        Q.    That Sprink-let ruling was from 1992, right?

      6        A.    Yes.

      7        Q.    I think we heard reference to that being from an

      8    ancient time, correct?

      9        A.    Yes.

     10        Q.    This was in 2016 where you were finding it,

     11    right?

     12        A.    Yes.

     13        Q.    You were working with Mr. Sanders, your boss, in

     14    conducting this investigation, right?

     15        A.    Correct.

     16        Q.    And Mr. Sanders had been at Island for almost his

     17    whole life, right?          He inherited the company from his

     18    father or something, right?

     19        A.    I dont know if he inherited it.               But he started

     20    it with his father.          I think they built it together.

     21        Q.    Okay.     So he had been at the company for decades,

     22    it's fair to say, by 2015?

     23        A.    Yes.

     24        Q.    He wasn't familiar with the Sprink-let ruling,

     25    right?
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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
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                                                       06/27/22Page
                                                                17:24:54
                                                                    314 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          430Trial Page 137 of 244                      136


      1        A.    No.     I think he said -- no, not the Sprink-let

      2    ruling specifically.           He had received a letter --

      3        Q.    That's not the question.

      4                      Was he aware of the Sprink-let ruling when

      5    you discovered it in 2016?

      6        A.    I don't believe so.

      7        Q.    So for decades he was working at Island, the head

      8    of the company, and he wasn't aware that there was this

      9    Sprink-let ruling out there.              Fair?

     10        A.    That's fair.       They'd never imported anything,

     11    but, yeah.

     12        Q.    Okay.     But he apparently was -- felt he was

     13    suffering from competition from imports, right?

     14        A.    But he had no reason -- since he was never

     15    importing anything, he had no reason to look for that.

     16    He would trust that, you know, the government would

     17    enforce any trade laws.

     18        Q.    Weight a second.         You and he were working for

     19    such things in 2016, right?

     20        A.    As we started -- as we had conversations, that's

     21    when we started to look for that information, yes,

     22    that's right.

     23        Q.    So Mr. Sanders didn't look for -- certainly

     24    didn't find the Sprink-let ruling any time earlier?

     25        A.    Not to my knowledge, no.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    315 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          431Trial Page 138 of 244                      137


      1        Q.    The Sprink-let ruling you that you found, that

      2    you have described, that related to an antidumping duty

      3    investigation of buttweld fittings from Taiwan, correct?

      4        A.    Correct.

      5        Q.    And Taiwan is different from China, correct?

      6        A.    Sure.     Yes.

      7        Q.    You understand that antidumping duty orders are

      8    country specific, right?

      9        A.    Right.

     10        Q.    So the country -- the duty order that the

     11    Sprink-let ruling related to was different from the

     12    China buttweld fitting duty order, correct?

     13        A.    I understand it wasn't substantively different.

     14    But, yes, there was different wording.

     15        Q.    I'm sorry.       Different...

     16        A.    Different wording.

     17        Q.    The scope of the covered product is different,

     18    right?

     19        A.    Not substantively.

     20        Q.    Sir, was it different?

     21        A.    Okay.

     22        Q.    And, sir, you know, right, sitting here today,

     23    that that Sprink-let ruling has never been applied by

     24    any U.S. Government agency or any U.S. port as applying

     25    to the Chinese order, correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    316 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          432Trial Page 139 of 244                      138


      1        A.    Right.

      2        Q.    So you -- you found a dumping -- a scope ruling

      3    in the Taiwan dumping case.             And it related to the

      4    Sprink-let product, correct?

      5        A.    Correct.

      6        Q.    I may have misheard you.            But did you say in your

      7    testimony on direct that the Sprink-let product is

      8    identical to the Sigma's UniLet?               Is that what you

      9    testified?

     10        A.    I testified that it was physically identical --

     11    essentially physically identical.

     12        Q.    What do you mean essentially?

     13        A.    That it has a weld bevel.            And it's used for the

     14    same purpose in the same industry.

     15        Q.    You know it's got an extra edge to it that fits

     16    within the hole on the main pipe, right?

     17        A.    And I don't consider that substantive.                 It's used

     18    for the same end use.           It is a bevel.        And it is

     19    permanently welded.          And that's considered a weld bevel.

     20        Q.    Well, it is not the identical product, correct?

     21        A.    To me it is.

     22        Q.    It has different characteristics, doesn't it?

     23        A.    To me it hs the same characteristics.

     24        Q.    If it fits within the hole on the lead pipe

     25    instead of laying just on top of it, it requires a
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    317 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          433Trial Page 140 of 244                       139


      1    different weld, right?

      2        A.    I don't know that it -- I don't know that.                   I'm

      3    not a welder.        I don't think it can -- requires a

      4    different weld at all.

      5        Q.    Have you consulted with any welders when you were

      6    conducting your investigation as whether Sigma's

      7    products fell within the Sprink-let ruling?

      8        A.    I didn't consult with a welder, no.

      9        Q.    Okay.     So in 2016 you and Mr. Sanders are doing

     10    this investigation, you find the Sprink-let ruling.                          Did

     11    you find the Star Pipe ruling?

     12        A.    The Star Pipe ruling?

     13        Q.    Yes.

     14        A.    No.

     15        Q.    Do you even know what the Star Pipe ruling is?

     16        A.    No.

     17        Q.    Did you do a search on the cross-database?

     18        A.    No.     I'm not familiar with the cross-database.

     19        Q.    Have you ever heard of the Customs Ruling Online

     20    Search System?

     21        A.    No.

     22        Q.    So you never did a search for welded outlets on

     23    the cross database?

     24        A.    I never have.

     25        Q.    Sitting here today, you've still never even heard
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    318 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          434Trial Page 141 of 244                      140


      1    of the Star Pipe ruling; is that right?

      2        A.    That's correct.        Is it a scope ruling?

      3        Q.    Yes.     It's a classification ruling from Customs.

      4                     And you've never heard of it?

      5        A.    I only know the two scope rulings that I read in

      6    The Sunset Review about five countries.

      7        Q.    Another part of your investigation that you

      8    talked about was -- under Mr. Kramer's questioning, you

      9    had to determine whether the foreign -- whether the

     10    importers were paying the antidumping duty, right?

     11        A.    Right.

     12        Q.    And because that was important, because maybe

     13    they were paying it, but maybe they weren't.                    Right?

     14        A.    Correct.

     15        Q.    And among the ways that you investigated whether

     16    the importers were paying dumping duties was you had

     17    contacts with employees or former employees of the

     18    importers, right?         Or you or Mr. Sanders?

     19        A.    That was some of the information.                But it was

     20    also, as I said in my testimony, general knowledge of

     21    what these products were sold for in the marketplace,

     22    which is readily available to anyone in the industry

     23    that's selling and buying these products and what the

     24    costs were.

     25                     And because of the size of the import duty
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    319 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          435Trial Page 142 of 244                      141


      1    of 182.9 percent, it was our premise that it was not

      2    being paid.

      3        Q.    Okay.     But among the companies that you accused

      4    of not paying antidumping duties was Anvil, correct?

      5        A.    Correct.

      6        Q.    And Anvil it turns out was a domestic

      7    manufacturer of the product, correct?

      8        A.    We felt that they were also importing a product

      9    from China.

     10        Q.    But you were wrong, correct?

     11        A.    We did not pursue that case, correct.

     12                      We saw documents, and they published price

     13    increase announcements where they said they brought it

     14    in from China.

     15                      Now, that's the information we have.

     16        Q.    Sitting here today, you know that Anvil was

     17    competing effectively against Island while making the

     18    product domestically, right?

     19                      MR. KRAMER:      I will object on relevance

     20    grounds.

     21                      THE COURT:     Overruled.

     22                      THE WITNESS:      Sure.     We all compete in the

     23    marketplace together.           And we have to do so

     24    competitively to win business.

     25    BY MR. CURRAN:
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    320 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          436Trial Page 143 of 244                      142


      1        Q.    Anvil was competing effectively even though it

      2    was a domestic manufacturer?

      3        A.    Yeah.     They were a domestic manufacturer.                We

      4    believe they also had a brand that was not a domestic

      5    brand.

      6        Q.    And today you know that you were wrong.                  In fact

      7    the Merit brand is made in the United States, correct?

      8        A.    The Merit brand is made in the United States.

      9    But their SPF brand is globally sourced as it says in

     10    the brochure.

     11                      We weren't able to find exactly what that

     12    global source was.          We went strictly on the pricing

     13    information by the top management to the marketplace

     14    that they -- when the Trump tariffs came out, that they

     15    were going to raise prices to the Trump tariffs on this

     16    specific SPF product because they were made in China.

     17    That was our interpretation.

     18        Q.    Sir, as part of your investigation, you wanted to

     19    determine what manufacturers in China -- and suppliers

     20    in China were providing the product to Sigma and the

     21    other importers, right?

     22        A.    I'm sorry.      Could you rephrase the question.

     23        Q.    As part of your investigation with Mr. Sanders,

     24    into whether you had trade remedies available to Island,

     25    you undertook to determine whether Sigma and the other
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    321 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          437Trial Page 144 of 244                      143


      1    importers -- who their SUPPLIERS were in China?

      2        A.    Yeah.     We knew they were in China, because the

      3    product is marked "Made in China."                But, yeah, we wanted

      4    to find out who those suppliers were if we could.

      5        Q.    Different duties apply to different suppliers,

      6    right?

      7        A.    They do.

      8        Q.    And for you to know whether a particular duty was

      9    being imposed, you needed to know who that foreign

     10    supplier was?

     11        A.    Yes.    If we could determine that.

     12        Q.    One of the ways that you undertook to determine

     13    that was by contacting former employees or current

     14    employees of the importers, correct?

     15        A.    Yes.

     16        Q.    And one of the former employees whom you and

     17    Mr. Sanders contacted was Tom Paquette, correct?

     18        A.    I never contacted or talked to Mr. Piquet.                   But

     19    Mr. Sanders I believe did.

     20        Q.    You know he did because he told you, correct?

     21        A.    Correct.

     22        Q.    So as part of this investigation, Mr. Sanders was

     23    contacting a former employee of Sigma to get nonpublic

     24    information, right?

     25        A.    I'm not sure that it would necessarily be
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    322 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          438Trial Page 145 of 244                      144


      1    nonpublic across the industry.               Some people freely share

      2    who they buy their products from on the website.

      3                     So that type of information and who your

      4    vendors are, that information is shared freely.                     In

      5    fact, if you're a salesperson, that's one of the things

      6    you need to do is find out who your customers are buying

      7    from and what they are paying.               And they will tell you.

      8        Q.    Well, if you knew the information about Sigma,

      9    you wouldn't -- Mr. Sanders wouldn't have needed to

     10    contact Tom Piquet, right?

     11        A.    We knew -- Mr. Sanders was aware of the major

     12    Chinese manufacturers for a long time.                  Beijing Bell was

     13    one of them.        That wasn't all of them.            There was -- Ji

     14    Ahn Nee (phonetic) was another.               I think when Mr. Piquet

     15    said that Beijing Bell was a source of supplier from

     16    Sigma, that didn't surprise him.               He already knew that.

     17    That was confirmation.           And it was helpful to our

     18    investigation to confirm that.

     19        Q.    So is it your testimony that you contacted a

     20    former employee of Sigma to get confirmation of

     21    information that you knew or suspected?

     22        A.    Mr. Sanders contacted a former employee or -- to

     23    get information that he willingly and freely gave to

     24    Mr. Sanders.

     25        Q.    The former employee of Sigma willingly gave it?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    323 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          439Trial Page 146 of 244                      145


      1        A.    Yes.

      2        Q.    You're an M.B.A.         You know that's in breach of

      3    his obligation to his former employer, right?

      4        A.    I don't know that.          I don't know what his

      5    obligations are to his former employer.                  I don't know if

      6    he has a contract or what that was.

      7                      As I said, this information is freely

      8    exchanged in the industry in terms of pricing and

      9    supplier information.

     10                      I do it very often in my job.             And ask

     11    customers who they are buying from and what they are

     12    paying.      They freely give me that information so that I

     13    can supply them with the most competitive price that

     14    helps them as a buyer.           That's why it's done.

     15        Q.    Do you disclose nonpublic information of your

     16    former employers?

     17        A.    If someone asked me a question about who we used

     18    to sell to, I wouldn't have a problem with that.                      That's

     19    not -- the customers that we sold to in the past, you

     20    can do a simple Google search.               It's not like there's a

     21    customer on every street corner with steel products.

     22        Q.    We are talking about suppliers here, not

     23    customers, right?

     24        A.    Yeah.     If you are asking me if that would be a

     25    problem for me to say to customers or someone else that
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    324 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          440Trial Page 147 of 244                      146


      1    my former employer used to buy from a certain person,

      2    no, I won't have a problem with that.                 It is not to me

      3    private information.

      4                     THE COURT:      Ladies and gentlemen, I'm going

      5    to interrupt at this time.             It is 2:30, which is time

      6    for our break.        We'll have you come back in in 15

      7    minutes.

      8                     Remember the admonishment not to discuss the

      9    case among yourselves or with anybody else or form or

     10    express any opinions about the matter until it's

     11    submitted to you and you retire to the jury room.

     12                     See you back in 15 minutes.

     13                     (BREAK TAKEN.)

     14                     THE COURT:      Let the record reflect that all

     15    jurors are in their respective seats in the jury box.

     16                     The witness is on the witness stand.

     17                     Counsel, you may continue your

     18    cross-examination.

     19                     MR. CURRAN:       Thank you, Your Honor.

     20                     Your Honor, at this time I would like to lay

     21    a foundation for the admission of a document with this

     22    witness.

     23                     THE COURT:      Okay.

     24                     MR. CURRAN:       May I approach?

     25                     THE COURT:      Certainly.       The clerk.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    325 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          441Trial Page 148 of 244                      147


      1                     MR. KRAMER:       We object to this.          It was not

      2    disclosed to us.         It's not on the exhibit list.

      3                     THE COURT:      I don't even know what it is

      4    yet, Counsel.

      5                     THE CLERK:      Judge, did you want to see it

      6    first?

      7                     THE COURT:      No.

      8                     MR. CURRAN:       This is for impeachment.

      9                     THE COURT:      Okay.

     10    BY MR. CURRAN:

     11        Q.    Mr. Woehrel, do you see the document that's in

     12    front of you?

     13        A.    Yes.

     14        Q.    And, sir, that is an email sent to you by Glenn

     15    Sanders on or about November 11th -- November 18, 2016,

     16    correct?

     17        A.    Correct.

     18        Q.    You received this in the ordinary course of your

     19    work at Island, correct?

     20        A.    Correct.

     21                     MR. CURRAN:       Your Honor, I move for the

     22    admission of this document into evidence.

     23                     THE COURT:      I don't know what the relevancy

     24    is at this time, Counsel.

     25                     You can ask him questions about it.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    326 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          442Trial Page 149 of 244                      148


      1    BY MR. CURRAN:

      2        Q.    Mr. Woehrel, this is Mr. Sanders forwarding to

      3    you an email that he received from Thomas Paquette, a

      4    former employee of Sigma, correct?

      5        A.    Correct.

      6        Q.    And the email attaches certain information as to

      7    Sigma suppliers, correct?

      8        A.    Correct.

      9                     MR. CURRAN:       Your Honor, I move for the

     10    admission of this document.

     11                     THE COURT:      I just don't know what the

     12    relevancy is, Counsel.

     13                     You haven't asked him what it says or

     14    anything else.

     15                     At this time I have no idea what it is, so

     16    the relevancy hasn't been established yet.

     17    BY MR. CURRAN:

     18        Q.    Mr. Woehrel, this email was forwarded to you by

     19    Mr. Sanders in connection with the investigation the two

     20    of you were doing into whether importers were failing to

     21    pay antidumping duties, correct?

     22        A.    This has nothing to do whether they were failing

     23    to pay anything.         This is just an email confirming the

     24    suppliers.       Beijing Bell, as I said.            Glenn Sanders

     25    already knew that.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    327 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          443Trial Page 150 of 244                      149


      1                     Other suppliers were aware of the claim

      2    filed.     That was nothing new.           Aegis, nothing new.          We

      3    knew that.

      4                     Orvis was a trading company from the

      5    Chinese.      We weren't aware who they were.               But, again,

      6    supplier information, I do not personally consider

      7    proprietary information.            These companies sell to many

      8    other companies.         And they freely advertise.             And some

      9    companies that buy from these companies freely advertise

     10    on their websites that they buy from these companies.

     11    So this -- I guess I don't understand either.                    This is

     12    benign.

     13                     THE COURT:      The question is:          Do you agree

     14    with everything that's said on there?

     15                     THE WITNESS:       Yeah, I do.       The supplier

     16    information, yes.

     17    BY MR. CURRAN:

     18        Q.    Mr. Woehrel, is it your testimony that the

     19    information that you and Mr. Sanders received from

     20    Mr. Paquette was not confidential, nonpublic

     21    information?

     22        A.    I don't believe it was not confidential

     23    information.        It is, as I said -- in the industry -- I

     24    can't speak for other industries, but I would imagine

     25    it's the same thing, information on suppliers and
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    328 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          444Trial Page 151 of 244                      150


      1    pricing is freely shared amongst participants in

      2    industries, yes.         So I wouldn't think this is private

      3    information, no.

      4                     MR. CURRAN:       Your Honor, at this time I

      5    would like to show a clip from Mr. Woehrel's deposition.

      6    This clip begins on page 197, line 3 and runs to 197,

      7    line 20 of that deposition.

      8                     THE COURT:      Go ahead.       Want to take a look

      9    at it, Counsel?

     10                     MR. KRAMER:       I don't have a copy of it.

     11                     THE COURT:      Do you want to read it or do you

     12    want to show it on the video.

     13                     MR. CURRAN:       I would like to show it on the

     14    video.

     15                     THE COURT:      Counsel, would you like to take

     16    a look at it?

     17                     MR. KRAMER:       Yes, please.

     18                     THE COURT:      See if there's an objection.

     19                     MR. KRAMER:       Your Honor, I object.           I don't

     20    think it is impeaching anything.

     21                     THE COURT:      I don't know.        I have to read

     22    it.    Pass it up.       I will take a look and see if it is

     23    impeachment.

     24                     What are the lines again?

     25                     MR. CURRAN:       Pardon me?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    329 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          445Trial Page 152 of 244                          151


      1                     THE COURT:      What are the lines again?

      2                     MR. CURRAN:       197, line 3 to 197, line 20.

      3                     If it helps, I would be happy to explain the

      4    impeachment.

      5                     THE COURT:      Counsel, I'm sorry.           I don't see

      6    any impeachment on there.

      7                     You can ask him questions about it.                But I

      8    see nothing that is contrary to the testimony he's

      9    already given.

     10                     MR. CURRAN:       Your Honor, he has denied --

     11                     THE COURT:      Counsel.

     12                     MR. CURRAN:       Yeah.

     13                     THE COURT:      Next question.

     14    BY MR. CURRAN:

     15        Q.    So, Mr. Woehrel, it is your testimony that you

     16    and Mr. Sanders reached out to former employees and

     17    current employees of the importers not to get

     18    confidential information but just to confirm information

     19    that was otherwise available?

     20        A.    Yes.    To get information that was available.                     A

     21    lot of the information, the contacts we made, were in

     22    the normal course of business.               Supplying products to

     23    Sigma so we don't --

     24                     THE COURT:      You've answered the question.

     25                     It has to be by question and answer.                 You
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    330 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          446Trial Page 153 of 244                      152


      1    answered the question.

      2                     THE WITNESS:       I'm sorry, Your Honor.

      3                     THE COURT:      That's okay.

      4    BY MR. CURRAN:

      5        Q.    Is it your testimony that the contacts that you

      6    and Mr. Sanders made to a former employee of Vandewater

      7    that that was perfectly fine as well?

      8                     MR. KRAMER:       Objection; relevance.

      9                     THE COURT:      Overruled.

     10                     THE WITNESS:       Again, that wasn't my contact.

     11    But, yes, I don't see any problem with that, with

     12    Mr. Sanders getting information from a person in the

     13    industry that he had a relationship with.

     14    BY MR. CURRAN:

     15        Q.    And, sir, is it your testimony that you saw no

     16    issue with the contact that you and Mr. Sanders made to

     17    a current employee of Anvil at the time?

     18        A.    I don't see any problem with that, no.

     19        Q.    Sir, a jury has recently concluded that it was

     20    violation --

     21                     MR. KRAMER:       Objection.

     22                     THE COURT:      Sustained.

     23                     What another jury did has nothing to do with

     24    what this jury has to decide, Counsel.

     25                     Next question.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    331 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          447Trial Page 154 of 244                       153


      1    BY MR. CURRAN:

      2        Q.    Mr. Woehrel, have you ever seen a 7501 Customs

      3    form filled out by Sigma with respect to the importation

      4    of welded outlets?

      5        A.    No, I never have.

      6        Q.    So you wouldn't know whether the invoice attached

      7    to such a duty pack would disclose that the couplings

      8    being imported were welded outlets, correct?

      9        A.    I haven't seen any of those packets.                 So I

     10    wouldn't be able to comment on that.

     11        Q.    And, sir, during the course of your

     12    investigation, back in 2016 with Mr. Sanders, you didn't

     13    come across any evidence that Sigma was intentionally

     14    trying to avoid the imposition of antidumping duties,

     15    right?

     16        A.    I don't know what intention they would have.                       As

     17    I said, I don't know what they were thinking.                    I just

     18    know that the circumstances that we unfolded were that

     19    the duties -- we did understand that the duties weren't

     20    being paid, and they weren't paid.                That is my

     21    understanding.

     22                     THE COURT:      Again, that wasn't the question.

     23    If your counsel wants you to expand on that he'll ask

     24    you further question.

     25                     Why don't you ask the question again.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    332 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          448Trial Page 155 of 244                      154


      1                     THE WITNESS:       I apologize again.

      2    BY MR. CURRAN:

      3        Q.    The question is:         Did you, during the course of

      4    your investigation, come across any evidence that Sigma

      5    was intentionally trying to avoid the imposition of

      6    antidumping duties?

      7        A.    No.    Other than our observation of product

      8    descriptions.        But no.

      9                     THE COURT:      Okay.

     10                     MR. CURRAN:       Nothing further, Your Honor.

     11                     THE COURT:      Redirect?

     12                     MR. KRAMER:       Very briefly.

     13                     THE COURT:      Sure.

     14                     REDIRECT EXAMINATION

     15    BY MR. KRAMER:

     16        Q.    Mr. Woehrel, you were asked a couple of questions

     17    on cross-examination about the Sprink-let ruling.

     18                     Do you recall that?

     19        A.    Yes.

     20        Q.    And one of the questions you were asked had to do

     21    with if Glen Sanders was aware of the Sprink-let ruling.

     22                     Do you remember that?

     23        A.    Yes.

     24        Q.    Is Island an importer of record?

     25        A.    No.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    333 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          449Trial Page 156 of 244                      155


      1        Q.    Does it have any reason in its business to be

      2    familiar with scope rulings?

      3        A.    No.

      4        Q.    Is it your understanding that importers of record

      5    need to know about scope rulings?

      6        A.    Yes.

      7                     MR. KRAMER:       Nothing further, Your Honor.

      8                     THE COURT:      Any recross in that area?

      9                     MR. CURRAN:       No, Your Honor.

     10                     THE COURT:      Okay.      You may step down.

     11                     Next witness.

     12                     MR. KRAMER:       Your Honor, Island calls

     13    Mitchell Rona, who is a Sigma witness.

     14                     THE COURT:      Okay.

     15                     MR. CURRAN:       Your Honor, Mr. Lau will handle

     16    this witnesses for Sigma.

     17                     THE COURT:      Thank you, Counsel.

     18                     THE CLERK:      Good afternoon.         Right here to

     19    be sworn, please.

     20                     Do you solemnly swear that the testimony you

     21    are about to give in the cause now pending before this

     22    Court shall be the truth, the whole truth and nothing

     23    but the truth, so help you God?

     24                     THE WITNESS:       I do.

     25                     THE CLERK:      Thank you.       You may be seated.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    334 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          450Trial Page 157 of 244                      156


      1                     Please state your full name for the record

      2    and spell your last name.

      3                     THE WITNESS:       Mitchell Rona, R-o-n-a.

      4                     THE COURT:      You may inquire.

      5                     MR. KRAMER:       Thank you, Your Honor.

      6                          DIRECT EXAMINATION

      7    BY MR. KRAMER:

      8        Q.    Mr. Rona, my name is Kelly Kramer.                We've never

      9    met before, correct?

     10        A.    Correct.

     11        Q.    I understand this correctly, you've worked at

     12    Sigma for more than 30 years, right?

     13        A.    Yes.

     14        Q.    And you're currently an executive vice president?

     15        A.    Correct.

     16        Q.    Do you have an ownership in the company?

     17        A.    Very, very, very small.

     18        Q.    Do you have any feel for what that might be

     19    worth?

     20        A.    Fractional.

     21        Q.    Pennies?

     22        A.    I don't know about pennies.             But very, very, very

     23    small.

     24        Q.    50 grand?

     25        A.    A little bit more than that.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    335 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          451Trial Page 158 of 244                      157


      1        Q.    Okay.     Hundred?

      2        A.    Invested?

      3        Q.    I just want to know what your equity interest is

      4    worth, sir?

      5        A.    Very small.       150.

      6        Q.    150.    Okay.     In this case you were designated as

      7    Sigma's corporate representative for purposes of the

      8    deposition, correct?

      9        A.    Correct.

     10        Q.    And you testified as Sigma's corporate

     11    representative, correct?

     12        A.    Correct.

     13        Q.    That was back in March of 2020?

     14        A.    Yes.

     15        Q.    Deposition was transcribed?

     16        A.    Yes.

     17        Q.    You had an opportunity to review it to see if

     18    there were mistakes?

     19        A.    Yes.

     20        Q.    You understood that you were speaking on behalf

     21    of the company, correct?

     22        A.    Correct.

     23        Q.    Now, prior to that deposition, you received a

     24    list of topics as to which you needed to be prepared,

     25    right?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    336 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          452Trial Page 159 of 244                      158


      1        A.    Correct.

      2        Q.    You understood that Sigma had a duty to educate

      3    you about those topics, correct?

      4        A.    Correct.

      5        Q.    And you spent two days to prepare?

      6        A.    Approximately.

      7        Q.    Okay.     And as part of those preparations, you

      8    reviewed documents, right?

      9        A.    Correct.

     10        Q.    You spoke with a few Sigma employees, right?

     11        A.    Correct.

     12        Q.    Who did you speak with?

     13        A.    Just to collect information about the sales

     14    figures, I spoke with IT -- our IT department to collect

     15    the information on the sales figures associated with,

     16    you know, the particular products --

     17        Q.    Okay.

     18        A.    -- that were in question.

     19        Q.    Did you speak with Ms. Velasquez?

     20        A.    Probably spoke to her.

     21        Q.    Do you remember one way or the other?

     22        A.    I probably spoke to her also about the sales

     23    figures, correct.

     24        Q.    Did you speak to her about any other topic?

     25        A.    No.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    337 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          453Trial Page 160 of 244                      159


      1        Q.    Did you speak with Mr. Bhattacharji?

      2        A.    We talked about the same subjects because the

      3    figures were an area where I was able to be helpful.

      4        Q.    Did you speak with any former Sigma employees?

      5        A.    No.

      6        Q.    Did you speak with any of Sigma's customs

      7    brokers?

      8        A.    No.

      9        Q.    Did you speak with the lawyers from White & Case?

     10        A.    During preparation?

     11        Q.    Yes.

     12        A.    Yes.

     13        Q.    Okay.     And the purpose of these meetings was so

     14    that you would be prepared to answer the questions on

     15    all of the topics that were in that list, right?

     16        A.    Correct.

     17        Q.    So we are going to talk more about that.                  But

     18    let's talk a little bit now about your role at Sigma.

     19    You're an executive vice president, right?

     20        A.    Correct.

     21        Q.    One of your responsibilities is to supervise the

     22    company's global supply chain, correct?

     23        A.    At the time back in 2011, I was vice president of

     24    operations.       I became executive vice president in 2017.

     25        Q.    But was there any meaningful distinction in your
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    338 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          454Trial Page 161 of 244                      160


      1    job duties?

      2        A.    Approximately the same, yes.

      3        Q.    So your title was different.              The duties were

      4    more or less the same?

      5        A.    That's correct.

      6        Q.    Back to my question.          One of your

      7    responsibilities is to oversee the global supply chain,

      8    correct?

      9        A.    Correct.

     10        Q.    You've been responsible for doing that since

     11    June of 2011, right?

     12        A.    Correct.

     13        Q.    And as the executive vice president or as the

     14    vice president, we will just amend it, responsible for

     15    Sigma's global supply chain one of the groups that

     16    reported up to you was the Import Operations Group,

     17    correct?

     18        A.    Correct.

     19        Q.    As the executive who was responsible for the

     20    global supply chain, you were responsible for ensuring

     21    that import operations took the steps necessary to

     22    comply with the law, right?

     23        A.    Correct.

     24        Q.    And as the executive responsible for overseeing

     25    the import operation group, you were ultimately
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    339 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          455Trial Page 162 of 244                      161


      1    responsible for the importation of Sigma's Chinese

      2    welded outlets, correct?

      3        A.    Correct.

      4        Q.    Let's talk a little bit about Sigma's business.

      5    Most of Sigma's business involves imported products,

      6    correct?

      7        A.    The majority, yes.

      8        Q.    The majority.        Could you quantify that?            What

      9    percentage involves imported products?

     10        A.    Approximately in revenue base today about

     11    80 percent.

     12        Q.    80 percent.       And historically, from 2010 to 2018,

     13    was that more or less the same or was it a little bit

     14    higher?

     15        A.    It is hard to say.          But we've always consistently

     16    maintained domestic manufacturing of certain products or

     17    bought and sold certain percentage of domestic products.

     18        Q.    Sure.     But my focus is on the foreign products.

     19    And so I guess I'm just trying to make sure I

     20    understand.       In that 2010, 2018 range, is 80 percent a

     21    fair approximation?

     22        A.    I don't have the exact figures.               But I would say

     23    that 15 to 20 percent would be fair.

     24        Q.    I'm sorry, you're saying --

     25        A.    15 to 20 percent continually would be fair.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    340 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          456Trial Page 163 of 244                      162


      1        Q.    Of domestic products?

      2        A.    No. No.     Of import.       Import was approximately 80

      3    percent.      So approximately -- you asked me for the

      4    entire period of 2010 through 2018.                 It varied year to

      5    year.     But it was -- approximately 20 percent was

      6    domestic and 80 percent was imported.

      7        Q.    Fair enough.       And of those imported products,

      8    what percentage would you say come from China?

      9        A.    That also varied.         In revenue terms, the exact

     10    figures, I don't have them in front of me.                   But I would

     11    say that it was more than 50 percent but -- of the

     12    80 percent.

     13        Q.    Understood.       So let's talk about Sigma's Chinese

     14    welded outlets.

     15                     Do you know what I'm referring to when I say

     16    Sigma's Chinese welded outlets?

     17        A.    Yes.

     18        Q.    Talking about the UniLet, right?

     19        A.    Correct.

     20        Q.    Safe-let?

     21        A.    Yes.

     22        Q.    And a handful of grouped outlets for Shanghai

     23    Vision, right?

     24        A.    Correct.

     25        Q.    Now, as to all of those products, Sigma served as
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    341 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          457Trial Page 164 of 244                      163


      1    the importer of record when they brought them into the

      2    country, correct?

      3        A.    Correct.

      4        Q.    And as the importer of record, Sigma had an

      5    obligation to take reasonable care when it imported

      6    those Chinese products, right?

      7        A.    Correct.

      8        Q.    And as the importer of record, one of the things

      9    that Sigma was responsible for was ensuring that the

     10    products were accurately and completely described to

     11    Customs and Border Protection, right?

     12        A.    I would say that -- repeat the question, please.

     13        Q.    One of the things that Sigma was responsible for

     14    doing was to ensure that the products were accurately

     15    and completely described to Customs and Border

     16    Protection?

     17        A.    Correct.

     18        Q.    And as the importer of record, another obligation

     19    was for Sigma to determine -- to exercise reasonable

     20    care, to determine if the products were subject to

     21    antidumping duties, right?

     22        A.    Correct.

     23        Q.    And Sigma was responsible for disclosing to

     24    Customs and Border Protection whether those products

     25    were subject to antidumping duties, right?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    342 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          458Trial Page 165 of 244                      164


      1        A.    Correct.

      2        Q.    So speaking of antidumping duty orders for a

      3    moment, I would like to take a look at Island

      4    Exhibit 58.       I understand there's no objection, Your

      5    Honor.

      6                     THE COURT:      It will be received.

      7                     (Exhibit 58 is received.)

      8                     MR. KRAMER:       May I publish?

      9                     THE COURT:      Yes.

     10                     MR. KRAMER:       Thank you.

     11                     Mr. Hendy, can you help me.

     12                     MR. HENDY:      Sure.

     13                     MR. KRAMER:       Thank you.       Excellent.

     14    BY MR. KRAMER:

     15        Q.    Now, Mr. Rona, these are some frequently asked

     16    questions on the Customs and Border Protection website.

     17                     And my first question for you is, as the

     18    executive responsible for overseeing import operations,

     19    prior to this case, had you ever reviewed these

     20    frequently asked questions?

     21        A.    I had not.

     22        Q.    Now, the -- as you sit here today -- if you look

     23    at the bottom, you will see that there's a question and

     24    answer.      Is that legible to you?           I'm trying to get to

     25    the right spot.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    343 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          459Trial Page 166 of 244                      165


      1        A.    It's fine.

      2        Q.    There's a question and answer there regarding --

      3    the question is:         "How can I determine whether

      4    merchandise that I'm planning to import is subject to

      5    antidumping duty or countervailing duties?"

      6                      Do you see that?

      7        A.    Yes.

      8        Q.    The answer to that question is:               "You need to

      9    review the scope of the AD/CVD" -- that means

     10    antidumping countervailing duty, right?

     11        A.    Okay.

     12        Q.    Okay.     "You need to review the scope of the

     13    antidumping duty orders to determine whether the

     14    merchandise falls within the scope of an order."

     15                      Do you see that?

     16        A.    No, I don't see that.           I apologize.

     17        Q.    No problem.       Let me see if I can highlight it.

     18        A.    Oh, I'm sorry.

     19        Q.    Can you read that clearly?

     20        A.    Yes.

     21        Q.    And as you sit here today, you know, as the

     22    executive responsible for overseeing import operations,

     23    that the only way to know the scope of an antidumping

     24    duty order is to read the order, correct?

     25        A.    I know that when we reviewed the initial
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    344 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          460Trial Page 167 of 244                      166


      1    classification for the UniLet --

      2        Q.    I hate to interrupt you.            That is not really my

      3    question.

      4                      My question is:       As you sit here today, do

      5    you understand that the way to know if a product is

      6    within a scope of an antidumping duty order you have to

      7    read the order?

      8        A.    Okay.     Yes.

      9        Q.    You do know that?

     10        A.    Yes.

     11        Q.    Now, I would like to take a look a little bit

     12    further down the page.

     13                      Can you read that?         Okay?

     14        A.    Yes.

     15        Q.    Okay.     Now, as you sit here today, you know what

     16    an HTS code is, right?

     17        A.    Yes.

     18        Q.    It is a classification code, right?

     19        A.    Correct.

     20        Q.    It is the Harmonized Tariff Schedule, correct?

     21        A.    Correct.

     22                      MR. LAU:     Objection, Your Honor.           There's

     23    been no showing that the witness has any personal

     24    knowledge of this document at all.

     25                      THE COURT:     Sustained.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    345 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          461Trial Page 168 of 244                      167


      1                     Have you ever seen it before?

      2                     THE WITNESS:       No.

      3                     THE COURT:      Sustained.

      4                     MR. KRAMER:       Okay.

      5    BY MR. KRAMER:

      6        Q.    As you sit here today, you know that an HTS

      7    code --

      8        A.    Sorry.

      9        Q.    No problem.       You okay?

     10        A.    I have to put my glasses down to see you.                   And I

     11    need my glasses to see.            It's okay.

     12        Q.    Fair enough.       You understand that an HTS code

     13    does not, in fact, determine the scope of an antidumping

     14    duty order, correct?

     15        A.    Yes, correct.

     16        Q.    And you understand that the HTS codes that are

     17    included in these antidumping duty orders are providing

     18    for convenience only, right?

     19        A.    Yes.

     20        Q.    Let's take a look quickly at the China order.

     21                     Your Honor, this is Exhibit 8.              I don't

     22    believe it is in evidence yet.               But there is no

     23    objection.

     24                     THE COURT:      It will be received.

     25                     (Exhibit 8 is received.)
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    346 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          462Trial Page 169 of 244                      168


      1    BY MR. KRAMER:

      2        Q.    I'm going to test your glasses again.

      3        A.    Not a problem.

      4        Q.    I hit the wrong word.           Okay.

      5                      And this is what we've referred to in this

      6    case as the China order.

      7                      Now, I just want to ask you a couple of

      8    questions about the China order.               Am I correct that

      9    Sigma first became aware of the China order in December

     10    of 2017?

     11        A.    Not that -- no.

     12        Q.    No.     Okay.   When is it that you think Sigma first

     13    became aware of the China order?

     14        A.    I'm seeing it -- I apologize.              I'm seeing an

     15    excerpt.        This is -- what is the actual total order?

     16    What is the order?

     17        Q.    So this is the order as it is published in the

     18    Federal Registry.

     19        A.    But meaning the whole order, the whole page.

     20        Q.    Right.

     21        A.    Can you go to the top, please.

     22        Q.    Yes.

     23        A.    Okay.     So this is -- okay.           I believe this is --

     24                      MR. LAU:     Objection.      Same objection, for

     25    lack of showing personal knowledge.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    347 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          463Trial Page 170 of 244                      169


      1                      THE COURT:     Have you ever seen this order

      2    before?

      3                      THE WITNESS:      I believe this is -- I don't

      4    recall seeing it.         But I believe this is the Sprink-let

      5    ruling from 1992.

      6                      MR. KRAMER:      No.

      7                      THE WITNESS:      Okay.     It is not.

      8    BY MR. KRAMER:

      9        Q.    This is the antidumping duty order on certain

     10    carbon steel buttweld pipe fittings from the People's

     11    Republic of China.

     12        A.    I have not seen this before.

     13        Q.    Did anyone at Sigma see this order prior to

     14    December of 2017?

     15        A.    No.

     16        Q.    No.     I want to talk a little bit about your

     17    day-to-day role in import compliance.

     18                      Do you have a significant -- do you have a

     19    meaningful day-to-day role in the import compliance

     20    group's activities?

     21        A.    From what time period?

     22        Q.    So let's talk about the time period 2010 through

     23    2018.

     24        A.    In 2010, I did not.

     25        Q.    Okay.     What about in 2011 through 2018, did you
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    348 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          464Trial Page 171 of 244                      170


      1    have a meaningful role in the day-to-day activities that

      2    occurred?

      3        A.    Not day-to-day.

      4        Q.    You're not a licensed Customs broker, right?

      5        A.    No.

      6        Q.    You didn't take any classes on import compliance?

      7        A.    No.

      8        Q.    Never received any formal training regarding

      9    import compliance at all, right?

     10        A.    No.

     11        Q.    Regarding antidumping duty orders, you didn't

     12    take any classes on how to comply with antidumping duty

     13    orders?

     14        A.    I did not.

     15        Q.    You didn't receive any formal training about

     16    antidumping duty order compliance, right?

     17        A.    Formal training, no.

     18        Q.    And as part of your job, you basically didn't

     19    review antidumping duties orders at all, right?

     20        A.    Not unless someone asked me particularly to get

     21    involved in a particular issue.

     22        Q.    Right.     But on a day-to-day basis, as a personal

     23    matter, you were not reviewing antidumping duty orders,

     24    correct?

     25        A.    Correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    349 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          465Trial Page 172 of 244                      171


      1        Q.    You've never in fact personally researched

      2    whether a Sigma product was subject to an antidumping

      3    duty order, have you?

      4        A.    I don't recall doing that, no.

      5        Q.    And you typically didn't talk to Customs brokers

      6    about Sigma's products, correct?

      7        A.    That's correct.

      8        Q.    And focusing on 2010 specifically.                Sigma first

      9    started to import the UniLet in 2010, correct?

     10        A.    That's correct.

     11        Q.    You know that?

     12        A.    I do know that.

     13        Q.    Now, at that time -- at that time.                And the

     14    UniLet is a Chinese loaded outlet, correct?

     15        A.    Correct.

     16        Q.    Now in 2010, at that time you weren't yet

     17    responsible for the supply chain, right?

     18        A.    That is correct.

     19        Q.    You weren't supervising the global supply chain

     20    at all, right?

     21        A.    That's correct.

     22        Q.    And you personally didn't play any role in

     23    researching whether the UniLet might be subject to an

     24    antidumping duty order, right?

     25        A.    That's correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    350 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          466Trial Page 173 of 244                      172


      1        Q.    You didn't speak with the Customs broker about

      2    the UniLet, correct?

      3        A.    That's correct.

      4        Q.    In fact you don't actually have any firsthand

      5    personal knowledge at all about what anyone at Sigma did

      6    in 2010 regarding this product, do you?

      7        A.    Not particularly for this product, no.

      8        Q.    All you know is what people have told you, right?

      9        A.    I know what people have told me, yes.                 And I also

     10    worked with the person who did the work.                   So I had a lot

     11    of background and experience working with her on --

     12        Q.    Right.     But just to be clear, you don't have any

     13    personal firsthand information about what happened in

     14    2010 as it relates to the UniLet?

     15        A.    Correct.

     16        Q.    I'm sorry I spoke over you.

     17        A.    That's okay.

     18        Q.    Thank you.

     19                     But you testified as Sigma's corporate rep

     20    regarding the UniLet, right?

     21        A.    I did.     I testified as Sigma's corporate rep,

     22    correct.

     23        Q.    Right.     And one of the topics you testified about

     24    was the UniLet product, right?

     25        A.    Correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    351 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          467Trial Page 174 of 244                      173


      1        Q.    And you testified that before importing the

      2    UniLet, no one from Sigma researched whether antidumping

      3    duties applied to these welded outlets, correct?

      4        A.    I believe in my testimony I -- in one place I may

      5    have said that.         And then in another place I would have

      6    said that I know that Mrs. Stacker, who was in charge of

      7    imports, had done that work.              And that's what I had

      8    heard, correct, from -- not firsthand.                  From

      9    Mrs. Stacker.

     10                     MR. KRAMER:       I move to the strike the

     11    information you've heard not firsthand but from

     12    Mrs. Stacker as hearsay.

     13                     THE COURT:      It will be stricken.

     14    BY MR. KRAMER:

     15        Q.    Now, as the corporate representative you

     16    testified that in 2010 Sigma didn't get an opinion from

     17    counsel as to whether the UniLet was subject to

     18    antidumping duties, correct?

     19        A.    I don't know recall that I testified.                 If that's

     20    what I said, that's what I said.

     21        Q.    I would like to direct your attention to page 258

     22    of your deposition, lines 1 through 13.

     23                     And this is the 30(b)(6) deposition

     24    transcript, Your Honor.            May I show it to the witness?

     25                     THE COURT:      Sure.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    352 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          468Trial Page 175 of 244                      174


      1                     MR. KRAMER:       Your Honor, I would actually

      2    ask that this be displayed to the jury as well.                     Since

      3    it is a 30(b)(6) deposition.              I believe it is useable

      4    for all purposes.

      5                     THE COURT:      If there is no objection, sure.

      6    BY MR. KRAMER:

      7        Q.    As you can see here, sir, that you testified in

      8    response to the question:

      9                     "So let's turn to 2010 when Sigma decided to

     10    import the UniLet product.

     11                     "Did Sigma obtain any opinion of counsel in

     12    2010 with respect to the proper classification of the

     13    product?"

     14                     And your answer was:

     15                     "I have no knowledge of that as a

     16    representative of Sigma.            I've clearly outlined probably

     17    nine or times the process we used inheriting the

     18    classification."

     19                     So as you sit here today, I'd like to ask

     20    you this:      Do you have any knowledge of Sigma ever

     21    obtaining an opinion of counsel with respect to the

     22    UniLet in 2010?

     23        A.    Personal knowledge, no.

     24        Q.    Now, you testified as a corporate representative

     25    that you were not aware of any documentation reflecting
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    353 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          469Trial Page 176 of 244                      175


      1    communications between Sigma and the Customs broker as

      2    it relates to the UniLet, correct?

      3        A.    Correct.

      4        Q.    And you as you sit here today, you don't have any

      5    knowledge of any -- you don't firsthand have any

      6    knowledge of any verbal communications between anyone at

      7    Sigma and anyone at a Customs broker's house, correct?

      8        A.    That's correct.

      9        Q.    And you recall that Island served discovery

     10    request on Sigma during the course of this case, right?

     11        A.    Yes.

     12        Q.    And one of those requests was for Sigma to answer

     13    questions in writing, right?              They call it interrogatory

     14    requests.

     15        A.    Yes.

     16        Q.    And to the best of your knowledge, Sigma answered

     17    accurately, correct?

     18        A.    Correct.

     19                     MR. KRAMER:       I would like to look at Island

     20    Exhibit 52, which I understand there is no objection.

     21                     THE COURT:      It will be received.

     22                     (Exhibit 52 is received.)

     23                     MR. KRAMER:       May it be published, Your

     24    Honor?

     25                     THE COURT:      Yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    354 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          470Trial Page 177 of 244                      176


      1    BY MR. KRAMER:

      2        Q.    Now, Mr. Rona, were you involved at all in the

      3    responses to these interrogatories?

      4        A.    I would say partially involved.

      5        Q.    I would like to direct your attention to the

      6    interrogatory request, Question No. 3.                  You will see

      7    here that it says, "Identify any person who advised you

      8    or consulted with you as to whether welded outlets were

      9    subject to the antidumping duty order for buttweld pipe

     10    fittings."

     11                      Did I read that right?

     12        A.    I'm sorry.

     13                      THE COURT:     Number 3.

     14                      THE WITNESS:      I see it.       I was reading the

     15    response.      Sorry.

     16    BY MR. KRAMER:

     17        Q.    Did I get that right?

     18        A.    Okay.

     19        Q.    Okay.     And Sigma's answer was "none."              Correct?

     20        A.    Uh-huh.     Yes.

     21        Q.    That's because Sigma didn't actually consult with

     22    anyone about whether the UniLet or that any Chinese

     23    welded outlets were subject to the antidumping duty

     24    order for buttweld pipe fittings, correct?

     25        A.    That's what -- that's what it says, yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    355 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          471Trial Page 178 of 244                      177


      1        Q.    And any person would include a Customs broker,

      2    correct?

      3                      MR. LAU:     Objection.      The document does

      4    speak for itself.

      5                      THE COURT:     Sustained.

      6    BY MR. KRAMER:

      7        Q.    Let's talk about documentation.               As the executive

      8    responsible for overseeing import operations, you know

      9    that Customs -- Customs and Border Protection expect

     10    importers of record to keep a written record of the

     11    advice that they received from the Customs broker,

     12    right?

     13        A.    Yes.

     14        Q.    Okay.     And you are familiar with Sigma's import

     15    compliance manual, correct?

     16        A.    Yes.

     17        Q.    And you know that the manual requires the import

     18    group to archive all communications and information

     19    relating to classification decisions, right?

     20        A.    That is what the manual says.              And that's

     21    correct.

     22        Q.    And one reason that a company like Sigma, they

     23    would want to keep an archive of these things is because

     24    you have to allow the company to demonstrate that it

     25    engaged in reasonable care, right?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    356 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          472Trial Page 179 of 244                      178


      1        A.    I would say that the manual was produced in 2013.

      2    And the previous conversation was about 2010.                    I can't

      3    comment on whether we have it -- had it, but -- correct.

      4    I understand --

      5        Q.    My question is a little bit different.                 I want to

      6    make sure we're on the same page here.

      7                     I'm saying that one of the reasons why a

      8    company like Sigma would want to keep this documentation

      9    is because it demonstrates that they engaged in

     10    reasonable care, correct?

     11        A.    Correct.

     12        Q.    So it's in Sigma's interest to keep such

     13    documents, correct?

     14        A.    It's always in interest to keep documents,

     15    correct.

     16        Q.    But as you sit here today, you know that Sigma

     17    does not have any documents reflecting communications

     18    with any Customs broker about the UniLet, correct?

     19        A.    In 2010, correct.

     20        Q.    Right?

     21        A.    Yes.

     22        Q.    And it doesn't have a written opinion letter from

     23    an attorney, for example, as to whether the UniLet was

     24    subject to antidumping duties, correct?

     25        A.    Correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    357 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          473Trial Page 180 of 244                      179


      1        Q.    It doesn't have any emails with Customs brokers

      2    as to whether UniLet was subject to an antidumping duty,

      3    right?

      4        A.    Correct.

      5        Q.    Doesn't have any file notes from someone in

      6    import operations purporting to document a discussion

      7    with the Customs broker, does it?

      8        A.    Correct.

      9        Q.    Doesn't have any contracts with Customs brokers

     10    showing that brokers would provide anti dumping

     11    compliance, right?

     12        A.    Not that I'm aware of.

     13        Q.    It doesn't have any voices from a Customs broker

     14    showing that the broker provided antidumping duty

     15    related advice, right?

     16        A.    On the UniLet.

     17        Q.    On the UniLet?

     18        A.    Right.     Correct.      Correct.

     19        Q.    As you sit here today, you know that Sigma does

     20    not have a single record, electronic, paper or

     21    otherwise, showing that it communicated with anyone

     22    about whether the UniLet was subject to antidumping

     23    duties, correct?

     24        A.    Correct.

     25        Q.    Moving forward to 2016.            In 2016, that's when
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    358 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          474Trial Page 181 of 244                      180


      1    Sigma started to import the Safe-let, correct?

      2        A.    Correct.

      3        Q.    Safe-let is also a Chinese welded outlet,

      4    correct?

      5        A.    Correct.

      6        Q.    At that time, in 2016, you were the executive

      7    responsible for overseeing import operations, correct?

      8        A.    Right.

      9        Q.    But your personal involvement in terms of the

     10    safe-let, you were not personally involved in assessing

     11    whether the safe-let was subject or might be subject to

     12    an antidumping duty, right?

     13        A.    Correct.

     14        Q.    And as the corporate rep, though, you did testify

     15    about the safe-let, correct?

     16        A.    I'm sure I did.

     17        Q.    And as Sigma's corporate representative, you

     18    testified that Sigma viewed the safe-let to be the same

     19    product as the UniLet, correct?

     20        A.    Correct.

     21        Q.    And as Sigma's corporate representative, you

     22    testified that because Sigma viewed the safe-let to be

     23    the same as the UniLet, it did not do any research as to

     24    whether an antidumping duty would apply to that product,

     25    correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    359 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          475Trial Page 182 of 244                      181


      1        A.    Correct.

      2        Q.    You testified as Sigma's corporate representative

      3    that Sigma did not consult with counsel about whether

      4    the safe-let was subject to an antidumping duty order,

      5    correct?

      6        A.    Correct.

      7        Q.    You testified as Sigma's corporate representative

      8    that Sigma did not consult with a Customs broker about

      9    the classification of the safe-let, correct?

     10        A.    Please repeat that.

     11        Q.    You testified as Sigma's corporate representative

     12    that Sigma did not consult with a Customs broker about

     13    the classification of the safe-let, correct?

     14        A.    Not to my knowledge, correct.

     15        Q.    Well, you were testifying as the company's

     16    representative, correct?

     17        A.    That is correct.

     18        Q.    That is the company's position, correct?

     19        A.    Correct.

     20        Q.    And you testified as the corporate representative

     21    that Sigma did not consult with a Customs broker as to

     22    whether the safe-let was subject to any antidumping duty

     23    orders, correct?

     24        A.    If that's what the testimony says.                I don't have

     25    it in front of me.          But then it's correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    360 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          476Trial Page 183 of 244                      182


      1        Q.    But you have no reason to believe as you sit here

      2    today that Sigma did anything in 2016 to determine if

      3    the sig-let -- excuse me, the safe-let was subject to

      4    antidumping duties, correct?

      5        A.    I knew that he had -- that we were receiving

      6    daily and repetitive updates from Customs on any HTS

      7    code that we imported and that if for any reason that

      8    HTS code was part of an antidumping order, we would come

      9    to know about it, which means we would find out if the

     10    UniLet was now subject and that would make the safe-let

     11    subject.

     12                     So We had no reason to believe there was any

     13    change in the HTS code, correct.

     14                     MR. KRAMER:       I move to strike as

     15    nonresponsive.

     16                     THE COURT:      Overruled.

     17    BY MR. KRAMER:

     18        Q.    I was asking you, sir, not about the HTS code.

     19    I'm asking about whether you had any reason to

     20    believe -- as you sit here today, do you have any reason

     21    to believe that Sigma did anything to determine if the

     22    safe-let was subject to an antidumping duty?

     23        A.    I'm sure we did follow a process.                And when we

     24    created the new item number for the safe-let and we went

     25    through the same process we would always do, which was
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    361 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          477Trial Page 184 of 244                      183


      1    followed all the time, which was to put together a new

      2    item creation, to review it, to submit it, to collect

      3    the drawings, to go to the same process, which is what I

      4    believe I testified to.

      5        Q.    I would like to show you page 188 of your

      6    deposition testimony.

      7                     May I publish, Your Honor?

      8                     THE COURT:      Yes.     If there is no objection.

      9    Yes.

     10    BY MR. KRAMER:

     11        Q.    I would like to direct your attention to line 13.

     12    And the question says:

     13              "QUESTION:      In 2016 when Sigma launched the

     14    safe-let product, it did not do any research at that

     15    time with respect to antidumping duty that would apply

     16    to the safe-let product, correct?

     17              "ANSWER:      We didn't do any additional new work on

     18    that product because it was same product as far as we

     19    were concerned."

     20                     Do you see that?

     21        A.    Correct.      We didn't do any additional work.

     22        Q.    In other words, in 2016 prior to importing the

     23    safe-let, Sigma did not take any steps to determine if

     24    it was subject to an antidumping duty, right?

     25        A.    Not to my knowledge.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    362 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          478Trial Page 185 of 244                      184


      1        Q.    Whatever work it did, if it did any, it was done

      2    all the way back in 2010, right?

      3        A.    The work that was done on a day-to-day basis to

      4    put in any new item would have been done.                   But --

      5        Q.    Mr. Rona, I'm asking specifically with respect to

      6    what happened on this product.               As you sit here today,

      7    you have no knowledge of any work at all being done in

      8    2016 with respect to whether the safe-let was subject to

      9    antidumping duties, correct?

     10        A.    Correct.

     11        Q.    I want to focus on the time frame 2010 through

     12    2018.     Okay.     In that time frame, did you personally do

     13    anything to determine if the Chinese welded outlet was

     14    subject to an antidumping duty?

     15        A.    No.

     16        Q.    And you didn't do that because that wasn't your

     17    job, right?

     18        A.    My direct job, it was --

     19        Q.    It's not a trick question.             It was not Mitch

     20    Rona's job personally.           Correct?

     21        A.    Correct.

     22        Q.    There were import operations people that you

     23    thought were responsible for those activities, right?

     24        A.    Not thought.       I knew they were responsible for

     25    their work.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    363 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          479Trial Page 186 of 244                      185


      1        Q.    Okay.     So you believe that they were responsible

      2    for work.

      3                      But the point is that you didn't have any

      4    firsthand knowledge about any of these activities,

      5    correct?

      6        A.    On the two particular products, right.

      7        Q.    On these two particular products, which is all

      8    this trial is about, right, sir?

      9        A.    Correct.

     10        Q.    Did you -- so we're talking about the people who

     11    actually had some firsthand knowledge about this might

     12    be somebody like Pat Packer, right?

     13        A.    Right.

     14        Q.    Because she worked in import operations, right?

     15        A.    She was in charge of import operations.

     16        Q.    And Andy Pogner, right?

     17        A.    In charge of import operations.

     18        Q.    And -- forgive me if I butcher this -- Ingay

     19    Atkinson?

     20        A.    Said correctly.

     21        Q.    Oh.     Excellent.

     22                      So let net ask you a couple questions about

     23    these folks.

     24                      Did Sigma disclose any of those people as

     25    potential witnesses in this case?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    364 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          480Trial Page 187 of 244                      186


      1        A.    I'm not familiar with who was exposed as

      2    witnesses.

      3        Q.    Let me take you back to your testimony as

      4    corporate representative.

      5                      You knew that you were speaking on behalf of

      6    Sigma, right?

      7        A.    Correct.

      8        Q.    And you knew these folks had firsthand knowledge

      9    about what might have happened, right?

     10        A.    Correct.

     11        Q.    They certainly had a better chance of knowing

     12    something than you did, correct?

     13        A.    Correct.

     14        Q.    And you knew that Sigma had an obligation to

     15    educate you about these topics, right?

     16        A.    Obligation?       Okay.     I'll --

     17                      THE COURT:     If you know.

     18                      THE WITNESS:      I know that in my testimony

     19    about those three people you just asked about, I was

     20    asked if they were available, would they come forward

     21    and testify, would they be interested in testifying.

     22    BY MR. KRAMER:

     23        Q.    Mr. Rona, that is not really responsive to any

     24    question.

     25        A.    Okay.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    365 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          481Trial Page 188 of 244                      187


      1        Q.    Let's just go back and back up on this, right.

      2    You understood -- you understood that one of the topics

      3    that is on the list, that you needed to be prepared for

      4    was the nature, substance and extent of any effort Sigma

      5    undertook, considered or caused others to undertake or

      6    consider, if any, to determine whether welded outlets

      7    were subject to any antidumping duty order.

      8                     Do you recall that?

      9        A.    I don't recall that now, no.              But I remember that

     10    the question.        I didn't particularly remember that.

     11        Q.    And one of the things, though, you understood

     12    that one of the topics of this deposition was:                     What did

     13    Sigma do, if anything, as it related to antidumping duty

     14    compliance, right?

     15        A.    Yes.

     16        Q.    So when you prepared to testify as Sigma's

     17    corporate representative, you knew that Ms. Acker might

     18    know something, right?

     19        A.    Correct.

     20        Q.    You knew that Mr. Potter might know something,

     21    right?

     22        A.    Correct.

     23        Q.    You knew that Ms. Atkinson might know something,

     24    right?

     25        A.    Correct.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    366 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          482Trial Page 189 of 244                      188


      1        Q.    And you did not speak to any of them before your

      2    corporate representative testimony, did you?

      3        A.    Correct.

      4        Q.    In fact, you didn't -- other than Ms. Velasquez,

      5    you didn't speak with anyone who worked in import

      6    operations, right?

      7        A.    Correct.

      8        Q.    And you knew that Sigma's Customs brokers, well

      9    they might have information about what steps were taken

     10    about whether there were antidumping duty applicable to

     11    these product, right?

     12        A.    Correct.

     13        Q.    And you didn't speak to any of the Customs

     14    brokers before you gave your corporate representative

     15    testimony, did you?

     16        A.    Correct.

     17        Q.    And you didn't try to speak with any of these

     18    former employees, right?

     19        A.    No.

     20        Q.    You didn't try to speak with any of these Customs

     21    brokers, right?

     22        A.    I did not.

     23        Q.    Let's change topics.          Let's talk about how Sigma

     24    markets Chinese welded outlets.

     25                     Chinese -- Sigma's Chinese welded outlets,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    367 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          483Trial Page 190 of 244                      189


      1    they're listed and approved by Underwriters

      2    Laboratories, right?

      3        A.    I would have to see the literature to confirm

      4    that.

      5        Q.    You don't know?

      6        A.    I would say they are.           I saw the literature --

      7    I've seen the literature in the depositions.

      8        Q.    And do you know then that Sigma markets these

      9    products using the UL mark?

     10        A.    If we have UL, then we would use the UL mark,

     11    correct.

     12        Q.    Do you know that as a condition to using those

     13    marks UL requires that these products be called either a

     14    welded outlet, a welding outlet or weld outlet fitting?

     15                     THE COURT:      If you know.

     16                     THE WITNESS:       I don't know that.

     17    BY MR. KRAMER:

     18        Q.    Do you have any knowledge as to whether the

     19    description steel coupling is approved by Underwriters

     20    Laboratory?

     21        A.    I do not.

     22                     MR. KRAMER:       Let's take a look at Island

     23    Exhibit 66, which is in evidence.

     24                     May I publish it, Your Honor?

     25                     THE COURT:      Yes.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    368 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          484Trial Page 191 of 244                      190


      1    BY MR. KRAMER:

      2          Q.   So Mr. Rona, this is a Sigma catalog.                Do you

      3    recognize that as such?

      4          A.   Yes.

      5          Q.   And if you look at the last page, I can show you

      6    dates back to 2011.

      7                       Would you like to see that?

      8          A.   Sure.     I can see it.

      9          Q.   Excellent.     Now, this particular product, this

     10    catalog section, right, these are the welded outlet

     11    products, right?

     12                       MR. LAU:     Objection.     No showing of personal

     13    knowledge on this document.

     14                       THE COURT:     I don't know.       Do you recognize

     15    those items on that document?

     16                       THE WITNESS:     Is this the document that was

     17    contained in the deposition --

     18                       THE COURT:     No.    That's not the question.

     19    He showed you the picture.              Who knows what the picture

     20    is.

     21                       THE WITNESS:     Yeah, I'm -- I'm --

     22                       THE COURT:     He wants to know if that picture

     23    depicts --

     24                       THE WITNESS:     That's a picture of I believe

     25    the cover of the welded outlet brochure.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    369 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          485Trial Page 192 of 244                      191


      1                      THE COURT:     Okay.

      2    BY MR. KRAMER:

      3        Q.    Sigma's welded outlet?

      4        A.    Correct.      Correct.

      5        Q.    In fact, this covers the -- it covers Sigma's

      6    welded piping products, right?

      7        A.    As I said --

      8                      (Unreportable crosstalk.)

      9    BY MR. KRAMER:

     10        Q.    I don't want it to be a trick --

     11        A.    Look.     What I'm asking you is in the deposition

     12    that was an exhibit.           The entire catalog, I believe, and

     13    it's included.        If it's the same catalog, and this is

     14    the same catalog, then I'm familiar with it.

     15        Q.    Let me show you a couple pages of this.

     16        A.    Sure.

     17        Q.    (Showing witness.)

     18        A.    That's the same catalog.

     19                      Correct.     It's the same catalog.

     20        Q.    So I would like to show you on page 5 of this

     21    exhibit -- which is the product literature for the

     22    UniLet product, right?

     23        A.    Yes.

     24        Q.    And the UniLet again is one of these Chinese

     25    welded outlets, correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    370 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          486Trial Page 193 of 244                      192


      1        A.    Correct.

      2        Q.    When Sigma advertised this product it advertised

      3    it as a threaded welded outlet, right?

      4        A.    Yes.

      5                     THE COURT:      Sorry, Counsel.         Are you

      6    referring to page 5 of what exhibit?

      7                     MR. KRAMER:       Exhibit 66.

      8                     THE COURT:      Page 5.

      9                     Because only those pages that have been

     10    referred to will come into evidence.

     11                     The whole document doesn't come in to

     12    evidence.

     13                     Only pages that are referred to by a witness

     14    will come into evidence.            I want to make sure that we

     15    have it.      It's page 5 is what you are saying?

     16                     MR. KRAMER:       Yes.

     17                     THE COURT:      Go ahead.

     18    BY MR. KRAMER:

     19        Q.    Now, Mr. Rona, this page here, the first line

     20    describes the product as the UniLet welding outlet,

     21    correct?

     22        A.    Correct.

     23        Q.    Now, this product catalog, it never refers to the

     24    UniLet as a steel coupling, does it?

     25        A.    Correct.      From what you -- I didn't read the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    371 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          487Trial Page 194 of 244                      193


      1    entire document, but I'm assuming it doesn't.                    Correct.

      2        Q.    Well, I'll let your counsel point that out if it

      3    does.

      4                     MR. KRAMER:       I would like to change topics

      5    here.     Well, not change topics, but change documents.                     I

      6    would like to move to admit Sigma Exhibit 1088.                     I

      7    understand there is no objection.

      8                     THE COURT:      Okay.     It will be received.

      9                     (Exhibit 1088 is received.)

     10    BY MR. KRAMER:

     11        Q.    Now, Mr. Rona, do you recognize this as another

     12    of Sigma's piping catalogs?

     13        A.    I actually thought that was the same catalog you

     14    just showed me.

     15        Q.    Gotcha.     Let me show you the last page.

     16        A.    I can see the date.

     17        Q.    So you see that this is the later catalog, right,

     18    this is from 2016?

     19        A.    What I can say, Counsel, is I can see the

     20    difference between the two that you showed me here

     21    today, correct.

     22                     One says 2012 or, whatever, '11.               And one

     23    says 2016.

     24        Q.    Well, I would like to show you page 8 of

     25    Exhibit 1088.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    372 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          488Trial Page 195 of 244                      194


      1        A.    Okay.

      2        Q.    Which is a product literature for the safe-let

      3    product, correct?

      4        A.    Correct.

      5        Q.    And the safe-let -- this is a product, the

      6    Chinese welded outlet, correct?

      7        A.    Correct.

      8        Q.    And Sigma didn't start to import it until 2016,

      9    right?

     10        A.    Correct.

     11        Q.    And here safe-let is described as welded outlet,

     12    correct?

     13        A.    Correct.

     14        Q.    And it's referred to in that first paragraph as a

     15    welding outlet, right?

     16        A.    Correct.

     17        Q.    You are not aware of any place in this catalog

     18    where this product is described a steel coupling, are

     19    you?

     20        A.    Not to my knowledge.

     21        Q.    Now, Sigma sells steel couplings, right?

     22        A.    I believe we do.         But I'm not specifically clear

     23    about the extent of our sale of steel couplings.                      If we

     24    do, it could be very small.             But I'm not personally

     25    aware of it.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    373 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          489Trial Page 196 of 244                      195


      1        Q.    So I'm sorry --

      2        A.    Oh, I don't have intimate knowledge of the sale

      3    of steel couplings.          If we do sell them, I -- I -- I

      4    just don't know each and every last product down --

      5        Q.    You don't know every product that Sigma sells?

      6        A.    Not every extension of a product.

      7        Q.    Got it.

      8        A.    But if we sell steel couplings and it's in our

      9    catalog, then I don't disagree that we sell steel

     10    couplings.

     11        Q.    When Sigma sells steel couplings, it advertises

     12    those steel couplings in the threaded product section of

     13    its catalog, correct?

     14        A.    I don't know that for a fact.              In the threaded

     15    product -- in that brochure that you just showed me?

     16        Q.    No.

     17        A.    In another brochure?

     18        Q.    I'm asking, as sit here today, do you understand

     19    that Sigma in fact sells steel couplings, correct?

     20        A.    I'm vaguely familiar with the fact that we sell

     21    steel couplings, yes.

     22        Q.    Do you have any familiarity at all of the fact

     23    that Sigma sells its steel couplings, it lists them in

     24    its product catalog as a threaded fitting -- threaded

     25    product?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    374 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          490Trial Page 197 of 244                      196


      1        A.    I'm not aware of that.

      2        Q.    You're not aware?

      3        A.    No.

      4        Q.    Do you have any understanding that the welded

      5    outlets are sold in a completely different section as a

      6    welded fitting?

      7        A.    Without looking at -- of the catalog from 2016

      8    that you just showed me, I have not -- are steel

      9    couplings included in that catalog?

     10        Q.    No.    I'm asking about what Sigma is selling

     11    today.     I'm asking you -- we've gone over this now a

     12    couple of times.         So do you have any familiarity with

     13    Sigma's current advertising?              If the answer is no, we

     14    can move on.

     15        A.    I don't have any current advertising knowledge of

     16    what items are contained in what particular catalogs.

     17        Q.    As you sit here today, you know that there's an

     18    antidumping duty order, applicable both to buttweld pipe

     19    fittings, right, from Taiwan, you know that there's one,

     20    right?

     21        A.    Yes.

     22        Q.    And you know that there's one from China,

     23    correct?

     24        A.    I -- okay.

     25        Q.    And you understand as you sit here today that the
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    375 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          491Trial Page 198 of 244                      197


      1    Department of Commerce has said, that the scope of the

      2    China and Taiwan orders is essentially the same,

      3    correct?

      4        A.    I'm not particularly familiar with each of the

      5    orders.

      6                      MR. KRAMER:      Well, let's take a look at

      7    Island Exhibit 28.          I understand there is no objection.

      8                      THE COURT:     It will be received and may be

      9    published.

     10                      (Exhibit 28 is received.)

     11    BY MR. KRAMER:

     12        Q.    Now, Mr. Rona this is a what's called a Sunset

     13    Review from August of 2016.

     14        A.    Okay.

     15        Q.    Are you familiar with Sunset Reviews?

     16        A.    I believe that they are used when something which

     17    was antidumping expires.            Is that the Sunset?

     18        Q.    So you understood that a Sunset Review is a

     19    review undertaken by the Department of Commerce

     20    International Trade Commission every five years after an

     21    antidumping duty order is imposed, correct?

     22        A.    Okay.

     23        Q.    The purpose is to determine whether or not to

     24    continue with the antidumping duty order, right?

     25        A.    Understood.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    376 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          492Trial Page 199 of 244                      198


      1        Q.    So you understood as it relates to these

      2    particular products, the antidumping duty order buttweld

      3    pipe fittings that the Sunset Reviews involved all five

      4    countries to which these orders are subject, correct?

      5        A.    Okay.

      6        Q.    And as part of this, you understood that the

      7    Department of Commerce provided information to the

      8    importing community, including companies like Sigma if

      9    they cared to look at it.             Do you know if Sigma ever

     10    reviewed the Sunset Review?

     11        A.    For these two -- for those, no.               I'm not aware of

     12    us reviewing that.

     13        Q.    I would like to direct your attention to page 6.

     14                      MR. LAU:     Objection, Your Honor.           There's no

     15    showing of personal knowledge.

     16                      THE COURT:     I don't know what piece he is

     17    putting in yet.

     18                      This is what document?

     19                      MR. KRAMER:      This is Exhibit 28.

     20                      THE COURT:     Have you seen Exhibit 28?             Do

     21    you know what he's talking about?

     22                      THE WITNESS:      I do not, Your Honor.

     23                      THE COURT:     Okay.

     24                      MR. KRAMER:      So I apologize, Your Honor.

     25    There are two different page numbers.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    377 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          493Trial Page 200 of 244                      199


      1                     THE COURT:      Okay.

      2                     MR. KRAMER:       I would direct the witness'

      3    attention to Exhibit 28, page 11 and 12.                   If I can make

      4    that work.

      5                     THE COURT:      Have you ever seen these two

      6    pages before?

      7                     THE WITNESS:       No.     No.   Sorry.

      8    BY MR. KRAMER:

      9        Q.    My question is this:            As the executive

     10    responsible for overseeing import operations at Sigma,

     11    were you aware --

     12                     THE COURT:      Counsel, why don't you take it

     13    down.     He said he's never seen it before.

     14                     MR. KRAMER:       Okay.

     15                     THE COURT:      Okay.      Thank you.      Go ahead with

     16    your question.

     17    BY MR. KRAMER:

     18        Q.    As you sit here today, sir, you understand that

     19    steel couplings are beyond the scope of the China order,

     20    correct?

     21        A.    Steel couplings are beyond the scope of the --

     22    I'm not sure of the total question.

     23        Q.    My question is this:            As you sit here today, you

     24    understand that steel couplings are not subject to

     25    antidumping duties under the antidumping duty order
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    378 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          494Trial Page 201 of 244                      200


      1    applicable to carbon steel buttweld pipe fittings from

      2    China, are you?

      3        A.    I was not aware of that.            I did not have any

      4    knowledge of steel couplings and them being part or not

      5    part of an antidumping order.              I'm not aware of that.

      6        Q.    Well, you understand the Department of Commerce

      7    has said that the scope of these orders, the China or

      8    Taiwan order, includes carbon steel buttweld pipe

      9    fittings under 14 inches in diameter other than

     10    couplings, correct?

     11        A.    If that's what the order says.

     12        Q.    Okay.     So you would agree with me that if the

     13    order says "other than couplings," if that's what

     14    Commerce has put out, other than couplings, you would

     15    agree that steel couplings are not subject to

     16    antidumping duties, right?

     17        A.    I'm not clear on the relevance.

     18        Q.    I'm just asking if you agree with my proposition.

     19                      THE COURT:     It's not irrelevant whether he

     20    agrees to your proposition or not.

     21                      Next question.

     22    BY MR. KRAMER:

     23        Q.    Yes.     Let's take a look at the Sigma import

     24    pages.

     25                      MR. KRAMER:      Your Honor I would like to
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    379 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          495Trial Page 202 of 244                      201


      1    display and admit Exhibit 1010.

      2                     THE COURT:      No objection.        They will be

      3    received and displayed.

      4                     (Exhibit 1010 is received.)

      5    BY MR. KRAMER:

      6        Q.    Now, Mr. Rona you are familiar with the entry

      7    packets that were produced in this case, right?

      8        A.    Yes.

      9        Q.    So I would like to start with page 1 of this

     10    packet, page 1 of Exhibit 1010, which is a form 7501,

     11    correct?

     12        A.    That's correct.

     13        Q.    And you see here in the block in the middle of

     14    page 3, third line --

     15        A.    Yes.

     16        Q.    -- paperwork indicates that Sigma is importing

     17    steel couplings, correct?

     18        A.    That's what the paperwork says.

     19        Q.    And in fact it says, "steel couplings" twice,

     20    correct?

     21        A.    It does say steel couplings twice.

     22        Q.    Now, the phrase "welded outlet" does that appear

     23    anywhere on this page?

     24        A.    It doesn't appear because it's not part of the

     25    HTS code by which we are importing under.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    380 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          496Trial Page 203 of 244                      202


      1        Q.    Just to be clear, sir, I didn't ask you for the

      2    reason.

      3                     I wanted to know, does welded outlet appear

      4    on this page?

      5        A.    It does not.

      6        Q.    And welding outlet, does it appear on the page?

      7        A.    It does not.

      8        Q.    Does weld outlet fitting appear on this page?

      9        A.    It does not.

     10        Q.    And let's look at the second page of the packet,

     11    which is the form 3461.

     12                     Do you see that?

     13        A.    Yes.

     14        Q.    And Box 20.       Box 20 contains a description of the

     15    merchandise, correct?

     16        A.    Correct.

     17        Q.    And it reads -- what does it say?

     18        A.    "Steel coupling."

     19        Q.    And the phrase "welded outlet" doesn't appear on

     20    this page, correct?

     21        A.    That's correct.

     22        Q.    The phrase welding outlet, that doesn't appear,

     23    correct?

     24        A.    Correct.

     25        Q.    Look at the third page.            The third page is a
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    381 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          497Trial Page 204 of 244                      203


      1    commercial invoice, correct?

      2        A.    Correct.

      3        Q.    And it references an invoice number and all sorts

      4    of jazz like that, correct?

      5        A.    Correct.

      6        Q.    And it indicates that the product that's being

      7    imported is a steel coupling, correct?

      8        A.    That's correct.

      9        Q.    Let's look at next page.

     10        A.    Yes.

     11        Q.    So the next page is also a commercial invoice,

     12    correct?

     13        A.    Correct.

     14        Q.    Okay.     So it's the second commercial invoice,

     15    correct?

     16        A.    Correct.

     17        Q.    On this one it indicates that the product is a

     18    UniLet welded.

     19                      Do you see that?

     20        A.    Yes.

     21        Q.    And a UniLet weld.

     22                      Do you see that?

     23        A.    Yes.

     24        Q.    And I think three or four from the bottom,

     25    there's a reference to a UniLet welded out.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    382 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          498Trial Page 205 of 244                      204


      1                     Do you see that?

      2        A.    Correct.

      3        Q.    Let's look at the fifth page.

      4        A.    Excuse me, Counsel.          It's clear to see from that

      5    page that it appears that the word "outlet," it just ran

      6    off the page.        And that welded outlet would have

      7    intended to be in that area.

      8        Q.    Let's take a look at the packing list.                 What does

      9    that say?

     10        A.    Steel coupling.

     11        Q.    Let's take a look at the bill of lading.                  What

     12    does the bill of lading say?

     13        A.    Steel coupling.

     14        Q.    All right.      Let's look at this last page, which

     15    is an arrival notice.

     16                     Is this a document that you typically submit

     17    to Customs and Border Protection as part of your entry

     18    packets?

     19        A.    I'm not familiar with this particular page.                   If

     20    it's an entry summary, I would believe that that

     21    is correct.       I would believe that is correct.

     22        Q.    Do you have any knowledge one way or the other as

     23    to which of these documents are submitted to Customs and

     24    Border Protection?

     25        A.    I know that the whole package goes to Customs and
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    383 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          499Trial Page 206 of 244                      205


      1    Border Protection.

      2        Q.    So you believe that every one of these page goes

      3    to Customs and Border Protection, correct?

      4        A.    I believe that the whole 7501 package goes to

      5    Customs.

      6        Q.    I'm asking you whether you believe that every

      7    single one of the pages we just looked at is submitted

      8    to Customs?

      9        A.    I was under the impression it was.

     10        Q.    You don't actually know one way or the other, do

     11    you?

     12        A.    I'm going to go say that I was under the

     13    impression it did.

     14        Q.    Now, if you look at this one, what does it

     15    indicate what product is being imported?

     16        A.    It says "steel couplings."

     17        Q.    So in this package, Sigma said seven different

     18    times that it was importing steel couplings, correct?

     19        A.    I didn't -- I'll -- I'll -- I'll agree if it's

     20    seven.     I didn't count them, but meaning you said seven.

     21        Q.    Okay.     You'll agree with me, I assume, that the

     22    package repeatedly indicates that the product that's

     23    being imported is a steel coupling, correct?

     24        A.    Not what's being imported is a steel coupling.

     25    But that following the HTS code, that coupling is a
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    384 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          500Trial Page 207 of 244                      206


      1    option in the HTS code and that welded outlet is not an

      2    option in the HTS code.

      3        Q.    Let me just be clear.           Where it says, Description

      4    of merchandise, for example, in the 3461, and it simply

      5    similarly says steel coupling.               You're telling me that

      6    that actually has something to do with HTS code?

      7        A.    On that --

      8        Q.    It's a description of the merchandise, correct?

      9        A.    That's correct.        That's what it says.

     10                     (UNREPORTABLE CROSSTALK.)

     11        Q.    Importing steel couplings, correct?

     12        A.    That's what the document says.

     13        Q.    Let's take a look at a different entry packet.

     14    This one is Island Exhibit 29.

     15                     THE CLERK:      Are you asking for that to be

     16    moved into evidence?

     17                     MR. KRAMER:       Yes, ma'am.       I would like to

     18    move this into evidence.            I believe there is no

     19    objection.

     20                     THE COURT:      No objection.        It can be

     21    received.

     22                     (Exhibit 29 is received.)

     23                     MR. KRAMER:       Thank you.

     24    BY MR. KRAMER:

     25        Q.    So Mr. Rona, this is another entry packet,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    385 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          501Trial Page 208 of 244                      207


      1    correct?

      2        A.    Yes.

      3        Q.    And here in the form 7501, we can go through this

      4    quickly.      Again, in the form 7501, it indicates that the

      5    product is a steel coupling, correct?

      6        A.    Correct.

      7        Q.    If we look here in the form 3461, we have another

      8    indication here.         It says "steel coupling," correct?

      9        A.    Correct.

     10        Q.    We have another commercial invoice, right?

     11        A.    Correct.

     12        Q.    And it says "steel coupling," correct?

     13        A.    Correct.

     14        Q.    I'm sorry.      I missed your answer.

     15        A.    Correct.      I said correct.

     16        Q.    Thank you.

     17                     All right.      Now, we have another commercial

     18    invoice, right, the second one, right?

     19        A.    Correct.

     20        Q.    And then this one indicates that two of these are

     21    weld outlets fittings; one is a weld; and two are

     22    welded, right?

     23        A.    That's what it says, correct.

     24        Q.    Packing list indicates it is a steel coupling,

     25    correct?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    386 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          502Trial Page 209 of 244                      208


      1        A.    Correct.

      2        Q.    The ocean bill of lading indicates it's steel

      3    couplings, correct?

      4        A.    Correct.

      5        Q.    And the Sigma invoice indicates that the product

      6    is a steel coupling, correct?

      7        A.    Correct.

      8        Q.    And we could go through a bunch of entry packets,

      9    right?     We can look through hundreds of them, correct?

     10    That's what's out there in this case, right?

     11        A.    I'm sure there are.

     12        Q.    But just to sort of cut this short, all of these

     13    entry packets Sigma represented that it was importing

     14    steel couplings, correct?

     15        A.    I wouldn't say representing.              But the documents

     16    speak for themselves.

     17                     As I said before, the HTS code 7307995045

     18    provides a description.            And in the description,

     19    coupling is the closest thing that we found that met a

     20    welded outlet, and we were bringing in a welded outlet.

     21                     But I understand what the documents say.

     22                     MR. KRAMER:       So, Your Honor, I move to

     23    strike that as nonresponsive.

     24                     THE COURT:      Denied.

     25                     MR. KRAMER:       Okay.
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    387 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          503Trial Page 210 of 244                      209


      1    BY MR. KRAMER:

      2        Q.    Just to be clear, each and every one of these

      3    documents is indicating that the products are steel

      4    couplings, right?

      5        A.    The word "steel coupling" is clearly written on

      6    there.     I understand that.

      7        Q.    Let's agree with that then.             That the words

      8    "steel coupling" are the words that Sigma used to

      9    describe its products on all of these different entry

     10    forms, right?

     11        A.    In addition to welded outlet being on the second

     12    commercial invoice.

     13                     And I understand it's not in the spirit

     14    of -- that's not what we are doing here.                   But as I said,

     15    Customs in the HTS importation allows for --

     16                     THE COURT:      Sorry.      Just listen to the

     17    question.

     18                     THE WITNESS:       Yes.

     19    BY MR. KRAMER:

     20        Q.    I just want to make sure that we are all agreed,

     21    that you and I have an agreement here; that these

     22    documents, these entry packets -- we could go through

     23    all them.      We could.       It's a waste time.          But those

     24    words, "steel couplings" are going to appear essentially

     25    in all of them, right?
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
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                                                       06/27/22Page
                                                                17:24:54
                                                                    388 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          504Trial Page 211 of 244                      210


      1          A.   They appeared on the two you showed me.                 And I

      2    have no reason to believe that we were changing the

      3    paperwork each time.           Correct.

      4          Q.   And let me show you something else.               I want to

      5    show you your testimony as the corporate representative.

      6                     And this is on page 174.

      7                     THE COURT:      Of?

      8                     MR. KRAMER:       The 30(b)(6) deposition, Your

      9    Honor.

     10                     THE COURT:      Okay.     What line on it?

     11                     MR. KRAMER:       Coming up.

     12                     We are going to be focusing on 18 through

     13    21.

     14                     THE COURT:      Okay.

     15    BY MR. KRAMER:

     16          Q.   So Mr. Rona, when you testified as the corporate

     17    representative and you were shown one of these entry

     18    packets, and you were asked why the form 7501 says,

     19    "steel coupling."

     20                     Your answer as the corporate representative

     21    was, "I'm not sure.          I don't -- this -- I'm not sure."

     22                     Did I get that right?

     23          A.   That's what it says.

     24          Q.   And I would direct your attention to page 175,

     25    lines 15 through 21.           You were shown a different form
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    389 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          505Trial Page 212 of 244                      211


      1    7501 with the same description, "steel coupling."

      2                      The question you are asked is:             "Do you know

      3    here why it's referred to as a steel coupling?"

      4                      And your answer was:         "No.     It's the same

      5    answer to the same question.

      6                      "I understand where it says pipe fit.

      7    Other.      Other.    I don't know why the steel coupling is

      8    added I don't know what the reasoning for that is."

      9                      Do you see that?

     10          A.   Yes.

     11          Q.   Let me ask you this:         Since you testified as the

     12    corporate representative in March 2020, and you didn't

     13    know why it says "steel coupling," it seems to me you

     14    are offering an explanation for why it says "steel

     15    coupling" here today.

     16                      So let me ask you this:           Who told you what

     17    that explanation was?

     18          A.   I spoke to imports.

     19          Q.   So after you testified as the corporate

     20    representative, you spoke with someone else?

     21          A.   To understand it.        Because I didn't understand

     22    it.

     23          Q.   So just to understand this.            The basis of your

     24    knowledge for all of the testimony you've just given for

     25    why this thing says "steel coupling," it's all hearsay,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    390 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          506Trial Page 213 of 244                      212


      1    right?     You have no firsthand knowledge?

      2                      THE COURT:     Why don't you reask the

      3    question.      That's argumentative.

      4                      MR. KRAMER:      Yes, I'm sorry.

      5    BY MR. KRAMER:

      6        Q.    After you testified as corporate representative,

      7    you spoke with the imports department, and they told

      8    you -- they gave you a basis for why Sigma might have

      9    written these words down, correct?

     10        A.    I don't think why is the right answer, Counsel --

     11    or meaning.        I believe the -- when the actual product

     12    name is not -- I sought clarity as to why something

     13    was that I wasn't clear about.               I agree to that.

     14        Q.    Okay.     So let's just -- I want to make sure we

     15    are on the same page.

     16                      When you testified as the corporate

     17    representative, when you testified on Sigma's behalf,

     18    you did not know why these products were referred to as

     19    steel couplings.         We can agree to that, correct?

     20        A.    Correct.      I testified to that.

     21        Q.    Right.     And then subsequently someone explained

     22    to you why they think that it happened, right?

     23        A.    Okay.

     24        Q.    Okay.     So other than the information that someone

     25    told to you, right, other than that information, you
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    391 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          507Trial Page 214 of 244                      213


      1    actually don't have any firsthand knowledge as to why

      2    this happened, correct?

      3        A.    Firsthand meaning, I didn't go to the Internet

      4    independently to find out how it's acceptable to fill

      5    out a 7501, to put the right Harmonized Tariff Code in

      6    and the right description based on --

      7        Q.    Mr. Rona, I'm asking you -- I'm asking you.

      8    Right?     I just want to know this.             This is an important

      9    question.

     10                      If you're just repeating what someone else

     11    is telling you, then it's not really valid testimony.

     12    It's not very helpful to us.

     13                      Are you simply repeating what someone else

     14    has told you?

     15        A.    I collected information from imports.                 I did not

     16    research it independently.

     17        Q.    Okay.

     18                      THE COURT:     Ladies and gentlemen, it's

     19    4:00 o'clock.        I'm going to break at this time.

     20                      Remember the admonishment not to discuss the

     21    case among yourselves or with anybody else or form or

     22    express any opinions about the matter until you retire

     23    to the jury room after your deliberation.

     24                      Now, let's talk about tomorrow.              We have to

     25    start at 8:30.        I normally suggest to the jury that you
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
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                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    392 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          508Trial Page 215 of 244                      214


      1    try to get in by 8:15.           I'll will tell you why.            So many

      2    times people get tied up in traffic, et cetera.                     And if

      3    somebody is late, it is like waiting for that person on

      4    the airplane to get on that gets on late.                   It just

      5    frustrates everybody.           So I would suggest you be in at

      6    8:15.     Get some coffee or read a book, whatever.                   So

      7    right at 8:30 we can start.              Okay?    See you back in

      8    tomorrow at 8:30.

      9                     THE COURT:      8:15.     Get here at 8:30.          Court

     10    will be in recess.

     11                     THE CLERK:      All rise.       Court is in recess.

     12                     (PROCEEDINGS CONCLUDED.)

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                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    393 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          509Trial Page 216 of 244                      215


      1                     CERTIFICATE OF REPORTER

      2

      3    COUNTY OF LOS ANGELES               )

      4                                        )   SS.

      5    STATE OF CALIFORNIA                 )

      6

      7    I, SHERI S. KLEEGER, OFFICIAL COURT REPORTER, IN AND FOR

      8    THE UNITED STATES DISTRICT COURT FOR THE CENTRAL

      9    DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

     10    TO SECTION 753, TITLE 28, UNITED STATES CODE, THE

     11    FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF THE

     12    STENOGRAPHICALLY REPORTED PROCEEDINGS HELD IN THE

     13    ABOVE-ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE

     14    FORMAT IS IN CONFORMANCE WITH THE REGULATIONS OF THE

     15    JUDICIAL CONFERENCE OF THE UNITED STATES.

     16    OCTOBER 5, 2021

     17

     18    /S/____________________

     19    SHERI S. KLEEGER, CSR

     20    FEDERAL OFFICIAL COURT REPORTER

     21

     22

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Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    394 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          510Trial Page 217 of 244                      216


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 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    395 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          511Trial Page 218 of 244                 1


              $             15-minute [3] - 39:5,      2016 [24] - 86:8,         35 [1] - 6:5                7501 [8] - 153:2,
                             39:8, 61:24                114:21, 115:14,          350 [1] - 2:8                201:11, 205:5,
  $1.82.9 [1] - 81:5        150 [2] - 157:5, 157:6      120:6, 129:21,                                        207:4, 207:5,
                            16 [3] - 72:23, 105:9,      134:17, 135:10,                      4                210:19, 211:2, 213:6
              '              127:8                      136:5, 136:19,                                       7501s [1] - 73:4
                            17 [1] - 7:5                139:9, 147:15,           4 [15] - 8:7, 16:3, 20:3,   753 [1] - 215:11
  '11 [1] - 193:23          17-04393 [1] - 4:5          153:12, 180:1,            29:20, 36:15, 41:7,
                            17-04393-RGK-KS [1]         180:7, 182:3,             41:9, 41:17, 42:5,                    8
              /              - 1:8                      183:14, 183:23,           44:17, 45:16, 93:14,
                            174 [1] - 210:7             184:9, 193:19,            127:4, 127:17              8 [12] - 16:17, 42:19,
  /S [1] - 215:19           175 [1] - 210:25            193:24, 194:9,           4.3 [1] - 99:16              42:20, 42:25, 44:21,
                            18 [2] - 147:15, 210:13     196:8, 197:14            402 [1] - 1:24               45:21, 76:3, 83:10,
              1             182.9 [4] - 81:1, 130:2,   2017 [4] - 85:6,          4393 [1] - 7:5               88:16, 167:21,
                             130:4, 141:1               159:24, 168:10,          45 [2] - 60:4, 101:14        167:25, 193:25
  1 [8] - 1:18, 7:25,                                   169:14                   4:00 [8] - 39:2, 39:7,      8's [2] - 43:1, 45:21
                            188 [1] - 183:6
   16:17, 16:19, 33:24,                                2018 [11] - 76:2, 83:9,    39:10, 39:14, 39:16,       80 [6] - 161:11,
                            197 [4] - 150:6, 151:2
   173:23, 201:10,                                      91:9, 93:1, 95:16,        39:25, 40:2, 213:20         161:12, 161:20,
                            1990 [1] - 105:1
   201:11                                               161:12, 161:20,          4:30 [2] - 39:24, 40:1       162:2, 162:6, 162:12
                            1991 [1] - 127:12
  1-10 [1] - 1:13                                       162:4, 169:23,                                       803 [1] - 127:7
                            1992 [4] - 80:16,
  10 [9] - 42:12, 43:5,                                 169:25, 184:13
                             86:21, 135:5, 169:5                                             5               8:15 [3] - 214:2, 214:7,
   43:7, 44:21, 50:3,                                  2020 [2] - 157:13,                                     214:10
                            1996 [1] - 31:16
   60:15, 96:6, 96:8,                                   211:13                   5 [26] - 1:19, 4:1, 8:11,   8:29 [1] - 39:19
                            1998 [2] - 127:8,
   133:6                                               2021 [3] - 1:19, 4:1,      20:2, 21:11, 44:8,         8:30 [10] - 39:1, 39:3,
                             127:11
  1006 [2] - 92:3, 92:22                                215:17                    44:9, 44:17, 45:18,         39:17, 39:18, 39:23,
                            1999 [2] - 105:3, 105:5
  1007 [1] - 99:2                                      21 [3] - 111:25,           45:24, 46:22, 58:25,        40:2, 214:1, 214:8,
                            1:00 [5] - 39:6, 62:2,
  1009 [2] - 95:12, 99:24                               210:14, 211:1             59:16, 60:12, 60:16,        214:9, 214:10
                             71:16, 74:4
  1010 [3] - 201:2,                                    213)894-6604 [1] -         98:9, 100:7, 101:5,        8:31 [1] - 39:19
   201:5, 201:11                                        1:25                      124:8, 124:12,
  1012 [2] - 121:11,                    2                                         124:16, 191:21,
                                                       22 [1] - 97:14                                                   9
   121:15                   2 [3] - 8:2, 15:20,        24 [2] - 86:19, 126:7      192:7, 192:9,
  1013 [4] - 119:23,                                   25 [1] - 40:20             192:16, 215:17             9 [17] - 8:16, 16:18,
                             44:18
   119:25, 120:4, 122:8                                258 [1] - 173:22          50 [2] - 156:24, 162:11      25:12, 25:13, 35:12,
                            20 [13] - 6:1, 6:2, 6:5,
  10340 [1] - 1:23           6:13, 70:23, 96:11,       25TH [1] - 2:8            51 [1] - 35:24               42:1, 42:6, 45:16,
  1040 [1] - 95:25           150:7, 151:2,             26 [1] - 105:10           52 [2] - 175:21, 175:23      45:25, 46:3, 49:8,
  1047 [1] - 97:12           161:23, 161:25,           2704 [1] - 96:12          58 [2] - 164:4, 164:7        55:13, 55:14, 59:16,
  1068 [2] - 98:4, 101:4     162:5, 202:15             28 [11] - 96:24, 97:15,                                59:22, 60:12, 96:3
  1088 [3] - 193:7,         200 [1] - 88:13             97:17, 97:22, 99:24,                 6               90012 [1] - 1:24
   193:10, 194:1            20005-3807 [1] - 2:13       197:8, 197:11,                                       90071-1503 [1] - 2:9
  10:00 [3] - 4:22, 4:23,                               198:20, 198:21,          6 [11] - 6:19, 40:16,       995045 [1] - 98:14
                            2003 [3] - 99:3, 99:18,
   7:3                                                  199:4, 215:11             40:18, 40:25, 42:11,       9:00 [2] - 39:24
                             101:13
  11 [4] - 43:1, 45:20,                                29 [2] - 206:15, 206:23    42:12, 43:5, 43:10,
                            2010 [23] - 76:2, 83:8,
   61:10, 199:4                                        2:30 [1] - 146:5           44:18, 45:17, 198:14                  A
                             91:9, 92:25, 95:15,
  11:30 [2] - 39:4, 39:5                                                         64A [1] - 107:8
                             161:12, 161:20,
  11th [1] - 147:15                                                              64H [1] - 128:15            A.M [1] - 4:2
                             162:4, 169:22,                       3              64J [2] - 112:10, 128:4     abided [2] - 89:13,
  12 [6] - 23:5, 23:13,      169:24, 171:8,
   43:9, 45:17, 61:10,                                 3 [12] - 15:22, 43:18,    66 [4] - 110:13,             90:6
                             171:9, 171:16,
   199:4                     172:6, 172:14,             43:19, 43:23, 44:17,      110:18, 189:24,            ability [3] - 46:20,
  13 [7] - 43:14, 45:19,     173:17, 174:10,            45:15, 125:2, 150:6,      192:8                       67:18, 114:25
   59:11, 60:12, 97:17,      174:13, 174:23,            151:2, 176:7,                                        able [16] - 5:13, 27:11,
   173:23, 183:12            178:3, 178:20,             176:14, 201:15                       7                32:6, 36:8, 37:2,
  14 [15] - 7:17, 8:24,      184:3, 184:12             3's [1] - 43:20                                        72:6, 117:3, 117:7,
   9:1, 12:4, 14:22,                                   30 [3] - 6:4, 55:18,      7 [4] - 42:23, 43:13,        118:4, 118:21,
                            2011 [4] - 159:23,
   14:23, 16:18, 37:16,                                 156:12                    44:20, 45:19                126:8, 126:13,
                             160:11, 169:25,
   42:1, 43:20, 43:23,                                 30(b)(6 [3] - 173:24,     701 [1] - 2:13               130:9, 142:11,
                             190:7
   45:14, 59:9, 120:24,                                 174:4, 210:9             7307 [1] - 98:14             153:10, 159:3
                            2012 [1] - 193:23
   200:10                                              31 [3] - 105:24,          730793 [1] - 101:11         ABOVE [1] - 215:14
                            2013 [4] - 91:24,
  15 [7] - 63:17, 133:6,                                114:16, 120:12           7307995045 [4] - 97:5,      ABOVE-ENTITLED [1]
                             92:14, 92:25, 178:2
   146:6, 146:12,                                      312 [1] - 1:24             99:11, 101:10,              - 215:14
                            2015 [5] - 105:16,
   161:23, 161:25,                                     3461 [3] - 202:12,         208:18                     absent [1] - 22:25
                             134:12, 134:14,
   211:1                                                206:5, 207:8             75 [1] - 99:24              absolutely [3] - 132:3,
                             134:15, 135:22
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    396 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          512Trial Page 219 of 244                 2


   132:6, 132:9             admitted [2] - 65:1,      alleged [1] - 100:17       82:16, 82:23, 83:1,     appeared [1] - 210:2
  acceptable [5] - 93:5,     73:25                    ALLIED [1] - 1:12          83:5, 83:10, 84:18,     apples [2] - 82:9,
   93:22, 94:19, 97:24,     admonishment [7] -        allow [2] - 72:21,         84:23, 85:8, 85:22,      83:25
   213:5                     44:23, 44:24, 62:3,       177:25                    86:4, 86:11, 86:14,     applicable [8] - 78:21,
  accepted [1] - 94:12       62:4, 71:17, 146:8,      allowed [2] - 6:16,        87:5, 87:8, 87:21,       93:24, 94:7, 94:17,
  access [1] - 130:12        213:21                    6:19                      88:1, 88:16, 94:3,       99:8, 188:11,
  accompanied [1] -         advantage [3] - 117:3,    allows [2] - 108:21,       94:8, 100:22,            196:19, 200:2
   95:21                     117:15, 132:1             209:16                    100:24, 100:25,         applied [9] - 75:19,
  accordance [2] -          advertise [4] - 110:10,   alloy [1] - 98:22          102:18, 102:21,          82:13, 82:16, 83:1,
   94:12, 102:17             111:10, 149:8, 149:9     almost [5] - 6:7, 15:8,    103:2, 117:12,           84:18, 85:22, 88:1,
  according [2] - 61:2,     advertised [2] - 192:3     20:3, 38:24, 135:16       129:23, 129:24,          137:23, 173:3
   122:2                    advertises [1] -          amend [1] - 160:14         137:2, 137:7,           applies [7] - 64:2,
  account [2] - 50:23,       195:12                   AMERICA [2] - 1:1,         140:10, 141:4,           68:15, 69:2, 71:10,
   67:18                    advertising [3] - 84:6,    1:6                       148:21, 153:14,          85:2, 85:8, 123:17
  accountant [2] -           196:14, 196:16           America [3] - 4:5, 7:6,    154:6, 163:21,          apply [15] - 14:14,
   50:20, 54:19             advice [5] - 85:13,        9:16                      163:25, 164:2,           15:1, 15:5, 28:2,
  accounting [2] - 47:3,     85:14, 87:13,            American [2] - 80:3,       165:5, 165:10,           32:6, 37:13, 64:4,
   54:20                     177:12, 179:16            81:11                     165:13, 165:23,          75:24, 79:12, 83:5,
  accurately [5] - 79:6,    advised [1] - 176:8       amount [1] - 41:14         166:6, 167:13,           84:24, 98:21, 143:5,
   101:22, 163:10,          aegis [1] - 149:2         analogy [2] - 13:19,       167:17, 169:9,           180:25, 183:16
   163:14, 175:18           affect [2] - 33:12,        77:9                      170:11, 170:12,         applying [1] - 137:24
  accusation [1] - 40:21     116:11                                              170:16, 170:19,         appreciate [1] - 93:9
                                                      analyst [2] - 47:8,
  accused [1] - 141:3       afternoon [7] - 39:2,                                170:23, 171:2,          approach [4] - 107:3,
                                                       124:2
  Acker [1] - 187:18         104:2, 104:21,                                      171:24, 173:3,           112:4, 128:11,
                                                      analyzed [2] - 94:2,
                             104:22, 132:15,                                     173:19, 176:10,          146:24
  acknowledged [1] -                                   94:5
                             132:17, 155:18                                      176:24, 178:25,         approaches [2] -
   59:2                                               Ancient [1] - 127:11
                            agency [2] - 92:24,                                  179:3, 179:15,           63:14, 69:10
  Act [2] - 76:14, 88:11                              ancient [1] - 135:8
                             137:24                                              179:23, 180:13,         appropriate [1] - 6:14
  acted [3] - 90:5, 103:8                             AND [3] - 215:8,
                                                                                 180:25, 181:5,          approved [4] - 89:16,
  action [2] - 32:16,       ago [1] - 58:10            215:12, 215:14
                                                                                 181:23, 182:5,           92:18, 189:2, 189:20
   35:7                     Agora [1] - 26:25         Andy [1] - 185:17
                                                                                 182:9, 182:23,          approximation [1] -
  active [1] - 55:8         agree [16] - 12:25,       Angeles [4] - 27:20,
                                                                                 183:16, 183:25,          161:21
  activities [8] - 93:5,     14:5, 64:6, 73:16,        28:18, 52:23, 52:24
                                                                                 184:10, 184:15,
   93:22, 94:19, 94:23,      73:17, 73:19, 73:21,     ANGELES [5] - 1:19,                                archive [2] - 177:19,
                                                                                 187:8, 187:14,
   169:20, 170:1,            149:13, 200:13,           1:24, 2:9, 4:1, 215:4                              177:24
                                                                                 188:11, 196:19,
   184:24, 185:5             200:16, 200:19,          announcements [1] -                                area [15] - 11:1, 22:24,
                                                                                 197:18, 197:22,
  actual [2] - 168:15,       205:20, 205:22,           141:13                                             31:24, 32:20, 41:18,
                                                                                 197:25, 198:3,
   212:12                    209:8, 212:14,           ANSWER [1] - 183:18                                 48:3, 48:4, 49:12,
                                                                                 200:1, 200:6, 200:17
  ad [1] - 99:16             212:20                   answer [17] - 19:20,                                51:9, 54:16, 54:25,
                                                                                antiterrorism [1] -
  AD/CVD [1] - 165:9        agreed [3] - 14:7,         67:7, 115:6, 151:25,                               95:7, 155:8, 159:3,
                                                                                 31:21
  add [1] - 13:25            65:3, 209:21              159:14, 164:24,                                    204:8
                                                                                Anvil [5] - 141:4,
  ADD [1] - 94:3            agreement [2] - 72:6,      165:2, 165:8,                                     areas [3] - 53:19, 93:6,
                                                                                 141:6, 141:16,
  added [1] - 211:9          209:22                    174:15, 175:13,                                    94:20
                                                                                 142:1, 152:17
  addition [2] - 66:1,      agrees [1] - 200:21        176:20, 196:14,                                   argument [1] - 6:3
                                                                                anyway [1] - 38:12
   209:12                   aha [1] - 98:18            207:15, 210:21,                                   argumentative [1] -
                                                                                apologies [1] - 92:19
  additional [4] - 45:23,   ahead [7] - 7:24,          211:5, 211:6, 212:11                               212:4
                                                                                apologize [5] - 16:13,
   119:4, 183:18,            74:17, 92:13,            answered [5] - 67:1,                               arguments [4] - 65:9,
                                                                                 154:1, 165:16,
   183:22                    115:12, 150:8,            67:3, 151:24, 152:1,                               65:11, 71:11, 88:7
                                                                                 168:14, 198:25
  address [3] - 15:21,       192:18, 199:16            175:17                                            arm [1] - 108:6
                                                                                appear [10] - 113:1,
   69:24, 95:9              Ahn [1] - 144:14          answers [1] - 15:19                                arrival [1] - 204:16
                                                                                 113:6, 201:23,
  addressing [2] - 5:17,    AHWB [2] - 97:2,          anti [1] - 179:11                                  arrive [1] - 71:13
                                                                                 201:25, 202:4,
   48:4                      100:5                    anticipating [1] - 11:9                            articles [1] - 97:19
                                                                                 202:7, 202:9,
  adhering [1] - 39:9       airplane [1] - 214:5      antidumping [108] -                                articulate [1] - 89:19
                                                                                 202:20, 202:23,
  Administration [1] -      al [1] - 4:6               9:20, 9:22, 31:20,                                aside [1] - 41:10
                                                                                 209:25
   17:7                     alejandro [2] - 8:4,       31:24, 41:2, 75:4,                                assessed [1] - 94:6
                                                                                appearance [1] -
  admission [3] -            19:4                      75:8, 75:11, 75:19,                               assessing [1] - 180:11
                                                                                 128:1
   146:21, 147:22,          alerted [1] - 86:3         75:24, 76:4, 76:18,                               assessment [2] -
                                                                                APPEARANCES [1] -
   148:10                   allegation [2] - 9:17,     78:22, 79:11, 79:14,                               93:23, 94:16
                                                                                 2:4
  admit [5] - 119:23,        9:24                      79:17, 80:10, 80:13,                              assistance [1] - 93:9
                                                                                appearances [2] - 4:7,
   121:11, 126:22,          allegations [3] -          80:16, 80:18, 80:22,                              associate [1] - 73:11
                                                                                 7:8
   193:7, 201:2              89:18, 97:7, 103:8        80:25, 81:17, 82:13,                              associated [1] -
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    397 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          513Trial Page 220 of 244                 3


   158:15                     168:13, 175:1,            below [4] - 97:4,          bookkeeper [1] -           195:18
  assume [1] - 205:22         179:13, 194:18,            111:17, 121:2,             25:16                    broker [19] - 85:16,
  assuming [3] - 18:15,       195:1, 196:2, 196:3,       125:22                    border [1] - 47:17         96:14, 96:25, 98:13,
   56:24, 193:2               198:12, 199:12,           bench [7] - 37:10,         Border [23] - 22:14,       100:21, 101:6,
  assure [1] - 109:15         200:4, 200:6               38:5, 38:18, 38:19,        31:16, 40:19, 75:17,      102:16, 170:4,
  AT [1] - 2:12                                          38:21, 40:7, 58:2          79:1, 81:25, 82:3,        172:1, 175:2, 177:2,
  Atkinson [2] - 185:20,                B               benign [1] - 149:12         82:13, 83:3, 84:13,       177:12, 178:19,
   187:24                                               best [4] - 51:16, 60:16,    87:25, 88:4, 88:13,       179:8, 179:14,
  attach [1] - 109:1         B-e-a-c-h-y [1] - 8:11      73:13, 175:17              92:24, 163:11,            179:15, 181:9,
  attached [5] - 100:6,      baby [1] - 5:8             better [4] - 59:5,          163:15, 163:24,           181:13, 181:22
   100:8, 113:16,            backed [1] - 95:21          73:20, 111:7, 186:12       164:16, 177:10,          broker's [1] - 175:8
   120:8, 153:6              background [3] -           between [19] - 5:3,         204:18, 204:25,          brokers [9] - 98:24,
  attaches [2] - 93:13,       106:21, 132:19,            34:4, 35:7, 55:24,         205:2, 205:4              159:7, 171:5, 179:2,
   148:6                      172:11                     57:1, 66:17, 72:10,       bored [1] - 38:11          179:10, 179:11,
  attention [20] - 9:3,      bad [1] - 39:13             73:3, 76:2, 91:13,        boring [1] - 50:11         188:9, 188:15,
   9:8, 9:13, 21:9,          ball [11] - 87:11, 92:2,    107:23, 108:23,           boss [3] - 31:20, 32:3,    188:22
   46:19, 49:23, 70:6,        92:7, 95:11, 96:15,        126:4, 128:24,             135:13                   brought [3] - 87:20,
   88:23, 96:23, 108:1,       97:16, 98:9, 98:15,        129:10, 129:18,           bother [1] - 34:22         141:13, 163:1
   110:25, 118:21,            99:23, 100:7, 103:1        175:2, 175:7, 193:21      bothered [1] - 85:22      BROWN [1] - 2:6
   120:11, 120:21,           Ball [1] - 101:5           bevel [15] - 108:19,       bothers [1] - 28:10       brush [1] - 27:19
   173:22, 176:6,            Bar [1] - 47:1              108:20, 109:2,            bottom [5] - 94:10,       built [1] - 135:20
   183:12, 198:14,           base [3] - 64:22,           113:13, 113:14,            96:15, 125:17,           bullet [3] - 94:1, 94:4,
   199:4, 210:25              108:12, 161:10             113:17, 114:6,             164:23, 203:25            94:8
  attorney [2] - 116:17,     based [9] - 30:22,          114:10, 114:12,           bought [1] - 161:17       bunch [1] - 208:9
   178:24                     69:22, 77:15, 80:8,        114:14, 120:25,           box [11] - 8:24, 9:1,     burden [7] - 35:17,
  ATTORNEY [1] - 2:12         116:4, 118:2, 118:5,       129:12, 138:13,            9:4, 13:9, 13:10,         35:23, 36:21, 55:24,
  attorneys [11] - 10:4,      133:23, 213:7              138:18, 138:19             13:13, 13:16, 16:16,      57:1, 57:13, 64:18
   12:25, 37:9, 38:3,        basis [6] - 95:15,         beveled [6] - 77:22,        74:8, 130:4, 146:15      Bureau [1] - 92:15
   38:4, 39:10, 65:9,         109:14, 170:22,            83:24, 121:6, 122:5,      Box [5] - 96:3, 96:8,     business [14] - 32:13,
   65:15, 70:23, 71:11,       184:4, 211:24, 212:9       125:14                     96:11, 202:15             77:15, 91:2, 93:15,
   71:22                     battle [1] - 90:20         bevels [1] - 83:22         branch [4] - 107:23,       93:16, 104:25,
  attornies [1] - 65:18      Beach [2] - 22:13,         beyond [3] - 35:19,         107:24, 107:25,           106:9, 106:25,
  audience [2] - 8:25,        52:9                       199:20, 199:22             108:9                     132:8, 141:24,
   9:3                       Beachy [2] - 8:11,         Bhattacharji [3] -         brand [6] - 122:21,        151:22, 155:1,
  audio [1] - 28:20           21:13                      10:18, 11:5, 159:1         142:4, 142:5, 142:7,      161:4, 161:5
  audit [7] - 51:4, 54:22,   bears [1] - 68:1           bias [3] - 40:21, 59:6,     142:8, 142:9             businesses [1] -
   91:25, 93:21, 94:11,      became [3] - 159:24,        67:22                     Brazil [1] - 119:14        91:25
   94:21, 95:3                168:9, 168:13             biggest [1] - 96:17        breach [1] - 145:2        busy [1] - 17:3
  Audit [1] - 94:15          began [2] - 103:5,         bill [4] - 95:2, 204:12,   BREAK [3] - 63:19,        butcher [2] - 10:19,
  audited [1] - 89:16         134:17                     204:13, 208:3              74:5, 146:13              185:19
  auditees [1] - 93:23       beginning [4] - 79:13,     bit [17] - 7:24, 10:2,     break [9] - 39:6, 39:8,   buttweld [38] - 80:19,
  auditing [1] - 94:12        87:4, 97:2, 134:22         12:12, 31:17, 59:4,        60:4, 60:5, 61:24,        86:24, 101:1,
  audits [1] - 51:4          begins [2] - 98:17,         68:8, 71:22, 79:15,        62:5, 146:6, 213:20       101:11, 101:15,
  August [1] - 197:14         150:6                      104:23, 111:7,            briefly [2] - 72:23,       101:17, 101:20,
  authorizes [1] - 76:15     behalf [8] - 4:9, 34:18,    156:25, 159:18,            154:12                    102:8, 102:9,
  authorizing [1] - 76:25     34:20, 72:5, 72:17,        161:4, 161:13,            bring [14] - 7:2, 9:7,     102:14, 109:3,
  avail [1] - 73:9            157:20, 186:6,             166:11, 169:16,            30:14, 33:5, 33:15,       113:22, 114:4,
  available [7] - 92:5,       212:18                     178:6                      36:12, 37:6, 43:24,       114:9, 118:24,
   92:6, 140:22,             BEHALF [2] - 2:5, 2:10     black [1] - 128:5           49:3, 53:15, 56:3,        118:25, 119:1,
   142:24, 151:19,           behind [7] - 5:18,         block [4] - 39:4, 100:5,    76:15, 92:2, 95:11        119:5, 119:8, 121:4,
   151:20, 186:21             6:18, 6:20, 6:24,          100:18, 201:14            bringing [6] - 26:15,      121:6, 122:2, 122:6,
  AVENUE [1] - 2:8            74:23, 74:25, 105:18      blogs [1] - 68:25           35:6, 78:20, 79:7,        124:25, 125:13,
  avoid [3] - 52:2,          Beijing [3] - 144:12,      blood [1] - 22:21           102:12, 208:21            125:15, 126:3,
   153:14, 154:5              144:15, 148:24            blurry [2] - 111:4,        brings [5] - 76:19,        134:2, 134:9, 137:3,
  AW [1] - 97:2              belief [1] - 73:24          111:5                      78:14, 80:13, 81:3,       137:12, 169:10,
                             believability [1] - 68:1   blush [1] - 87:17           92:7                      176:10, 176:25,
  aware [21] - 115:2,
                             believable [1] - 68:4      boat [1] - 13:16           broader [1] - 93:18        196:19, 198:3,
   115:8, 130:6, 136:4,
                             Bell [3] - 144:12,         body [1] - 41:14           brochure [6] - 110:24,     200:2, 200:9
   136:8, 144:11,
                              144:15, 148:24            bold [1] - 122:4            125:13, 142:10,          buy [6] - 106:6,
   149:1, 149:5,
   154:21, 168:9,            belong [1] - 101:14        book [1] - 214:7            191:1, 195:16,            106:21, 144:2,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    398 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          514Trial Page 221 of 244                 4


   146:1, 149:9, 149:10    careful [1] - 110:15        30:6, 32:25, 35:13,       41:24, 42:14, 58:23     180:4, 184:14,
  buyer [1] - 145:14       carefully [2] - 10:10,      36:9, 36:12, 48:15,      chance [7] - 7:1,        188:25, 189:1,
  buying [3] - 140:23,      46:13                      56:2, 56:23, 57:1,        25:23, 88:7, 107:11,    191:25, 194:7
   144:6, 145:11           caregiver [1] - 52:9        57:6, 76:22, 77:1,        112:13, 128:18,        chose [2] - 105:18,
  BY [58] - 2:7, 2:11,     cares [1] - 14:9            116:9, 117:9,             186:12                  118:3
   104:20, 107:10,         carry [1] - 90:25           117:22, 117:25,          change [9] - 14:19,     Christine [2] - 8:19,
   109:24, 110:20,         case [144] - 6:6, 6:7,      118:5, 118:7, 118:9,      14:20, 62:21,           26:23
   112:12, 113:3,           7:5, 9:15, 10:5, 10:6,     118:13, 118:20,           114:20, 182:14,        Christopher [5] - 4:13,
   113:20, 114:2,           10:9, 10:10, 11:11,        124:3                     188:24, 193:5, 193:6    7:12, 10:25, 89:3,
   115:13, 120:3,           11:12, 11:13, 11:16,      catalog [16] - 190:3,     changing [1] - 210:3     132:15
   121:19, 124:15,          11:17, 12:8, 12:9,         190:11, 191:13,          channel [1] - 108:24    CHRISTOPHER [1] -
   127:20, 128:17,          12:15, 12:16, 12:19,       191:14, 191:15,          characteristic [1] -     2:11
   129:9, 132:14,           13:2, 13:19, 14:15,        191:19, 191:20,           114:8                  circumstances [1] -
   141:25, 147:10,          14:25, 15:2, 17:11,        192:24, 193:14,          characteristics [3] -    153:18
   148:1, 148:17,           17:15, 19:14, 20:18,       193:18, 194:18,           121:3, 138:22,         circumstantial [3] -
   149:17, 151:14,          20:20, 20:21, 22:2,        195:10, 195:14,           138:23                  66:11, 66:14, 66:18
   152:4, 152:14,           23:6, 25:3, 26:2,          195:25, 196:8,           characterize [2] -      city [6] - 15:21, 17:23,
   153:1, 154:2,            26:3, 26:14, 28:9,         196:10                    133:21, 134:1           19:5, 20:11, 46:25,
   154:15, 156:7,           30:22, 32:15, 33:6,       catalogs [3] - 84:7,      characterized [1] -      52:21
   164:14, 167:5,           33:12, 33:15, 34:9,        193:13, 196:17            133:17                 civil [14] - 4:5, 7:5,
   168:1, 169:8,            34:10, 34:12, 34:13,      category [2] - 98:13,     charge [3] - 173:7,      35:15, 35:22, 36:18,
   173:15, 174:7,           35:17, 35:22, 35:24,       101:17                    185:16, 185:18          36:25, 55:8, 55:21,
   176:2, 176:17,           36:4, 36:12, 36:25,       caught [2] - 120:20,      charged [2] - 32:16,     55:22, 56:9, 56:10,
   177:7, 182:18,           37:3, 37:6, 37:14,         122:11                    131:1                   56:23, 57:1, 57:13
   183:11, 186:23,          37:15, 39:21, 40:21,      caused [4] - 83:9,        chasing [1] - 51:6      claim [3] - 64:18,
   189:18, 190:2,           45:11, 46:20, 47:13,       86:17, 88:15, 187:6      chatrooms [1] - 68:25    64:21, 149:1
   191:3, 191:10,           48:6, 48:22, 51:12,       CBP [6] - 93:6, 93:22,    check [1] - 85:22       claimed [1] - 88:5
   192:19, 193:11,          51:23, 55:8, 56:3,         93:24, 94:17, 94:19,     checked [1] - 88:2      claims [1] - 85:4
   197:12, 199:9,           56:12, 56:14, 56:15,       97:25                    children [2] - 39:15,   Claims [2] - 76:14,
   199:18, 200:23,          57:7, 57:11, 57:15,       Cedar [1] - 50:5           53:13                   88:11
   201:6, 206:25,           57:16, 57:19, 58:7,       cent [1] - 81:21          China [41] - 75:15,     Clara [2] - 56:18,
   209:2, 209:20,           58:13, 58:17, 61:9,       CENTRAL [2] - 1:2,         78:12, 80:7, 80:11,     56:22
   210:16, 212:6            61:15, 62:5, 62:11,        215:9                     80:20, 80:22, 80:24,   clarify [2] - 129:4,
                            63:12, 63:13, 64:1,       certain [14] - 13:20,      81:17, 85:4, 86:18,     129:7
            C               64:3, 64:9, 66:8,          13:21, 13:22, 13:23,      87:2, 91:9, 118:1,     Clarita [1] - 21:16
                            67:10, 67:13, 67:22,       65:6, 66:3, 80:18,        118:5, 118:9, 119:6,   clarity [1] - 212:13
  CA [1] - 2:9              68:12, 68:13, 68:14,       117:9, 146:1, 148:6,      119:14, 123:17,        classes [2] - 170:6,
  CALIFORNIA [6] - 1:2,     68:16, 68:18, 68:21,       161:16, 161:17,           130:8, 137:5,           170:12
   1:19, 1:24, 4:1,         68:23, 69:3, 69:8,         169:9                     137:12, 141:9,         classification [11] -
   215:6, 215:10            69:11, 69:20, 71:10,      certainly [4] - 118:10,    141:14, 142:16,         93:7, 94:20, 97:20,
  California [6] - 19:6,    71:18, 73:25, 75:4,        136:23, 146:25,           142:19, 142:20,         140:3, 166:1,
   25:15, 26:7, 26:25,      75:13, 76:19, 77:4,        186:12                    143:1, 143:2, 143:3,    166:18, 174:13,
   28:6, 50:19              78:3, 79:5, 79:13,        cERTIFICATE [1] -          162:8, 167:20,          174:19, 177:20,
  candid [1] - 79:2         80:14, 80:21, 81:15,       215:2                     168:6, 168:8, 168:9,    181:10, 181:14
  cannot [8] - 19:14,       82:14, 82:18, 83:12,      certified [1] - 50:19      168:13, 169:11,        classified [1] - 98:7
   19:24, 23:1, 28:10,      83:17, 84:10, 84:21,      CERTIFIED [1] - 1:7        196:23, 197:3,         clean [1] - 95:1
   30:13, 67:3, 110:9       85:3, 87:19, 88:6,        CERTIFY [1] - 215:10       199:20, 200:3, 200:8   clear [16] - 24:7,
  capacity [1] - 115:14     88:19, 97:7, 101:19,      cetera [4] - 16:9,        China's [1] - 81:12      24:10, 40:25, 51:4,
  carbon [12] - 80:18,      103:21, 117:4,             32:12, 61:21, 214:3      Chinese [30] - 76:7,     84:22, 85:9, 114:21,
   86:24, 118:16,           118:22, 123:12,           CH [2] - 96:16, 96:17      80:14, 86:17,           115:23, 172:12,
   118:22, 118:23,          134:19, 138:3,            chain [6] - 159:22,        111:18, 115:9,          194:23, 200:18,
   118:24, 119:5,           141:11, 146:9,             160:7, 160:15,            115:19, 128:24,         202:2, 204:5, 206:4,
   119:7, 120:24,           157:6, 164:19,             160:20, 171:17,           129:22, 131:4,          209:3, 212:14
   169:10, 200:2, 200:9     168:6, 175:11,             171:19                    131:7, 131:24,         clearly [3] - 165:19,
  cards [1] - 15:6          186:1, 201:8,             challenge [10] - 40:16,    131:25, 132:5,          174:17, 209:6
  care [7] - 14:9, 24:1,    208:11, 213:22             41:25, 42:2, 42:8,        132:7, 137:25,         clerk [3] - 107:5,
   51:12, 163:5,           CASE [1] - 2:11             43:2, 43:15, 43:21,       144:12, 149:5,          107:8, 146:25
   163:20, 178:1,          Case [4] - 4:4, 4:13,       58:25, 59:9, 59:17        161:1, 162:13,         CLERK [20] - 4:4, 7:5,
   178:11                   7:12, 159:9               challenges [6] -           162:16, 163:6,          7:25, 44:12, 44:19,
  cared [1] - 198:10       cases [24] - 14:6, 22:5,    40:13, 41:4, 41:21,       171:14, 176:23,         45:7, 45:9, 46:1,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    399 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          515Trial Page 222 of 244                 5


   60:22, 63:20, 92:6,      Commerce's [1] -         competitively [1] -       149:22, 151:18          contacts [3] - 140:17,
   103:24, 104:2,            120:18                   141:24                  confirm [4] - 124:24,     151:21, 152:5
   104:9, 112:7, 147:5,     commercial [7] -         competitor [2] -          144:18, 151:18,         contain [1] - 73:5
   155:18, 155:25,           100:8, 203:2,            91:18, 91:23             189:4                   contained [2] -
   206:16, 214:12            203:12, 203:15,         competitors [3] -        confirmation [2] -        190:18, 196:17
  client [2] - 65:18,        207:11, 207:18,          91:14, 91:19, 134:19     144:17, 144:20          contains [2] - 95:14,
   77:14                     209:13                  complete [2] - 85:11,    confirming [1] -          202:15
  client's [1] - 88:22      Commission [1] -          91:25                    148:23                  contemporaneous [1]
  clinical [1] - 28:21       197:21                  completed [2] - 68:11,   CONFORMANCE [1] -         - 89:24
  clip [2] - 150:5, 150:6   Commission's [1] -        77:11                    215:15                  contents [1] - 93:3
  clock [1] - 38:24          117:21                  completely [7] - 79:7,   confuse [2] - 34:9,      context [2] - 78:17,
  close [4] - 9:3, 54:24,   commitment [1] -          82:9, 100:16, 102:8,     36:21                    119:19
   70:6, 80:12               39:22                    163:10, 163:15,         Congress [2] - 76:21,    continually [1] -
  closest [1] - 208:20      committed [1] - 89:12     196:6                    76:24                    161:25
  closing [3] - 65:11,      common [1] - 79:8        compliance [16] -        connect [1] - 108:7      continue [3] - 102:10,
   71:11, 88:7              communicate [2] -         41:11, 89:9, 89:12,     connected [3] - 22:24,    146:17, 197:25
  closings [1] - 5:25        68:19, 68:20             93:24, 94:6, 94:17,      108:13, 120:25          continued [2] -
  CN [1] - 96:10            communicated [1] -        95:7, 103:12,           connection [4] -          119:13, 123:25
  Coast [1] - 27:3           179:22                   169:17, 169:19,          107:23, 107:25,         continues [1] - 102:14
  Code [1] - 213:6          communicating [2] -       170:6, 170:9,            113:19, 148:19          continuously [1] -
  code [20] - 96:5, 96:6,    69:2, 69:4               170:16, 177:16,         connections [1] -         102:5
   96:10, 97:5, 100:19,     communications [4] -      179:12, 187:15           121:1                   contoured [1] - 108:4
   100:21, 166:16,           175:2, 175:7,           complicated [2] - 6:8,   connects [1] - 107:25    contract [3] - 34:5,
   166:18, 167:7,            177:19, 178:18           87:7                    consider [13] - 64:24,    34:7, 145:6
   167:12, 182:8,           communities [1] -        complied [1] - 9:23       65:4, 65:7, 66:3,       contracts [1] - 179:10
   182:9, 182:14,            91:1                    comply [2] - 160:22,      66:4, 66:16, 67:11,     contradicts [1] - 67:23
   182:19, 202:1,           community [1] - 198:9     170:12                   69:15, 84:17,           contrary [3] - 9:24,
   206:1, 206:2, 206:3,     companies [17] -         computer [4] - 15:8,      133:10, 138:17,          103:10, 151:8
   206:7, 208:18             76:15, 76:16, 76:17,     74:18, 92:9, 92:11       149:6, 187:7            control [3] - 66:21,
  CODE [1] - 215:11          90:16, 91:13, 105:6,    concepts [3] - 87:7,     considered [6] - 65:7,    93:23, 94:17
  coder [1] - 50:6           116:5, 116:6,            87:15, 87:16             65:25, 107:17,          controls [4] - 65:16,
  codes [1] - 167:16         132:24, 141:3,          concerned [3] - 40:20,    117:2, 138:19, 187:6     70:14, 70:17, 94:23
  coffee [1] - 214:7         149:7, 149:8, 149:9,     70:13, 183:20           considering [1] -        convenience [1] -
  colleague [1] - 76:10      149:10, 198:9           conclude [3] - 90:4,      67:17                    167:18
  collect [3] - 158:13,     companion [1] - 86:25     103:1, 103:4            consistency [1] - 15:1   conversation [1] -
   158:14, 183:3            company [19] - 29:25,    concluded [7] - 81:9,    consistently [2] -        178:3
  collected [1] - 213:16     47:15, 76:12, 76:19,     98:13, 98:24, 99:3,      115:21, 161:15          conversations [1] -
  college [1] - 18:12        90:9, 105:7, 105:9,      102:18, 129:22,         consists [1] - 64:25      136:20
  column [5] - 96:24,        105:15, 133:5,           152:19                  construction [1] -       convince [1] - 62:22
   97:15, 97:17, 97:22,      135:17, 135:21,         CONCLUDED [3] -           28:8                    convinced [1] - 59:14
   99:24                     136:8, 149:4,            44:14, 60:9, 214:13     consult [6] - 139:8,     COOPER [1] - 1:12
  combat [1] - 75:9          156:16, 157:21,         concludes [1] - 79:20     176:22, 181:4,          cooperation [1] -
  comfortable [3] -          177:23, 177:25,         conclusion [1] - 93:4     181:9, 181:13,           93:10
   60:3, 61:6, 61:8          178:9                   condition [1] - 189:13    181:22                  copy [6] - 123:20,
  coming [5] - 24:8,        Company [1] - 96:16      conduct [3] - 61:19,     consultation [2] -        123:23, 124:5,
   29:6, 38:4, 47:25,       COMPANY [1] - 1:13        68:7, 91:20              98:12, 100:20            124:23, 126:16,
   210:12                   company's [3] -          conducted [1] - 94:11    consulted [2] - 139:5,    150:10
  comment [3] - 59:12,       159:22, 181:16,         conducting [3] -          176:9                   COPY [1] - 1:7
   153:10, 178:4             181:19                   79:19, 135:14, 139:6    consulting [1] - 69:17   corner [1] - 145:21
  comments [1] - 95:10      compete [7] - 76:7,      confer [1] - 73:9        consuming [1] - 87:17    corporate [24] - 157:7,
  Commerce [17] -            86:9, 114:25,           CONFERENCE [1] -         contact [7] - 45:10,      157:10, 172:19,
   80:17, 81:7, 86:21,       115:19, 131:9,           215:16                   63:3, 63:4, 124:1,       172:21, 173:16,
   102:20, 116:7,            132:4, 141:22           conference [3] - 38:5,    144:10, 152:10,          174:25, 180:15,
   116:14, 119:3,           competing [5] - 115:9,    38:19, 72:8              152:16                   180:18, 180:22,
   119:11, 122:3,            131:25, 132:7,          conferences [2] -        contacted [6] -           181:3, 181:8,
   124:2, 125:23,            141:17, 142:1            38:18, 38:21             105:20, 124:3,           181:12, 181:21,
   126:17, 197:2,           competition [2] -        confident [2] - 59:7,     143:17, 143:18,          186:5, 187:18,
   197:20, 198:8,            56:21, 136:13            90:2                     144:19, 144:22           188:3, 188:15,
   200:7, 200:15            competitive [2] -        confidential [4] -       contacting [2] -          210:6, 210:17,
  commerce [1] - 87:1        75:10, 145:13            70:19, 149:20,           143:13, 143:23           210:21, 211:13,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    400 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          516Trial Page 223 of 244                 6


   211:20, 212:7,         170:24, 170:25,         203:13, 203:14,          counts [3] - 6:9, 6:10    153:11, 154:3,
   212:17                 171:6, 171:7, 171:9,    203:16, 203:17,          COUNTY [1] - 215:4        175:11
  Corporation [2] -       171:10, 171:14,         204:3, 204:22,           coup [1] - 122:23        Court [21] - 9:16,
   75:14, 78:4            171:15, 171:18,         205:4, 205:19,           coup-let [1] - 122:23     12:20, 30:23, 33:16,
  CORPORATION [1] -       171:21, 171:25,         205:24, 206:9,           couple [10] - 29:18,      35:1, 38:23, 48:13,
   1:12                   172:2, 172:3,           206:10, 206:12,           56:19, 112:1,            61:1, 61:3, 63:15,
  corporation [1] -       172:15, 172:22,         207:2, 207:6, 207:7,      131:22, 132:24,          66:6, 69:13, 69:20,
   34:17                  172:25, 173:4,          207:9, 207:10,            154:16, 168:7,           70:5, 72:3, 72:14,
  corporations [1] -      173:9, 173:19,          207:12, 207:13,           185:23, 191:16,          76:16, 104:6,
   6:10                   175:3, 175:4, 175:8,    207:14, 207:16,           196:13                   155:22, 214:10,
  CORRECT [1] -           175:9, 175:18,          207:20, 207:24,          coupling [43] - 82:25,    214:12
   215:12                 175:19, 176:20,         208:1, 208:2, 208:4,      97:7, 99:25, 111:21,    COURT [374] - 1:1,
  correct [274] - 4:19,   176:25, 177:3,          208:5, 208:7, 208:8,      112:2, 112:16,           1:23, 4:11, 4:17,
   17:18, 19:25, 32:8,    177:16, 177:22,         208:10, 208:15,           112:17, 113:14,          4:21, 5:5, 5:8, 6:1,
   34:16, 35:2, 35:3,     178:4, 178:11,          210:4, 212:10,            114:14, 114:18,          6:18, 6:23, 7:1, 7:16,
   54:21, 57:14, 57:20,   178:12, 178:14,         212:20, 212:21,           125:24, 126:1,           8:23, 10:22, 11:8,
   61:9, 99:18, 110:9,    178:16, 178:19,         213:3                     128:2, 128:4, 128:5,     12:11, 15:11, 15:15,
   115:25, 120:6,         178:20, 178:25,        correctly [3] - 132:19,    128:6, 128:7,            16:23, 17:2, 17:8,
   128:2, 133:1, 133:3,   179:1, 179:5, 179:9,    156:11, 185:21            189:20, 192:25,          17:11, 17:17, 17:19,
   133:14, 133:15,        179:19, 179:24,        cost [2] - 76:2, 130:5     194:19, 202:19,          17:21, 17:23, 17:25,
   133:19, 133:21,        179:25, 180:2,         costs [1] - 140:24         203:8, 204:11,           18:3, 18:5, 18:8,
   133:22, 134:2,         180:3, 180:5, 180:6,   COUNSEL [1] - 2:4          204:14, 205:24,          18:11, 18:14, 18:18,
   134:3, 134:7, 134:8,   180:8, 180:14,         Counsel [26] - 4:7,        205:25, 206:1,           18:21, 19:1, 19:3,
   134:24, 134:25,        180:16, 180:20,         4:11, 4:18, 7:8, 7:16,    206:6, 207:6, 207:9,     19:5, 19:7, 19:9,
   135:3, 135:8,          180:21, 181:1,          10:22, 11:8, 34:16,       207:13, 207:25,          19:12, 19:16, 19:20,
   135:15, 137:3,         181:2, 181:6, 181:7,    40:6, 58:1, 74:2,         208:7, 208:20,           20:2, 20:6, 20:8,
   137:4, 137:5,          181:10, 181:14,         88:25, 92:13,             209:6, 209:9,            20:10, 20:13, 20:16,
   137:12, 137:25,        181:15, 181:17,         103:16, 115:12,           210:20, 211:2,           20:21, 20:25, 21:2,
   138:4, 138:5,          181:18, 181:19,         129:4, 147:4,             211:4, 211:8,            21:8, 21:11, 21:14,
   138:20, 140:2,         181:20, 181:24,         147:24, 148:12,           211:14, 211:16,          21:17, 21:21, 21:24,
   140:14, 141:4,         182:1, 182:5,           150:9, 152:24,            212:1                    22:4, 22:10, 22:15,
   141:5, 141:7,          182:14, 183:17,         155:17, 192:6,           couplings [50] -          22:19, 22:22, 23:3,
   141:10, 141:11,        183:22, 184:10,         193:20, 204:5,            75:18, 75:22, 82:4,      23:11, 23:16, 23:19,
   142:7, 143:14,         184:11, 184:21,         212:11                    82:6, 83:4, 83:20,       23:23, 24:2, 24:7,
   143:17, 143:20,        184:22, 185:6,         counsel [29] - 4:14,       83:24, 84:3, 84:8,       24:14, 24:17, 24:21,
   143:21, 147:16,        185:10, 186:8,          7:13, 10:11, 10:14,       84:12, 88:5, 96:25,      24:24, 25:3, 25:7,
   147:17, 147:19,        186:11, 186:13,         10:23, 10:25, 71:5,       98:18, 98:19, 99:13,     25:10, 25:19, 25:22,
   147:20, 148:4,         186:14, 187:20,         71:7, 72:2, 72:6,         99:20, 99:21,            26:5, 26:9, 26:12,
   148:5, 148:7, 148:8,   187:23, 188:1,          72:14, 74:15,             112:19, 131:18,          26:17, 26:20, 27:1,
   148:21, 153:8,         188:4, 188:8,           101:24, 103:13,           153:7, 194:22,           27:4, 27:9, 27:14,
   156:9, 156:10,         188:13, 188:17,         103:22, 104:17,           194:24, 195:4,           27:17, 27:21, 27:24,
   156:15, 157:8,         189:12, 191:5,          127:13, 132:12,           195:9, 195:11,           28:4, 28:9, 28:13,
   157:9, 157:11,         191:20, 192:1,          146:17, 150:15,           195:12, 195:13,          28:16, 28:19, 28:23,
   157:12, 157:21,        192:2, 192:22,          151:5, 151:11,            195:20, 195:22,          29:1, 29:8, 29:10,
   157:22, 158:1,         192:23, 193:1,          153:23, 173:18,           195:24, 196:10,          29:23, 30:4, 30:20,
   158:3, 158:4, 158:9,   193:2, 193:22,          174:12, 174:22,           199:20, 199:22,          31:4, 31:7, 31:10,
   158:11, 158:23,        194:4, 194:5, 194:7,    181:4, 193:3, 199:13      199:25, 200:5,           31:12, 31:18, 31:23,
   159:16, 159:20,        194:8, 194:11,         count [2] - 55:17,         200:11, 200:14,          32:2, 32:5, 32:10,
   159:22, 160:5,         194:13, 194:14,         205:21                    200:15, 200:16,          32:20, 32:23, 33:3,
   160:8, 160:9,          194:17, 195:14,        countervailing [3] -       201:18, 201:20,          33:14, 33:24, 34:3,
   160:12, 160:17,        195:20, 196:24,         94:9, 165:5, 165:10       201:22, 205:17,          34:8, 34:15, 34:24,
   160:18, 160:23,        197:4, 197:22,         countries [7] - 79:25,     205:19, 206:12,          35:4, 35:15, 35:17,
   161:2, 161:3, 161:6,   198:5, 199:21,          80:7, 117:22,             208:4, 208:15,           35:22, 36:2, 36:8,
   162:19, 162:24,        200:11, 201:12,         119:17, 123:15,           209:5, 209:25,           36:11, 36:14, 36:18,
   163:2, 163:3, 163:7,   201:13, 201:18,         140:6, 198:5              212:20                   36:20, 36:24, 37:2,
   163:17, 163:22,        201:21, 202:16,        country [11] - 78:1,      course [14] - 12:24,      37:5, 37:8, 37:21,
   164:1, 165:24,         202:17, 202:21,         78:14, 79:8, 80:12,       63:1, 63:11, 68:17,      37:25, 38:16, 40:18,
   166:19, 166:20,        202:22, 202:24,         81:3, 96:8, 96:9,         89:4, 89:24, 91:4,       41:4, 41:8, 41:16,
   166:21, 167:14,        202:25, 203:2,          96:18, 137:8,             103:5, 135:1,            41:21, 42:6, 42:12,
   167:15, 168:8,         203:3, 203:5, 203:6,    137:10, 163:2             147:18, 151:22,          42:20, 42:22, 42:25,
                          203:8, 203:9,                                                              43:6, 43:9, 43:14,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    401 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          517Trial Page 224 of 244                 7


   43:19, 43:24, 44:1,     151:1, 151:5,           132:13                    customers [8] - 90:16,     dates [1] - 190:7
   44:5, 44:9, 44:13,      151:11, 151:13,        cross [10] - 5:14, 22:7,    90:17, 90:18, 144:6,      David [2] - 8:12, 22:13
   44:15, 44:20, 45:8,     151:24, 152:3,          30:15, 71:6, 71:8,         145:11, 145:19,           DAY [1] - 1:18
   45:12, 46:10, 46:16,    152:9, 152:22,          139:17, 139:18,            145:23, 145:25            day-to-day [6] -
   46:22, 46:25, 47:2,     153:22, 154:9,          139:23, 146:18,           Customs [86] - 22:14,       169:17, 169:19,
   47:5, 47:9, 47:19,      154:11, 154:13,         154:17                     31:15, 40:19, 75:17,       170:1, 170:3,
   47:24, 48:3, 48:9,      155:8, 155:10,         cross-database [2] -        78:23, 79:1, 79:9,         170:22, 184:4
   49:1, 49:8, 49:12,      155:14, 155:17,         139:17, 139:18             81:25, 82:3, 82:12,       days [3] - 51:4,
   49:14, 49:18, 49:22,    156:4, 164:6, 164:9,   cross-examination [2]       83:2, 84:13, 84:22,        111:24, 158:5
   50:1, 50:3, 50:7,       166:25, 167:3,          - 146:18, 154:17           84:25, 85:9, 85:11,       DC [1] - 2:13
   50:10, 50:14, 50:17,    167:24, 169:1,         CROSS-                      86:13, 86:15, 87:25,      De [1] - 28:5
   50:21, 50:23, 51:1,     173:14, 174:1,          EXAMINATION [1] -          88:4, 88:12, 89:6,        de [1] - 8:21
   51:10, 51:15, 51:17,    174:6, 175:22,          132:13                     89:10, 89:14, 91:22,      DE [1] - 8:21
   51:20, 52:4, 52:6,      176:1, 176:14,         cross-examine [4] -         91:25, 92:15, 92:24,      dealing [3] - 6:7,
   52:10, 52:15, 52:18,    177:6, 182:17,          5:14, 30:15, 71:6,         93:6, 93:20, 94:5,         31:17, 32:25
   52:21, 52:24, 53:1,     183:9, 186:18,          71:8                       94:10, 95:1, 95:5,        death [1] - 38:11
   53:4, 53:7, 53:9,       189:16, 190:1,         cross-examined [1] -        95:6, 96:5, 96:9,         decade [2] - 76:8,
   53:12, 53:14, 53:18,    190:15, 190:19,         22:7                       96:13, 97:9, 97:11,        130:19
   53:22, 53:25, 54:3,     190:23, 191:2,         crosstalk [1] - 191:9       97:23, 97:25, 99:2,       decades [2] - 135:21,
   54:6, 54:11, 54:13,     192:6, 192:9,          CROSSTALK [1] -             99:7, 99:17, 101:7,        136:7
   54:19, 54:23, 55:4,     192:18, 193:9,          206:11                     101:12, 101:15,           December [3] - 85:5,
   55:8, 55:11, 55:19,     197:9, 198:17,         crystal [1] - 103:1         101:19, 102:17,            168:9, 169:14
   55:23, 56:2, 56:5,      198:21, 198:24,        CSR [2] - 1:23, 215:20      139:19, 140:3,            decide [11] - 35:7,
   56:8, 56:11, 56:14,     199:2, 199:6,          Curran [5] - 4:13,          153:2, 163:11,             56:12, 64:9, 66:8,
   56:17, 56:21, 57:4,     199:13, 199:16,         7:12, 10:25, 89:3,         163:15, 163:24,            66:19, 67:14, 68:9,
   57:9, 57:12, 57:15,     200:20, 201:3,          132:16                     164:16, 170:4,             68:13, 71:1, 85:19,
   57:18, 57:21, 58:1,     206:21, 208:25,        cURRAN [1] - 146:24         171:5, 172:1, 175:2,       152:24
   58:5, 58:8, 58:11,      209:17, 210:8,                                     175:8, 177:2,
                                                  CURRAN [47] - 2:11,                                   decided [1] - 174:10
   58:16, 58:19, 58:21,    210:11, 210:15,                                    177:10, 177:12,
                                                   4:12, 4:20, 5:24,                                    deciding [5] - 64:24,
   58:23, 59:4, 59:8,      212:3, 213:19,                                     178:19, 179:2,
                                                   7:11, 10:24, 35:3,                                    65:7, 67:10, 67:13,
   59:11, 59:14, 59:23,    214:10, 215:8,                                     179:8, 179:10,
                                                   72:17, 73:21, 89:2,                                   77:2
   60:1, 60:10, 61:5,      215:9, 215:21                                      179:14, 181:9,
                                                   92:7, 92:14, 92:22,                                  decision [5] - 64:22,
   63:21, 71:24, 72:14,   Court's [3] - 36:3,                                 181:13, 181:22,
                                                   102:1, 109:21,                                        101:20, 102:22,
   72:19, 72:25, 73:15,    65:22, 73:14                                       182:7, 188:9,
                                                   112:22, 113:25,                                       123:12, 125:11
   74:1, 74:6, 74:17,     courthouse [1] - 78:2                               188:14, 188:21,
                                                   115:3, 121:12,                                       decisions [2] - 114:4,
   74:20, 74:23, 75:3,    courtroom [5] - 4:15,                               204:18, 204:24,
                                                   126:25, 127:5,                                        177:20
   88:25, 92:9, 92:13,     7:4, 7:14, 70:18,                                  205:1, 205:4, 205:6,
                                                   127:14, 129:2,                                       dedicated [1] - 89:12
   92:21, 101:24,          71:25                                              205:9, 209:16
                                                   132:14, 141:25,                                      dedication [1] -
   103:16, 104:16,        courts [2] - 39:23,                                customs [3] - 29:16,
                                                   146:19, 147:8,                                        103:11
   107:5, 107:9,           72:21                                              48:10, 159:6
                                                   147:10, 147:21,                                      defend [1] - 91:21
   109:23, 110:16,        cover [1] - 191:1                                  cut [3] - 62:1, 108:10,
                                                   148:1, 148:9,                                        DEFENDANT [1] -
   112:6, 112:11,         covered [3] - 117:8,                                208:13
                                                   148:17, 149:17,                                       2:10
   112:24, 113:6,          117:9, 137:17                                     CV [1] - 1:8
                                                   150:4, 150:13,                                       defendant [10] - 6:10,
   114:1, 115:5,          covering [1] - 104:10    150:25, 151:2,                                        23:11, 35:19, 40:16,
   115:11, 119:24,        covers [3] - 90:24,                                           D
                                                   151:10, 151:12,                                       43:4, 57:23, 71:5,
   120:2, 121:13,          191:6                   151:14, 152:4,                                        71:6, 75:13, 78:3
   121:17, 124:11,        Covina [1] - 24:19                                 D-i-a-z [1] - 8:18
                                                   152:14, 153:1,                                       defendant's [1] -
   124:14, 126:24,        create [1] - 107:22                                D-y-e-r [1] - 8:19
                                                   154:2, 154:10,                                        37:17
   127:2, 127:10,         created [2] - 73:13,                               D.C [1] - 14:20
                                                   155:9, 155:15                                        DEFENDANTS [1] -
   127:13, 127:16,         182:25                                            dad [1] - 28:7
                                                  currency [1] - 51:6                                    1:15
   127:19, 128:13,        creates [1] - 108:22                               daily [1] - 182:7
                                                  current [6] - 117:9,                                  defendants [2] -
   128:16, 129:4,         creation [1] - 183:3                               damage [1] - 132:8
                                                   143:13, 151:17,                                       34:25, 43:3
   129:7, 132:11,                                                            data [1] - 130:13
                          creek [1] - 11:10        152:17, 196:14,
   141:21, 146:4,                                                                                       defense [7] - 42:9,
                          criminal [12] - 6:7,     196:16                    database [6] - 97:24,
   146:14, 146:23,                                                                                       43:16, 44:7, 64:19,
                           35:15, 35:16, 35:17,   curvy [2] - 77:22,          98:1, 98:6, 139:17,
   146:25, 147:3,                                                                                        64:21, 72:18, 89:1
                           36:18, 36:19, 55:21,    83:22                      139:18, 139:23
   147:7, 147:9,                                                                                        define [1] - 83:17
                           55:22, 56:8, 56:23,    custom [2] - 47:17,        databases [3] - 86:15,
   147:23, 148:11,                                                                                      defined [1] - 119:3
                           57:1, 57:11             48:8                       89:25, 126:11
   149:13, 150:8,                                                                                       defining [2] - 114:4,
                          critical [2] - 108:15   customer [2] - 105:20,     date [4] - 13:21, 13:23,
   150:11, 150:15,                                                                                       114:7
                          CROSS [2] - 3:2,         145:21                     127:10, 193:17
   150:18, 150:21,                                                                                      definitions [1] - 97:23
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    402 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          518Trial Page 225 of 244                 8


  degree [2] - 90:15,        118:3, 125:1,               205:18, 206:14,           distinguished [3] -        7:21, 16:17, 17:4,
   104:25                    189:20, 202:15,             209:10, 211:1              121:4, 121:7, 122:6       25:11, 25:12, 29:13,
  deliberate [2] - 71:12,    206:9, 208:19,             different.. [1] - 137:15   distinguishes [3] -        33:25, 39:17, 41:8,
   83:14                     211:2, 213:7               differently [1] - 14:24     109:4, 114:4, 114:8       46:12, 55:14, 88:21,
  deliberation [4] -        Description [3] -           difficult [1] - 31:4       distract [1] - 70:11       101:14, 118:4,
   11:20, 62:25, 69:4,       96:24, 97:18, 206:4        difficulty [1] - 115:9     distributes [1] - 78:4     121:9, 155:10,
   213:24                   descriptions [1] -          dire [1] - 4:23            distributors [1] -         166:12, 167:10,
  deliberations [4] -        154:8                      DIRECT [3] - 3:2,           90:18                     195:5, 199:14,
   64:14, 68:11, 70:7,      deserves [1] - 68:6          104:19, 156:6             DISTRICT [5] - 1:1,        212:10
   82:19                    design [1] - 107:22         direct [14] - 66:10,        1:2, 1:4, 215:9,         draw [2] - 108:1,
  demand [1] - 90:16        designated [1] - 157:6       66:11, 66:18,              215:10                    118:21
  demonstrate [1] -         designed [2] - 77:22,        110:25, 120:11,           DIVISION [1] - 1:2        drawings [1] - 183:4
   177:25                    108:7                       138:7, 173:22,            DO [1] - 215:10           drew [1] - 22:20
  demonstrates [1] -        despite [1] - 88:1           176:6, 183:12,            document [29] -           drive [1] - 21:21
   178:10                   detail [3] - 10:1, 94:25,    184:19, 198:14,            73:24, 92:8, 92:23,      drivers [2] - 48:17,
  Dena [2] - 8:17, 25:15     97:19                       199:3, 210:25              93:12, 94:24, 96:13,      48:18
  denied [4] - 41:22,       detailed [2] - 93:13,       directing [1] - 46:10       99:5, 99:19, 100:18,     driving [4] - 30:6,
   41:24, 151:10,            96:2                       disagree [3] - 14:18,       119:9, 119:16,            30:7, 48:15, 80:4
   208:25                   determine [29] -             15:3, 195:10               121:24, 124:1,           drunk [3] - 48:15,
  denies [1] - 9:24          12:15, 12:17, 12:18,       disagreement [1] -          127:8, 146:21,            48:16, 48:18
  Department [15] -          13:2, 79:11, 84:20,         72:10                      147:11, 147:22,          due [8] - 24:23, 75:12,
   80:17, 81:7, 86:21,       84:23, 85:7, 93:4,         disclose [6] - 79:11,       148:10, 166:24,           76:4, 88:16, 100:22,
   102:20, 116:8,            93:21, 119:19,              85:10, 94:22,              177:4, 179:7,             100:25, 102:18,
   116:15, 119:3,            129:23, 131:3,              145:15, 153:7,             190:14, 190:16,           124:25
   119:12, 124:2,            140:9, 142:19,              185:25                     190:17, 192:12,          duh [1] - 48:17
   125:23, 126:17,           142:25, 143:11,            disclosed [1] - 147:2       193:2, 198:19,           dumped [3] - 76:7,
   197:2, 197:20,            143:12, 163:19,            disclosing [1] -            204:17, 206:13            86:9, 132:7
   198:8, 200:7              163:20, 165:3,              163:23                    document's [1] -          dumping [5] - 80:6,
  department [3] - 47:4,     165:13, 167:13,            disclosure [1] - 85:11      127:12                    138:2, 138:3,
   158:14, 212:8             182:3, 182:22,             discover [1] - 130:16      documentation [4] -        140:16, 179:11
  Department's [1] -         183:24, 184:14,            discovered [2] -            95:22, 175:1, 177:8,     during [16] - 10:6,
   122:3                     187:7, 197:24               134:20, 136:5              178:9                     12:24, 16:15, 19:23,
  depicted [1] - 13:14      determined [1] - 94:18      discovering [1] -          documents [17] -           38:17, 38:20, 63:1,
  depicts [1] - 190:24      developed [1] - 96:6         76:17                      73:7, 86:17, 89:22,       63:11, 68:17, 70:7,
  deposition [13] -         diameter [4] - 120:25,      discovery [1] - 175:10      89:23, 89:24, 90:3,       91:4, 91:9, 153:11,
   150:5, 150:7, 157:8,      129:15, 129:17,            discuss [5] - 62:5,         141:12, 158:8,            154:3, 159:10,
   157:15, 157:23,           200:10                      69:12, 71:17, 146:8,       178:14, 178:15,           175:11
   173:23, 173:24,          diamond [1] - 47:1           213:21                     178:18, 193:6,           duties [61] - 9:22,
   174:4, 183:7,            Diaz [2] - 8:18, 26:7       discussing [2] -            204:24, 208:16,           12:13, 27:11, 29:16,
   187:13, 190:18,          dictionaries [1] -           68:23, 93:1                208:22, 209:4,            31:21, 31:24, 32:12,
   191:12, 210:9             69:17                      discussion [2] - 72:9,      209:23                    41:2, 47:20, 48:1,
  depositions [1] -         differ [1] - 65:14           179:7                     DOES [1] - 1:13            54:16, 75:5, 75:11,
   189:8                    difference [6] - 55:23,     dislikes [1] - 64:8        dog [1] - 13:16            75:24, 76:4, 76:18,
  describe [7] - 31:13,      113:11, 128:23,            display [1] - 201:2        dollar [1] - 81:2          78:21, 78:22, 79:12,
   79:7, 91:6, 97:6,         129:10, 129:18,            displayed [2] - 174:3,     dollars [3] - 75:14,       79:14, 80:16, 80:25,
   108:3, 113:4, 209:10      193:21                      201:4                      81:16, 87:20              82:16, 83:5, 83:10,
  described [9] - 9:20,     different [36] - 6:3,       dispute [3] - 48:8,        domestic [11] - 76:6,      84:23, 85:22, 86:5,
   82:24, 100:10,            14:23, 36:2, 36:21,         48:11, 73:3                76:11, 78:8, 141:6,       87:5, 88:16, 94:9,
   135:2, 137:2,             57:13, 75:23, 82:6,        disregard [7] - 65:24,      142:2, 142:3, 142:4,      100:22, 100:24,
   163:10, 163:15,           82:21, 100:21,              67:9, 67:12, 83:13,        161:16, 161:17,           102:18, 102:21,
   194:12, 194:19            101:20, 102:9,              84:15, 85:21, 103:9        162:1, 162:6              103:2, 129:23,
  describes [2] - 93:14,     102:15, 113:1,                                        domestically [2] -         130:24, 140:16,
                                                        distance [1] - 6:20
   192:21                    113:5, 113:6,                                          115:24, 141:18            141:4, 143:5,
                                                        distinct [2] - 82:9,
  describing [2] - 99:18,    113:19, 137:5,                                        done [9] - 13:5, 51:4,     148:21, 153:14,
                                                         82:20
   122:19                    137:11, 137:13,                                        112:7, 145:14,            153:19, 154:6,
                                                        distinction [3] - 56:25,
  description [20] -         137:14, 137:16,                                        173:8, 184:2, 184:4,      160:1, 160:3,
                                                         66:17, 159:25
   82:25, 84:9, 97:3,        137:17, 137:20,                                        184:5, 184:8              163:21, 163:25,
                                                        distinctive [3] - 108:2,
   97:18, 98:2, 98:16,       138:22, 139:1,                                        doors [1] - 8:10           165:5, 170:19,
                                                         109:1, 113:12
   98:19, 98:23, 99:6,       139:4, 143:5, 160:3,                                  doubt [2] - 35:20, 36:5    173:3, 173:19,
                                                        distinguish [2] -
   99:18, 111:17,            178:6, 196:6, 199:1,                                  down [23] - 7:2, 7:19,     178:25, 179:24,
                                                         113:22, 125:15
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    403 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          519Trial Page 226 of 244                 9


   182:5, 184:10,             186:16                     94:8, 97:13               148:16                    146:18, 154:17
   200:1, 200:17             education [1] - 104:24     encourage [2] - 80:2,     establishing [1] -        EXAMINATION [4] -
  duty [91] - 9:20, 12:14,   effectively [2] -           80:3                      100:23                    104:19, 132:13,
   14:12, 14:13, 15:9,        141:17, 142:1             encourages [1] -          et [5] - 4:6, 16:9,        154:14, 156:6
   27:25, 29:2, 29:3,        efficiently [1] - 126:14    76:21                     32:12, 61:21, 214:3      examine [4] - 5:14,
   33:1, 35:10, 37:11,       effort [5] - 86:20,        end [25] - 6:3, 7:19,     ETR [1] - 49:16            30:15, 71:6, 71:8
   56:5, 57:9, 64:1,          126:16, 129:23,            7:21, 11:11, 14:15,      eventually [2] -          examined [3] - 22:7,
   64:2, 65:18, 68:17,        130:12, 187:5              15:2, 36:4, 37:14,        106:22, 117:5             92:15, 119:4
   75:9, 75:19, 79:17,       efforts [1] - 129:21        41:19, 64:12, 68:11,     everywhere [1] -          example [7] - 13:4,
   80:10, 80:13, 80:18,      eight [12] - 23:6, 23:7,    68:18, 78:6, 83:17,       131:11                    95:13, 96:3, 98:17,
   80:22, 81:17, 82:13,       37:18, 37:22, 42:1,        86:8, 88:6, 88:9,        evidence [114] - 12:19,    99:13, 178:24, 206:5
   82:23, 83:1, 84:18,        42:15, 60:19, 61:6,        95:25, 108:2, 108:3,      12:22, 13:22, 14:1,      Excel [1] - 117:24
   85:8, 86:11, 86:14,        61:8, 62:13, 91:10         108:4, 108:7,             14:3, 14:11, 14:14,      excellent [3] - 164:13,
   87:9, 87:21, 87:23,       eight-person [1] -          108:16, 112:2,            15:4, 18:23, 19:17,       185:22, 190:10
   88:1, 94:3, 95:18,         23:7                       138:18                    19:18, 22:1, 22:4,       except [2] - 6:8,
   98:7, 99:16, 100:25,      eight-year [1] - 91:10     ended [2] - 105:11,        26:14, 28:1, 30:11,       131:11
   117:12, 129:25,           either [6] - 12:4,          105:15                    30:14, 30:25, 31:1,      excerpt [1] - 168:15
   130:2, 130:4, 130:9,       66:10, 66:18, 83:12,      ends [1] - 113:17          32:6, 33:6, 33:15,       exchanged [1] - 145:8
   131:1, 137:2, 137:7,       149:11, 189:14            enforce [2] - 73:5,        35:23, 36:5, 36:25,      exclude [1] - 72:16
   137:10, 137:12,           El [2] - 28:6, 56:20        136:17                    37:13, 48:12, 48:20,     excluded [2] - 65:23,
   140:10, 140:25,           elaborating [1] - 73:8     engaged [2] - 178:1,       48:24, 49:4, 49:5,        72:12
   143:8, 153:7, 158:2,      elaboration [1] - 73:10     178:10                    50:12, 51:24, 61:2,      exclusion [1] - 72:9
   164:2, 165:5,             elbow [1] - 98:18          engine [1] - 117:18        61:19, 62:14, 64:3,      excuse [17] - 6:2, 6:3,
   165:10, 165:13,           elbows [1] - 99:14         engineer [1] - 21:20       64:10, 64:17, 64:19,      20:10, 23:6, 42:4,
   165:24, 166:6,                                       English [1] - 24:5         64:20, 64:23, 64:24,      42:11, 42:19, 43:5,
                             electronic [2] - 68:24,
   167:14, 167:17,                                      ensure [2] - 69:22,        65:2, 65:5, 65:6,         43:17, 44:8, 44:22,
                              179:21
   169:9, 170:11,                                        163:14                    65:10, 65:13, 65:18,      61:11, 61:12, 63:17,
                             elements [1] - 98:21
   170:12, 170:16,                                      ensuring [2] - 160:20,     65:20, 65:25, 66:1,       71:14, 182:4, 204:5
                             eliminated [1] -
   170:23, 171:3,                                        163:9                     66:3, 66:4, 66:7,        excused [7] - 42:25,
                              105:17
   171:24, 176:10,                                      enter [1] - 8:10           66:9, 66:10, 66:11,       45:5, 45:10, 59:15,
                             email [10] - 68:25,
   176:24, 179:4,                                       entire [4] - 70:2,         66:14, 66:16, 66:18,      60:13, 61:13, 63:23
                              85:17, 121:20,
   179:15, 180:13,                                       162:4, 191:13, 193:2      66:20, 66:21, 66:22,
                              123:20, 124:4,                                                                executive [11] -
   180:25, 181:5,                                                                  66:23, 66:25, 67:8,
                              147:14, 148:3,            ENTITLED [1] - 215:14                                156:14, 159:19,
   181:23, 182:23,                                                                 67:10, 67:23, 67:25,
                              148:6, 148:18,            entity [1] - 78:19                                   159:24, 160:13,
   183:16, 183:25,                                                                 68:2, 68:14, 69:14,
                              148:23                    entry [12] - 73:5,                                   160:19, 160:24,
   184:15, 187:8,                                                                  69:23, 70:12, 70:25,
                             emails [1] - 179:2          99:22, 201:7,                                       164:18, 165:22,
   187:14, 188:11,                                                                 71:2, 71:5, 71:7,
                             employed [6] - 15:22,       204:18, 204:21,                                     177:8, 180:7, 199:10
   196:19, 197:22,                                                                 71:9, 74:11, 74:12,
                              18:1, 21:19, 22:19,        206:14, 207:1,                                     executives [1] - 116:6
   197:25, 198:3, 200:1                                                            75:20, 77:8, 77:13,
                              53:7, 105:11               208:9, 208:14,                                     exempt [1] - 127:8
  Dyer [2] - 8:19, 26:23                                                           81:18, 81:20, 81:22,
                             employed.. [1] - 18:3       209:10, 209:23,                                    Exemption [1] -
                                                         210:18                    82:4, 82:14, 83:18,       127:12
                             employee [7] - 143:23,
             E                144:20, 144:22,           environmental [1] -        84:10, 84:14, 84:21,     exercise [2] - 42:1,
                                                         28:7                      85:24, 86:1, 87:11,       163:19
  e-mail [2] - 120:5,         144:25, 148:4,
                                                        equity [1] - 157:3         87:12, 88:8, 103:18,
                              152:6, 152:17                                                                 Exhibit [42] - 92:3,
   121:23                                                                          103:19, 103:21,
                             employees [11] -           Esmeralda [2] - 8:21,                                92:22, 95:12, 97:12,
  E-s-p-i-r-i-t-u [1] -                                                            147:22, 153:13,
                              89:12, 140:17,             28:5                                                98:4, 99:2, 107:8,
   46:8                                                                            154:4, 167:22,
                              143:13, 143:14,           especially [2] - 79:5,                               110:13, 110:18,
  early [4] - 5:12, 45:3,                                                          189:24, 192:11,
                              143:16, 151:16,            89:18                                               119:23, 119:25,
   91:9                                                                            192:13, 192:15,
                              151:17, 158:10,           Espiritu [2] - 46:7,                                 120:4, 121:11,
  easily [1] - 117:24                                                              206:17, 206:19
                              159:4, 188:19              52:8                                                121:15, 122:8,
  east [1] - 27:20                                                                Evidence [1] - 72:18
                             employer [7] - 40:22,      ESQUIRE [4] - 2:7,                                   124:8, 124:12,
  eavesdrop [1] - 38:14                                                           evil [1] - 91:16
                              45:11, 69:6, 69:8,         2:7, 2:11, 2:12                                     124:16, 127:4,
  economic [1] - 80:2                                                             ex [1] - 1:6
                              145:3, 145:5, 146:1       essence [1] - 86:1                                   127:17, 128:15,
  economies [1] - 80:8                                                            exact [2] - 161:22,
                             employers [1] -            essential [2] - 72:24,                               164:4, 164:7,
  edge [5] - 77:22,                                                                162:9                     167:21, 167:25,
                              145:16                     88:19
   108:17, 113:13,                                                                exactly [8] - 39:22,       175:21, 175:23,
                             employing [1] - 95:6       essentially [6] - 87:2,
   138:15                                                                          40:3, 89:15, 100:24,      189:24, 192:8,
                             employment [6] -            120:24, 138:11,
  edges [4] - 83:22,                                                               101:19, 119:19,           193:7, 193:10,
                              15:23, 16:1, 18:8,         138:12, 197:3,
   121:6, 122:6, 125:15                                                            123:10, 142:11            194:1, 197:8,
                              53:1, 105:4, 105:15        209:25
  educate [2] - 158:2,                                                            examination [2] -          197:11, 198:20,
                             empty [3] - 45:18,         established [1] -
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    404 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          520Trial Page 227 of 244               10


   198:21, 199:4,            211:18                       75:8, 79:22, 79:24,       felt [5] - 119:1, 122:1,     173:12, 175:6,
   201:2, 201:5,            exports [2] - 31:17,          106:8, 135:22,              123:12, 136:12,            185:5, 185:12,
   201:11, 206:15,           51:5                         136:9, 136:10,              141:8                      186:9, 212:2, 213:2,
   206:23                   exposed [4] - 68:16,          161:21, 161:23,           Fermin [2] - 8:18, 26:7      213:4
  exhibit [26] - 66:23,      70:4, 118:11, 186:2          161:25, 162:7,            few [3] - 5:16, 68:7,      fit [7] - 82:21, 97:4,
   67:2, 67:3, 73:4,        exposure [1] - 133:2          167:12                      158:10                     102:3, 108:7,
   73:6, 73:7, 73:12,       express [7] - 62:6,         fairly [1] - 6:12           field [1] - 75:10            108:11, 119:19,
   92:3, 93:14, 95:17,       62:10, 62:23, 71:19,       fairness [1] - 70:1         fifth [2] - 110:25,          211:7
   100:8, 110:21,            88:22, 146:10,             faith [1] - 73:24             204:4                    fits [3] - 102:14,
   111:1, 112:5,             213:23                     fall [5] - 15:7, 60:18,     figure [1] - 25:11           138:15, 138:24
   112:10, 120:12,          extension [1] - 195:7         98:11, 99:5, 101:9        figures [6] - 158:14,      fitting [27] - 77:21,
   122:11, 123:7,           extent [5] - 10:20,         falls [1] - 165:14            158:15, 158:23,            86:25, 99:9, 100:11,
   126:25, 128:5,            81:11, 129:12,             false [17] - 75:21,           159:3, 161:22,             106:24, 107:18,
   128:12, 133:24,           187:5, 194:24                76:2, 76:5, 81:24,          162:10                     108:13, 108:22,
   147:2, 191:13,           extra [2] - 26:15,            82:1, 82:16, 82:20,       figuring [1] - 98:11         109:3, 110:8, 113:9,
   191:22, 192:7             138:15                       83:9, 83:13, 84:15,       file [2] - 85:17, 179:6      113:10, 113:15,
  exhibits [4] - 12:23,     eye [2] - 87:11, 122:11       85:20, 85:25, 88:12,      filed [1] - 149:2            114:5, 114:9, 118:7,
   65:1, 65:5, 107:4                                      88:14, 89:6, 95:14,       files [2] - 89:25            118:13, 118:20,
  existed [1] - 85:5                    F                 96:21                     fill [4] - 45:24, 95:24,     122:2, 126:3, 134:9,
  existing [2] - 117:3,                                 False [2] - 76:14,            116:10, 213:5              137:12, 189:15,
   117:10                   fabrication [1] - 106:6       88:11                     filled [3] - 96:14,          195:25, 196:7, 202:9
  expand [1] - 153:23       face [3] - 102:14,          falsely [3] - 9:20, 9:21,     108:25, 153:3            fittings [48] - 75:15,
  expect [3] - 71:2,          104:10                      87:25                     filling [3] - 7:21,          77:16, 78:4, 80:19,
   87:12, 177:10            facilities [1] - 109:15     familiar [23] - 6:12,         95:25, 96:19               93:17, 98:17, 99:13,
  expects [1] - 10:16       fact [26] - 30:17, 33:4,      78:16, 109:25,            filter [1] - 118:4           101:1, 101:11,
  expedited [1] - 93:10       65:2, 66:12, 66:15,         110:21, 111:20,           filters [1] - 118:5          101:15, 101:17,
  expensive [1] - 117:1       68:1, 68:2, 82:1,           111:23, 112:3,            final [3] - 64:13, 72:8      101:20, 102:8,
  experience [30] - 14:8,     82:15, 84:4, 84:10,         114:3, 118:24,                                         102:9, 106:5,
                                                                                    finally [3] - 85:24,
   20:19, 22:7, 22:24,        85:4, 86:4, 124:25,         119:10, 133:6,                                         106:12, 106:14,
                                                                                      94:14, 125:22
   29:16, 29:17, 29:21,       142:6, 144:5,               133:8, 135:24,                                         106:19, 109:4,
                                                                                    financial [1] - 47:8
   30:5, 30:12, 30:19,        167:13, 171:1,              139:18, 155:2,                                         113:23, 114:5,
                                                                                    fine [4] - 45:2, 73:16,
   31:14, 31:17, 31:23,       172:4, 188:5, 191:6,        177:15, 186:2,                                         115:10, 118:3,
                                                                                      152:7, 165:1
   32:23, 41:1, 41:11,        195:15, 195:20,             191:15, 195:21,                                        118:5, 118:24,
                                                                                    finish [3] - 11:10,
   41:18, 51:9, 53:19,        195:21, 195:23,             197:5, 197:16,                                         119:1, 119:6, 119:8,
                                                                                      11:25, 39:13
   54:16, 54:20, 86:12,       201:20                      201:7, 204:20                                          121:4, 121:7, 121:8,
                                                                                    finishes [1] - 5:12
   115:15, 115:18,          facts [23] - 12:15,         familiarity [2] -                                        122:6, 122:7,
                                                                                    fire [7] - 77:24, 90:24,
   116:5, 116:13,             12:17, 12:19, 13:2,         195:23, 196:13                                         124:25, 125:13,
                                                                                      93:16, 102:6, 109:7,
   117:11, 118:8,             14:4, 14:5, 14:15,        family [2] - 69:5, 69:7                                  125:15, 125:16,
                                                                                      123:3
   118:25, 172:11             15:5, 22:2, 30:10,        fancy [1] - 86:14                                        134:2, 137:3,
                                                                                    firearm [1] - 107:20
  experienced [1] - 59:1      31:1, 34:9, 37:12,        far [8] - 24:7, 39:21,                                   169:10, 176:11,
                                                                                    first [45] - 7:18, 8:2,
  experiences [4] -           37:13, 51:11, 64:3,         39:22, 46:19, 55:1,                                    176:25, 196:20,
                                                                                      8:7, 8:16, 12:14,
   29:5, 30:22, 58:16,        64:4, 64:25, 65:8,          70:12, 131:12,                                         198:4, 200:2,
                                                                                      14:12, 29:20, 35:12,
   119:11                     65:14, 66:15, 67:13,        183:19                                                 200:10, 207:22
                                                                                      40:9, 41:15, 42:1,
  expert [9] - 72:11,         69:20                     Farm [1] - 27:7                                        five [12] - 5:4, 55:18,
                                                                                      42:2, 45:24, 55:14,
   72:24, 85:9, 85:11,      fail [1] - 95:4             faster [3] - 12:2,                                       55:22, 58:9, 81:8,
                                                                                      68:8, 70:21, 72:8,
   102:12, 112:23,          failed [1] - 86:2             126:9, 126:14                                          92:16, 94:15,
                                                                                      79:6, 82:2, 85:1,
   133:11, 133:13,          failing [2] - 148:20,       father [3] - 24:1,                                       119:11, 140:6,
                                                                                      86:13, 87:17,
   134:23                     148:22                      135:18, 135:20                                         197:21, 198:4
                                                                                      103:14, 103:22,
  expert's [1] - 85:12      fair [47] - 14:10, 17:17,   feature [2] - 108:16,                                  five-month [1] - 94:15
                                                                                      105:6, 106:20,
  expertise [1] - 112:25      23:1, 23:8, 23:9,           109:1                                                fix [1] - 116:2
                                                                                      107:17, 112:7,
  experts [1] - 72:21         23:14, 23:16, 25:7,       features [2] - 113:12,                                 flag [1] - 130:23
                                                                                      113:11, 117:20,
  expires [1] - 197:18        26:17, 27:25, 28:10,        113:22                                               flat [2] - 83:24, 105:7
                                                                                      120:22, 122:14,
  explain [9] - 12:12,        28:13, 28:25, 30:9,       FEDERAL [2] - 1:23,                                    FLOOR [1] - 2:8
                                                                                      123:1, 123:6, 123:7,
   90:3, 94:24, 101:19,       33:16, 37:19, 37:23,        215:21                                               Florida [1] - 10:20
                                                                                      132:18, 133:2,
   101:22, 102:13,            41:1, 41:13, 41:20,       federal [3] - 32:17,                                   flow [2] - 102:10,
                                                                                      147:6, 164:17,
   107:15, 123:8, 151:3       48:6, 48:16, 48:19,         76:14, 88:19                168:9, 168:12,             102:14
  explained [2] - 102:3,      48:23, 50:1, 50:11,       Federal [3] - 72:18,          171:8, 192:20,           flowing [1] - 102:5
   212:22                     50:14, 51:2, 51:11,         76:16, 168:18               194:15                   focus [4] - 96:20,
  explanation [3] -           57:18, 57:22, 57:23,      fell [2] - 98:13, 139:7     firsthand [11] - 172:4,      96:23, 161:18,
   15:12, 211:15,             57:24, 59:2, 69:22,       fellow [2] - 68:10, 69:2      172:13, 173:9,             184:12
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    405 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          521Trial Page 228 of 244               11


  focusing [3] - 125:5,        180:1, 186:21            generalized [2] - 93:7,    graduated [4] - 105:1,       83:6, 84:2, 85:15,
   171:8, 210:13             forwarded [1] - 148:18      94:21                      105:2, 105:5, 132:20        86:6, 87:1, 90:3,
  fold [1] - 27:25           forwarding [1] - 148:2     generally [1] - 94:12      GRAND [1] - 2:8              90:23, 91:3, 91:12,
  folks [3] - 103:12,        foundation [6] -           Genius [4] - 130:15,       grand [1] - 156:24           95:1, 95:18, 95:24,
   185:24, 186:9               73:22, 109:21,            130:17, 131:13,           granted [2] - 72:16,         96:16, 98:12, 98:20,
  follow [8] - 16:6, 16:8,     112:22, 113:25,           131:17                     72:19                       100:2, 100:23,
   47:16, 48:7, 48:9,          115:3, 146:21            gentlemen [16] - 7:17,     ground [1] - 4:21            101:18, 102:11,
   64:5, 85:12, 182:24       four [14] - 5:1, 5:4,       8:23, 9:15, 10:13,        grounds [1] - 141:20         102:19, 103:13,
  follow-up [2] - 16:6,        5:6, 5:9, 6:10, 15:18,    11:9, 37:8, 60:24,        Group [1] - 160:16           129:6
   16:8                        25:22, 42:14, 55:18,      61:14, 74:9, 76:9,        group [2] - 160:25,         heard [19] - 19:12,
  followed [3] - 30:10,        118:4, 118:7,             88:18, 89:3, 103:4,        177:19                      21:24, 38:12, 40:23,
   99:21, 183:2                118:13, 118:20,           103:17, 146:4,            group's [1] - 169:20         47:9, 47:11, 62:17,
  following [8] - 36:3,        203:25                    213:19                    grouped [1] - 162:22         66:13, 89:19, 97:6,
   44:15, 60:10, 70:20,      fourth [1] - 94:8          get-go [1] - 77:5          groups [1] - 160:15          103:17, 114:17,
   93:25, 100:3,             fractional [1] - 156:20    given [11] - 66:18,        guaranteed [1] - 39:16       127:13, 135:7,
   100:15, 206:1             frame [3] - 130:19,         66:19, 69:3, 70:7,        guard [1] - 23:21            139:19, 139:25,
  FOR [2] - 215:8, 215:9       184:12, 184:13            70:15, 70:16, 81:11,      guess [7] - 34:11,           140:4, 173:9, 173:12
  forced [1] - 76:6          fraud [3] - 6:9, 40:21,     82:19, 116:13,             48:22, 67:7, 108:3,        hearing [1] - 70:12
  FOREGOING [1] -              41:18                     151:9, 211:25              119:17, 149:11,            hearsay [4] - 127:6,
   215:12                    fraudulent [1] - 96:21     glass [1] - 5:19            161:19                      127:8, 173:13, 212:1
  foreign [10] - 75:7,       free [2] - 39:14, 44:24    glasses [3] - 167:10,      guilty [1] - 35:19          held [1] - 86:20
   75:9, 79:20, 79:24,       freely [8] - 144:1,         167:11, 168:2             guys [2] - 42:22, 73:16     HELD [1] - 215:13
   90:15, 90:17, 90:20,        144:4, 144:23,           Glen [1] - 154:21                                      hello [6] - 17:20, 19:2,
   140:9, 143:9, 161:18        145:7, 145:12,           Glendale [1] - 56:20                                    22:12, 26:6, 31:11,
                                                                                              H                 57:10
  foreign-made [1] -           149:8, 149:9, 150:1      Glenn [3] - 134:13,
   90:17                     frequently [2] -            147:14, 148:24            H-e-r-r [1] - 46:6          Hello [1] - 17:21
  foremost [1] - 107:17        164:15, 164:20           global [6] - 142:12,       H-e-r-r-e-r-a [1] - 46:9    help [9] - 61:3, 65:12,
  forged [1] - 99:8          friend [1] - 54:25          159:22, 160:7,            half [4] - 5:6, 5:8, 5:9,    70:13, 71:1, 76:22,
  forget [2] - 11:25,        friends [2] - 33:8,         160:15, 160:20,            129:16                      104:7, 104:8,
   44:24                       33:20                     171:19                    halfway [1] - 39:10          155:23, 164:11
  forgive [1] - 185:19       front [10] - 8:16,         globally [1] - 142:9       hand [12] - 9:12, 12:5,     helpful [3] - 144:17,
  form [22] - 62:6, 62:9,      30:23, 35:1, 45:25,      Gloria [2] - 46:9, 52:20    24:10, 29:19, 31:8,         159:3, 213:13
   62:14, 62:16, 62:19,        46:3, 95:18, 147:12,     glove [1] - 82:22           51:18, 60:23, 82:21,       helps [2] - 145:14,
   62:23, 71:18, 73:4,         162:10, 182:1            goal [1] - 91:21            86:20, 96:18, 107:4         151:3
   95:13, 96:14, 97:13,      frustrates [1] - 214:6     God [5] - 11:9, 61:3,      handed [2] - 107:7,         HENDY [5] - 2:7, 72:4,
   146:9, 153:3,             fulfill [3] - 19:24,        104:7, 104:8, 155:23       112:9                       72:23, 73:2, 164:12
   201:11, 202:12,             27:11, 27:24             Golan [2] - 8:13, 23:20    handful [2] - 118:12,       Hendy [6] - 4:9, 7:10,
   207:4, 207:5, 207:8,      full [5] - 10:20, 79:19,   Gomez [2] - 8:4, 19:4       162:22                      10:14, 72:4, 76:10,
   210:19, 211:1,              85:11, 104:12, 156:1     goods [2] - 75:7,          handle [1] - 155:15          164:11
   213:22                    function's [1] - 12:13      79:21                     hands [2] - 35:11,          HEREBY [1] - 215:10
  formal [5] - 86:20,        fundamentally [1] -        Google [5] - 86:15,         60:18                      Herr [2] - 46:6, 50:19
   99:3, 170:8, 170:15,        102:15                    87:4, 117:18,             happy [2] - 38:17,          Herrera [2] - 46:9,
   170:17                    future [1] - 103:2          126:12, 145:20             151:3                       52:20
  FORMAT [1] - 215:15                                   Googled [3] - 117:16,      hard [1] - 161:15           hesitation [1] - 59:3
  formatted [1] - 117:24                G                117:17, 117:19            Harmonized [7] -            Hi [1] - 24:18
  formed [1] - 62:20                                    gotcha [1] - 193:16         97:21, 98:1, 98:3,         hide [1] - 100:12
  former [17] - 43:5,        G-o-l-a-n [1] - 8:14       govern [1] - 64:14          99:11, 101:3,              high [2] - 18:12, 35:20
   140:17, 143:13,           G-o-m-e-z [1] - 8:4        Government [7] -            166:20, 213:6              higher [1] - 161:14
   143:16, 143:23,           gain [1] - 130:12           75:6, 79:18, 79:20,       hate [3] - 48:14, 50:10,    highlight [1] - 165:17
   144:20, 144:22,           game [2] - 32:7, 41:3       90:1, 113:21, 114:3,       166:2                      highly [1] - 95:23
   144:25, 145:3,            gap [2] - 108:22,           137:24                    head [4] - 54:7, 86:2,      Hills [3] - 17:24,
   145:5, 145:16,             108:24                    government [16] -           114:22, 136:7               26:25, 50:5
   146:1, 148:4,             Gardena [1] - 49:13         32:17, 34:18, 34:21,      health [1] - 95:2           hindered [1] - 59:4
   151:16, 152:6,            GARY [1] - 1:4              35:18, 55:5, 59:18,       hear [43] - 5:20, 9:12,     hired [1] - 106:20
   159:4, 188:19             GASKET [1] - 1:13           59:20, 76:3, 81:4,         23:4, 24:9, 26:13,         historic [1] - 116:13
  forms [3] - 96:19,         general [12] - 12:1,        83:9, 88:15, 94:12,        34:19, 38:11, 40:9,        historically [1] -
   99:22, 209:11              12:3, 16:11, 20:22,        98:5, 136:16               40:12, 46:20, 53:25,        161:12
  forthright [1] - 79:3       20:25, 21:4, 22:23,       Government's [1] -          54:7, 66:6, 67:19,         history [1] - 29:17
  fortunately [1] - 91:24     54:14, 54:24, 99:15,       77:1                       72:22, 78:25, 80:6,        hit [1] - 168:4
  forward [3] - 76:21,        128:1, 140:20             grades [1] - 95:3           81:7, 82:8, 82:11,         hold [1] - 45:8
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    406 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          522Trial Page 229 of 244               12


  hole [3] - 108:10,         166:16, 167:6,             94:18, 94:23, 95:19,     importing [26] - 32:14,     126:1, 205:16
   138:16, 138:24            167:12, 167:16,            96:7, 103:12, 130:2,       41:12, 75:22, 75:23,    indicated [5] - 5:24,
  home [33] - 16:4, 17:9,    182:7, 182:9,              130:12, 130:21,            79:9, 82:4, 82:6,         41:7, 41:9, 41:17,
   18:6, 19:9, 19:10,        182:14, 182:19,            131:11, 140:25,            83:4, 83:20, 88:5,        58:25
   20:14, 21:22, 22:15,      202:1, 206:1, 206:2,       160:21, 160:25,            100:13, 102:24,         indicates [11] -
   22:16, 23:24, 24:25,      206:3, 206:7,              162:2, 164:18,             131:14, 131:15,           125:13, 128:1,
   25:16, 26:9, 26:10,       208:18, 209:16             165:4, 165:22,             131:18, 136:15,           201:17, 203:7,
   27:5, 27:8, 27:21,       human [1] - 109:17          169:17, 169:19,            141:8, 173:1,             203:18, 205:23,
   27:22, 35:25, 45:9,      humbling [1] - 14:8         170:6, 170:9, 171:9,       183:23, 198:9,            207:5, 207:21,
   45:13, 47:5, 47:6,       hundred [1] - 157:1         174:11, 177:9,             201:17, 202:1,            207:25, 208:3, 208:6
   49:18, 49:19, 50:7,      hundreds [2] - 14:6,        177:15, 177:18,            205:19, 206:12,         indicating [1] - 209:4
   50:8, 53:9, 53:10         208:10                     179:7, 180:2, 180:8,       208:14                  indication [2] - 121:3,
  honest [1] - 89:10        hurt [1] - 76:6             184:23, 185:15,          imports [11] - 32:25,       207:9
  honestly [1] - 47:14      husband [3] - 21:19,        185:16, 185:18,            41:18, 47:16, 78:8,     individual [3] - 16:10,
  honor [2] - 76:11, 79:1    27:6, 47:7                 188:6, 194:9,              80:15, 115:9,             29:11, 34:17
  Honor [67] - 4:8, 4:12,   husband's [1] - 25:17       199:11, 200:24             136:13, 173:8,          individually [2] - 12:7,
   4:20, 7:12, 10:12,       hydrants [1] - 90:24       Import [5] - 130:14,        211:19, 212:8,            46:17
   10:24, 11:7, 35:3,                                   130:16, 131:13,            213:16                  Industries [8] - 4:10,
   40:24, 42:4, 42:18,                                  131:17, 160:16           impose [1] - 78:24
                                        I                                                                    7:10, 76:12, 77:15,
   43:12, 43:25, 44:3,                                 important [18] - 14:17,   imposed [5] - 80:18,        105:12, 105:19,
   57:10, 59:21, 72:4,      i.e [1] - 91:6              29:4, 30:21, 30:24,        81:7, 83:7, 143:9,        116:20, 133:7
   72:17, 74:16, 74:21,     ICU [1] - 25:2              31:2, 33:3, 33:5,          197:22                  INDUSTRIES [1] - 1:7
   92:20, 102:1,            idea [2] - 75:10,           33:14, 49:2, 51:23,      imposes [3] - 75:6,       industries [2] -
   103:15, 103:25,            148:15                    68:4, 77:17, 78:15,        79:19, 80:24              149:24, 150:2
   104:18, 107:3,           identical [6] - 86:23,      79:5, 88:18, 106:24,     imposition [2] -          industry [13] - 84:2,
   109:22, 110:19,            129:13, 138:8,            140:12, 213:9              153:14, 154:5             105:10, 105:23,
   112:4, 115:4,              138:10, 138:11,          importantly [1] - 109:3   impossible [1] - 130:9      106:7, 114:16,
   119:22, 121:10,            138:20                   importation [11] -        impressed [1] -             132:23, 134:6,
   124:10, 126:21,          identified [2] - 89:21,     20:20, 20:22, 20:23,       103:10                    138:14, 140:22,
   127:6, 127:7,              113:21                    30:2, 32:11, 53:19,      impression [2] -            144:1, 145:8,
   128:11, 129:2,           Identify [1] - 176:8        55:1, 59:1, 153:3,         205:10, 205:14            149:23, 152:13
   129:5, 146:19,           identifying [1] - 98:6      161:1, 209:16            improper [1] - 65:19      influence [2] - 30:6,
   146:20, 147:21,          identities [1] - 110:1     importations [3] -        IN [3] - 215:8, 215:13,     70:16
   148:9, 150:4,            identity [4] - 109:19,      31:14, 31:17, 54:16        215:15                  influenced [3] - 64:7,
   150:19, 151:10,            110:4, 110:6, 134:10     imported [20] - 9:19,     inaccurate [1] - 73:8       65:21, 70:11
   152:2, 154:10,           ignorance [2] - 83:14,      75:14, 75:16, 81:15,     inadequate [1] - 81:10    informal [1] - 16:24
   155:7, 155:9,              85:25                     81:24, 82:2, 82:12,      inadmissible [1] -        information [44] -
   155:12, 155:15,          ignorant [1] - 32:1         91:8, 136:10, 153:8,       127:5                     33:5, 68:16, 70:5,
   156:5, 164:5,            ignore [3] - 63:6, 63:7,    161:5, 161:9, 162:6,     Inaudible [1] - 17:10       125:9, 131:12,
   166:22, 167:21,            67:6                      162:7, 163:5, 182:8,     Inc [2] - 4:6, 127:22       136:21, 140:19,
   173:25, 174:2,           illegally [1] - 86:9        203:8, 205:16,           INC [2] - 1:7, 1:11         141:15, 142:13,
   175:25, 183:8,           imagine [3] - 107:24,       205:24, 205:25           inch [1] - 129:16           143:24, 144:3,
   189:25, 198:15,            108:5, 149:24            importer [19] - 78:14,    inches [3] - 120:24,        144:4, 144:8,
   198:23, 198:25,                                      78:19, 81:3, 83:4,         129:17, 200:10            144:21, 144:23,
                            immediately [6] -
   201:1, 208:23,                                       85:20, 87:3, 87:7,                                   145:7, 145:9,
                              69:13, 70:5, 86:3,                                 include [1] - 177:2
   210:10                                               87:13, 87:19, 87:24,                                 145:12, 145:15,
                              117:25, 118:21,                                    included [3] - 167:17,
  HONORABLE [1] - 1:4         130:23                    88:3, 90:6, 95:20,                                   146:3, 148:6, 149:6,
                                                                                   191:14, 196:10
  hope [1] - 10:19                                      126:8, 154:24,                                       149:7, 149:16,
                            impartial [4] - 14:10,                               includes [3] - 68:23,
  hopefully [2] - 7:3,                                  163:1, 163:4, 163:8,                                 149:19, 149:21,
                              27:25, 57:19, 57:22                                  98:19, 200:9
   24:5                                                 163:18                                               149:23, 149:25,
                            impeaching [1] -                                     including [8] - 69:5,
  hopes [1] - 80:4                                     importers [20] - 75:12,                               150:3, 151:18,
                              150:20                                               90:11, 91:11, 93:15,
  hour [2] - 39:4, 60:6                                 78:24, 79:2, 79:4,                                   151:20, 151:21,
                            impeachment [4] -                                      93:17, 94:7, 103:12,
  hours [6] - 5:1, 5:4,                                 79:6, 79:10, 84:19,                                  152:12, 158:13,
                              147:8, 150:23,                                       198:9
   5:9, 39:8, 86:19,                                    84:22, 96:18,                                        158:15, 172:13,
                              151:4, 151:6                                       increase [1] - 141:13
   126:7                                                129:24, 140:10,                                      173:12, 177:19,
                            implies [1] - 69:4                                   independent [1] -
  house [2] - 28:22,                                    140:16, 140:18,                                      188:10, 198:8,
                            impolite [1] - 63:7                                    28:20
   175:8                                                142:21, 143:1,                                       212:25, 213:1,
                            import [47] - 29:25,                                 independently [2] -
  Houston [1] - 96:12                                   143:14, 148:20,                                      213:16
                              41:11, 51:5, 84:12,                                  213:5, 213:17
  hs [1] - 138:23                                       151:17, 155:4,                                     Ingay [1] - 185:19
                              89:8, 89:13, 92:1,                                 indicate [5] - 13:5,
  HTS [16] - 97:24,                                     177:11                                             inherited [2] - 135:17,
                              92:16, 93:5, 93:21,                                  34:15, 125:17,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    407 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          523Trial Page 230 of 244               13


    135:19                   interpretations [1] -        100:19, 103:25,          jobs [1] - 116:11          25:9, 25:14, 25:21,
  inheriting [1] - 174:18      14:23                      105:11, 105:19,          JOHN [1] - 1:13            26:4, 26:6, 26:11,
  initial [1] - 165:25       interrogatories [1] -        105:25, 106:8,           Johnson [2] - 46:5,        26:16, 26:19, 26:22,
  input [2] - 41:16,           176:4                      106:11, 106:23,            50:4                     27:2, 27:6, 27:13,
    62:15                    interrogatory [2] -          107:8, 110:13,           Joined [1] - 4:14          27:16, 27:18, 27:23,
  inquire [2] - 104:17,        175:14, 176:7              115:8, 115:15,           joined [8] - 7:13,         28:3, 28:5, 28:11,
    156:4                    interrupt [3] - 38:20,       116:14, 116:20,            10:14, 10:25,            28:15, 28:17, 28:20,
  inquiries [1] - 86:3         146:5, 166:2               117:3, 124:8,              106:11, 125:21,          28:24, 29:7, 29:9,
  insofar [1] - 70:16        intimate [1] - 195:3         124:16, 127:3,             133:3, 133:5, 134:12     29:22, 29:24, 30:16,
  inspect [2] - 109:14,      introduce [1] - 10:4         132:2, 132:4, 133:3,     joining [1] - 134:17       31:3, 31:6, 31:9,
    109:15                   introduced [2] -             133:4, 133:6,            Joshua [2] - 8:20,         31:11, 31:15, 31:19,
  inspection [1] - 94:16       11:14, 12:23               134:12, 134:18,            27:19                    31:25, 32:4, 32:8,
  instance [2] - 118:3,      invested [1] - 157:2         135:16, 136:7,           Judge [11] - 22:12,        33:2, 33:13, 33:23,
    122:22                   investigated [1] -           141:17, 142:24,            23:2, 23:15, 23:18,      34:1, 34:6, 34:14,
  instead [3] - 100:19,        140:15                     147:19, 154:24,            25:14, 31:11, 32:9,      35:14, 35:16, 35:21,
    102:4, 138:25            investigation [18] -         155:12, 164:3,             82:15, 83:16, 89:2,      36:1, 36:7, 36:10,
  instruct [6] - 16:9,         79:19, 119:5,              175:10, 175:20,            89:20                    36:13, 36:17, 36:19,
    64:1, 66:2, 68:19,         134:12, 134:18,            189:23, 197:8,           judge [4] - 23:10,         36:23, 37:1, 37:4,
    71:10, 82:15               134:23, 135:1,             206:15                     33:13, 77:9, 147:5       37:7, 46:24, 47:1,
  instructed [1] - 65:24       135:14, 137:3,           ISLAND [1] - 1:7           JUDGE [1] - 1:4            47:3, 47:7, 47:14,
  instructing [3] -            139:6, 139:10,           Island's [8] - 72:11,      JUDICIAL [1] - 215:16      47:22, 48:2, 48:7,
    61:16, 62:4, 101:9         140:7, 142:18,             73:3, 106:4, 106:18,     July [1] - 92:25           48:25, 49:7, 49:10,
                               142:23, 143:22,            106:25, 114:25,          June [1] - 160:11          49:13, 49:15, 49:20,
  instruction [3] - 36:4,
                               144:18, 148:19,            115:23, 132:8                                       49:25, 50:2, 50:4,
    97:14, 98:10                                                                   Junior [1] - 8:18
                               153:12, 154:4            issue [5] - 6:8, 73:2,                                50:9, 50:13, 50:16,
  instructions [15] -                                                              juries [2] - 36:16,
                             investigations [1] -         83:11, 152:16,                                      50:18, 50:22, 50:25,
    61:2, 61:17, 64:13,                                                              55:12
                               69:19                      170:21                                              51:3, 51:13, 51:16,
    64:15, 68:15, 69:15,                                                           Juror [47] - 16:17,
                             invoice [13] - 97:1,       issued [2] - 86:21,                                   51:19, 52:3, 52:5,
    95:23, 96:3, 96:6,                                                               16:19, 25:11, 29:20,
                               100:4, 100:6, 100:8,       92:17                                               52:7, 52:12, 52:17,
    97:10, 97:15, 99:21,                                                             36:15, 40:16, 40:25,
                               153:6, 203:2, 203:4,     issues [3] - 32:1,                                    52:20, 52:23, 52:25,
    100:4, 100:15                                                                    41:6, 41:9, 42:5,
                               203:12, 203:15,            42:24, 68:17                                        53:2, 53:5, 53:8,
  instructor [2] - 26:24,                                                            42:11, 42:19, 43:5,
                               207:11, 207:19,          IT [2] - 158:14                                       53:11, 53:13, 53:17,
    27:3                                                                             43:7, 43:9, 43:13,
                               208:6, 209:13            ITC [1] - 117:21                                      53:21, 53:24, 54:2,
  Insurance [1] - 27:7                                                               43:17, 43:19, 44:8,
                             involved [21] - 6:11,      item [5] - 4:4, 98:13,                                54:5, 54:10, 54:12,
  intend [1] - 11:3                                                                  44:9, 44:17, 44:18,
                               10:9, 11:16, 12:9,         182:25, 183:3, 184:5                                54:18, 54:22, 55:7,
  intended [2] - 65:12,                                                              44:20, 44:21, 45:14,
                               32:15, 32:25, 33:21,     item's [1] - 94:6                                     55:10, 55:17, 55:22,
    204:8                                                                            45:16, 45:17, 45:19,
                               55:5, 58:7, 69:6,        items [4] - 94:6, 96:20,                              56:1, 56:4, 56:6,
  intention [1] - 153:16                                                             45:20, 46:22, 49:8,
                               105:23, 106:7,             190:16, 196:17                                      56:10, 56:13, 56:16,
  intentionally [2] -                                                                55:13, 58:25, 59:9,
                               106:23, 116:8,           itself [3] - 103:21,                                  56:18, 57:3, 57:8,
    153:13, 154:5                                                                    59:16, 59:21, 60:12,
                               116:9, 118:1,              128:9, 177:5                                        57:10, 57:14, 57:17,
  interest [4] - 67:21,                                                              60:15, 61:10
                               170:21, 176:3,                                                                 57:20, 58:4, 58:6,
    157:3, 178:13,                                                                 JUROR [186] - 12:10,
                                                                                                              58:9, 58:14, 58:18,
    178:15                     176:5, 180:11, 198:4                J                 16:21, 17:1, 17:6,
                                                                                                              58:20, 61:4
  interested [1] - 186:22    involvement [1] -                                       17:10, 17:16, 17:18,
                                                        J-o-h-n-s-o-n [1] -                                 juror [46] - 7:18, 8:7,
  interesting [2] - 81:22,     180:10                                                17:20, 17:22, 17:24,
                                                          46:5                                                9:10, 11:24, 15:17,
    91:13                    involves [3] - 68:17,                                   18:1, 18:4, 18:7,
                                                        janitorial [1] - 25:17                                16:18, 17:14, 17:19,
  intermission [1] - 39:5      161:5, 161:9                                          18:9, 18:13, 18:17,
                                                        Japan [1] - 119:15                                    18:19, 19:1, 19:14,
  internal [3] - 93:23,      Irene [2] - 46:1, 46:24                                 18:20, 18:25, 19:2,
                                                        jazz [1] - 203:5                                      20:2, 20:17, 21:11,
    94:16, 94:22             iron [7] - 98:18, 98:22,                                19:4, 19:6, 19:8,
                                                        jealous [1] - 16:1                                    22:11, 23:17, 24:4,
  International [4] - 4:6,     99:14, 99:15,                                         19:11, 19:15, 19:19,
                                                        jeopardizes [1] - 70:1                                24:17, 25:4, 25:13,
    7:7, 117:21, 197:21        118:14, 118:15,                                       20:1, 20:5, 20:7,
                                                                                                              26:2, 26:5, 27:14,
                               118:17                   Jersey [4] - 10:17,          20:9, 20:12, 20:15,
  international [1] -                                                                                         27:17, 28:16, 31:10,
                             irrelevant [1] - 200:20      10:18, 11:5, 11:6          20:18, 20:23, 21:1,
    87:16                                                                                                     35:12, 41:7, 41:17,
                             IS [2] - 215:12, 215:15    Jewish [1] - 23:21           21:7, 21:10, 21:12,
  INTERNATIONAL [2] -                                                                                         43:9, 47:12, 49:24,
    1:11, 1:12               Isaiah [2] - 46:7, 52:7    Ji [1] - 144:13              21:15, 21:18, 21:22,
                                                                                                              50:17, 52:6, 52:11,
  internet [1] - 123:25      Island [56] - 4:9, 7:10,   jigsaw [5] - 13:5, 13:8,     22:3, 22:9, 22:12,
                                                                                                              52:14, 52:16, 52:19,
                               10:15, 10:21, 72:5,        14:1, 77:9, 77:11          22:17, 22:20, 23:2,
  Internet [4] - 68:25,                                                                                       53:23, 54:4, 55:19,
                               76:12, 76:15, 76:20,     job [7] - 32:1, 145:10,      23:10, 23:15, 23:18,
    69:17, 131:6, 213:4                                                                                       56:5, 56:17, 62:10,
                               77:3, 77:14, 77:15,        160:1, 170:18,             23:20, 23:25, 24:5,
  interpret [1] - 65:12                                                                                       63:9, 70:4
                               78:4, 86:7, 86:8,          184:18, 184:19,            24:11, 24:16, 24:18,
  interpretation [1] -                                                                                      JURORS [12] - 15:10,
                               90:14, 91:12, 95:14,       184:21                     24:22, 25:1, 25:5,
    142:17                                                                                                    15:14, 32:19, 32:22,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    408 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          524Trial Page 231 of 244               14


    34:23, 37:20, 37:24,      128:23                     147:1, 150:10,           213:19                   learn [17] - 69:19,
    38:15, 46:15, 46:21,     kinds [4] - 66:16, 82:1,    150:17, 150:19,        lading [3] - 204:12,         76:1, 76:5, 76:13,
    55:3, 57:25               113:23, 121:4              152:8, 152:21,           204:13, 208:3              77:18, 77:20, 78:7,
  Jurors [1] - 7:4           Klausner [4] - 82:15,       154:12, 154:15,        Lane [5] - 4:15, 7:14,       78:9, 78:18, 78:23,
  jurors [28] - 7:18,         83:16, 89:2, 89:21         155:7, 155:12,           11:2, 40:15, 42:10         79:25, 80:9, 80:24,
    7:20, 8:9, 8:24, 9:6,    KLAUSNER [1] - 1:4          156:5, 156:7, 164:8,   LANE [11] - 2:12,            83:21, 84:4, 85:3,
    9:14, 12:12, 15:8,       KLEEGER [3] - 1:23,         164:10, 164:13,          40:15, 40:19, 41:17,       90:8
    16:14, 26:12, 29:11,      215:8, 215:20              164:14, 167:4,           42:10, 43:4, 43:8,       learning [1] - 122:12
    30:21, 38:1, 39:25,      knowing [4] - 26:1,         167:5, 168:1, 169:6,     43:17, 44:7, 59:5,       least [1] - 28:23
    44:16, 45:9, 45:12,       89:5, 103:9, 186:12        169:8, 173:11,           59:9                     leave [4] - 45:18,
    45:23, 46:11, 57:22,     knowingly [1] - 83:13       173:15, 174:2,         language [7] - 24:8,         58:17, 70:18, 71:21
    60:10, 60:19, 62:16,     knowledge [31] -            174:7, 175:20,           41:15, 42:24,            led [1] - 94:25
    68:11, 69:3, 71:25,       20:19, 29:17, 30:18,       175:24, 176:2,           119:17, 120:20,          left [6] - 38:10, 43:21,
    74:7, 146:15              136:25, 140:20,            176:17, 177:7,           123:16, 125:1              44:11, 44:13, 59:17,
  JURY [1] - 71:23            166:24, 168:25,            182:15, 182:18,        last [18] - 8:3, 8:8,        71:25
  Jury [1] - 63:25            172:5, 174:16,             183:11, 186:23,          8:15, 28:23, 33:19,      legal [2] - 69:15, 78:24
  jury [55] - 5:17, 6:4,      174:21, 174:24,            189:18, 189:23,          33:22, 45:21, 46:7,      legally [1] - 78:20
    7:2, 9:11, 11:20,         175:6, 175:7,              190:2, 191:3,            55:9, 55:18, 59:10,      legible [2] - 120:15,
    12:13, 16:9, 16:16,       175:17, 181:15,            191:10, 192:8,           104:13, 125:25,            164:24
    23:7, 25:19, 35:10,       184:1, 184:8, 185:5,       192:17, 192:19,          156:2, 190:6,            Lemon [1] - 58:7
    38:21, 39:13, 44:23,      185:12, 186:9,             193:5, 193:11,           193:16, 195:5,           length [1] - 97:14
    44:25, 45:7, 45:13,       189:19, 190:14,            197:7, 197:12,           204:15                   lengthy [1] - 98:5
    51:24, 56:5, 57:9,        194:21, 195:3,             198:20, 198:25,        Last [1] - 8:13            less [6] - 75:8, 79:21,
    60:1, 60:21, 60:24,       196:16, 198:16,            199:3, 199:9,          late [3] - 134:14,           79:24, 81:10, 160:4,
    61:11, 61:15, 62:8,       200:5, 204:23,             199:15, 199:18,          214:4, 214:5               161:13
    62:12, 62:13, 62:15,      211:25, 212:2, 213:2       200:23, 201:1,         lau [1] - 155:15           letter [6] - 93:2, 93:3,
    62:18, 62:24, 63:3,      knowledgeable [1] -         201:6, 206:18,         LAU [6] - 2:12, 166:22,      100:9, 127:21,
    63:11, 63:25, 68:17,      102:13                     206:24, 206:25,          168:24, 177:4,             136:2, 178:23
    69:10, 69:25, 71:12,     known [5] - 87:4, 87:8,     208:23, 209:1,           190:13, 198:15           level [2] - 18:11, 75:10
    71:20, 74:8, 89:3,        97:4, 105:19, 111:20       209:2, 209:20,         Lau [3] - 4:14, 7:13,      Lexie [2] - 46:5, 50:4
    92:23, 104:23,           knows [1] - 190:20          210:9, 210:12,           11:1                     licensed [3] - 96:14,
    107:16, 113:4,           KRAMER [136] - 2:7,         210:16, 212:5, 212:6   launched [1] - 183:14        96:25, 170:4
    120:1, 121:16,            4:8, 4:19, 5:3, 5:7,      Kramer [15] - 4:9,      law [30] - 12:18, 14:14,   lie [5] - 82:5, 97:8,
    146:11, 146:15,           6:15, 6:22, 6:25, 7:9,     7:10, 10:14, 11:4,       14:18, 14:19, 14:21,       100:2, 100:13
    152:19, 152:23,           10:12, 40:24, 41:6,        40:25, 58:24, 73:23,     14:23, 15:2, 15:3,       lied [2] - 88:4, 103:8
    152:24, 174:3,            41:9, 42:4, 42:18,         76:10, 89:19, 91:6,      15:5, 18:16, 28:2,       lies [1] - 96:22
    213:24, 214:1             42:21, 42:24, 43:7,        97:6, 101:22, 102:3,     30:3, 30:10, 32:7,       life [3] - 13:6, 109:17,
  jury's [1] - 73:14          43:12, 43:23, 43:25,       133:24, 156:8            37:13, 41:11, 58:7,        135:17
                              44:3, 58:24, 59:13,       Kramer's [2] - 95:10,     64:1, 64:4, 64:5,        light [4] - 37:16,
             K                59:20, 59:24, 60:8,        140:8                    66:17, 68:15, 69:21,       67:25, 89:18, 111:6
                              74:16, 74:18, 74:21,                                71:10, 76:14,            limb [1] - 107:24
  Kathleen [2] - 8:15,        74:25, 75:4, 92:11,                  L              117:12, 119:4,           limine [1] - 4:25
   24:19                      103:25, 104:18,                                     119:12, 119:20,
                                                        Laboratories [6] -                                 limit [2] - 18:22, 26:13
  keep [14] - 15:24,          104:20, 107:7,                                      160:22
                                                          109:10, 109:25,                                  limited [3] - 22:4,
   41:8, 58:5, 68:9,          107:10, 109:24,                                   LAW [1] - 2:12
                                                          110:3, 110:10,                                     66:2, 66:3
   70:10, 70:19, 85:13,       110:19, 110:20,                                   laws [8] - 15:1, 78:24,
                                                          111:10, 189:3                                    line [10] - 91:2, 95:7,
   87:10, 112:8,              112:4, 112:8,                                       86:13, 89:13, 93:24,
   177:11, 177:24,                                      Laboratory [3] -                                     150:6, 150:7, 151:2,
                              112:12, 113:3,                                      94:7, 94:17, 136:17
   178:9, 178:13,                                         109:12, 109:18,                                    183:12, 192:20,
                              113:20, 114:2,                                    lawsuit [4] - 33:21,
   178:15                                                 189:21                                             201:15, 210:11
                              115:13, 120:1,                                      55:4, 55:5, 60:18
  Kelli [1] - 72:11                                     lack [2] - 112:22,                                 lines [5] - 54:17,
                              120:3, 121:16,                                    lawyer [6] - 66:22,
                                                          168:25                                             150:24, 151:1,
  KELLY [1] - 2:7             121:18, 121:19,                                     66:24, 66:25, 83:15,
                                                        lacks [2] - 113:25,                                  173:23, 211:1
  Kelly [8] - 4:9, 7:9,       124:13, 124:15,                                     116:21, 116:23
                                                          115:3                                            lips [1] - 38:14
   10:13, 10:19, 40:24,       126:21, 127:3,                                    lawyers [3] - 65:10,
                                                        ladies [14] - 7:16,                                Lisa [2] - 8:11, 21:12
   58:24, 76:9, 156:8         127:7, 127:11,                                      65:17, 159:9
  kind [15] - 6:10, 11:22,                                8:23, 9:15, 10:13,                               list [11] - 65:8, 117:21,
                              127:18, 127:20,                                   LAX [1] - 24:23
   16:8, 20:19, 30:5,                                     11:9, 37:8, 60:24,                                 117:23, 118:4,
                              128:11, 128:14,                                   lay [2] - 73:22, 146:20
   34:6, 62:11, 75:5,                                     61:14, 74:9, 76:9,                                 118:19, 147:2,
                              128:17, 129:5,                                    laying [1] - 138:25
   77:10, 77:21, 79:18,                                   88:18, 89:2, 103:4,                                157:24, 159:15,
                              129:8, 129:9,                                     lead [2] - 102:5,
   80:15, 102:6, 114:9,                                   146:4                                              187:4, 204:9, 207:25
                              132:10, 141:19,                                     138:24
                                                        Ladies [2] - 103:17,                               listed [2] - 109:9,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    409 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          525Trial Page 232 of 244               15


    189:2                       83:10, 88:15              211:13                    182:10                     63:17, 70:23,
  listen [5] - 10:10,         lost [1] - 55:17           mark [7] - 104:1,         meant [1] - 27:9            101:25, 146:7,
    62:13, 62:15, 87:11,      love [1] - 23:3             104:14, 110:10,          meat [1] - 103:20           146:12
    209:17                    LUCIUS [1] - 2:12           111:10, 189:10,          media [1] - 69:1           misdescribed [1] -
  listening [2] - 9:8,        Lucius [3] - 4:14,          189:11                   medium [1] - 21:19          82:10
    46:13                       7:13, 11:1               Mark [2] - 10:16, 86:6    meet [2] - 73:9, 115:20    misheard [1] - 138:6
  listing [1] - 84:6          lunch [10] - 39:6, 60:4,   marked [2] - 112:10,      meetings [2] - 116:10,     mislabeled [1] - 13:15
  lists [1] - 195:24            60:6, 61:12, 62:1,        143:3                     159:13                    missed [1] - 207:15
  literature [5] - 189:4,       63:23, 70:21, 71:15,     market [7] - 80:8,        members [3] - 63:3,        misstate [1] - 34:16
    189:7, 189:8,               74:3, 74:5                115:1, 115:20,            69:5, 92:23               misstatement [1] -
    191:22, 194:3                                         116:2, 123:3, 130:5,     Members [1] - 63:25         100:17
  live [21] - 15:20, 15:21,              M                132:1                    memory [4] - 65:16,        mistakes [1] - 157:18
    16:25, 17:1, 17:23,                                  market-based [1] -         67:20, 70:14, 70:17       mistrial [1] - 70:2
    19:5, 20:11, 21:15,       M-o-n-c-h-i-l [1] - 8:3     80:8                     Memphis [1] - 77:16        Mitch [4] - 7:10, 10:14,
    22:13, 24:19, 25:15,      M-o-n-t-e-s [1] - 46:4     marketing [2] - 84:5,     mention [1] - 5:16          10:17, 184:20
    26:7, 26:24, 27:20,       M-u-l-d-o-o-n [1] -         133:17                   mentioned [13] - 5:1,      Mitchell [5] - 4:9, 11:5,
    28:6, 46:25, 49:12,        8:12                      marketplace [8] -          5:18, 27:12, 29:15,        72:4, 76:10, 155:13
    49:13, 50:5, 52:8,        M.B.A [3] - 105:2,          80:5, 101:13,             33:9, 51:25, 68:8,        mitchell [1] - 156:3
    52:21                      132:21, 145:2              115:16, 122:21,           77:14, 79:17, 83:8,       MITCHELL [1] - 2:7
  lives [3] - 16:3, 18:6,     ma'am [1] - 206:18          131:5, 140:21,            109:6, 113:12,            mix [1] - 30:18
    20:14                     machine [1] - 19:8          141:23, 142:13            118:23                    Mode [1] - 96:4
  living [1] - 23:21          machinery [1] - 34:7       markets [2] - 188:25,     mentions [1] - 93:25       Momchil [1] - 17:22
  LLP [1] - 2:6               machinist [1] - 26:8        189:9                    Merchandise [2] -          moment [6] - 25:5,
  loaded [1] - 171:14         mail [2] - 120:5,          marks [1] - 189:14         96:24, 97:18               88:22, 107:2,
  located [1] - 78:12          121:23                    mask [5] - 6:17, 6:19,    merchandise [6] -           119:21, 126:4, 164:3
  location [1] - 16:25        main [2] - 91:21,           6:24, 6:25, 74:22         94:2, 165:4, 165:14,      Monchil [1] - 8:3
  logistical [1] - 6:15        138:16                    material [5] - 69:18,      202:16, 206:5, 206:9      money [3] - 32:17,
  logistics [1] - 30:2        maintained [1] -            108:25, 128:23,          merchant [1] - 112:16       55:6, 91:18
  look [41] - 14:3, 98:3,      161:16                     129:1, 129:10            Merit [2] - 142:7, 142:8   Monte [2] - 28:6,
    99:2, 101:10,             maintains [1] - 9:23       materially [1] - 88:12    merits [1] - 68:21          56:20
    107:11, 110:13,           major [1] - 144:11         materials [1] - 133:17    messaging [1] - 68:25      Monterey [1] - 20:12
    111:9, 112:13,            majority [2] - 161:7,      mathematically [1] -      met [2] - 156:9, 208:20    Montes [2] - 46:4,
    117:6, 123:6, 125:2,       161:8                      130:8                    metal [1] - 108:23          49:11
    126:11, 128:18,           management [1] -           Mathew [1] - 124:3        methodology [1] -          month [1] - 94:15
    136:15, 136:21,            142:13                    MATTER [1] - 215:14        93:20                     months [2] - 92:16,
    136:23, 150:8,            manager [6] - 20:7,        matter [15] - 4:17,       mic [2] - 29:12, 33:24      117:5
    150:16, 150:22,            20:8, 41:12, 86:7,         5:15, 34:19, 62:7,       microphone [3] -           morning [13] - 4:8,
    164:3, 164:22,             106:3, 115:14              62:10, 62:21, 62:23,      5:19, 25:11, 55:13         4:12, 7:9, 7:11,
    166:11, 167:20,           manhole [1] - 90:24         69:12, 71:19, 80:1,      middle [7] - 18:13,         23:18, 23:19, 25:14,
    175:20, 189:23,           manner [3] - 67:20,         90:15, 146:10,            18:14, 18:15, 46:1,        27:18, 38:24, 39:1,
    190:6, 191:12,             68:20, 109:16              170:23, 213:23            92:25, 125:5, 201:14       39:3, 39:18, 63:5
    197:7, 198:10,            manual [4] - 177:16,       matters [2] - 72:5,       might [23] - 22:5, 22:6,   Moss [1] - 56:19
    200:24, 202:11,            177:18, 177:21,            72:15                     31:4, 41:10, 52:11,       most [11] - 15:19,
    203:1, 203:10,             178:2                     Maximiliano [2] -          53:15, 67:7, 73:13,        24:11, 32:1, 47:16,
    204:4, 204:9,             manuals [1] - 126:11        46:3, 49:10               78:16, 79:23, 87:17,       77:17, 78:9, 80:14,
    204:12, 204:15,           manufactured [1] -         MAYER [1] - 2:6            117:3, 122:22,             96:17, 106:24,
    205:15, 206:14,            106:12                    mean [5] - 48:17, 49:2,    156:18, 171:23,            145:13, 161:5
    207:8, 208:10             manufacturer [3] -          62:9, 120:22, 138:12      180:12, 185:12,           motion [2] - 72:16,
  looked [5] - 86:10,          141:7, 142:2, 142:3       meaning [4] - 168:19,      186:10, 187:18,            115:6
    93:17, 118:19,            manufacturers [8] -         205:21, 212:12,           187:21, 187:24,           motions [1] - 4:24
    131:7, 205:8               76:6, 80:4, 81:11,         213:4                     188:10, 212:9             mouthful [1] - 80:20
  looking [5] - 15:13,         131:4, 131:7, 134:1,      meaningful [3] -          million [3] - 76:3,        move [12] - 50:25,
    51:5, 116:7, 134:21,       142:19, 144:12             159:25, 169:19,           83:10, 88:16               72:18, 105:16,
    196:8                     manufactures [2] -          170:1                    millions [4] - 75:14,       105:17, 147:21,
  loose [1] - 62:1             76:12, 77:16              means [16] - 38:5,         81:15, 87:20, 130:20       148:9, 173:11,
  Los [4] - 27:20, 28:18,     manufacturing [4] -         39:7, 50:14, 64:9,       mind [2] - 15:24, 68:9      182:15, 193:7,
    52:23, 52:24               27:20, 106:5,              64:20, 67:10, 68:24,     minute [3] - 39:12,         196:15, 206:19,
  LOS [5] - 1:19, 1:24,        109:15, 161:16             77:3, 81:2, 89:20,        61:23, 107:15              208:23
    2:9, 4:1, 215:4           marbles [1] - 35:25         96:6, 102:4, 107:18,     minutes [11] - 6:1, 6:2,   moved [1] - 206:17
  lose [4] - 42:16, 44:5,     March [2] - 157:13,         113:18, 165:9,            6:5, 6:14, 60:4,          moving [2] - 16:15,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    410 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          526Trial Page 233 of 244               16


   180:1                    167:5, 168:1,             49:9, 50:18, 52:7,        nice [1] - 117:23                   O
  MR [191] - 4:8, 4:12,     168:24, 169:6,            76:9, 96:9, 103:24,       nine [1] - 174:18
   4:19, 4:20, 5:3, 5:7,    169:8, 173:11,            104:13, 116:16,           Ningsih [1] - 20:5        o'clock [14] - 4:22,
   5:24, 6:15, 6:22,        173:15, 174:2,            124:1, 124:3, 156:1,      nipples [1] - 97:4         4:23, 7:3, 39:2, 39:6,
   6:25, 7:9, 7:11,         174:7, 175:20,            156:2, 156:8, 212:13      nobody [3] - 14:9,         39:7, 39:10, 39:14,
   10:12, 10:24, 35:3,      175:24, 176:2,           name's [2] - 8:13, 8:15     70:18, 130:21             39:16, 40:2, 62:2,
   40:24, 41:6, 41:9,       176:17, 177:4,           named [1] - 11:4           nobody's [2] - 13:12,      71:16, 74:4, 213:20
   42:4, 42:18, 42:21,      177:7, 182:15,           names [2] - 34:25,          13:19                    O-r-e-l [1] - 8:13
   42:24, 43:7, 43:12,      182:18, 183:11,           122:21                    non [1] - 98:22           Oakland [2] - 105:2,
   43:23, 43:25, 44:3,      186:23, 189:18,          narcotics [1] - 31:22      nonalloy [1] - 99:15       132:21
   58:24, 59:13, 59:20,     189:23, 190:2,           national [2] - 80:1,       none [4] - 67:16, 83:6,   oath [2] - 12:23, 64:11
   59:24, 60:8, 72:4,       190:13, 191:3,            106:3                      117:13, 176:20           object [5] - 65:19,
   72:17, 72:23, 73:2,      191:10, 192:8,           native [1] - 11:1          nonpublic [4] -            66:25, 141:19,
   73:21, 74:16, 74:18,     192:17, 192:19,          nature [2] - 81:11,         143:23, 144:1,            147:1, 150:19
   74:21, 74:25, 75:4,      193:5, 193:11,            187:5                      145:15, 149:20           objected [1] - 73:7
   89:2, 92:7, 92:11,       197:7, 197:12,           nearly [1] - 76:8          nonresponsive [2] -       Objection [1] - 166:22
   92:14, 92:22, 102:1,     198:15, 198:20,          necessarily [3] - 23:8,     182:16, 208:24           objection [37] - 65:21,
   103:25, 104:18,          198:25, 199:3,            68:2, 143:25              noon [1] - 45:10           65:22, 67:1, 67:2,
   104:20, 107:7,           199:9, 199:15,           necessary [1] - 160:21     normal [1] - 151:22        67:5, 109:21,
   107:10, 109:21,          199:18, 200:23,          Nee [1] - 144:14                                      110:14, 110:16,
                                                                                normally [3] - 6:4,
   109:24, 110:19,          201:1, 201:6,            need [13] - 12:3,                                     112:22, 113:25,
                                                                                 16:8, 214:1
   110:20, 112:4,           206:18, 206:24,           74:18, 84:23, 85:10,                                 115:3, 115:11,
                                                                                NORTH [1] - 1:24
   112:8, 112:12,           206:25, 208:23,           85:12, 85:13,                                        119:23, 121:12,
                                                                                Norwalk [2] - 19:6,
   112:22, 113:3,           209:1, 209:2,             104:10, 144:6,                                       124:9, 126:23,
                                                                                 26:7
   113:20, 113:25,          209:20, 210:9,            155:5, 165:8,                                        126:24, 127:15,
                                                                                Nos [1] - 1:13
   114:2, 115:3,            210:12, 210:16,           165:12, 167:11                                       129:2, 150:18,
                                                                                notes [10] - 70:9,
   115:13, 120:1,           212:5, 212:6             needed [4] - 143:9,                                   152:8, 152:21,
                                                                                 70:10, 70:11, 70:13,
   120:3, 121:12,          MS [10] - 40:15, 40:19,    144:9, 157:24, 187:4                                 164:4, 167:23,
                                                                                 70:14, 70:15, 70:17,
   121:16, 121:18,          41:17, 42:10, 43:4,      needs [2] - 92:4,                                     168:24, 174:6,
                                                                                 70:19, 179:6
   121:19, 124:13,          43:8, 43:17, 44:7,        119:13                                               175:21, 177:4,
                                                                                nothing [14] - 17:11,
   124:15, 126:21,          59:5, 59:9                                                                     183:9, 190:13,
                                                     NEIL [1] - 1:11             36:11, 56:2, 56:14,
   126:25, 127:3,          Muldoon [2] - 8:12,                                                             193:8, 197:8,
                                                     net [1] - 185:23            57:6, 104:6, 148:22,
   127:5, 127:7,            22:13                                                                          198:15, 201:3,
                                                     never [26] - 51:25,         149:2, 151:8,
   127:11, 127:14,         multi [1] - 97:13                                                               206:20, 206:21
                                                      76:4, 79:14, 81:18,        152:23, 154:10,
   127:18, 127:20,         multi-page [1] - 97:13                                                         objections [1] - 65:17
                                                      83:25, 85:4, 85:21,        155:7, 155:22
   128:11, 128:14,         multipage [2] - 93:12,                                                         objective [4] - 19:18,
                                                      87:14, 88:2, 88:17,       notice [3] - 87:12,
   128:17, 129:2,           95:17                                                                          28:2, 37:14, 93:20
                                                      133:9, 133:10,             125:10, 204:16
   129:5, 129:8, 129:9,    multiple [4] - 73:8,                                                           Objectives [1] - 93:19
                                                      136:10, 136:14,           notify [1] - 69:7
   132:10, 132:14,          101:18, 130:18            137:23, 139:22,           notion [3] - 100:1,       obligated [1] - 79:11
   141:19, 141:25,         must [18] - 12:14,         139:24, 139:25,            100:12, 102:25           obligation [8] - 19:24,
   146:19, 146:24,          12:18, 64:5, 64:7,        140:4, 143:18,            November [2] - 147:15      84:19, 90:6, 145:3,
   147:1, 147:8,            64:9, 64:20, 65:21,       153:5, 156:8, 170:8,      number [15] - 4:4, 7:5,    163:5, 163:18,
   147:10, 147:21,          65:25, 66:4, 67:6,        171:1, 192:24,             16:14, 33:24, 44:16,      186:15, 186:17
   148:1, 148:9,            67:10, 68:9, 68:13,       199:14                     51:8, 51:10, 68:3,       obligations [4] -
   148:17, 149:17,          68:15, 69:11, 79:6,      New [5] - 10:17, 10:18,     97:1, 97:2, 97:5,         78:24, 79:4, 103:9,
   150:4, 150:10,           81:4                      11:5, 11:6, 39:12          97:21, 107:6,             145:5
   150:13, 150:17,
                                                     new [11] - 12:11, 43:5,     182:25, 203:4            observation [1] -
   150:19, 150:25,
                                      N               46:11, 57:21, 87:16,      Number [10] - 8:2,         154:7
   151:2, 151:10,
                                                      149:2, 182:25,             8:11, 15:20, 15:22,      observations [1] -
   151:12, 151:14,         N-i-n-g-s-i-h [1] - 8:8
                                                      183:2, 183:18, 184:5       20:3, 40:18, 50:3,        133:23
   152:4, 152:8,           nailed [1] - 25:23
                                                     next [25] - 5:19, 17:19,    55:13, 55:14, 176:14     obtain [1] - 174:12
   152:14, 152:21,         name [42] - 7:17, 8:2,
                                                      19:1, 22:11, 23:17,       numbers [5] - 16:17,      obtaining [1] - 174:22
   153:1, 154:2,            8:3, 8:7, 8:8, 10:13,     24:17, 26:5, 26:21,        94:2, 97:3, 100:5,       obvious [1] - 51:22
   154:10, 154:12,          10:19, 15:20, 16:14,      27:17, 28:16, 31:10,       199:1                    obviously [4] - 51:7,
   154:15, 155:7,           16:21, 17:21, 19:3,       50:17, 52:6, 52:19,       nurse [5] - 25:2,          56:22, 119:2, 123:2
   155:9, 155:12,           20:4, 21:12, 22:13,       56:5, 56:17, 73:1,         26:23, 26:24, 27:3,      occasions [1] - 88:13
   155:15, 156:5,           23:20, 24:18, 25:13,      94:14, 100:10,             52:8                     occupation [9] - 16:5,
   156:7, 164:8,            25:15, 26:6, 26:22,       151:13, 152:25,           NW [1] - 2:13              16:20, 17:3, 17:5,
   164:10, 164:12,          27:19, 34:19, 40:12,      155:11, 200:22,                                      17:25, 19:7, 20:6,
   164:13, 164:14,          45:22, 46:7, 46:23,       203:10, 203:12                                       47:2, 49:14
   166:22, 167:4,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    411 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          527Trial Page 234 of 244               17


  occupations [1] - 33:8      160:15, 163:8,             55:15, 67:8, 80:13,      122:25, 123:5,             49:19, 50:7, 53:10,
  occurred [2] - 130:1,       163:13, 172:23,            80:18, 80:21, 80:22,     130:22, 131:8,             70:4, 72:20
   170:2                      173:2, 173:5,              80:23, 80:24, 81:4,      131:9, 131:10,            overly [1] - 70:10
  ocean [1] - 208:3           175:13, 177:23,            81:17, 85:1, 85:4,       131:11, 133:18,           overrule [1] - 67:1
  Ocean [1] - 96:4            178:8, 187:3,              85:5, 85:8, 86:11,       134:4, 134:7,             overruled [3] - 141:21,
  OCTOBER [3] - 1:19,         187:12, 187:13,            86:14, 86:18, 86:25,     171:14, 180:4,             152:9, 182:17
   4:1, 215:17                191:25, 193:23,            87:1, 87:2, 87:9,        184:14, 189:15,           oversee [1] - 160:7
  OF [15] - 1:1, 1:2, 1:6,    196:20, 196:23,            87:21, 87:22, 101:1,     190:11, 191:1,            overseeing [6] -
   1:18, 2:4, 2:5, 2:10,      203:18, 204:23,            115:22, 117:15,          191:4, 192:4,              160:24, 164:18,
   71:23, 215:2, 215:4,       205:3, 205:8,              123:14, 123:17,          192:21, 194:7,             165:22, 177:9,
   215:6, 215:10,             205:11, 205:15,            125:20, 127:22,          194:12, 194:16,            180:8, 199:11
   215:12, 215:15,            206:15, 207:19,            137:10, 137:12,          201:23, 202:4,            owe [2] - 32:17, 55:6
   215:16                     207:21, 207:22,            137:25, 165:14,          202:7, 202:9,             own [2] - 41:10, 73:7
  offended [1] - 38:9         209:3, 210:18              165:24, 166:6,           202:20, 202:23,           ownership [1] -
  offering [1] - 211:15      one's [3] - 48:9, 48:10,    166:7, 167:14,           204:6, 204:7, 206:2,       156:16
  offers [1] - 66:23          86:22                      167:20, 168:6,           208:21, 209:12            owns [1] - 51:6
  officer [2] - 22:14,       ones [2] - 56:22, 56:23     168:8, 168:9,           outlet's [1] - 129:3
                             Online [1] - 139:19         168:13, 168:15,         outlets [67] - 77:24,
   31:16
                                                         168:16, 168:17,
                                                                                                                       P
  offices [1] - 92:15        open [1] - 68:9                                      78:1, 78:5, 78:10,
  OFFICIAL [3] - 1:23,       opening [21] - 6:2,         168:19, 169:1,           80:15, 81:16, 83:21,      pack [2] - 95:18, 153:7
   215:8, 215:21              60:3, 60:7, 61:20,         169:9, 169:13,           84:3, 84:8, 86:18,        package [4] - 205:1,
  official [1] - 93:2         63:24, 65:11, 70:22,       170:16, 171:3,           91:3, 91:4, 91:8,          205:5, 205:18,
                              70:23, 70:25, 71:3,        171:24, 176:10,          91:11, 98:11, 99:4,        205:23
  officials [2] - 92:14,
                              71:4, 72:7, 73:24,         176:25, 181:5,           99:5, 99:19, 101:2,       Packer [1] - 185:13
   94:5
                              74:10, 74:14, 77:7,        182:9, 187:8,            101:9, 101:14,            packet [4] - 201:11,
  often [4] - 116:7,
                              89:1, 93:15, 103:18        196:19, 197:22,          101:16, 101:21,            202:11, 206:14,
   122:20, 122:21,
                             openings [1] - 5:25         197:25, 198:3,           101:23, 102:2,             207:1
   145:10
                             operates [1] - 78:25        199:20, 200:1,           102:21, 102:24,           packets [8] - 73:5,
  ON [2] - 2:5, 2:10
                             operation [1] - 160:25      200:6, 200:9,            106:5, 109:13,             153:9, 201:8,
  on-site [1] - 94:15
                             operations [13] -           200:12, 200:14           111:17, 112:19,            204:19, 208:9,
  once [12] - 5:11, 5:14,
                              159:24, 160:21,           ordered [3] - 63:2,       115:1, 115:16,             208:14, 209:23,
   8:9, 13:6, 13:17,
                              164:18, 165:22,            67:11, 69:12             115:19, 115:25,            210:19
   14:13, 56:20, 81:18,
                              177:9, 179:7, 180:8,      ordering [1] - 30:1       118:17, 122:22,           packing [2] - 204:9,
   129:21, 130:22
                              184:23, 185:15,           orders [15] - 80:10,      128:24, 129:22,            207:25
  one [102] - 5:12, 5:16,
                              185:16, 185:18,            117:12, 137:7,           131:14, 131:16,           page [59] - 93:14,
   6:15, 9:5, 9:6, 9:14,
                              188:7, 199:11              164:2, 165:13,           131:24, 131:25,            93:20, 93:25, 94:10,
   11:21, 15:1, 15:19,
                             Operations [1] -            167:17, 170:11,          132:5, 132:8,              94:14, 95:18, 95:21,
   16:6, 21:4, 24:1,
                              160:16                     170:13, 170:19,          132:25, 133:2,             97:13, 97:17, 98:9,
   25:16, 33:12, 34:12,
                             operator [1] - 19:8         170:23, 181:24,          133:11, 133:20,            98:10, 98:16, 100:7,
   35:24, 36:17, 36:24,
                             opinion [10] - 62:14,       197:3, 197:6, 198:5,     134:2, 134:24,             101:5, 101:6,
   37:11, 38:8, 38:21,
                              62:16, 62:17, 62:19,       200:8                    139:22, 153:4,             110:25, 120:11,
   39:12, 41:6, 42:14,
                              62:21, 64:16,             ordinary [1] - 147:18     153:8, 161:2,              123:6, 125:2, 125:6,
   43:21, 44:10, 46:18,
                              173:17, 174:12,           Orel [2] - 8:13, 23:20    162:14, 162:16,            150:6, 166:12,
   49:2, 49:3, 51:10,
                              174:22, 178:23            origin [1] - 96:8         162:22, 173:3,             168:19, 173:22,
   51:22, 55:22, 56:6,
                             opinions [7] - 62:7,       original [1] - 127:21     176:9, 176:24,             178:7, 183:6, 190:6,
   57:11, 57:12, 59:10,
                              62:10, 62:23, 64:8,       Orvis [1] - 149:4         187:7, 188:25,             191:21, 192:7,
   59:17, 63:8, 66:14,
                              71:19, 146:10,            otherwise [4] - 60:17,    189:1, 192:1, 196:6,       192:9, 192:16,
   75:25, 76:11, 76:24,
                              213:23                     62:19, 151:19,           207:22                     192:20, 193:16,
   77:1, 78:15, 82:17,
                             opportunities [1] -         179:22                  outline [2] - 10:8, 71:1    193:25, 198:14,
   84:2, 85:17, 85:18,
                              105:21                    outcome [2] - 67:21,     outlined [1] - 174:17       199:1, 199:4,
   91:2, 91:15, 91:18,
                             opportunity [5] -           77:4                    outright [1] - 88:4         201:10, 201:11,
   96:17, 97:14, 98:16,
                              67:18, 69:23, 74:13,      outlet [58] - 75:24,     outset [1] - 90:9           201:15, 201:24,
   98:24, 110:11,
   112:7, 117:20,             103:14, 157:17             77:18, 77:20, 82:7,     OUTSIDE [1] - 71:23         202:5, 202:7, 202:9,
   118:15, 118:22,           opposing [1] - 72:6         86:22, 86:24, 98:25,    outside [24] - 13:25,       202:11, 202:21,
   119:13, 119:16,           option [2] - 206:2,         99:9, 100:11, 102:4,     16:4, 17:9, 18:6,          203:1, 203:10,
   119:21, 134:10,            206:3                      102:5, 102:15,           19:10, 20:13, 22:6,        203:12, 204:4,
   143:12, 143:16,           options [1] - 134:21        107:1, 107:14,           22:16, 23:23, 24:25,       204:6, 204:7,
   144:5, 144:13,            oranges [2] - 82:10,        110:7, 111:16,           25:16, 26:10, 27:5,        204:15, 204:20,
   154:20, 158:21,            84:1                       111:18, 114:12,          27:22, 30:14, 30:22,       205:3, 210:7,
   159:21, 160:6,            order [72] - 4:22, 5:22,    114:17, 122:2,           32:14, 33:5, 47:6,         210:25, 212:16
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    412 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          528Trial Page 235 of 244               18


  PAGE [1] - 215:14          partner [1] - 18:10         41:23, 41:25, 42:2,      pick [2] - 39:15, 42:15   places [3] - 90:10,
  pages [7] - 97:14,         party [4] - 64:18,          42:8, 43:2, 43:15,       picture [6] - 77:10,       108:22, 126:11
   191:16, 192:10,            64:23, 69:23, 71:2         43:21, 59:17              77:18, 190:20,           PLAINTIFF [1] - 2:5
   192:14, 199:7,            Pasadena [2] - 50:19,      perfect [3] - 5:7,         190:23, 190:25           plaintiff [13] - 23:4,
   200:25, 205:8              56:20                      12:11, 38:1              piece [5] - 85:17,         34:17, 37:21, 42:3,
  paid [11] - 29:16,         pass [9] - 25:12, 26:5,    perfectly [1] - 152:7      85:18, 108:6,             42:13, 43:11, 43:22,
   54:17, 55:6, 76:4,         42:16, 44:4, 44:6,        performance [1] -          108:10, 198:17            57:24, 71:4, 71:7,
   81:18, 81:21, 88:17,       95:4, 95:5, 132:10,        94:11                    pieces [10] - 13:9,        95:14, 96:21, 100:19
   130:24, 141:2,             150:22                    perhaps [4] - 116:17,      13:11, 13:14, 13:18,     PLAINTIFFS [1] - 1:9
   153:20                    passed [2] - 95:4, 95:5     117:8, 130:24,            13:24, 13:25, 14:2,      plan [2] - 116:2, 116:3
  pandemic [1] - 24:23       passes [1] - 42:17          130:25                    14:3, 77:12, 108:23      planning [1] - 165:4
  panel [1] - 5:23           passing [1] - 29:12        period [10] - 83:8,       piggyback [1] -           plant [1] - 133:7
  paper [3] - 85:17,         past [3] - 20:19, 30:18,    91:9, 91:10, 93:1,        123:11                   play [1] - 171:22
   85:18, 179:21              145:19                     114:21, 130:21,          Pipe [6] - 101:8,         playing [1] - 75:10
  paperwork [5] - 30:2,      Pat [1] - 185:13            133:5, 162:4,             102:17, 139:11,          pleasant [1] - 74:3
   84:12, 201:17,            Patricia [4] - 4:16,        169:21, 169:22            139:12, 139:15,          pleasure [1] - 45:4
   201:19, 210:4              7:15, 11:6, 103:12        permanent [2] -            140:1                    plexiglass [4] - 6:18,
  Paquette [3] - 143:17,     pause [2] - 116:19,         113:19, 121:1            pipe [71] - 75:14,         6:21, 6:24, 74:24
   148:3, 149:20              119:21                    permanently [12] -         77:16, 77:21, 77:23,     Plexiglass [1] - 75:1
  paragraph [11] - 93:4,     pay [11] - 9:3, 9:13,       77:23, 83:23,             78:4, 80:19, 86:24,      plugged [1] - 92:9
   99:5, 121:2, 122:14,       47:23, 70:6, 75:12,        107:19, 108:12,           97:4, 98:17, 99:13,      podium [2] - 5:18,
   123:7, 125:5,              81:4, 130:4, 130:9,        108:13, 108:25,           101:1, 101:8, 102:3,      6:16
   125:17, 125:22,            148:21, 148:23             113:16, 120:25,           102:4, 102:8, 102:9,     Pogner [1] - 185:17
   125:25, 127:25,           paying [12] - 31:24,        125:18, 125:21,           105:8, 105:9,            point [6] - 50:24, 94:2,
   194:15                     76:18, 78:21, 87:22,       129:13, 138:19            105:15, 106:5,            122:5, 134:22,
  paragraphs [1] - 93:15      129:24, 140:10,           permit [1] - 97:19         106:6, 106:12,            185:4, 193:3
  pardon [2] - 92:19,         140:13, 140:16,           permitted [1] - 66:24      106:14, 106:19,          pointing [1] - 121:25
   150:25                     141:4, 144:7, 145:12      person [15] - 11:21,       106:21, 106:24,          points [1] - 94:4
  Park [1] - 20:12           pending [2] - 104:5,        12:5, 12:6, 23:7,         108:6, 108:8,            policy [1] - 80:1
  part [20] - 9:11, 13:25,    155:21                     25:18, 34:4, 45:24,       108:10, 108:11,
                                                                                                            Pomona [1] - 25:15
   47:20, 67:16, 97:7,       Penn [3] - 105:1,           68:23, 78:19, 146:1,      108:13, 108:22,
                                                                                                            Port [1] - 96:11
   98:5, 122:8, 125:8,        105:5, 132:20              152:12, 172:10,           111:24, 111:25,
                                                                                                            port [1] - 137:24
   140:7, 142:18,            pennies [2] - 156:21,       176:8, 177:2, 214:4       112:1, 112:2,
                                                                                                            portfolio [1] - 93:18
   142:23, 143:22,            156:22                    personal [12] - 64:7,      113:23, 114:4,
                                                                                                            portion [1] - 76:25
   158:7, 170:18,            people [26] - 8:24,         105:17, 133:23,           114:5, 114:9, 116:5,
                                                                                                            position [11] - 40:11,
   182:9, 198:7, 200:5,       11:21, 14:22, 23:5,        166:23, 168:25,           118:7, 118:10,
                                                                                                             42:7, 42:13, 43:1,
   200:6, 201:25,             23:6, 23:7, 23:13,         170:22, 172:5,            118:13, 118:20,
                                                                                                             43:10, 43:14, 43:20,
   204:18                     29:18, 30:7, 35:6,         172:13, 174:24,           119:5, 119:8, 121:4,
                                                                                                             63:10, 102:20,
  partially [1] - 176:5       37:19, 37:22, 48:15,       180:10, 190:13,           121:6, 121:7, 122:6,
                                                                                                             105:16, 181:19
  participants [1] -          62:13, 63:10, 69:6,        198:16                    122:7, 125:15,
                                                                                                            possible [3] - 10:5,
   150:1                      116:12, 131:9,            personally [10] - 16:7,    126:3, 128:2, 128:4,
                                                                                                             10:15, 59:3
  participating [1] -         144:1, 172:8, 172:9,       66:13, 115:15,            128:6, 128:7, 133:4,
                                                                                                            possibly [2] - 117:7,
   10:4                       184:23, 185:11,            149:6, 171:1,             133:5, 138:16,
                                                                                                             122:1
  particular [18] - 4:17,     185:25, 186:20,            171:22, 180:11,           138:24, 169:10,
                                                                                                            potential [2] - 117:15,
   5:15, 51:9, 80:6,          214:3                      184:13, 184:21,           176:10, 176:25,
                                                                                                             186:1
   95:19, 106:24,            People's [2] - 80:19,       194:25                    196:19, 198:4,
                                                                                   200:2, 200:9, 211:7      potentially [1] - 94:3
   107:20, 113:22,            169:10                    perspective [1] - 83:2
                                                                                  pipes [1] - 90:25         potter [1] - 187:21
   119:13, 143:8,            people's [1] - 29:5        persuaded [1] - 64:20
                                                                                  piping [12] - 83:23,      Powell [2] - 96:16,
   158:16, 170:21,           per [2] - 5:1, 5:9         PH [1] - 1:25
                                                                                   90:22, 93:16,             96:17
   185:7, 185:8,             percent [16] - 35:24,      phlebotomist [1] -
                                                                                   102:13, 106:7,           practices [6] - 75:9,
   190:10, 196:17,            81:1, 99:16, 130:2,        22:20
                                                                                   107:19, 107:21,           81:12, 91:23, 92:1,
   198:3, 204:20              130:4, 141:1,             phone [2] - 68:24,
                                                                                   107:23, 125:18,           92:18, 95:6
  particularly [6] -          161:11, 161:12,            124:4
                                                                                   191:7, 193:13            precedent [1] - 123:16
   38:10, 73:19,              161:20, 161:23,           phonetic [1] - 144:14
                                                                                  Piquet [3] - 143:18,      predating [1] - 127:8
   170:20, 172:7,             161:25, 162:3,            phrase [3] - 201:23,
                                                                                   144:10, 144:14           predominantly [1] -
   187:11, 197:5              162:5, 162:6,              202:20, 202:23
                                                                                  place [6] - 9:6, 13:21,    31:21
  parties [10] - 11:14,       162:11, 162:12            physical [1] - 12:23
                                                                                   13:23, 173:5, 173:6,     prefer [1] - 39:25
   33:16, 35:6, 35:7,        percentage [3] -           physically [3] -
                                                                                   194:18                   preferences [2] - 93:8,
   63:2, 69:22, 71:1,         161:9, 161:17, 162:8       129:13, 138:10,
                                                                                  placed [1] - 80:10         94:21
   72:10, 73:3, 78:12        peremptory [8] -            138:11
                                                                                                            preinstruct [1] - 61:25
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    413 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          529Trial Page 236 of 244               19


  preinstructions [4] -      80:7, 81:14, 92:10,      190:10, 191:22,        promised [1] - 39:13       49:20, 49:25, 50:2,
   60:6, 61:17, 63:18,       92:21, 116:2,            191:23, 192:3,         proof [8] - 35:18,         50:4, 50:9, 50:13,
   63:22                     145:18, 145:25,          192:21, 192:24,         35:23, 36:21, 55:24,      50:16, 50:18, 50:22,
  prejudice [1] - 67:22      146:2, 152:11,           194:3, 194:4, 194:6,    57:1, 57:13, 66:11,       50:25, 51:3, 51:13,
  prejudices [1] - 64:8      152:18, 165:17,          194:19, 195:5,          66:14                     51:16, 51:19, 52:3,
  premise [5] - 122:1,       167:9, 168:3             195:6, 195:7,          proper [2] - 97:20,        52:5, 52:7, 52:12,
   123:18, 130:10,          problems [2] - 32:21,     195:13, 195:16,         174:13                    52:17, 52:20, 52:23,
   131:2, 141:1              41:10                    195:25, 196:1,         properly [2] - 69:15,      52:25, 53:2, 53:5,
  premises [2] - 92:16,     procedures [2] -          203:7, 203:18,          108:11                    53:8, 53:11, 53:13,
   124:24                    20:24, 48:10             205:16, 205:23,        property [2] - 109:17,     53:17, 53:21, 53:24,
  preparation [1] -         proceed [1] - 75:2        207:6, 208:6, 212:12    123:17                    54:2, 54:5, 54:10,
   159:10                   proceeded [1] -          products [98] - 9:19,   proposition [2] -          54:12, 54:18, 54:22,
  preparations [1] -         122:14                   9:21, 41:12, 75:17,     200:19, 200:21            55:3, 55:7, 55:10,
   158:7                    proceeding [1] - 40:3     76:7, 78:9, 78:13,     proprietary [1] - 149:7    55:17, 56:1, 56:4,
  prepare [2] - 73:6,       PROCEEDINGS [3] -         78:20, 79:7, 79:12,    PROSPECTIVE [195] -        56:6, 56:10, 56:13,
   158:5                     1:18, 214:13, 215:13     80:10, 80:11, 81:13,    12:10, 15:10, 15:14,      56:16, 56:18, 57:3,
  prepared [5] - 73:11,     proceedings [1] - 70:1    81:24, 82:2, 82:9,      16:21, 17:1, 17:6,        57:8, 57:10, 57:14,
   157:24, 159:14,          proceeds [1] - 70:20      82:11, 82:12, 82:17,    17:10, 17:16, 17:18,      57:17, 57:20, 57:25,
   187:4, 187:17            process [10] - 16:15,     82:24, 83:23, 84:5,     17:20, 17:24, 18:1,       58:4, 58:6, 58:9,
  preponderance [4] -        34:1, 70:3, 93:11,       84:6, 84:8, 84:12,      18:4, 18:7, 18:9,         58:14, 58:18, 58:20
   35:23, 36:4, 36:25,       94:25, 123:10,           84:18, 84:24, 85:23,    18:13, 18:17, 18:20,     Prospective [1] - 7:4
   64:19                     174:18, 182:24,          86:4, 86:10, 86:23,     18:25, 19:2, 19:4,       protect [3] - 76:22,
  presence [1] - 114:10      183:1, 183:4             87:5, 87:20, 88:1,      19:6, 19:8, 19:11,        81:10, 109:17
  PRESENCE [1] -            produce [1] - 54:22       90:10, 90:11, 90:14,    19:15, 19:19, 20:1,      Protection [23] -
   71:23                    produced [2] - 178:2,     90:15, 90:19, 90:22,    20:5, 20:7, 20:9,         22:14, 31:16, 40:20,
  present [3] - 49:4,        201:8                    93:16, 93:18, 93:19,    20:12, 20:15, 20:18,      75:17, 79:2, 81:25,
   71:5, 71:6               producer [3] - 28:21,     98:2, 98:25, 100:9,     20:23, 21:1, 21:7,        82:3, 82:13, 83:3,
  presented [3] - 13:17,     78:8, 79:24              101:16, 106:23,         21:10, 21:12, 21:15,      84:13, 87:25, 88:4,
   22:5, 71:9               producers [4] - 75:7,     109:6, 109:19,          21:18, 21:22, 22:3,       88:13, 92:24,
                             79:21, 80:2, 80:3        110:4, 110:11,          22:9, 22:12, 22:17,       163:11, 163:16,
  presents [1] - 64:23
                            product [89] - 75:23,     113:5, 115:23,          22:20, 23:2, 23:10,       163:24, 164:16,
  president [7] - 116:20,
                             77:17, 81:3, 82:7,       117:22, 118:10,         23:15, 23:18, 23:20,      177:10, 204:18,
   156:14, 159:19,
                             82:24, 84:7, 85:12,      121:5, 122:20,          23:25, 24:5, 24:11,       204:25, 205:2, 205:4
   159:23, 159:24,
                             90:17, 98:6, 99:10,      123:2, 123:14,          24:16, 24:18, 24:22,     protection [4] - 77:25,
   160:13, 160:14
                             100:25, 102:2,           125:20, 129:16,         25:1, 25:5, 25:9,         93:16, 107:20, 123:3
  PRESIDING [1] - 1:4
                             102:9, 105:7, 109:3,     130:7, 130:20,          25:14, 25:21, 26:4,      prove [11] - 35:18,
  pretrial [5] - 4:24,
                             109:14, 109:16,          131:4, 133:21,          26:6, 26:11, 26:16,       35:19, 73:17, 89:5,
   5:10, 5:18, 5:21,
                             110:24, 111:11,          139:7, 140:21,          26:19, 26:22, 27:2,       89:7, 89:11, 89:14,
   72:8
                             111:15, 111:20,          140:23, 144:2,          27:6, 27:13, 27:16,       89:17, 97:10, 103:6,
  pretty [4] - 35:20,
                             111:23, 112:15,          145:21, 151:22,         27:18, 27:23, 28:3,       103:7
   37:10, 40:25, 87:19
                             112:20, 113:22,          158:16, 161:5,          28:5, 28:11, 28:15,      proven [1] - 37:15
  prevention [1] - 102:6
                             114:8, 118:3,            161:9, 161:16,          28:17, 28:20, 28:24,     proves [1] - 35:24
  preview [2] - 77:7,
                             120:23, 121:3,           161:17, 161:18,         29:7, 29:9, 29:22,       provide [6] - 78:16,
   83:18
                             122:16, 123:13,          162:1, 162:7,           29:24, 30:16, 31:3,       90:18, 90:19, 97:1,
  previous [4] - 116:5,
                             125:24, 126:1,           162:25, 163:6,          31:6, 31:9, 31:11,        124:5, 179:11
   118:25, 121:24,
                             128:1, 128:4,            163:10, 163:14,         31:15, 31:19, 31:25,     provided [2] - 179:15,
   178:3
                             129:14, 133:8,           163:20, 163:24,         32:4, 32:8, 32:19,        198:8
  price [4] - 115:21,
                             133:17, 134:1,           171:6, 185:7, 185:8,    32:22, 33:2, 33:13,      provides [3] - 97:11,
   132:1, 141:12,
                             137:17, 138:4,           189:10, 189:14,         33:23, 34:1, 34:6,        99:12, 208:19
   145:13
                             138:7, 138:20,           190:12, 191:7,          34:14, 34:23, 35:14,     providing [2] - 142:20,
  prices [2] - 130:5,                                 198:3, 209:4,
                             141:7, 141:8,                                    35:16, 35:21, 36:1,       167:17
   142:15                                             209:10, 212:19
                             141:18, 142:16,                                  36:7, 36:10, 36:13,      proving [1] - 64:18
  pricing [3] - 142:12,                              professional [2] -
                             142:20, 143:3,                                   36:17, 36:19, 36:23,     pseudo [1] - 59:20
   145:8, 150:1                                       55:19, 96:14
                             154:7, 166:5, 171:2,                             37:1, 37:4, 37:7,        psychic [1] - 21:19
  primarily [2] - 109:7,                             professionalism [1] -
                             172:6, 172:7,                                    37:20, 37:24, 38:15,     psychologist [1] -
   113:10                                             103:11
                             172:24, 174:11,                                  46:15, 46:21, 46:24,      28:21
  private [2] - 146:3,                               program [1] - 39:21
                             174:14, 180:20,                                  47:1, 47:3, 47:7,        public [1] - 50:19
   150:2                                             project [1] - 20:8
                             180:25, 183:15,                                  47:14, 47:22, 48:2,      publish [11] - 110:15,
  problem [20] - 12:2,
                             183:17, 183:19,         promise [2] - 32:2,      48:7, 48:25, 49:7,        119:22, 120:1,
   17:14, 17:16, 36:3,
                             184:7, 188:12,           38:13                   49:10, 49:13, 49:15,      121:10, 121:16,
   55:24, 56:25, 59:15,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    414 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          530Trial Page 237 of 244               20


   124:13, 126:22,            154:16, 154:20,            186:24, 213:12           101:16                    REGULATIONS [1] -
   127:18, 164:8,             159:14, 164:16,           reask [1] - 212:3        record [39] - 67:9,         215:15
   183:8, 189:25              164:20, 168:8,            reason [22] - 10:7,       71:24, 74:6, 78:14,       regulations [4] -
  published [6] -             175:14, 185:23             18:18, 19:13, 22:25,     78:19, 78:25, 79:2,        93:24, 94:7, 94:18,
   110:17, 121:14,           qui [1] - 34:18             26:2, 30:13, 48:5,       79:5, 79:6, 79:10,         95:8
   141:12, 168:17,           quick [1] - 6:15            53:23, 54:3, 83:5,       81:3, 84:19, 85:13,       reimposed [1] - 81:8
   175:24, 197:10            quickly [2] - 167:20,       136:14, 136:15,          85:20, 87:3, 87:7,        rel [1] - 1:7
  purchase [1] - 91:14        207:5                      155:1, 177:23,           87:13, 87:20, 87:24,      related [9] - 94:23,
  purchased [1] - 130:7      quietly [1] - 71:21         182:2, 182:8,            88:3, 90:7, 104:13,        118:14, 118:15,
  purchases [2] - 78:11,     quit [1] - 39:16            182:13, 182:20,          107:7, 112:9, 126:8,       118:16, 137:2,
   78:13                     quite [5] - 12:18,          182:21, 202:3, 210:3     128:14, 130:21,            137:11, 138:3,
  purchasing [5] - 20:7,      16:14, 31:16, 59:4,       reasonable [6] -          131:12, 146:14,            179:16, 187:14
   20:9, 29:25, 41:12,        103:10                     35:20, 36:5, 163:5,      154:24, 155:4,            relater [4] - 76:20,
   41:19                     quotes [2] - 122:16,        163:19, 178:1,           156:1, 163:1, 163:4,       76:25, 90:13, 91:23
  purporting [1] - 179:7      125:14                     178:11                   163:8, 163:18,            relaters [1] - 76:21
  purpose [10] - 66:2,                                  reasonableness [1] -      177:11, 179:21            relates [10] - 56:15,
   66:3, 66:5, 75:8,                    R                67:24                   recording [1] - 97:21       57:16, 80:7, 81:12,
   77:6, 107:22,                                        reasonably [1] - 90:5    records [5] - 92:16,        97:15, 109:13,
   138:14, 159:13,           R-e-s-e-n-d-e-z [1] -      reasoning [1] - 211:9     100:14, 130:17,            116:14, 172:14,
   197:24                     8:20                      reasons [3] - 9:5,        131:14, 131:17             175:3, 198:2
  purposes [4] - 82:18,      R-o-m-e-r-o [1] - 8:1       105:17, 178:8           Records [1] - 127:11       relating [2] - 124:2,
   98:8, 157:7, 174:5        R-o-n-a [1] - 156:3        receipt [1] - 126:5      recovery [1] - 77:1         177:20
  PURSUANT [1] -             raise [10] - 9:12, 12:4,   receive [6] - 69:14,     RECROSS [1] - 3:2          relationship [3] - 34:4,
   215:10                     24:10, 29:18, 31:7,        76:25, 115:22,          recross [1] - 155:8         91:13, 152:13
  pursue [1] - 141:11         35:10, 51:17, 60:22,       126:16, 126:19,         red [1] - 130:23           relatives [3] - 33:8,
  pursued [1] - 119:4         72:7, 142:15               170:15                  REDIRECT [2] - 3:2,         33:20, 54:25
  put [20] - 13:9, 13:10,    ran [1] - 204:6            received [41] - 12:20,    154:14                    relevance [3] - 141:19,
   13:14, 13:16, 13:17,      range [1] - 161:20          65:2, 65:5, 66:2,       redirect [1] - 154:11       152:8, 200:18
   13:24, 41:3, 43:1,        rate [4] - 80:25, 81:7,     66:9, 66:22, 67:2,      redundant [1] - 47:10      relevancy [3] - 147:23,
   63:10, 77:11, 86:2,        81:8, 99:16                67:4, 68:14, 110:17,    refer [4] - 16:13,          148:12, 148:16
   99:19, 99:21, 99:24,      rather [3] - 16:14,         110:18, 119:24,          80:21, 97:11, 114:17      relevant [4] - 80:14,
   123:3, 167:10,             36:5, 39:25                119:25, 121:13,         reference [3] - 69:18,      118:22, 125:10,
   183:2, 184:5,             Rather [1] - 126:2          121:15, 124:11,          135:7, 204:1               129:15
   200:15, 213:6             reach [5] - 14:16,          124:12, 124:21,         references [1] - 203:4     relief [1] - 116:7
  putting [2] - 13:11,        36:8, 37:2, 72:6,          127:16, 127:17,         referred [10] - 100:4,     relies [1] - 79:2
   198:18                     101:19                     136:2, 147:18,           122:20, 129:3,            religiously [1] - 39:9
  puzzle [4] - 13:6, 13:9,   reached [2] - 102:22,       148:3, 149:19,           134:6, 168:5,             reluctance [1] - 41:14
   14:1, 77:11                151:16                     157:23, 164:6,           192:11, 192:14,           rely [2] - 11:3, 85:8
                             reaching [1] - 65:4         164:7, 167:24,           194:15, 211:4,            remain [1] - 72:20
             Q               read [18] - 38:14,          167:25, 170:8,           212:19                    remedies [1] - 142:24
                              64:15, 85:1, 85:4,         175:22, 175:23,         referring [3] - 120:9,     remedy [1] - 134:19
  qualified [1] - 85:8        122:14, 124:23,            177:12, 193:9,           162:15, 192:7             remember [19] - 5:10,
  quantify [1] - 161:8        125:3, 140:5,              193:10, 197:9,          refers [2] - 94:8,          9:11, 38:7, 42:16,
  QUESTION [1] -              150:11, 150:21,            197:11, 201:4,           192:24                     44:23, 48:13, 48:14,
   183:14                     165:19, 165:24,            201:5, 206:22,          reflect [3] - 71:24,        62:3, 65:14, 70:13,
  questioning [1] -           166:7, 166:13,             206:23                   74:6, 146:14               71:17, 84:18,
   140:8                      176:12, 193:1, 214:7      receives [1] - 83:3      reflecting [3] - 100:22,    117:20, 146:8,
  questions [43] - 5:11,     readily [1] - 140:22       receiving [1] - 182:6     175:1, 178:18              154:22, 158:21,
   5:13, 9:1, 9:4, 9:9,      reading [1] - 176:15       recently [3] - 49:15,    reflects [1] - 92:3         187:10, 187:11,
   11:23, 12:1, 12:3,        reads [1] - 202:18          102:19, 152:19          regarding [6] - 64:17,      213:21
   15:16, 15:17, 15:18,      ready [3] - 4:18, 5:22,    recess [2] - 214:11,      165:2, 170:8,             reminiscent [1] -
   16:7, 16:8, 16:11,         74:15                      214:12                   170:11, 172:6,             95:24
   16:12, 19:12, 21:3,       real [2] - 52:2, 83:11     reckless [4] - 83:13,     172:20                    remove [4] - 6:16,
   21:4, 22:23, 25:23,       realize [3] - 14:17,        84:15, 85:21, 89:6      regardless [1] - 64:23      6:19, 74:21, 104:10
   29:10, 31:13, 36:20,       57:12, 103:1              recklessly [1] - 103:8   registered [3] - 25:2,     render [1] - 61:2
   40:5, 46:14, 47:9,        really [15] - 14:9,        recognize [7] - 35:1,     26:23, 52:8               Renke [2] - 124:3,
   54:14, 54:24, 63:16,       15:18, 24:12, 31:23,       120:4, 121:20,          Registry [1] - 168:18       124:19
   65:17, 71:14,              33:7, 48:3, 52:1,          124:16, 190:4,          regular [2] - 95:15,       rep [3] - 172:19,
   131:23, 134:11,            84:25, 85:9, 85:21,        190:15, 193:12           109:14                     172:21, 180:15
   147:25, 151:7,             87:6, 88:2, 166:2,        recognized [1] -         regulated [1] - 109:9      repeat [2] - 163:12,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    415 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          531Trial Page 238 of 244               21


   181:11                   requires [6] - 69:21,         51:8                     rule [1] - 127:9           182:23, 182:25,
  repeatedly [1] -           134:3, 138:25,             retrospect [1] - 91:24     Rule [2] - 72:18, 72:23    183:15, 183:17,
   205:23                    139:3, 177:18,             return [1] - 69:16         rules [5] - 9:24, 59:6,    183:24, 184:9,
  repeating [2] - 213:11,    189:14                     revenue [2] - 161:10,       65:20, 66:21, 66:25       194:3, 194:6, 194:12
   213:14                   research [6] - 69:16,         162:9                    Ruling [3] - 101:8,       Safe-let [1] - 180:2
  repeats [1] - 125:12       130:11, 131:3,             Review [9] - 81:9,          102:17, 139:19           sale [2] - 194:24,
  repetitive [1] - 182:7     180:24, 183:15,              119:10, 120:8,           ruling [41] - 47:17,       195:3
  rephrase [1] - 142:22      213:17                       121:25, 122:9,            65:22, 72:14, 86:20,     sales [8] - 86:7, 106:3,
  report [8] - 69:12,       researched [2] -              140:6, 197:14,            99:3, 99:7, 99:18,        115:14, 116:10,
   92:17, 93:13, 93:25,      171:1, 173:2                 197:19, 198:11            101:7, 122:3,             116:12, 158:13,
   94:4, 94:11              researching [2] -           review [9] - 93:6,          122:13, 122:15,           158:15, 158:22
  REPORTED [1] -             117:14, 171:23               94:20, 119:12,            123:21, 123:24,          salesperson [1] -
   215:13                   Resendez [2] - 8:20,          157:17, 165:9,            124:6, 124:19,            144:5
  reported [2] - 97:22,      27:19                        165:12, 170:19,           124:21, 126:6,           sample [2] - 94:5,
   160:16                   resolution [1] - 88:20        183:3, 197:20             126:17, 127:23,           99:24
  REPORTER [5] - 1:23,      respect [10] - 75:12,       reviewed [9] - 89:16,       135:2, 135:5,            sand [1] - 86:2
   40:10, 215:2, 215:8,      89:8, 91:20, 110:4,          94:1, 119:18,             135:24, 136:2,           Sanders [7] - 139:9,
   215:21                    153:3, 174:13,               121:24, 123:15,           136:4, 136:9,             143:17, 144:9,
  reporter [1] - 29:13       174:22, 183:16,              158:8, 164:19,            136:24, 137:1,            144:22, 147:15,
  REPORTER'S [1] -           184:6, 184:9                 165:25, 198:11            137:11, 137:23,           148:24, 154:21
   1:18                     respective [2] - 74:7,      reviewing [5] -             138:2, 139:7,            sanders [28] - 116:17,
  reporting [1] - 75:18      146:15                       121:24, 130:16,           139:10, 139:11,           116:19, 116:21,
  represent [4] - 76:11,    respects [2] - 79:1,          130:18, 170:23,           139:12, 139:15,           116:23, 117:6,
   93:5, 93:22, 94:19        90:13                        198:13                    140:1, 140:2, 140:3,      120:5, 121:23,
  representation [1] -      respond [1] - 69:11         Reviews [2] - 197:16,       154:17, 154:21,           122:19, 123:8,
   83:3                     responds [1] - 12:5           198:4                     169:5                     124:24, 130:6,
  representative [25] -     response [6] - 12:3,        RGK [2] - 4:5, 7:6         rulings [3] - 140:5,       135:13, 135:16,
   4:16, 7:14, 157:7,        46:14, 53:17, 54:12,       Richard [1] - 50:18         155:2, 155:5              136:23, 140:18,
   157:11, 173:16,           174:9, 176:16              richard [1] - 46:6         run [2] - 38:23, 79:14     142:23, 143:19,
   174:17, 174:25,          responses [1] - 176:4       rise [2] - 11:10, 214:12   runs [1] - 150:6           143:22, 144:11,
   180:18, 180:22,          responsibilities [4] -      risk [4] - 93:6, 93:22,                               144:24, 148:2,
   181:3, 181:8,             89:8, 90:5, 159:21,          94:19, 94:22                        S               148:19, 149:19,
   181:12, 181:17,           160:7                      role [5] - 159:18,                                    151:16, 152:6,
   181:21, 186:5,           responsibility [1] -          169:17, 169:19,          S-a-n-t-i-a-g-o [1] -      152:12, 152:16,
   187:18, 188:3,            106:18                       170:1, 171:22             8:21                      153:12
   188:15, 210:6,           responsible [20] -          Romero [2] - 8:1,          S-c-o-t-t [1] - 8:22      Santa [1] - 21:15
   210:18, 210:21,           30:1, 78:20, 160:10,         16:22                    Sacramento [1] -          Santiago [2] - 8:21,
   211:13, 211:21,           160:14, 160:19,            Rona [17] - 10:17,          14:19                     28:6
   212:7, 212:18             160:20, 160:24,              11:5, 155:13, 156:3,     safe [25] - 109:16,       sat [3] - 11:20, 46:11,
  represented [1] -          161:1, 163:9,                156:8, 164:15,            122:24, 129:19,           55:12
   208:14                    163:13, 163:23,              176:3, 184:6,             162:20, 180:4,           satisfied [4] - 23:5,
  representing [2] -         164:18, 165:22,              186:24, 190:3,            180:11, 180:12,           23:13, 37:18, 37:22
   132:16, 208:16            171:17, 177:9,               192:20, 193:12,           180:16, 180:19,          saw [8] - 66:13,
  Republic [2] - 80:19,      180:8, 184:24,               197:13, 201:7,            180:23, 181:5,            118:13, 122:13,
   169:11                    184:25, 185:2,               207:1, 210:17, 213:8      181:10, 181:14,           122:23, 123:2,
  reputable [1] - 96:17      199:11                     Rona's [1] - 184:21         181:23, 182:4,            141:12, 152:15,
  request [7] - 72:12,      responsive [1] -            room [11] - 44:23,          182:11, 182:23,           189:7
   125:8, 125:10,            186:24                       44:25, 45:7, 45:13,       182:25, 183:15,          Schedule [6] - 97:21,
   126:17, 127:21,          rest [2] - 7:20, 45:25        61:12, 62:8, 62:15,       183:17, 183:24,           98:1, 98:3, 99:12,
   175:11, 176:7            restrictions [2] -            62:25, 71:12,             184:9, 194:3, 194:6,      101:4, 166:20
  requests [2] - 175:13,     69:21, 69:25                 146:11, 213:24            194:12                   school [5] - 18:12,
   175:15                   result [1] - 70:2           ROOM [1] - 1:24            Safe [1] - 180:2           18:13, 18:14, 18:15,
  require [3] - 70:2,       Results [1] - 94:15         roughly [1] - 91:10        safe-let [24] - 122:24,    23:22
   109:20, 121:1            retain [1] - 116:23         round [1] - 77:25           129:19, 162:20,          scope [25] - 93:19,
  required [2] - 71:2,      retire [5] - 62:8, 62:24,   row [7] - 7:20, 7:21,       180:4, 180:11,            119:20, 120:18,
   97:9                      71:20, 146:11,               8:17, 45:25, 46:2,        180:12, 180:16,           120:23, 122:12,
  requirement [1] -          213:23                       46:3                      180:19, 180:23,           122:13, 122:15,
                            retired [8] - 15:24,        rows [1] - 60:20            181:5, 181:10,            126:6, 127:22,
   97:24
                                                        RUBBER [1] - 1:13           181:14, 181:23,           137:17, 138:2,
  requirements [1] -         15:25, 16:2, 25:17,
                                                                                    182:4, 182:11,            140:2, 140:5, 155:2,
   89:13                     49:16, 49:21, 50:20,       RUEBENS [1] - 1:11
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    416 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          532Trial Page 239 of 244               22


   155:5, 165:9,             111:3, 111:7, 117:6,       separately [1] - 84:14      150:12, 150:13,           91:8, 91:21, 91:24,
   165:12, 165:14,           117:8, 119:2,              series [1] - 134:11         173:25, 183:6,            92:15, 93:2, 93:14,
   165:23, 166:6,            119:12, 120:11,            serious [1] - 89:18         190:6, 191:16,            93:21, 95:1, 95:4,
   167:13, 197:2,            120:13, 120:18,            seriously [2] - 89:8,       191:21, 193:16,           95:6, 95:15, 95:19,
   199:20, 199:22,           122:4, 127:25,              90:5                       193:25, 210:5, 210:6      96:13, 96:19, 96:25,
   200:8                     128:9, 130:3,              served [2] - 162:25,       showed [8] - 101:7,        98:12, 98:23, 99:10,
  scoping [2] - 123:15,      131:12, 146:12,             175:10                     133:24, 190:20,           99:20, 99:24,
   125:1                     147:5, 147:11,             service [4] - 25:17,        193:15, 193:21,           100:12, 100:15,
  Scott [2] - 8:22, 28:17    150:22, 151:5,              69:10, 88:23, 130:14       195:16, 196:9, 210:2      100:20, 100:24,
  screen [2] - 77:19,        151:8, 152:11,             services [3] - 28:7,       showing [9] - 77:10,       101:6, 102:11,
   92:4                      152:18, 157:17,             106:7, 106:23              166:23, 168:25,           102:16, 102:23,
  screwed [2] - 112:2,       164:23, 165:6,             SESSION [1] - 4:2           179:11, 179:15,           102:25, 103:6,
   113:17                    165:15, 165:16,            session [2] - 39:7,         179:22, 190:13,           110:24, 111:9,
  Search [1] - 139:20        165:17, 167:10,             66:7                       191:18, 198:16            111:15, 129:3,
  search [5] - 117:18,       167:11, 169:13,            set [2] - 15:1, 40:2       shown [2] - 210:18,        129:24, 131:13,
   126:5, 139:17,            174:8, 176:7,              sets [1] - 134:5            211:1                     131:14, 131:17,
   139:22, 145:20            176:15, 183:21,            setting [1] - 41:10        shows [3] - 30:4, 31:1,    132:1, 132:16,
  searched [1] - 119:7       189:4, 190:8, 190:9,       settled [1] - 56:7          123:9                     133:16, 142:20,
  searches [5] - 86:16,      193:17, 193:18,                                       sic [1] - 72:23            142:25, 143:23,
                                                        seven [4] - 43:24,
   87:4, 119:5, 126:12,      193:20, 201:14,                                       Siddharth [2] - 10:18,     144:8, 144:16,
                                                         205:18, 205:21
   131:6                     202:13, 203:20,                                        11:4                      144:20, 144:25,
                                                        several [2] - 117:5,
  searching [2] - 69:17,     203:23, 204:2,                                        side [22] - 5:1, 5:9,      148:4, 148:7,
                                                         129:17
   123:25                    204:5, 211:10, 214:8                                   5:12, 5:13, 8:5, 8:10,    151:23, 153:3,
                                                        shaking [1] - 54:6
  seat [11] - 7:25, 8:16,   See [1] - 150:18                                        34:12, 35:24, 37:9,       153:13, 154:4,
                                                        shall [2] - 104:6,
   45:14, 45:16, 45:17,     seeing [3] - 168:14,                                    37:17, 38:6, 39:17,       155:13, 155:16,
                                                         155:22
   45:19, 45:20, 45:21,      169:4                                                  40:6, 42:17, 43:21,       156:12, 158:2,
                                                        shamefully [1] - 31:25
   45:24, 46:3, 60:16       seem [2] - 58:12,                                       58:2, 63:8, 66:24,        158:10, 159:4,
                                                        Shanghai [1] - 162:22
  seated [4] - 63:20,        87:17                                                  70:21, 77:23, 102:4,      159:18, 162:25,
                                                        Shannon [5] - 4:15,
   69:8, 104:9, 155:25      sees [1] - 63:8                                         128:21                    163:4, 163:9,
                                                         7:14, 11:2, 40:15,
  seats [4] - 61:7, 72:1,   self [3] - 18:1, 21:19,                                side's [2] - 49:2, 49:3    163:13, 163:19,
                                                         42:10
   74:7, 146:15              51:22                                                 SIDEBAR [4] - 40:8,        163:23, 168:9,
                                                        SHANNON [1] - 2:12
  second [15] - 14:13,      Self [1] - 18:3                                         44:14, 58:22, 60:9        168:12, 169:13,
                                                        shape [1] - 108:10
   38:16, 63:1, 68:13,      self-employed [2] -                                    sides [18] - 4:18,         171:2, 171:8, 172:5,
                                                        shaped [2] - 108:4,                                   173:2, 173:17,
   73:2, 79:10, 85:7,        18:1, 21:19                                            12:25, 17:17, 23:1,
                                                         108:7                                                174:10, 174:12,
   93:3, 94:1, 127:25,      Self-employed.. [1] -                                   23:16, 25:8, 26:17,
                                                        share [1] - 144:1                                     174:17, 174:21,
   136:18, 202:11,           18:3                                                   27:15, 28:14, 41:1,
                                                        shared [2] - 144:4,                                   175:2, 175:8,
   203:15, 207:19,          self-obvious [1] -                                      48:6, 50:1, 50:15,
                                                         150:1                                                175:11, 175:13,
   209:12                    51:22                                                  51:2, 52:16, 57:23,
                                                        sheet [3] - 97:14,                                    175:17, 176:22,
  section [4] - 120:17,     sell [14] - 79:24, 106:6,                               65:2, 74:13
                                                         98:10, 117:24                                        177:23, 178:9,
   190:11, 195:13,           106:21, 111:25,                                       sig [1] - 182:4
                                                        SHERI [3] - 1:23,                                     178:17, 179:20,
   196:6                     112:1, 115:15,                                        sig-let [1] - 182:4
                                                         215:8, 215:20                                        180:2, 180:19,
  SECTION [1] - 215:11       130:5, 132:24,                                        SIGMA [1] - 1:11
                                                        shipment [1] - 95:19                                  180:23, 181:4,
  security [2] - 23:21,      145:18, 149:7,                                        Sigma [180] - 4:13,
                                                        shipments [1] - 75:25                                 181:9, 181:13,
   80:2                      195:4, 195:9,                                          7:12, 9:17, 9:19,
                                                        short [5] - 11:12, 60:5,                              181:22, 182:3,
  Security [2] - 16:22,      195:10, 195:21                                         9:23, 35:2, 40:16,
                                                         89:4, 103:5, 208:13                                  182:22, 183:14,
   17:7                     sellers [1] - 133:20                                    73:5, 73:7, 75:13,
                                                        shortly [1] - 134:17                                  183:24, 185:25,
  see [87] - 9:12, 9:17,    selling [9] - 75:7,                                     75:22, 76:16, 76:17,
                                                        Shortridge [2] - 56:19,                               186:7, 186:15,
   10:8, 29:1, 30:13,        79:21, 84:6, 91:11,                                    78:3, 78:7, 78:13,
                                                         56:22                                                187:5, 187:14,
   30:17, 36:14, 40:6,       106:18, 115:24,                                        80:15, 81:15, 81:18,
                                                        show [41] - 13:22,                                    188:24, 189:9,
   45:2, 48:5, 58:1,         133:4, 140:23,                                         81:20, 81:23, 82:2,
                                                         30:25, 71:2, 75:20,                                  190:3, 192:3, 193:7,
   60:13, 60:15, 66:6,       196:11                                                 82:5, 82:10, 82:12,
                                                         77:13, 81:18, 81:20,                                 194:9, 194:22,
   67:19, 70:19, 71:15,     sells [8] - 78:5, 90:9,                                 82:23, 82:24, 83:12,
                                                         81:23, 82:5, 82:14,                                  195:6, 195:12,
   74:3, 85:2, 85:16,        90:14, 194:22,                                         83:19, 84:4, 84:7,
                                                         83:19, 84:11, 84:14,                                 195:20, 195:24,
   87:12, 87:14, 92:23,      195:6, 195:12,                                         84:11, 84:15, 85:3,
                                                         84:21, 85:24, 86:1,                                  196:11, 198:9,
   93:3, 93:19, 97:1,        195:20, 195:24                                         85:4, 85:15, 85:24,
                                                         89:23, 90:2, 91:5,                                   198:10, 199:11,
   97:2, 98:16, 100:5,      sense [3] - 79:8,                                       86:1, 87:6, 88:10,
                                                         96:2, 96:15, 98:15,                                  200:24, 201:17,
   100:9, 101:4, 101:5,      109:5, 123:4                                           88:12, 89:3, 89:5,
                                                         100:15, 101:5,                                       205:18, 208:6,
   105:20, 108:3,           sent [4] - 121:23,                                      89:7, 89:11, 89:15,
                                                         124:8, 127:2,                                        208:14, 209:9, 212:9
   108:4, 108:6,             124:19, 124:23,                                        89:25, 90:4, 90:8,
                                                         131:14, 131:15,                                     Sigma's [50] - 73:6,
   108:18, 111:2,            147:14                                                 90:9, 90:11, 90:22,
                                                         131:17, 150:5,                                       76:2, 76:5, 84:17,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    417 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          533Trial Page 240 of 244               23


   86:23, 88:14, 91:20,       140:25                    sought [1] - 212:13         124:19, 125:18,             70:25, 71:3, 71:4,
   91:23, 91:25, 92:16,      skipped [1] - 20:3         sound [2] - 83:15,          126:5, 126:16,              74:10, 74:11, 74:14,
   92:18, 93:5, 93:18,       skipping [2] - 101:10,      95:7                       128:9, 128:21,              76:6, 77:7, 82:5,
   94:16, 94:18, 94:22,       101:15                    sounded [1] - 59:7          128:25, 129:11,             82:16, 84:17, 85:20,
   103:11, 128:24,           sleeves [2] - 98:18,       sounds [3] - 13:12,         129:19, 135:2,              89:1, 103:18
   131:24, 132:4,             99:14                      58:19, 60:8                135:5, 135:24,             statements [20] - 6:2,
   138:8, 139:6, 157:7,      sloped [3] - 108:17,       source [2] - 142:12,        136:1, 136:4, 136:9,        61:21, 63:24, 65:9,
   157:10, 159:6,             113:13                     144:15                     136:24, 137:1,              65:11, 70:24, 72:7,
   160:15, 161:1,            small [8] - 77:15, 91:2,   sourced [1] - 142:9         137:11, 137:23,             75:21, 76:2, 81:24,
   161:4, 161:5,              106:8, 108:22,            south [1] - 52:23           138:4, 138:7, 139:7,        82:2, 82:20, 83:9,
   162:13, 162:16,            156:17, 156:23,           SOUTH [1] - 2:8             139:10, 154:17,             83:13, 84:15, 85:25,
   171:6, 172:19,             157:5, 194:25             speaking [3] - 157:20,      154:21, 169:4               88:12, 88:14, 89:6,
   172:21, 176:20,           smaller [1] - 129:14        164:2, 186:6              sprinkler [5] - 77:25,       95:15
   177:15, 178:13,           SMITH [1] - 1:12           special [3] - 75:5,         102:6, 107:21,             STATES [7] - 1:1, 1:1,
   180:18, 180:22,           smuggling [1] - 31:22       77:21, 79:18               123:3, 123:5                1:4, 1:6, 215:9,
   181:3, 181:8,             SoCalGas [1] - 49:17       specialist [1] - 50:6      Sprinks [2] - 125:9,         215:11, 215:16
   181:12, 187:17,           social [1] - 69:1          specialized [1] -           125:12                     States [22] - 4:5, 7:6,
   188:9, 189:1, 191:4,      Social [2] - 16:22,         117:11                    Sprinks' [1] - 125:8         9:16, 9:19, 32:14,
   191:6, 193:13,             17:6                      specific [10] - 9:18,      SS [1] - 215:5               34:20, 75:6, 75:7,
   196:14, 212:18            sold [11] - 99:10,          15:17, 20:21, 39:3,       ST [1] - 97:4                77:17, 78:21, 79:18,
  signature [1] - 96:16       106:14, 111:24,            93:18, 96:20,             stacker [3] - 173:7,         79:20, 79:21, 90:11,
  significant [3] - 41:14,    129:16, 131:5,             100:19, 123:13,            173:10, 173:13              90:12, 95:20, 98:7,
   94:22, 169:18              133:9, 133:10,             137:8, 142:16             staff [1] - 93:10            99:12, 113:21,
  similar [7] - 6:6, 57:7,    140:21, 145:19,           specifically [7] - 94:1,   stake [1] - 77:3             131:10, 142:7, 142:8
   58:19, 91:6, 119:17,       161:17, 196:6              108:20, 131:13,           stamped [1] - 128:21        statistical [1] - 97:20
   123:15, 130:22            solely [2] - 64:9, 66:8     136:2, 171:8, 184:6,      stance [1] - 112:3          stay [2] - 74:25,
  similarities [1] - 78:6    solemnly [3] - 60:25,       194:23                    stand [8] - 4:25, 12:4,      105:18
  similarly [2] - 133:21,     104:4, 155:20             spell [3] - 8:2, 104:13,    16:24, 44:16, 60:11,       steak [2] - 32:7, 41:2
   206:6                     someone [10] - 34:2,        156:2                      60:20, 73:12, 146:16       Steel [1] - 99:20
  simple [5] - 12:18,         145:17, 145:25,           spelled [4] - 8:7, 8:15,   standard [7] - 35:20,       steel [105] - 75:14,
   86:2, 86:16, 87:3,         170:20, 179:6,             46:7, 104:14               36:2, 36:6, 97:23,          75:18, 75:22, 76:7,
   145:20                     211:21, 212:22,           spent [1] - 158:5           109:18, 110:3, 110:6        80:19, 82:4, 82:6,
  simply [5] - 16:14,         212:25, 213:11,           SPF [2] - 142:9,           standards [4] - 94:13,       82:24, 83:4, 83:20,
   71:1, 107:18, 206:5,       213:14                     142:16                     110:1, 134:6, 134:10        83:24, 84:3, 84:8,
   213:14                    sometime [1] - 126:18      spirit [1] - 209:14        standing [1] - 122:25        84:12, 86:24, 88:5,
  Sinai [1] - 50:5           sometimes [3] - 66:1,      split [1] - 5:8            Stanley [1] - 56:19          96:25, 97:7, 98:18,
  single [6] - 11:24,         67:8, 112:17              spot [1] - 164:25          Star [6] - 101:8,            98:22, 99:8, 99:14,
   81:21, 85:17,             somewhat [1] - 22:23                                   102:17, 139:11,             99:15, 99:21, 99:25,
                                                        spread [1] - 117:24
   179:21, 205:8             son [1] - 24:1                                         139:12, 139:15,             105:6, 105:7, 105:9,
                                                        SPRING [1] - 1:24
  sister [2] - 25:1, 53:11   soon [3] - 7:23, 37:10,                                140:1                       105:23, 106:21,
                                                        sprink [2] - 123:2,
  sit [21] - 17:4, 45:1,      70:21                                                start [18] - 7:3, 13:11,     111:21, 112:17,
                                                         123:4
   88:21, 105:22,            Soraya [2] - 7:25,                                     16:19, 38:24, 39:1,         112:19, 114:14,
                                                        Sprink [32] - 86:23,
   164:22, 165:21,            16:21                                                 39:3, 39:18, 39:19,         114:16, 114:17,
                                                         122:16, 123:20,
   166:4, 166:15,                                                                   39:23, 46:22, 70:3,         116:6, 118:9,
                             SORAYA [1] - 8:1            123:24, 124:5,
   167:6, 174:20,                                                                   82:19, 91:22, 194:9,        118:10, 118:16,
                             sorry [24] - 6:1, 18:3,     124:19, 125:18,
   175:5, 178:17,                                                                   201:10, 214:1, 214:8        118:22, 118:23,
                              43:7, 53:4, 53:25,         126:5, 126:16,
   179:20, 182:2,                                                                  started [12] - 4:23, 7:2,    118:24, 119:5,
                              59:19, 127:3, 129:5,       127:22, 128:9,
   182:21, 184:7,                                                                   40:14, 56:7, 126:5,         119:8, 120:24,
                              137:15, 142:22,            128:21, 128:25,
   195:19, 196:18,                                                                  133:4, 134:13,              125:24, 128:5,
                              151:5, 152:2,              129:11, 129:19,
   197:1, 199:19,                                                                   135:19, 136:20,             131:18, 132:23,
                              161:24, 165:18,            135:2, 135:5,
   199:24                                                                           136:21, 171:9, 180:2        145:21, 169:10,
                              167:8, 172:16,             135:24, 136:1,
  site [1] - 94:15                                                                 starting [4] - 38:24,        189:20, 192:25,
                              176:13, 176:16,            136:4, 136:9,
  sitting [4] - 37:17,                                                              38:25, 86:19, 120:17        194:19, 194:22,
                              192:6, 195:2, 199:8,       136:24, 137:1,
   137:22, 139:25,                                                                 state [5] - 4:7, 7:8,        194:24, 195:4,
                              207:15, 209:17,            137:11, 137:23,
   141:16                                                                           40:11, 104:12, 156:1        195:9, 195:10,
                              212:5                      138:4, 138:7, 139:7,
  six [6] - 44:13, 46:11,                                                          State [4] - 27:7, 105:1,     195:12, 195:13,
                             sort [7] - 77:21,           139:10, 154:17,
   46:13, 55:2, 55:11,                                                              105:5, 132:20               195:20, 195:22,
                              117:25, 118:2,             154:21, 169:4
   57:21                                                                                                        195:24, 196:9,
                              123:16, 126:12,           Sprink-let [31] - 86:23,   STATE [1] - 215:6
  sizable [1] - 81:6                                                                                            199:20, 199:22,
                              208:13                     122:16, 123:20,           statement [19] - 41:15,
  size [2] - 130:1,                                                                                             199:25, 200:2,
                             sorts [1] - 203:4           123:24, 124:5,             60:3, 60:7, 70:22,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    418 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          534Trial Page 241 of 244               24


   200:5, 200:9,              98:14, 99:8               73:4, 73:6, 95:18,        107:21, 109:7              testify [4] - 73:12,
   200:16, 201:18,           subheadings [1] -          204:21                                                 180:15, 186:22,
   201:20, 201:22,            98:21                    Sunset [12] - 81:9,                   T                 187:17
   202:19, 203:8,            subject [45] - 9:20,       119:9, 120:8,                                        testifying [5] - 6:23,
   204:11, 204:14,            9:21, 18:16, 47:25,       121:25, 122:9,           T-i-n-a-p-a-y [1] - 8:15      67:21, 112:24,
   205:17, 205:19,            80:16, 81:4, 81:16,       140:6, 197:13,           table [6] - 4:14, 7:13,       181:16, 186:22
   205:24, 205:25,            86:4, 86:18, 87:5,        197:16, 197:18,            10:14, 11:1, 13:10,       testimony [39] - 12:22,
   206:6, 206:12,             87:8, 87:21, 94:3,        197:19, 198:4,             103:13                      65:1, 65:5, 65:23,
   207:6, 207:9,              102:21, 103:2,            198:11                   Taiwan [9] - 87:1,            66:12, 67:14, 67:15,
   207:13, 207:25,            115:6, 120:23,           supervise [1] - 159:21      119:14, 123:14,             67:17, 67:24, 67:25,
   208:3, 208:7,              125:20, 129:22,          supervising [1] -           137:3, 137:5, 138:3,        68:6, 70:7, 70:8,
   208:15, 209:4,             163:20, 163:25,           171:19                     196:20, 197:3, 200:9        72:22, 86:6, 89:21,
   209:6, 209:9,              165:4, 171:2,            supervisor [1] - 24:23    TAKEN [2] - 63:19,            98:12, 100:14,
   209:25, 210:20,            171:23, 173:18,          supervisory [1] -           146:13                      100:23, 104:4,
   211:2, 211:4, 211:8,       176:10, 176:24,           22:14                    talks [1] - 120:17            138:7, 140:20,
   211:14, 211:15,            178:25, 179:3,           supplier [5] - 143:10,    tam [1] - 34:19               144:19, 149:18,
   212:1, 212:20              179:23, 180:12,           144:15, 145:9,           tariff [3] - 75:5, 79:18,     151:8, 151:15,
  STENOGRAPHICAL              181:5, 181:23,            149:6, 149:15              94:2                        152:5, 152:15,
   LY [1] - 215:13            182:4, 182:11,           suppliers [9] - 78:11,    Tariff [7] - 97:21, 98:1,     155:20, 173:5,
  step [2] - 28:7, 155:10     182:12, 182:23,           142:19, 143:4,             98:3, 99:12, 101:3,         181:25, 183:7,
  step-dad [1] - 28:7         183:25, 184:9,            143:5, 145:22,             166:20, 213:6               186:4, 186:19,
  steps [4] - 123:23,         184:15, 187:8,            148:7, 148:24,           tariffs [2] - 142:14,         188:3, 188:16,
   160:21, 183:24,            198:5, 199:25,            149:1, 149:25              142:15                      210:6, 211:25,
   188:10                     200:16                   SUPPLIERS [1] -           Tarzana [1] - 23:21           213:12
  Steven [2] - 8:22,         subjects [1] - 159:2       143:1                    tax [1] - 75:5              Texas [1] - 96:12
   28:17                     submit [3] - 87:18,       supply [8] - 91:14,       taxes [2] - 32:20, 96:1     text [2] - 68:25, 85:2
  still [8] - 8:25, 30:9,     183:3, 204:17             145:13, 159:22,          teacher [5] - 18:2,         Thailand [1] - 119:14
   41:23, 51:11,             submitted [7] - 62:7,      160:7, 160:15,             18:4, 18:9, 18:10,        Thanksgiving [1] -
   105:25, 119:12,            62:24, 71:20, 84:13,      160:20, 171:17,            18:11                       12:1
   134:23, 139:25             146:11, 204:24,           171:19                   team [1] - 89:12            THAT [2] - 215:10,
  stipulate [1] - 12:25       205:8                    supplying [1] - 151:22    technical [3] - 62:11,        215:14
  stop [1] - 107:2           subpart [1] - 101:14      suppose [1] - 134:20        95:23, 96:13              THE [624] - 4:4, 4:11,
  stopped [1] - 102:23       subscribed [1] -          supposed [1] - 130:25     ten [5] - 33:19, 33:22,       4:17, 4:21, 5:5, 5:8,
  stories [1] - 48:14         130:14                   suppression [1] -           55:9, 61:23, 105:8          6:1, 6:18, 6:23, 7:1,
  story [2] - 91:16,         subsequent [1] - 97:2      109:7                    ten-minute [1] - 61:23        7:5, 7:16, 7:25, 8:23,
   91:17                     subsequently [5] -        surprise [1] - 144:16     Tennessee [2] - 10:17,        10:22, 11:8, 12:10,
  straightforward [1] -       115:21, 126:15,          surprising [2] - 118:6,     77:16                       12:11, 15:10, 15:11,
   87:19                      128:8, 212:22             118:8                    tentatives [1] - 4:25         15:14, 15:15, 16:21,
  STREET [2] - 1:24,         substance [1] - 187:5     suspected [1] -           term [3] - 78:15,             16:23, 17:1, 17:2,
   2:13                      substantial [3] - 59:3,    144:21                     118:25, 119:10              17:6, 17:8, 17:10,
  street [2] - 15:21,         80:25, 130:3             suspicious [1] -          terminology [1] -             17:11, 17:16, 17:17,
   145:21                    substantive [1] -          131:20                     123:9                       17:18, 17:19, 17:20,
  stricken [3] - 65:23,       138:17                   sustain [2] - 67:2,       terms [6] - 10:15,            17:21, 17:22, 17:23,
   67:9, 173:14              substantively [2] -        67:5                       86:25, 115:18,              17:24, 17:25, 18:1,
  strictly [1] - 142:12       137:13, 137:19           sustained [7] -             145:8, 162:9, 180:10        18:3, 18:4, 18:5,
  strike [7] - 59:21,        subtle [2] - 13:12,        109:23, 114:1,           test [1] - 168:2              18:7, 18:8, 18:9,
   67:11, 115:7,              15:11                     115:11, 152:22,          testified [28] - 67:19,       18:11, 18:13, 18:14,
   122:18, 173:11,           sued [5] - 33:18,          166:25, 167:3, 177:6       68:3, 133:16, 138:9,        18:17, 18:18, 18:20,
   182:15, 208:24             33:21, 55:9              swear [3] - 60:25,          138:10, 157:10,             18:21, 18:25, 19:1,
  strongly [1] - 121:25      suffering [1] - 136:13     104:4, 155:20              172:19, 172:21,             19:2, 19:3, 19:4,
  struck [1] - 122:17        sufficient [1] - 97:19    sworn [4] - 60:21,          172:23, 173:1,              19:5, 19:6, 19:7,
  struggle [1] - 132:4       suggest [8] - 73:18,       64:25, 104:3, 155:19       173:17, 173:20,             19:8, 19:9, 19:11,
  stuff [2] - 26:15, 47:16    85:18, 87:6, 116:4,      Sylmar [1] - 17:1           174:8, 174:25,              19:12, 19:15, 19:16,
                              116:13, 116:16,                                      180:19, 180:23,             19:19, 19:20, 20:1,
  subcategory [1] -                                    sympathy [1] - 64:8
                              214:1, 214:6                                         181:3, 181:8,               20:2, 20:5, 20:6,
   101:10                                              system [5] - 78:23,
                             suing [3] - 34:2,                                     181:12, 181:21,             20:7, 20:8, 20:9,
  subconscious [1] -                                    79:1, 107:19,
                              34:18, 34:20                                         183:5, 210:17,              20:10, 20:12, 20:13,
   41:10                                                107:23, 125:19
                             suit [1] - 76:15                                      211:12, 211:20,             20:15, 20:16, 20:18,
  subconsciously [1] -                                 System [1] - 139:20
                             Summary [1] - 94:14                                   212:7, 212:17,              20:21, 20:23, 20:25,
   30:18                                               systems [7] - 77:25,
                             summary [5] - 73:3,                                   212:18, 212:21              21:1, 21:2, 21:7,
  subheading [2] -                                      83:24, 93:7, 94:21,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    419 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          535Trial Page 242 of 244               25


   21:8, 21:10, 21:11,    43:14, 43:19, 43:24,   71:23, 71:24, 72:14,     192:6, 192:9,              178:17, 179:20,
   21:12, 21:14, 21:15,   44:1, 44:5, 44:9,      72:19, 72:25, 73:15,     192:18, 193:9,             182:3, 182:21,
   21:17, 21:18, 21:21,   44:12, 44:13, 44:15,   74:1, 74:6, 74:17,       197:9, 198:17,             184:7, 193:22,
   21:22, 21:24, 22:3,    44:19, 44:20, 45:7,    74:20, 74:23, 75:3,      198:21, 198:23,            195:19, 196:12,
   22:4, 22:9, 22:10,     45:8, 45:9, 45:12,     88:25, 92:6, 92:9,       198:24, 199:2,             196:18, 197:1,
   22:12, 22:15, 22:17,   46:1, 46:10, 46:15,    92:13, 92:21,            199:6, 199:8,              199:19, 199:24,
   22:19, 22:20, 22:22,   46:16, 46:21, 46:22,   101:24, 103:16,          199:13, 199:16,            211:16
   23:2, 23:3, 23:10,     46:24, 46:25, 47:1,    103:24, 104:2,           200:20, 201:3,           together [15] - 13:11,
   23:11, 23:15, 23:16,   47:2, 47:3, 47:5,      104:8, 104:9,            206:16, 206:21,            13:14, 13:16, 13:18,
   23:18, 23:19, 23:20,   47:7, 47:9, 47:14,     104:14, 104:16,          208:25, 209:17,            13:24, 14:3, 14:14,
   23:23, 23:25, 24:2,    47:19, 47:22, 47:24,   107:5, 107:9,            209:19, 210:8,             77:12, 82:21,
   24:5, 24:7, 24:11,     48:2, 48:3, 48:7,      109:23, 110:16,          210:11, 210:15,            119:16, 123:4,
   24:14, 24:16, 24:17,   48:9, 48:25, 49:1,     112:6, 112:7,            212:3, 213:19,             123:15, 135:20,
   24:18, 24:21, 24:22,   49:7, 49:8, 49:10,     112:11, 112:24,          214:10, 214:12,            141:23, 183:2
   24:24, 25:1, 25:3,     49:12, 49:13, 49:14,   113:2, 113:6, 113:8,     215:9, 215:11,           Tom [2] - 143:17,
   25:5, 25:7, 25:9,      49:15, 49:18, 49:20,   114:1, 115:5, 115:8,     215:12, 215:13,            144:10
   25:10, 25:14, 25:19,   49:22, 49:25, 50:1,    115:11, 119:24,          215:14, 215:15,          tomorrow [4] - 38:25,
   25:21, 25:22, 26:4,    50:2, 50:3, 50:4,      120:2, 121:13,           215:16                     213:25, 214:9
   26:5, 26:6, 26:9,      50:7, 50:9, 50:10,     121:17, 124:11,        themselves [1] -           took [5] - 64:10, 89:7,
   26:11, 26:12, 26:16,   50:13, 50:14, 50:16,   124:14, 126:24,          208:17                     90:4, 99:11, 160:21
   26:17, 26:19, 26:20,   50:17, 50:18, 50:21,   127:2, 127:10,         therein [1] - 61:1         top [13] - 13:10, 13:13,
   26:22, 27:1, 27:2,     50:22, 50:23, 50:25,   127:13, 127:16,        they've [1] - 33:21          13:16, 97:17, 97:22,
   27:4, 27:6, 27:9,      51:1, 51:3, 51:10,     127:19, 128:13,        thinking [1] - 153:17        101:11, 108:7,
   27:13, 27:14, 27:16,   51:13, 51:15, 51:16,   128:16, 129:4,         thinks [3] - 14:24,          108:8, 108:11,
   27:17, 27:18, 27:21,   51:17, 51:19, 51:20,   129:7, 132:11,           46:18, 66:24               120:17, 138:25,
   27:23, 27:24, 28:3,    52:3, 52:4, 52:5,      141:21, 141:22,        third [5] - 78:11, 99:4,     142:13, 168:21
   28:4, 28:5, 28:9,      52:6, 52:7, 52:10,     146:4, 146:14,           201:15, 203:1            topic [1] - 158:24
   28:11, 28:13, 28:15,   52:12, 52:15, 52:17,   146:23, 146:25,        THIRTEENTH [1] -           topics [11] - 114:20,
   28:16, 28:17, 28:19,   52:18, 52:20, 52:21,   147:3, 147:5, 147:7,     2:13                       157:24, 158:3,
   28:20, 28:23, 28:24,   52:22, 52:23, 52:24,   147:9, 147:23,         Thomas [1] - 148:3           159:15, 172:23,
   29:1, 29:7, 29:8,      52:25, 53:1, 53:2,     148:11, 149:13,        Thompson [2] - 10:19,        186:16, 187:3,
   29:9, 29:10, 29:22,    53:4, 53:5, 53:7,      149:15, 150:8,           72:11                      187:13, 188:24,
   29:23, 29:24, 30:4,    53:8, 53:9, 53:11,     150:11, 150:15,        threaded [8] - 93:17,        193:5, 193:6
   30:16, 30:20, 31:3,    53:12, 53:13, 53:14,   150:18, 150:21,          99:9, 112:1, 192:4,      total [2] - 168:15,
   31:4, 31:6, 31:7,      53:17, 53:18, 53:21,   151:1, 151:5,            195:13, 195:15,            199:23
   31:9, 31:10, 31:11,    53:22, 53:24, 53:25,   151:11, 151:13,          195:25                   tough [1] - 15:18
   31:12, 31:15, 31:18,   54:2, 54:3, 54:5,      151:24, 152:2,         three [13] - 13:1, 13:2,   toured [1] - 133:7
   31:19, 31:23, 31:25,   54:6, 54:10, 54:11,    152:3, 152:9,            35:14, 36:9, 39:4,       toward [1] - 41:25
   32:2, 32:4, 32:5,      54:12, 54:13, 54:18,   152:10, 152:22,          39:7, 56:19, 85:10,      towards [1] - 33:7
   32:8, 32:10, 32:19,    54:19, 54:22, 54:23,   153:22, 154:1,           86:16, 88:9, 118:15,     Trade [2] - 117:21,
   32:20, 32:22, 32:23,   55:3, 55:4, 55:7,      154:9, 154:11,           186:20, 203:25             197:21
   33:2, 33:3, 33:13,     55:8, 55:10, 55:11,    154:13, 155:8,         three-hour [1] - 39:4      trade [17] - 32:1,
   33:14, 33:23, 33:24,   55:17, 55:19, 55:22,   155:10, 155:14,        throw [1] - 14:2             32:25, 75:9, 80:1,
   34:1, 34:3, 34:6,      55:23, 56:1, 56:2,     155:17, 155:18,
                                                                        tied [1] - 214:3             81:12, 87:16, 116:9,
   34:8, 34:14, 34:15,    56:4, 56:5, 56:6,      155:24, 155:25,
                                                                        Tinapay [1] - 24:19          117:4, 117:12,
   34:23, 34:24, 35:4,    56:8, 56:10, 56:11,    156:3, 156:4, 164:6,
                                                                        title [6] - 51:5, 106:2,     117:21, 117:25,
   35:14, 35:15, 35:16,   56:13, 56:14, 56:16,   164:9, 166:25,
                                                                          111:3, 111:16,             118:5, 118:9,
   35:17, 35:21, 35:22,   56:17, 56:18, 56:21,   167:2, 167:3,
                                                                          120:22, 160:3              119:12, 134:18,
   36:1, 36:2, 36:7,      57:3, 57:4, 57:8,      167:24, 169:1,
                                                                        TITLE [1] - 215:11           136:17, 142:24
   36:8, 36:10, 36:11,    57:9, 57:10, 57:12,    169:3, 169:7,
                                                                        TO [1] - 215:11            trading [1] - 149:4
   36:13, 36:14, 36:17,   57:14, 57:15, 57:17,   173:14, 174:1,
                                                                        today [34] - 4:22, 4:23,   traffic [2] - 40:1, 214:3
   36:18, 36:19, 36:20,   57:18, 57:20, 57:21,   174:6, 175:22,
                                                                          9:16, 35:1, 38:25,       training [4] - 126:10,
   36:23, 36:24, 37:1,    57:25, 58:1, 58:4,     176:1, 176:14,
                                                                          68:8, 105:22,              170:8, 170:15,
   37:2, 37:4, 37:5,      58:5, 58:6, 58:8,      176:15, 177:6,
                                                                          133:16, 135:3,             170:17
   37:7, 37:8, 37:20,     58:9, 58:11, 58:14,    182:17, 183:9,
                                                                          137:22, 139:25,          transaction [2] - 93:6,
   37:21, 37:24, 37:25,   58:16, 58:18, 58:19,   186:18, 186:19,
                                                                          141:16, 142:6,             94:20
   38:15, 38:16, 40:10,   58:20, 58:21, 58:23,   189:16, 189:17,
                                                                          161:10, 164:22,          transcribed [1] -
   40:18, 41:4, 41:8,     59:4, 59:8, 59:11,     190:1, 190:15,
                                                                          165:21, 166:4,             157:15
   41:16, 41:21, 42:6,    59:14, 59:23, 60:1,    190:17, 190:19,
                                                                          166:15, 167:6,           transcript [2] - 70:8,
   42:12, 42:20, 42:22,   60:10, 60:22, 61:4,    190:22, 190:23,
                                                                          174:20, 175:5,             173:25
   42:25, 43:6, 43:9,     61:5, 63:20, 63:21,    190:25, 191:2,
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    420 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          536Trial Page 243 of 244               26


  TRANSCRIPT [3] -           turns [1] - 141:6         underlying [1] - 90:3       204:1                    value [5] - 75:8, 79:22,
    1:18, 215:12, 215:14     twice [2] - 201:20,       understood [12] -          United [22] - 4:5, 7:6,    79:25, 93:7, 94:20
  transdent [1] - 123:17       201:22                   6:22, 95:5, 157:20,        9:16, 9:19, 32:14,       VANDEWATER [1] -
  transfers [1] - 51:5       two [37] - 4:4, 11:21,     158:2, 162:13,             34:19, 75:6, 75:7,        1:11
  transparent [2] - 89:9,      11:23, 12:24, 16:6,      187:3, 187:12,             77:17, 78:21, 79:18,     Vandewater [3] - 4:6,
    100:16                     27:25, 29:19, 35:6,      197:19, 198:1,             79:20, 79:21, 90:11,      7:6, 152:6
  transport [1] - 96:4         35:7, 35:9, 38:3,        198:2, 198:7               90:12, 95:20, 98:7,      Vaneh [1] - 8:3
  Treasury [1] - 76:23         38:7, 51:10, 72:5,      undertake [1] - 187:6       99:12, 113:21,           varied [2] - 162:4,
  tree [2] - 107:24, 108:9     79:4, 82:1, 85:1,       undertaken [1] -            131:10, 142:7, 142:8      162:9
  trial [41] - 4:18, 10:1,     88:6, 94:4, 95:3,        197:20                    UNITED [7] - 1:1, 1:1,    various [3] - 90:10,
    10:8, 12:24, 19:23,        100:18, 101:24,         undertook [3] -             1:4, 1:6, 215:9,          90:23, 106:6
    23:8, 23:9, 23:14,         105:6, 108:23,           142:25, 143:12,            215:11, 215:16           Velasquez [6] - 4:16,
    26:18, 37:19, 37:23,       140:5, 148:19,           187:6                     university [2] - 26:24,    7:15, 11:6, 103:13,
    38:17, 38:20, 40:3,        158:5, 185:7, 185:8,    underwater [1] - 90:25      27:1                      158:19, 188:5
    45:2, 52:1, 53:16,         193:21, 198:12,         Underwriters [9] -         University [4] - 27:3,    vendors [1] - 144:4
    57:23, 57:24, 63:2,        199:1, 199:6,            109:9, 109:12,             105:1, 105:2, 132:21     verbal [1] - 175:7
    64:12, 66:9, 68:9,         207:21, 207:22,          109:18, 109:25,           unlawfully [2] - 76:7,    verdict [13] - 14:7,
    69:6, 69:22, 70:20,        210:2                    110:3, 110:9,              132:7                     14:16, 15:6, 28:2,
    72:12, 76:1, 76:13,      two-fold [1] - 27:25       111:10, 189:2,            unless [4] - 42:17,        36:9, 37:3, 37:14,
    77:2, 78:7, 78:18,       twofold [3] - 12:14,       189:20                     44:5, 110:11, 170:20      61:1, 64:17, 65:4,
    79:25, 82:8, 89:4,         29:2, 29:3              undue [1] - 70:16          Unloading [1] - 96:11      68:10, 69:16, 71:13
    89:24, 91:4, 91:21,      type [5] - 53:12, 96:9,   unemployed [4] -           Unreportable [1] -        versa [1] - 63:4
    103:5, 103:6, 185:9        101:19, 125:16,          22:18, 24:20, 53:2,        191:9                    versus [5] - 4:5, 7:6,
  TRIAL [1] - 1:18             144:3                    53:5                      UNREPORTABLE [1]           9:16, 34:20, 90:20
  trials [1] - 11:20         types [4] - 102:13,       unfair [2] - 75:9, 81:12    - 206:11                 vessel [2] - 96:5, 96:6
  trick [2] - 184:20,          109:4, 121:7, 122:7     unfolded [1] - 153:18      unscrewed [1] -           via [2] - 68:24, 113:16
    191:11                   typically [2] - 171:5,    unfounded [1] -             113:18                   vice [7] - 63:4, 156:14,
  tried [3] - 14:6, 73:8,      204:17                   103:10                    unsustainable [3] -        159:19, 159:23,
    115:20                                             uni [26] - 100:10,          100:3, 100:14, 103:3      159:24, 160:13,
  trip [1] - 8:9                        U               122:23, 129:11,           up [42] - 5:11, 5:14,      160:14
  TRUE [1] - 215:12                                     133:17, 138:8,             7:19, 7:20, 7:22, 9:1,   video [2] - 150:12,
  true [7] - 39:20, 61:1,    U.S [20] - 89:6, 89:10,    162:18, 166:1,             9:4, 9:10, 9:14, 12:4,    150:14
    64:22, 84:9, 84:20,       90:1, 90:9, 90:14,        171:9, 171:14,             13:10, 14:19, 16:6,      viewed [2] - 180:19,
    85:18                     90:16, 90:17, 90:18,      171:23, 172:2,             16:8, 19:23, 24:10,       180:23
  truly [1] - 60:25           90:19, 90:20, 91:11,      172:14, 172:20,            30:23, 39:15, 44:16,     viewpoint [1] - 54:21
  Trump [2] - 142:14,         91:22, 91:25, 92:14,      172:24, 173:2,             45:23, 58:5, 60:11,      views [1] - 29:5
    142:15                    92:24, 96:11, 101:7,      173:18, 174:11,            60:20, 63:5, 70:23,      violated [1] - 88:10
  trust [1] - 136:16          114:3, 137:24             174:23, 175:3,             73:17, 85:19, 92:2,      violates [1] - 69:25
  truth [11] - 83:14,        UL [7] - 110:10, 134:3,    176:23, 178:19,            92:8, 95:11, 95:21,      violation [3] - 48:20,
    84:16, 85:21, 85:25,      134:5, 189:10,            178:24, 179:3,             101:11, 105:11,           48:24, 152:20
    104:6, 104:7,             189:11, 189:14            179:17, 179:18             112:9, 129:16,           violin [2] - 18:2, 18:4
    155:22, 155:23           ultimate [1] - 93:4       UniLet [26] - 100:10,       131:7, 150:22,           vis-à-vis [1] - 132:1
  truthful [1] - 82:25       ultimately [6] - 41:13,    122:23, 129:11,            160:16, 187:2,           Vision [1] - 162:23
  try [15] - 12:7, 14:25,     59:2, 91:17, 92:17,       133:17, 138:8,             210:12, 214:3
                                                                                                            voice [2] - 41:8, 58:5
    22:5, 29:4, 33:6,         102:22, 160:25            162:18, 166:1,            updates [1] - 182:7
                                                                                                            voices [1] - 179:14
    33:15, 38:13, 51:16,     uncovered [1] - 86:16      171:9, 171:14,            upper [1] - 97:17
                                                                                                            voir [1] - 4:23
    51:23, 52:5, 60:25,      under [20] - 12:23,        171:23, 172:2,            urge [1] - 70:6
                                                                                                            VS [1] - 1:10
    69:19, 188:18,            30:6, 65:20, 72:18,       172:14, 172:20,           US [1] - 89:14
    188:21, 214:2             72:23, 86:25, 93:19,      172:24, 173:2,            USC [1] - 21:19
                              97:20, 98:13, 99:6,       173:18, 174:11,           useable [1] - 174:4
                                                                                                                       W
  trying [14] - 30:6,
    30:22, 48:15, 61:8,       101:9, 119:17,            174:23, 175:3,            utility [1] - 49:16       W-i-j-a-y-a [1] - 8:8
    86:8, 91:18, 100:12,      120:24, 123:13,           176:23, 178:19,           utterly [1] - 100:2       W-o-e-h-r-e-l [1] -
    115:15, 115:18,           140:8, 200:1,             178:24, 179:3,
                                                                                                             104:15
                              200:10, 202:1,            179:17, 179:18
    123:8, 153:14,
                              205:10, 205:13
                                                                                             V              W-o-n-g [1] - 46:1
    154:5, 161:19,                                     UniLet [12] - 99:9,
                                                                                                            wait [2] - 29:23, 42:1
    164:24                   undercut [2] - 80:3,       179:23, 180:20,           V-a-n-e-h [1] - 8:3       waiting [1] - 214:4
  tube [2] - 98:17, 99:13     115:21                    180:24, 182:11,           vague [1] - 129:2         wants [3] - 63:14,
  TUESDAY [1] - 1:19         undergraduate [1] -        191:23, 191:25,           vaguely [1] - 195:21       153:23, 190:23
  turn [4] - 74:18, 108:2,    104:25                    192:21, 192:25,           valid [1] - 213:12        war [1] - 48:14
    111:6, 174:10            underlined [1] - 122:5     203:19, 203:22,           valorem [1] - 99:16       WASHINGTON [1] -
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-6 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    421 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 1 of FCA
                                          537Trial Page 244 of 244               27


   2:13                    115:24, 118:17,           win [3] - 23:8, 37:18,    wording [2] - 137:14,
  Washington [3] -         121:1, 122:2,              141:24                    137:16
   14:20, 116:8, 116:17    122:22, 125:18,           wireless [1] - 21:20      words [11] - 53:18,
  waste [2] - 46:16,       128:24, 129:13,           wish [2] - 70:9, 103:22    68:7, 83:16, 97:9,
   209:24                  129:22, 130:22,           WITH [1] - 215:15          101:12, 123:1,
  watch [1] - 40:2         131:8, 131:9,             withdraw [1] - 127:14      183:23, 209:8,
  water [4] - 90:25,       131:10, 131:11,           witness [26] - 39:11,      209:9, 209:25,
   102:4, 102:10,          131:14, 131:15,            66:12, 66:13, 67:16,      212:10
   102:15                  131:24, 131:25,            67:17, 67:19, 72:11,     worker [1] - 49:16
  wavy [2] - 108:3,        132:5, 132:8,              72:24, 89:21,            works [21] - 16:4,
   108:16                  132:25, 133:2,             102:12, 103:23,           17:9, 18:5, 19:10,
  ways [6] - 11:23,        133:11, 133:18,            103:24, 107:3,            20:13, 21:19, 22:16,
   76:24, 85:1, 86:9,      133:20, 134:2,             107:8, 112:5,             23:23, 24:25, 25:16,
   140:15, 143:12          134:4, 134:7,              112:23, 132:10,           26:9, 27:5, 27:7,
  website [3] - 131:8,     134:23, 138:19,            146:16, 146:22,           27:21, 28:7, 28:22,
   144:2, 164:16           139:22, 153:4,             155:11, 155:13,           47:6, 49:19, 53:10,
  websites [2] - 69:1,     153:8, 161:2,              166:23, 173:25,           53:13, 107:16
   149:10                  162:14, 162:16,            191:18, 192:14           world [3] - 52:2,
  week [2] - 11:11,        173:3, 176:9,             WITNESS [25] - 3:2,        90:10, 117:22
   11:25                   176:24, 180:4,             104:8, 104:14,           worth [2] - 156:19,
  weight [5] - 66:17,      184:14, 187:7,             113:2, 113:8, 115:8,      157:4
   66:19, 68:1, 68:5,      188:25, 189:1,             141:22, 149:15,          write [3] - 96:4, 96:12
   136:18                  189:15, 190:11,            152:2, 152:10,           writing [2] - 68:24,
  weld [27] - 99:9,        191:1, 191:4, 191:7,       154:1, 155:24,            175:14
   105:8, 106:5,           192:1, 192:4, 194:7,       156:3, 167:2, 169:3,     written [8] - 85:13,
   107:18, 107:20,         194:12, 196:5,             169:7, 176:15,            86:20, 87:13, 99:3,
   108:20, 108:25,         196:7, 201:23,             186:19, 189:17,           177:11, 178:23,
   109:2, 110:7, 113:9,    202:4, 202:20,             190:17, 190:22,           209:6, 212:10
   113:10, 113:13,         203:19, 204:1,             190:25, 198:23,          wrote [4] - 93:20,
   113:14, 114:6,          204:7, 206:2,              199:8, 209:19             94:10, 96:25, 123:19
   114:10, 114:12,         207:23, 208:21,           witness' [8] - 67:20,
                           209:12                     67:21, 67:22, 67:24,
   114:14, 115:10,
                          welder [4] - 108:21,
                                                                                           Y
   138:13, 138:19,                                    73:22, 199:3
   139:1, 139:4,           133:13, 139:3, 139:8      witnesses [23] - 6:23,    year [6] - 91:10, 95:25,
   189:15, 202:9,         welders [2] - 108:25,       10:5, 10:15, 10:21,       99:3, 102:23, 162:4,
   203:22, 207:22          139:5                      11:3, 11:14, 12:22,       162:5
  Welded [1] - 111:16     Welding [1] - 111:17        65:1, 65:10, 68:3,       years [20] - 33:19,
  welded [120] - 75:23,   welding [9] - 110:7,        68:5, 72:9, 72:16,        33:22, 40:20, 51:8,
   77:18, 77:20, 77:23,    125:21, 133:14,            72:20, 90:3, 90:23,       55:9, 55:18, 58:9,
   77:24, 78:1, 78:5,      134:24, 189:15,            91:5, 94:24, 101:18,      81:8, 102:23, 105:8,
   78:10, 80:14, 81:16,    192:21, 194:16,            102:11, 155:16,           105:9, 105:10,
   82:7, 83:21, 83:23,     202:7, 202:23              186:1, 186:3              105:24, 111:25,
   83:25, 84:3, 84:8,     West [2] - 24:19, 27:2     wits [1] - 86:8            114:16, 119:11,
   86:17, 86:22, 86:24,   WESTERN [1] - 1:2          Woehrel [17] - 10:16,      130:18, 133:6,
   91:3, 91:4, 91:8,      whatsoever [1] - 41:1       86:6, 86:7, 104:1,        156:12, 197:21
   91:11, 98:11, 98:24,   whispering [1] - 38:9       104:14, 110:21,          York [1] - 39:12
   99:4, 99:5, 99:19,     WHITE [1] - 2:11            121:20, 127:21,          yourself [5] - 18:22,
   100:11, 101:1,         White [3] - 4:13, 7:12,     131:22, 132:15,           26:13, 47:19, 71:18,
   101:9, 101:13,          159:9                      147:11, 148:2,            133:11
   101:16, 101:21,        whole [11] - 15:16,         148:18, 149:18,          yourselves [4] - 62:6,
   101:23, 102:2,          29:11, 101:5, 104:6,       151:15, 153:2,            70:10, 146:9, 213:22
   102:21, 102:24,         135:17, 155:22,            154:16
   107:1, 107:14,          168:19, 192:12,           Woehrel's [1] - 150:5                 Z
   107:19, 108:12,         205:1, 205:5              wondering [1] - 79:23
   108:14, 109:13,        wife [4] - 22:17, 28:21,   Wong [2] - 46:1, 46:24    Z-i-l-l-m-e-r [1] - 8:17
   110:7, 111:18,          49:20, 52:9               Woodland [2] - 17:24,     Zanev [1] - 17:22
   112:19, 113:15,        Wijaya [2] - 8:8, 20:5      50:5                     Zillmer [2] - 8:17,
   113:16, 114:12,        willing [1] - 11:10        word [5] - 98:19,          25:15
   114:17, 115:1,         willingly [2] - 144:23,     123:11, 168:4,           zoom [1] - 120:15
   115:16, 115:19,         144:25                     204:6, 209:6
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    422 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           538 Trial Page 1 of 166




                               EXHIBIT 7
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    423 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           539 Trial Page 2 of 166



   1                         UNITED STATES DISTRICT COURT

   2                        CENTRAL DISTRICT OF CALIFORNIA

   3                HONORABLE R. GARY KLAUSNER, JUDGE PRESIDING

   4     UNITED STATES OF AMERICA, ET AL.,          )
                                                    )
   5                                                )
                                                    )
   6                               Plaintiffs,      )
                                                    )
   7                                                )
                                                    )
   8                 Vs.                            )   No. CV17-04393-RGK
                                                    )
   9                                                )
                                                    )
 10      VANDEWATER INTERNATIONAL, INC.,            )
         ET AL.,                                    )
 11                                                 )
                                                    )
 12                                                 )
                                   Defendants.      )
 13                                                 )
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 14

 15

 16                      REPORTER'S TRANSCRIPT OF PROCEEDINGS

 17                                 JURY TRIAL, DAY 3

 18                              LOS ANGELES, CALIFORNIA

 19                             THURSDAY, OCTOBER 7, 2021

 20

 21

 22

 23                       MIRIAM V. BAIRD, CSR 11893, CCRA
                        OFFICIAL U.S. DISTRICT COURT REPORTER
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                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    424 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           540 Trial Page 3 of 166



   1                              A P P E A R A N C E S

   2

   3     FOR THE THE PLAINTIFF,                 CHRISTOPHER MITCHELL HENDY
         ISLAND INDUSTRIES:                     KELLY KRAMER
   4                                            MAYER BROWN LLP
                                                350 SOUTH GRAND AVENUE
   5                                            SUITE 2500
                                                LOS ANGELES, CA 90071
   6

   7

   8

   9

 10      IN BEHALF OF THE DEFENDANT,            CHRISTOPHER M. CURRAN
         VANDEWATER INTERNATIONAL,              CRISTINA BRAYTON-LEWIS
 11      INC., ET AL.,:                         LUCIUS B. LAU
                                                SHANNON LANE
 12                                             WHITE AND CASE LLP
                                                601 THIRTEENTH STREET NW
 13                                             WASHINGTON, DC 20005-3807

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                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    425 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           541 Trial Page 4 of 166
                                                                                      3


   1                                         INDEX

   2     WITNESS:                                                         PAGE:

   3
          Walter Sperko, Defendant's witness, previously                       4
   4      sworn
          DIRECT EXAMINATION RESUMED                                           4
   5      CROSS-EXAMINATION                                                   17
          Patricia Velazquez, Defendant's witness, sworn                      23
   6      DIRECT EXAMINATION                                                  23
          CROSS-EXAMINATION                                                   68
   7      REDIRECT EXAMINATION                                                86
          RECROSS-EXAMINATION                                                 91
   8
                                             *****
   9

 10      EXHIBITS:

 11       Exhibit    1079   received)                                         12
          Exhibit    1080   received)                                         13
 12       Exhibit    1077   received)                                         14
          Exhibit    1083   received)                                         14
 13       Exhibit    1084   received)                                         15
          Exhibit    1047   received)                                         50
 14
                                             *****
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 18

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                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    426 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           542 Trial Page 5 of 166
                                                                                      4


   1     LOS ANGELES, CALIFORNIA; THURSDAY, OCTOBER 7, 2012; 8:21 A.M.

   2                                          ---

   3                   THE CLERK:    All rise.

   4                   (Open court - jury present)

   5                   THE COURT:    Okay.    Let the record reflect that all

   6     members of the jury are in their respective seats in the jury

   7     box.    The witness is on the witness stand.

   8                   Counsel, we're in direct examination.

   9                   THE CLERK:    Mr. Sperko, I'll remind you you're

 10      still under oath at this time.

 11                    THE WITNESS:    Yes, ma'am.

 12             Walter Sperko, Defendant's witness, previously sworn

 13                            DIRECT EXAMINATION RESUMED

 14      BY MR. LAU:

 15      Q.     Good morning, Mr. Sperko.

 16      A.     Good morning, Mr. Lau.

 17      Q.     Is SIGMA compensating you for your time today?

 18      A.     Yes.

 19      Q.     What is your hourly rate?

 20      A.     My hourly rate for this is $375 an hour.

 21      Q.     Mr. Sperko, what opinions have you reached in this case

 22      with respect to SIGMA?

 23      A.     The essence of my opinion is that an outlet fitting is

 24      not a butt-weld fitting, nor is a butt-weld fitting an outlet

 25      fitting.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    427 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           543 Trial Page 6 of 166
                                                                                      5


   1     Q.    Feel free to take off your mask because you're behind

   2     the plexiglass.

   3     A.    (Witness complies.)        All right.

   4     Q.    Thank you, sir.

   5     A.    Sorry.

   6     Q.    First, let's discuss the concept of industry standards.

   7     What is an industry standard?

   8     A.    An industry standard is a written document that

   9     describes a product, a process, or a service.              A simple

 10      example of an industry standard is a bolt.             A bolt has a head

 11      on it.    It has a shaft.      It has threads on it.

 12                   In order for that bolt to work correctly, the nut

 13      that matches up to that bolt -- the nut that matches up to

 14      that bolt has to have the threads that match the threads on

 15      the outside of that bolt so that when you take two pieces of

 16      material and you want to join together, you slide the bolt

 17      through, you spin the nut on, you tighten it up, and the

 18      threaded fastener works.

 19                   A bolt is not the same thing as a wood screw.              A

 20      wood screw, threaded fastener just like a bolt, but the

 21      threads on a wood screw are very coarse threads and they're

 22      designed to hold into wood.          One would never mistake a wood

 23      screw for a bolt.

 24      Q.    Are there industry standards that would distinguish

 25      between a bolt on the one hand and a wood screw on the other?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    428 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           544 Trial Page 7 of 166
                                                                                      6


   1     A.    Yes.

   2     Q.    Are industry standards important?

   3     A.    Yes.

   4     Q.    Why are they important?

   5     A.    As more or less implied by my example, if you didn't

   6     have industry standards that covered the configuration and

   7     geometry for bolts and nuts, they would not be compatible and

   8     they would not work.

   9     Q.    Who relies on industry standards?

 10      A.    Everyone.

 11      Q.    Do people sometimes rely on industry standards to

 12      determine what a product is?

 13      A.    Yes.

 14      Q.    Let's talk about welds.         What is a weld?

 15      A.    A weld is a method of joining materials together using

 16      heat and/or pressure to create coalescence, that is, a

 17      joining between two materials to make them one.

 18      Q.    And can you give me some examples of welds?

 19      A.    Well, welds are used in things like office furniture

 20      where they -- the furniture is made out of metal.               Welds are

 21      used in the piping systems that provide hot water and chilled

 22      water to keep this room cool, or not, as the case might be.

 23                   Welds are used in piping systems that provide the

 24      fire protection system that protects this building.

 25      Q.    Do welds sometimes have different names?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    429 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           545 Trial Page 8 of 166
                                                                                      7


   1     A.    Yes.    There are different kinds of welds that are

   2     identified by the type of joint that is being made.                In

   3     discussions here you'll hear about a butt-weld fitting.

   4     Well, a butt weld is a joint where two materials are butted

   5     together and they happen to be welded.            It's a butt joint

   6     because the two materials that are being joined together are

   7     in approximately the same plane.

   8                  You can have joints that are T joints where one

   9     member tees into another member.           You can have joints that

 10      are lap joints where one member laps over the other joint.

 11      You can also have joints where one member is perpendicular to

 12      the other joint at the corner.          That's referred to as a

 13      corner joint.

 14                   These type of joints can be made by welding.               They

 15      can be made by brazing.        They can be made by soldering.           They

 16      can be made by using adhesive bonding.

 17      Q.    Mr. Sperko, are there industry standards applicable to

 18      welds?

 19      A.    Yes.    There are many standards applicable to welding.

 20      Q.    You mentioned butt welds.         Are there industry standards

 21      applicable to butt welds?

 22      A.    When it comes to piping systems, there are a number of

 23      standards that have been written by ASME, American Society of

 24      Mechanical Engineers.        Those are the B31 standards that cover

 25      piping systems in power plants, refineries, chemical plants,



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    430 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                    Transcript of Day 3 of FCA
                                           546 Trial Page 9 of 166
                                                                                      8


   1     pharmaceutical plants.

   2                  The majority of the welding that is done under

   3     those standards requires butt welding of piping systems

   4     together or other joints such as outlet connections.

   5     Q.    Now, let's talk about butt-weld pipe fittings.               What is

   6     a butt-weld pipe fitting?

   7     A.    A butt-weld pipe fitting is a fitting that is designed

   8     to join together a straight piece of pipe on the end of the

   9     pipe and, depending on the configuration of the fitting,

 10      either it's an elbow or it's a T or some other configuration

 11      where the pipe and the fittings are joined together and the

 12      ends of the pipe and the ends of the fitting are in the same

 13      plane.

 14                   The fitting itself matches up with the plane of the

 15      pipe; that is, if I look at the definition of a butt joint

 16      where two materials are joined together in the same plane, as

 17      I go around the pipe, that plane is constant as I go around

 18      the pipe.     So all the way around the pipe the materials that

 19      are being joined are in the same plane.

 20                   So those are butt joints, and because they're

 21      welded, they're referred to as butt-welding fittings.

 22      Q.    Are there industry standards applicable to butt-weld

 23      pipe fittings?

 24      A.    Yes.

 25      Q.    What are those industry standards?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    431 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          547 Trial Page 10 of 166
                                                                                      9


   1     A.    There are a number of them.          The most commonly used

   2     standard that describes the geometry of a butt-weld fitting

   3     is ASME B16.9.

   4     Q.    What welds are used with butt-weld pipe fittings?

   5     A.    Yes.    Butt-weld pipe fittings are specifically designed

   6     to be butt welded to pieces of pipe or to other butt-weld

   7     fittings.

   8     Q.    If you had to identify the one defining characteristic

   9     of a butt-weld pipe fitting, what would that defining

 10      characteristic be?

 11      A.    The joints between the members are butt joints; that is,

 12      the joints are in the same plane in both members.

 13      Q.    Now let's talk about welded outlets.            What is a welded

 14      outlet?

 15      A.    A welded outlet is a -- it's basically a small tube that

 16      is designed to fit on the outside surface.             If you have a

 17      piece of pipe, it's designed to fit on the outside surface of

 18      the pipe.     The way it's installed is you cut a hole in the

 19      pipe, you put this fitting over the outside of the south-side

 20      surface of the pipe, and you weld that fitting to the pipe.

 21                   The other end of the fitting will have some kind of

 22      connection.     In most fire protection piping systems, outlet

 23      fittings are threaded on the outlet end so that the sprinkler

 24      heads can be screwed into the outlet fitting which is

 25      connected to the pipe that provides the water that makes the



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    432 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          548 Trial Page 11 of 166
                                                                                     10


   1     sprinkler system work.

   2     Q.    Are there industry standards applicable to welded

   3     outlets?

   4     A.    Yes.

   5     Q.    What are those standards?

   6     A.    The standard for welded outlets is a Manufacturers

   7     Standardization Society standard SP97.

   8     Q.    And what welds are used with welded outlets?

   9     A.    The weld that joins a welded outlet to the main pipe,

 10      the run pipe.      What we refer to as the run pipe or the header

 11      pipe is a corner joint; that is, the outlet sits on the

 12      outside of the pipe.        If you look at the wall of the outlet

 13      and you look at the wall of the pipe, it's a corner joint.

 14      Q.    Based on the industry standards that we've been

 15      discussing, would industry participants treat welded outlets

 16      as butt-weld pipe fittings?

 17      A.    No one that is in the industry dealing with piping would

 18      ever confuse an outlet fitting with a butt-weld fitting.

 19      Q.    Why is that so?

 20      A.    Number one, because they're manufactured to different

 21      standards.     Number two, they serve different purposes.

 22      Q.    At this point I'd like you to take a look at

 23      Exhibit 1089, which is the Uni-Let outlet, which should be up

 24      there on the shelf someplace.

 25                   What is this exhibit, Mr. Sperko?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    433 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          549 Trial Page 12 of 166
                                                                                     11


   1     A.      This is an outlet fitting.

   2     Q.      Is there a marking or a brand name on that outlet

   3     fitting?

   4     A.      This outlet fitting is a Uni-Let.         I can tell that it's

   5     an outlet fitting because it has the characteristic shape on

   6     one end of the fitting that matches up to the outside

   7     diameter of the pipe that it is intended to be joined to.

   8     Q.      Let's take a look at another outlet, the Safe-Let

   9     outlet.    Take a look at Exhibit 1090.          What is this,

 10      Mr. Sperko?

 11      A.      This is also an outlet fitting.         Again, I can tell it's

 12      an outlet fitting because it's contoured to match the outside

 13      surface of the pipe to which it will be attached, and it is

 14      identified as a Safe-Let fitting.

 15                   MR. LAU:    At this point I would like to hand

 16      physical Exhibit 1079 to the witness.            It's on the exhibit

 17      list.

 18                   THE COURT:     Counsel, that exhibit has never been

 19      received into evidence yet.

 20                   MR. LAU:    No, it has not, Your Honor.

 21                   THE COURT:     Why don't you show it to the plaintiff

 22      first, and then we can pass it up.

 23                   MR. LAU:    Yes, Your Honor.

 24                   THE COURT:     Okay.    And this is marked as what?

 25                   MR. LAU:    Exhibit 1079.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    434 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          550 Trial Page 13 of 166
                                                                                     12


   1                  THE COURT:     Are you introducing it at this time?

   2                  MR. LAU:    After the witness identifies it, yes,

   3     Your Honor.

   4     BY MR. LAU:

   5     Q.    Mr. Sperko, what is Exhibit 1079?

   6     A.    Exhibit 1079 is an example of a header pipe that would

   7     be attached -- that an outlet fitting has been attached to.

   8     You can say that the outlet fitting has been welded around.

   9                  If I take the outlet fittings here, either the

 10      Safe-Let or the Uni-Let, we can see that the outlet fitting

 11      sits on the outside end of the pipe and can be welded to the

 12      outside surface of the pipe.

 13                   MR. LAU:    At this point, Your Honor, I would like

 14      to move Exhibit 1079 into evidence.

 15                   THE COURT:     It will be received.

 16                   (Exhibit 1079 received)

 17      BY MR. LAU:

 18      Q.    Mr. Sperko, for this exhibit what weld is used to attach

 19      the outlet to the header pipe?

 20      A.    The weld that joins the outlet to the header pipe is a

 21      corner joint.      That is, if you look at the face of the

 22      fitting and the face of the pipe, that joint is a corner

 23      joint.    It's not a butt joint.

 24      Q.    Would you ever use a butt weld to attach the outlet to

 25      the header pipe?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    435 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          551 Trial Page 14 of 166
                                                                                     13


   1     A.    No.

   2                  MR. LAU:    At this point I would like to hand

   3     physical Exhibit 1080 to the witness.

   4                  THE COURT:     Okay.

   5     BY MR. LAU:

   6     Q.    Mr. Sperko, what is Exhibit 1080?

   7     A.    Exhibit 1080 used to be the same as Exhibit 1079 except

   8     that it has been cut in half down the long axis so that the

   9     connection between the outlet fitting and the header pipe --

 10      that corner weld on that side, corner weld on that side,

 11      corner weld all the way around -- is clearly evident.

 12                   MR. LAU:    Your Honor, I would like to move

 13      Exhibit 1080 into evidence.

 14                   THE COURT:     It will be received.

 15                   (Exhibit 1080 received)

 16                   MR. LAU:    At this point I'd like to hand physical

 17      Exhibit 1077 to the witness.

 18      BY MR. LAU:

 19      Q.    Mr. Sperko, what is Exhibit 1077?

 20      A.    This is a piece of pipe.

 21      Q.    Any particular type of piece of pipe?

 22      A.    Well, it's got some identification markings on it.                This

 23      particular piece of pipe has been prepared on its ends for

 24      butt welding to either another piece of pipe or a pipe

 25      fitting.     It's also been prepared to attach an outlet fitting



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    436 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          552 Trial Page 15 of 166
                                                                                     14


   1     in that there is a hole in the pipe where an outlet fitting

   2     could be set over the hole and welded in place.

   3                  MR. LAU:    Your Honor, at this point I'd like to

   4     move Exhibit 1077 into evidence.

   5                  THE COURT:     It will be received.

   6                  (Exhibit 1077 received)

   7     BY MR. LAU:

   8     Q.    Mr. Sperko, you said that the pipe that you're looking

   9     at had been prepared to receive a butt weld?

 10      A.    Correct.

 11      Q.    How do you know that?

 12      A.    Because the ends of the pipe -- when you cut the pipe,

 13      if you cut it with a saw, the ends are square.               To prepare it

 14      for welding, what the welder will do is take a grinder or do

 15      machining to put a bevel on that, on the face, the end face

 16      on the end of the pipe.

 17                   MR. LAU:    At this point I'd like to hand

 18      Exhibit 1083 to the witness.

 19      BY MR. LAU:

 20      Q.    Mr. Sperko, what is Exhibit 1083?

 21      A.    Exhibit 1083 is a butt-welding T.

 22                   MR. LAU:    Your Honor, I'd like to move Exhibit 1083

 23      into evidence.

 24                   THE COURT:     It will be received.

 25                   (Exhibit 1083 received)



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    437 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          553 Trial Page 16 of 166
                                                                                     15


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   2     BY MR. LAU:

   3     Q.    When you say this is a butt-welding T, how do you know

   4     it is a butt-welding T?

   5     A.    Because the open ends of this T are square to the axis

   6     of the T.     The ends have been beveled in preparation for

   7     welding to join to a piece of pipe or some other pipe

   8     fitting.

   9     Q.    And how would those two -- how would the elbow and the

 10      pipe be joined together?         What weld would be used?

 11      A.    This would be -- this would be a butt weld.              You take

 12      the pipe and the fittings and you would simply butt them

 13      together, the pipe and the fittings both being in the same

 14      plane.    Being in the same plane identifies a butt weld.

 15                   MR. LAU:    At this point I'd like to hand physical

 16      Exhibit 1084 to the witness.

 17      BY MR. LAU:

 18      Q.    Mr. Sperko, what is physical Exhibit 1084?

 19      A.    Exhibit 1084 is what is known as a pipe cap.

 20      Q.    Any particular type of pipe cap?

 21      A.    It is a butt-welding pipe cap.

 22                   MR. LAU:    Your Honor, I would like to move

 23      Exhibit 1084 into evidence.

 24                   THE COURT:     It will be received.

 25                   (Exhibit 1084 received)



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    438 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          554 Trial Page 17 of 166
                                                                                     16


   1     BY MR. LAU:

   2     Q.    Mr. Sperko, you now have in front of you some welded

   3     outlets, and you have in front of you some butt-weld fittings

   4     and pipes and the Ts and the caps.           Is there any doubt in

   5     your mind as to the difference between the pipe, the elbow,

   6     and the cap on the one hand, and the Uni-Let and Safe-Let

   7     welded outlets on the other?

   8     A.    They -- the pipe fittings are butt-weld fittings; that

   9     is, the cap and the T are butt-weld fittings.              The outlet

 10      fittings are outlet fittings.          They're not the same thing.

 11      Q.    Can you show me again how the cap might be attached to

 12      the pipe.

 13      A.    Sure.    I can take the cap and I would attach it to the

 14      end of the pipe, or I could take the cap and I could attach

 15      it to the end of the fitting as a -- by making a butt weld,

 16      or to the outlet on the fitting, or to the other end of the

 17      fitting.

 18      Q.    Mr. Sperko, have you read the Commerce decision that

 19      concluded that welded outlets are covered by the antidumping

 20      duty order on butt-weld pipe fittings from China?

 21      A.    Yes.

 22      Q.    Based on the industry standards that we've been

 23      discussing, do you think that a member of the industry could

 24      have foreseen that Commerce would treat welded outlets as a

 25      butt-weld pipe fitting?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    439 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          555 Trial Page 18 of 166
                                                                                     17


   1     A.      No.

   2     Q.      Why do you say that?

   3     A.      Because a butt-weld fitting is designed to match up to

   4     the end of the piece of pipe.          It is a completely different

   5     fitting and has a completely different application from an

   6     outlet fitting which is designed to attach to the outside

   7     surface of the pipe and provide an additional path for

   8     whatever fluid is in the pipe to go out that outlet fitting.

   9                    MR. LAU:   Thank you.    No further questions.

 10                     THE COURT:   Cross-examination.

 11                                  CROSS-EXAMINATION

 12      BY MR. KRAMER:

 13      Q.      Mr. Sperko, how many times in your career have you

 14      testified as a paid expert witness?

 15      A.      Probably five or six over the 40 years that I've been in

 16      this.

 17      Q.      And how many times have you been retained as a paid

 18      expert witness?

 19      A.      Probably 25, 30 times.

 20      Q.      Now, in your career you've never had any role in

 21      importing products, correct?

 22      A.      I'm sorry?   Could you repeat.

 23      Q.      Yes.   During your career you've never had any role in

 24      importing products?

 25      A.      No, I have not.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    440 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          556 Trial Page 19 of 166
                                                                                     18


   1     Q.      In fact, it would be fair to say that you have no

   2     expertise as it relates to the U.S. import laws, correct?

   3     A.      That is correct.

   4     Q.      And specifically with respect to antidumping duty

   5     orders, you have no expertise with respect to antidumping

   6     duty orders, right?

   7     A.      That is correct.

   8     Q.      No one has ever consulted with you about how to comply

   9     with an antidumping duty order?

 10      A.      That is correct.

 11      Q.      You've never received any training regarding antidumping

 12      duty orders, right?

 13      A.      I have not.

 14      Q.      Now, you've testified about certain industry standards

 15      today, and you've said that the reason we have industry

 16      standards is so that products can be interchangeable, right?

 17      A.      We have industry standards so that products can be

 18      properly identified.

 19      Q.      But industry standards are not designed to help protect

 20      American industry from unfair foreign trade practices; are

 21      they?

 22      A.      Industry standards are designed to help industry to keep

 23      costs down.

 24      Q.      Mr. Sperko, that wasn't my question.          They are not

 25      designed to protect American industry from unfair foreign



                               UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    441 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          557 Trial Page 20 of 166
                                                                                     19


   1     trade competition; are they?

   2     A.    No, they are not.

   3     Q.    Now, you understand that the Department of Commerce is

   4     charged with establishing antidumping duty orders, correct?

   5     A.    That's what I understand, yes, sir.

   6     Q.    And you understand that the Department of Commerce is

   7     charged in the first instance with defining the scope of

   8     those orders?

   9                  THE COURT:     Is that within the expertise?          Is that

 10      within your expertise?

 11                   THE WITNESS:     No, sir, it is not.

 12                   THE COURT:     That's what I thought.        Okay.

 13      BY MR. KRAMER:

 14      Q.    When you formed your opinion in this case, at that time

 15      you had no idea what the definition was that the Commerce

 16      Department used for butt-weld fittings, correct?

 17      A.    That is correct.

 18      Q.    And as you sit here today, you know that the Department

 19      of Commerce has ruled that SIGMA's welded outlets are

 20      butt-weld pipe fittings within the meaning of the order,

 21      correct?

 22                   THE COURT:     Counsel, I'm not too sure that's within

 23      his expertise.      Go ahead.     He's not testifying to expertise

 24      as far as customs, as far as the duties go.              Just as to

 25      mechanics of pipes.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    442 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          558 Trial Page 21 of 166
                                                                                     20


   1                   MR. KRAMER:    Okay.

   2     BY MR. KRAMER:

   3     Q.     Mr. Sperko, you submitted an expert report to the

   4     Department of Commerce that was similar to what you just

   5     testified to here today, correct?

   6     A.     That is correct.

   7     Q.     And the Department of Commerce ruled, notwithstanding

   8     your report, that welded outlets in fact are butt-weld pipe

   9     fittings, given the definition in the antidumping duty order,

 10      right?

 11      A.     That's what I understand.

 12      Q.     So I have just one last area to cover with you -- well,

 13      two.   I'm sorry.

 14                    In forming your opinion, you consulted with SIGMA's

 15      counsel, correct?

 16      A.     I'm sorry.    I consulted with --

 17      Q.     SIGMA's counsel.

 18      A.     -- SIGMA's counsel before forming my opinion?

 19      Q.     Yes.

 20      A.     No.

 21      Q.     You consulted with another importer's counsel before

 22      forming your opinion?

 23      A.     My initial contacts or my initial activities on this

 24      were for a company called Vandewater.

 25      Q.     Now, prior to forming your opinion, you did not consult



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    443 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          559 Trial Page 22 of 166
                                                                                     21


   1     with any domestic manufacturers of welded outlets, correct?

   2     A.    I'm sorry.     I'm having trouble understanding.

   3     Q.    I said prior to forming your opinion, you did not

   4     consult with any domestic manufacturers of welded outlets,

   5     correct?

   6     A.    No, I did not.

   7     Q.    Mr. Sperko, in 2010 when SIGMA started to import the

   8     Uni-Let, did they consult with you as to whether it was a

   9     butt-weld pipe fitting?

 10      A.    No.

 11      Q.    And in 2016 when SIGMA started importing the Safe-Let,

 12      did it consult with you as to whether it was a butt-weld pipe

 13      fitting?

 14      A.    No.

 15      Q.    In fact, prior to this litigation SIGMA has never

 16      consulted with you about anything; has it?

 17      A.    Correct.

 18      Q.    So the first time you ever had any contact with SIGMA

 19      was after it learned that it was already under investigation,

 20      correct?

 21                   THE COURT:     If you know.

 22                   THE WITNESS:     I have no idea.

 23      BY MR. KRAMER:

 24      Q.    And you do know, though, that SIGMA offered to pay you

 25      to provide your opinion, correct?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    444 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          560 Trial Page 23 of 166
                                                                                     22


   1     A.    That is correct.

   2     Q.    And you know that one of the reasons that SIGMA retained

   3     you is because it is hoping to avoid paying the 182.9 percent

   4     antidumping duty on Chinese butt-weld pipe fittings, correct?

   5     A.    I think they retained me for my expert opinion.

   6     Q.    Mr. Sperko, do you recall testifying in this case in a

   7     deposition?

   8                  THE COURT:     Counsel, I think the question that he

   9     just answered is an improper question to begin with.

 10                   MR. KRAMER:     Then I --

 11                   THE COURT:     His expertise are only going towards

 12      the pipes and pipe welding, et cetera, and not going towards

 13      this particular action.

 14                   MR. KRAMER:     Fair enough, Your Honor.

 15                   THE COURT:     Hypotheticals.      He has to testify to

 16      hypotheticals.

 17                   MR. KRAMER:     Okay.    Fair enough, Your Honor.

 18                   Thank you very much, Mr. Sperko.           I have no further

 19      questions.

 20                   THE COURT:     Anything further?       Any recross?

 21                   MR. LAU:    No recross, Your Honor.

 22                   THE COURT:     Sir, you're free to go.        Thank you very

 23      much for coming in.       I appreciate it.

 24                   MR. CURRAN:     Your Honor, at this time SIGMA would

 25      like to call as its next witness Patricia Velazquez.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    445 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          561 Trial Page 24 of 166
                                                                                     23


   1                  THE COURT:     Okay.

   2              Patricia Velazquez, Defendant's witness, sworn

   3                  THE CLERK:     Would you please state your full name

   4     for the record and spell your last name.

   5                  THE WITNESS:     Patricia Velazquez,

   6     V-e-l-a-z-q-u-e-z.

   7                  THE COURT:     Okay.    You may inquire, counsel.

   8                  MR. CURRAN:     Thank you, Your Honor.

   9                                DIRECT EXAMINATION

 10      BY MR. CURRAN:

 11      Q.    So, Ms. Velazquez, you had a shorter walk up to the

 12      witness stand than most of our witnesses in this case.

 13      A.    I did.

 14      Q.    You've been sitting in and observing the trial so far as

 15      SIGMA's corporate representative, correct?

 16      A.    That's correct.

 17      Q.    And you understand that each party in the case is

 18      entitled to have one person sit in throughout the trial?

 19      A.    Yes.

 20      Q.    Ms. Velazquez, are you currently employed?

 21      A.    Yes, I am.

 22      Q.    And who are you employed by?

 23      A.    SIGMA Corporation.

 24      Q.    And how long have you been employed by SIGMA?

 25      A.    Since 1999.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    446 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          562 Trial Page 25 of 166
                                                                                     24


   1     Q.    Have you always been in the same geographic location at

   2     SIGMA?

   3     A.    Yes, I have.

   4     Q.    And where was that -- where is that?

   5     A.    Cream Ridge, New Jersey, headquarters at Cream Ridge.

   6     Q.    Where in New Jersey is Cream Ridge?

   7     A.    It's considered South Jersey.

   8     Q.    Closer to Philadelphia than New York?

   9     A.    Yes.

 10      Q.    And what is your current position at SIGMA?

 11      A.    Imports compliance and logistics manager.

 12      Q.    What are your responsibilities?

 13      A.    There's many, many responsibilities.            I oversee all the

 14      accounting that's done for the imports division for SIGMA.                  I

 15      oversee the logistics to ensure that our shipments get from

 16      point A to point B.

 17                   And importantly, the compliance, imports

 18      compliance, and that's to ensure that we're following all

 19      practices and procedures outlined by Customs.

 20      Q.    Are you the senior-most person at SIGMA devoted to

 21      import compliance?

 22      A.    Yes, I am.

 23      Q.    And how long have you been employed at SIGMA?

 24      A.    I am going on 23 years -- 23 years.

 25      Q.    And for how long of that 23-year employment period have



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    447 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          563 Trial Page 26 of 166
                                                                                     25


   1     you had responsibilities relating to imports?

   2     A.     Since 2001, so about 20 years, 21 years.

   3     Q.     Do you currently have other folks at SIGMA who report to

   4     you?

   5     A.     I do.

   6     Q.     How many, and what do they do?

   7     A.     I currently have four.        Everyone is involved in the

   8     compliance portion.       I have one person with the accounts

   9     payable who pays all the bills for anything related to

 10      imports.

 11                     I have two in logistics and compliance.          I have

 12      another one who handles our filings, scanning, and things of

 13      that nature.      I actually have another one that started today

 14      and I'm unfortunately not there.           So another one is coming on

 15      board.

 16      Q.     And to whom do you report?

 17      A.     I report to Jeff Marcus, the CFO of SIGMA Corporation.

 18      Q.     Right.    Now, when did you assume your current position?

 19      A.     In June of 2019.

 20      Q.     And who held the position before you?

 21      A.     Inge Atkinson.

 22      Q.     And who held the position before her?

 23      A.     Andy Podner.

 24      Q.     And who held the position before him?

 25      A.     Pat Thacker.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    448 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          564 Trial Page 27 of 166
                                                                                     26


   1     Q.    Did you work closely with those three?

   2     A.    I did.    Prior to my role as import manager, I was also

   3     the manager for accounts payable import division.               So I was

   4     responsible to audit and pay any bills related to imports, so

   5     I worked with them on a day-to-day, all-day basis since 2001.

   6     Q.    Can you explain what that means when you say you audit

   7     the import function?

   8     A.    Certainly.     In a payable function you must audit any

   9     document that comes in to ensure that you're paying the

 10      correct amount.      If there's any variances or any

 11      discrepancies, you want to take that up before you send a

 12      payment to anybody.       So that was my primary role for many

 13      years since 2001, the accounts payable imports division.

 14                   I need to audit to check that the documentation was

 15      there.    That would include the supplier commercial invoice,

 16      the packing list, the bill of lading, any certificates, the

 17      mill cert, country of origin; the 7501, which is the entry

 18      summary which is required for every shipment that comes into

 19      the U.S.; and any other documents, landed costs, ocean

 20      freight bills, inland freight bills; any charges that were at

 21      the ports, the U.S. ports -- really anything related to

 22      imports that cost, that had a cost to it.

 23      Q.    So in that prior position did you become familiar with

 24      the day-to-day practices and policies followed by

 25      Ms. Thacker, Mr. Podner, and Ms. Atkinson?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    449 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          565 Trial Page 28 of 166
                                                                                     27


   1     A.    Yes, of course.       I needed to know those in order to do

   2     my job.

   3     Q.    Can you elaborate on that?          Why did you need to know

   4     that stuff?

   5     A.    I needed to understand if there were any discrepancies,

   6     how to find them.       What was the compliance requirements and

   7     were we meeting them.        I wasn't responsible for some of them,

   8     but I was responsible to be accountable to audit them.

   9     Q.    At some point did you become sufficiently familiar with

 10      the responsibilities of those three predecessors that you

 11      filled in for them from time to time?

 12      A.    Yes.    I've really been responsible for my portion on the

 13      accounts payable side since 2001, so that audit function

 14      remained all through.        In 2019 when I became the import

 15      manager, I then had to take also -- in addition to my

 16      responsibilities, I had to take also the personal

 17      responsibility for the compliance portion of all of theirs.

 18      Q.    I'm asking you, before you even took over as the manager

 19      in charge of import compliance, did you from time to time

 20      have to fill in for --

 21      A.    I'm sorry.

 22      Q.    -- one or more of your three predecessors and take over

 23      their responsibilities?

 24      A.    Yes.    I'm sorry.     I did have to cover for Inge twice.

 25      Two times she went on maternity leave.            One was in 2015 for



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    450 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          566 Trial Page 29 of 166
                                                                                     28


   1     her maternity leave.        The second one was in 2018 for her

   2     second maternity leave.

   3     Q.    And do you know why you were the person filling in for

   4     Ms. Atkinson during her maternity leaves?

   5     A.    Yes.    I was the one that knew all the compliances and

   6     practices they already maintained.           I worked very closely

   7     with her team on a day-to-day basis.            They were familiar with

   8     me.   I was familiar with them.         I understood their

   9     responsibilities.       I understood everything that was needed to

 10      be done.

 11                    So when she was on maternity leave, it made me

 12      responsible to handle all of those.            I relied on the broker.

 13      I hadn't done her job for all of those years, but I did her

 14      job, her complete job, while she was on maternity leave for a

 15      few months each time -- in conjunction with the broker who

 16      assisted me in any questions that I may have had.

 17      Q.    Okay.    Ms. Velazquez, in the year 2013 did Customs do a

 18      focused assessment at SIGMA?

 19      A.    Yes, they did.

 20      Q.    And you've heard some testimony about that in this

 21      trial?

 22      A.    I have.

 23      Q.    What was your personal involvement in that focused

 24      assessment?

 25      A.    I was the point person for all audits done at SIGMA, and



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    451 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          567 Trial Page 30 of 166
                                                                                     29


   1     that would include the focused assessment as well as any

   2     financial audits that were done.           The focused assessment was

   3     based on U.S. Customs.

   4                   I've also been involved in CBSA, which is the

   5     Canadian version of Customs, audit.            I've been involved in

   6     outside audits, internal audits.           SIGMA also had their own

   7     internal audits on practices, so I had been involved in those

   8     as well.     So I would be the primary point person for all

   9     audits.

 10      Q.    Focusing, so to speak, on this 2013 focused assessment

 11      in particular, what did you do in connection with the Customs

 12      audit or assessment?

 13      A.    I provided all the documentation that was needed.                I

 14      reviewed the -- we had to supply -- the accounting department

 15      was responsible to supply all the purchase orders that had

 16      been done in a year's span, right.

 17                    So we provided all that detail, and this would

 18      allow the auditors to pick any one, any selection that they

 19      needed to review.       Any questions that they had about the

 20      documentation or if they needed to see any additional

 21      information, I would have assisted in answering those

 22      questions.

 23      Q.    Okay.    Please tell the jury what the Customs

 24      investigators did.       Were they physically at SIGMA

 25      headquarters?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    452 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          568 Trial Page 31 of 166
                                                                                     30


   1     A.    This was the longest audit I have ever attended by far.

   2     They were physically at the Cream Ridge office.               The audit, I

   3     believe, took approximately five months.             A standard audit

   4     for SIGMA would be about two weeks, so they were there

   5     extensively.

   6                   They were looking to ensure that we were following

   7     all policies and practices outlined by Customs.

   8     Q.    And what did they do on a day-to-day basis while they

   9     were on your premises?

 10      A.    They asked a lot of questions.           They reviewed all the

 11      documents that we had provided -- let me just back up a

 12      little bit and take a sip.         They reviewed all of our

 13      purchases, and they selected ones that they felt needed to be

 14      sampled.

 15                    I walked them through all of our documents, what

 16      each document meant, what a commercial invoice was, what a

 17      packing list was, what our bill of ladings looked like, what

 18      our purchase orders looked like, our shipping records, our

 19      receiving records, our freight invoices, all of our landed

 20      costs; the duty packs, which were the 7501s.              I assume

 21      everyone has seen many of those here.

 22                    So anything related, anything needed they were

 23      looking into, and they would ask questions about those

 24      documents.     So I would answer them.

 25      Q.    Okay.    Were you their principal contact on a day-to-day



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    453 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          569 Trial Page 32 of 166
                                                                                     31


   1     basis?

   2     A.      I was one of the principal contacts.          Andy Podner was

   3     the other.

   4     Q.      Okay.

   5                     MR. CURRAN:   I'd like, Mr. Ball, if you will, to

   6     please put up the focused assessment.            This is Exhibit 1006

   7     which has already been admitted into evidence.

   8     BY MR. CURRAN:

   9     Q.      Ms. Velazquez, are you familiar with this multi-page

 10      document from U.S. Customs?

 11      A.      Yes, I am.

 12      Q.      I'd like to ask some specific questions about it.              What

 13      is this document?

 14      A.      This is the final report surrounding their audit, the

 15      focused assessment answer.         It -- it will let us know whether

 16      we passed or failed the audit.

 17      Q.      And what's your understanding?         Did SIGMA pass or fail?

 18      A.      Oh, yes, we passed.

 19      Q.      All right.

 20                      MR. CURRAN:   Mr. Ball, can you show the whole first

 21      page.

 22      BY MR. CURRAN:

 23      Q.      Ms. Velazquez, I do want to refer your attention to some

 24      of the other pages in here.          So the second page, this is

 25      after the cover letter.        So this is the first page of the



                               UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    454 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          570 Trial Page 33 of 166
                                                                                     32


   1     actual report, correct?

   2     A.    Yes.

   3     Q.    And the next page is the table of contents?

   4     A.    Correct.

   5     Q.    And then the next page is the beginning of the body of

   6     the report, correct?

   7     A.    Yes.    That's correct.

   8     Q.    And this page under objective, scope, and methodology,

   9     it refers to this focused inquiry as an audit, correct?

 10      A.    That's correct.

 11      Q.    And then you know that there has been some discussion in

 12      this trial about whether antidumping duties were part of the

 13      Customs assessment or audit.

 14      A.    Yes.

 15      Q.    Were they?

 16      A.    Yes, of course.

 17      Q.    Can you explain and elaborate upon that?

 18      A.    In their samples, they actually did pull samples that

 19      did have antidumping on them, and they found that we were

 20      compliant.     We were paying the duties for those items.              We

 21      had announced them.       They were included in our Customs bond.

 22                   Every year we have -- you have a Customs bond that

 23      you have to apply for which essentially is insurance right on

 24      your product that's shipping from overseas or anywhere from

 25      the time that it leaves to the time that it becomes yours.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    455 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          571 Trial Page 34 of 166
                                                                                     33


   1                    At that point you need to notify your bond or your

   2     surety company whether or not you have any antidumping, how

   3     much you pay, and what's applicable.            I was responsible to do

   4     that every year.

   5     Q.      Now, Ms. Velazquez, focusing on this report, do you see

   6     at the bottom of this page right before that first bullet

   7     point, it says:      For each identified review area, in order to

   8     determine if risk is acceptable, we assessed the applicable

   9     internal control over compliance by applying the following

 10      procedures.      Do you see that?

 11      A.      Yes.

 12      Q.      Then I want to refer your attention to the third bullet

 13      point under that, and that requires us to go to the next

 14      page.    So it's the second bullet point on this page.

 15                     MR. CURRAN:   Mr. Ball, can you show that it's the

 16      second bullet point.

 17      BY MR. CURRAN:

 18      Q.      Do you see that reference there, Ms. Velazquez, to

 19      antidumping duty?

 20      A.      Yes, I do.

 21      Q.      What is the significance, if any, of the reference there

 22      to antidumping duty?

 23      A.      It's showing that they included that in their selection.

 24      Q.      And do you see two bullet points below that there's a

 25      reference to analyze the sample items above and assess each



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    456 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          572 Trial Page 35 of 166
                                                                                     34


   1     item's compliance with applicable laws and regulations,

   2     including?

   3     A.    Yes.

   4     Q.    And do you see the fourth circle below that?

   5     A.    Yes, I do.

   6     Q.    Again you see a reference there to antidumping duties?

   7     A.    Yes.

   8     Q.    What's the significance of that reference?

   9     A.    Again, that they reviewed antidumping orders.

 10      Q.    At the bottom of this page --

 11      A.    I just want to back up real quick.            Not only did they

 12      review antidumping orders and any items that currently had

 13      antidumping on them in the selection, they were also

 14      reviewing our policies and practices.            I just want to make

 15      sure that that's out there.

 16      Q.    So in the course of this audit, did Customs identify any

 17      circumstances where SIGMA was not paying antidumping duties

 18      and they should have been?

 19      A.    No, they did not.

 20      Q.    And then at the bottom of this page, the last full

 21      sentence, do you see:        We conducted this performance audit in

 22      accordance with generally accepted government auditing

 23      standards?

 24      A.    Yes, I do.

 25      Q.    Do you have an understanding as to what that sentence



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    457 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          573 Trial Page 36 of 166
                                                                                     35


   1     communicates?

   2     A.    Pretty much what it says.         You would expect Customs to

   3     understand what the accepted government auditing standards

   4     were and that they were followed.

   5     Q.    And then the final page, which is Exhibit 6, that

   6     reports the summary of the audit results, right?

   7     A.    Yes, that's correct.

   8     Q.    And, as you say, SIGMA passed the audit, correct?

   9     A.    Yes.    It's a pass or fail.        There is no grade.       It's a

 10      pass or fail, and we passed.

 11      Q.    And do you see the sentence under summary of audit

 12      results, the second sentence there:            Our audit did not

 13      disclose any significant risk in SIGMA's internal controls

 14      related to its import activities?

 15      A.    Yes.

 16      Q.    What is your understanding of internal controls?               What

 17      does that mean to you?

 18      A.    That we followed all compliance and regulations that

 19      were laid out by every importer and that we passed.

 20      Q.    Okay.    And this report is signed by two officials from

 21      Customs, correct?

 22      A.    Yes, that's correct.

 23      Q.    One from the Philadelphia field office and the other

 24      from the port in Houston?

 25      A.    Yes, that's correct.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    458 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          574 Trial Page 37 of 166
                                                                                     36


   1     Q.    Now, Ms. Velazquez, you're aware that there's an

   2     appendix to the Customs report, correct?

   3     A.    Yes, I am.

   4                  MR. CURRAN:     Mr. Ball, can you show page 7 of this

   5     exhibit.

   6     BY MR. CURRAN:

   7     Q.    Ms. Velazquez, what is this appendix?

   8     A.    This was a letter drafted from Andy Podner who was the

   9     imports manager at the time to Mr. Jim Williams.               He was one

 10      of the auditors.       He was the lead auditor that was in-house

 11      at SIGMA's headquarters.

 12      Q.    Do you have an understanding as to the purpose of this

 13      letter?

 14      A.    The purpose of this letter is a standard thing that

 15      SIGMA would do.      Anytime you're audited, you pay close

 16      attention to the questions that are asked of you.               If you

 17      felt like the documents didn't speak for themselves or they

 18      had additional questions on certain documents, then you would

 19      do a follow-up.

 20                   Well, you do a follow-up anyway thanking them for

 21      their time and service and all of that, but you would also

 22      mention things that you would do going forward that could

 23      benefit and make it maybe clearer to any auditors, certainly

 24      to lessen time for auditors to be there because it is costly.

 25      Q.    Now, Ms. Velazquez, in this letter Mr. Podner identified



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    459 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          575 Trial Page 38 of 166
                                                                                     37


   1     certain follow-up items that SIGMA may undertake, correct?

   2     A.    Yes.    Yes, that's true.       I just want to note on the

   3     bottom, at the very bottom, the last paragraph, if we can

   4     note that.     This is not anything that Customs asked us to do.

   5     This was something that we suggested could help for clarity

   6     on any future audits.

   7     Q.    Okay.

   8                   MR. CURRAN:    Let me ask Mr. Ball to show the bottom

   9     of page 7 where it -- where there's a sentence that begins on

 10      that page:     Though we have not been specifically asked to do

 11      these things, we feel -- then to the next page -- we feel

 12      that going through the focused assessment has provided us the

 13      opportunity to improve our organization, and it is our goal

 14      to improve in any way we can.

 15      BY MR. CURRAN:

 16      Q.    Do you see that language, Ms. Velazquez?

 17      A.    Yes, and that would be a standard.            We would -- a

 18      standard reply to any audit if -- again, if there was

 19      additional questions or that you felt that didn't come out

 20      clear.

 21                    When I say didn't come out clear, that you had to

 22      explain things either once or twice -- more than once, I

 23      should say -- you certainly would list them here.

 24      Q.    Ms. Velazquez, did SIGMA in fact undertake to follow up

 25      on the items listed in this letter?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    460 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          576 Trial Page 39 of 166
                                                                                     38


   1     A.    We did.

   2     Q.    And I want to direct your attention to the last sentence

   3     in this letter.      Do you see where it says:         From both myself

   4     and Patty, thank you again for everything.             We look forward

   5     to seeing you at the INTA conference?

   6     A.    Yes.

   7     Q.    Do you have an understanding as to who the reference to

   8     Patty is?

   9     A.    That would be me, Patricia, Patty.            I go by Patty.

 10      Q.    Ms. Velazquez, was this 2013 Customs audit the only

 11      audit of SIGMA conducted by Customs in the period from, say,

 12      2010 to present?

 13      A.    No.    Actually we're audited all the time.            This was the

 14      only Customs audit, a formal Customs audit, I would say.

 15      Customs does submit questions just like they would for any

 16      importer.

 17                   If they need to look at our goods at port -- which

 18      is a common practice at every port, and SIGMA does import to

 19      all the major ports in the U.S. -- I mean, focused intensive

 20      exams are done.      That would also be considered an audit.

 21      They're auditing your material at the port.

 22                   In the ten-year span I believe 400 to 500 exams

 23      were done at port.       They also included the welded outlets

 24      both in L.A. and Houston.         Other audits, financial audits,

 25      were done.     Our documents were reviewed many times by our



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    461 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          577 Trial Page 40 of 166
                                                                                     39


   1     bank.    Of course, they ensure that we are compliant.              It's

   2     not their sole responsibility to see if we're complying to

   3     the U.S. Customs or Canadian Customs; however, it is

   4     important to them that we are, so they do review our

   5     practices.

   6     Q.      With respect to Customs intensive audits that you

   7     referred to at the ports, can you just elaborate upon what

   8     Customs does as part of that process?

   9     A.      First and foremost they review your paperwork.             You have

 10      to provide an entry summary -- a duty pack which has the

 11      supplier's commercial invoice, the bill of lading, the

 12      packing list, the 7501 and any other add-ons to that, any

 13      certificates, country of origins, things of that nature.

 14                   They also are checking to make sure that there's no

 15      change on the seal on the container.            They'll request you to

 16      allow them to open your container to take the items out,

 17      review them.

 18                   They will also X-ray them, check to make sure that

 19      the characteristics match up to the paperwork, that the

 20      material matches up to the paperwork, meaning if it's iron or

 21      steel, that that matches to the HTS code.             Could be anything.

 22                   They could open the container to see if there's any

 23      agriculture issues within the container.             That would be if

 24      any seeds had made their way over or anything like that.

 25      It's a multitude of things they would be looking for, but



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    462 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          578 Trial Page 41 of 166
                                                                                     40


   1     those are the ones that happen the most often.

   2     Q.    Did Customs perform intensive audits specifically on

   3     welded outlets from China such as the Uni-Let or Safe-Let

   4     products?

   5     A.    Yes, they did.

   6     Q.    How do you know that?

   7     A.    I'm responsible to audit and pay those bills.               Each time

   8     an exam happens, you yourself would also pull the bills just

   9     to see if potentially there is any liability in there.                 This

 10      is your third, fourth, fifth check at this point.               So you

 11      look at the documents, and Uni-Lets were included in both

 12      L.A. and Houston in their exams.

 13      Q.    Ms. Velazquez, at any time during either the focused

 14      assessment in 2013 or these intensive audits, intensive exams

 15      at the ports or otherwise, did Customs ever raise any issue

 16      with SIGMA as to the paperwork or whether antidumping duties

 17      were due on the Uni-Let or Safe-Let products?

 18      A.    No, they did not.

 19      Q.    Ms. Velazquez, are you generally familiar with or aware

 20      of the policies and practices that SIGMA followed with

 21      respect to classification and antidumping duties for the

 22      period 2010 to present?

 23      A.    Yes, I am.

 24      Q.    What are those policies and practices?             What does SIGMA

 25      do with respect to classification and antidumping duties?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    463 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          579 Trial Page 42 of 166
                                                                                     41


   1     A.    The screen wasn't here.         It's standard.      These actually

   2     have been standard policies and practices since I walked in

   3     the door in 1999.       So, of course, they were also done in 2010

   4     through today.

   5                  We start with something called an NIR, which is a

   6     new item request.       In 2010 this would have been done on a

   7     paper form.     In 2014 we just changed that over to an

   8     electronic form.       New item request is when a sales rep or a

   9     customer service representative has an opportunity for new

 10      business or a customer has called and asked SIGMA, will you

 11      make this product; can you make this product for us; we're

 12      looking for a product either from India, China, domestic

 13      within the U.S., the purchasing department, engineering would

 14      fill out the first part of the NIR.

 15                   This NIR would provide the material.            We do a lot

 16      work in iron and steel, so what type of.             It would provide

 17      the specifications.       It would also advise on the standards,

 18      the item standards, the industry item standards, the size of

 19      the item, the description of the item.

 20                   That would include SIGMA's description as well as

 21      what it is you -- how it's used in the industry, whether or

 22      not it's a fully-assembled item or just a component to a

 23      fully-assembled item.        It would provide a suggested item

 24      number, the country of origin, where we intend to purchase

 25      the item from, drawings, any brochures that the customer may



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    464 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          580 Trial Page 43 of 166
                                                                                     42


   1     have.    That could be a reference to a website that they have

   2     or a paper form of a brochure.

   3                  So all of this in the electronic version jumps from

   4     department to department to department electronically.                 Once

   5     one person or one department has filled out one section, it

   6     then jumps to the next.        So all the material that I just

   7     mentioned, once that's completed, it then jumps to the import

   8     department.

   9                  We would be responsible to classify that item and

 10      note if there's any antidumping on that item or any other

 11      added tariffs such as the section 301 China tariff, GSP if

 12      GSP was applicable, section 232.           There's many add-ons to not

 13      just antidumping duty.        You would be checking all of them.

 14                   You also would note on that if you approved the

 15      item, if you consulted with your broker, if you consulted

 16      with counsel or a compliance consultant or other.               You must

 17      fill out these boxes in order to move on.

 18                   You would also provide the standard duty rate, the

 19      rate of antidumping.        And there's a box for notes for any

 20      other added costs, any other added tariff or HTS that had a

 21      value to it.      The intention to do this is so sales would know

 22      how much it would cost.        And this would be a determining

 23      factor on if we would proceed with producing this material.

 24      Q.      Were there circumstances in which SIGMA declined to

 25      proceed with a potential product?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    465 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          581 Trial Page 44 of 166
                                                                                     43


   1     A.    Absolutely.

   2     Q.    Due to concerns about duties?

   3     A.    Concerns about duties.         It could be something as simple

   4     as maybe the salesperson thought that the duty was going to

   5     be zero but it was five percent, and maybe we wouldn't find a

   6     good margin on that.        So we might not go through with that.

   7                  Certainly antidumping.        Again, we were paying

   8     antidumping.      Antidumping rate could be a different rate.

   9     It's not always 182 percent.          It could just be a two percent

 10      add-on or what have you if there's a special rate added.                  So

 11      you would note that, and that would again allow you to

 12      determine whether or not you'll make a profit on this.

 13                   Same thing with the 301 tariff, which is

 14      25 percent, which we pay on most of our product coming in.

 15      We would note that, again to see if there's a profit.                If

 16      there's not a profit in continuing, if I find that there's a

 17      range, it's not me who will determine whether or not SIGMA

 18      will continue.      This is executive management that would

 19      decide that.

 20                   It's my job to tell them how much, right.             We just

 21      wouldn't -- if we're not going to make a profit, there's no

 22      sense in continuing to do that.

 23      Q.    Ms. Velazquez, specifically with respect to antidumping

 24      duties, how does SIGMA determine whether or not antidumping

 25      duties are applicable?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    466 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          582 Trial Page 45 of 166
                                                                                     44


   1     A.     There's multiple ways to check on that.            I believe Kelli

   2     Thompson actually referenced quite a few.             One of them was --

   3     she mentioned the ITA Excel sheet.           This is just a simple way

   4     to go and narrow down a scope.          It provides for every ruling,

   5     and it's updated often.

   6                  My responsibility is to keep those records, you

   7     know, updated at all times.          You can pull it by the country

   8     of origin, as she mentioned.          You can pull by the type of

   9     material you're using, its use.           It really doesn't give you

 10      much information there, but it's a way you can look at it.

 11                   CROSS, which is found in CBP.gov, that would be a

 12      site I would use every single time.            CROSS not only assists

 13      you with the classification of an item.             If there's any

 14      investigation, preliminary investigation, ongoing

 15      investigation, final decisions on any orders, if a supplier

 16      has requested for a ruling to be done -- an importer, I'm

 17      sorry, had requested for a ruling to be done by Customs, to

 18      let them know what the classification is, and that would be

 19      listed there.

 20                   In this -- in CROSS, which I find is the most

 21      valuable one, you're going to pull by many, many things,

 22      right.    You have this section where, just like anytime you're

 23      Googling anything, it's the same type of thing in a search

 24      box.   You're going to pull by different variations of a

 25      description.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    467 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          583 Trial Page 46 of 166
                                                                                     45


   1                  In the case of a welded outlet, you would type in

   2     welded outlet or weld outlet or outlet.             You're going to

   3     certainly look for those that apply to the country of origin

   4     that you're intending to import it from.

   5                  You would look for the HTS code as well.             Now, you

   6     need to do that in conjunction with any description, but when

   7     you do the HTS code lookup, you're not looking at it by the

   8     ten digit.     You would start at a six-digit level, which is a

   9     broader scale, and then work your way down.

 10      Q.     So you would cast a broader net first?

 11      A.     You cast a broader net in both the description as well

 12      as the HTS code.

 13      Q.     What is the role, if any, of your outside Customs

 14      brokers in either classification or antidumping duty

 15      determination?

 16      A.     In SIGMA's standard operation procedure, SOP as we call

 17      it, this is written guidelines that we have with our broker

 18      that states what they would be responsible for in every area

 19      of work that they would do on our behalf.

 20                   One of the daily work would also include an

 21      antidumping review.       There's quite -- it's a little lengthy.

 22      Do you want me to go through every one?             I certainly can.

 23                   When we're doing -- I just want to go back to the

 24      NIR.   When we're doing the NIR and we're doing the

 25      classification review for antidumping, if it's an add-on, you



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    468 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          584 Trial Page 47 of 166
                                                                                     46


   1     can check with the broker.         If it's a new item, a new product

   2     line, you always would check with the broker.

   3                  We do something called a blind check.            This is

   4     where all the material that's provided to the import

   5     department to classify an item would be provided to the

   6     broker.    You would not provide your HTS code.            You would not

   7     provide what your determination was.

   8                  What you want them to do is to come to their own

   9     conclusion and see if it matches up to yours to ensure that

 10      if they meet, you're good.         If they don't meet, why did they

 11      not meet.     And you're able to talk through any

 12      indiscrepancies [sic].

 13                   We also require for CH Powell, who is our broker --

 14      they have been our exclusive broker since 2012.               We require

 15      for them to notify us anytime our entries are flagged for

 16      antidumping, and that happens numerous times a day.                That

 17      allows us again to review the scope.

 18      Q.    Let's jump to a document familiar I think probably to

 19      everybody in this room, one example of the 7501 for the

 20      products at issue in this case.

 21                   MR. CURRAN:     So I'd like to ask Mr. Ball to bring

 22      up trial Exhibit 1009.

 23      BY MR. CURRAN:

 24      Q.    So, Ms. Velazquez, are you familiar with this document?

 25      A.    Yes, I am.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    469 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          585 Trial Page 48 of 166
                                                                                     47


   1     Q.    All right.     What is it?

   2     A.    This -- it's a form 7501, also known as an entry

   3     summary.

   4     Q.    Do you know how SIGMA came up with the -- let's start

   5     with the classification HTS code for the pipe fitting

   6     referred to in this 7501.

   7     A.    There's two.      There's two, actually, pipe fitting

   8     references.

   9     Q.    Let's start with the one at line 001.

 10      A.    001.

 11      Q.    In box 28.

 12      A.    All right.     Ask your question again.         I'm sorry.

 13      Q.    How did SIGMA or its broker come up with the HTS code to

 14      be used for that imported product?

 15      A.    This HTS code, this is for the Uni-Let products or the

 16      weld outlets.      This particular HTS code we inherited from

 17      Unique when we purchased that portion of their

 18      fire-protection unit back in 2010.           They provided that.

 19                   We also checked, you know, did our normal routine

 20      checking with our broker, checking to ensure the

 21      classification did meet their description.             We had the

 22      drawing -- we would have the same material that we had for

 23      anything else.      And that's how the HTS was determined.

 24      Q.    There are words or abbreviations above the numbers.                You

 25      see the number 7307.99.5045?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    470 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          586 Trial Page 49 of 166
                                                                                     48


   1     A.      Yes.

   2     Q.      Then there's some words above that.          Where do those come

   3     from?

   4     A.      Those actually come from -- our broker has an approved

   5     Customs -- what is the word -- software.             The software meets

   6     up with ACE.      ACE is Customs' actual software that links in

   7     where the 7501 is entered into Customs' system.

   8                    When the broker types in 7307.99.5045 in auto

   9     description, it auto-generates a description, and this would

 10      be that description.

 11      Q.      So that description is kind of auto-populated by the

 12      software?

 13      A.      That's correct.

 14      Q.      All right.    What -- you know there's been reference to

 15      the term steel coupling that you see there I guess twice in

 16      box 28?

 17      A.      Yes.

 18      Q.      Where does that come from?

 19      A.      This comes from -- I just want to go back up a little

 20      bit.    Stay where you're at, but if you could highlight 28,

 21      the description of merchandise.           This is a header.       This is

 22      considered a header screen or a header portion of the column.

 23                     This is referenced on the bill of lading or the

 24      documentation.       The word steel coupling is referenced on the

 25      documentation.       So if you look right above steel coupling,



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    471 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          587 Trial Page 50 of 166
                                                                                     49


   1     this would be also the bill of lading number.              The invoice

   2     number is also listed below where it says steel couplings.

   3     39803 would be SIGMA's shipment number.             These are also

   4     referenced on documents.

   5                  So the broker would fill in anything that's

   6     referenced on any of the documents that are listed.

   7     Q.    So the term steel coupling originates from documents

   8     provided by the supplier?

   9     A.    Correct, in the duty pack.

 10      Q.    But this 7501 form is filed on behalf of SIGMA, right?

 11      A.    That's correct.

 12      Q.    And particularly by its licensed Customs broker?

 13      A.    That's correct.

 14      Q.    But you have to be comfortable with -- you have to be

 15      comfortable with the contents of the whole document, right?

 16      A.    Yes, absolutely.

 17      Q.    Is SIGMA comfortable with the term steel coupling being

 18      in box 28?

 19      A.    Yes, we are.

 20      Q.    Why?

 21      A.    It says -- so for a 7501, for some of you, I've always

 22      looked at it as very similar to a 1040 tax form.               There are

 23      instructions for all boxes.          All locations, everything that's

 24      listed here by Customs, there are instructions for that.                 For

 25      box 28, it does state to use -- similar to the tariff



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    472 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          588 Trial Page 51 of 166
                                                                                     50


   1     description, you want to use something that is not cut off

   2     such as pipe fit, other, no NIP, ST.            You want to be able to

   3     use something that's actually a full word.             I don't know how

   4     else to explain that.        Easily recognizable I guess would be

   5     the best way to explain that.

   6                    And again, you would want that to match up to the

   7     tariff schedule.

   8                    MR. CURRAN:   Okay.    So I'm going to ask Mr. Ball to

   9     jump to trial Exhibit 1047 at page 1.            This may not be

 10      admitted yet, but I believe there's no objection to it, 1047,

 11      which is the instructions for filling out the 7501.

 12      Your Honor, I move for the admission of Exhibit 1047.

 13                     THE COURT:    It will be received.

 14                     (Exhibit 1047 received)

 15                     MR. CURRAN:   Mr. Ball, you can put that up.          Thank

 16      you.

 17      BY MR. CURRAN:

 18      Q.      Beginning with page 1, looking at page 1, Ms. Velazquez,

 19      do you know what this document is?

 20      A.      Yes.   This would be a blank entry summary or form 7501.

 21                     MR. CURRAN:   Mr. Ball, can you go to the second

 22      page.

 23      BY MR. CURRAN:

 24      Q.      Ms. Velazquez, that's a continuation of the form,

 25      correct?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    473 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          589 Trial Page 52 of 166
                                                                                     51


   1     A.    Yes, it is.      This is used when there's multiple HTS

   2     codes used.     It goes on to the next page.

   3     Q.    And then the third page is also part of the sample 7501,

   4     correct?

   5     A.    That is correct.

   6     Q.    Then page 4 begins the instructions for filling out the

   7     form, correct?

   8     A.    That's correct.

   9     Q.    And you can see in the bottom right of the page in the

 10      very small print, this is instruction page 1 of 22, right?

 11      A.    That's correct.

 12      Q.    And that indicates that the instructions for filling out

 13      the 7501 is a 22-page document, right?

 14      A.    It's pretty elaborate, yes.

 15                   MR. CURRAN:     I'd like to jump specifically to the

 16      page of the exhibit, so Exhibit 1047 at page 13.               You can see

 17      in the bottom right this is page 10 of 22.

 18      BY MR. CURRAN:

 19      Q.    In the upper part of this page, do you see,

 20      Ms. Velazquez, it refers to column 28, description of

 21      merchandise?

 22      A.    Yes.

 23      Q.    And that's where the instructions are for filling out

 24      column or block 28, correct?

 25      A.    That's correct.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    474 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          590 Trial Page 53 of 166
                                                                                     52


   1     Q.    I'd like to draw your attention to the first paragraph

   2     under those instructions.         I don't need to read it.         I would

   3     like you to explain your understanding of what it requires.

   4     A.    Well, first and foremost it says a description of the

   5     articles in sufficient detail to permit the classification

   6     therefor under the proper statistical reporting number in

   7     the HTS.

   8                   This should be reported at the top of column 28.

   9     The standard definitions from CBP HTS database are acceptable

 10      for this requirement.

 11      Q.    Okay.    So that first sentence refers to at the top of

 12      column 28.     That's the end of that sentence, right?

 13      A.    Yes.

 14      Q.    Is that the part of the form when we were looking at

 15      Exhibit 1009 and you referred to it -- did you refer to it as

 16      the header?

 17      A.    Yes.

 18      Q.    And the header and top refers to the same thing?

 19      A.    Yes.

 20      Q.    So that first sentence -- well, maybe both of those

 21      sentences relate to the description of the product where

 22      SIGMA uses steel coupling?

 23      A.    Yes.

 24      Q.    And the two sentences in the instruction here both refer

 25      to the HTS or harmonized tariff schedule?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    475 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          591 Trial Page 54 of 166
                                                                                     53


   1     A.    Yes.

   2     Q.    And did you say your understanding is that the

   3     appropriate description under these instructions should come

   4     from the harmonized tariff schedule?

   5     A.    Yes.    That's correct.

   6     Q.    Why didn't SIGMA or its broker just put in weld outlets

   7     or welded outlets or Uni-Let?

   8                  MR. KRAMER:     Objection.     Lack of personal

   9     knowledge.

 10                   THE COURT:     If you know.

 11                   THE WITNESS:     Wait.    I do have personal knowledge.

 12                   THE COURT:     Okay.    If you know, you can answer the

 13      question.

 14                   THE WITNESS:     Okay.    Welded outlets is not listed

 15      in the harmonized tariff schedule.           You need to use something

 16      that is listed in the harmonized tariff schedule.               Again, in

 17      the first sentence you need to use sufficient detail to

 18      describe that item.

 19                   The harmonized tariff schedule for welded outlets

 20      is pipe fittings.       It does provide for the examples, and then

 21      it goes to other, other, other, other category.               Sufficient

 22      detail is not other, other, other, other.

 23                   MR. CURRAN:     I'd now like Mr. Ball to bring up

 24      trial Exhibit 1068, starting with page 1.

 25      BY MR. CURRAN:



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    476 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          592 Trial Page 55 of 166
                                                                                     54


   1     Q.      Ms. Velazquez, what is this?

   2     A.      This is the harmonized tariff schedule.

   3     Q.      And in particular, what part of it?

   4     A.      This is chapter 73, which is for articles of iron or

   5     steel.

   6     Q.      Do you spend a lot time in this chapter of the HTS?

   7     A.      Yes, I have.

   8     Q.      I'd like to direct your attention to page 5 of this

   9     exhibit.     What is this page, Ms. Velazquez?

 10      A.      This would be a continuation of -- we just cut that

 11      off -- of 7307, which is the heading for tube and pipe

 12      fittings.

 13      Q.      Is this a page that you and your colleagues at SIGMA and

 14      your license Customs broker refer to in determining how to

 15      classify the welded outlets?

 16      A.      No, this would not.      You would start, I believe, on

 17      page 1.    If you would just --

 18      Q.      Okay.

 19                      MR. CURRAN:    Let's go to page 2 of the exhibit.

 20                      THE WITNESS:   This is the beginning.        This would be

 21      the beginning.       You always want to start at your header,

 22      which is 7307 in this case.          Then it will have the

 23      subheadings underneath.         So you would want to start with your

 24      header, your first four digits, and then you work your way

 25      down.



                               UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    477 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          593 Trial Page 56 of 166
                                                                                     55


   1     Q.      Okay.    Please walk us through your analysis of applying

   2     this chapter to the welded outlets.

   3     A.      We do know that chapter 73 applies because that's for

   4     iron or steel.          So we start there with 73.     We do know it's

   5     also considered a tube or pipe fitting, so you would go to

   6     7307, which is the very top here.           For example, couplings or

   7     sleeves of iron or steel.

   8                     When you go down just below that section, it shows

   9     cast fittings.          Our item is not a casted fitting.       There's a

 10      lot of indents here, so you really want to focus on that, on

 11      the cast fitting.         And if there's -- I don't know if James

 12      can do a line all the way down to show cast all the way down.

 13                      Okay.    Thank you.   You see that there's

 14      indentations for each, right.          All of these would be for cast

 15      fittings on this page, so this would not be applicable to our

 16      item.

 17      Q.      So you would go to the next page?

 18      A.      You would go to the next page.

 19      Q.      Okay.    So this is page 3 of Exhibit 1068?

 20      A.      Right, using the exact same concept.

 21                      THE WITNESS:    If you can highlight right under tube

 22      and pipe fittings, for example, couplings, elbows, sleeves,

 23      the word other of stainless steel.           And if you just do a line

 24      down, draw down there.

 25                      Our item is not made of stainless steel, so you



                                 UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    478 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          594 Trial Page 57 of 166
                                                                                     56


   1     would move to the next page.

   2                  MR. CURRAN:     Okay.    So now we go to trial

   3     Exhibit 1068, page 4.

   4                  THE WITNESS:     Right, 7307.        Again where the term

   5     other is, if you could just highlight other.              So other is

   6     going to refer to the material, right, that it's not casted

   7     material.

   8                  It's not stainless steel material, so the next

   9     option would be the word other.           Okay.    So this is going --

 10      this is where we're really going to start digging in to find

 11      our classification.

 12                   The very first one is 7307.91.          This is for

 13      flanges.     Our item is not a flange, so you would move down to

 14      the threaded elbow.       I don't know, James, if you can also do

 15      a line from flanges to threaded.           You can see the indents.

 16      BY MR. CURRAN:

 17      Q.    How do you do that in real life?

 18      A.    With a ruler.

 19      Q.    Please continue.

 20      A.    So now we've moved from 7307.91, which refers to

 21      flanges, to 7307.92, which refers to threaded elbows, bends,

 22      or sleeves, or items not considered an elbow, bend, or

 23      sleeve.    So you would move to the next page.

 24      Q.    We're now at 1068, page 5.

 25      A.    Correct.     Again you would start at the other.            So now



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    479 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          595 Trial Page 58 of 166
                                                                                     57


   1     we're at a third -- I'm sorry.          We're at a second other,

   2     7307.93, butt-weld fittings.          We do not feel our item is a

   3     butt-welded fitting.        Never did.     So you move on to the

   4     other.

   5                  In this section 7307.99, not machined, not tooled,

   6     and not otherwise processed after forging.             You would move to

   7     the next one under 99.10.00 of iron or non-alloy steel.                 Our

   8     item did not fit in that category, and that was in reference

   9     to the not machined, not tooled, or not otherwise processed

 10      after forging.

 11                   So you would move down to 7307.99.50.            Puts you in

 12      an other category.       So now we are on our fourth or fifth

 13      other.

 14      Q.      It seems that way.      It might not be that high, but

 15      anyway, please continue.

 16      A.      7307.99.50.    Then we're getting to the bottom of the

 17      page.    I don't know if you can scroll up just a hair -- of

 18      iron or non-alloy steel, that does describe the material of

 19      our item.     5015 refers to nipples, which is the extension

 20      that is on a sprinkler head.          That's not our item.        45 is

 21      other, and that would be our item.

 22                   Our items did not match any others.           The only one

 23      that did not have an other category in this case was a

 24      butt-weld fitting.       It has always been SIGMA's understanding

 25      that you must have the same plane ends to match up, and that



                               UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    480 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          596 Trial Page 59 of 166
                                                                                     58


   1     would be a butt-weld fitting.          That would also have that

   2     slope in here.

   3                   Our engineers advise us that our item was not a

   4     butt-weld fitting.       That's the only one on this page that

   5     actually has something specific.           If you go back down to

   6     where we classified our item in 45, the very last option was

   7     60, which is called alloyed steel.           Our item is a non-alloy

   8     steel, so that would not be an option.

   9     Q.    Okay.    So, Ms. Velazquez, you have explained now how

 10      SIGMA settled on 7307.99.5045, correct?

 11      A.    That's correct.

 12      Q.    You mentioned earlier in your testimony CROSS rulings or

 13      CROSS database, correct?

 14      A.    I did, yes.

 15      Q.    Have you ever found anything on the CROSS database at

 16      Customs that either confirms or rejects the classification

 17      number that you've come up with at SIGMA?

 18      A.    When you type in CROSS, weld outlets, there is one

 19      ruling that comes up.        It's the Star Pipe ruling, and the

 20      Star Pipe ruling agrees with our classification.

 21                    MR. CURRAN:    Mr. Ball, can you bring up trial

 22      Exhibit 1007.

 23      BY MR. CURRAN:

 24      Q.    Ms. Velazquez, is this the CROSS ruling you're referring

 25      to?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    481 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          597 Trial Page 60 of 166
                                                                                     59


   1     A.    Yes, I am.

   2     Q.    And are you familiar with the company Star Pipe?

   3     A.    I am.    Star Pipe, we do business with Star Pipe.             They

   4     would be what you would consider our number one competitor.

   5     They sell like items of SIGMA's, some of the same items that

   6     SIGMA --

   7     Q.    And do you follow --

   8                   THE COURT:    Ladies and gentlemen, it's

   9     10:00 o'clock, so we're going to take our recess.               We'll see

 10      you back in 15 minutes.        Remember the admonishment not to

 11      discuss the case among yourselves or with anybody else, nor

 12      form or express any opinions about the matter until it is

 13      submitted to you and you retire to the jury room.

 14                    If you will leave quietly, I've got to talk to the

 15      attorneys for a second.

 16                    THE CLERK:    All rise.

 17                    (Open court - jury not present)

 18                    THE COURT:    The record will reflect that all the

 19      jurors have left the courtroom.

 20                    The only thing I wanted to mention is just an

 21      update on time.      The plaintiff has 31 minutes left.            The

 22      defendant has 20 minutes left.          See you back in 15 minutes.

 23                    THE CLERK:    All rise.

 24               (Recess taken from 10:01 a.m. until 10:20 a.m.)

 25                    THE CLERK:    All rise.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    482 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          598 Trial Page 61 of 166
                                                                                     60


   1                   (Open court - jury present)

   2                   THE COURT:    Let the record reflect that all the

   3     members of the jury are in their respective seats in the jury

   4     box.   The witness is on the witness stand.

   5                   Counsel, you may continue your direct examination.

   6     BY MR. CURRAN:

   7     Q.     Ms. Velazquez, when we left off, we were discussing the

   8     Star Pipe ruling?

   9     A.     Yes.

 10      Q.     And that's on the screen in front of you?

 11      A.     Yes.

 12      Q.     That's trial Exhibit 1007, page 1?

 13      A.     Yes.

 14      Q.     And you're aware that this CROSS ruling is still

 15      available today on the Customs website?

 16      A.     That's correct.

 17      Q.     And do you -- I want to draw your attention to the third

 18      paragraph in this ruling.         Do you see the third paragraph?

 19      A.     Yes.

 20      Q.     What does that mean to you?

 21      A.     This applicable subheading for the forged steel threaded

 22      weld outlet fittings will be, and it provides the

 23      classification 7307.99.5045, the harmonized tariff schedule

 24      of the United States which provides for tube or pipe

 25      fittings, for example, couplings, elbows, sleeves of iron or



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    483 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          599 Trial Page 62 of 166
                                                                                     61


   1     steel, other, other, other of iron or non-alloy steel, other.

   2     And then it also will provide for the duty rate of the

   3     4.3 percent.

   4                  My understanding is this is a ruling from Customs.

   5     It states at the top that a representative sample of the

   6     product to be imported was submitted with the -- I'm sorry.

   7     It's at the very second sentence at the top -- in the letter

   8     dated July 8th, 2003.

   9                  MR. CURRAN:     First paragraph, Mr. Ball.

 10                   THE WITNESS:     Yeah.    So it tells me that Customs

 11      reviewed a sample of their welded outlet fitting, and they

 12      determined that the classification was 7307.99.5045.

 13      BY MR. CURRAN:

 14      Q.      So that confirms what SIGMA has been using consistently

 15      in its 7501, correct?

 16      A.      Right.   It also mentions -- there's quite a few things.

 17      It seems short to anyone who's not used to looking at them,

 18      but there's quite a few things that are very important in

 19      this.

 20                   Also, in the second paragraph after it mentions the

 21      specs, it says:      The standard specification for carbon steel

 22      forging for piping applications.           The fitting is contoured on

 23      one end to provide a precise fit at the opening in the run

 24      pipe and threaded on the other end to provide a threaded

 25      outlet branch connection, which meets the description of our



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    484 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          600 Trial Page 63 of 166
                                                                                     62


   1     item.

   2     Q.      Does this Star Pipe ruling have any relevance with

   3     respect to whether or not the welded outlets are butt-weld

   4     fittings?

   5     A.      It does not.    Butt-weld fitting has another HTS code

   6     that was not referenced here.          It was not mentioned here in

   7     any form.      The term butt weld was not mentioned in this

   8     ruling.

   9     Q.      Now, Ms. Velazquez, when you were going through your

 10      analysis of the harmonized tariff schedule, you skipped over

 11      a category for butt weld in order to get to the 7307.99.5045

 12      code, correct?

 13      A.      Yes.

 14      Q.      So in the Star Pipe ruling, Customs did the same thing?

 15      A.      Yes, they did.

 16      Q.      Ms. Velazquez, are you aware -- let me ask it this way.

 17      When did SIGMA stop importing the Uni-Lets and the Safe-Lets

 18      from China?

 19      A.      In 2018.

 20      Q.      Are you aware that after SIGMA stopped its imports of

 21      those products, the Department of Commerce has concluded that

 22      those products fall within the butt-weld antidumping duty

 23      orders?

 24      A.      They did, and that was in -- the final came out in 2021.

 25      Q.      So that indicates that SIGMA -- well, you have at least



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    485 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          601 Trial Page 64 of 166
                                                                                     63


   1     one government agency saying SIGMA was wrong with respect to

   2     its position on antidumping duties on these products, right?

   3     A.    We have one, but the DOJ found during their

   4     investigation that --

   5                   MR. KRAMER:    Objection, Your Honor.

   6                   THE COURT:    Sustained.

   7     BY MR. CURRAN:

   8     Q.    Ms. Velazquez, let's not get into DOJ.             Let's just talk

   9     about Commerce and Customs.

 10      A.    Okay.    You have two.      You have Customs has ruled.

 11      There's a ruling here that shows that we were classified

 12      properly based on the description.           You have Commerce who --

 13      there was a couple rulings with Commerce.             There was a back

 14      and forth.     They did --

 15                    MR. KRAMER:    Objection, Your Honor.

 16                    THE COURT:    Sustained.

 17                    THE WITNESS:    I'm sorry.     Can you ask the question

 18      again?    I feel like I'm answering it.

 19                    THE COURT:    I sustained the objection, which means

 20      go to the next question.

 21      BY MR. CURRAN:

 22      Q.    Ms. Velazquez, at the time that SIGMA was filling out

 23      the 7501 forms, did you and your colleagues believe you were

 24      filling them out accurately and in accordance with the law?

 25      A.    Yes, I was.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    486 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          602 Trial Page 65 of 166
                                                                                     64


   1                  MR. KRAMER:     Objection.     Calls for speculation.

   2                  THE COURT:     Overruled.

   3                  THE WITNESS:     Yes, of course.

   4     BY MR. CURRAN:

   5     Q.    Did you and your colleagues and your licensed customs

   6     broker use the term steel coupling in the 7501 form in order

   7     to mislead to avoid antidumping duties?

   8     A.    Of course not.      We followed the directions --

   9                  THE COURT:     She answered the question, counsel.

 10      BY MR. CURRAN:

 11      Q.    Can you elaborate?        Please explain why you feel that you

 12      were not circumventing antidumping duties.

 13      A.    First and foremost there is antidumping on forged steel

 14      fittings that do include couplings.            The antidumping order on

 15      the butt-weld fittings for China does not refer to couplings

 16      at all.    I want to make that clear.

 17                   But there is a separate antidumping order on carbon

 18      steel forged fittings which would be applicable to review for

 19      the term steel coupling.         You would review that order.

 20      Q.    So you're saying using steel coupling would have been a

 21      very poor way to avoid antidumping duties?

 22      A.    It would be a very poor way.

 23                   MR. CURRAN:     I'd like to ask Mr. Ball to bring up

 24      the 7501 form again.        This is trial Exhibit 1009.

 25      BY MR. CURRAN:



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    487 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          603 Trial Page 66 of 166
                                                                                     65


   1     Q.    In addition, Ms. Velazquez to the first page, there's

   2     been testimony about the commercial invoice pages in this

   3     document, right?

   4     A.    Yes, there has.

   5     Q.    I'd like to you ask you briefly, why are there two pages

   6     in this duty pack, page 4 and page 5, that are both called

   7     commercial invoice?

   8     A.    We refer to the one on the left --

   9                  MR. KRAMER:     Objection.     Lack of foundation.

 10                   THE WITNESS:     I'm sorry.

 11                   THE COURT:     You want to lay the foundation,

 12      counsel?

 13      BY MR. CURRAN:

 14      Q.    Ms. Velazquez, do you have personal knowledge as to why

 15      there are two pages that say commercial invoice in these duty

 16      packs?

 17      A.    Yes, I do.     There's many of our duty packs for multiple

 18      suppliers that are similar to this.            Of course, in my

 19      accounts payable position --

 20                   THE COURT:     Counsel, I'm sorry.       Jury trials are

 21      conducted by question and answer.           Your witness seems to be

 22      going into narratives to try to explain or argue something.

 23      It's got to be done by question and answer.

 24                   THE WITNESS:     I'm sorry.

 25      BY MR. CURRAN:



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    488 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          604 Trial Page 67 of 166
                                                                                     66


   1     Q.    So, Ms. Velazquez, why are there two pages in a duty

   2     pack that are called commercial invoice?

   3                  MR. KRAMER:     Your Honor, I'm going to object again.

   4     This witness was not in this role in 2013.             She has no

   5     personal knowledge as to any of these historic documents.

   6                  MR. CURRAN:     Well, Your Honor, we've laid a

   7     foundation about her knowledge throughout this period in her

   8     20-year employment.

   9                  THE COURT:     Overruled.

 10                   THE WITNESS:     I can answer?

 11                   THE COURT:     Yes.

 12      BY MR. CURRAN:

 13      Q.    Please.

 14      A.    The first would be considered a summary page specific to

 15      the HTS, that there's different HTS used in this invoice.

 16      The second, the one on the right, would be a detailed line

 17      item for --

 18                   THE COURT:     Counsel, let me make sure I answered

 19      his question because he's objected to.            She's not testifying

 20      as to what the pages say.          She's testifying to what her

 21      understanding of the pages are?

 22                   MR. CURRAN:     Of course.

 23                   THE COURT:     Okay.

 24                   Go ahead.

 25      BY MR. CURRAN:



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    489 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          605 Trial Page 68 of 166
                                                                                     67


   1     Q.    So, Ms. Velazquez, please explain your understanding as

   2     to why there are two pages that are say commercial invoice.

   3     A.    The one on the left would be a summary page.              This would

   4     be a summary based on the classification.             There are three

   5     different classifications here which it summarized there.

   6                  The second or the one on the right would be a

   7     detailed line item.       This would match up to SIGMA's purchase

   8     order.

   9     Q.    Do these two documents referring to commercial invoice,

 10      do they relate to the same shipment and the same order and

 11      invoice?

 12      A.    Yes, they do.      It has the same invoice number.           It has

 13      the same supplier, the port, the total quantity, the total

 14      amount or dollar value, the weight.

 15                   It also has the breakdown of the three tariffs.

 16      You'll see it handwritten A, B, C.           That's also written on

 17      the bottom.     This is written by our broker.           And if you refer

 18      to the second -- the detailed invoice, that would be the same

 19      written there.      Everything matches.

 20      Q.    Ms. Velazquez, looking at the commercial invoice page on

 21      the right, do you see the multiple references to Uni-Let or

 22      Uni-Let welded or Uni-Let welded outlet fitting?

 23      A.    Yes.

 24      Q.    And that page was part of the duty pack, correct?

 25      A.    It is part of the duty pack.          This is what we would call



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    490 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          606 Trial Page 69 of 166
                                                                                     68


   1     a detailed line-item commercial invoice which provides for

   2     each line.     It wouldn't be in a summary form.           It would be

   3     for each line, the quantity for each item, the description

   4     for each item, our purchase order for each item, the item

   5     number for each item.

   6                  This would refer to all of SIGMA's item numbers

   7     that reflect our purchase order.

   8     Q.    And that commercial invoice with the descriptions of

   9     welded outlets Uni-Let, et cetera, that was part of the duty

 10      pack that went to Customs with every importation of Uni-Lets

 11      or Safe-Lets?

 12      A.    Yes, that's correct.

 13                   MR. CURRAN:     Nothing further, Your Honor.

 14                   THE COURT:     Thank you, counsel.

 15                   Counsel.

 16                                 CROSS-EXAMINATION

 17      BY MR. KRAMER:

 18      Q.    Good morning, Ms. Velazquez.

 19      A.    Good morning.

 20      Q.    Now, I think you've indicated that you've worked at

 21      SIGMA for more than 20 years, correct?

 22      A.    That is correct.

 23      Q.    In fact, members of your family have worked at SIGMA,

 24      too, correct?

 25      A.    Yes.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    491 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          607 Trial Page 70 of 166
                                                                                     69


   1     Q.    Five of them, in fact, right?

   2     A.    Yes, that's correct.

   3     Q.    I want to focus on the recent role that you're playing.

   4     You moved into the imports group in 2019.             That's June of

   5     2019, correct?

   6     A.    The import manager role.

   7     Q.    Okay.    But prior to June 2019, you were not in the

   8     import group, correct?

   9     A.    I was in the import group.          I was in the accounts

 10      payable import division.

 11      Q.    But, in fact, you were not part of the actual import

 12      group; is that correct?

 13      A.    I would be an extension of that group.

 14      Q.    I'd like to show you what is part of Exhibit 19 already

 15      in evidence.      This is page 58.

 16                    Ms. Velazquez, while we wait for that to come up,

 17      you know that this was part of the import compliance manual,

 18      correct?

 19      A.    It is.

 20      Q.    What we have here, this is an org chart showing the

 21      operations flow in the import group, correct?

 22      A.    If you can scroll out just a little bit more so I can

 23      see the whole thing?

 24      Q.    Sure.

 25      A.    Yes.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    492 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          608 Trial Page 71 of 166
                                                                                     70


   1     Q.    Imports operation structure, you can see that right

   2     here, right?

   3     A.    Yes.    That's correct.

   4     Q.    Okay.    And if we see this core group that we talked

   5     about here reporting up to Andy Podner, you see it says the

   6     imports group, correct?

   7     A.    Yes.

   8     Q.    And you see these dotted lines here making this sort of

   9     circle around it, right?

 10      A.    To reflect the extensions of that group, yeah.

 11      Q.    Right.    So you have Inge -- is that Inge Atkinson?              Is

 12      that her prior name?

 13      A.    That was her maiden name.

 14      Q.    And you can see that you are over here, correct, Patty

 15      Velazquez?

 16      A.    That's correct.

 17      Q.    Reporting up to the CFO, correct?

 18      A.    That's correct.

 19      Q.    Not reporting up to Mr. Podner, and you're outside the

 20      dotted line imports group, correct?

 21      A.    That's correct.       It's an -- I'm an extension group.

 22      Q.    Now, then you moved into the imports group, right,

 23      because you're now inside that box, correct?

 24      A.    Yes.

 25      Q.    When you moved into that group, you already knew about



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    493 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          609 Trial Page 72 of 166
                                                                                     71


   1     this lawsuit, correct?

   2     A.      Actually, no, I did not.

   3     Q.      Okay.   SIGMA already knew about this lawsuit when you

   4     were moved in June of 2019, correct?

   5     A.      I -- I don't know that.

   6     Q.      You don't know.     Okay.    Now, I want to go back to the

   7     accounts payable position that you held between 2001 and

   8     2019.    Are those dates, correct?

   9     A.      For the import division, yes, that's correct.

 10      Q.      For the accounts payable position within the import

 11      division, right?

 12      A.      That's correct.

 13      Q.      Okay.   And in that time you were responsible to pay any

 14      bills related to import expenses, correct?

 15      A.      That is correct.

 16      Q.      And in that accounts payable position, you didn't have

 17      any responsibility for ensuring that antidumping duties were

 18      properly identified, correct?

 19      A.      No.   I would be notified if there were antidumping as it

 20      relates to potential liability.

 21      Q.      But again, you didn't have any responsibility for

 22      ensuring that antidumping duties were properly identified,

 23      correct?

 24      A.      That is correct.

 25      Q.      And you didn't have any responsibility for reviewing



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    494 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          610 Trial Page 73 of 166
                                                                                     72


   1     antidumping duty orders, correct?

   2     A.    That's correct.

   3     Q.    And it's fair to say that you weren't actually

   4     responsible for antidumping duty compliance during that

   5     18-year period, correct?

   6     A.    Correct.

   7     Q.    When you were in the accounts payable division, you were

   8     not responsible for assigning HTS codes to SIGMA's products,

   9     correct?

 10      A.    Only when I covered Inge for her two maternity leaves.

 11      Q.    Okay.    So there's two little breaks, but for, let's see,

 12      17 and a half of those 18 years that was not your

 13      responsibility?

 14      A.    It was not my responsibility.          That's correct.

 15      Q.    And you generally were not aware of how SIGMA's products

 16      were classified, correct?

 17      A.    No.    I was aware.     I was generally aware.         I just had

 18      never done it myself.

 19      Q.    Well, you recall being deposed in this case, correct?

 20      A.    Yes, I do.

 21      Q.    All right.     If we look at page 11, line 16 --

 22                    MR. KRAMER:    This is for impeachment, Your Honor.

 23      I don't know if you want me to show it to the witness only.

 24                    THE COURT:    No.   You don't have to for impeachment.

 25                    MR. KRAMER:    Thank you.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    495 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          611 Trial Page 74 of 166
                                                                                     73


   1     BY MR. KRAMER:

   2     Q.    You were asked:

   3                  "Question:     In your role while you were in the

   4     accounts payable department, did you ever see something or

   5     say something about items that were not properly classified

   6     under the HTS code?"

   7                  Your response was:

   8                  "Answer:    It wouldn't be my role."

   9                  Correct?

 10      A.    If you can scroll up a little bit.

 11                   MR. CURRAN:     Counsel, can you say the page and line

 12      again.

 13                   MR. KRAMER:     Yes.    Page 11, lines 16 to 25.

 14      A.    Let me just read the question.

 15                   MR. CURRAN:     Your Honor, for rule of completeness,

 16      I ask that the excerpt begin at line 8.

 17                   THE COURT:     Counsel, normally on depositions we

 18      don't even have to show it.          You can read in the testimony.

 19                   MR. KRAMER:     Perfect.     Okay.    Thank you, Your

 20      Honor.    Moving on.

 21                   THE COURT:     If you want to read in the testimony,

 22      you can do that now.

 23                   MR. KRAMER:     I'll just move on, Your Honor.

 24                   THE COURT:     Okay.

 25      BY MR. KRAMER:



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    496 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          612 Trial Page 75 of 166
                                                                                     74


   1     Q.    When you were in the AP division, the accounts payable

   2     division, you weren't speaking with customs brokers about HTS

   3     codes, correct?

   4     A.    Yes.    I mean, I would speak to them about anything

   5     that's found on a 7501.

   6     Q.    I'm sorry.     When you were in the AP role, what I'm

   7     saying is you were not communicating with the customs brokers

   8     about product classifications, right?            That wasn't part of

   9     your role?

 10      A.    It wasn't part of my role, but I would speak to them

 11      about it, yes.

 12      Q.    Focusing again on this time period, this 2001 through

 13      2019, your only responsibility regarding the 7501 was to make

 14      sure that the valuation information was correct, right?

 15      A.    That was my Customs compliance portion, was to ensure

 16      that the valuation and the documentation was maintained and

 17      correct.

 18      Q.    And you were not responsible for filling out Customs and

 19      Border Protection form 7501, correct?

 20      A.    That is correct.

 21      Q.    And you did not review the form 7501 for accuracy,

 22      correct?

 23      A.    I did.    Yes, I did.

 24      Q.    In your deposition at page 9, line 19, you were asked:

 25                   "Question:     Other than reviewing them for the



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    497 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          613 Trial Page 76 of 166
                                                                                     75


   1     accuracy of the valuation, were you responsible for ensuring

   2     that any classifications entered on the 7501s were correct

   3     during this period of time?"

   4                    And your response was:

   5                    "Answer:   No, not during this period, no."

   6     A.     In reference to --

   7                    THE COURT:   Excuse me.     There's no question.

   8                    Ladies and gentlemen, when deposition testimony is

   9     read in to the jury, that's testimony that is taken under

 10      oath before a trial.        And when it's allowed to be read in to

 11      the jury, it's just like that testimony had been given to

 12      you.   It's not a question and answer.           It's like that is

 13      testimony that the jury is to accept.

 14                     Go ahead, counsel.

 15      BY MR. KRAMER:

 16      Q.     Okay.    Now, speaking -- you mentioned the Uni-Let

 17      product in your testimony, I believe, correct?

 18      A.     Yes.

 19      Q.     Okay.    And you actually did not know whether the Uni-Let

 20      was a steel coupling, correct?

 21      A.     Yes.    That's true.

 22      Q.     And you didn't know whether Safe-Let was a steel

 23      coupling, correct?

 24      A.     Yes.    That's true.

 25      Q.     Focusing again on 2010 when you were in this AP role,



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    498 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          614 Trial Page 77 of 166
                                                                                     76


   1     you weren't responsible for classifying the Uni-Let product,

   2     correct?

   3     A.    That is correct.

   4     Q.    And you weren't responsible for any import compliance

   5     issues as it related to the Uni-Let, correct?

   6     A.    Beyond retaining the documentation and valuation, no, I

   7     was not personally responsible.

   8     Q.    And you were not involved in conversations with any

   9     customs broker about the classification of the Uni-Let,

 10      correct?

 11      A.    That's correct.

 12      Q.    And you were not involved in any conversations with a

 13      customs broker about whether it might be subject to

 14      antidumping duties?

 15      A.    I'm sorry.     Say that one more time.

 16      Q.    Yeah.    You were not involved in any conversations with a

 17      customs broker about whether it might be subject to the

 18      antidumping duties?

 19      A.    Yes.    That's correct.

 20      Q.    And that's true for the Safe-Let, too, in 2016, right?

 21      A.    Yes.    That's correct.

 22      Q.    In your direct examination you were asked a couple of

 23      questions about the Exhibit 1006, which is the focused

 24      assessment.     Do you recall that?

 25      A.    Yes.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    499 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          615 Trial Page 78 of 166
                                                                                     77


   1     Q.      Now, we've heard a little bit about this document, so I

   2     won't belabor it, but you understand that there are three

   3     review areas identified in this document, correct?

   4     A.      I believe there's multiple review areas.

   5     Q.      Well, let's look at what the actual document says.              It

   6     says:    We determined that SIGMA's import activities represent

   7     an acceptable risk in the review areas of transaction value

   8     classification and generalized system of preferences.

   9                    Now, is there any place in this document where it

 10      identifies antidumping duties as a review area?

 11      A.      I believe that's found on page -- we brought that up.                I

 12      don't know the exact page.

 13      Q.      If we look at page 5 of this document, we see a

 14      reference to antidumping duties, correct?

 15                     MR. CURRAN:    Your Honor, can we see the whole page?

 16                     THE WITNESS:   I'm sorry.     I can't see the whole --

 17      BY MR. KRAMER:

 18      Q.      See right here, the second bullet, analyze the tariff

 19      numbers for antidumping duties, right?

 20      A.      Yes.

 21      Q.      Does that indicate that antidumping duties is a review

 22      area of this audit?

 23      A.      No.    It mentions it in two bullets down, analyze samples

 24      of items above and assess each item's compliance with

 25      applicable laws and regulations, including -- and it mentions



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    500 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          616 Trial Page 79 of 166
                                                                                     78


   1     antidumping.

   2     Q.    Right.    And does that indicate that antidumping duties

   3     are a review area?       Are those words there on this document

   4     anywhere?

   5     A.    It says they were assessed, that SIGMA was following

   6     compliance.

   7     Q.    If we look at the --

   8     A.    And I know for a fact that they were because --

   9     Q.    Excuse me.     If we look at the page before it, it

 10      indicates that each of these bullets, the sub bullets that we

 11      look at below it, are for each of the review areas, correct?

 12      A.    I'm sorry?

 13      Q.    Right here it says for each identified review area,

 14      correct?     Do you see that?      And antidumping duties is not a

 15      review area, correct?

 16      A.    Right.    In this -- in this specific sentence, yes.

 17      Q.    You mentioned that some of these items, these sample

 18      items we looked at, I just wanted to show you one.                This is

 19      page 5.    You see that the sample items were reviewed for

 20      transaction value, correct?

 21      A.    I'm -- right, the highlighted in the very top portion.

 22      Q.    Exactly.     Correct?

 23      A.    Yes.

 24      Q.    And 26 items for classification, correct?

 25      A.    Yes.    They asked for additional samples, and we



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    501 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          617 Trial Page 80 of 166
                                                                                     79


   1     provided.

   2     Q.    Right.    Now, you mentioned, too, this letter that

   3     Mr. Podner sent, correct?

   4     A.    Yes.

   5     Q.    In that letter -- we looked at it a few times in this

   6     case -- he indicated that SIGMA would take steps to improve

   7     aspects of its operations, correct?

   8     A.    Yes.    We suggested --

   9     Q.    Right.    So one of the things it suggested it might do is

 10      to hire a licensed customs broker, correct?

 11      A.    That's correct.

 12      Q.    And it never did that, right?

 13      A.    No.    We have CH Powell, which is one of the largest.

 14      Q.    Yes, but he didn't say we would retain a customs broker.

 15      Mr. Podner said that you would hire a full-time customs

 16      broker, correct?

 17      A.    I'd have to look at the exact language.             I believe he

 18      said we would look into it.

 19      Q.    Look into the feasibility of having at least one person

 20      in the organization become a licensed customs broker,

 21      correct?

 22      A.    That we would look into it, and we did.

 23      Q.    You looked into it but it never happened, correct?

 24      A.    Inge Atkinson went for her license.

 25      Q.    And she failed the exam, correct?



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    502 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          618 Trial Page 81 of 166
                                                                                     80


   1     A.    She failed and she started a family, so she didn't

   2     continue.

   3     Q.    Uh-huh.     You also indicated that you would consider

   4     joining the CTPAT, I think that is?

   5     A.    That's correct, CTPAT.

   6     Q.    Gotcha.     Now, I wanted to ask you a couple of other

   7     questions.     You mentioned CROSS rulings -- excuse me, you

   8     mentioned the CROSS database, right?

   9     A.    Yes.

 10      Q.    You said that it was the most helpful database for you

 11      and you used it frequently, correct?

 12      A.    Along with others, yes.

 13      Q.    Right, but the CROSS ruling I think in your testimony

 14      you said -- not the ruling.          Strike that -- that the CROSS

 15      database was the one you thought was most helpful, correct?

 16      A.    One of, yes.

 17      Q.    In fact, in this letter that Mr. Podner sent --

 18      A.    Customsinfo was another one.          Federal Registers are

 19      another one.

 20                   THE COURT:     I'm sorry.

 21      BY MR. KRAMER:

 22      Q.    I have a question here, ma'am.

 23      A.    I'm sorry.

 24      Q.    So when --

 25                   THE COURT:     I know it's tough being a witness, but



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    503 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          619 Trial Page 82 of 166
                                                                                     81


   1     it has to be done by question and answer.

   2                  Go ahead.     If your attorney wants you to expand,

   3     he'll ask you further questions.

   4                  THE WITNESS:     Okay.

   5     BY MR. KRAMER:

   6     Q.    So, in fact, in this section 2 here, Mr. Podner

   7     indicates that SIGMA had recently gained access to a series

   8     of different Customs databases, correct?

   9     A.    They've gained access to some, including ACE.

 10      Q.    Right.    And it refers to a portal called

 11      customsinfo.com, correct?

 12      A.    Yes.

 13      Q.    Recently gained access to ACE, correct?

 14      A.    Yes.

 15      Q.    And he felt that it was helping.           It was better.      It was

 16      better than they were able to do previously, correct?

 17      A.    Sure, yes.

 18      Q.    So back in 2010 those databases weren't available to

 19      SIGMA, correct?

 20      A.    I don't know that to be the fact, but, yeah.

 21      Q.    You mentioned towards the end of your testimony, you

 22      made reference to an antidumping duty on forged steel

 23      fittings.     Do you recall that?

 24      A.    Yes, I do.

 25      Q.    And you know that that antidumping duty didn't go into



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    504 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          620 Trial Page 83 of 166
                                                                                     82


   1     effect until the very end of 2017, correct?

   2     A.    The preliminary -- I'm not quite sure when the

   3     preliminary investigation started on that.

   4     Q.    Okay, but it wasn't in place back in 2010, correct?

   5     A.    No, I don't believe so.

   6     Q.    It was much, much later, correct?

   7     A.    Correct.

   8     Q.    And we've talked a little bit in this case about the

   9     compliance manual, the SIGMA compliance manual?

 10      A.    Yes.

 11      Q.    And that compliance manual was put in place in 2013,

 12      correct?

 13      A.    It was formally memorialized in a manual form,

 14      compliance manual book, I guess is the best way to put it.

 15      Q.    Okay.    So you're trying -- let me make sure I understand

 16      what you're saying.       You're saying that prior to the

 17      compliance manual, there were already some procedures in

 18      place, right?

 19      A.    Yes.

 20      Q.    So the manual was reflecting what was actually happening

 21      at SIGMA already.       That's what you're saying, correct?

 22      A.    Yes.

 23      Q.    Now, as the import manager, have you updated this

 24      compliance manual?

 25      A.    No, I have not.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    505 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          621 Trial Page 84 of 166
                                                                                     83


   1     Q.    Okay.    And you do understand, though, that the

   2     compliance manual says it will be reviewed and updated

   3     annually, correct?

   4     A.    Right.    There has been no changes.

   5     Q.    Now, you also remember that there is some training

   6     provisions in this material, correct?

   7     A.    That's correct.

   8     Q.    All right.     In fact, if we take a look at this, on page

   9     50 of the exhibit it indicates that there are some

 10      expectations for formal course work, correct?

 11      A.    For new employees, yes.

 12      Q.    And employees who wish to transfer into imports must

 13      complete the course work before accepting the transfer,

 14      correct?

 15      A.    Let me read.      I'm sorry.     Yes.

 16      Q.    And in the manual it outlines -- let's see down here at

 17      bottom -- nine areas of required course work, correct?

 18      A.    Yes.

 19      Q.    There are five core training courses there, right?

 20      A.    Yes.

 21      Q.    Four areas of advanced course work, correct?

 22      A.    Yes.

 23      Q.    And none of those formal course work -- none of that

 24      relates to antidumping duties, correct?

 25      A.    There's more in the manual.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    506 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          622 Trial Page 85 of 166
                                                                                     84


   1     Q.      There's more in the manual.        In section 1.3?      No.    Well?

   2     A.      For training, no, it's not mentioned for training in

   3     here.

   4     Q.      It's not mentioned for training.

   5                     So before you moved into the imports group, you

   6     didn't receive any of this formal training, correct?

   7     A.      I've been with SIGMA close to the imports division.

   8     Q.      That's not actually my question.         My question is:       Prior

   9     to moving into the imports group, you did not receive any of

 10      this formal training, correct?

 11      A.      Let's see what is outlined as formal training here.              I

 12      did go to our broker's seminar.           It was a two-day seminar

 13      where they had a compliance consultant there.

 14      Q.      You received -- let's be -- you got some on-the-ground

 15      training, if you will, right?          Inge Atkinson gave you some

 16      training with respect to -- some on-the-job training with

 17      respect to classification, right?

 18      A.      Classification with Inge Atkinson, yes.

 19      Q.      Okay.    But you did not actually have any specific

 20      training before you moved into import compliance, correct?

 21      A.      I already knew this, so I didn't need to take -- if

 22      you're referring to formal outside courses --

 23      Q.      I'm referring to any of the required course on this

 24      paper.    You did not do any of that required course work,

 25      correct?



                               UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    507 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          623 Trial Page 86 of 166
                                                                                     85


   1     A.    In a formal outside stance, no, I did not.              In-house,

   2     yes, I did.

   3     Q.    Okay.    You spent some time talking about a CROSS ruling

   4     in this case.      Do you recall that?

   5     A.    Yes.

   6     Q.    And you understand as you sit here today that the CROSS

   7     ruling is a Customs ruling, correct?

   8     A.    That is correct.

   9     Q.    It deals with classification, correct?

 10      A.    It deals with not just classification.             Classification

 11      is one area.

 12      Q.    Well, the ruling is telling you what the proper

 13      classification for a product is, correct?

 14      A.    In this particular ruling it is, yes.

 15      Q.    Okay.    So the one that we're talking about, that's the

 16      point of the ruling, right?

 17      A.    In this particular one, yes.

 18      Q.    Okay.    And you understand that the Department of

 19      Commerce is responsible for antidumping duties, right?

 20      A.    That's correct.

 21      Q.    Okay.    And you understand that the ruling we were

 22      talking about, this CROSS ruling, that was not issued by the

 23      Department of Commerce, correct?

 24      A.    That's correct.

 25      Q.    Now, Ms. Velazquez, when you -- you have stated that



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    508 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          624 Trial Page 87 of 166
                                                                                     86


   1     your number-one objective is to keep SIGMA's best interest in

   2     the forefront; is that correct?

   3     A.    I mean, that's one of, sure.

   4     Q.    It's just a yes-or-no question.           Have you stated that or

   5     have you not?

   6     A.    In testimony I don't believe so.

   7     Q.    Well, I didn't say in testimony.           Have you stated that

   8     in any public website or press release?

   9     A.    I believe I stated many things.           You're referring to

 10      when I was promoted.

 11      Q.    It's just a yes-or-no question.

 12      A.    Yes.

 13      Q.    Thank you.

 14                   MR. KRAMER:     Nothing further, Your Honor.

 15                   THE COURT:     Counsel?    You have eight minutes left

 16      on it, counsel.

 17                                REDIRECT EXAMINATION

 18      BY MR. CURRAN:

 19      Q.    Ms. Velazquez, Mr. Kramer asked you some questions about

 20      your titles over the years, correct?

 21      A.    Yes.

 22      Q.    Can you please explain how closely you were working with

 23      the import managers while you were in the accounts payable

 24      for imports section.

 25      A.    It would be all day every day.           All right.     My role



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    509 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          625 Trial Page 88 of 166
                                                                                     87


   1     again was to pay any import-related bills.             Any questions

   2     that I had would be made to the imports manager.               I was to

   3     audit and ensure that they were -- that they met and agreed

   4     with our database, SIGMA's database -- any questions that I

   5     had.   So I would be with them all day.

   6     Q.     Looking over their shoulder while they were doing their

   7     job?

   8     A.     They would say so, I guess, yes.

   9     Q.     That experience and knowledge of the customs compliance

 10      function was sufficient that you were the point person for

 11      the Customs focused assessment in 2013, right?

 12      A.     Yes.

 13      Q.     That focused assessment and the letter that Mr. Podner

 14      sent to Customs afterwards, did SIGMA undertake in good faith

 15      to explore all of those possible enhancements that SIGMA

 16      volunteered to look into?

 17      A.     Yes, of course.

 18      Q.     Let's focus on one that Mr. Kramer focused on.              He asked

 19      about SIGMA retaining as an employee a licensed customs

 20      broker?

 21      A.     Yes.

 22      Q.     And I think you said that Ms. Inge Atkinson pursued that

 23      but then did not go the whole distance?

 24      A.     Yeah.   It's a hard test.       I believe Kelly Kramer -- I'm

 25      sorry -- Kelli Thompson --



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    510 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          626 Trial Page 89 of 166
                                                                                     88


   1                  THE COURT:     Next question.      It's been answered.

   2                  THE WITNESS:     Yes.

   3                  THE COURT:     Counsel, I'm trying to help you on

   4     time.

   5                  MR. CURRAN:     I'm okay on time.       Thank you,

   6     Your Honor.

   7     BY MR. CURRAN:

   8     Q.      How much does SIGMA rely on outside licensed brokers?

   9     A.      Rely on them all day every day.         Speed dial on every one

 10      of our phones in the imports department.

 11      Q.      I'd like even more detail.

 12                   MR. KRAMER:     Your Honor, I object on scope grounds.

 13      Beyond the scope of the cross.

 14                   THE COURT:     Overruled.

 15                   MR. CURRAN:     Thank you, Your Honor.

 16                   THE WITNESS:     I'm sorry.     Can you ask it again.

 17      BY MR. CURRAN:

 18      Q.      I'd like a deep understanding of how much SIGMA relies

 19      on its licensed customs broker at CH Powell, which has been

 20      exclusive, you said, since 2013 and before that.

 21      A.      They've been with SIGMA all along, just they were -- we

 22      signed up with them exclusively in 2012.             We didn't use any

 23      other customs broker.

 24                   There's an -- we have a standard operating

 25      procedure with them.        They are to obviously file our 7501s,



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    511 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          627 Trial Page 90 of 166
                                                                                     89


   1     review our documentation, retain our documentation for five

   2     years, ensure that our product gets delivered, that once it

   3     reaches a U.S. port, it gets delivered to its final, that

   4     they file the Customs documents that are required even prior

   5     to the 7501, which is the ISF and the documents that are

   6     related to that.

   7                  Antidumping is a major thing.          We've -- SIGMA has

   8     always felt that that was very important.             On a daily,

   9     anytime our item -- anytime an entry --

 10                   THE COURT:     There's no question pending right now.

 11      Counsel, next question.

 12      BY MR. CURRAN:

 13      Q.    But again, the frequency with which you're in contact

 14      with the customs broker?

 15      A.    All day every day.

 16      Q.    Mr. Kramer also asked you questions about the Uni-Let

 17      and Safe-Let and steps taken when those products were

 18      introduced.     He specifically asked whether there were

 19      conversations with a broker with respect to Uni-Let.

 20                   Do you know, did SIGMA consult, not necessarily

 21      conversations but did it consult with a broker with respect

 22      to antidumping duties on Uni-Let?

 23                   MR. KRAMER:     Your Honor, can we get foundation.

 24                   THE WITNESS:     Yes, they did.

 25                   THE COURT:     Overruled.     Next question.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    512 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          628 Trial Page 91 of 166
                                                                                     90


   1     BY MR. CURRAN:

   2     Q.    Ms. Velazquez, what did SIGMA do with respect to

   3     Safe-Let when it was introducing that product with respect to

   4     antidumping duties?

   5     A.    Same process we would always do -- NIR.

   6                  THE COURT:     You have personal knowledge of that?

   7                  THE WITNESS:     Yes, I do.

   8                  THE COURT:     Go ahead.

   9                  THE WITNESS:     I probably --

 10                   THE COURT:     Go ahead, counsel.

 11      BY MR. CURRAN:

 12      Q.    Finally, Ms. Velazquez, on the manual, you mentioned

 13      that SIGMA hasn't updated the manual, the general manual.

 14      Are there other related manuals that outline procedures with

 15      respect to import compliance that SIGMA has updated over the

 16      years?

 17      A.    Yes.    There's many, many manuals.         The compliance manual

 18      that's being referred to is a broader spectrum.               These are

 19      just the basics, basic requirements that we must follow,

 20      right.

 21                   In addition, there's more detail in other

 22      compliance manuals such as the vendor import compliance

 23      manual.    That is updated quite often.

 24                   MR. CURRAN:     Thank you.

 25                   Thank you, Your Honor.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    513 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          629 Trial Page 92 of 166
                                                                                     91


   1                  THE COURT:     Counsel?

   2                  MR. KRAMER:     Very briefly.

   3                                RECROSS-EXAMINATION

   4     BY MR. KRAMER:

   5     Q.    Ms. Velazquez, under questioning just now you were

   6     referring to how much SIGMA relies on its brokers, correct?

   7     A.    Yes.

   8     Q.    But you understand that the importer of record is

   9     ultimately responsible for complying with the import laws,

 10      correct?

 11      A.    Yes, that's correct.

 12      Q.    And you are not trying to suggest to this jury that

 13      SIGMA is shifting that burden to its broker, correct?

 14      A.    That's correct.

 15                   MR. KRAMER:     Nothing further, Your Honor.

 16                   THE COURT:     Okay.    You may step down.

 17                   Both sides rest?

 18                   MR. CURRAN:     Yes.    SIGMA rests, Your Honor.

 19                   THE COURT:     Counsel?

 20                   MR. KRAMER:     Nothing for the rebuttal case.

 21                   THE COURT:     Okay.

 22                   Ladies and gentlemen, I'm going to be excusing you

 23      a little bit early for lunch here.           You're going to have two

 24      hours.    I've got to go over jury instructions and talk with

 25      counsel before they get in their argument.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    514 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          630 Trial Page 93 of 166
                                                                                     92


   1                  When we come back in at 1:00, both sides will have

   2     an opportunity to argue their case to you and then I'll

   3     instruct you on the law that applies to it and we're going to

   4     send you back to the jury room to do your deliberations at

   5     that time.

   6                  So at this time I'm going to excuse you.             Remember

   7     the admonishment not to discuss the case among yourselves or

   8     with anybody else, nor form or express any opinions about the

   9     matter until it is submitted to you and you retire to the

 10      jury room.

 11                   Have a pleasant lunch.        We'll see you back in at

 12      1:00 and we'll start right then.

 13                   Thank you.

 14                   THE CLERK:     All rise.

 15                   (Open court - jury not present)

 16                   THE COURT:     The record will reflect that the jurors

 17      have left the courtroom.         You may have a seat.

 18                   Counsel, a couple of things.          On the motion that

 19      you made earlier, that's reserved.           You can make that.        I'm

 20      going to give you a chance to do it in writing if you wish as

 21      long as you get it in by next Tuesday, and the reply by two

 22      days later.     Or you can make it orally today if you wish.

 23                   MR. CURRAN:     Actually we filed on ECF yesterday.

 24                   THE COURT:     Okay.    That's fine.

 25                   MR. CURRAN:     We may have a further motion after --



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    515 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          631 Trial Page 94 of 166
                                                                                     93


   1                  THE COURT:     Okay.    I'm just saying any motion

   2     should be done by Tuesday, and any responses should be done

   3     by two days later on Thursday.

   4                  MR. CURRAN:     Thank you, Your Honor.

   5                  THE COURT:     I just want to make sure that both

   6     sides know that I'm not cutting you off as far as motions

   7     being made today.       It's reserved.

   8                  MR. CURRAN:     Thank you.

   9                  THE COURT:     Secondly, counsel, what -- I spent all

 10      day yesterday and last night and this morning going over all

 11      the instructions that have been submitted, the disputed

 12      instructions that were given, the arguments on both sides as

 13      to whether the instructions would be given or not, what

 14      instructions would be given.

 15                   What I've done for you, which should be helpful, is

 16      I've prepared clean instructions that I will be giving --

 17      that I probably will be giving most likely, tentative that

 18      I'm going to be giving.        If you wait for about ten minutes, I

 19      can provide those to you so you can use them in your

 20      argument.

 21                   In your argument please, when you refer to the

 22      judge will instruct you, always say "I anticipate the judge

 23      will instruct you," because sometimes I modify those

 24      instructions a little bit, you know, cross out a word here or

 25      there.    So it's just better to say, "I anticipate the Court



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    516 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          632 Trial Page 95 of 166
                                                                                     94


   1     will be giving you this following instruction."

   2                  Both arguments I think 30 minutes is sufficient on

   3     it.   And, of course, the plaintiff has opening and also has

   4     closing on it.      I always leave it to the attorneys if they

   5     wish for me to give you a five-minute warning when you get

   6     close to the end if you want it.           If you don't want it,

   7     that's fine, too.       I don't want to interrupt you when you're

   8     in your argument unless you want me to give that.

   9                  So think about that and before 1:00 let me know if

 10      you want me to give you a five-minute warning.

 11                   Plaintiff, you have the 30 minutes, but you may

 12      want to break it up.

 13                   MR. KRAMER:     Yes.

 14                   THE COURT:     And I don't know if you're going to

 15      want a warning.      Sometimes they'll say, well, Judge, will you

 16      give me a warning five minutes before the 20 minutes and five

 17      minutes before the end?        I'll do it any way you want.          If I

 18      don't hear from you, I won't give any warning at all.

 19                   MR. CURRAN:     I'll take the five-minute warning.

 20                   THE COURT:     Okay.

 21                   See you all back after -- well, if you just wait

 22      for a while, I'm going to have my law clerk bring out the

 23      instructions for you so you can use them.             It will be within

 24      ten minutes or so.

 25                   Thank you, counsel.



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    517 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          633 Trial Page 96 of 166
                                                                                     95


   1               (Recess taken from 11:04 a.m. until 1:07 p.m.)

   2                  (Open court - jury present)

   3                  THE COURT:     The record will reflect that all the

   4     jurors are in their respective seats in the jury box.

   5                  Ladies and gentlemen, we've gotten to that point of

   6     the trial now where you've heard all the evidence you're to

   7     use to determine what the facts of the case are.

   8                  At this time we're going to have the parties have

   9     an opportunity to argue the case to you.             The plaintiff goes

 10      first, then the defendant goes, and then the plaintiff.

 11      Because he has the burden of proof, he has the rebuttal at

 12      the end.     So they get two and one.

 13                   It's going to be about, I don't know.            They're

 14      going to go about a half hour each side.             Then I'll instruct

 15      you on the law that applies to the case.             Then we'll send you

 16      back to deliberate.

 17                   Now, remember during the argument, what the

 18      attorneys say is not evidence.          I've told you that before.

 19      It's to help you interpret the evidence.             If they say

 20      something different than the way you remember it, it's not

 21      because they're trying to mislead you.            It's just that some

 22      people see and hear things differently.             But it's your memory

 23      that controls, not what they may say.            Okay?

 24                   Counsel.

 25                   MR. KRAMER:     Thank you, Your Honor.        May we split



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    518 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          634 Trial Page 97 of 166
                                                                                     96


   1     20, 10, and have five-minute warnings?

   2                  THE COURT:     Yes.   On both sides?

   3                  MR. KRAMER:     Both sides.

   4                  THE COURT:     You got it.

   5                  Counsel?

   6                  MR. KRAMER:     Thank you.

   7                  A couple days ago -- feels like maybe a couple

   8     weeks ago for me -- I told you that this case was about an

   9     importer of record that imported millions of dollars of

 10      Chinese products without paying an antidumping duty.                You've

 11      heard the evidence.       You're the judges of the facts.           Your

 12      memory controls.       But you know that that's true.          In fact,

 13      it's really just undisputed.

 14                   I told you that this case was about an importer of

 15      record that falsely told Customs and Border Protection that

 16      no antidumping duties applied to its products even though it

 17      never really checked.

 18                   You've heard the evidence.         You are the judges.

 19      That's your call now.        I told you that it was about an

 20      importer of record that outright lied when it said that it

 21      was importing steel couplings.

 22                   SIGMA's false statements.         Count them up.      Count

 23      them up.     There's 5,000 pieces of paper now in this record

 24      showing all of these different misrepresentations.                SIGMA's

 25      false statements caused the United States to lose out on more



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    519 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          635 Trial Page 98 of 166
                                                                                     97


   1     than $8 million in antidumping duties.            That's where this

   2     case is going.      That's where Island's proof is going to show

   3     and has shown.

   4                  Next slide.

   5                  Before we walk through the evidence, I want to talk

   6     to you about the burden for a moment.            Island has the burden

   7     of proof in this case.        It means that we have to carry a

   8     burden.    We accept that.       We acknowledge it.       We embrace it.

   9     We believe we've done that.

 10                   But I also want to be clear about this, and Judge

 11      Klausner mentioned this in jury selection.             The burden of

 12      proof in this case is not beyond a reasonable doubt.                This is

 13      not Law and Order.       This is not a TV show about a criminal

 14      case.

 15                   Your verdict, no matter what it is, no one's

 16      liberty is going to be taken away.           No one is going to jail.

 17      This is a civil case, and under the law the judge I

 18      anticipate will instruct you that civil cases have a

 19      different burden of proof.         It's called the preponderance

 20      standard.

 21                   What the preponderance standard means, classic

 22      analogy, is that you will have to weigh the evidence almost

 23      like on a scale.       And if you think at the end of this case

 24      that it's perfectly equally balanced and Island is able to

 25      add just a feather to its side of the ledger and it tilts



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 FiledDocument
                                   06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    520 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                   Transcript of Day 3 of FCA
                                          636 Trial Page 99 of 166
                                                                                     98


   1     just ever so slightly, that means Island is entitled to a

   2     verdict.     That's what the burden of proof is in this case.

   3                  So understanding that burden, let's move on and

   4     walk through the evidence.         So what is it that you -- that

   5     you know?     Well, you know at this point that SIGMA was the

   6     importer of record for each and every shipment of Chinese

   7     welded outlets that we've been speaking about for the past

   8     three days.

   9                  You know basically, acknowledged freely by SIGMA,

 10      that the importer of record has affirmative legal

 11      obligations.      You've heard -- Ms. Kelli Thompson testified at

 12      length about this.       She explained that our system is

 13      primarily an honor system.         That's just the reality of where

 14      we are.

 15                   You know that importers of record have two

 16      affirmative legal obligations that matter here.               Importers of

 17      record have to completely and accurately describe the

 18      products they're bringing into the country, and they have to

 19      research and determine if the products are subject to

 20      antidumping duties.

 21                   What else do you know?        You know that antidumping

 22      duties apply to each and every one of these shipments.                 Judge

 23      Klausner has made that clear.          I anticipate he will do that

 24      again in the final instructions.           We start from the

 25      proposition that antidumping duties applied to each and every



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    521 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          637Trial Page 100 of 166
                                                                                     99


   1     one of these shipments.

   2                  Now, I told you that the evidence would show that

   3     SIGMA made two distinct misstatements.            I told you that it

   4     would show that SIGMA falsely claimed to be importing steel

   5     couplings and that it falsely claimed that these products

   6     were not subject to antidumping duties.             So let me walk

   7     through the evidence with respect to each of these false

   8     claims.

   9                  False claim number one.        There can be no real

 10      dispute at this point.        SIGMA told Customs and Border

 11      Protection that it was importing steel couplings.               You've

 12      seen it over and over again.          It wasn't isolated.       This isn't

 13      Island cherry-picking a mistake.           You'll see the steel

 14      coupling representation over and over and over again in

 15      document after document, and it went on for nearly a decade.

 16                   You see it in the form 7501, the form 3461, the

 17      packing list, the bill of lading.           SIGMA spent a lot of time

 18      trying to explain to you that under entry type 28 in this

 19      particular instruction on the 7501, that there was some

 20      rationale for what they did.          But that's -- the problem here

 21      is that it's just not true.

 22                   You know that steel couplings -- steel couplings

 23      and welded outlets are different products.             You know that.

 24      You know that steel couplings aren't beveled.              You know that

 25      steel couplings are not designed to be welded.               Welded



                              UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    522 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          638Trial Page 101 of 166
                                                                                   100


   1     outlets are.

   2                 So one of the first elements you'll have to decide,

   3     and I anticipate the judge will instruct you, the question

   4     is:   Were these statements false?          What does that mean?       They

   5     were untrue when said.        Well, if I'm importing an apple and I

   6     tell Customs it's an orange, that's a false statement.

   7                 That's exactly what happened here.           How do you know

   8     that for sure?      Well, nobody really disputes it.          Mark

   9     Woehrel, he explained to you in the beginning.              He showed you

 10      these products.      You'll have them in the jury room and you

 11      can see the curve.       You can see the bevels.        And you'll see

 12      that the steel couplings have no product feature like that.

 13                  Mitchell Rona, you remember him?           He testified for

 14      SIGMA as the corporate representative, and you saw his

 15      corporate representative testimony.           He was asked:      Why does

 16      it say steel coupling?        His response was:       I don't know.     You

 17      know why he said, I don't know?          Because he knew it wasn't a

 18      steel coupling.

 19                  Mr. Bhattacharji testified in this case.             He was

 20      asked directly whether he understood that steel couplings and

 21      welded outlets were different products.            His answer was yes.

 22      So that statement, that evidence, it shows that that

 23      statement was not true.        It was false.

 24                  One of the next elements that the judge will

 25      instruct you on is materiality.          Does the statement matter?



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    523 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          639Trial Page 102 of 166
                                                                                   101


   1     That's really what we're getting at here.             I anticipate he'll

   2     say that a statement is material if it has a natural tendency

   3     to influence or to be capable of influencing the payment or

   4     receipt of money.

   5                  So the question becomes for Customs and Border

   6     Protection:     Would I?     Might I?    Am I capable of it?       Does it

   7     influence my decision whether or not to impose an antidumping

   8     duty?    Of course it did.      How do you know?       Ms. Thompson, she

   9     testified.     She explained that in our customs system, Customs

 10      and Border Protection takes these product descriptions.                 They

 11      make a difference.       If you say steel coupling, Customs takes

 12      it to mean steel coupling.

 13                   Then it makes appropriate decisions after that.

 14      Are steel couplings subject to an antidumping duty?               No.   You

 15      know that, too.      You've seen the evidence.         You've heard it

 16      all now.    You know that welded outlets are subject to

 17      antidumping duties, but steel couplings are not.

 18                   Commerce has said that explicitly.          You've seen it

 19      in black and white.       You'll see it in the evidence.          You've

 20      heard everyone explain it.         Again, the difference between a

 21      steel coupling and welded outlet, one is beveled.               It's

 22      permanently welded.       That makes it subject to the antidumping

 23      duty.

 24                   So what SIGMA did was to describe a product that

 25      simply wasn't subject to an antidumping duty, and not



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    524 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          640Trial Page 103 of 166
                                                                                   102


   1     surprisingly Customs didn't impose an antidumping duty.

   2                 Now, the judge is also going to tell you that it's

   3     not enough to show that it was just a false statement and

   4     that it was material.        We have to show that SIGMA had the

   5     required knowledge.

   6                 I told you in the opening that that's a bit of an

   7     unusual term.      What that means is that SIGMA had actual

   8     knowledge that the statement was false, that it acted in

   9     reckless disregard, or that it acted in deliberate ignorance

 10      of the truth.

 11                  Now, with respect to this statement, the steel

 12      coupling statement, of course SIGMA knew that this was a

 13      false statement.      You heard the SIGMA people explain, testify

 14      here, yeah, steel couplings and welded outlets are different

 15      products.     We know that.     And it's not just that they said it

 16      here in court.

 17                  You heard testimony and saw this document, the

 18      spreadsheet.     In realtime SIGMA was keeping track of these

 19      products and it used two different columns.             One said HTS

 20      description.     We will tell Customs it's a steel coupling.

 21      The other said SIGMA description.           The SIGMA description

 22      refers to these products as welded outlets, what they really

 23      are.   So there's no question that SIGMA actually knew.

 24                  It's also in the advertising.          When you look at

 25      SIGMA's product catalog, right, does it say steel coupling?



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    525 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          641Trial Page 104 of 166
                                                                                   103


   1     Absolutely not.      It says welded outlet.        So think about that.

   2     When it came time to monetize these products, when it came

   3     time to actually, actually do what a business does, which is

   4     to try to make money, SIGMA called them what they really

   5     were -- welded outlets.

   6                 The only time you see this steel coupling

   7     description in all the evidence that has come into this case

   8     is in the import paperwork that was submitted Customs and

   9     Border Protection.       Think about that spreadsheet.          Think

 10      about what it means to keep two sets of books, because that's

 11      what this looks like.        You've got two different descriptions,

 12      and you use them selectively.

 13                  Finally we get to damages.         The judge is going to

 14      instruct you that the final element, the fourth element when

 15      it comes to this case, the False Claims Act claim, is that

 16      you have to figure out if there's damages.             The damages are

 17      going to be the difference between what the government

 18      received and what it would have received if the defendant had

 19      been truthful.

 20                  You know what the government got paid here?

 21      Nothing, not one penny.        So if SIGMA had told the truth and

 22      told Customs and Border Protection and said:             We're importing

 23      these welded outlets, right.         There's an antidumping duty.

 24      How much should the government have been paid?

 25                  You know from Exhibit 65 which is in evidence, it



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    526 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          642Trial Page 105 of 166
                                                                                   104


   1     does all the math for you.         It lays out on a year-by-year

   2     basis the value of the products that were imported.               It shows

   3     you what the applicable antidumping duty would be, the 1.829,

   4     which is the 182.9 percent antidumping duty.             So the damages

   5     calculation here is straightforward, and you know that the

   6     government should have been paid more than $8 million in

   7     antidumping duties.

   8                 So you take those four elements, you put it

   9     together, and the steel couplings representation by

 10      themselves is adequate to establish Island's burden and to

 11      show a violation of the False Claims Act.

 12                  There's one point I'd like to mention.            SIGMA has

 13      suggested that somehow it didn't intend to mislead anybody.

 14      You will see, and the judge I anticipate will instruct you,

 15      that intent is not an element here.           It's not about whether

 16      SIGMA intended to deceive the government.             It's about whether

 17      it did.    A false statement that's material, caused damages,

 18      and that they actually knew was false establishes liability.

 19                  Let me move to my second false statement.

 20                  False statement number two, you all know it.              It's

 21      that Customs and Border Protection, SIGMA told them no

 22      antidumping duty applies to this product.             That's what they

 23      represented.     That was false.       There's nothing to debate.

 24      There's nothing to deliberate on.           That is a given.      Judge

 25      Klausner has already told you that, and I anticipate he'll



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    527 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          643Trial Page 106 of 166
                                                                                   105


   1     tell that you again.       The representation that no antidumping

   2     duty applied was false.

   3                 Was that material?       Well, think about it.        Imagine

   4     if SIGMA had told the truth.         Imagine if SIGMA had filled in

   5     that box to say antidumping duties apply; I just want you to

   6     know.    Is there any question in your mind that Customs and

   7     Border Protection would have imposed and collected the

   8     antidumping duty?       Of course it would have.        Of course it

   9     would have.     This is a no-brainer.

 10                  So then we get to requisite -- required knowledge.

 11      Required knowledge.       Again, this one is a little bit of an

 12      unusual term here.       It's actual knowledge, it's reckless

 13      disregard, and it's deliberate ignorance.             Actual knowledge,

 14      reckless disregard, deliberate ignorance.

 15                  So when it comes to the second misstatement, what

 16      the evidence is going to show at a minimum is that SIGMA

 17      acted recklessly and that it made these statements in

 18      deliberate ignorance of the truth.

 19                  Let me talk recklessness first.

 20                  THE COURT:     You've got five.

 21                  MR. KRAMER:      Thank you.

 22                  What you know is that SIGMA failed to make the kind

 23      of inquiry that you know that an importer of record is

 24      required to make.       You know that an importer of record is

 25      obligated to read the antidumping duty orders.              You know that



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    528 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          644Trial Page 107 of 166
                                                                                   106


   1     SIGMA never did.      In fact, SIGMA told you that they didn't

   2     even know about it until December of 2017.             And you heard

   3     Ms. Thompson explain, that's unacceptable.

   4                 You cannot be an importer of record and be ignorant

   5     of a duty like this on a Chinese steel product for nearly a

   6     decade.    You heard that they didn't read the scope rulings.

   7     You heard that they didn't review the sunset reviews.               You

   8     heard that they didn't do any of these things.

   9                 Alternatively you can rely on an expert.              You can.

 10      But there's two problems.         First, you've seen the evidence.

 11      Even SIGMA's compliance manual, it talks about archiving your

 12      communications with an expert.          Well, there's not a single

 13      piece of paper, not one, not an e-mail, not a document,

 14      nothing, nothing, nothing to suggest that SIGMA ever spoke to

 15      any kind of Customs expert, not an attorney, not to Commerce,

 16      not to Customs.

 17                  I know it claims that it talked to a broker.              It

 18      had this process that it always followed.             But remember in

 19      the interrogatory responses, Island Exhibit 52 asked the

 20      question:     Who did you consult with about whether welded

 21      outlets were subject to antidumping duties?             Answer:    No one.

 22                  Remember the Department of Justice interrogatory,

 23      the one that Mr. Rona sat on the stand and looked at and

 24      looked at and looked at and didn't know what to say.               That

 25      interrogatory response said:         We didn't have any



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    529 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          645Trial Page 108 of 166
                                                                                   107


   1     communications about these outlets that aren't documented.

   2     You've heard about SIGMA's whole process.             You know from

   3     SIGMA's process, it leaves tracks.           If SIGMA did in this case

   4     what it said it did, you would see the e-mails.

   5                 You heard Ms. Velazquez testify today.            The

   6     engineers were sending e-mails.          Everyone is collecting all

   7     of this information.       There's communications with the

   8     brokers -- all of that, and yet you haven't seen a single

   9     thing.

 10                  In fact, you heard her talk about the new item

 11      review process, the NIR.        There's a form that you check a

 12      box.    I spoke to a consultant.        I spoke to a broker.        I spoke

 13      to an attorney.      Where is that document?        SIGMA's process is

 14      not on trial.      It's what SIGMA did on these products, and on

 15      these products it failed woefully.

 16                  Finally, as to deliberate ignorance, you use your

 17      common sense here.       SIGMA failed to do simple things that

 18      immediately would have alerted it to the fact that these

 19      products were subject to antidumping duties.             How do you

 20      know?    Mr. Woehrel, he explained:         I have no training and

 21      experience, and in one day, one day, I did a couple Google

 22      searches.     I read the sunset review.        I looked at the scope

 23      review.    Commerce sent it to me.        I sat there with my mouth

 24      agape.    These products are always subject to antidumping

 25      duties.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    530 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          646Trial Page 109 of 166
                                                                                   108


   1                  When you see the Sprink-Let ruling, when you see

   2     it, you heard some questions to Mr. Bhattacharji:               Is this

   3     ruling binding?      Did the department walk away from it?            Okay.

   4     Think about what actually happened when Mr. Bhattacharji saw

   5     the Sprink-Let ruling.        What he said was:       When I saw it, I

   6     knew it.    We needed -- we couldn't bring these products in

   7     because we would have to pay antidumping duties.

   8                  So think about how simple it would have been for

   9     SIGMA with its 300 employees and its compliance manuals, its

 10      access to databases, all of these different things, how hard

 11      would it have been for SIGMA to do the simple basic

 12      inquiries.

 13                   I'm going to have one last chance to speak with you

 14      after SIGMA's counsel concludes, but I want to just come back

 15      to the basics here, which is this:           You know that SIGMA was

 16      supposed to pay more than $8 million in antidumping duties.

 17      You know that SIGMA submitted materially false statements to

 18      Customs and Border Protection on more than 200 occasions.

 19                   When I come back, I'm going to ask you to return a

 20      verdict in Island's favor and to make those findings.

 21                   Thank you.

 22                   THE COURT:    Thank you very much, counsel.

 23                   MR. CURRAN:     Judge Klausner, ladies and gentlemen

 24      of the jury, I'd like to begin by thanking you for being

 25      here, thanking you for participating in this trial.               There



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    531 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          647Trial Page 110 of 166
                                                                                   109


   1     are not that many occasions in our lives where we are called

   2     upon to fulfill our duties as citizens of this country.                Jury

   3     duty is one of them.       Voting is another.       There aren't that

   4     many things in our day-to-day lives when we do that.               I know

   5     it's a burden.      It's also an honor.

   6                 It seems a little corny sometimes, but Judge

   7     Klausner has this custom where on the start of every day of

   8     the jury trial, we all salute the flag and reflect on the

   9     role of our judicial system in our country.             And I think it's

 10      very appropriate to do that.

 11                  We all have to be here.         We're the litigants.

 12      We're the parties.       But our system places its trust in

 13      impartial citizens to determine the outcome.             And regardless

 14      of the outcome of this particular trial, we thank you for

 15      your service.

 16                  Now, when I first addressed you on Tuesday, my

 17      first words were that in the course of this trial, I would

 18      prove to you that SIGMA did not knowingly or intentionally or

 19      recklessly make false statements to U.S. Customs.               I think

 20      I've done that.      I think we've proven that.

 21                  I think the witnesses and the documents that you've

 22      been shown prove that at all times SIGMA acted responsibly,

 23      in good faith, and transparently.           Now, I know how when

 24      people act in good faith and transparently, they sometimes

 25      can still be accused of acting otherwise.             And sometimes it's



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    532 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          648Trial Page 111 of 166
                                                                                   110


   1     challenging to refute such allegations, but we've undertaken

   2     that.    We've put our faith in you citizens to see the truth

   3     here.

   4                  And in my short presentation now, I'll try to

   5     resummarize why it is we are comfortable putting our faith in

   6     you to resolve this dispute.         I'll start where Mr. Kramer

   7     focused his attention for the most part, and that's on the

   8     form 7501.     So I'd like to ask Mr. Ball to bring up trial

   9     Exhibit 1009.

 10                   This is the centerpiece of the case in some

 11      respects because this form -- this is an example of one of

 12      the forms.     We know that many of these forms were filed over

 13      the period from 2010 until early 2018 by SIGMA and its

 14      broker.

 15                   The reason why this form is so important is this is

 16      the alleged false statement, right, or the alleged false

 17      statements are on this form.         I'll start with the steel

 18      coupling language because that's kind of a centerpiece of

 19      Island's claim here.

 20                   So is the inclusion of the word steel coupling on

 21      this form a knowing or intentional false statement by SIGMA

 22      to U.S. Customs.      No way.     I think you've heard the

 23      testimony, right?       It was clear that the use of the word

 24      steel coupling on this form is the result of a good-faith

 25      effort to comply with Customs' rules, not to defy them.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    533 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          649Trial Page 112 of 166
                                                                                   111


   1                 Ms. Velazquez and other witnesses testified that on

   2     this form in that block 28 which Mr. Ball has shown here,

   3     SIGMA complied with the requirement to include the HTS code,

   4     the harmonized tariff schedule code, the 7307.99.5045.

   5                 As we've heard, under Customs software, that auto

   6     populates the language pipe fit, OF, no nipples, ST.               The

   7     additional -- so first of all, that disclosure, I don't think

   8     anybody disputes that that's disclosure in accordance with

   9     Customs requirements.

 10                  So as to the information above that, you -- again

 11      you heard Ms. Velazquez talking, that has got the invoice

 12      number.    It's got the bill of lading number.           It's got other

 13      important information.        And the steel coupling term comes

 14      from the supplier's documentation including the bill of

 15      lading, and that carries through on to here.

 16                  The reason why it was perfectly appropriate for

 17      SIGMA and their broker to include steel coupling on this form

 18      is because that description is in accordance with the

 19      harmonized tariff schedule code descriptions.

 20                  Now, at the risk of pounding a nail into the

 21      floorboard, I'd like to ask Mr. Ball to bring up trial

 22      Exhibit 1068, page 5.        This is the most important page in

 23      trial Exhibit 1068.       This is from the harmonized tariff code.

 24      You heard and saw Ms. Velazquez explain the thinking process

 25      going through this form that resulted in her and her



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    534 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          650Trial Page 113 of 166
                                                                                   112


   1     colleagues ultimately picking 7307.99.5045.

   2                 And that process is not only defensible as she

   3     presented it, but it also -- you note that in the top line,

   4     couplings is there.       You know that.      And that is a

   5     description from the HTS tariff code carried through from the

   6     documents and put on the form 7501.

   7                 Now, a couple of points on this page.            One I'll

   8     kind of circle back to, but note that this classification has

   9     been expressly adopted by Customs in that Star Pipe ruling.

 10      I'll show you that in a moment.

 11                  I'd also like to note that the butt-weld fittings

 12      is on line 7307.93, and that indication means that if this --

 13      if this is the proper classification at 7307.99.5045, and

 14      that's confirmed by the Star Pipe ruling, that means that

 15      these welded outlets are not butt-weld fittings.              That helps

 16      explain why SIGMA did not believe they were subject to the

 17      butt-weld fitting duty order.

 18                  So let's first put up the Star Pipe ruling,

 19      Mr. Ball.     This is trial Exhibit 1007.         I think this has been

 20      talked about enough that I don't have to get into great

 21      detail here.

 22                  This is a Customs ruling from 2003, so you see it's

 23      ten years after the ancient Sprink-Let ruling.              This

 24      expressly states in the third paragraph that the applicable

 25      subheading for these outlet fitting products is 7307.99.5045.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    535 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          651Trial Page 114 of 166
                                                                                   113


   1     So there's no question about that.

   2                 And to kind of close the loop on this, Mr. Ball, if

   3     you can go to trial Exhibit 1047, and particularly page 13

   4     there.    This is -- ladies and gentlemen, I hope you'll

   5     remember the instruction booklet for how to fill out the form

   6     7501.

   7                 That says up at the top:         The description of the

   8     articles in sufficient detail to permit the classification

   9     thereof under the proper statistical reporting number in the

 10      HTS should be reported at the top of column 28.              The standard

 11      definitions from the Customs HTS database are acceptable for

 12      this requirement.

 13                  So again, it's reasonable -- it was reasonable for

 14      SIGMA to conclude that using steel coupling in box 28 was

 15      what Customs wanted.       This is following instructions.          And if

 16      there was anything wrong with that interpretation, then how

 17      come Customs never brought this up during its focused

 18      assessment audit in 2018?

 19                  How come Customs didn't bring this up on the close

 20      examinations of imports of the welded outlets at the ports or

 21      in other occasions?       How come DOJ when it examined the

 22      circumstances here didn't pursue an action against SIGMA?

 23      Why is it that Island has to come forward to step in the

 24      shoes of the United States government here?

 25                  I ask you to ask yourselves those questions if



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    536 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          652Trial Page 115 of 166
                                                                                   114


   1     there was something really wrong with the use of steel

   2     couplings in this box.        Another point is I think it's been

   3     clear that Exhibit 1009, this 7501 form, is a multi-page

   4     document, right?      We've been focused frequently on the first

   5     page.

   6                 We've shown repeatedly that there are other

   7     underlying documents here, including -- and this is page 5 of

   8     this exhibit -- the commercial invoice that contains the

   9     description of the products.         So ask yourselves this question

 10      when you're deliberating:         If SIGMA was really trying to

 11      deceive Customs or anybody else, what were they thinking?

 12      How could they include a document that spells out these

 13      products in this detail?

 14                  This is the description of the products I think

 15      that Island is suggesting SIGMA should be using, and it's in

 16      the duty packet.      Please, I ask you to use your common sense.

 17      Consider this duty packet as a whole.            Do you think SIGMA is

 18      trying to evade duties on welded outlets by disclosing the

 19      Uni-Let welded outlets in the commercial invoice?

 20                  It doesn't add up.       It doesn't make sense.        It's an

 21      overly cynical, technical argument that doesn't hold up.                The

 22      inclusion of the word steel coupling is reasonable, made

 23      sense, and by no means does it support a notion of a knowing

 24      or reckless false statement to the government.

 25                  The other alleged false statement on this form has



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    537 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          653Trial Page 116 of 166
                                                                                   115


   1     to do with the antidumping duties.           There it is true that we

   2     know today that Commerce has decided welded outlets are

   3     included in the butt-weld pipe fitting order and are subject

   4     to import duties.       So, yes, it turns out that that was a

   5     false statement when SIGMA did not disclose antidumping

   6     duties on that form.

   7                 But Commerce didn't make that determination until

   8     after SIGMA had stopped importing the product.              You all know

   9     SIGMA imported this product from 2010 when it acquired the

 10      line from the Unique company until early 2018.

 11      Mr. Bhattacharji testified about the termination of the

 12      imports at that point in time.          The Commerce rulings happened

 13      after that.

 14                  There's no crystal ball that alerts businesspeople

 15      or everyday people as to what the U.S. -- what one U.S.

 16      government agency might do in the future.             Does a Commerce

 17      decision in 2021 cause a statement made in the year 2010 to

 18      be knowingly and recklessly false?           No way.    It doesn't add

 19      up.

 20                  Now, the Sprink-Let ruling was issued -- you've

 21      heard a lot about that throughout the course of this case,

 22      and Mr. Kramer mentioned it a moment ago.             The Sprink-Let

 23      ruling came out in 1992, I believe it was.             That was long

 24      before SIGMA got into this line of business, right?               You

 25      heard SIGMA acquired this product line in the year 2010.                By



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    538 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          654Trial Page 117 of 166
                                                                                   116


   1     2010 we already had the Star Pipe ruling.

   2                 So I will ask Mr. Ball to bring up the Star Pipe

   3     ruling again.      So that's Exhibit 1007.

   4                 So in 2010 through early 2018 when SIGMA was

   5     importing this product, we had the SIGMA [sic] ruling

   6     available on that CROSS database, right?            That's the website

   7     for Customs that has been referred to repeatedly throughout

   8     this case, the Customs Ruling Online Search System.

   9                 Ms. Velazquez testified today that this is the only

 10      ruling that comes up for welded outlets.            The Sprink-Let

 11      ruling doesn't come up.        We don't know exactly why, but it

 12      doesn't come up.      But the fact that the Star Pipe ruling

 13      exists and it confirms the classification of welded outlets

 14      and it confirms that the welded outlets are not butt-weld

 15      pipe fittings makes it clear that SIGMA was acting reasonably

 16      when it was stating that it didn't believe it owed

 17      antidumping duties when it was importing the product.

 18                  The gentleman who was testifying earlier today,

 19      Walter Sperko, an eminent expert in piping, he testified to

 20      you unequivocally that in his view no one in the business

 21      world in piping would consider a welded outlet to be a

 22      butt-weld fitting.       That confirms SIGMA's real-world belief

 23      that its products were not covered by the butt-weld fitting

 24      order.

 25                  Another thing.      Mr. Kramer said this a moment ago



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    539 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          655Trial Page 118 of 166
                                                                                   117


   1     and I think he's said it a couple of times during the case to

   2     witnesses, that the word steel coupling is expressly excluded

   3     from the China order.

   4                  So, Mr. Ball, I'd like you to put up if you can the

   5     China order scope side by side with the Taiwan butt-weld

   6     scope.

   7                  So here, ladies and gentlemen, you'll see on the

   8     screen on the left side is the scope of the China order.                You

   9     can see that came out in 1992.          On the right side is the

 10      scope of the Taiwan order.         Only the Taiwan order says other

 11      than couplings.

 12                   I'm afraid that Mr. Kramer has created the

 13      impression that couplings are expressly excluded from the

 14      China order.     And I think he was suggesting that that would

 15      explain perhaps why SIGMA was using the word coupling in the

 16      7501.    It's like an effort to fall into some exclusion, but

 17      the fact of the matter is the China order doesn't exclude

 18      couplings.

 19                   And Ms. Velazquez testified today that there are

 20      other dumping orders that cover couplings.             So not only was

 21      the inclusion of couplings fair, reasonable, in good faith,

 22      but it also would have been a particularly inappropriate

 23      effort at circumventing antidumping duties because it would

 24      be walking into perhaps other dumping duties.

 25                   Ladies and gentlemen, this case focuses on the



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    540 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          656Trial Page 119 of 166
                                                                                   118


   1     conduct and state of mind of SIGMA, but I do ask you to

   2     consider the other side of the room as well, Island's role

   3     here.    I ask you to consider what Island's motivation is in

   4     bringing this case.

   5                  Now, fortunately we had some -- a candid statement

   6     or two about acknowledgment of financial interest in the

   7     case.    I think Mr. Kramer made a comment to that effect in

   8     his opening, and I think Mr. Sanders made an admission along

   9     those lines in his videotape presentation that we put on

 10      because he didn't come to the trial.

 11                   That might be part of it, but you also heard that

 12      Island actually purchases from SIGMA, and you heard that

 13      Island actually purchases welded outlets from China from

 14      SIGMA.    And just on the chance that perhaps that wasn't clear

 15      or has been forgotten, I would like to ask Mr. Ball to play

 16      the short clip, pages 69, line 20, to 70, line 11.

 17                   (Portion of videotape deposition played)

 18                   MR. CURRAN:     So let's reflect upon that for a

 19      minute.    So Island is generally a competitor of SIGMA and may

 20      be motivated by competitive instincts to sue SIGMA in a case

 21      like this.     But it's particularly problematic, I submit, for

 22      Island to be a purchaser of welded outlets from China that

 23      Island believes evaded antidumping duties.

 24                   So Island is buying the product at a cheaper price

 25      and then is suing its own supplier for not paying the duties



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    541 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          657Trial Page 120 of 166
                                                                                   119


   1     on it?    It doesn't make sense.        I ask you just to consider

   2     that the allegations here may not be coming from some

   3     patriotic duty to have the United States Treasury gain a few

   4     million dollars but instead might be an effort to impose some

   5     punishment on a competitor that's also a supplier.

   6                 And it -- it suggests dirty tricks, is what I'm

   7     suggesting.     And Mr. Woehrel acknowledged that as part of

   8     their pretrial investigation in this case, Island was

   9     contacting employees and former employees of competitors to

 10      get information to support this lawsuit.            I ask you to

 11      consider whether that is ethical behavior on the part of

 12      Island.

 13                  In any event, separate and apart from Island's

 14      motivations perhaps, we are comfortable with you passing

 15      judgment on what SIGMA did, reaching your own conclusions as

 16      to whether SIGMA was acting in good faith or not.

 17                  If you believe that SIGMA intentionally or

 18      recklessly was evading antidumping duties, then you know what

 19      to do.    You follow Judge Klausner's instructions.             But we

 20      submit to you -- I submit to you that the evidence

 21      establishes overwhelmingly a good-faith effort here to comply

 22      with the law, not to evade it.

 23                  This is a difficult technical area.            SIGMA did its

 24      best.    It has come forward here.        It's had three executives

 25      appear in court in person to explain their position.               They're



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    542 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          658Trial Page 121 of 166
                                                                                   120


   1     willing to put the decision in your lap.            We have great faith

   2     you'll execute those duties seriously.

   3                  Also, please consider that in SIGMA's effort to

   4     comply with the law, not only did they reach their own

   5     independent judgments as to what was the right thing to do,

   6     not only did Ms. Velazquez and her colleagues do the analysis

   7     called for by the harmonized tariff schedule, not only did

   8     they also follow the Star Pipe ruling and other guidance they

   9     had from the government, but they relied heavily upon outside

 10      experts.

 11                   You heard about their reliance on licensed customs

 12      brokers including CH Powell, which Ms. Thompson acknowledged

 13      is a reputable national consulting firm or compliance broker,

 14      and SIGMA has been relying on them and other brokers before

 15      that.    That smacks of an effort to comply with the law, not

 16      evade it.

 17                   All things in this case point in the same

 18      direction.     SIGMA had good faith, not an effort to

 19      circumvent.     We have faith in your abilities to see the truth

 20      here.    Thank you for your time today and throughout this

 21      week.    Thank you.

 22                   Thank you, Judge Klausner.

 23                   THE COURT:    Rebuttal?

 24                   MR. KRAMER:     Ladies and gentlemen, SIGMA's counsel

 25      didn't really dispute that SIGMA owes $8 million in



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    543 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          659Trial Page 122 of 166
                                                                                   121


   1     antidumping duties.       That's not even -- that's not even being

   2     discussed.     SIGMA's counsel instead offered a series of

   3     excuses, explained why it is that SIGMA was trying but it got

   4     it wrong.

   5                  SIGMA's counsel doesn't -- didn't come up here and

   6     tell you that steel coupling was a true statement -- because

   7     it was not.     Think about what has been suggested here.

   8     SIGMA's counsel has suggested that using the phrase steel

   9     coupling was required.

 10                   Well, you've heard the evidence, and you know that

 11      Ms. Thompson addressed this point directly.             The phrase steel

 12      coupling on these forms is not mandated.            It was a choice

 13      that SIGMA made.      That's what happened here.         If SIGMA had

 14      wanted to be honest and transparent, it could have called the

 15      product a welded outlet, because that's what it is.               SIGMA

 16      could have said it's a welding outlet, because they use that

 17      phrase in their advertising, too.

 18                   What it can't do, what it can't do is choose to use

 19      a phrase that just isn't true.          Now, it's okay.      Maybe

 20      there's a reason how they got to that.            But again, read Judge

 21      Klausner's instructions closely.          Follow them.      You'll see

 22      this is not about intent.         It's not about good faith.

 23                   The question here is really straightforward.             Are

 24      these false statements?        Yes.    Did SIGMA know that they were

 25      false statements?       Of course they knew it wasn't a steel



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    544 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          660Trial Page 123 of 166
                                                                                   122


   1     coupling.     Was it material?      Yes.    Was the United States

   2     deprived of $8 million in antidumping duties?              Yes.   That's

   3     the case.     That's the four elements.

   4                 Now, SIGMA's counsel raised a point.            He said that

   5     we had suggested that couplings were excluded from the China

   6     order -- expressly excluded, I think, may have been the

   7     phrase.

   8                 What we've done in this case -- you've heard this

   9     testimony -- Mr. Woehrel explained this as the first witness.

 10      He explained that the difference between the butt-weld pipe

 11      fitting using the Commerce Department product descriptions in

 12      history here is a beveled edge that is permanently welded.

 13      That's what he explained, is that couplings are not beveled

 14      and are not permanently welded.

 15                  If you take a look at Exhibit 1033, which is the

 16      SIGMA scope ruling request.         You may remember during the

 17      course of the trial, we talked about the Commerce Department

 18      publications, the sunset reviews where they talk about the

 19      scope of the antidumping duty applicable to all five of these

 20      countries and what they have said.

 21                  This isn't me.      This is the Commerce Department.

 22      The Commerce Department has said the merchandise here is

 23      carbon steel butt-weld pipe fittings under 14 inches other

 24      than couplings.      Other than couplings.

 25                  Now, you heard SIGMA's counsel suggest today -- you



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    545 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          661Trial Page 124 of 166
                                                                                   123


   1     heard Ms. Velazquez testify to this -- that there was an

   2     antidumping duty order on steel couplings.             But you heard her

   3     also when I asked her a few questions about it, the

   4     antidumping duty order on steel couplings didn't come about

   5     until the very end of 2017.

   6                 It has nothing to do with why SIGMA made these

   7     decisions in 2010 and 2011 and 2012.           Talk about a crystal

   8     ball.    That would be a crystal ball.         Speaking of crystal

   9     balls, we've now heard in the opening statement and in the

 10      closing statement that SIGMA couldn't possibly have known

 11      that these products were subject to antidumping duties.                It

 12      would take a crystal ball.

 13                  It would not.      It would take a simple review of the

 14      sunset review, because we know what happened here is that

 15      Commerce ruled not just in 2021 that welded outlets were

 16      butt-weld pipe fittings.        We know that Commerce ruled in

 17      1992, 1992, that welded outlets were butt-weld pipe fittings.

 18                  So Island -- we're not asking for SIGMA to predict

 19      the future.     We're asking for SIGMA to do its job.            Importers

 20      of record -- you've heard about this Customs system now.

 21      It's sort of strange.        I'm going to admit it.        In some ways

 22      it's like a fox guarding the henhouse.            But importers of

 23      record are the people who are charged with a legal obligation

 24      to determine if antidumping duties apply to these products.

 25                  You know what happens if they don't try that hard,



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    546 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          662Trial Page 125 of 166
                                                                                   124


   1     if it's easier to look away?         It's like, I don't know that I

   2     need to try that hard.        I don't -- we've done enough.         You

   3     know who suffers?       Domestic manufacturers.        That's who

   4     suffer.

   5                 THE COURT:     You've got five.

   6                 MR. KRAMER:      Thank you.

   7                 Because antidumping duties -- you've heard this --

   8     the point of an antidumping duty is to level the competitive

   9     playing field.      They're not imposed as a whim.          This isn't

 10      protectionism.      This is when the U.S. government undertakes a

 11      formal investigation and it determines that another country

 12      is engaging in unfair trade practices.

 13                  You heard Ms. Velazquez say not all antidumping

 14      duties are 182.9 percent.         Some of them are only, like, two

 15      percent.    What does that tell you?         It tells you in this

 16      industry China cheats.        The U.S. government found that and

 17      imposed this antidumping duty.

 18                  A domestic manufacturer like Island who has never

 19      imported a product ever -- that clip, sure, they bought a

 20      product at some point.        Doesn't even say what time it was.

 21      2010?    2011?   Was it before they even knew about this

 22      investigation?

 23                  You can't just take these things out of context and

 24      suggest that there's something improper happening at Island.

 25      When you take a look at those instructions, you will not see



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    547 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          663Trial Page 126 of 166
                                                                                   125


   1     a single instruction that suggests anything about Island's

   2     conduct is relevant to this case.           This case is about SIGMA.

   3                 Here's what happens when it's easier to look away

   4     and not bother to do the research.           Companies like Island go

   5     out of business.      That's what happens.        The people that they

   6     employ, they get laid off.         That's what happens.

   7                 So when you go back and you deliberate and you

   8     think about this case and you wonder what is it that I want

   9     an importer of record to do -- what does it mean to be

 10      reckless?     What does it mean to act in deliberate ignorance?

 11                  Think about that, too, because when you balance

 12      this all out, when you think about what the point of these

 13      antidumping duties are, when you think about the honor system

 14      that we have, think about that.          It means that importers of

 15      record need to do their jobs.

 16                  Now, in this case what the record reflects and what

 17      the evidence shows is that SIGMA didn't come close.               Go back

 18      through the evidence.        I told you this in the opening.          I

 19      said, keep your eye on the ball.          Keep your eye on the ball.

 20      Look at the evidence that comes in.           Notice the evidence you

 21      would expect to see from an importer of record that you never

 22      see.

 23                  I promised you that, and guess what you never saw?

 24      You didn't see an e-mail with a customs broker.              You didn't

 25      see an opinion from a customs broker.            You didn't see an



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    548 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          664Trial Page 127 of 166
                                                                                   126


   1     e-mail with an attorney.        Think about the witnesses that they

   2     presented.     They told us that the people who know the most

   3     about this case are the people in the import group -- Pat

   4     Thacker, Andy Podner, Inge Atkinson.

   5                  Mitchell Rona testified as the corporate

   6     representative.      He had a duty to know what the company had

   7     done.    Did he talk to any of those people before he came and

   8     gave that deposition?        He did not.     Why?    He didn't want to

   9     know.    He didn't want to know.

 10                   Where are the documents?        Island doesn't have the

 11      documents.     SIGMA has the documents.        Where is the evidence

 12      that they undertook any meaningful effort to be a good

 13      importer of record?       Where is it?      You're not going to find

 14      it.   It's not in this case.

 15                   So let me finish where I told you I would finish.

 16      Island Industries requests that you return a verdict that

 17      finds that SIGMA violated the False Claims Act.

 18                   We request that you return a verdict that indicates

 19      that SIGMA made more than material false statements on more

 20      than 200 occasions and that you return a verdict that finds

 21      that the United States government, our government, that flag,

 22      was deprived of more than $8 million in antidumping duties.

 23      You've got the exact math right there on Exhibit 65.

 24                   And then my final statement.           This is an important

 25      case.    It's important for Island.         It's important for



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    549 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          665Trial Page 128 of 166
                                                                                   127


   1     importers of record.       It's important for the government.           And

   2     you all know your service is essential to its resolution.

   3                 So as I sit down, I want to just take this last

   4     minute to thank you for your time, your attention, and your

   5     service.

   6                 THE COURT:     Thank you, counsel.

   7                 Counsel, is the defense pursuing the affirmative

   8     defense?    I didn't hear anything in the argument about

   9     affirmative defense.       So as far as your instructions, are you

 10      pursuing the affirmative defense?

 11                  MR. CURRAN:      Yes.

 12                  THE COURT:     Okay.

 13                  Ladies and gentlemen, I'm going to instruct you now

 14      on the law that applies to the case.           Now that you've heard

 15      all the evidence and the argument of the attorneys, it is my

 16      duty to instruct you on the law that applies to this case.                 A

 17      copy of these instructions will be sent to the jury room for

 18      you to consult during your deliberations.

 19                  It is your duty to find the facts from all the

 20      evidence in this case.        To those facts you will apply the law

 21      that I give to you.       You must follow the law as I give it to

 22      you whether you agree with it or not.

 23                  You must not be influenced by any personal likes or

 24      dislikes, opinions, prejudice, or sympathy.             That means that

 25      you must decide this case solely on the evidence before you.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    550 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          666Trial Page 129 of 166
                                                                                   128


   1     You will recall that you took an oath to do so.

   2                 Please do not read into these instructions or

   3     anything that I may have said or done that I have an opinion

   4     regarding the evidence or what the verdict should be.               That

   5     is a matter that is entirely up to you.

   6                 The evidence you are to consider in deciding this

   7     case consists of the sworn testimony of witnesses, the

   8     exhibits that have been admitted into evidence, and any fact

   9     to which the lawyers have agreed or any fact that I have

 10      instructed you to accept as proved.

 11                  In reaching your verdict, you may consider only the

 12      testimony and exhibits received into evidence.              As I've said

 13      before, certain things are not evidence and you may not

 14      consider them in deciding what the facts are.

 15                  I'll list them for you:

 16                  Argument and statements of attorneys are not

 17      evidence.     The lawyers are not witnesses.          What they have

 18      said in their opening statements or closing arguments or at

 19      other times is intended to help you interpret the evidence,

 20      but it is not evidence.        If the facts as you remember them

 21      differ from the way the attorneys have stated them, your

 22      memory of them controls.

 23                  Questions and objections by the attorneys are not

 24      evidence.     Attorneys have a duty to their client to object

 25      when they believe that a question is improper under the rules



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    551 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          667Trial Page 130 of 166
                                                                                   129


   1     of evidence.     You should not be influenced by the objection

   2     or by the Court's ruling on it.

   3                 Testimony that is excluded or stricken or that I

   4     have told you to disregard is not evidence and must not be

   5     considered.     In addition, if some evidence was received only

   6     for a limited purpose or when I've so instructed you to

   7     consider it only for a limited purpose, you must do so and

   8     not consider it for any other purpose.

   9                 Anything that you have seen or heard when court is

 10      not in session is not evidence.          You are to decide this case

 11      solely on the evidence received in this trial.

 12                  Evidence may be either direct or circumstantial.

 13      Direct evidence is direct proof of a fact such as testimony

 14      by a witness about what that witness personally saw or heard

 15      or did.

 16                  Circumstantial evidence is proof of one or more

 17      facts from which you could find another fact.              You should

 18      consider both kinds of evidence.          The law makes no

 19      distinction between the weight to be given to either direct

 20      or circumstantial evidence.         It is for you to decide how much

 21      weight is to be given to any evidence.

 22                  There are rules of evidence that control what can

 23      be received into evidence.         When a lawyer asks a question or

 24      offers an exhibit into evidence and the lawyer on the other

 25      side thinks that it is not permitted by the rules of



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    552 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          668Trial Page 131 of 166
                                                                                   130


   1     evidence, the lawyer may object.

   2                  If I overrule the objection, the question may be

   3     answered and the exhibit received.           If I sustain the

   4     objection, the question cannot be answered or the exhibit

   5     cannot be received.       Whenever I sustain an objection to a

   6     question, you must ignore the question and must not guess as

   7     to what the answer might have been.

   8                  In deciding the facts of this case, you may have to

   9     decide which testimony to believe and which testimony not to

 10      believe.    You may believe everything a witness says or part

 11      of it or none of it.

 12                   In considering the testimony of a witness, you may

 13      take into account:       number one, the opportunity and the

 14      ability of the witness to see or hear or know the things

 15      testified to; number two, the witness's memory; number three,

 16      the witness's manner while testifying; number four, the

 17      witness's interest in the outcome of the case, if any; number

 18      five, the witness's bias or prejudice, if any; number six,

 19      whether other evidence contradicts the witness's testimony;

 20      seven, the reasonableness of the witness's testimony in light

 21      of all the other evidence; eight, any other factor that bears

 22      on believability.

 23                   The weight of the evidence as to any fact does not

 24      necessarily depend on the number of witnesses who have

 25      testified.     What is important is how believable the witnesses



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    553 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          669Trial Page 132 of 166
                                                                                   131


   1     were and how much weight you think their testimony deserves.

   2                 You have heard testimony from experts who testified

   3     to opinions and the reasons given for those opinions.               This

   4     opinion testimony is allowed because of the education and

   5     experience of these witnesses.

   6                 Such opinion testimony should be judged like any

   7     other testimony.      You may accept it or reject it and give it

   8     as much weight as you think it deserves considering the

   9     witness's education and experience, the reasons given for the

 10      opinion, and all the other evidence in the case.

 11                  Under the law a corporation is considered to be a

 12      person.    It can act only through its employees, agents,

 13      directors, or officers.        Therefore, a corporation is

 14      responsible for the acts of its employees, agents, directors,

 15      or officers performed within the scope of their authority.

 16                  To help you evaluate the evidence, I'll give you a

 17      brief summary of the position of the parties.              Plaintiff

 18      Island asserts that the defendant SIGMA Corporation, number

 19      one, imported Chinese welding outlets into the United States

 20      that were subject to antidumping order on butt-welding pipe

 21      fittings from the People's Republic of China.

 22                  Number two, that they knew, deliberately ignored,

 23      or recklessly disregarded that these Chinese welded outlets

 24      were subject to the antidumping duty order.             Three, that they

 25      falsely described the product and falsely stated that they



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    554 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          670Trial Page 133 of 166
                                                                                   132


   1     were not subject to any antidumping duty order.              The

   2     plaintiff has a burden of proving this claim by a

   3     preponderance of the evidence.

   4                 The defendant denies that it knowingly made any

   5     false statements or that it knowingly failed to pay the

   6     duties that were owed.

   7                 When a party has the burden of proving a claim by a

   8     preponderance of the evidence, it means you must be persuaded

   9     by the evidence that that claim is more probably true than

 10      not true.     You should base your decision on all the evidence

 11      regardless of which party presents it.

 12                  The False Claim Act prohibits a defendant from

 13      knowingly making false statements to avoid an obligation to

 14      pay money to the government.         For you to find the defendant

 15      liable under the False Claims Act, plaintiff must show by a

 16      preponderance of the evidence the following:

 17                  First, that the defendant made a false statement.

 18                  Second, that the statement was material.

 19                  Third, that the defendant acted with required

 20      knowledge; that is, that the defendant made the statement

 21      while having actual knowledge of the information or acting in

 22      deliberate ignorance or reckless disregard for the truth or

 23      falsity.

 24                  And fourth, the false statement caused the

 25      government to forfeit money that it was due.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    555 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          671Trial Page 134 of 166
                                                                                   133


   1                  A statement is false if it is an assertion that is

   2     untrue when it is made.        In this case the Department of

   3     Commerce has ruled that the Chinese weld outlets are subject

   4     to antidumping duties and are within the scope of the 1992

   5     antidumping duty order or the China order.

   6                  Accordingly, I instruct you that the defendant's

   7     statements that its welded outlets are not subject to the

   8     antidumping duty are false.

   9                  The second element is materiality.          A statement is

 10      material if it has a natural tendency to influence or be

 11      capable of influencing the payment or receipt of money.

 12                   The third element.      For purposes of the False

 13      Claims Act, the defendant must have acted with the required

 14      knowledge.     Defendant acted with the required knowledge if

 15      the plaintiff proves one of the following:             number one, that

 16      the defendant had actual knowledge of the information; number

 17      two, that the defendant acted in deliberate ignorance of the

 18      truth or falsity of the information; number three, that the

 19      defendant acted in reckless disregard of the truth or falsity

 20      of the information.

 21                   It is not necessary for the plaintiff to prove the

 22      defendant acted with actual intent.           If you find the

 23      plaintiff has proved each of the elements that it must

 24      establish to prove a False Claim Act violation by the

 25      defendant, you must then consider the defendant's affirmative



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    556 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          672Trial Page 135 of 166
                                                                                   134


   1     defense which the defendant has the burden to prove by a

   2     preponderance of the evidence.

   3                 That defense is that the defendant contends that

   4     the plaintiff's claim for violations that occurred before

   5     June 13th of 2011 are barred by law that requires a plaintiff

   6     to bring a lawsuit within a specified time.

   7                 To prevail on this defense, the defendant must

   8     prove by a preponderance of the evidence that the government

   9     reasonably should have known about the defendant's

 10      pre-June 13th, 2011, conduct before June 13th, 2014.

 11                  It is the duty of the Court to instruct you about

 12      the measure of damages.        By instructing you on damages, the

 13      Court does not mean to suggest for which party your verdict

 14      should be rendered.

 15                  If you find for the plaintiff, you must determine

 16      the amount of damages.        The plaintiff has the burden of

 17      proving damages by a preponderance of the evidence.               The

 18      measure of damages is the difference between what the

 19      government receives and what the government would have

 20      received if the defendant's statements were truthful.

 21                  It is for you to determine damages if any have been

 22      proved.    Your award must be based upon evidence and not upon

 23      speculation, guesswork, or conjecture.

 24                  Before you begin your deliberations, you'll elect

 25      one of your members of the jury as a presiding juror.               The



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    557 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          673Trial Page 136 of 166
                                                                                   135


   1     presiding juror will preside over your deliberations and

   2     serve as a spokesperson for the jury in this court.

   3                 You shall diligently strive to reach an agreement

   4     with all of your other fellow jurors if you can do so.                Your

   5     verdict must be unanimous.         Each of you must decide this case

   6     for yourselves, but you should do so only after you have

   7     considered all the evidence, discussed it fully with all the

   8     other jurors, and listened to their views.

   9                 It is the important that you attempt to reach a

 10      unanimous verdict but, of course, only if each of you can do

 11      so after having made your own conscientious decisions.                Do

 12      not be unwilling to change your opinion if the discussion

 13      persuades you that you should, but do not come to a decision

 14      simply because the other jurors think that it is right, nor

 15      change an honest belief about the weight or the effect of the

 16      evidence simply to reach a verdict.

 17                  As I've talked to you before about your conduct,

 18      because you must base your verdict only on the evidence

 19      received in this case and on these instructions, I'll remind

 20      you that you must not be exposed to any other information

 21      about this case or the issues it involves.

 22                  Except for discussing the case with your fellow

 23      jurors during your deliberations, you should not communicate

 24      with anyone in any way and do not let anyone communicate with

 25      you in any way about the merits of this case or anything to



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    558 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          674Trial Page 137 of 166
                                                                                   136


   1     do with it.     This applies to communicating with your family

   2     members, your employer, the media, and people involved in

   3     this trial.

   4                 If you are asked or approached in any way about

   5     your jury service or anything to do with this case, you must

   6     respond that you've been ordered not to discuss this matter

   7     and to report that contact to the Court.

   8                 Do not do any research such as consulting

   9     dictionaries, searching the internet, or using any other

 10      reference material, and do not make any investigation or in

 11      any other way try to learn about this case on your own.

 12                  Do not visit or view any place discussed in this

 13      case, and do not use internet programs or any other devices

 14      to search or to view any place discussed in this trial.

 15                  Also, do not do any research about this case, the

 16      law, or the people involved such as the parties, the

 17      witnesses, or the lawyers until you've been excused as

 18      jurors.

 19                  If you happen to hear anything touching on this

 20      case, please turn away from that information and report to

 21      the Court such contact.        A juror who violates these

 22      restrictions jeopardizes the fairness of these proceedings

 23      and a mistrial could result which would require the entire

 24      trial process to start over.         If any juror has been exposed

 25      to any outside information, please notify the Court



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    559 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          675Trial Page 138 of 166
                                                                                   137


   1     immediately.

   2                 If it becomes necessary during your deliberations

   3     to communicate with me, you may send a note out through the

   4     bailiff, signed by any one or more of you.             No member of the

   5     jury should ever attempt to communicate with me except in a

   6     signed writing, and I will not communicate with any member of

   7     the jury on anything concerning this case except in writing

   8     or here in open court.

   9                 If you send out a question, I will consult the

 10      attorneys before answering it, which may take some time.                Let

 11      me talk to you a little bit about that.            Sometimes we have

 12      other cases going on.        Sometimes if you're back there in

 13      deliberation and you have a question you sent out to us,

 14      don't get discouraged because sometimes we have to get the

 15      attorneys in or we have to finish the other case.               So

 16      sometimes it make take an hour or an hour and a half to get

 17      back to you on any question you might send out.              So during

 18      that period of time, you may continue your deliberations

 19      while waiting for an answer to any question.

 20                  Also, I can tell you that if you want to revisit

 21      any videos or if you want to see the material that has been

 22      introduced as physical evidence, we're going to have to bring

 23      you back here in court to show you those physical objects or

 24      to play the video for you.

 25                  Remember that you are not to tell anyone, including



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    560 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          676Trial Page 139 of 166
                                                                                   138


   1     this Court, how the jury stands whether in terms of the vote

   2     count or otherwise until after you've reached a unanimous

   3     verdict or have been discharged by this Court.

   4                 A verdict form will be prepared for you after

   5     you've reached a unanimous verdict or an agreement on a

   6     verdict.    Your foreperson should complete the verdict form

   7     according to your deliberations, sign it, date it, and advise

   8     the bailiff that you're ready to return to this courtroom.

   9                 Do you have any questions before we release you

 10      back to the jury room?        If not, will you swear the bailiff,

 11      please.

 12                  THE CLERK:     Approach the podium, please.

 13                  (Bailiff sworn)

 14                  THE CLERK:     Please state your name.

 15                  THE BAILIFF:      David Crivelli, C-r-i-v-e-l-l-i.

 16                  THE CLERK:     All rise.

 17                  (Jury out for deliberation)

 18                  THE COURT:     The jury has left the courtroom.

 19                  Counsel, I'm going to ask both sides if you could

 20      stay around the courthouse until at least until 4:00.               At

 21      4:00 we're going to excuse everybody.

 22                  Tomorrow, if they're deliberating tomorrow and you

 23      want to be within 15 or 20 minutes, that's fine.              But tonight

 24      if you can stay around here -- you can go down to the

 25      cafeteria or whatever, as long as we can get a hold of you



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    561 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          677Trial Page 140 of 166
                                                                                   139


   1     and get you back in 10 or 15 minutes.            Okay?

   2                 Also I want to compliment both sides on your

   3     professionalism in the way you both presented the case.                Your

   4     clients, your corporations, should be very proud of you.

   5                 We'll be in recess.

   6               (Recess taken from 2:18 p.m. until 3:48 p.m.)

   7                 THE CLERK:     All rise.

   8                 (Open court - jury present)

   9                 THE COURT:     The foreperson is juror number three?

 10                  THE JURY FOREPERSON:        Yes, sir.

 11                  THE COURT:     I understand that you have a note here

 12      that you've reached a unanimous verdict; is that correct?

 13                  THE JURY FOREPERSON:        Yes, Your Honor.

 14                  THE COURT:     Have you signed that verdict and

 15      dated it?

 16                  THE JURY FOREPERSON:        Yes.

 17                  THE COURT:     Okay.    If you could pass that up to the

 18      bailiff, please.

 19                  (Document handed to the bailiff)

 20                  THE COURT:     Okay.    If you could read the verdict,

 21      please.

 22                  THE CLERK:     United States District Court, Central

 23      District of California.

 24                  United States of America, ex rel., Island

 25      Industries, Inc., plaintiff, versus Vandewater International,



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    562 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          678Trial Page 141 of 166
                                                                                   140


   1     Inc., et al., defendants.

   2                 Case Number CV 17-04393-RGK.

   3                 Jury verdict form.

   4                 We the jury in the above-titled case answer the

   5     questions posed to us as follows:

   6                 Question Number 1:       Do you find by a preponderance

   7     of the evidence that defendant violated the False Claims Act

   8     by knowingly making false statements to avoid an obligation

   9     to pay money to the government?

 10                  Answer, yes.

 11                  If your answer to question one is yes, proceed to

 12      the next question.       If your answer to question 1 is no, stop

 13      here.    Answer no further questions and have the presiding

 14      juror sign and date this form.

 15                  Question Number 2:       Do you find that the government

 16      reasonably should have known by June 13, 2014, of any

 17      violation that plaintiff alleges defendant committed before

 18      July 13, 2011?

 19                  Answer, no.

 20                  If your answer to question 2 is yes, proceed to the

 21      next question.      If your answer to question 2 is no, skip

 22      question 3 and proceed to question 4.

 23                  Question Number 4:       What is the amount of damages

 24      that plaintiff has proven that defendant owes?

 25                  Answer, $8,085,546.03.



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    563 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          679Trial Page 142 of 166
                                                                                   141


   1                 Signed by the presiding juror October 7th, 2021.

   2                 THE COURT:     Okay.

   3                 Ladies and gentlemen of the jury, is that your

   4     verdict, say you one say you all?

   5                 THE JURY FOREPERSON:        Yes.

   6                 THE COURT:     Anytime we take a jury verdict, whether

   7     it's criminal or civil, we always do what we call polling the

   8     jury.    That means we go through each juror individually to

   9     find out if the verdict as just read by the clerk represents

 10      your own individual verdict.         That's the way we can tell if

 11      it's unanimous or not.

 12                  So, Juror No. 1, does the verdict as read reflect

 13      your own individual verdict?

 14                  JUROR NO. 1:      Correct.

 15                  THE COURT:     Juror No. 2?

 16                  JUROR NO. 2:      Yes, Your Honor.

 17                  THE COURT:     Juror No. 3?

 18                  JUROR NO. 3:      Yes.

 19                  THE COURT:     Juror No. 4?

 20                  JUROR NO. 4:      Yes, Your Honor.

 21                  THE COURT:     Juror No. 5?

 22                  JUROR NO. 5:      Yes, Your Honor.

 23                  THE COURT:     Juror No. 6?

 24                  JUROR NO. 6:      Yes.

 25                  THE COURT:     Juror No. 7?



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    564 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          680Trial Page 143 of 166
                                                                                   142


   1                 JUROR NO. 7:      Yes.

   2                 THE COURT:     Juror No. 8?

   3                 JUROR NO. 8:      Yes.

   4                 THE COURT:     Okay.     The Court will then order that

   5     at this time the verdict will be recorded.

   6                 Ladies and gentlemen, I'm now relieving you of your

   7     obligation not to discuss the case, et cetera.              You have no

   8     more obligations.       We want to thank you very much for your

   9     participation.      Hopefully it's been an educational or an

 10      interesting experience for you here.

 11                  I'm going to be excusing you at this time.             I do

 12      want to give you one caveat, though.           After the verdict

 13      sometimes the attorneys like to talk with the jurors and the

 14      jurors like to talk with the attorneys.

 15                  If you do talk with the attorneys, one of the

 16      things you do not divulge to the attorneys or anybody else is

 17      what the other jurors said in the jury room.             That should be

 18      sacred between the jurors.         People should feel free to say

 19      whatever they want without thinking that somebody else is

 20      going to go out and publish it all over the place.

 21                  So you can say what you think about the case, what

 22      you thought was strong or weak about the case, but don't

 23      divulge what the other jurors said in the jury room.               Okay?

 24                  Also, many times, in fact the majority of times,

 25      jurors just want to go home.         They don't particularly want to



                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    565 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          681Trial Page 144 of 166
                                                                                   143


   1     talk with the attorneys afterwards.           They just want to go

   2     home.    If you do, the bailiff will make sure that you can get

   3     out of the building without talking to anybody at all.

   4                  If you want to talk to the attorneys, that's fine.

   5     They can lead you into that area to talk with the attorneys

   6     if you wish.     That's up to you.

   7                  Anything else I can do for you?          If not, thank you

   8     very much for your participation.           We appreciate it and we're

   9     going to excuse you at this time.

 10                   THE CLERK:    All rise.

 11                   (Jury excused)

 12                   THE COURT:    You can have a seat.

 13                   First of all, counsel, I want to thank you both.              I

 14      already have.      Thank you both for all of the attorneys'

 15      participation.      Anyone that wishes to submit their motions to

 16      the Court?     You said you've already submitted yours.            Any

 17      motion that you wish to submit to the Court has to be done by

 18      Tuesday at 10:00 o'clock.         And any response has to be in by

 19      Thursday at 4:00.       Okay.

 20                   Anything else I can do for you?          If not, thank you

 21      very much for your participation.

 22                      (Proceedings concluded at 3:53 p.m.)

 23                                        -oOo-

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                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    566 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          682Trial Page 145 of 166
                                                                                   144


   1                                     CERTIFICATE

   2     I HEREBY CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT

   3     TRANSCRIPT OF THE STENOGRAPHICALLY RECORDED PROCEEDINGS IN

   4     THE ABOVE MATTER.

   5     FEES CHARGED FOR THIS TRANSCRIPT, LESS ANY CIRCUIT FEE

   6     REDUCTION AND/OR DEPOSIT, ARE IN CONFORMANCE WITH THE

   7     REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

   8

   9     /s/ Miriam V. Baird                     10/07/2021

 10      MIRIAM V. BAIRD                               DATE
         OFFICIAL REPORTER
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                             UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    567 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          683Trial Page 146 of 166
                                                                                145

                   $               17 [2] - 3:5, 72:12              25 [3] - 17:19, 43:14, 73:13     70 [1] - 118:16
                                   17-04393-RGK [1] - 140:2         2500 [1] - 2:5                   73 [3] - 54:4, 55:3, 55:4
  $375 [1] - 4:20                  18 [1] - 72:12                   26 [1] - 78:24                   7307 [4] - 54:11, 54:22, 55:6,
  $8,085,546.03 [1] - 140:25       18-year [1] - 72:5               28 [13] - 47:11, 48:16, 48:20,    56:4
                                   182 [1] - 43:9                    49:18, 49:25, 51:20, 51:24,     7307.91 [2] - 56:12, 56:20
                   /               182.9 [3] - 22:3, 104:4,          52:8, 52:12, 99:18, 111:2,      7307.92 [1] - 56:21
                                    124:14                           113:10, 113:14                  7307.93 [2] - 57:2, 112:12
  /s [1] - 144:9                   19 [2] - 69:14, 74:24            2:18 [1] - 139:6                 7307.99 [1] - 57:5
                                   1992 [5] - 115:23, 117:9,                                         7307.99.50 [2] - 57:11, 57:16
                   0                123:17, 133:4                                   3                7307.99.5045 [10] - 47:25,
                                   1999 [2] - 23:25, 41:3                                             48:8, 58:10, 60:23, 61:12,
  001 [2] - 47:9, 47:10            1:00 [3] - 92:1, 92:12, 94:9     3 [5] - 1:17, 55:19, 140:22,      62:11, 111:4, 112:1,
                                   1:07 [1] - 95:1                   141:17, 141:18                   112:13, 112:25
                   1                                                30 [3] - 17:19, 94:2, 94:11      7501 [28] - 26:17, 39:12,
                                                                    300 [1] - 108:9
  1 [11] - 50:9, 50:18, 51:10,
                                                  2                                                   46:19, 47:2, 47:6, 48:7,
                                                                    301 [2] - 42:11, 43:13            49:10, 49:21, 50:11, 50:20,
   53:24, 54:17, 60:12, 140:6,     2 [7] - 54:19, 81:6, 140:15,     31 [1] - 59:21                    51:3, 51:13, 61:15, 63:23,
   140:12, 141:12, 141:14           140:20, 140:21, 141:15,         3461 [1] - 99:16                  64:6, 64:24, 74:5, 74:13,
  1.3 [1] - 84:1                    141:16                          350 [2] - 1:24, 2:4               74:19, 74:21, 89:5, 99:16,
  1.829 [1] - 104:3                20 [7] - 25:2, 59:22, 68:21,     39803 [1] - 49:3                  99:19, 110:8, 112:6, 113:6,
  10 [3] - 51:17, 96:1, 139:1       94:16, 96:1, 118:16,            3:48 [1] - 139:6                  114:3, 117:16
  10/07/2021 [1] - 144:9            138:23                          3:53 [1] - 143:22                7501s [3] - 30:20, 75:2, 88:25
  1006 [2] - 31:6, 76:23           20-year [1] - 66:8                                                7th [1] - 141:1
  1007 [4] - 58:22, 60:12,
   112:19, 116:3
                                   200 [2] - 108:18, 126:20                         4
  1009 [5] - 46:22, 52:15,
                                   20005-3807 [1] - 2:13                                                            8
                                   2001 [6] - 25:2, 26:5, 26:13,    4 [9] - 3:3, 3:4, 51:6, 56:3,
   64:24, 110:9, 114:3              27:13, 71:7, 74:12               65:6, 140:22, 140:23,           8 [9] - 73:16, 97:1, 104:6,
  1033 [1] - 122:15                2003 [2] - 61:8, 112:22           141:19, 141:20                   108:16, 120:25, 122:2,
  1040 [1] - 49:22                 2010 [17] - 21:7, 38:12,         4.3 [1] - 61:3                    126:22, 142:2, 142:3
  1047 [7] - 3:13, 50:9, 50:10,     40:22, 41:3, 41:6, 47:18,       40 [1] - 17:15                   86 [1] - 3:7
   50:12, 50:14, 51:16, 113:3       75:25, 81:18, 82:4, 110:13,     400 [1] - 38:22                  8:21 [1] - 4:1
  1068 [6] - 53:24, 55:19, 56:3,    115:9, 115:17, 115:25,          45 [2] - 57:20, 58:6             8th [1] - 61:8
   56:24, 111:22, 111:23            116:1, 116:4, 123:7,            4:00 [3] - 138:20, 138:21,
  1077 [5] - 3:12, 13:17, 13:19,    124:21                           143:19                                         9
   14:4, 14:6                      2011 [5] - 123:7, 124:21,
  1079 [8] - 3:11, 11:16, 11:25,    134:5, 134:10, 140:18                           5                9 [1] - 74:24
   12:5, 12:6, 12:14, 12:16,       2012 [4] - 4:1, 46:14, 88:22,                                     90012 [1] - 1:24
   13:7                             123:7                           5 [9] - 54:8, 56:24, 65:6,       90071 [1] - 2:5
  1080 [6] - 3:11, 13:3, 13:6,     2013 [8] - 28:17, 29:10,          77:13, 78:19, 111:22,           91 [1] - 3:7
   13:7, 13:13, 13:15               38:10, 40:14, 66:4, 82:11,       114:7, 141:21, 141:22           99.10.00 [1] - 57:7
  1083 [6] - 3:12, 14:18, 14:20,    87:11, 88:20                    5,000 [1] - 96:23
   14:21, 14:22, 14:25             2014 [3] - 41:7, 134:10,         50 [2] - 3:13, 83:9                             A
  1084 [6] - 3:13, 15:16, 15:18,    140:16                          500 [1] - 38:22
   15:19, 15:23, 15:25             2015 [1] - 27:25                 5015 [1] - 57:19                 A.M [1] - 4:1
  1089 [1] - 10:23                 2016 [2] - 21:11, 76:20          52 [1] - 106:19                  a.m [3] - 59:24, 95:1
  1090 [1] - 11:9                  2017 [3] - 82:1, 106:2, 123:5    58 [1] - 69:15                   abbreviations [1] - 47:24
  10:00 [2] - 59:9, 143:18         2018 [6] - 28:1, 62:19,                                           abilities [1] - 120:19
  10:01 [1] - 59:24                 110:13, 113:18, 115:10,                         6                ability [1] - 130:14
  10:20 [1] - 59:24                 116:4                                                            able [4] - 46:11, 50:2, 81:16,
  11 [3] - 72:21, 73:13, 118:16    2019 [8] - 25:19, 27:14, 69:4,   6 [3] - 35:5, 141:23, 141:24      97:24
  11893 [1] - 1:23                  69:5, 69:7, 71:4, 71:8,         60 [1] - 58:7                    ABOVE [1] - 144:4
  11:04 [1] - 95:1                  74:13                           601 [1] - 2:12                   above-titled [1] - 140:4
  12 [1] - 3:11                    2021 [5] - 1:19, 62:24,          65 [2] - 103:25, 126:23          absolutely [3] - 43:1, 49:16,
  13 [5] - 3:11, 51:16, 113:3,      115:17, 123:15, 141:1           68 [1] - 3:6                      103:1
   140:16, 140:18                  21 [1] - 25:2                    69 [1] - 118:16                  accept [4] - 75:13, 97:8,
  13th [3] - 134:5, 134:10         22 [2] - 51:10, 51:17                                              128:10, 131:7
  14 [3] - 3:12, 3:12, 122:23      22-page [1] - 51:13                              7                acceptable [4] - 33:8, 52:9,
  15 [5] - 3:13, 59:10, 59:22,     23 [4] - 3:5, 3:6, 24:24                                           77:7, 113:11
   138:23, 139:1                   23-year [1] - 24:25              7 [6] - 1:19, 4:1, 36:4, 37:9,   accepted [2] - 34:22, 35:3
  16 [2] - 72:21, 73:13            232 [1] - 42:12                   141:25, 142:1                   accepting [1] - 83:13




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    568 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          684Trial Page 147 of 166
                                                                                146

  access [4] - 81:7, 81:9,          128:8                           annually [1] - 83:3               33:8, 34:1, 42:12, 43:25,
   81:13, 108:10                   admonishment [2] - 59:10,        answer [21] - 30:24, 31:15,       55:15, 60:21, 64:18, 77:25,
  accordance [4] - 34:22,           92:7                             53:12, 65:21, 65:23, 66:10,      104:3, 112:24, 122:19
   63:24, 111:8, 111:18            adopted [1] - 112:9               75:12, 81:1, 100:21,            application [1] - 17:5
  according [1] - 138:7            advanced [1] - 83:21              106:21, 130:7, 137:19,          applications [1] - 61:22
  accordingly [1] - 133:6          advertising [2] - 102:24,         140:4, 140:10, 140:11,          applied [3] - 96:16, 98:25,
  account [1] - 130:13              121:17                           140:12, 140:13, 140:19,          105:2
  accountable [1] - 27:8           advise [3] - 41:17, 58:3,         140:20, 140:21, 140:25          applies [7] - 55:3, 92:3,
  accounting [2] - 24:14,           138:7                           Answer [2] - 73:8, 75:5           95:15, 104:22, 127:14,
   29:14                           afraid [1] - 117:12              answered [6] - 22:9, 64:9,        127:16, 136:1
  accounts [13] - 25:8, 26:3,      afterwards [2] - 87:14, 143:1     66:18, 88:1, 130:3, 130:4       apply [6] - 32:23, 45:3,
   26:13, 27:13, 65:19, 69:9,      agape [1] - 107:24               answering [3] - 29:21, 63:18,     98:22, 105:5, 123:24,
   71:7, 71:10, 71:16, 72:7,       agency [2] - 63:1, 115:16         137:10                           127:20
   73:4, 74:1, 86:23               agents [2] - 131:12, 131:14      anticipate [8] - 93:22, 93:25,   applying [2] - 33:9, 55:1
  accuracy [2] - 74:21, 75:1       ago [4] - 96:7, 96:8, 115:22,     97:18, 98:23, 100:3, 101:1,     appreciate [2] - 22:23, 143:8
  accurately [2] - 63:24, 98:17     116:25                           104:14, 104:25                  approach [1] - 138:12
  accused [1] - 109:25             agree [1] - 127:22               antidumping [114] - 16:19,       approached [1] - 136:4
  ACE [4] - 48:6, 81:9, 81:13      agreed [2] - 87:3, 128:9          18:4, 18:5, 18:9, 18:11,        appropriate [4] - 53:3,
  acknowledge [1] - 97:8           agreement [2] - 135:3, 138:5      19:4, 20:9, 22:4, 32:12,         101:13, 109:10, 111:16
  acknowledged [3] - 98:9,         agrees [1] - 58:20                32:19, 33:2, 33:19, 33:22,      approved [2] - 42:14, 48:4
   119:7, 120:12                   agriculture [1] - 39:23           34:6, 34:9, 34:12, 34:13,       archiving [1] - 106:11
  acknowledgment [1] - 118:6       ahead [6] - 19:23, 66:24,         34:17, 40:16, 40:21, 40:25,     ARE [1] - 144:6
  acquired [2] - 115:9, 115:25      75:14, 81:2, 90:8, 90:10         42:10, 42:13, 42:19, 43:7,      area [11] - 20:12, 33:7, 45:18,
  act [3] - 109:24, 125:10,        al [1] - 140:1                    43:8, 43:23, 43:24, 45:14,       77:10, 77:22, 78:3, 78:13,
   131:12                          AL [3] - 1:4, 1:10, 2:11          45:21, 45:25, 46:16, 62:22,      78:15, 85:11, 119:23,
  Act [8] - 103:15, 104:11,        alerted [1] - 107:18              63:2, 64:7, 64:12, 64:13,        143:5
   126:17, 132:12, 132:15,                                           64:14, 64:17, 64:21, 71:17,     areas [6] - 77:3, 77:4, 77:7,
                                   alerts [1] - 115:14
   133:13, 133:24, 140:7                                             71:19, 71:22, 72:1, 72:4,        78:11, 83:17, 83:21
                                   all-day [1] - 26:5
  acted [10] - 102:8, 102:9,                                         76:14, 76:18, 77:10, 77:14,     argue [3] - 65:22, 92:2, 95:9
                                   allegations [2] - 110:1, 119:2
   105:17, 109:22, 132:19,                                           77:19, 77:21, 78:1, 78:2,       argument [9] - 91:25, 93:20,
                                   alleged [3] - 110:16, 114:25
   133:13, 133:14, 133:17,                                           78:14, 81:22, 81:25, 83:24,      93:21, 94:8, 95:17, 114:21,
                                   alleges [1] - 140:17
   133:19, 133:22                                                    85:19, 89:7, 89:22, 90:4,        127:8, 127:15, 128:16
                                   allow [3] - 29:18, 39:16,
  acting [4] - 109:25, 116:15,                                       96:10, 96:16, 97:1, 98:20,      arguments [3] - 93:12, 94:2,
                                    43:11
   119:16, 132:21                                                    98:21, 98:25, 99:6, 101:7,       128:18
                                   allowed [2] - 75:10, 131:4
                                                                     101:14, 101:17, 101:22,         articles [3] - 52:5, 54:4,
  action [2] - 22:13, 113:22       allows [1] - 46:17
                                                                     101:25, 102:1, 103:23,           113:8
  activities [3] - 20:23, 35:14,   alloy [4] - 57:7, 57:18, 58:7,
                                                                     104:3, 104:4, 104:7,            ASME [2] - 7:23, 9:3
   77:6                             61:1                             104:22, 105:1, 105:5,
  acts [1] - 131:14                alloyed [1] - 58:7                                                aspects [1] - 79:7
                                                                     105:8, 105:25, 106:21,
  actual [10] - 32:1, 48:6,        almost [1] - 97:22                                                assembled [2] - 41:22, 41:23
                                                                     107:19, 107:24, 108:7,
   69:11, 77:5, 102:7, 105:12,     alternatively [1] - 106:9                                         assertion [1] - 133:1
                                                                     108:16, 115:1, 115:5,
   105:13, 132:21, 133:16,         AMERICA [1] - 1:4                                                 asserts [1] - 131:18
                                                                     116:17, 117:23, 118:23,
   133:22                          America [1] - 139:24                                              assess [2] - 33:25, 77:24
                                                                     119:18, 121:1, 122:2,
  add [7] - 39:12, 42:12, 43:10,   American [3] - 7:23, 18:20,                                       assessed [2] - 33:8, 78:5
                                                                     122:19, 123:2, 123:4,
   45:25, 97:25, 114:20,            18:25                                                            assessment [15] - 28:18,
                                                                     123:11, 123:24, 124:7,
   115:18                          amount [4] - 26:10, 67:14,                                         28:24, 29:1, 29:2, 29:10,
                                                                     124:8, 124:13, 124:17,
  add-on [2] - 43:10, 45:25         134:16, 140:23                                                    29:12, 31:6, 31:15, 32:13,
                                                                     125:13, 126:22, 131:20,
  add-ons [2] - 39:12, 42:12       analogy [1] - 97:22                                                37:12, 40:14, 76:24, 87:11,
                                                                     131:24, 132:1, 133:4,
  added [4] - 42:11, 42:20,        analysis [3] - 55:1, 62:10,                                        87:13, 113:18
                                                                     133:5, 133:8
   43:10                            120:6                                                            assigning [1] - 72:8
                                                                    ANY [1] - 144:5
  addition [4] - 27:15, 65:1,      analyze [3] - 33:25, 77:18,                                       assisted [2] - 28:16, 29:21
                                                                    anytime [6] - 36:15, 44:22,
   90:21, 129:5                     77:23                                                            assists [1] - 44:12
                                                                     46:15, 89:9, 141:6
  additional [6] - 17:7, 29:20,    ancient [1] - 112:23                                              assume [2] - 25:18, 30:20
                                                                    anyway [2] - 36:20, 57:15
   36:18, 37:19, 78:25, 111:7      AND [2] - 2:12, 144:2                                             Atkinson [9] - 25:21, 26:25,
                                                                    AP [3] - 74:1, 74:6, 75:25
  addressed [2] - 109:16,          AND/OR [1] - 144:6                                                 28:4, 70:11, 79:24, 84:15,
                                                                    apart [1] - 119:13
   121:11                          Andy [5] - 25:23, 31:2, 36:8,                                      84:18, 87:22, 126:4
                                                                    appear [1] - 119:25
  adequate [1] - 104:10             70:5, 126:4                                                      attach [6] - 12:18, 12:24,
                                                                    appendix [2] - 36:2, 36:7
  adhesive [1] - 7:16              ANGELES [4] - 1:18, 1:24,                                          13:25, 16:13, 16:14, 17:6
                                                                    apple [1] - 100:5
  admission [2] - 50:12, 118:8      2:5, 4:1                                                         attached [4] - 11:13, 12:7,
                                                                    applicable [17] - 7:17, 7:19,
  admit [1] - 123:21               announced [1] - 32:21                                              16:11
                                                                     7:21, 8:22, 10:2, 33:3,
  admitted [3] - 31:7, 50:10,                                                                        attempt [2] - 135:9, 137:5




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    569 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          685Trial Page 148 of 166
                                                                                147

  attended [1] - 30:1                36:4, 37:8, 46:21, 50:8,          48:23, 49:1, 99:17, 111:12,       46:6, 46:13, 46:14, 47:13,
  attention [9] - 31:23, 33:12,      50:21, 53:23, 58:21, 61:9,        111:14                            47:20, 48:4, 48:8, 49:5,
   36:16, 38:2, 52:1, 54:8,          64:23, 110:8, 111:2,             bills [8] - 25:9, 26:4, 26:20,     49:12, 53:6, 54:14, 64:6,
   60:17, 110:7, 127:4               111:21, 112:19, 113:2,            40:7, 40:8, 71:14, 87:1           67:17, 76:9, 76:13, 76:17,
  attorney [4] - 81:2, 106:15,       115:14, 116:2, 117:4,            binding [1] - 108:3                79:10, 79:14, 79:16, 79:20,
   107:13, 126:1                     118:15, 123:8, 123:12,           bit [11] - 30:12, 48:20, 69:22,    87:20, 88:19, 88:23, 89:14,
  attorneys [17] - 59:15, 94:4,      125:19                            73:10, 77:1, 82:8, 91:23,         89:19, 89:21, 91:13,
   95:18, 127:15, 128:16,           balls [1] - 123:9                  93:24, 102:6, 105:11,             106:17, 107:12, 110:14,
   128:21, 128:23, 128:24,          bank [1] - 39:1                    137:11                            111:17, 120:13, 125:24,
   137:10, 137:15, 142:13,          barred [1] - 134:5                black [1] - 101:19                 125:25
   142:14, 142:15, 142:16,          base [2] - 132:10, 135:18         blank [1] - 50:20                 broker's [1] - 84:12
   143:1, 143:4, 143:5              based [6] - 10:14, 16:22,         blind [1] - 46:3                  brokers [8] - 45:14, 74:2,
  attorneys' [1] - 143:14            29:3, 63:12, 67:4, 134:22        block [2] - 51:24, 111:2           74:7, 88:8, 91:6, 107:8,
  audit [31] - 26:4, 26:6, 26:8,    basic [2] - 90:19, 108:11         board [1] - 25:15                  120:12, 120:14
   26:14, 27:8, 27:13, 29:5,        basics [2] - 90:19, 108:15        body [1] - 32:5                   brought [2] - 77:11, 113:17
   29:12, 30:1, 30:2, 30:3,         basis [5] - 26:5, 28:7, 30:8,     bolt [11] - 5:10, 5:12, 5:13,     BROWN [1] - 2:4
   31:14, 31:16, 32:9, 32:13,        31:1, 104:2                       5:14, 5:15, 5:16, 5:19,          building [2] - 6:24, 143:3
   34:16, 34:21, 35:6, 35:8,        bears [1] - 130:21                 5:20, 5:23, 5:25                 bullet [6] - 33:6, 33:12,
   35:11, 35:12, 37:18, 38:10,      became [1] - 27:14                bolts [1] - 6:7                    33:14, 33:16, 33:24, 77:18
   38:11, 38:14, 38:20, 40:7,       become [3] - 26:23, 27:9,         bond [3] - 32:21, 32:22, 33:1     bullets [3] - 77:23, 78:10
   77:22, 87:3, 113:18               79:20                            bonding [1] - 7:16                burden [15] - 91:13, 95:11,
  audited [2] - 36:15, 38:13        becomes [3] - 32:25, 101:5,       book [1] - 82:14                   97:6, 97:8, 97:11, 97:19,
  auditing [3] - 34:22, 35:3,        137:2                            booklet [1] - 113:5                98:2, 98:3, 104:10, 109:5,
   38:21                            begin [4] - 22:9, 73:16,          books [1] - 103:10                 132:2, 132:7, 134:1,
  auditor [1] - 36:10                108:24, 134:24                   Border [10] - 74:19, 96:15,        134:16
  auditors [4] - 29:18, 36:10,      beginning [5] - 32:5, 50:18,       99:10, 101:5, 101:10,            business [6] - 41:10, 59:3,
   36:23, 36:24                      54:20, 54:21, 100:9               103:9, 103:22, 104:21,            103:3, 115:24, 116:20,
  audits [12] - 28:25, 29:2,        begins [2] - 37:9, 51:6            105:7, 108:18                     125:5
   29:6, 29:7, 29:9, 37:6,          BEHALF [1] - 2:10                 bother [1] - 125:4                businesspeople [1] - 115:14
   38:24, 39:6, 40:2, 40:14         behalf [2] - 45:19, 49:10         bottom [11] - 33:6, 34:10,        butt [72] - 4:24, 7:3, 7:4, 7:5,
  authority [1] - 131:15            behavior [1] - 119:11              34:20, 37:3, 37:8, 51:9,          7:20, 7:21, 8:3, 8:5, 8:6,
  auto [4] - 48:8, 48:9, 48:11,     behind [1] - 5:1                   51:17, 57:16, 67:17, 83:17        8:7, 8:15, 8:20, 8:21, 8:22,
   111:5                            belabor [1] - 77:2                bought [1] - 124:19                9:2, 9:4, 9:5, 9:6, 9:9, 9:11,
  auto-generates [1] - 48:9         belief [2] - 116:22, 135:15       box [14] - 4:7, 42:19, 44:24,      10:16, 10:18, 12:23, 12:24,
  auto-populated [1] - 48:11        believability [1] - 130:22         47:11, 48:16, 49:18, 49:25,       13:24, 14:9, 14:21, 15:3,
  available [3] - 60:15, 81:18,     believable [1] - 130:25            60:4, 70:23, 95:4, 105:5,         15:4, 15:11, 15:12, 15:14,
   116:6                            believes [1] - 118:23              107:12, 113:14, 114:2             15:21, 16:3, 16:8, 16:9,
  AVENUE [1] - 2:4                                                    boxes [2] - 42:17, 49:23           16:15, 16:20, 16:25, 17:3,
                                    below [5] - 33:24, 34:4, 49:2,
  avoid [5] - 22:3, 64:7, 64:21,                                      brainer [1] - 105:9                19:16, 19:20, 20:8, 21:9,
                                     55:8, 78:11
   132:13, 140:8                                                      branch [1] - 61:25                 21:12, 22:4, 57:2, 57:3,
                                    bend [1] - 56:22
  award [1] - 134:22                                                                                     57:24, 58:1, 58:4, 62:3,
                                    bends [1] - 56:21                 brand [1] - 11:2
  aware [8] - 36:1, 40:19,                                                                               62:5, 62:7, 62:11, 62:22,
                                    benefit [1] - 36:23               BRAYTON [1] - 2:10
   60:14, 62:16, 62:20, 72:15,                                                                           64:15, 112:11, 112:15,
                                    best [4] - 50:5, 82:14, 86:1,     BRAYTON-LEWIS [1] - 2:10
   72:17                                                                                                 112:17, 115:3, 116:14,
                                     119:24                           brazing [1] - 7:15
  axis [2] - 13:8, 15:5                                                                                  116:22, 116:23, 117:5,
                                    better [3] - 81:15, 81:16,        break [1] - 94:12
                                                                                                         122:10, 122:23, 123:16,
                                     93:25                            breakdown [1] - 67:15
                                                                                                         123:17, 131:20
                 B                  between [12] - 5:25, 6:17,        breaks [1] - 72:11
                                                                                                        butt-weld [46] - 4:24, 7:3,
                                     9:11, 13:9, 16:5, 71:7,          brief [1] - 131:17
  B16.9 [1] - 9:3                                                                                        8:5, 8:6, 8:7, 8:22, 9:2, 9:4,
                                     101:20, 103:17, 122:10,          briefly [2] - 65:5, 91:2
  B31 [1] - 7:24                                                                                         9:5, 9:6, 9:9, 10:16, 10:18,
                                     129:19, 134:18, 142:18           bring [12] - 46:21, 53:23,
  BAILIFF [1] - 138:15                                                                                   16:3, 16:8, 16:9, 16:20,
                                    bevel [1] - 14:15                  58:21, 64:23, 94:22, 108:6,
  bailiff [7] - 137:4, 138:8,                                                                            16:25, 17:3, 19:16, 19:20,
                                    beveled [5] - 15:6, 99:24,         110:8, 111:21, 113:19,
   138:10, 138:13, 139:18,                                                                               20:8, 21:9, 21:12, 22:4,
                                     101:21, 122:12, 122:13            116:2, 134:6, 137:22
   139:19, 143:2                                                                                         57:2, 57:24, 58:1, 58:4,
                                    bevels [1] - 100:11               bringing [2] - 98:18, 118:4
  Baird [1] - 144:9                                                                                      62:3, 62:5, 62:22, 64:15,
                                    beyond [3] - 76:6, 88:13,         broader [4] - 45:9, 45:10,         112:11, 112:15, 112:17,
  BAIRD [2] - 1:23, 144:10           97:12                             45:11, 90:18
  balance [1] - 125:11                                                                                   115:3, 116:14, 116:22,
                                    Bhattacharji [4] - 100:19,        brochure [1] - 42:2                116:23, 117:5, 122:10,
  balanced [1] - 97:24               108:2, 108:4, 115:11             brochures [1] - 41:25              122:23, 123:16, 123:17
  Ball [1] - 50:15                  bias [1] - 130:18                 broker [40] - 28:12, 28:15,       butt-welded [1] - 57:3
  ball [26] - 31:5, 31:20, 33:15,   bill [8] - 26:16, 30:17, 39:11,    42:15, 45:17, 46:1, 46:2,




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    570 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          686Trial Page 149 of 166
                                                                                148

  butt-welding [6] - 8:21,          120:17, 122:3, 122:8,            chart [1] - 69:20                  72:16, 73:5
   14:21, 15:3, 15:4, 15:21,        125:2, 125:8, 125:16,            cheaper [1] - 118:24              classify [3] - 42:9, 46:5,
   131:20                           126:3, 126:14, 126:25,           cheats [1] - 124:16                54:15
  butted [1] - 7:4                  127:14, 127:16, 127:20,          check [8] - 26:14, 39:18,         classifying [1] - 76:1
  buying [1] - 118:24               127:25, 128:7, 129:10,            40:10, 44:1, 46:1, 46:2,         clean [1] - 93:16
  BY [52] - 4:14, 12:4, 12:17,      130:8, 130:17, 131:10,            46:3, 107:11                     clear [9] - 37:20, 37:21,
   13:5, 13:18, 14:7, 14:19,        133:2, 135:5, 135:19,            checked [2] - 47:19, 96:17         64:16, 97:10, 98:23,
   15:2, 15:17, 16:1, 17:12,        135:21, 135:22, 135:25,          checking [4] - 39:14, 42:13,       110:23, 114:3, 116:15,
   19:13, 20:2, 21:23, 23:10,       136:5, 136:11, 136:13,            47:20                             118:14
   31:8, 31:22, 33:17, 36:6,        136:15, 136:20, 137:7,           chemical [1] - 7:25               clearer [1] - 36:23
   37:15, 46:23, 50:17, 50:23,      137:15, 139:3, 140:4,            cherry [1] - 99:13                clearly [1] - 13:11
   51:18, 53:25, 56:16, 58:23,      142:7, 142:21, 142:22            cherry-picking [1] - 99:13        CLERK [13] - 4:3, 4:9, 23:3,
   60:6, 61:13, 63:7, 63:21,       cases [2] - 97:18, 137:12         chilled [1] - 6:21                 59:16, 59:23, 59:25, 92:14,
   64:4, 64:10, 64:25, 65:13,      cast [6] - 45:10, 45:11, 55:9,    China [17] - 16:20, 40:3,          138:12, 138:14, 138:16,
   65:25, 66:12, 66:25, 68:17,      55:11, 55:12, 55:14               41:12, 42:11, 62:18, 64:15,       139:7, 139:22, 143:10
   73:1, 73:25, 75:15, 77:17,      casted [2] - 55:9, 56:6            117:3, 117:5, 117:8,             clerk [2] - 94:22, 141:9
   80:21, 81:5, 86:18, 88:7,       catalog [1] - 102:25               117:14, 117:17, 118:13,          client [1] - 128:24
   88:17, 89:12, 90:1, 90:11,      category [5] - 53:21, 57:8,        118:22, 122:5, 124:16,           clients [1] - 139:4
   91:4                             57:12, 57:23, 62:11               131:21, 133:5                    clip [2] - 118:16, 124:19
                                   caused [3] - 96:25, 104:17,       Chinese [7] - 22:4, 96:10,        close [6] - 36:15, 84:7, 94:6,
                C                   132:24                            98:6, 106:5, 131:19,              113:2, 113:19, 125:17
                                   caveat [1] - 142:12                131:23, 133:3                    closely [4] - 26:1, 28:6,
  C-r-i-v-e-l-l-i [1] - 138:15     CBP [1] - 52:9                    choice [1] - 121:12                86:22, 121:21
  CA [1] - 2:5                     CBP.gov [1] - 44:11               choose [1] - 121:18               closer [1] - 24:8
  cafeteria [1] - 138:25           CBSA [1] - 29:4                   CHRISTOPHER [2] - 2:3,            closing [3] - 94:4, 123:10,
  calculation [1] - 104:5          CCRA [1] - 1:23                    2:10                              128:18
  California [1] - 139:23          centerpiece [2] - 110:10,         circle [3] - 34:4, 70:9, 112:8    coalescence [1] - 6:16
  CALIFORNIA [4] - 1:2, 1:18,       110:18                           CIRCUIT [1] - 144:5               coarse [1] - 5:21
   1:24, 4:1                       Central [1] - 139:22              circumstances [3] - 34:17,        code [17] - 39:21, 45:5, 45:7,
  Canadian [2] - 29:5, 39:3        CENTRAL [1] - 1:2                  42:24, 113:22                     45:12, 46:6, 47:5, 47:13,
  candid [1] - 118:5               cert [1] - 26:17                  circumstantial [3] - 129:12,       47:15, 47:16, 62:5, 62:12,
  cannot [3] - 106:4, 130:4,       certain [4] - 18:14, 36:18,        129:16, 129:20                    73:6, 111:3, 111:4, 111:19,
   130:5                            37:1, 128:13                     circumvent [1] - 120:19            111:23, 112:5
  cap [8] - 15:19, 15:20, 15:21,   certainly [6] - 26:8, 36:23,      circumventing [2] - 64:12,        codes [3] - 51:2, 72:8, 74:3
   16:6, 16:9, 16:11, 16:13,        37:23, 43:7, 45:3, 45:22          117:23                           colleagues [5] - 54:13,
   16:14                           CERTIFICATE [1] - 144:1           citizens [3] - 109:2, 109:13,      63:23, 64:5, 112:1, 120:6
  capable [3] - 101:3, 101:6,      certificates [2] - 26:16, 39:13    110:2                            collected [1] - 105:7
   133:11                          CERTIFY [1] - 144:2               civil [3] - 97:17, 97:18, 141:7   collecting [1] - 107:6
  caps [1] - 16:4                  cetera [3] - 22:12, 68:9,         Claim [2] - 132:12, 133:24        column [6] - 48:22, 51:20,
  carbon [3] - 61:21, 64:17,        142:7                            claim [7] - 99:9, 103:15,          51:24, 52:8, 52:12, 113:10
   122:23                          CFO [2] - 25:17, 70:17             110:19, 132:2, 132:7,            columns [1] - 102:19
  career [3] - 17:13, 17:20,       CH [4] - 46:13, 79:13, 88:19,      132:9, 134:4                     comfortable [5] - 49:14,
   17:23                            120:12                           claimed [2] - 99:4, 99:5           49:15, 49:17, 110:5,
  carried [1] - 112:5              challenging [1] - 110:1           Claims [6] - 103:15, 104:11,       119:14
  carries [1] - 111:15             chance [3] - 92:20, 108:13,        126:17, 132:15, 133:13,          coming [4] - 22:23, 25:14,
  carry [1] - 97:7                  118:14                            140:7                             43:14, 119:2
  CASE [1] - 2:12                  change [3] - 39:15, 135:12,       claims [2] - 99:8, 106:17         comment [1] - 118:7
  Case [1] - 140:2                  135:15                           clarity [1] - 37:5                Commerce [26] - 16:18,
  case [80] - 4:21, 6:22, 19:14,   changed [1] - 41:7                classic [1] - 97:21                16:24, 19:3, 19:6, 19:15,
   22:6, 23:12, 23:17, 45:1,       changes [1] - 83:4                classification [28] - 40:21,       19:19, 20:4, 20:7, 62:21,
   46:20, 54:22, 57:23, 59:11,     chapter [4] - 54:4, 54:6, 55:2,    40:25, 44:13, 44:18, 45:14,       63:9, 63:12, 63:13, 85:19,
   72:19, 79:6, 82:8, 85:4,         55:3                              45:25, 47:5, 47:21, 52:5,         85:23, 106:15, 115:2,
   91:20, 92:2, 92:7, 95:7,        characteristic [3] - 9:8, 9:10,    56:11, 58:16, 58:20, 60:23,       115:7, 115:12, 115:16,
   95:9, 95:15, 96:8, 96:14,        11:5                              61:12, 67:4, 76:9, 77:8,          122:11, 122:17, 122:21,
   97:2, 97:7, 97:12, 97:14,       characteristics [1] - 39:19        78:24, 84:17, 84:18, 85:9,        122:22, 123:15, 123:16,
   97:17, 97:23, 98:2, 100:19,     charge [1] - 27:19                 85:10, 85:13, 112:8,              133:3
   103:7, 103:15, 107:3,           charged [3] - 19:4, 19:7,          112:13, 113:8, 116:13            commerce [2] - 101:18,
   110:10, 115:21, 116:8,           123:23                           classifications [3] - 67:5,        107:23
   117:1, 117:25, 118:4,           CHARGED [1] - 144:5                74:8, 75:2                       commercial [14] - 26:15,
   118:7, 118:20, 119:8,                                             classified [4] - 58:6, 63:11,      30:16, 39:11, 65:2, 65:7,
                                   charges [1] - 26:20




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    571 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          687Trial Page 150 of 166
                                                                                149

   65:15, 66:2, 67:2, 67:9,       conduct [4] - 118:1, 125:2,     control [2] - 33:9, 129:22       85:20, 85:23, 85:24, 86:2,
   67:20, 68:1, 68:8, 114:8,       134:10, 135:17                 controls [5] - 35:13, 35:16,     86:20, 91:6, 91:10, 91:11,
   114:19                         conducted [3] - 34:21,           95:23, 96:12, 128:22            91:13, 91:14, 139:12,
  committed [1] - 140:17           38:11, 65:21                   conversations [5] - 76:8,        141:14
  common [3] - 38:18, 107:17,     CONFERENCE [1] - 144:7           76:12, 76:16, 89:19, 89:21     correctly [1] - 5:12
   114:16                         conference [1] - 38:5           cool [1] - 6:22                 cost [3] - 26:22, 42:22
  commonly [1] - 9:1              configuration [3] - 6:6, 8:9,   copy [1] - 127:17               costly [1] - 36:24
  communicate [5] - 135:23,        8:10                           core [2] - 70:4, 83:19          costs [4] - 18:23, 26:19,
   135:24, 137:3, 137:5,          confirmed [1] - 112:14          corner [9] - 7:12, 7:13,         30:20, 42:20
   137:6                          confirms [5] - 58:16, 61:14,     10:11, 10:13, 12:21, 12:22,    counsel [45] - 4:8, 11:18,
  communicates [1] - 35:1          116:13, 116:14, 116:22          13:10, 13:11                    19:22, 20:15, 20:17, 20:18,
  communicating [2] - 74:7,       CONFORMANCE [1] - 144:6         corny [1] - 109:6                20:21, 22:8, 23:7, 42:16,
   136:1                          confuse [1] - 10:18             corporate [4] - 23:15,           60:5, 64:9, 65:12, 65:20,
  communications [3] -            conjecture [1] - 134:23          100:14, 100:15, 126:5           66:18, 68:14, 68:15, 73:11,
   106:12, 107:1, 107:7           conjunction [2] - 28:15, 45:6   Corporation [3] - 23:23,         73:17, 75:14, 86:15, 86:16,
  companies [1] - 125:4           connected [1] - 9:25             25:17, 131:18                   88:3, 89:11, 90:10, 91:1,
  company [5] - 20:24, 33:2,      connection [4] - 9:22, 13:9,    corporation [2] - 131:11,        91:19, 91:25, 92:18, 93:9,
   59:2, 115:10, 126:6             29:11, 61:25                    131:13                          94:25, 95:24, 96:5, 108:14,
  compatible [1] - 6:7            connections [1] - 8:4           corporations [1] - 139:4         108:22, 120:24, 121:2,
  compensating [1] - 4:17         conscientious [1] - 135:11      CORRECT [1] - 144:2              121:5, 121:8, 122:4,
  competition [1] - 19:1          consider [16] - 59:4, 80:3,     correct [170] - 14:10, 17:21,    122:25, 127:6, 127:7,
  competitive [2] - 118:20,        114:17, 116:21, 118:2,          18:2, 18:3, 18:7, 18:10,        138:19, 143:13
   124:8                           118:3, 119:1, 119:11,           19:4, 19:16, 19:17, 19:21,     count [3] - 96:22, 138:2
  competitor [3] - 59:4,           120:3, 128:6, 128:11,           20:5, 20:6, 20:15, 21:1,       countries [1] - 122:20
   118:19, 119:5                   128:14, 129:7, 129:8,           21:5, 21:17, 21:20, 21:25,     country [9] - 26:17, 39:13,
  competitors [1] - 119:9          129:18, 133:25                  22:1, 22:4, 23:15, 23:16,       41:24, 44:7, 45:3, 98:18,
  complete [3] - 28:14, 83:13,    considered [9] - 24:7, 38:20,    26:10, 32:1, 32:4, 32:6,        109:2, 109:9, 124:11
   138:6                           48:22, 55:5, 56:22, 66:14,      32:7, 32:9, 32:10, 35:7,       couple [9] - 63:13, 76:22,
  completed [1] - 42:7             129:5, 131:11, 135:7            35:8, 35:21, 35:22, 35:25,      80:6, 92:18, 96:7, 107:21,
  completely [3] - 17:4, 17:5,    considering [2] - 130:12,        36:2, 37:1, 48:13, 49:9,        112:7, 117:1
   98:17                           131:8                           49:11, 49:13, 50:25, 51:4,     coupling [34] - 48:15, 48:24,
  completeness [1] - 73:15        consistently [1] - 61:14         51:5, 51:7, 51:8, 51:11,        48:25, 49:7, 49:17, 52:22,
  compliance [36] - 24:11,        consists [1] - 128:7             51:24, 51:25, 53:5, 56:25,      64:6, 64:19, 64:20, 75:20,
   24:17, 24:18, 24:21, 25:8,     constant [1] - 8:17              58:10, 58:11, 58:13, 60:16,     75:23, 99:14, 100:16,
   25:11, 27:6, 27:17, 27:19,     consult [9] - 20:25, 21:4,       61:15, 62:12, 67:24, 68:12,     100:18, 101:11, 101:12,
   33:9, 34:1, 35:18, 42:16,       21:8, 21:12, 89:20, 89:21,      68:21, 68:22, 68:24, 69:2,      101:21, 102:12, 102:20,
   69:17, 72:4, 74:15, 76:4,       106:20, 127:18, 137:9           69:5, 69:8, 69:12, 69:18,       102:25, 103:6, 110:18,
   77:24, 78:6, 82:9, 82:11,      consultant [3] - 42:16,          69:21, 70:3, 70:6, 70:14,       110:20, 110:24, 111:13,
   82:14, 82:17, 82:24, 83:2,      84:13, 107:12                   70:16, 70:17, 70:18, 70:20,     111:17, 113:14, 114:22,
   84:13, 84:20, 87:9, 90:15,                                      70:21, 70:23, 71:1, 71:4,       117:2, 117:15, 121:6,
                                  consulted [7] - 18:8, 20:14,
   90:17, 90:22, 106:11,                                           71:8, 71:9, 71:12, 71:14,       121:9, 121:12, 122:1
                                   20:16, 20:21, 21:16, 42:15
   108:9, 120:13                                                   71:15, 71:18, 71:23, 71:24,    couplings [32] - 49:2, 55:6,
                                  consulting [2] - 120:13,
  compliances [1] - 28:5                                           72:1, 72:2, 72:5, 72:6,         55:22, 60:25, 64:14, 64:15,
                                   136:8
  compliant [2] - 32:20, 39:1                                      72:9, 72:14, 72:16, 72:19,      96:21, 99:5, 99:11, 99:22,
                                  contact [5] - 21:18, 30:25,
  complied [1] - 111:3                                             73:9, 74:3, 74:14, 74:17,       99:24, 99:25, 100:12,
                                   89:13, 136:7, 136:21
  complies [1] - 5:3                                               74:19, 74:20, 74:22, 75:2,      100:20, 101:14, 101:17,
                                  contacting [1] - 119:9
                                                                   75:17, 75:20, 75:23, 76:2,      102:14, 104:9, 112:4,
  compliment [1] - 139:2          contacts [2] - 20:23, 31:2
                                                                   76:3, 76:5, 76:10, 76:11,       114:2, 117:11, 117:13,
  comply [5] - 18:8, 110:25,      container [4] - 39:15, 39:16,
                                                                   76:19, 76:21, 77:3, 77:14,      117:18, 117:20, 117:21,
   119:21, 120:4, 120:15           39:22, 39:23
                                                                   78:11, 78:14, 78:15, 78:20,     122:5, 122:13, 122:24,
  complying [2] - 39:2, 91:9      contains [1] - 114:8
                                                                   78:22, 78:24, 79:3, 79:7,       123:2, 123:4
  component [1] - 41:22           contends [1] - 134:3
                                                                   79:10, 79:11, 79:16, 79:21,    course [27] - 27:1, 32:16,
  concept [2] - 5:6, 55:20        contents [2] - 32:3, 49:15
                                                                   79:23, 79:25, 80:5, 80:11,      34:16, 39:1, 41:3, 64:3,
  concerning [1] - 137:7          context [1] - 124:23
                                                                   80:15, 81:8, 81:11, 81:13,      64:8, 65:18, 66:22, 83:10,
  concerns [2] - 43:2, 43:3       continuation [2] - 50:24,
                                                                   81:16, 81:19, 82:1, 82:4,       83:13, 83:17, 83:21, 83:23,
  conclude [1] - 113:14            54:10
                                                                   82:6, 82:7, 82:12, 82:21,       84:23, 84:24, 87:17, 94:3,
  concluded [3] - 16:19, 62:21,   continue [6] - 43:18, 56:19,
                                                                   83:3, 83:6, 83:7, 83:10,        101:8, 102:12, 105:8,
   143:22                          57:15, 60:5, 80:2, 137:18
                                                                   83:14, 83:17, 83:21, 83:24,     109:17, 115:21, 121:25,
  concludes [1] - 108:14          continuing [2] - 43:16, 43:22
                                                                   84:6, 84:10, 84:20, 84:25,      122:17, 135:10
  conclusion [1] - 46:9           contoured [2] - 11:12, 61:22     85:7, 85:8, 85:9, 85:13,       courses [2] - 83:19, 84:22
  conclusions [1] - 119:15        contradicts [1] - 130:19




                                     UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    572 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          688Trial Page 151 of 166
                                                                                150

  Court [12] - 93:25, 134:11,      cross-examination [1] -        customsinfo.com [1] - 81:11     defendant's [4] - 133:6,
   134:13, 136:7, 136:21,           17:10                         cut [6] - 9:18, 13:8, 14:12,     133:25, 134:9, 134:20
   136:25, 138:1, 138:3,           crystal [5] - 115:14, 123:7,    14:13, 50:1, 54:10             Defendant's [4] - 3:3, 3:5,
   139:22, 142:4, 143:16,           123:8, 123:12                 cutting [1] - 93:6               4:12, 23:2
   143:17                          CSR [1] - 1:23                 CV [1] - 140:2                  Defendants [1] - 1:12
  COURT [96] - 1:1, 1:23, 4:5,     CTPAT [2] - 80:4, 80:5         CV17-04393-RGK [1] - 1:8        defendants [1] - 140:1
   11:18, 11:21, 11:24, 12:1,      CURRAN [67] - 2:10, 22:24,     cynical [1] - 114:21            defense [7] - 127:7, 127:8,
   12:15, 13:4, 13:14, 14:5,        23:8, 23:10, 31:5, 31:8,                                       127:9, 127:10, 134:1,
   14:24, 15:24, 17:10, 19:9,       31:20, 31:22, 33:15, 33:17,                 D                  134:3, 134:7
   19:12, 19:22, 21:21, 22:8,       36:4, 36:6, 37:8, 37:15,                                      defensible [1] - 112:2
   22:11, 22:15, 22:20, 22:22,      46:21, 46:23, 50:8, 50:15,    daily [2] - 45:20, 89:8         defining [3] - 9:8, 9:9, 19:7
   23:1, 23:7, 50:13, 53:10,        50:17, 50:21, 50:23, 51:15,   damages [12] - 103:13,          definition [3] - 8:15, 19:15,
   53:12, 59:8, 59:18, 60:2,        51:18, 53:23, 53:25, 54:19,    103:16, 104:4, 104:17,          20:9
   63:6, 63:16, 63:19, 64:2,        56:2, 56:16, 58:21, 58:23,     134:12, 134:16, 134:17,        definitions [2] - 52:9, 113:11
   64:9, 65:11, 65:20, 66:9,        60:6, 61:9, 61:13, 63:7,       134:18, 134:21, 140:23         defy [1] - 110:25
   66:11, 66:18, 66:23, 68:14,      63:21, 64:4, 64:10, 64:23,    database [10] - 52:9, 58:13,    deliberate [11] - 95:16,
   72:24, 73:17, 73:21, 73:24,      64:25, 65:13, 65:25, 66:6,     58:15, 80:8, 80:10, 80:15,      102:9, 104:24, 105:13,
   75:7, 80:20, 80:25, 86:15,       66:12, 66:22, 66:25, 68:13,    87:4, 113:11, 116:6             105:14, 105:18, 107:16,
   88:1, 88:3, 88:14, 89:10,        73:11, 73:15, 77:15, 86:18,   databases [3] - 81:8, 81:18,     125:7, 125:10, 132:22,
   89:25, 90:6, 90:8, 90:10,        88:5, 88:7, 88:15, 88:17,      108:10                          133:17
   91:1, 91:16, 91:19, 91:21,       89:12, 90:1, 90:11, 90:24,    date [2] - 138:7, 140:14        deliberately [1] - 131:22
   92:16, 92:24, 93:1, 93:5,        91:18, 92:23, 92:25, 93:4,    DATE [1] - 144:10               deliberating [2] - 114:10,
   93:9, 94:14, 94:20, 95:3,        93:8, 94:19, 108:23,          dated [2] - 61:8, 139:15         138:22
   96:2, 96:4, 105:20, 108:22,      118:18, 127:11                dates [1] - 71:8                deliberation [2] - 137:13,
   120:23, 124:5, 127:6,           current [2] - 24:10, 25:18     David [1] - 138:15               138:17
   127:12, 138:18, 139:9,          curve [1] - 100:11             DAY [1] - 1:17                  deliberations [8] - 92:4,
   139:11, 139:14, 139:17,         custom [1] - 109:7             day-to-day [6] - 26:5, 26:24,    127:18, 134:24, 135:1,
   139:20, 141:2, 141:6,           customer [3] - 41:9, 41:10,     28:7, 30:8, 30:25, 109:4        135:23, 137:2, 137:18,
   141:15, 141:17, 141:19,          41:25                         days [4] - 92:22, 93:3, 96:7,    138:7
   141:21, 141:23, 141:25,         Customs [77] - 24:19, 28:17,    98:8                           delivered [2] - 89:2, 89:3
   142:2, 142:4, 143:12             29:3, 29:5, 29:11, 29:23,     DC [1] - 2:13                   denies [1] - 132:4
  court [12] - 4:4, 59:17, 60:1,    30:7, 31:10, 32:13, 32:21,    dealing [1] - 10:17             Department [15] - 19:3, 19:6,
   92:15, 95:2, 102:16,             32:22, 34:16, 35:2, 35:21,    deals [2] - 85:9, 85:10          19:16, 19:18, 20:4, 20:7,
   119:25, 129:9, 135:2,            36:2, 37:4, 38:10, 38:11,     debate [1] - 104:23              62:21, 85:18, 85:23,
   137:8, 137:23, 139:8             38:14, 38:15, 39:3, 39:6,     decade [2] - 99:15, 106:6        106:22, 122:11, 122:17,
  Court's [1] - 129:2               39:8, 40:2, 40:15, 44:17,     deceive [2] - 104:16, 114:11     122:21, 122:22, 133:2
  courthouse [1] - 138:20           45:13, 48:5, 49:12, 49:24,    December [1] - 106:2            department [11] - 29:14,
  courtroom [4] - 59:19, 92:17,     54:14, 58:16, 60:15, 61:4,    decide [7] - 43:19, 100:2,       41:13, 42:4, 42:5, 42:8,
   138:8, 138:18                    61:10, 62:14, 63:9, 63:10,                                     46:5, 73:4, 88:10, 108:3
                                                                   127:25, 129:10, 129:20,
  cover [5] - 7:24, 20:12,          68:10, 74:15, 74:18, 81:8,                                    deposed [1] - 72:19
                                                                   130:9, 135:5
   27:24, 31:25, 117:20             85:7, 87:11, 87:14, 89:4,     decided [1] - 115:2             DEPOSIT [1] - 144:6
  covered [4] - 6:6, 16:19,         96:15, 99:10, 100:6, 101:5,
                                                                  deciding [3] - 128:6, 128:14,   deposition [5] - 22:7, 74:24,
   72:10, 116:23                    101:9, 101:11, 102:1,
                                                                   130:8                           75:8, 118:17, 126:8
  cream [1] - 24:5                  102:20, 103:8, 103:22,
                                                                  decision [6] - 16:18, 101:7,    depositions [1] - 73:17
  Cream [3] - 24:5, 24:6, 30:2      104:21, 105:6, 106:15,
                                                                   115:17, 120:1, 132:10,         deprived [2] - 122:2, 126:22
  create [1] - 6:16                 106:16, 108:18, 109:19,
                                                                   135:13                         describe [4] - 53:18, 57:18,
  created [1] - 117:12              110:22, 111:5, 111:9,
                                                                  decisions [4] - 44:15,           98:17, 101:24
  criminal [2] - 97:13, 141:7       112:9, 112:22, 113:11,
                                                                   101:13, 123:7, 135:11          described [1] - 131:25
  CRISTINA [1] - 2:10               113:15, 113:17, 113:19,
                                                                  declined [1] - 42:24            describes [2] - 5:9, 9:2
  Crivelli [1] - 138:15             114:11, 116:7, 116:8,
                                                                  deep [1] - 88:18                description [28] - 41:19,
  CROSS [21] - 3:5, 3:6, 17:11,     123:20
                                                                  defendant [23] - 59:22,          41:20, 44:25, 45:6, 45:11,
   44:11, 44:12, 44:20, 58:12,     customs [20] - 19:24, 64:5,
                                                                   95:10, 103:18, 131:18,          47:21, 48:9, 48:10, 48:11,
   58:13, 58:15, 58:18, 58:24,      74:2, 74:7, 76:9, 76:13,
                                                                   132:4, 132:12, 132:14,          48:21, 50:1, 51:20, 52:4,
   60:14, 68:16, 80:7, 80:8,        76:17, 79:10, 79:14, 79:15,
                                                                   132:17, 132:19, 132:20,         52:21, 53:3, 61:25, 63:12,
   80:13, 80:14, 85:3, 85:6,        79:20, 87:9, 87:19, 88:19,
                                                                   133:13, 133:14, 133:16,         68:3, 102:20, 102:21,
   85:22, 116:6                     88:23, 89:14, 101:9,
                                                                   133:17, 133:19, 133:22,         103:7, 111:18, 112:5,
  cross [3] - 17:10, 88:13,         120:11, 125:24, 125:25
                                                                   133:25, 134:1, 134:3,           113:7, 114:9, 114:14
   93:24                           Customs' [3] - 48:6, 48:7,
                                                                   134:7, 140:7, 140:17,          descriptions [5] - 68:8,
  CROSS-EXAMINATION [4] -           110:25
                                                                   140:24                          101:10, 103:11, 111:19,
   3:5, 3:6, 17:11, 68:16          Customsinfo [1] - 80:18
                                                                  DEFENDANT [1] - 2:10             122:11




                                     UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    573 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          689Trial Page 152 of 166
                                                                                151

  deserves [2] - 131:1, 131:8       92:7, 136:6, 142:7              down [18] - 13:8, 18:23, 44:4,    126:1
  designed [11] - 5:22, 8:7,       discussed [4] - 121:2, 135:7,     45:9, 54:25, 55:8, 55:12,       e-mails [2] - 107:4, 107:6
   9:5, 9:16, 9:17, 17:3, 17:6,     136:12, 136:14                   55:24, 56:13, 57:11, 58:5,      early [4] - 91:23, 110:13,
   18:19, 18:22, 18:25, 99:25      discussing [4] - 10:15,           77:23, 83:16, 91:16, 127:3,      115:10, 116:4
  detail [9] - 29:17, 52:5,         16:23, 60:7, 135:22              138:24                          easier [2] - 124:1, 125:3
   53:17, 53:22, 88:11, 90:21,     discussion [2] - 32:11,          drafted [1] - 36:8               easily [1] - 50:4
   112:21, 113:8, 114:13            135:12                          draw [3] - 52:1, 55:24, 60:17    ECF [1] - 92:23
  detailed [4] - 66:16, 67:7,      discussions [1] - 7:3            drawing [1] - 47:22              edge [1] - 122:12
   67:18, 68:1                     dislikes [1] - 127:24            drawings [1] - 41:25             education [2] - 131:4, 131:9
  determination [3] - 45:15,       dispute [3] - 99:10, 110:6,      due [3] - 40:17, 43:2, 132:25    educational [1] - 142:9
   46:7, 115:7                      120:25                          dumping [2] - 117:20,            effect [3] - 82:1, 118:7,
  determine [11] - 6:12, 33:8,     disputed [1] - 93:11              117:24                           135:15
   43:12, 43:17, 43:24, 95:7,      disputes [2] - 100:8, 111:8      during [15] - 17:23, 28:4,       effort [9] - 110:25, 117:16,
   98:19, 109:13, 123:24,          disregard [6] - 102:9,            40:13, 63:3, 72:4, 75:3,         117:23, 119:4, 119:21,
   134:15, 134:21                   105:13, 105:14, 129:4,           75:5, 95:17, 113:17, 117:1,      120:3, 120:15, 120:18,
  determined [3] - 47:23,           132:22, 133:19                   122:16, 127:18, 135:23,          126:12
   61:12, 77:6                     disregarded [1] - 131:23          137:2, 137:17                   eight [2] - 86:15, 130:21
  determines [1] - 124:11          distance [1] - 87:23             duties [66] - 19:24, 32:12,      either [10] - 8:10, 12:9,
  determining [2] - 42:22,         distinct [1] - 99:3               32:20, 34:6, 34:17, 40:16,       13:24, 37:22, 40:13, 41:12,
   54:14                           distinction [1] - 129:19          40:21, 40:25, 43:2, 43:3,        45:14, 58:16, 129:12,
  devices [1] - 136:13             distinguish [1] - 5:24            43:24, 43:25, 63:2, 64:7,        129:19
  devoted [1] - 24:20              District [2] - 139:22, 139:23     64:12, 64:21, 71:17, 71:22,     elaborate [5] - 27:3, 32:17,
  dial [1] - 88:9                  DISTRICT [3] - 1:1, 1:2, 1:23     76:14, 76:18, 77:10, 77:14,      39:7, 51:14, 64:11
  diameter [1] - 11:7              division [10] - 24:14, 26:3,      77:19, 77:21, 78:2, 78:14,      elbow [5] - 8:10, 15:9, 16:5,
  dictionaries [1] - 136:9          26:13, 69:10, 71:9, 71:11,       83:24, 85:19, 89:22, 90:4,       56:14, 56:22
  differ [1] - 128:21               72:7, 74:1, 74:2, 84:7           96:16, 97:1, 98:20, 98:22,      elbows [3] - 55:22, 56:21,
  difference [6] - 16:5, 101:11,   divulge [2] - 142:16, 142:23      98:25, 99:6, 101:17, 104:7,      60:25
   101:20, 103:17, 122:10,         document [24] - 5:8, 26:9,        105:5, 106:21, 107:19,          elect [1] - 134:24
   134:18                           30:16, 31:10, 31:13, 46:18,      107:25, 108:7, 108:16,          electronic [2] - 41:8, 42:3
  different [20] - 6:25, 7:1,       46:24, 49:15, 50:19, 51:13,      109:2, 114:18, 115:1,           electronically [1] - 42:4
   10:20, 10:21, 17:4, 17:5,        65:3, 77:1, 77:3, 77:5,          115:4, 115:6, 116:17,           element [5] - 103:14, 104:15,
   43:8, 44:24, 66:15, 67:5,        77:9, 77:13, 78:3, 99:15,        117:23, 117:24, 118:23,          133:9, 133:12
   81:8, 95:20, 96:24, 97:19,       102:17, 106:13, 107:13,          118:25, 119:18, 120:2,          elements [5] - 100:2, 100:24,
   99:23, 100:21, 102:14,           114:4, 114:12                    121:1, 122:2, 123:11,            104:8, 122:3, 133:23
   102:19, 103:11, 108:10          Document [1] - 139:19             123:24, 124:7, 124:14,          embrace [1] - 97:8
  differently [1] - 95:22          documentation [10] - 26:14,       125:13, 126:22, 132:6,          eminent [1] - 116:19
  difficult [1] - 119:23            29:13, 29:20, 48:24, 48:25,      133:4
                                                                                                     employ [1] - 125:6
  digging [1] - 56:10               74:16, 76:6, 89:1, 111:14       duty [63] - 16:20, 18:4, 18:6,
                                                                                                     employed [4] - 23:20, 23:22,
  digit [2] - 45:8                 documented [1] - 107:1            18:9, 18:12, 19:4, 20:9,
                                                                                                      23:24, 24:23
  digits [1] - 54:24               documents [21] - 26:19,           22:4, 30:20, 33:19, 33:22,
                                                                                                     employee [1] - 87:19
  diligently [1] - 135:3            30:11, 30:15, 30:24, 36:17,      39:10, 42:13, 42:18, 43:4,
                                                                                                     employees [7] - 83:11,
                                    36:18, 38:25, 40:11, 49:4,       45:14, 49:9, 61:2, 62:22,
  DIRECT [4] - 3:4, 3:6, 4:13,                                                                        83:12, 108:9, 119:9,
                                    49:6, 49:7, 66:5, 67:9,          65:6, 65:15, 65:17, 66:1,
   23:9                                                                                               131:12, 131:14
                                    89:4, 89:5, 109:21, 112:6,       67:24, 67:25, 68:9, 72:1,
  direct [9] - 4:8, 38:2, 54:8,                                                                      employer [1] - 136:2
                                    114:7, 126:10, 126:11            72:4, 81:22, 81:25, 96:10,
   60:5, 76:22, 129:12,                                                                              employment [2] - 24:25, 66:8
                                                                     101:8, 101:14, 101:23,
   129:13, 129:19                  DOJ [3] - 63:3, 63:8, 113:21                                      end [21] - 8:8, 9:21, 9:23,
                                                                     101:25, 102:1, 103:23,
  direction [1] - 120:18           dollar [1] - 67:14                                                 11:6, 12:11, 14:15, 14:16,
                                                                     104:3, 104:4, 104:22,
  directions [1] - 64:8            dollars [2] - 96:9, 119:4                                          16:14, 16:15, 16:16, 17:4,
                                                                     105:2, 105:8, 105:25,
  directly [2] - 100:20, 121:11    domestic [5] - 21:1, 21:4,                                         52:12, 61:23, 61:24, 81:21,
                                                                     106:5, 109:3, 112:17,
  directors [2] - 131:13,           41:12, 124:3, 124:18                                              82:1, 94:6, 94:17, 95:12,
                                                                     114:16, 114:17, 119:3,
   131:14                          done [27] - 8:2, 24:14, 28:10,                                     97:23, 123:5
                                                                     122:19, 123:2, 123:4,
  dirty [1] - 119:6                 28:13, 28:25, 29:2, 29:16,                                       ends [8] - 8:12, 13:23, 14:12,
                                                                     124:8, 124:17, 126:6,
  discharged [1] - 138:3            38:20, 38:23, 38:25, 41:3,                                        14:13, 15:5, 15:6, 57:25
                                                                     127:16, 127:19, 128:24,
  disclose [2] - 35:13, 115:5       41:6, 44:16, 44:17, 65:23,                                       engaging [1] - 124:12
                                                                     131:24, 132:1, 133:5,
  disclosing [1] - 114:18           72:18, 81:1, 93:2, 93:15,                                        engineering [1] - 41:13
                                                                     133:8, 134:11
  disclosure [2] - 111:7, 111:8     97:9, 109:20, 122:8, 124:2,                                      engineers [2] - 58:3, 107:6
  discouraged [1] - 137:14          126:7, 128:3, 143:17                                             Engineers [1] - 7:24
  discrepancies [2] - 26:11,       door [1] - 41:3                                E                  enhancements [1] - 87:15
   27:5                            dotted [2] - 70:8, 70:20         e-mail [3] - 106:13, 125:24,     ensure [10] - 24:15, 24:18,
  discuss [5] - 5:6, 59:11,        doubt [2] - 16:4, 97:12                                            26:9, 30:6, 39:1, 46:9,




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    574 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          690Trial Page 153 of 166
                                                                                152

   47:20, 74:15, 87:3, 89:2          116:11                           expectations [1] - 83:10         fall [2] - 62:22, 117:16
  ensuring [3] - 71:17, 71:22,      exam [2] - 40:8, 79:25            expenses [1] - 71:14             False [8] - 103:15, 104:11,
   75:1                             EXAMINATION [12] - 3:4,           experience [5] - 87:9,             126:17, 132:12, 132:15,
  entered [2] - 48:7, 75:2           3:5, 3:6, 3:6, 3:7, 3:7, 4:13,    107:21, 131:5, 131:9,             133:12, 133:24, 140:7
  entire [1] - 136:23                17:11, 23:9, 68:16, 86:17,        142:10                          false [35] - 96:22, 96:25,
  entirely [1] - 128:5               91:3                             expert [8] - 17:14, 17:18,         99:7, 99:9, 100:4, 100:6,
  entitled [2] - 23:18, 98:1        examination [4] - 4:8, 17:10,      20:3, 22:5, 106:9, 106:12,        100:23, 102:3, 102:8,
  entries [1] - 46:15                60:5, 76:22                       106:15, 116:19                    102:13, 104:17, 104:18,
  entry [6] - 26:17, 39:10, 47:2,   examinations [1] - 113:20         expertise [7] - 18:2, 18:5,        104:19, 104:20, 104:23,
   50:20, 89:9, 99:18               examined [1] - 113:21              19:9, 19:10, 19:23, 22:11         105:2, 108:17, 109:19,
  equally [1] - 97:24               example [8] - 5:10, 6:5, 12:6,    experts [2] - 120:10, 131:2        110:16, 110:21, 114:24,
  essence [1] - 4:23                 46:19, 55:6, 55:22, 60:25,       explain [18] - 26:6, 32:17,        114:25, 115:5, 115:18,
  essential [1] - 127:2              110:11                            37:22, 50:4, 50:5, 52:3,          121:24, 121:25, 126:19,
  essentially [1] - 32:23           examples [2] - 6:18, 53:20         64:11, 65:22, 67:1, 86:22,        132:5, 132:13, 132:17,
  establish [2] - 104:10,           exams [4] - 38:20, 38:22,          99:18, 101:20, 102:13,            132:24, 133:1, 133:8,
   133:24                            40:12, 40:14                      106:3, 111:24, 112:16,            140:8
  establishes [2] - 104:18,         Excel [1] - 44:3                   117:15, 119:25                  falsely [5] - 96:15, 99:4,
   119:21                           except [4] - 13:7, 135:22,        explained [9] - 58:9, 98:12,       99:5, 131:25
  establishing [1] - 19:4            137:5, 137:7                      100:9, 101:9, 107:20,           falsity [3] - 132:23, 133:18,
  et [4] - 22:12, 68:9, 140:1,      excerpt [1] - 73:16                121:3, 122:9, 122:10,             133:19
   142:7                            exclude [1] - 117:17               122:13                          familiar [9] - 26:23, 27:9,
  ET [3] - 1:4, 1:10, 2:11          excluded [5] - 117:2, 117:13,     explicitly [1] - 101:18            28:7, 28:8, 31:9, 40:19,
  ethical [1] - 119:11               122:5, 122:6, 129:3              explore [1] - 87:15                46:18, 46:24, 59:2
  evade [3] - 114:18, 119:22,       exclusion [1] - 117:16            exposed [2] - 135:20, 136:24     family [3] - 68:23, 80:1,
   120:16                           exclusive [2] - 46:14, 88:20      express [2] - 59:12, 92:8          136:1
  evaded [1] - 118:23               exclusively [1] - 88:22           expressly [5] - 112:9,           far [6] - 19:24, 23:14, 30:1,
  evading [1] - 119:18              excuse [6] - 75:7, 78:9, 80:7,     112:24, 117:2, 117:13,            93:6, 127:9
  evaluate [1] - 131:16              92:6, 138:21, 143:9               122:6                           fastener [2] - 5:18, 5:20
  event [1] - 119:13                excused [2] - 136:17, 143:11      extension [3] - 57:19, 69:13,    favor [1] - 108:20
  everyday [1] - 115:15             excuses [1] - 121:3                70:21                           feasibility [1] - 79:19
  evidence [78] - 11:19, 12:14,     excusing [2] - 91:22, 142:11      extensions [1] - 70:10           feather [1] - 97:25
   13:13, 14:4, 14:23, 15:23,       execute [1] - 120:2               extensively [1] - 30:5           feature [1] - 100:12
   31:7, 69:15, 95:6, 95:18,        executive [1] - 43:18             eye [2] - 125:19                 federal [1] - 80:18
   95:19, 96:11, 96:18, 97:5,       executives [1] - 119:24                                            FEE [1] - 144:5
   97:22, 98:4, 99:2, 99:7,         Exhibit [61] - 3:11, 3:11,                      F                  FEES [1] - 144:5
   100:22, 101:15, 101:19,           3:12, 3:12, 3:13, 3:13,                                           fellow [2] - 135:4, 135:22
   103:7, 103:25, 105:16,            10:23, 11:9, 11:16, 11:25,       face [4] - 12:21, 12:22, 14:15   felt [5] - 30:13, 36:17, 37:19,
   106:10, 119:20, 121:10,           12:5, 12:6, 12:14, 12:16,        fact [24] - 18:1, 20:8, 21:15,     81:15, 89:8
   125:17, 125:18, 125:20,           13:3, 13:6, 13:7, 13:13,           37:24, 68:23, 69:1, 69:11,     few [7] - 28:15, 44:2, 61:16,
   126:11, 127:15, 127:20,           13:15, 13:17, 13:19, 14:4,         78:8, 80:17, 81:6, 81:20,        61:18, 79:5, 119:3, 123:3
   127:25, 128:4, 128:6,             14:6, 14:18, 14:20, 14:21,         83:8, 96:12, 106:1, 107:10,    field [2] - 35:23, 124:9
   128:8, 128:12, 128:13,            14:22, 14:25, 15:16, 15:18,        107:18, 116:12, 117:17,        fifth [2] - 40:10, 57:12
   128:17, 128:19, 128:20,           15:19, 15:23, 15:25, 31:6,         128:8, 128:9, 129:13,          figure [1] - 103:16
   128:24, 129:1, 129:4,             35:5, 46:22, 50:9, 50:12,          129:17, 130:23, 142:24         file [2] - 88:25, 89:4
   129:5, 129:10, 129:11,            50:14, 51:16, 52:15, 53:24,      factor [2] - 42:23, 130:21       filed [3] - 49:10, 92:23,
   129:12, 129:13, 129:16,           55:19, 56:3, 58:22, 60:12,       facts [8] - 95:7, 96:11,           110:12
   129:18, 129:20, 129:21,           64:24, 69:14, 76:23,               127:19, 127:20, 128:14,        filings [1] - 25:12
   129:22, 129:23, 129:24,           103:25, 106:19, 110:9,             128:20, 129:17, 130:8          fill [5] - 27:20, 41:14, 42:17,
   130:1, 130:19, 130:21,            111:22, 111:23, 112:19,          fail [3] - 31:17, 35:9, 35:10      49:5, 113:5
   130:23, 131:10, 131:16,           113:3, 114:3, 116:3,             failed [7] - 31:16, 79:25,       filled [3] - 27:11, 42:5, 105:4
   132:3, 132:8, 132:9,              122:15, 126:23                     80:1, 105:22, 107:15,          filling [8] - 28:3, 50:11, 51:6,
   132:10, 132:16, 134:2,           exhibit [13] - 10:25, 11:16,        107:17, 132:5                    51:12, 51:23, 63:22, 63:24,
   134:8, 134:17, 134:22,            11:18, 12:18, 36:5, 51:16,       fair [5] - 18:1, 22:14, 22:17,     74:18
   135:7, 135:16, 135:18,            54:9, 54:19, 83:9, 114:8,          72:3, 117:21                   final [8] - 31:14, 35:5, 44:15,
   137:22, 140:7                     129:24, 130:3, 130:4             fairness [1] - 136:22              62:24, 89:3, 98:24, 103:14,
  evident [1] - 13:11               exhibits [3] - 3:10, 128:8,       faith [13] - 87:14, 109:23,        126:24
  ex [1] - 139:24                    128:12                             109:24, 110:2, 110:5,          finally [3] - 90:12, 103:13,
  exact [4] - 55:20, 77:12,         exists [1] - 116:13                 110:24, 117:21, 119:16,          107:16
   79:17, 126:23                    expand [1] - 81:2                   119:21, 120:1, 120:18,         financial [3] - 29:2, 38:24,
  exactly [3] - 78:22, 100:7,       expect [2] - 35:2, 125:21           120:19, 121:22                   118:6




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    575 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          691Trial Page 154 of 166
                                                                                153

  findings [1] - 108:20               floorboard [1] - 111:21          forming [5] - 20:14, 20:18,       Google [1] - 107:21
  fine [4] - 92:24, 94:7, 138:23,     flow [1] - 69:21                   20:22, 20:25, 21:3              Googling [1] - 44:23
    143:4                             fluid [1] - 17:8                 forms [4] - 63:23, 110:12,        gotcha [1] - 80:6
  finish [3] - 126:15, 137:15         focus [3] - 55:10, 69:3, 87:18     121:12                          government [24] - 34:22,
  fire [3] - 6:24, 9:22, 47:18        focused [18] - 28:18, 28:23,     forth [1] - 63:14                  35:3, 63:1, 103:17, 103:20,
  fire-protection [1] - 47:18           29:1, 29:2, 29:10, 31:6,       fortunately [1] - 118:5            103:24, 104:6, 104:16,
  firm [1] - 120:13                     31:15, 32:9, 37:12, 38:19,     forward [4] - 36:22, 38:4,         113:24, 114:24, 115:16,
  first [33] - 5:6, 11:22, 19:7,        40:13, 76:23, 87:11, 87:13,      113:23, 119:24                   120:9, 124:10, 124:16,
    21:18, 31:20, 31:25, 33:6,          87:18, 110:7, 113:17,          foundation [4] - 65:9, 65:11,      126:21, 127:1, 132:14,
    39:9, 41:14, 45:10, 52:1,           114:4                            66:7, 89:23                      132:25, 134:8, 134:19,
    52:4, 52:11, 52:20, 53:17,        focuses [1] - 117:25             four [6] - 25:7, 54:24, 83:21,     140:9, 140:15
    54:24, 56:12, 61:9, 64:13,        focusing [4] - 29:10, 33:5,        104:8, 122:3, 130:16            grade [1] - 35:9
    65:1, 66:14, 95:10, 100:2,          74:12, 75:25                   fourth [5] - 34:4, 40:10,         GRAND [1] - 2:4
    105:19, 106:10, 109:16,           folks [1] - 25:3                   57:12, 103:14, 132:24           great [2] - 112:20, 120:1
    109:17, 111:7, 112:18,            follow [10] - 36:19, 36:20,      FOURTH [1] - 1:24                 grinder [1] - 14:14
    114:4, 122:9, 132:17,               37:1, 37:24, 59:7, 90:19,      fox [1] - 123:22                  ground [1] - 84:14
    143:13                              119:19, 120:8, 121:21,         free [3] - 5:1, 22:22, 142:18     grounds [1] - 88:12
  FIRST [1] - 1:24                      127:21                         freely [1] - 98:9                 group [16] - 69:4, 69:8, 69:9,
  fit [6] - 9:16, 9:17, 50:2, 57:8,   follow-up [3] - 36:19, 36:20,    freight [3] - 26:20, 30:19         69:12, 69:13, 69:21, 70:4,
    61:23, 111:6                        37:1                           frequency [1] - 89:13              70:6, 70:10, 70:20, 70:21,
  fitting [65] - 4:23, 4:24, 4:25,    followed [6] - 26:24, 35:4,      frequently [2] - 80:11, 114:4      70:22, 70:25, 84:5, 84:9,
    7:3, 8:6, 8:7, 8:9, 8:12,           35:18, 40:20, 64:8, 106:18     front [3] - 16:2, 16:3, 60:10      126:3
    8:14, 9:2, 9:9, 9:19, 9:20,       following [8] - 24:18, 30:6,     fulfill [1] - 109:2               GSP [2] - 42:11, 42:12
    9:21, 9:24, 10:18, 11:1,            33:9, 78:5, 94:1, 113:15,      full [4] - 23:3, 34:20, 50:3,     guarding [1] - 123:22
    11:3, 11:4, 11:5, 11:6,             132:16, 133:15                   79:15                           guess [6] - 48:15, 50:4,
    11:11, 11:12, 11:14, 12:7,        follows [1] - 140:5              full-time [1] - 79:15              82:14, 87:8, 125:23, 130:6
    12:8, 12:10, 12:22, 13:9,         FOR [2] - 2:3, 144:5             fully [3] - 41:22, 41:23, 135:7   guesswork [1] - 134:23
    13:25, 14:1, 15:8, 16:15,         forefront [1] - 86:2             fully-assembled [2] - 41:22,      guidance [1] - 120:8
    16:16, 16:17, 16:25, 17:3,        FOREGOING [1] - 144:2              41:23                           guidelines [1] - 45:17
    17:5, 17:6, 17:8, 21:9,           foreign [2] - 18:20, 18:25       function [4] - 26:7, 26:8,
    21:13, 47:5, 47:7, 55:5,          foremost [3] - 39:9, 52:4,         27:13, 87:10                                  H
    55:9, 55:11, 57:3, 57:24,           64:13                          furniture [2] - 6:19, 6:20
    58:1, 58:4, 61:11, 61:22,         foreperson [2] - 138:6, 139:9                                      hair [1] - 57:17
                                                                       future [3] - 37:6, 115:16,
    62:5, 67:22, 112:17,              FOREPERSON [4] - 139:10,                                           half [4] - 13:8, 72:12, 95:14,
                                                                         123:19
    112:25, 115:3, 116:22,              139:13, 139:16, 141:5                                             137:16
    116:23, 122:11                    foreseen [1] - 16:24                                               hand [7] - 5:25, 11:15, 13:2,
  fittings [43] - 8:5, 8:11, 8:21,
                                                                                      G
                                      forfeit [1] - 132:25                                                13:16, 14:17, 15:15, 16:6
    8:23, 9:4, 9:5, 9:7, 9:23,        forged [4] - 60:21, 64:13,       gain [1] - 119:3                  handed [1] - 139:19
    10:16, 12:9, 15:12, 15:13,          64:18, 81:22                   gained [3] - 81:7, 81:9, 81:13    handle [1] - 28:12
    16:3, 16:8, 16:9, 16:10,          forging [3] - 57:6, 57:10,       GARY [1] - 1:3                    handles [1] - 25:12
    16:20, 19:16, 19:20, 20:9,          61:22                                                            handwritten [1] - 67:16
                                                                       general [1] - 90:13
    22:4, 53:20, 54:12, 55:9,                                                                            hard [4] - 87:24, 108:10,
                                      forgotten [1] - 118:15           generalized [1] - 77:8
    55:15, 55:22, 57:2, 60:22,                                                                            123:25, 124:2
                                      form [40] - 41:7, 41:8, 42:2,    generally [5] - 34:22, 40:19,
    60:25, 62:4, 64:14, 64:15,                                                                           harmonized [12] - 52:25,
                                        47:2, 49:10, 49:22, 50:20,      72:15, 72:17, 118:19
    64:18, 81:23, 112:11,                                                                                 53:4, 53:15, 53:16, 53:19,
                                        50:24, 51:7, 52:14, 59:12,     generates [1] - 48:9
    112:15, 116:15, 122:23,                                                                               54:2, 60:23, 62:10, 111:4,
                                        62:7, 64:6, 64:24, 68:2,       gentleman [1] - 116:18
    123:16, 123:17, 131:21                                                                                111:19, 111:23, 120:7
                                        74:19, 74:21, 82:13, 92:8,     gentlemen [12] - 59:8, 75:8,
  five [16] - 17:15, 30:3, 43:5,                                                                         head [2] - 5:10, 57:20
                                        99:16, 107:11, 110:8,           91:22, 95:5, 108:23, 113:4,
    69:1, 83:19, 89:1, 94:5,                                                                             header [13] - 10:10, 12:6,
                                        110:11, 110:15, 110:17,         117:7, 117:25, 120:24,
    94:10, 94:16, 94:19, 96:1,                                                                            12:19, 12:20, 12:25, 13:9,
                                        110:21, 110:24, 111:2,          127:13, 141:3, 142:6
    105:20, 122:19, 124:5,                                                                                48:21, 48:22, 52:16, 52:18,
                                        111:17, 111:25, 112:6,         geographic [1] - 24:1
    130:18                                                                                                54:21, 54:24
                                        113:5, 114:3, 114:25,          geometry [2] - 6:7, 9:2
  five-minute [4] - 94:5, 94:10,                                                                         heading [1] - 54:11
                                        115:6, 138:4, 138:6, 140:3,    given [10] - 20:9, 75:11,
    94:19, 96:1                         140:14                          93:12, 93:13, 93:14,             headquarters [3] - 24:5,
  flag [2] - 109:8, 126:21            formal [9] - 38:14, 83:10,                                          29:25, 36:11
                                                                        104:24, 129:19, 129:21,
  flagged [1] - 46:15                   83:23, 84:6, 84:10, 84:11,                                       heads [1] - 9:24
                                                                        131:3, 131:9
  flange [1] - 56:13                    84:22, 85:1, 124:11                                              hear [6] - 7:3, 94:18, 95:22,
                                                                       goal [1] - 37:13
  flanges [3] - 56:13, 56:15,         formally [1] - 82:13                                                127:8, 130:14, 136:19
                                                                       good-faith [2] - 110:24,
    56:21                             formed [1] - 19:14                                                 heard [40] - 28:20, 77:1,
                                                                        119:21
  FLOOR [1] - 1:24                    former [1] - 119:9                                                  95:6, 96:11, 96:18, 98:11,
                                                                       goods [1] - 38:17




                                         UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    576 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          692Trial Page 155 of 166
                                                                                154

   101:15, 101:20, 102:13,          40:12                             125:21, 126:13                   5:10, 5:24, 6:2, 6:6, 6:9,
   102:17, 106:2, 106:6,           HTS [27] - 39:21, 42:20, 45:5,   importer's [1] - 20:21             6:11, 7:17, 7:20, 8:22,
   106:7, 106:8, 107:2, 107:5,      45:7, 45:12, 46:6, 47:5,        importers [6] - 98:15, 98:16,      8:25, 10:2, 10:14, 10:15,
   107:10, 108:2, 110:22,           47:13, 47:15, 47:16, 47:23,       123:19, 123:22, 125:14,          10:17, 16:22, 16:23, 18:14,
   111:5, 111:11, 111:24,           51:1, 52:7, 52:9, 52:25,          127:1                            18:15, 18:17, 18:19, 18:20,
   115:21, 115:25, 118:11,          54:6, 62:5, 66:15, 72:8,        importing [12] - 17:21,            18:22, 18:25, 41:18, 41:21,
   118:12, 120:11, 121:10,          73:6, 74:2, 102:19, 111:3,        17:24, 21:11, 62:17, 96:21,      124:16
   122:8, 122:25, 123:1,            112:5, 113:10, 113:11             99:4, 99:11, 100:5, 103:22,    influence [3] - 101:3, 101:7,
   123:2, 123:9, 123:20,           hypotheticals [2] - 22:15,         115:8, 116:5, 116:17             133:10
   124:7, 124:13, 127:14,           22:16                           imports [24] - 24:11, 24:14,     influenced [2] - 127:23,
   129:9, 129:14, 131:2                                               24:17, 25:1, 25:10, 26:4,        129:1
  heat [1] - 6:16                                 I                   26:13, 26:22, 36:9, 62:20,     influencing [2] - 101:3,
  heavily [1] - 120:9                                                 69:4, 70:1, 70:6, 70:20,         133:11
  held [4] - 25:20, 25:22,         idea [2] - 19:15, 21:22            70:22, 83:12, 84:5, 84:7,      information [14] - 29:21,
   25:24, 71:7                     identification [1] - 13:22         84:9, 86:24, 87:2, 88:10,        44:10, 74:14, 107:7,
  help [7] - 18:19, 18:22, 37:5,   identified [9] - 7:2, 11:14,       113:20, 115:12                   111:10, 111:13, 119:10,
   88:3, 95:19, 128:19,              18:18, 33:7, 36:25, 71:18,     impose [3] - 101:7, 102:1,         132:21, 133:16, 133:18,
   131:16                            71:22, 77:3, 78:13               119:4                            133:20, 135:20, 136:20,
  helpful [3] - 80:10, 80:15,      identifies [3] - 12:2, 15:14,    imposed [3] - 105:7, 124:9,        136:25
   93:15                             77:10                            124:17                         Inge [10] - 25:21, 27:24,
  helping [1] - 81:15              identify [2] - 9:8, 34:16        impression [1] - 117:13            70:11, 72:10, 79:24, 84:15,
  helps [1] - 112:15               ignorance [8] - 102:9,           improper [3] - 22:9, 124:24,       84:18, 87:22, 126:4
  HENDY [1] - 2:3                    105:13, 105:14, 105:18,          128:25                         inherited [1] - 47:16
  henhouse [1] - 123:22              107:16, 125:10, 132:22,        improve [3] - 37:13, 37:14,      initial [2] - 20:23
  HEREBY [1] - 144:2                 133:17                           79:6                           inland [1] - 26:20
  high [1] - 57:14                 ignorant [1] - 106:4             IN [3] - 2:10, 144:3, 144:6      inquire [1] - 23:7
  highlight [3] - 48:20, 55:21,    ignore [1] - 130:6               in-house [2] - 36:10, 85:1       inquiries [1] - 108:12
   56:5                            ignored [1] - 131:22             inappropriate [1] - 117:22       inquiry [2] - 32:9, 105:23
  highlighted [1] - 78:21          imagine [2] - 105:3, 105:4       INC [2] - 1:10, 2:11             inside [1] - 70:23
  hire [2] - 79:10, 79:15          immediately [2] - 107:18,        Inc [2] - 139:25, 140:1          installed [1] - 9:18
  historic [1] - 66:5                137:1                          inches [1] - 122:23              instance [1] - 19:7
  history [1] - 122:12             impartial [1] - 109:13           include [8] - 26:15, 29:1,       instead [2] - 119:4, 121:2
  hold [3] - 5:22, 114:21,         impeachment [2] - 72:22,           41:20, 45:20, 64:14, 111:3,    instincts [1] - 118:20
   138:25                            72:24                            111:17, 114:12                 instruct [13] - 92:3, 93:22,
  hole [3] - 9:18, 14:1, 14:2      implied [1] - 6:5                included [5] - 32:21, 33:23,       93:23, 95:14, 97:18, 100:3,
  home [2] - 142:25, 143:2         import [35] - 18:2, 21:7,          38:23, 40:11, 115:3              100:25, 103:14, 104:14,
  honest [2] - 121:14, 135:15        24:21, 26:2, 26:3, 26:7,       including [7] - 34:2, 77:25,       127:13, 127:16, 133:6,
  Honor [38] - 11:20, 11:23,         27:14, 27:19, 35:14, 38:18,      81:9, 111:14, 114:7,             134:11
   12:3, 12:13, 13:12, 14:3,         42:7, 45:4, 46:4, 69:6,          120:12, 137:25                 instructed [2] - 128:10,
   14:22, 15:22, 22:14, 22:17,       69:8, 69:9, 69:10, 69:11,      inclusion [3] - 110:20,            129:6
   22:21, 22:24, 23:8, 50:12,        69:17, 69:21, 71:9, 71:10,       114:22, 117:21                 instructing [1] - 134:12
   63:5, 63:15, 66:3, 66:6,          71:14, 76:4, 77:6, 82:23,      indentations [1] - 55:14         instruction [6] - 51:10,
   68:13, 72:22, 73:15, 73:20,       84:20, 86:23, 87:1, 90:15,     indents [2] - 55:10, 56:15         52:24, 94:1, 99:19, 113:5,
   73:23, 77:15, 86:14, 88:6,        90:22, 91:9, 103:8, 115:4,     independent [1] - 120:5            125:1
   88:12, 88:15, 89:23, 90:25,       126:3                          INDEX [1] - 3:1                  instructions [25] - 49:23,
   91:15, 91:18, 93:4, 95:25,      import-related [1] - 87:1        India [1] - 41:12                  49:24, 50:11, 51:6, 51:12,
   139:13, 141:16, 141:20,         important [14] - 6:2, 6:4,       indicate [2] - 77:21, 78:2         51:23, 52:2, 53:3, 91:24,
   141:22                            39:4, 61:18, 89:8, 110:15,     indicated [3] - 68:20, 79:6,       93:11, 93:12, 93:13, 93:14,
  honor [3] - 98:13, 109:5,          111:13, 111:22, 126:24,          80:3                             93:16, 93:24, 94:23, 98:24,
   125:13                            126:25, 127:1, 130:25,         indicates [6] - 51:12, 62:25,      113:15, 119:19, 121:21,
  HONORABLE [1] - 1:3                135:9                            78:10, 81:7, 83:9, 126:18        124:25, 127:9, 127:17,
  hope [1] - 113:4                 importantly [1] - 24:17          indication [1] - 112:12            128:2, 135:19
  hopefully [1] - 142:9            importation [1] - 68:10          indiscrepancies [1] - 46:12      insurance [1] - 32:23
  hoping [1] - 22:3                imported [7] - 47:14, 61:6,      individual [2] - 141:10,         INTA [1] - 38:5
  hot [1] - 6:21                     96:9, 104:2, 115:9, 124:19,      141:13                         intend [2] - 41:24, 104:13
  hour [4] - 4:20, 95:14, 137:16     131:19                         individually [1] - 141:8         intended [3] - 11:7, 104:16,
  hourly [2] - 4:19, 4:20          importer [15] - 35:19, 38:16,    Industries [2] - 126:16,           128:19
  hours [1] - 91:24                  44:16, 91:8, 96:9, 96:14,        139:25                         intending [1] - 45:4
  house [2] - 36:10, 85:1            96:20, 98:6, 98:10, 105:23,    INDUSTRIES [1] - 2:3             intensive [5] - 38:19, 39:6,
  Houston [3] - 35:24, 38:24,        105:24, 106:4, 125:9,                                             40:2, 40:14
                                                                    industry [30] - 5:6, 5:7, 5:8,




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    577 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          693Trial Page 156 of 166
                                                                                155

  intent [3] - 104:15, 121:22,       issue [2] - 40:15, 46:20            jump [3] - 46:18, 50:9, 51:15     87:9, 90:6, 102:5, 102:8,
    133:22                           issued [2] - 85:22, 115:20          jumps [3] - 42:3, 42:6, 42:7      105:10, 105:11, 105:12,
  intention [1] - 42:21              issues [3] - 39:23, 76:5,           June [8] - 25:19, 69:4, 69:7,     105:13, 132:20, 132:21,
  intentional [1] - 110:21             135:21                              71:4, 134:5, 134:10,            133:14, 133:16
  intentionally [2] - 109:18,        ITA [1] - 44:3                        140:16                         known [5] - 15:19, 47:2,
    119:17                           item [41] - 41:6, 41:8, 41:18,      Juror [8] - 141:12, 141:15,       123:10, 134:9, 140:16
  interchangeable [1] - 18:16          41:19, 41:22, 41:23, 41:25,         141:17, 141:19, 141:21,        KRAMER [41] - 2:3, 17:12,
  interest [3] - 86:1, 118:6,          42:9, 42:10, 42:15, 44:13,          141:23, 141:25, 142:2           19:13, 20:1, 20:2, 21:23,
    130:17                             46:1, 46:5, 53:18, 55:9,          juror [8] - 134:25, 135:1,        22:10, 22:14, 22:17, 53:8,
  interesting [1] - 142:10             55:16, 55:25, 56:13, 57:2,          136:21, 136:24, 139:9,          63:5, 63:15, 64:1, 65:9,
  internal [5] - 29:6, 29:7, 33:9,     57:8, 57:19, 57:20, 57:21,          140:14, 141:1, 141:8            66:3, 68:17, 72:22, 72:25,
    35:13, 35:16                       58:3, 58:6, 58:7, 62:1,           JUROR [8] - 141:14, 141:16,       73:1, 73:13, 73:19, 73:23,
  International [1] - 139:25           66:17, 67:7, 68:1, 68:3,            141:18, 141:20, 141:22,         73:25, 75:15, 77:17, 80:21,
  INTERNATIONAL [2] - 1:10,            68:4, 68:5, 68:6, 89:9,             141:24, 142:1, 142:3            81:5, 86:14, 88:12, 89:23,
    2:10                               107:10                            jurors [14] - 59:19, 92:16,       91:2, 91:4, 91:15, 91:20,
  internet [2] - 136:9, 136:13       item's [2] - 34:1, 77:24              95:4, 135:4, 135:8, 135:14,     94:13, 95:25, 96:3, 96:6,
  interpret [2] - 95:19, 128:19      items [16] - 32:20, 33:25,            135:23, 136:18, 142:13,         105:21, 120:24, 124:6
  interpretation [1] - 113:16          34:12, 37:1, 37:25, 39:16,          142:14, 142:17, 142:18,        Kramer [9] - 86:19, 87:18,
  interrogatory [3] - 106:19,          56:22, 57:22, 59:5, 73:5,           142:23, 142:25                  87:24, 89:16, 110:6,
    106:22, 106:25                     77:24, 78:17, 78:18, 78:19,       JURY [5] - 1:17, 139:10,          115:22, 116:25, 117:12,
  interrupt [1] - 94:7                 78:24                               139:13, 139:16, 141:5           118:7
  introduced [2] - 89:18,            itself [1] - 8:14                   Jury [1] - 143:11
    137:22                                                               jury [43] - 4:4, 4:6, 29:23,                   L
  introducing [2] - 12:1, 90:3                       J                     59:13, 59:17, 60:1, 60:3,
                                                                           65:20, 75:9, 75:11, 75:13,     L.A [2] - 38:24, 40:12
  investigation [10] - 21:19,
                                     jail [1] - 97:16                      91:12, 91:24, 92:4, 92:10,     lack [2] - 53:8, 65:9
    44:14, 44:15, 63:4, 82:3,
                                     James [2] - 55:11, 56:14              92:15, 95:2, 95:4, 97:11,      ladies [12] - 59:8, 75:8,
    119:8, 124:11, 124:22,
                                     Jeff [1] - 25:17                      100:10, 108:24, 109:2,           91:22, 95:5, 108:23, 113:4,
    136:10
                                     jeopardizes [1] - 136:22              109:8, 127:17, 134:25,           117:7, 117:25, 120:24,
  investigators [1] - 29:24
                                     Jersey [3] - 24:5, 24:6, 24:7         135:2, 136:5, 137:5, 137:7,      127:13, 141:3, 142:6
  invoice [20] - 26:15, 30:16,
                                     Jim [1] - 36:9                        138:1, 138:10, 138:17,         lading [7] - 26:16, 39:11,
    39:11, 49:1, 65:2, 65:7,
                                     job [8] - 27:2, 28:13, 28:14,         138:18, 139:8, 140:3,            48:23, 49:1, 99:17, 111:12,
    65:15, 66:2, 66:15, 67:2,
                                       43:20, 84:16, 87:7, 123:19          140:4, 141:3, 141:6, 141:8,      111:15
    67:9, 67:11, 67:12, 67:18,
                                     jobs [1] - 125:15                     142:17, 142:23                 ladings [1] - 30:17
    67:20, 68:1, 68:8, 111:11,
                                     join [3] - 5:16, 8:8, 15:7          Justice [1] - 106:22             laid [3] - 35:19, 66:6, 125:6
    114:8, 114:19
                                     joined [6] - 7:6, 8:11, 8:16,                                        landed [2] - 26:19, 30:19
  invoices [1] - 30:19
                                       8:19, 11:7, 15:10                               K                  LANE [1] - 2:11
  involved [9] - 25:7, 29:4,
                                     joining [3] - 6:15, 6:17, 80:4                                       language [4] - 37:16, 79:17,
    29:5, 29:7, 76:8, 76:12,
                                     joins [2] - 10:9, 12:20             keep [7] - 6:22, 18:22, 44:6,      110:18, 111:6
    76:16, 136:2, 136:16
                                     joint [13] - 7:2, 7:4, 7:5, 7:10,    86:1, 103:10, 125:19            lap [2] - 7:10, 120:1
  involvement [1] - 28:23
                                       7:12, 7:13, 8:15, 10:11,          keeping [1] - 102:18             laps [1] - 7:10
  involves [1] - 135:21
                                       10:13, 12:21, 12:22, 12:23        Kelli [3] - 44:1, 87:25, 98:11   largest [1] - 79:13
  iron [9] - 39:20, 41:16, 54:4,
                                     joints [11] - 7:8, 7:9, 7:10,       Kelly [1] - 87:24                last [9] - 20:12, 23:4, 34:20,
    55:4, 55:7, 57:7, 57:18,
    60:25, 61:1                        7:11, 7:14, 8:4, 8:20, 9:11,      KELLY [1] - 2:3                    37:3, 38:2, 58:6, 93:10,
  IS [1] - 144:2                       9:12                              kind [7] - 9:21, 48:11,            108:13, 127:3
                                     judge [8] - 93:22, 97:17,            105:22, 106:15, 110:18,         Lau [1] - 4:16
  ISF [1] - 89:5
                                       100:3, 100:24, 102:2,              112:8, 113:2                    LAU [27] - 2:11, 4:14, 11:15,
  ISLAND [1] - 2:3
                                       103:13, 104:14                    kinds [2] - 7:1, 129:18            11:20, 11:23, 11:25, 12:2,
  Island [24] - 97:6, 97:24,
                                     JUDGE [1] - 1:3                     Klausner [6] - 97:11, 98:23,       12:4, 12:13, 12:17, 13:2,
    98:1, 99:13, 106:19,
                                     Judge [9] - 94:15, 97:10,            104:25, 108:23, 109:7,            13:5, 13:12, 13:16, 13:18,
    113:23, 114:15, 118:12,
                                       98:22, 104:24, 108:23,             120:22                            14:3, 14:7, 14:17, 14:19,
    118:13, 118:19, 118:22,
                                       109:6, 119:19, 120:22,            KLAUSNER [1] - 1:3                 14:22, 15:2, 15:15, 15:17,
    118:23, 118:24, 119:8,
                                       121:20                            Klausner's [2] - 119:19,           15:22, 16:1, 17:9, 22:21
    119:12, 123:18, 124:18,
                                     judged [1] - 131:6                   121:21                          Law [1] - 97:13
    124:24, 125:4, 126:10,
    126:16, 126:25, 131:18,          judges [2] - 96:11, 96:18           knowing [2] - 110:21, 114:23     law [16] - 63:24, 92:3, 94:22,
    139:24                           judgment [1] - 119:15               knowingly [6] - 109:18,            95:15, 97:17, 119:22,
  Island's [8] - 97:2, 104:10,       judgments [1] - 120:5                115:18, 132:4, 132:5,             120:4, 120:15, 127:14,
                                     JUDICIAL [1] - 144:7                 132:13, 140:8                     127:16, 127:20, 127:21,
    108:20, 110:19, 118:2,
                                     judicial [1] - 109:9                knowledge [18] - 53:9,             129:18, 131:11, 134:5,
    118:3, 119:13, 125:1
                                     July [2] - 61:8, 140:18              53:11, 65:14, 66:5, 66:7,         136:16
  isolated [1] - 99:12




                                        UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    578 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          694Trial Page 157 of 166
                                                                                156

  laws [4] - 18:2, 34:1, 77:25,        128:15                           82:20, 82:24, 83:2, 83:16,      media [1] - 136:2
    91:9                             listed [7] - 37:25, 44:19,         83:25, 84:1, 90:12, 90:13,      meet [4] - 46:10, 46:11,
  lawsuit [4] - 71:1, 71:3,            49:2, 49:6, 49:24, 53:14,        90:17, 90:23, 106:11             47:21
    119:10, 134:6                      53:16                           manuals [4] - 90:14, 90:17,      meeting [1] - 27:7
  lawyer [3] - 129:23, 129:24,       listened [1] - 135:8               90:22, 108:9                    meets [2] - 48:5, 61:25
    130:1                            litigants [1] - 109:11            manufactured [1] - 10:20         member [7] - 7:9, 7:10, 7:11,
  lawyers [3] - 128:9, 128:17,       litigation [1] - 21:15            manufacturer [1] - 124:18         16:23, 137:4, 137:6
    136:17                           lives [2] - 109:1, 109:4          manufacturers [3] - 21:1,        members [7] - 4:6, 9:11,
  lay [1] - 65:11                    LLP [2] - 2:4, 2:12                21:4, 124:3                      9:12, 60:3, 68:23, 134:25,
  lays [1] - 104:1                   location [1] - 24:1               Manufacturers [1] - 10:6          136:2
  lead [2] - 36:10, 143:5            locations [1] - 49:23             Marcus [1] - 25:17               memorialized [1] - 82:13
  learn [1] - 136:11                 logistics [3] - 24:11, 24:15,     margin [1] - 43:6                memory [4] - 95:22, 96:12,
  learned [1] - 21:19                  25:11                           mark [1] - 100:8                  128:22, 130:15
  least [3] - 62:25, 79:19,          longest [1] - 30:1                marked [1] - 11:24               mention [3] - 36:22, 59:20,
    138:20                           look [32] - 8:15, 10:12, 10:13,   marking [1] - 11:2                104:12
  leave [7] - 27:25, 28:1, 28:2,       10:22, 11:8, 11:9, 12:21,       markings [1] - 13:22             mentioned [18] - 7:20, 42:7,
    28:11, 28:14, 59:14, 94:4          38:4, 38:17, 40:11, 44:10,      mask [1] - 5:1                    44:3, 44:8, 58:12, 62:6,
  leaves [4] - 28:4, 32:25,            45:3, 45:5, 48:25, 72:21,       match [8] - 5:14, 11:12, 17:3,    62:7, 75:16, 78:17, 79:2,
    72:10, 107:3                       77:5, 77:13, 78:7, 78:9,         39:19, 50:6, 57:22, 57:25,       80:7, 80:8, 81:21, 84:2,
  ledger [1] - 97:25                   78:11, 79:17, 79:18, 79:19,      67:7                             84:4, 90:12, 97:11, 115:22
  left [10] - 59:19, 59:21, 59:22,     79:22, 83:8, 87:16, 102:24,     matches [8] - 5:13, 8:14,        mentions [4] - 61:16, 61:20,
    60:7, 65:8, 67:3, 86:15,           122:15, 124:1, 124:25,           11:6, 39:20, 39:21, 46:9,        77:23, 77:25
    92:17, 117:8, 138:18               125:3, 125:20                    67:19                           merchandise [3] - 48:21,
  legal [3] - 98:10, 98:16,          looked [10] - 30:17, 30:18,       material [24] - 5:16, 38:21,      51:21, 122:22
    123:23                             49:22, 78:18, 79:5, 79:23,       39:20, 41:15, 42:6, 42:23,      merits [1] - 135:25
  length [1] - 98:12                   106:23, 106:24, 107:22           44:9, 46:4, 47:22, 56:6,        met [1] - 87:3
  lengthy [1] - 45:21                looking [11] - 14:8, 30:6,         56:7, 56:8, 57:18, 83:6,        metal [1] - 6:20
  less [1] - 6:5                       30:23, 39:25, 41:12, 45:7,       101:2, 102:4, 104:17,           method [1] - 6:15
  LESS [1] - 144:5                     50:18, 52:14, 61:17, 67:20,      105:3, 122:1, 126:19,           methodology [1] - 32:8
  lessen [1] - 36:24                   87:6                             132:18, 133:10, 136:10,         might [13] - 6:22, 16:11,
  letter [12] - 31:25, 36:8,         looks [1] - 103:11                 137:21                           43:6, 57:14, 76:13, 76:17,
    36:13, 36:14, 36:25, 37:25,      lookup [1] - 45:7                 materiality [2] - 100:25,         79:9, 101:6, 115:16,
    38:3, 61:7, 79:2, 79:5,          loop [1] - 113:2                   133:9                            118:11, 119:4, 130:7,
    80:17, 87:13                     LOS [4] - 1:18, 1:24, 2:5, 4:1    materially [1] - 108:17           137:17
  level [2] - 45:8, 124:8            lose [1] - 96:25                  materials [6] - 6:15, 6:17,      mill [1] - 26:17
  LEWIS [1] - 2:10                   LUCIUS [1] - 2:11                  7:4, 7:6, 8:16, 8:18            million [7] - 97:1, 104:6,
  liability [3] - 40:9, 71:20,       lunch [2] - 91:23, 92:11          maternity [7] - 27:25, 28:1,      108:16, 119:4, 120:25,
    104:18                                                              28:2, 28:4, 28:11, 28:14,        122:2, 126:22
  liable [1] - 132:15                              M                    72:10                           millions [1] - 96:9
  liberty [1] - 97:16                                                  math [2] - 104:1, 126:23         mind [3] - 16:5, 105:6, 118:1
  license [2] - 54:14, 79:24         ma'am [2] - 4:11, 80:22           MATTER [1] - 144:4               minimum [1] - 105:16
  licensed [8] - 49:12, 64:5,        machined [2] - 57:5, 57:9         matter [8] - 59:12, 92:9,        minute [6] - 94:5, 94:10,
    79:10, 79:20, 87:19, 88:8,       machining [1] - 14:15              97:15, 98:16, 100:25,            94:19, 96:1, 118:19, 127:4
    88:19, 120:11                    maiden [1] - 70:13                 117:17, 128:5, 136:6            minutes [14] - 59:10, 59:21,
  lied [1] - 96:20                   mail [3] - 106:13, 125:24,        MAYER [1] - 2:4                   59:22, 86:15, 93:18, 94:2,
  life [1] - 56:17                    126:1                            mean [10] - 35:17, 38:19,         94:11, 94:16, 94:17, 94:24,
  light [1] - 130:20                 mails [2] - 107:4, 107:6           60:20, 74:4, 86:3, 100:4,        138:23, 139:1
  likely [1] - 93:17                 main [1] - 10:9                    101:12, 125:9, 125:10,          Miriam [1] - 144:9
  limited [2] - 129:6, 129:7         maintained [2] - 28:6, 74:16       134:13                          MIRIAM [2] - 1:23, 144:10
  line [22] - 46:2, 47:9, 55:12,     major [2] - 38:19, 89:7           meaning [2] - 19:20, 39:20       mislead [3] - 64:7, 95:21,
    55:23, 56:15, 66:16, 67:7,       majority [2] - 8:2, 142:24        meaningful [1] - 126:12           104:13
    68:1, 68:2, 68:3, 70:20,         management [1] - 43:18            means [14] - 26:6, 63:19,        misrepresentations [1] -
    72:21, 73:11, 73:16, 74:24,      manager [9] - 24:11, 26:2,         97:7, 97:21, 98:1, 102:7,        96:24
    112:3, 112:12, 115:10,            26:3, 27:15, 27:18, 36:9,         103:10, 112:12, 112:14,         misstatement [1] - 105:15
    115:24, 115:25, 118:16            69:6, 82:23, 87:2                 114:23, 125:14, 127:24,         misstatements [1] - 99:3
  line-item [1] - 68:1               managers [1] - 86:23               132:8, 141:8                    mistake [2] - 5:22, 99:13
  lines [3] - 70:8, 73:13, 118:9     mandated [1] - 121:12             meant [1] - 30:16                mistrial [1] - 136:23
  links [1] - 48:6                   manner [1] - 130:16               measure [2] - 134:12, 134:18     Mitchell [2] - 100:13, 126:5
  list [7] - 11:17, 26:16, 30:17,    manual [19] - 69:17, 82:9,        Mechanical [1] - 7:24            MITCHELL [1] - 2:3
    37:23, 39:12, 99:17,              82:11, 82:13, 82:14, 82:17,      mechanics [1] - 19:25            modify [1] - 93:23




                                        UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    579 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          695Trial Page 158 of 166
                                                                                157

  moment [4] - 97:6, 112:10,        95:25, 96:3, 96:6, 105:21,      nipples [2] - 57:19, 111:6        130:5
   115:22, 116:25                   108:23, 118:18, 120:24,         NIR [7] - 41:5, 41:14, 41:15,    objections [1] - 128:23
  monetize [1] - 103:2              124:6, 127:11                    45:24, 90:5, 107:11             objective [2] - 32:8, 86:1
  money [6] - 101:4, 103:4,        multi [2] - 31:9, 114:3          NO [8] - 141:14, 141:16,         objects [1] - 137:23
   132:14, 132:25, 133:11,         multi-page [2] - 31:9, 114:3      141:18, 141:20, 141:22,         obligated [1] - 105:25
   140:9                           multiple [5] - 44:1, 51:1,        141:24, 142:1, 142:3            obligation [4] - 123:23,
  months [2] - 28:15, 30:3          65:17, 67:21, 77:4              no-brainer [1] - 105:9            132:13, 140:8, 142:7
  morning [5] - 4:15, 4:16,        multitude [1] - 39:25            nobody [1] - 100:8               obligations [3] - 98:11,
   68:18, 68:19, 93:10             must [25] - 26:8, 42:16,         non [4] - 57:7, 57:18, 58:7,      98:16, 142:8
  most [13] - 9:1, 9:22, 23:12,     57:25, 83:12, 90:19,             61:1                            observing [1] - 23:14
   24:20, 40:1, 43:14, 44:20,       127:21, 127:23, 127:25,         non-alloy [4] - 57:7, 57:18,     obviously [1] - 88:25
   80:10, 80:15, 93:17, 110:7,      129:4, 129:7, 130:6, 132:8,      58:7, 61:1                      occasions [4] - 108:18,
   111:22, 126:2                    132:15, 133:13, 133:23,         none [3] - 83:23, 130:11          109:1, 113:21, 126:20
  motion [4] - 92:18, 92:25,        133:25, 134:7, 134:15,          normal [1] - 47:19               occurred [1] - 134:4
   93:1, 143:17                     134:22, 135:5, 135:18,          normally [1] - 73:17             ocean [1] - 26:19
  motions [2] - 93:6, 143:15        135:20, 136:5                   note [11] - 37:2, 37:4, 42:10,   OCTOBER [2] - 1:19, 4:1
  motivated [1] - 118:20           MVB11893@aol.com [1] -            42:14, 43:11, 43:15, 112:3,     October [1] - 141:1
  motivation [1] - 118:3            1:25                             112:8, 112:11, 137:3,           OF [8] - 1:2, 1:4, 1:16, 2:10,
  motivations [1] - 119:14                                           139:11                           111:6, 144:3, 144:7
  mouth [1] - 107:23                             N                  notes [1] - 42:19                offered [2] - 21:24, 121:2
  move [16] - 12:14, 13:12,                                         nothing [11] - 68:13, 86:14,     offers [1] - 129:24
   14:4, 14:22, 15:22, 42:17,      nail [1] - 111:20                 91:15, 91:20, 103:21,           office [3] - 6:19, 30:2, 35:23
   50:12, 56:1, 56:13, 56:23,      name [6] - 11:2, 23:3, 23:4,      104:23, 104:24, 106:14,         officers [2] - 131:13, 131:15
   57:3, 57:6, 57:11, 73:23,        70:12, 70:13, 138:14             123:6                           OFFICIAL [2] - 1:23, 144:10
   98:3, 104:19                    names [1] - 6:25                 notice [1] - 125:20              officials [1] - 35:20
  moved [7] - 56:20, 69:4,         narratives [1] - 65:22           notified [1] - 71:19             often [3] - 40:1, 44:5, 90:23
   70:22, 70:25, 71:4, 84:5,       narrow [1] - 44:4                notify [3] - 33:1, 46:15,        on-the-ground [1] - 84:14
   84:20                           national [1] - 120:13             136:25                          on-the-job [1] - 84:16
  moving [2] - 73:20, 84:9         natural [2] - 101:2, 133:10      notion [1] - 114:23              once [5] - 37:22, 42:4, 42:7,
  MR [132] - 4:14, 11:15, 11:20,   nature [2] - 25:13, 39:13        notwithstanding [1] - 20:7        89:2
   11:23, 11:25, 12:2, 12:4,       nearly [2] - 99:15, 106:5        Number [7] - 10:20, 10:21,       one [99] - 5:22, 5:25, 6:17,
   12:13, 12:17, 13:2, 13:5,       necessarily [2] - 89:20,          131:22, 140:2, 140:6,            7:8, 7:10, 7:11, 9:8, 10:17,
   13:12, 13:16, 13:18, 14:3,       130:24                           140:15, 140:23                   10:20, 11:6, 16:6, 18:8,
   14:7, 14:17, 14:19, 14:22,      necessary [2] - 133:21,          number [30] - 7:22, 9:1,          20:12, 22:2, 23:18, 25:8,
   15:2, 15:15, 15:17, 15:22,       137:2                            41:24, 47:25, 49:1, 49:2,        25:12, 25:13, 25:14, 27:22,
   16:1, 17:9, 17:12, 19:13,       need [11] - 26:14, 27:3, 33:1,    49:3, 52:6, 58:17, 59:4,         27:25, 28:1, 28:5, 29:18,
   20:1, 20:2, 21:23, 22:10,        38:17, 45:6, 52:2, 53:15,        67:12, 68:5, 86:1, 99:9,         31:2, 35:23, 36:9, 42:5,
   22:14, 22:17, 22:21, 22:24,      53:17, 84:21, 124:2,             104:20, 111:12, 113:9,           44:2, 44:21, 45:20, 45:22,
   23:8, 23:10, 31:5, 31:8,         125:15                           130:13, 130:15, 130:16,          46:19, 47:9, 56:12, 57:7,
   31:20, 31:22, 33:15, 33:17,     needed [9] - 27:1, 27:5, 28:9,    130:17, 130:18, 130:24,          57:22, 58:4, 58:18, 59:4,
   36:4, 36:6, 37:8, 37:15,         29:13, 29:19, 29:20, 30:13,      131:18, 133:15, 133:16,          61:23, 63:1, 63:3, 65:8,
   46:21, 46:23, 50:8, 50:15,       30:22, 108:6                     133:18, 139:9                    66:16, 67:3, 67:6, 76:15,
   50:17, 50:21, 50:23, 51:15,     net [2] - 45:10, 45:11           number-one [1] - 86:1             78:18, 79:9, 79:13, 79:19,
   51:18, 53:8, 53:23, 53:25,      never [16] - 5:22, 11:18,        numbers [3] - 47:24, 68:6,        80:15, 80:16, 80:18, 80:19,
   54:19, 56:2, 56:16, 58:21,       17:20, 17:23, 18:11, 21:15,      77:19                            85:11, 85:15, 85:17, 86:1,
   58:23, 60:6, 61:9, 61:13,        57:3, 72:18, 79:12, 79:23,      numerous [1] - 46:16              86:3, 87:18, 88:9, 95:12,
   63:5, 63:7, 63:15, 63:21,        96:17, 106:1, 113:17,           nut [3] - 5:12, 5:13, 5:17        97:16, 98:22, 99:1, 99:9,
   64:1, 64:4, 64:10, 64:23,        124:18, 125:21, 125:23          nuts [1] - 6:7                    100:2, 100:24, 101:21,
   64:25, 65:9, 65:13, 65:25,      new [7] - 41:6, 41:8, 41:9,      NW [1] - 2:12                     102:19, 103:21, 104:12,
   66:3, 66:6, 66:12, 66:22,        46:1, 83:11, 107:10                                               105:11, 106:13, 106:21,
   66:25, 68:13, 68:17, 72:22,     New [3] - 24:5, 24:6, 24:8
   72:25, 73:1, 73:11, 73:13,
                                                                                  O                   106:23, 107:21, 108:13,
                                   next [22] - 22:25, 32:3, 32:5,                                     109:3, 110:11, 112:7,
   73:15, 73:19, 73:23, 73:25,      33:13, 37:11, 42:6, 51:2,       o'clock [2] - 59:9, 143:18        115:15, 116:20, 129:16,
   75:15, 77:15, 77:17, 80:21,      55:17, 55:18, 56:1, 56:8,       oath [3] - 4:10, 75:10, 128:1     130:13, 131:19, 133:15,
   81:5, 86:14, 86:18, 88:5,        56:23, 57:7, 63:20, 88:1,       object [4] - 66:3, 88:12,         134:25, 137:4, 140:11,
   88:7, 88:12, 88:15, 88:17,       89:11, 89:25, 92:21, 97:4,       128:24, 130:1                    141:4, 142:12, 142:15
   89:12, 89:23, 90:1, 90:11,       100:24, 140:12, 140:21          objected [1] - 66:19             one's [1] - 97:15
   90:24, 91:2, 91:4, 91:15,       night [1] - 93:10                objection [11] - 50:10, 53:8,    ones [2] - 30:13, 40:1
   91:18, 91:20, 92:23, 92:25,     nine [1] - 83:17                  63:5, 63:15, 63:19, 64:1,       ongoing [1] - 44:14
   93:4, 93:8, 94:13, 94:19,       NIP [1] - 50:2                    65:9, 129:1, 130:2, 130:4,      Online [1] - 116:8




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    580 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          696Trial Page 159 of 166
                                                                                158

  ons [2] - 39:12, 42:12             16:9, 16:10, 16:16, 17:6,       50:22, 51:2, 51:3, 51:6,           87:1, 108:7, 108:16, 132:5,
  oOo [1] - 143:23                   17:8, 45:1, 45:2, 60:22,        51:9, 51:10, 51:16, 51:17,         132:14, 140:9
  Open [6] - 4:4, 59:17, 60:1,       61:11, 61:25, 67:22,            51:19, 53:24, 54:8, 54:9,         payable [14] - 25:9, 26:3,
   92:15, 95:2, 139:8                101:21, 103:1, 112:25,          54:13, 54:17, 54:19, 55:15,        26:8, 26:13, 27:13, 65:19,
  open [4] - 15:5, 39:16, 39:22,     116:21, 121:15, 121:16          55:17, 55:18, 55:19, 56:1,         69:10, 71:7, 71:10, 71:16,
   137:8                            outlets [52] - 9:13, 10:3,       56:3, 56:23, 56:24, 57:17,         72:7, 73:4, 74:1, 86:23
  opening [7] - 61:23, 94:3,         10:6, 10:8, 10:15, 16:3,        58:4, 60:12, 65:1, 65:6,          paying [7] - 22:3, 26:9,
   102:6, 118:8, 123:9,              16:7, 16:19, 16:24, 19:19,      66:14, 67:3, 67:20, 67:24,         32:20, 34:17, 43:7, 96:10,
   125:18, 128:18                    20:8, 21:1, 21:4, 38:23,        69:15, 72:21, 73:11, 73:13,        118:25
  operating [1] - 88:24              40:3, 47:16, 53:6, 53:7,        74:24, 77:11, 77:12, 77:13,       payment [3] - 26:12, 101:3,
  operation [2] - 45:16, 70:1        53:14, 53:19, 54:15, 55:2,      77:15, 78:9, 78:19, 83:8,          133:11
  operations [2] - 69:21, 79:7       58:18, 62:3, 68:9, 98:7,        111:22, 112:7, 113:3,             pays [1] - 25:9
  opinion [15] - 4:23, 19:14,        99:23, 100:1, 100:21,           114:3, 114:5, 114:7               pending [1] - 89:10
   20:14, 20:18, 20:22, 20:25,       101:16, 102:14, 102:22,        pages [9] - 31:24, 65:2, 65:5,     penny [1] - 103:21
   21:3, 21:25, 22:5, 125:25,        103:5, 103:23, 106:21,          65:15, 66:1, 66:20, 66:21,        people [13] - 6:11, 95:22,
   128:3, 131:4, 131:6,              107:1, 112:15, 113:20,          67:2, 118:16                       102:13, 109:24, 115:15,
   131:10, 135:12                    114:18, 114:19, 115:2,         paid [5] - 17:14, 17:17,            123:23, 125:5, 126:2,
  opinions [6] - 4:21, 59:12,        116:10, 116:13, 116:14,         103:20, 103:24, 104:6              126:3, 126:7, 136:2,
   92:8, 127:24, 131:3               118:13, 118:22, 123:15,        paper [5] - 41:7, 42:2, 84:24,      136:16, 142:18
  opportunity [5] - 37:13, 41:9,     123:17, 131:19, 131:23,         96:23, 106:13                     People's [1] - 131:21
   92:2, 95:9, 130:13                133:3, 133:7                   paperwork [5] - 39:9, 39:19,       percent [9] - 22:3, 43:5, 43:9,
  option [3] - 56:9, 58:6, 58:8     outline [1] - 90:14              39:20, 40:16, 103:8                43:14, 61:3, 104:4, 124:14,
  orally [1] - 92:22                outlined [3] - 24:19, 30:7,     paragraph [7] - 37:3, 52:1,         124:15
  orange [1] - 100:6                 84:11                           60:18, 61:9, 61:20, 112:24        perfect [1] - 73:19
  order [36] - 5:12, 16:20, 18:9,   outlines [1] - 83:16            part [20] - 32:12, 39:8, 41:14,    perfectly [2] - 97:24, 111:16
   19:20, 20:9, 27:1, 33:7,         outright [1] - 96:20             51:3, 51:19, 52:14, 54:3,         perform [1] - 40:2
   42:17, 62:11, 64:6, 64:14,       outside [18] - 5:15, 9:16,       67:24, 67:25, 68:9, 69:11,        performance [1] - 34:21
   64:17, 64:19, 67:8, 67:10,        9:17, 9:19, 10:12, 11:6,        69:14, 69:17, 74:8, 74:10,        performed [1] - 131:15
   68:4, 68:7, 112:17, 115:3,        11:12, 12:11, 12:12, 17:6,      110:7, 118:11, 119:7,             perhaps [4] - 117:15, 117:24,
   116:24, 117:3, 117:5,             29:6, 45:13, 70:19, 84:22,      119:11, 130:10                     118:14, 119:14
   117:8, 117:10, 117:14,            85:1, 88:8, 120:9, 136:25      participants [1] - 10:15           period [10] - 24:25, 38:11,
   117:17, 122:6, 123:2,            overly [1] - 114:21             participating [1] - 108:25          40:22, 66:7, 72:5, 74:12,
   123:4, 131:20, 131:24,           overrule [1] - 130:2            participation [4] - 142:9,          75:3, 75:5, 110:13, 137:18
   132:1, 133:5, 142:4              overruled [4] - 64:2, 66:9,      143:8, 143:15, 143:21             permanently [3] - 101:22,
  Order [1] - 97:13                  88:14, 89:25                   particular [11] - 13:21, 13:23,     122:12, 122:14
  ordered [1] - 136:6               overseas [1] - 32:24             15:20, 22:13, 29:11, 47:16,       permit [2] - 52:5, 113:8
  orders [14] - 18:5, 18:6,         oversee [2] - 24:13, 24:15       54:3, 85:14, 85:17, 99:19,        permitted [1] - 129:25
   18:12, 19:4, 19:8, 29:15,        overwhelmingly [1] - 119:21      109:14                            perpendicular [1] - 7:11
   30:18, 34:9, 34:12, 44:15,       owed [2] - 116:16, 132:6        particularly [5] - 49:12,          person [11] - 23:18, 24:20,
   62:23, 72:1, 105:25,             owes [2] - 120:25, 140:24        113:3, 117:22, 118:21,             25:8, 28:3, 28:25, 29:8,
   117:20                           own [9] - 29:6, 46:8, 118:25,    142:25                             42:5, 79:19, 87:10, 119:25,
  org [1] - 69:20                    119:15, 120:4, 135:11,         parties [4] - 95:8, 109:12,         131:12
  organization [2] - 37:13,          136:11, 141:10, 141:13          131:17, 136:16                    personal [8] - 27:16, 28:23,
   79:20                                                            party [4] - 23:17, 132:7,           53:8, 53:11, 65:14, 66:5,
  origin [4] - 26:17, 41:24,                      P                  132:11, 134:13                     90:6, 127:23
   44:8, 45:3                                                       pass [5] - 11:22, 31:17, 35:9,     personally [2] - 76:7, 129:14
  originates [1] - 49:7             p.m [4] - 95:1, 139:6, 143:22    35:10, 139:17                     persuaded [1] - 132:8
  origins [1] - 39:13               pack [7] - 39:10, 49:9, 65:6,   passed [5] - 31:16, 31:18,         persuades [1] - 135:13
  otherwise [5] - 40:15, 57:6,       66:2, 67:24, 67:25, 68:10       35:8, 35:10, 35:19                pharmaceutical [1] - 8:1
   57:9, 109:25, 138:2              packet [2] - 114:16, 114:17     passing [1] - 119:14               Philadelphia [2] - 24:8,
  outcome [3] - 109:13,             packing [4] - 26:16, 30:17,     past [1] - 98:7                     35:23
   109:14, 130:17                    39:12, 99:17                   Pat [2] - 25:25, 126:3             phones [1] - 88:10
  outlet [50] - 4:23, 4:24, 8:4,    packs [3] - 30:20, 65:16,       path [1] - 17:7                    phrase [5] - 121:8, 121:11,
   9:14, 9:15, 9:22, 9:23,           65:17                          Patricia [5] - 3:5, 22:25, 23:2,    121:17, 121:19, 122:7
   9:24, 10:9, 10:11, 10:12,        PAGE [1] - 3:2                   23:5, 38:9                        physical [7] - 11:16, 13:3,
   10:18, 10:23, 11:1, 11:2,        page [73] - 31:9, 31:21,        patriotic [1] - 119:3               13:16, 15:15, 15:18,
   11:4, 11:5, 11:8, 11:9,           31:24, 31:25, 32:3, 32:5,      Patty [5] - 38:4, 38:8, 38:9,       137:22, 137:23
   11:11, 11:12, 12:7, 12:8,         32:8, 33:6, 33:14, 34:10,       70:14                             physically [2] - 29:24, 30:2
   12:9, 12:10, 12:19, 12:20,        34:20, 35:5, 36:4, 37:9,       pay [13] - 21:24, 26:4, 33:3,      pick [1] - 29:18
   12:24, 13:9, 13:25, 14:1,         37:10, 37:11, 50:9, 50:18,      36:15, 40:7, 43:14, 71:13,        picking [2] - 99:13, 112:1




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    581 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          697Trial Page 160 of 166
                                                                                159

  piece [9] - 8:8, 9:17, 13:20,      81:6, 87:13, 126:4                14:9, 93:16, 138:4              46:20, 47:15, 62:21, 62:22,
   13:21, 13:23, 13:24, 15:7,       point [33] - 10:22, 11:15,        preponderance [9] - 97:19,       63:2, 72:8, 72:15, 89:17,
   17:4, 106:13                      12:13, 13:2, 13:16, 14:3,         97:21, 132:3, 132:8,            96:10, 96:16, 98:18, 98:19,
  pieces [3] - 5:15, 9:6, 96:23      14:17, 15:15, 24:16, 27:9,        132:16, 134:2, 134:8,           99:5, 99:23, 100:10,
  Pipe [15] - 58:19, 58:20, 59:2,    28:25, 29:8, 33:1, 33:7,          134:17, 140:6                   100:21, 102:15, 102:19,
   59:3, 60:8, 62:2, 62:14,          33:13, 33:14, 33:16, 40:10,      present [8] - 4:4, 38:12,        102:22, 103:2, 104:2,
   112:9, 112:14, 112:18,            85:16, 87:10, 95:5, 98:5,         40:22, 59:17, 60:1, 92:15,      107:14, 107:15, 107:19,
   116:1, 116:2, 116:12,             99:10, 104:12, 114:2,             95:2, 139:8                     107:24, 108:6, 112:25,
   120:8                             115:12, 120:17, 121:11,          presentation [2] - 110:4,        114:9, 114:13, 114:14,
  pipe [89] - 8:5, 8:6, 8:7, 8:8,    122:4, 124:8, 124:20,             118:9                           116:23, 123:11, 123:24
   8:9, 8:11, 8:12, 8:15, 8:17,      125:12                           presented [3] - 112:3, 126:2,   professionalism [1] - 139:3
   8:18, 8:23, 9:4, 9:5, 9:6,       points [2] - 33:24, 112:7          139:3                          profit [4] - 43:12, 43:15,
   9:9, 9:17, 9:18, 9:19, 9:20,     policies [6] - 26:24, 30:7,       presents [1] - 132:11            43:16, 43:21
   9:25, 10:9, 10:10, 10:11,         34:14, 40:20, 40:24, 41:2        preside [1] - 135:1             programs [1] - 136:13
   10:12, 10:13, 10:16, 11:7,       polling [1] - 141:7               PRESIDING [1] - 1:3             prohibits [1] - 132:12
   11:13, 12:6, 12:11, 12:12,       poor [2] - 64:21, 64:22           presiding [4] - 134:25,         promised [1] - 125:23
   12:19, 12:20, 12:22, 12:25,      populated [1] - 48:11              135:1, 140:13, 141:1           promoted [1] - 86:10
   13:9, 13:20, 13:21, 13:23,       populates [1] - 111:6             press [1] - 86:8                proof [8] - 95:11, 97:2, 97:7,
   13:24, 14:1, 14:8, 14:12,        port [7] - 35:24, 38:17, 38:18,   pressure [1] - 6:16              97:12, 97:19, 98:2, 129:13,
   14:16, 15:7, 15:10, 15:12,        38:21, 38:23, 67:13, 89:3        pretrial [1] - 119:8             129:16
   15:13, 15:19, 15:20, 15:21,      portal [1] - 81:10                pretty [2] - 35:2, 51:14        proper [4] - 52:6, 85:12,
   16:5, 16:8, 16:12, 16:14,        portion [7] - 25:8, 27:12,        prevail [1] - 134:7              112:13, 113:9
   16:20, 16:25, 17:4, 17:7,         27:17, 47:17, 48:22, 74:15,      previously [3] - 3:3, 4:12,     properly [5] - 18:18, 63:12,
   17:8, 19:20, 20:8, 21:9,          78:21                             81:16                           71:18, 71:22, 73:5
   21:12, 22:4, 22:12, 47:5,        Portion [1] - 118:17              price [1] - 118:24              proposition [1] - 98:25
   47:7, 50:2, 53:20, 54:11,        ports [6] - 26:21, 38:19, 39:7,   primarily [1] - 98:13           protect [2] - 18:19, 18:25
   55:5, 55:22, 60:24, 61:24,        40:15, 113:20                    primary [2] - 26:12, 29:8       Protection [10] - 74:19,
   111:6, 115:3, 116:15,            posed [1] - 140:5                                                  96:15, 99:11, 101:6,
                                                                      principal [2] - 30:25, 31:2
   122:10, 122:23, 123:16,          position [13] - 24:10, 25:18,                                      101:10, 103:9, 103:22,
                                                                      print [1] - 51:10
   123:17, 131:20                    25:20, 25:22, 25:24, 26:23,                                       104:21, 105:7, 108:18
                                                                      problem [1] - 99:20
  pipes [3] - 16:4, 19:25, 22:12     63:2, 65:19, 71:7, 71:10,                                        protection [3] - 6:24, 9:22,
                                                                      problematic [1] - 118:21
  piping [10] - 6:21, 6:23, 7:22,    71:16, 119:25, 131:17                                             47:18
                                                                      problems [1] - 106:10
   7:25, 8:3, 9:22, 10:17,          possible [1] - 87:15                                              protectionism [1] - 124:10
                                                                      procedure [2] - 45:16, 88:25
   61:22, 116:19, 116:21            possibly [1] - 123:10                                             protects [1] - 6:24
                                                                      procedures [4] - 24:19,
  place [8] - 14:2, 77:9, 82:4,     potential [2] - 42:25, 71:20                                      proud [1] - 139:4
                                                                       33:10, 82:17, 90:14
   82:11, 82:18, 136:12,            potentially [1] - 40:9                                            prove [6] - 109:18, 109:22,
                                                                      proceed [5] - 42:23, 42:25,
   136:14, 142:20                   pounding [1] - 111:20                                              133:21, 133:24, 134:1,
                                                                       140:11, 140:20, 140:22
  places [1] - 109:12               Powell [4] - 46:13, 79:13,                                         134:8
                                                                      proceedings [1] - 136:22
  PLAINTIFF [1] - 2:3                88:19, 120:12                                                    proved [3] - 128:10, 133:23,
                                                                      Proceedings [1] - 143:22
  plaintiff [18] - 11:21, 59:21,    power [1] - 7:25                                                   134:22
                                                                      PROCEEDINGS [2] - 1:16,
   94:3, 94:11, 95:9, 95:10,        practice [1] - 38:18                                              proven [2] - 109:20, 140:24
                                                                       144:3
   131:17, 132:2, 132:15,           practices [12] - 18:20, 24:19,                                    proves [1] - 133:15
                                                                      process [11] - 5:9, 39:8,
   133:15, 133:21, 133:23,           26:24, 28:6, 29:7, 30:7,                                         provide [16] - 6:21, 6:23,
                                                                       90:5, 106:18, 107:2, 107:3,
   134:5, 134:15, 134:16,            34:14, 39:5, 40:20, 40:24,                                        17:7, 21:25, 39:10, 41:15,
                                                                       107:11, 107:13, 111:24,
   139:25, 140:17, 140:24            41:2, 124:12                                                      41:16, 41:23, 42:18, 46:6,
                                                                       112:2, 136:24
  plaintiff's [1] - 134:4           pre [1] - 134:10                                                   46:7, 53:20, 61:2, 61:23,
                                                                      processed [2] - 57:6, 57:9
  Plaintiffs [1] - 1:6              pre-June [1] - 134:10                                              61:24, 93:19
                                                                      producing [1] - 42:23
  plane [10] - 7:7, 8:13, 8:14,     precise [1] - 61:23                                               provided [9] - 29:13, 29:17,
                                                                      product [35] - 5:9, 6:12,
   8:16, 8:17, 8:19, 9:12,                                                                             30:11, 37:12, 46:4, 46:5,
                                    predecessors [2] - 27:10,          32:24, 41:11, 41:12, 42:25,
   15:14, 57:25                                                                                        47:18, 49:8, 79:1
                                     27:22                             43:14, 46:1, 47:14, 52:21,
  plants [3] - 7:25, 8:1                                                                              provides [5] - 9:25, 44:4,
                                    predict [1] - 123:18               61:6, 74:8, 75:17, 76:1,
  play [2] - 118:15, 137:24                                                                            60:22, 60:24, 68:1
                                    preferences [1] - 77:8             85:13, 89:2, 90:3, 100:12,
  played [1] - 118:17                                                                                 proving [3] - 132:2, 132:7,
                                    prejudice [2] - 127:24,            101:10, 101:24, 102:25,
  playing [2] - 69:3, 124:9                                                                            134:17
                                     130:18                            104:22, 106:5, 115:8,
  pleasant [1] - 92:11              preliminary [3] - 44:14, 82:2,                                    provisions [1] - 83:6
                                                                       115:9, 115:25, 116:5,
  plexiglass [1] - 5:2               82:3                                                             public [1] - 86:8
                                                                       116:17, 118:24, 121:15,
  podium [1] - 138:12               premises [1] - 30:9                122:11, 124:19, 124:20,        publications [1] - 122:18
  Podner [13] - 25:23, 26:25,       preparation [1] - 15:6             131:25                         publish [1] - 142:20
   31:2, 36:8, 36:25, 70:5,         prepare [1] - 14:13               products [39] - 17:21, 17:24,   pull [6] - 32:18, 40:8, 44:7,
   70:19, 79:3, 79:15, 80:17,                                          18:16, 18:17, 40:4, 40:17,      44:8, 44:21, 44:24
                                    prepared [5] - 13:23, 13:25,




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    582 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          698Trial Page 161 of 166
                                                                                160

  punishment [1] - 119:5            real [4] - 34:11, 56:17, 99:9,    recross [2] - 22:20, 22:21         remember [12] - 59:10, 83:5,
  purchase [6] - 29:15, 30:18,       116:22                           RECROSS-EXAMINATION                 92:6, 95:17, 95:20, 100:13,
   41:24, 67:7, 68:4, 68:7          real-world [1] - 116:22            [2] - 3:7, 91:3                    106:18, 106:22, 113:5,
  purchased [1] - 47:17             reality [1] - 98:13               REDIRECT [2] - 3:7, 86:17           122:16, 128:20, 137:25
  purchaser [1] - 118:22            really [15] - 26:21, 27:12,       REDUCTION [1] - 144:6              remind [2] - 4:9, 135:19
  purchases [3] - 30:13,             44:9, 55:10, 56:10, 96:13,       refer [12] - 10:10, 31:23,         rendered [1] - 134:14
   118:12, 118:13                    96:17, 100:8, 101:1,              33:12, 52:15, 52:24, 54:14,       rep [1] - 41:8
  purchasing [1] - 41:13             102:22, 103:4, 114:1,             56:6, 64:15, 65:8, 67:17,         repeat [1] - 17:22
  purpose [5] - 36:12, 36:14,        114:10, 120:25, 121:23            68:6, 93:21                       repeatedly [2] - 114:6, 116:7
   129:6, 129:7, 129:8              realtime [1] - 102:18             reference [13] - 33:18, 33:21,     reply [2] - 37:18, 92:21
  purposes [2] - 10:21, 133:12      reason [4] - 18:15, 110:15,        33:25, 34:6, 34:8, 38:7,          report [13] - 20:3, 20:8, 25:3,
  pursue [1] - 113:22                111:16, 121:20                    42:1, 48:14, 57:8, 75:6,           25:16, 25:17, 31:14, 32:1,
  pursued [1] - 87:22               reasonable [5] - 97:12,            77:14, 81:22, 136:10               32:6, 33:5, 35:20, 36:2,
  pursuing [2] - 127:7, 127:10       113:13, 114:22, 117:21           referenced [6] - 44:2, 48:23,       136:7, 136:20
  put [14] - 9:19, 14:15, 31:6,     reasonableness [1] - 130:20        48:24, 49:4, 49:6, 62:6           reported [2] - 52:8, 113:10
   50:15, 53:6, 82:11, 82:14,       reasonably [3] - 116:15,          references [2] - 47:8, 67:21       REPORTER [2] - 1:23,
   104:8, 110:2, 112:6,              134:9, 140:16                    referred [7] - 7:12, 8:21,          144:10
   112:18, 117:4, 118:9,            reasons [3] - 22:2, 131:3,         39:7, 47:6, 52:15, 90:18,         REPORTER'S [1] - 1:16
   120:1                             131:9                             116:7                             reporting [5] - 52:6, 70:5,
  puts [1] - 57:11                  rebuttal [3] - 91:20, 95:11,      referring [6] - 58:24, 67:9,        70:17, 70:19, 113:9
  putting [1] - 110:5                120:23                            84:22, 84:23, 86:9, 91:6          reports [1] - 35:6
                                    receipt [2] - 101:4, 133:11       refers [9] - 32:9, 51:20,          represent [1] - 77:6
                Q                   receive [3] - 14:9, 84:6, 84:9     52:11, 52:18, 56:20, 56:21,       representation [3] - 99:14,
                                    received [31] - 3:11, 3:11,        57:19, 81:10, 102:22               104:9, 105:1
  quantity [2] - 67:13, 68:3         3:12, 3:12, 3:13, 3:13,          refineries [1] - 7:25              representative [6] - 23:15,
  questioning [1] - 91:5             11:19, 12:15, 12:16, 13:14,      reflect [10] - 4:5, 59:18, 60:2,    41:9, 61:5, 100:14, 100:15,
  questions [26] - 17:9, 22:19,      13:15, 14:5, 14:6, 14:24,         68:7, 70:10, 92:16, 95:3,          126:6
   28:16, 29:19, 29:22, 30:10,       14:25, 15:24, 15:25, 18:11,       109:8, 118:18, 141:12             represented [1] - 104:23
   30:23, 31:12, 36:16, 36:18,       50:13, 50:14, 84:14,             reflecting [1] - 82:20             represents [1] - 141:9
   37:19, 38:15, 76:23, 80:7,        103:18, 128:12, 129:5,           reflects [1] - 125:16              Republic [1] - 131:21
   81:3, 86:19, 87:1, 87:4,          129:11, 129:23, 130:3,           refute [1] - 110:1                 reputable [1] - 120:13
   89:16, 108:2, 113:25,             130:5, 134:20, 135:19            regarding [3] - 18:11, 74:13,      request [5] - 39:15, 41:6,
   123:3, 128:23, 138:9,            receives [1] - 134:19              128:4                              41:8, 122:16, 126:18
   140:5, 140:13                    receiving [1] - 30:19             regardless [2] - 109:13,           requested [2] - 44:16, 44:17
  quick [1] - 34:11                 recent [1] - 69:3                  132:11                            requests [1] - 126:16
  quietly [1] - 59:14               recently [2] - 81:7, 81:13        Registers [1] - 80:18              require [3] - 46:13, 46:14,
  quite [6] - 44:2, 45:21, 61:16,   recess [2] - 59:9, 139:5          REGULATIONS [1] - 144:7             136:23
   61:18, 82:2, 90:23               Recess [3] - 59:24, 95:1,         regulations [3] - 34:1, 35:18,     required [13] - 26:18, 83:17,
                                     139:6                             77:25                              84:23, 84:24, 89:4, 102:5,
                 R                  reckless [7] - 102:9, 105:12,     reject [1] - 131:7                  105:10, 105:11, 105:24,
                                     105:14, 114:24, 125:10,          rejects [1] - 58:16                 121:9, 132:19, 133:13,
  raise [1] - 40:15                  132:22, 133:19                   rel [1] - 139:24                    133:14
  raised [1] - 122:4                recklessly [5] - 105:17,          relate [2] - 52:21, 67:10          requirement [3] - 52:10,
  range [1] - 43:17                  109:19, 115:18, 119:18,          related [10] - 25:9, 26:4,          111:3, 113:12
  rate [8] - 4:19, 4:20, 42:18,      131:23                            26:21, 30:22, 35:14, 71:14,       requirements [3] - 27:6,
   42:19, 43:8, 43:10, 61:2         recklessness [1] - 105:19          76:5, 87:1, 89:6, 90:14            90:19, 111:9
  rationale [1] - 99:20             recognizable [1] - 50:4           relates [3] - 18:2, 71:20,         requires [4] - 8:3, 33:13,
  ray [1] - 39:18                   record [26] - 4:5, 23:4, 59:18,    83:24                              52:3, 134:5
  reach [4] - 120:4, 135:3,          60:2, 91:8, 92:16, 95:3,         relating [1] - 25:1                requisite [1] - 105:10
   135:9, 135:16                     96:9, 96:15, 96:20, 96:23,       release [2] - 86:8, 138:9          research [4] - 98:19, 125:4,
  reached [4] - 4:21, 138:2,         98:6, 98:10, 98:15, 98:17,       relevance [1] - 62:2                136:8, 136:15
   138:5, 139:12                     105:23, 105:24, 106:4,           relevant [1] - 125:2               reserved [2] - 92:19, 93:7
  reaches [1] - 89:3                 123:20, 123:23, 125:9,           reliance [1] - 120:11              resolution [1] - 127:2
  reaching [2] - 119:15, 128:11      125:15, 125:16, 125:21,          relied [2] - 28:12, 120:9          resolve [1] - 110:6
  read [16] - 16:18, 52:2, 73:14,    126:13, 127:1                    relies [3] - 6:9, 88:18, 91:6      respect [18] - 4:22, 18:4,
   73:18, 73:21, 75:9, 75:10,       recorded [1] - 142:5              relieving [1] - 142:6               18:5, 39:6, 40:21, 40:25,
   83:15, 105:25, 106:6,            RECORDED [1] - 144:3              rely [4] - 6:11, 88:8, 88:9,        43:23, 62:3, 63:1, 84:16,
   107:22, 121:20, 128:2,           records [3] - 30:18, 30:19,        106:9                              84:17, 89:19, 89:21, 90:2,
   139:20, 141:9, 141:12             44:6                             relying [1] - 120:14                90:3, 90:15, 99:7, 102:11
  ready [1] - 138:8                 RECROSS [2] - 3:7, 91:3           remained [1] - 27:14               respective [3] - 4:6, 60:3,




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    583 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          699Trial Page 162 of 166
                                                                                161

    95:4                            Rona [3] - 100:13, 106:23,         54:2, 60:23, 62:10, 111:4,       137:3, 137:9, 137:17
  respects [1] - 110:11              126:5                             111:19, 120:7                   sending [1] - 107:6
  respond [1] - 136:6               room [11] - 6:22, 46:19,          scope [16] - 19:7, 32:8, 44:4,   senior [1] - 24:20
  response [5] - 73:7, 75:4,         59:13, 92:4, 92:10, 100:10,       46:17, 88:12, 88:13, 106:6,     senior-most [1] - 24:20
    100:16, 106:25, 143:18           118:2, 127:17, 138:10,            107:22, 117:5, 117:6,           sense [6] - 43:22, 107:17,
  responses [2] - 93:2, 106:19       142:17, 142:23                    117:8, 117:10, 122:16,           114:16, 114:20, 114:23,
  responsibilities [7] - 24:12,     routine [1] - 47:19                122:19, 131:15, 133:4            119:1
    24:13, 25:1, 27:10, 27:16,      rule [1] - 73:15                  screen [4] - 41:1, 48:22,        sent [6] - 79:3, 80:17, 87:14,
    27:23, 28:9                     ruled [6] - 19:19, 20:7, 63:10,    60:10, 117:8                     107:23, 127:17, 137:13
  responsibility [9] - 27:17,        123:15, 123:16, 133:3            screw [5] - 5:19, 5:20, 5:21,    sentence [12] - 34:21, 34:25,
    39:2, 44:6, 71:17, 71:21,       ruler [1] - 56:18                  5:23, 5:25                       35:11, 35:12, 37:9, 38:2,
    71:25, 72:13, 72:14, 74:13      rules [4] - 110:25, 128:25,       screwed [1] - 9:24                52:11, 52:12, 52:20, 53:17,
  responsible [21] - 26:4, 27:7,     129:22, 129:25                   scroll [3] - 57:17, 69:22,        61:7, 78:16
    27:8, 27:12, 28:12, 29:15,      ruling [44] - 44:4, 44:16,         73:10                           sentences [2] - 52:21, 52:24
    33:3, 40:7, 42:9, 45:18,         44:17, 58:19, 58:20, 58:24,      seal [1] - 39:15                 separate [2] - 64:17, 119:13
    71:13, 72:4, 72:8, 74:18,        60:8, 60:14, 60:18, 61:4,        search [2] - 44:23, 136:14       series [2] - 81:7, 121:2
    75:1, 76:1, 76:4, 76:7,          62:2, 62:8, 62:14, 63:11,        Search [1] - 116:8               seriously [1] - 120:2
    85:19, 91:9, 131:14              80:13, 80:14, 85:3, 85:7,        searches [1] - 107:22            serve [2] - 10:21, 135:2
  responsibly [1] - 109:22           85:12, 85:14, 85:16, 85:21,      searching [1] - 136:9            service [7] - 5:9, 36:21, 41:9,
  rest [1] - 91:17                   85:22, 108:1, 108:3, 108:5,      seat [2] - 92:17, 143:12          109:15, 127:2, 127:5,
  restrictions [1] - 136:22          112:9, 112:14, 112:18,           seats [3] - 4:6, 60:3, 95:4       136:5
  rests [1] - 91:18                  112:22, 112:23, 115:20,          second [19] - 28:1, 28:2,        session [1] - 129:10
  result [2] - 110:24, 136:23        115:23, 116:1, 116:3,             31:24, 33:14, 33:16, 35:12,     set [1] - 14:2
  resulted [1] - 111:25              116:5, 116:10, 116:11,            50:21, 57:1, 59:15, 61:7,       sets [1] - 103:10
  results [2] - 35:6, 35:12          116:12, 120:8, 122:16,            61:20, 66:16, 67:6, 67:18,      settled [1] - 58:10
  RESUMED [2] - 3:4, 4:13            129:2                             77:18, 104:19, 105:15,          seven [1] - 130:20
  resummarize [1] - 110:5           Ruling [1] - 116:8                 132:18, 133:9                   shaft [1] - 5:11
  retain [2] - 79:14, 89:1          rulings [5] - 58:12, 63:13,       secondly [1] - 93:9              shall [1] - 135:3
  retained [3] - 17:17, 22:2,        80:7, 106:6, 115:12              section [9] - 42:5, 42:11,       SHANNON [1] - 2:11
    22:5                            run [3] - 10:10, 61:23             42:12, 44:22, 55:8, 57:5,       shape [1] - 11:5
  retaining [2] - 76:6, 87:19                                          81:6, 84:1, 86:24               sheet [1] - 44:3
  retire [2] - 59:13, 92:9                         S                  see [73] - 12:10, 29:20, 33:5,   shelf [1] - 10:24
  return [5] - 108:19, 126:16,                                         33:10, 33:18, 33:24, 34:4,      shifting [1] - 91:13
    126:18, 126:20, 138:8           sacred [1] - 142:18                34:6, 34:21, 35:11, 37:16,      shipment [4] - 26:18, 49:3,
  review [28] - 29:19, 33:7,        Safe [13] - 11:8, 11:14, 12:10,    38:3, 39:2, 39:22, 40:9,         67:10, 98:6
    34:12, 39:4, 39:9, 39:17,        16:6, 21:11, 40:3, 40:17,         43:15, 46:9, 47:25, 48:15,      shipments [3] - 24:15, 98:22,
    45:21, 45:25, 46:17, 64:18,      62:17, 68:11, 75:22, 76:20,       51:9, 51:16, 51:19, 55:13,       99:1
    64:19, 74:21, 77:3, 77:4,        89:17, 90:3                       56:15, 59:9, 59:22, 60:18,      shipping [2] - 30:18, 32:24
    77:7, 77:10, 77:21, 78:3,       Safe-Let [11] - 11:8, 11:14,       67:16, 67:21, 69:23, 70:1,      shoes [1] - 113:24
    78:11, 78:13, 78:15, 89:1,       12:10, 16:6, 21:11, 40:3,         70:4, 70:5, 70:8, 70:14,        short [3] - 61:17, 110:4,
    106:7, 107:11, 107:22,           40:17, 75:22, 76:20, 89:17,       72:11, 73:4, 77:13, 77:15,       118:16
    107:23, 123:13, 123:14           90:3                              77:16, 77:18, 78:14, 78:19,
                                                                                                       shorter [1] - 23:11
  reviewed [8] - 29:14, 30:10,      Safe-Lets [2] - 62:17, 68:11       83:16, 84:11, 92:11, 94:21,
                                                                                                       shoulder [1] - 87:6
    30:12, 34:9, 38:25, 61:11,      sales [2] - 41:8, 42:21            95:22, 99:13, 99:16,
                                                                                                       show [22] - 11:21, 16:11,
    78:19, 83:2                     salesperson [1] - 43:4             100:11, 101:19, 103:6,
                                                                                                        31:20, 33:15, 36:4, 37:8,
  reviewing [3] - 34:14, 71:25,     salute [1] - 109:8                 104:14, 107:4, 108:1,
                                                                                                        55:12, 69:14, 72:23, 73:18,
    74:25                           sample [6] - 33:25, 51:3,          110:2, 112:22, 117:7,
                                                                                                        78:18, 97:2, 97:13, 99:2,
  reviews [2] - 106:7, 122:18        61:5, 61:11, 78:17, 78:19         117:9, 120:19, 121:21,
                                                                                                        99:4, 102:3, 102:4, 104:11,
  revisit [1] - 137:20              sampled [1] - 30:14                124:25, 125:21, 125:22,
                                                                                                        105:16, 112:10, 132:15,
  Ridge [4] - 24:5, 24:6, 30:2      samples [4] - 32:18, 77:23,        125:24, 125:25, 130:14,
                                                                                                        137:23
  rise [8] - 4:3, 59:16, 59:23,      78:25                             137:21
                                                                                                       showed [1] - 100:9
    59:25, 92:14, 138:16,           Sanders [1] - 118:8               seeds [1] - 39:24
                                                                                                       showing [3] - 33:23, 69:20,
    139:7, 143:10                   sat [2] - 106:23, 107:23          seeing [1] - 38:5
                                                                                                        96:24
  risk [4] - 33:8, 35:13, 77:7,     saw [8] - 14:13, 100:14,          selected [1] - 30:13
                                                                                                       shown [4] - 97:3, 109:22,
    111:20                           102:17, 108:4, 108:5,            selection [4] - 29:18, 33:23,
                                                                                                        111:2, 114:6
  role [17] - 17:20, 17:23, 26:2,    111:24, 125:23, 129:14            34:13, 97:11
                                                                                                       shows [5] - 55:8, 63:11,
    26:12, 45:13, 66:4, 69:3,       scale [2] - 45:9, 97:23           selectively [1] - 103:12
                                                                                                        100:22, 104:2, 125:17
    69:6, 73:3, 73:8, 74:6,         scanning [1] - 25:12              sell [1] - 59:5
                                                                                                       sic [1] - 116:5
    74:9, 74:10, 75:25, 86:25,      schedule [12] - 50:7, 52:25,      seminar [2] - 84:12
                                                                                                       sic] [1] - 46:12
    109:9, 118:2                     53:4, 53:15, 53:16, 53:19,       send [6] - 26:11, 92:4, 95:15,
                                                                                                       side [12] - 9:19, 13:10, 27:13,




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    584 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          700Trial Page 163 of 166
                                                                                162

   95:14, 97:25, 117:5, 117:8,      121:5, 121:8, 122:4,             south-side [1] - 9:19              8:22, 8:25, 10:2, 10:5,
   117:9, 118:2, 129:25             122:25                           SP97 [1] - 10:7                    10:14, 10:21, 16:22, 18:14,
  sides [8] - 91:17, 92:1, 93:6,   sign [2] - 138:7, 140:14          span [2] - 29:16, 38:22            18:16, 18:17, 18:19, 18:22,
   93:12, 96:2, 96:3, 138:19,      signed [6] - 35:20, 88:22,        speaking [4] - 74:2, 75:16,        34:23, 35:3, 41:17, 41:18
   139:2                            137:4, 137:6, 139:14,             98:7, 123:8                      stands [1] - 138:1
  SIGMA [162] - 4:17, 4:22,         141:1                            special [1] - 43:10               Star [14] - 58:19, 58:20, 59:2,
   21:7, 21:11, 21:15, 21:18,      significance [2] - 33:21, 34:8    specific [5] - 31:12, 58:5,        59:3, 60:8, 62:2, 62:14,
   21:24, 22:2, 22:24, 23:23,      significant [1] - 35:13            66:14, 78:16, 84:19               112:9, 112:14, 112:18,
   23:24, 24:2, 24:10, 24:14,      similar [4] - 20:4, 49:22,        specifically [7] - 9:5, 18:4,      116:1, 116:2, 116:12,
   24:20, 24:23, 25:3, 25:17,       49:25, 65:18                      37:10, 40:2, 43:23, 51:15,        120:8
   28:18, 28:25, 29:6, 29:24,      simple [7] - 5:9, 43:3, 44:3,      89:18                            star [1] - 59:3
   30:4, 31:17, 34:17, 35:8,        107:17, 108:8, 108:11,           specification [1] - 61:21         start [16] - 41:5, 45:8, 47:4,
   36:15, 37:1, 37:24, 38:11,       123:13                           specifications [1] - 41:17         47:9, 54:16, 54:21, 54:23,
   38:18, 40:16, 40:20, 40:24,     simply [4] - 15:12, 101:25,       specified [1] - 134:6              55:4, 56:10, 56:25, 92:12,
   41:10, 42:24, 43:17, 43:24,      135:14, 135:16                   specs [1] - 61:21                  98:24, 109:7, 110:6,
   47:4, 47:13, 49:10, 49:17,      single [4] - 44:12, 106:12,       spectrum [1] - 90:18               110:17, 136:24
   52:22, 53:6, 54:13, 58:10,       107:8, 125:1                     speculation [2] - 64:1,           started [5] - 21:7, 21:11,
   58:17, 59:6, 61:14, 62:17,      sip [1] - 30:12                    134:23                            25:13, 80:1, 82:3
   62:20, 62:25, 63:1, 63:22,      sit [4] - 19:18, 23:18, 85:6,     speed [1] - 88:9                  starting [1] - 53:24
   68:21, 68:23, 71:3, 78:5,        127:3                            spell [1] - 23:4                  state [4] - 23:3, 49:25, 118:1,
   79:6, 81:7, 81:19, 82:9,        site [1] - 44:12                                                     138:14
                                                                     spells [1] - 114:12
   82:21, 84:7, 87:14, 87:15,      sits [2] - 10:11, 12:11                                             statement [30] - 100:6,
                                                                     spend [1] - 54:6
   87:19, 88:8, 88:18, 88:21,      sitting [1] - 23:14                                                  100:22, 100:23, 100:25,
                                                                     spent [3] - 85:3, 93:9, 99:17
   89:7, 89:20, 90:2, 90:13,       six [3] - 17:15, 45:8, 130:18                                        101:2, 102:3, 102:8,
                                                                     Sperko [24] - 3:3, 4:9, 4:12,
   90:15, 91:6, 91:13, 91:18,      six-digit [1] - 45:8                                                 102:11, 102:12, 102:13,
                                                                      4:15, 4:21, 7:17, 10:25,
   98:5, 98:9, 99:3, 99:4,                                                                              104:17, 104:19, 104:20,
                                   size [1] - 41:18                   11:10, 12:5, 12:18, 13:6,
   99:10, 99:17, 100:14,                                                                                110:16, 110:21, 114:24,
                                   skip [1] - 140:21                  13:19, 14:8, 14:20, 15:18,
   101:24, 102:4, 102:7,                                                                                114:25, 115:5, 115:17,
                                   skipped [1] - 62:10                16:2, 16:18, 17:13, 18:24,
   102:12, 102:13, 102:18,                                                                              118:5, 121:6, 123:9,
                                   sleeve [1] - 56:23                 20:3, 21:7, 22:6, 22:18,
   102:21, 102:23, 103:4,                                                                               123:10, 126:24, 132:17,
                                   sleeves [4] - 55:7, 55:22,         116:19
   103:21, 104:12, 104:16,                                                                              132:18, 132:20, 132:24,
                                    56:22, 60:25                     spin [1] - 5:17
   104:21, 105:4, 105:16,                                                                               133:1, 133:9
                                   slide [2] - 5:16, 97:4            split [1] - 95:25
   105:22, 106:1, 106:14,                                                                              statements [17] - 96:22,
                                   slightly [1] - 98:1               spokesperson [1] - 135:2
   107:3, 107:14, 107:17,                                                                               96:25, 100:4, 105:17,
                                   slope [1] - 58:2                  spreadsheet [2] - 102:18,
   108:9, 108:11, 108:15,                                                                               108:17, 109:19, 110:17,
                                   smacks [1] - 120:15                103:9
   108:17, 109:18, 109:22,                                                                              121:24, 121:25, 126:19,
                                   small [2] - 9:15, 51:10           Sprink [6] - 108:1, 108:5,
   110:13, 110:21, 111:3,                                                                               128:16, 128:18, 132:5,
                                   Society [2] - 7:23, 10:7           112:23, 115:20, 115:22,
   111:17, 112:16, 113:14,                                                                              132:13, 133:7, 134:20,
                                   software [5] - 48:5, 48:6,         116:10
   113:22, 114:10, 114:15,                                                                              140:8
   114:17, 115:5, 115:8,            48:12, 111:5                     Sprink-Let [6] - 108:1, 108:5,
                                                                                                       States [9] - 60:24, 96:25,
   115:9, 115:24, 115:25,          soldering [1] - 7:15               112:23, 115:20, 115:22,
                                                                                                        113:24, 119:3, 122:1,
   116:4, 116:5, 116:15,           sole [1] - 39:2                    116:10
                                                                                                        126:21, 131:19, 139:22,
   117:15, 118:1, 118:12,          solely [2] - 127:25, 129:11       sprinkler [3] - 9:23, 10:1,
                                                                                                        139:24
   118:14, 118:19, 118:20,         someplace [1] - 10:24              57:20
                                                                                                       states [3] - 45:18, 61:5,
   119:15, 119:16, 119:17,         sometimes [12] - 6:11, 6:25,      square [2] - 14:13, 15:5
                                                                                                        112:24
   119:23, 120:14, 120:18,          93:23, 94:15, 109:6,             ST [2] - 50:2, 111:6
                                                                                                       STATES [3] - 1:1, 1:4, 144:7
   120:25, 121:3, 121:13,           109:24, 109:25, 137:11,          stainless [3] - 55:23, 55:25,
                                                                                                       stating [1] - 116:16
   121:15, 121:24, 122:16,          137:12, 137:14, 137:16,           56:8
                                                                                                       statistical [2] - 52:6, 113:9
   123:6, 123:10, 123:18,           142:13                           stance [1] - 85:1
                                                                                                       stay [3] - 48:20, 138:20,
   123:19, 125:2, 125:17,          SOP [1] - 45:16                   stand [4] - 4:7, 23:12, 60:4,
                                                                                                        138:24
   126:11, 126:17, 126:19,         sorry [24] - 5:5, 17:22, 20:13,    106:23
                                                                                                       steel [71] - 39:21, 41:16,
   131:18                           20:16, 21:2, 27:21, 27:24,       standard [20] - 5:7, 5:8, 5:10,
                                                                                                        48:15, 48:24, 48:25, 49:2,
  SIGMA's [35] - 19:19, 20:14,      44:17, 47:12, 57:1, 61:6,         9:2, 10:6, 10:7, 30:3,
                                                                                                        49:7, 49:17, 52:22, 54:5,
   20:17, 20:18, 23:15, 35:13,      63:17, 65:10, 65:20, 65:24,       36:14, 37:17, 37:18, 41:1,
                                                                                                        55:4, 55:7, 55:23, 55:25,
   36:11, 41:20, 45:16, 49:3,       74:6, 76:15, 77:16, 78:12,        41:2, 42:18, 45:16, 52:9,
                                                                                                        56:8, 57:7, 57:18, 58:7,
   57:24, 59:5, 67:7, 68:6,         80:20, 80:23, 83:15, 87:25,       61:21, 88:24, 97:20, 97:21,
                                                                                                        58:8, 60:21, 61:1, 61:21,
   72:8, 72:15, 77:6, 86:1,         88:16                             113:10
                                                                                                        64:6, 64:13, 64:18, 64:19,
   87:4, 96:22, 96:24, 102:25,     sort [2] - 70:8, 123:21           Standardization [1] - 10:7
                                                                                                        64:20, 75:20, 75:22, 81:22,
   106:11, 107:2, 107:3,           SOUTH [1] - 2:4                   standards [29] - 5:6, 5:24,
                                                                                                        96:21, 99:4, 99:11, 99:13,
   107:13, 108:14, 116:22,         South [1] - 24:7                   6:2, 6:6, 6:9, 6:11, 7:17,
                                                                                                        99:22, 99:24, 99:25,
   120:3, 120:24, 121:2,           south [1] - 9:19                   7:19, 7:20, 7:23, 7:24, 8:3,




                                      UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    585 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          701Trial Page 164 of 166
                                                                                163

   100:12, 100:16, 100:18,          SUITE [1] - 2:5                     111:13                           139:10, 139:11, 139:13,
   100:20, 101:11, 101:12,          summarized [1] - 67:5             termination [1] - 115:11           139:14, 139:16, 139:17,
   101:14, 101:17, 101:21,          summary [11] - 26:18, 35:6,       terms [1] - 138:1                  139:20, 139:22, 141:2,
   102:11, 102:14, 102:20,           35:11, 39:10, 47:3, 50:20,       test [1] - 87:24                   141:5, 141:6, 141:15,
   102:25, 103:6, 104:9,             66:14, 67:3, 67:4, 68:2,         testified [16] - 17:14, 18:14,     141:17, 141:19, 141:21,
   106:5, 110:17, 110:20,            131:17                             20:5, 98:11, 100:13,             141:23, 141:25, 142:2,
   110:24, 111:13, 111:17,          sunset [4] - 106:7, 107:22,         100:19, 101:9, 111:1,            142:4, 143:10, 143:12,
   113:14, 114:1, 114:22,            122:18, 123:14                     115:11, 116:9, 116:19,           144:2, 144:3, 144:4, 144:6,
   117:2, 121:6, 121:8,             supplier [6] - 26:15, 44:15,        117:19, 126:5, 130:15,           144:7
   121:11, 121:25, 122:23,           49:8, 67:13, 118:25, 119:5         130:25, 131:2                  theirs [1] - 27:17
   123:2, 123:4                     supplier's [2] - 39:11, 111:14    testify [4] - 22:15, 102:13,     themselves [2] - 36:17,
  STENOGRAPHICALLY [1] -            suppliers [1] - 65:18               107:5, 123:1                     104:10
   144:3                            supply [2] - 29:14, 29:15         testifying [6] - 19:23, 22:6,    therefor [1] - 52:6
  step [2] - 91:16, 113:23          support [2] - 114:23, 119:10        66:19, 66:20, 116:18,          therefore [1] - 131:13
  steps [2] - 79:6, 89:17           supposed [1] - 108:16               130:16                         thereof [1] - 113:9
  still [3] - 4:10, 60:14, 109:25   surety [1] - 33:2                 testimony [32] - 28:20,          they've [2] - 81:9, 88:21
  stop [2] - 62:17, 140:12          surface [6] - 9:16, 9:17, 9:20,     58:12, 65:2, 73:18, 73:21,     thinking [3] - 111:24, 114:11,
  stopped [2] - 62:20, 115:8         11:13, 12:12, 17:7                 75:8, 75:9, 75:11, 75:13,        142:19
  straight [1] - 8:8                surprisingly [1] - 102:1            75:17, 80:13, 81:21, 86:6,     thinks [1] - 129:25
  straightforward [2] - 104:5,      surrounding [1] - 31:14             86:7, 100:15, 102:17,          third [9] - 33:12, 40:10, 51:3,
   121:23                           sustain [2] - 130:3, 130:5          110:23, 122:9, 128:7,            57:1, 60:17, 60:18, 112:24,
  strange [1] - 123:21              sustained [3] - 63:6, 63:16,        128:12, 129:3, 129:13,           132:19, 133:12
  STREET [2] - 1:24, 2:12            63:19                              130:9, 130:12, 130:19,         THIRTEENTH [1] - 2:12
  stricken [1] - 129:3              swear [1] - 138:10                  130:20, 131:1, 131:2,          THIS [1] - 144:5
  strike [1] - 80:14                sworn [6] - 3:4, 3:5, 4:12,         131:4, 131:6, 131:7            Thompson [7] - 44:2, 87:25,
  strive [1] - 135:3                 23:2, 128:7, 138:13              Thacker [3] - 25:25, 26:25,        98:11, 101:8, 106:3,
  strong [1] - 142:22               sympathy [1] - 127:24               126:4                            120:12, 121:11
  structure [1] - 70:1              System [1] - 116:8                thanking [3] - 36:20, 108:24,    threaded [9] - 5:18, 5:20,
  stuff [1] - 27:4                  system [11] - 6:24, 10:1,           108:25                           9:23, 56:14, 56:15, 56:21,
  sub [1] - 78:10                    48:7, 77:8, 98:12, 98:13,        THAT [1] - 144:2                   60:21, 61:24
  subheading [2] - 60:21,            101:9, 109:9, 109:12,            THE [143] - 2:3, 2:10, 4:3,      threads [5] - 5:11, 5:14, 5:21
   112:25                            123:20, 125:13                     4:5, 4:9, 4:11, 11:18,         three [12] - 26:1, 27:10,
  subheadings [1] - 54:23           systems [6] - 6:21, 6:23,           11:21, 11:24, 12:1, 12:15,       27:22, 67:4, 67:15, 77:2,
  subject [19] - 76:13, 76:17,       7:22, 7:25, 8:3, 9:22              13:4, 13:14, 14:5, 14:24,        98:8, 119:24, 130:15,
   98:19, 99:6, 101:14,                                                 15:24, 17:10, 19:9, 19:11,       131:24, 133:18, 139:9
   101:16, 101:22, 101:25,                                              19:12, 19:22, 21:21, 21:22,    throughout [5] - 23:18, 66:7,
                                                   T                    22:8, 22:11, 22:15, 22:20,
   106:21, 107:19, 107:24,                                                                               115:21, 116:7, 120:20
   112:16, 115:3, 123:11,           table [1] - 32:3                    22:22, 23:1, 23:3, 23:5,       THURSDAY [2] - 1:19, 4:1
   131:20, 131:24, 132:1,           Taiwan [3] - 117:5, 117:10          23:7, 50:13, 53:10, 53:11,     Thursday [2] - 93:3, 143:19
   133:3, 133:7                     talks [1] - 106:11                  53:12, 53:14, 54:20, 55:21,    tighten [1] - 5:17
  submit [6] - 38:15, 118:21,       tariff [19] - 42:11, 42:20,         56:4, 59:8, 59:16, 59:18,      tilts [1] - 97:25
   119:20, 143:15, 143:17             43:13, 49:25, 50:7, 52:25,        59:23, 59:25, 60:2, 61:10,     titled [1] - 140:4
  submitted [8] - 20:3, 59:13,        53:4, 53:15, 53:16, 53:19,        63:6, 63:16, 63:17, 63:19,     titles [1] - 86:20
   61:6, 92:9, 93:11, 103:8,          54:2, 60:23, 62:10, 77:18,        64:2, 64:3, 64:9, 65:10,       today [17] - 4:17, 18:15,
   108:17, 143:16                     111:4, 111:19, 111:23,            65:11, 65:20, 65:24, 66:9,       19:18, 20:5, 25:13, 41:4,
  sue [1] - 118:20                    112:5, 120:7                      66:10, 66:11, 66:18, 66:23,      60:15, 85:6, 92:22, 93:7,
  suffer [1] - 124:4                tariffs [2] - 42:11, 67:15          68:14, 72:24, 73:17, 73:21,      107:5, 115:2, 116:9,
                                                                        73:24, 75:7, 77:16, 80:20,       116:18, 117:19, 120:20,
  suffers [1] - 124:3               tax [1] - 49:22
                                                                        80:25, 81:4, 86:15, 88:1,        122:25
  sufficient [6] - 52:5, 53:17,     team [1] - 28:7
                                                                        88:2, 88:3, 88:14, 88:16,      together [11] - 5:16, 6:15,
   53:21, 87:10, 94:2, 113:8        technical [2] - 114:21,
                                                                        89:10, 89:24, 89:25, 90:6,       7:5, 7:6, 8:4, 8:8, 8:11,
  sufficiently [1] - 27:9             119:23
                                                                        90:7, 90:8, 90:9, 90:10,         8:16, 15:10, 15:13, 104:9
  suggest [5] - 91:12, 106:14,      tees [1] - 7:9
                                                                        91:1, 91:16, 91:19, 91:21,
   122:25, 124:24, 134:13           ten [5] - 38:22, 45:8, 93:18,                                      tomorrow [2] - 138:22
                                                                        92:14, 92:16, 92:24, 93:1,
  suggested [8] - 37:5, 41:23,        94:24, 112:23                                                    tonight [1] - 138:23
                                                                        93:5, 93:9, 94:14, 94:20,
   79:8, 79:9, 104:13, 121:7,       ten-year [1] - 38:22                                               took [3] - 27:18, 30:3, 128:1
                                                                        95:3, 96:2, 96:4, 105:20,
   121:8, 122:5                     tendency [2] - 101:2, 133:10                                       tooled [2] - 57:5, 57:9
                                                                        108:22, 120:23, 124:5,
  suggesting [3] - 114:15,          tentative [1] - 93:17                                              top [10] - 52:8, 52:11, 52:18,
                                                                        127:6, 127:12, 138:12,
   117:14, 119:7                    term [10] - 48:15, 49:7,                                             55:6, 61:5, 61:7, 78:21,
                                                                        138:14, 138:15, 138:16,
  suggests [2] - 119:6, 125:1         49:17, 56:4, 62:7, 64:6,                                           112:3, 113:7, 113:10
                                                                        138:18, 139:7, 139:9,
  suing [1] - 118:25                  64:19, 102:7, 105:12,                                            total [2] - 67:13




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    586 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          702Trial Page 165 of 166
                                                                                164

  touching [1] - 136:19             two [43] - 5:15, 6:17, 7:4, 7:6,    40:17, 47:15, 53:7, 67:21,      37:16, 37:24, 38:10, 40:13,
  tough [1] - 80:25                   8:16, 10:21, 15:9, 20:13,         67:22, 68:9, 75:16, 75:19,      40:19, 43:23, 46:24, 50:18,
  towards [3] - 22:11, 22:12,         25:11, 27:25, 30:4, 33:24,        76:1, 76:5, 76:9, 89:16,        50:24, 51:20, 54:1, 54:9,
    81:21                             35:20, 43:9, 47:7, 52:24,         89:19, 89:22, 114:19            58:9, 58:24, 60:7, 62:9,
  track [1] - 102:18                  63:10, 65:5, 65:15, 66:1,        Uni-Lets [3] - 40:11, 62:17,     62:16, 63:8, 63:22, 65:1,
  tracks [1] - 107:3                  67:2, 67:9, 72:10, 72:11,         68:10                           65:14, 66:1, 67:1, 67:20,
  trade [3] - 18:20, 19:1,            77:23, 84:12, 91:23, 92:21,      Unique [2] - 47:17, 115:10       68:18, 69:16, 70:15, 85:25,
    124:12                            93:3, 95:12, 98:15, 99:3,        unit [1] - 47:18                 86:19, 90:2, 90:12, 91:5,
  training [14] - 18:11, 83:5,        102:19, 103:10, 103:11,          UNITED [3] - 1:1, 1:4, 144:7     107:5, 111:1, 111:11,
    83:19, 84:2, 84:4, 84:6,          104:20, 106:10, 118:6,           United [9] - 60:24, 96:25,       111:24, 116:9, 117:19,
    84:10, 84:11, 84:15, 84:16,       124:14, 130:15, 131:22,           113:24, 119:3, 122:1,           120:6, 123:1, 124:13
    84:20, 107:20                     133:17                            126:21, 131:19, 139:22,        vendor [1] - 90:22
  transaction [2] - 77:7, 78:20     two-day [1] - 84:12                 139:24                         verdict [30] - 97:15, 98:2,
  TRANSCRIPT [3] - 1:16,            type [10] - 7:2, 7:14, 13:21,      unless [1] - 94:8                108:20, 126:16, 126:18,
    144:3, 144:5                      15:20, 41:16, 44:8, 44:23,       untrue [2] - 100:5, 133:2        126:20, 128:4, 128:11,
  transfer [2] - 83:12, 83:13         45:1, 58:18, 99:18               unusual [2] - 102:7, 105:12      134:13, 135:5, 135:10,
  transparent [1] - 121:14          types [1] - 48:8                   unwilling [1] - 135:12           135:16, 135:18, 138:3,
  transparently [2] - 109:23,                                          up [63] - 5:13, 5:17, 8:14,      138:4, 138:5, 138:6,
    109:24                                         U                    10:23, 11:6, 11:22, 17:3,       139:12, 139:14, 139:20,
  Treasury [1] - 119:3                                                  23:11, 26:11, 30:11, 31:6,      140:3, 141:4, 141:6, 141:9,
  treat [2] - 10:15, 16:24          U.S [16] - 1:23, 18:2, 26:19,       34:11, 36:19, 36:20, 37:1,      141:10, 141:12, 141:13,
  trial [29] - 23:14, 23:18,         26:21, 29:3, 31:10, 38:19,         37:24, 39:19, 39:20, 46:9,      142:5, 142:12
                                     39:3, 41:13, 89:3, 109:19,         46:22, 47:4, 47:13, 48:6,      version [2] - 29:5, 42:3
    28:21, 32:12, 46:22, 50:9,
                                     110:22, 115:15, 124:10,            48:19, 50:6, 50:15, 53:23,     versus [1] - 139:25
    53:24, 56:2, 58:21, 60:12,
                                     124:16                             57:17, 57:25, 58:17, 58:19,    video [1] - 137:24
    64:24, 75:10, 95:6, 107:14,
    108:25, 109:8, 109:14,          ultimately [2] - 91:9, 112:1        58:21, 64:23, 67:7, 69:16,     videos [1] - 137:21
    109:17, 110:8, 111:21,          unacceptable [1] - 106:3            70:5, 70:17, 70:19, 73:10,     videotape [2] - 118:9, 118:17
    111:23, 112:19, 113:3,          unanimous [6] - 135:5,              77:11, 88:22, 94:12, 96:22,    view [3] - 116:20, 136:12,
    118:10, 122:17, 129:11,          135:10, 138:2, 138:5,              96:23, 110:8, 111:21,           136:14
    136:3, 136:14, 136:24            139:12, 141:11                     112:18, 113:7, 113:17,         views [1] - 135:8
  TRIAL [1] - 1:17                  under [22] - 4:10, 8:2, 21:19,      113:19, 114:20, 114:21,        violated [2] - 126:17, 140:7
  trials [1] - 65:20                 32:8, 33:13, 35:11, 52:2,          115:19, 116:2, 116:10,         violates [1] - 136:21
  tricks [1] - 119:6                 52:6, 53:3, 55:21, 57:7,           116:11, 116:12, 117:4,         violation [3] - 104:11,
  trouble [1] - 21:2                 73:6, 75:9, 91:5, 97:17,           121:5, 128:5, 139:17,           133:24, 140:17
                                     99:18, 111:5, 113:9,               143:6                          violations [1] - 134:4
  true [12] - 37:2, 75:21, 75:24,
                                     122:23, 128:25, 131:11,           update [1] - 59:21              visit [1] - 136:12
    76:20, 96:12, 99:21,
                                     132:15                            updated [7] - 44:5, 44:7,       volunteered [1] - 87:16
    100:23, 115:1, 121:6,
                                    underlying [1] - 114:7              82:23, 83:2, 90:13, 90:15,     vote [1] - 138:1
    121:19, 132:9, 132:10
                                    underneath [1] - 54:23              90:23                          voting [1] - 109:3
  TRUE [1] - 144:2
                                    understood [3] - 28:8, 28:9,       upper [1] - 51:19               Vs [1] - 1:8
  trust [1] - 109:12
                                     100:20                            uses [1] - 52:22
  truth [9] - 102:10, 103:21,
                                    undertake [3] - 37:1, 37:24,
    105:4, 105:18, 110:2,
                                     87:14
                                                                                                                     W
    120:19, 132:22, 133:18,                                                          V
    133:19                          undertaken [1] - 110:1                                             wait [4] - 53:11, 69:16, 93:18,
  truthful [2] - 103:19, 134:20     undertakes [1] - 124:10            V-e-l-a-z-q-u-e-z [1] - 23:6     94:21
  try [6] - 65:22, 103:4, 110:4,    undertook [1] - 126:12             valuable [1] - 44:21            waiting [1] - 137:19
    123:25, 124:2, 136:11           undisputed [1] - 96:13             valuation [4] - 74:14, 74:16,   walk [6] - 23:11, 55:1, 97:5,
  trying [8] - 82:15, 88:3,         unequivocally [1] - 116:20          75:1, 76:6                      98:4, 99:6, 108:3
    91:12, 95:21, 99:18,            unfair [3] - 18:20, 18:25,         value [5] - 42:21, 67:14,       walked [2] - 30:15, 41:2
    114:10, 114:18, 121:3            124:12                             77:7, 78:20, 104:2             walking [1] - 117:24
  Ts [1] - 16:4                     unfortunately [1] - 25:14          VANDEWATER [2] - 1:10,          wall [2] - 10:12, 10:13
  tube [5] - 9:15, 54:11, 55:5,     Uni [25] - 10:23, 11:4, 12:10,      2:10                           Walter [3] - 3:3, 4:12, 116:19
    55:21, 60:24                     16:6, 21:8, 40:3, 40:11,          Vandewater [2] - 20:24,         wants [1] - 81:2
  Tuesday [4] - 92:21, 93:2,         40:17, 47:15, 53:7, 62:17,         139:25                         warning [6] - 94:5, 94:10,
    109:16, 143:18                   67:21, 67:22, 68:9, 68:10,        variances [1] - 26:10            94:15, 94:16, 94:18, 94:19
  turn [1] - 136:20                  75:16, 75:19, 76:1, 76:5,         variations [1] - 44:24          warnings [1] - 96:1
  turns [1] - 115:4                  76:9, 89:16, 89:19, 89:22,        Velazquez [55] - 3:5, 22:25,    WASHINGTON [1] - 2:13
                                     114:19                             23:2, 23:5, 23:11, 23:20,      water [3] - 6:21, 6:22, 9:25
  TV [1] - 97:13
                                    Uni-Let [22] - 10:23, 11:4,         28:17, 31:9, 31:23, 33:5,      ways [2] - 44:1, 123:21
  twice [3] - 27:24, 37:22,
                                     12:10, 16:6, 21:8, 40:3,           33:18, 36:1, 36:7, 36:25,      weak [1] - 142:22
    48:15




                                       UNITED STATES DISTRICT COURT
Case
 Case2:22-cv-02436-JPM-cgc
       22-00050 Doc 19-7 Filed
                             Document
                                  06/27/22
                                         33-1 Entered
                                               Filed 11/11/22
                                                       06/27/22Page
                                                                17:24:54
                                                                    587 ofDesc
                                                                          587 Exhibit
                                                                               PageID
                  Transcript of Day 3 of FCA
                                          703Trial Page 166 of 166
                                                                                165

  website [4] - 42:1, 60:15,         107:2, 114:17                    years [13] - 17:15, 24:24,
   86:8, 116:6                      Williams [1] - 36:9                25:2, 26:13, 28:13, 68:21,
  week [1] - 120:21                 willing [1] - 120:1                72:12, 86:20, 89:2, 90:16,
  weeks [2] - 30:4, 96:8            wish [6] - 83:12, 92:20,           112:23
  weigh [1] - 97:22                  92:22, 94:5, 143:6, 143:17       yes-or-no [2] - 86:4, 86:11
  weight [7] - 67:14, 129:19,       wishes [1] - 143:15               yesterday [2] - 92:23, 93:10
   129:21, 130:23, 131:1,           WITH [1] - 144:6                  York [1] - 24:8
   131:8, 135:15                    Witness [1] - 5:3                 yourself [1] - 40:8
  weld [70] - 4:24, 6:14, 6:15,     WITNESS [23] - 3:2, 4:11,         yourselves [5] - 59:11, 92:7,
   7:3, 7:4, 8:5, 8:6, 8:7, 8:22,    19:11, 21:22, 23:5, 53:11,        113:25, 114:9, 135:6
   9:2, 9:4, 9:5, 9:6, 9:9, 9:20,    53:14, 54:20, 55:21, 56:4,
   10:9, 10:16, 10:18, 12:18,        61:10, 63:17, 64:3, 65:10,                         Z
   12:20, 12:24, 13:10, 13:11,       65:24, 66:10, 77:16, 81:4,
   14:9, 15:10, 15:11, 15:14,        88:2, 88:16, 89:24, 90:7,        zero [1] - 43:5
   16:3, 16:8, 16:9, 16:15,          90:9
   16:20, 16:25, 17:3, 19:16,       witness [28] - 3:3, 3:5, 4:7,
   19:20, 20:8, 21:9, 21:12,         4:12, 11:16, 12:2, 13:3,
   22:4, 45:2, 47:16, 53:6,          13:17, 14:18, 15:16, 17:14,
   57:2, 57:24, 58:1, 58:4,          17:18, 22:25, 23:2, 23:12,
   58:18, 60:22, 62:3, 62:5,         60:4, 65:21, 66:4, 72:23,
   62:7, 62:11, 62:22, 64:15,        80:25, 122:9, 129:14,
   112:11, 112:15, 112:17,           130:10, 130:12, 130:14
   115:3, 116:14, 116:22,           witness's [7] - 130:15,
   116:23, 117:5, 122:10,            130:16, 130:17, 130:18,
   122:23, 123:16, 123:17,           130:19, 130:20, 131:9
   133:3                            witnesses [11] - 23:12,
  welded [69] - 7:5, 8:21, 9:6,      109:21, 111:1, 117:2,
   9:13, 9:15, 10:2, 10:6,           126:1, 128:7, 128:17,
   10:8, 10:9, 10:15, 12:8,          130:24, 130:25, 131:5,
   12:11, 14:2, 16:2, 16:7,          136:17
   16:19, 16:24, 19:19, 20:8,       woefully [1] - 107:15
   21:1, 21:4, 38:23, 40:3,         Woehrel [4] - 100:9, 107:20,
   45:1, 45:2, 53:7, 53:14,          119:7, 122:9
   53:19, 54:15, 55:2, 57:3,        wonder [1] - 125:8
   61:11, 62:3, 67:22, 68:9,        wood [6] - 5:19, 5:20, 5:21,
   98:7, 99:23, 99:25, 100:21,       5:22, 5:25
   101:16, 101:21, 101:22,          word [11] - 48:5, 48:24, 50:3,
   102:14, 102:22, 103:1,            55:23, 56:9, 93:24, 110:20,
   103:5, 103:23, 106:20,            110:23, 114:22, 117:2,
   112:15, 113:20, 114:18,           117:15
   114:19, 115:2, 116:10,           words [4] - 47:24, 48:2, 78:3,
   116:13, 116:14, 116:21,           109:17
   118:13, 118:22, 121:15,          works [1] - 5:18
   122:12, 122:14, 123:15,          world [2] - 116:21, 116:22
   123:17, 131:23, 133:7            writing [3] - 92:20, 137:6,
  welder [1] - 14:14                 137:7
  welding [16] - 7:14, 7:19, 8:2,   written [6] - 5:8, 7:23, 45:17,
   8:3, 8:21, 13:24, 14:14,          67:16, 67:17, 67:19
   14:21, 15:3, 15:4, 15:7,
   15:21, 22:12, 121:16,
   131:19, 131:20
                                                   X
  welds [12] - 6:14, 6:18, 6:19,    X-ray [1] - 39:18
   6:20, 6:23, 6:25, 7:1, 7:18,
   7:20, 7:21, 9:4, 10:8
                                                   Y
  WEST [1] - 1:24
  whim [1] - 124:9                  year [8] - 28:17, 32:22, 33:4,
  white [1] - 101:19                 38:22, 104:1, 115:17,
  WHITE [1] - 2:12                   115:25
  whole [8] - 31:20, 49:15,         year's [1] - 29:16
   69:23, 77:15, 77:16, 87:23,      year-by-year [1] - 104:1




                                       UNITED STATES DISTRICT COURT
